12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
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                                EXHIBIT E
12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
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       JANUARY
       INVOICES
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
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                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                        Billed through 01/31/2013
Tammy Hamzephour                                                        Invoice # 53145      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01009
190-FTW-L95
Fort Washington, PA 19034

Re: Deborah A. Charity
Matter No.: 698543

PROFESSIONAL SERVICES

01/04/2013   JES         Telephone conference and e-mail client regarding               L120        0.30 hrs
                         borrower proofs of claim filed in ResCap
                         bankruptcy.
01/08/2013   JES         Review and respond to e-mails from Ms. Charity                 L120        0.20 hrs
                         regarding payment issues.

01/09/2013   JES         Telephone conference with Ms. McGinnis                         L120        0.20 hrs
                         (Residential Capital) regarding response to latest
                         borrower loan inquiry.
01/14/2013   JES         Draft e-mail to Ms. Charity regarding questions                L120        0.50 hrs
                         raised about loan payment processing and the
                         status of the review of her second lien under
                         HAMP.
01/22/2013   DAW         Conference with Mr. Sechler regarding status and               L190        0.10 hrs
                         OCRC charge, and settlement.

01/23/2013   DAW         Review e-mails regarding ability to write-off                  L120        0.10 hrs
                         second mortgage.

01/23/2013   DAW         Draft e-mail regarding tax treatment issues.                   L120        0.10 hrs


01/23/2013   JES         Review and respond to e-mails from Ms. McGinnis                L120        0.50 hrs
                         regarding Charity second lien HAMP modification.
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
  096 01009                      Monthly Invoices Pg 4 of 701Invoice # 53145            Page 2
01/27/2013   DAW        Review e-mail from Ms. Charity regarding                 L120       0.10 hrs
                        settlement proposal.

01/28/2013   JES        Review e-mail from Ms. Charity regarding second          L120       0.20 hrs
                        loan HAMP application.

01/31/2013   JES        Draft letter to Ms. Tassie (Residential Capital)         L120       0.30 hrs
                        regarding status of dismissal of case.



                        TOTAL FEES FOR THIS MATTER                                           $604.00


BILLING SUMMARY


         Wallace, David A.                              0.40 hrs    300.00 /hr    $120.00


         Sechler, Joel E.                               2.20 hrs    220.00 /hr    $484.00



     TOTAL FEES                                         2.60 hrs                  $604.00

     TOTAL CHARGES FOR THIS INVOICE                                               $604.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
                                Monthly Invoices Pg 5 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 27, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53231      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01011
190-FTW-L95
Fort Washington, PA 19034

Re: Emily Bradac
Matter No.: 690339

PROFESSIONAL SERVICES

01/03/2013   AMP       Review e-mails from client regarding line of credit            L120        0.20 hrs
                       issues.

01/03/2013   AMP       Conference with Ms. Cadieux regarding line of                  L120        0.20 hrs
                       credit issues.

01/03/2013   AMP       Review materials from client.                                  L320        0.30 hrs


01/03/2013   KMC       Review payment history for line of credit to                   L110        0.40 hrs
                       determine if properly applied.

01/04/2013   KMC       Review e-mail from Ms. McGinnis (Residential                   L110        0.20 hrs
                       Capital) regarding amounts overdue on both of
                       borrowers' accounts.
01/04/2013   KMC       Review payment histories for both of borrowers'                L110        0.40 hrs
                       accounts.

01/07/2013   AMP       Review notice of rulings of Court on motion to                 L210        0.40 hrs
                       substitute, motion to compel, and motions for
                       summary judgment.
01/07/2013   AMP       Conferences with Mr. Sechler and Ms. Cadieux                   L210        1.10 hrs
                       regarding notice of rulings of Court on motion to
                       substitute, motion to compel, and motions for
                       summary judgment.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
  096 01011                   Monthly Invoices Pg 6 of 701Invoice # 53231          Page 2
01/07/2013   AMP    Draft e-mails with client regarding notice of           L210     0.70 hrs
                    rulings of Court on motion to substitute, motion to
                    compel, and motions for summary judgment.
01/07/2013   AMP    Telephone conference with client regarding notice       L210     0.20 hrs
                    of rulings of Court on motion to substitute, motion
                    to compel, and motions for summary judgment.
01/07/2013   DAW    Review Court orders regarding rulings on motions.       L120     0.20 hrs


01/07/2013   DAW    Conference with Ms. Paul-Whitfield regarding            L120     0.20 hrs
                    Court orders concerning rulings on motions.

01/07/2013   JAL    Review recent decisions. (.20) Conference with          L120     0.30 hrs
                    Mr. Wallace regarding case status. (.10)

01/07/2013   KMC    Review order granting motion to substitute RFC          L210     0.10 hrs
                    for previous noteholder.

01/07/2013   KMC    Review order granting summary judgment on all           L210     0.20 hrs
                    borrower's counterclaims except break of contract
                    claim.
01/07/2013   KMC    Review order regarding borrower's motion to             L210     0.10 hrs
                    compel.

01/07/2013   KMC    Review e-mail correspondence regarding Court's          L110     0.30 hrs
                    rulings on pending motions.

01/08/2013   AMP    Attention to preparing for (.30) and participating in   L120     0.70 hrs
                    conference call with client regarding Court
                    decisions, case status, and next steps. (.30)
01/08/2013   AMP    Attention to follow up items on client conference       L120     0.10 hrs
                    call.

01/08/2013   AMP    Telephone call to appraiser for updated appraisal.      L120     0.20 hrs


01/08/2013   AMP    Telephone call to City's attorney regarding             L120     0.20 hrs
                    condition of property.

01/08/2013   DAW    Draft e-mail to Mr. Lipps regarding update on           L120     0.60 hrs
                    recent Court orders.

01/08/2013   JAL    Review summary of case strategy. (.20)                  L120     0.30 hrs
                    Conference with Mr. Wallace regarding same.
                    (.10)
01/08/2013   KMC    Telephone conference with Ms. McGinnis                  L110     0.40 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  096 01011                   Monthly Invoices Pg 7 of 701Invoice # 53231           Page 3
                    (Residential Capital) and Ms. Gierlich (Residential
                    Capital) regarding current status of case and how
                    to proceed given recent court rulings and
                    bankruptcy.
01/09/2013   JDR    Research regarding permissibility of pursuing            L120     0.80 hrs
                    punitive damages in a breach of contract action.

01/09/2013   JDR    Review counterclaim allegations related to               L210     0.30 hrs
                    remaining claim for breach of contract.

01/10/2013   JDR    Research regarding permissibility of pursuing            L120     0.50 hrs
                    attorney fees in a breach of contract action.

01/11/2013   DAW    Conference with Ms. Paul-Whitfield regarding             L120     0.20 hrs
                    case status and trial.

01/12/2013   DAW    Revise e-mail to Ms. McGinnis (Residential               L120     0.30 hrs
                    Capital, LLC) regarding service issues and limited
                    options.
01/14/2013   AMP    Review correspondence from Mr. Connick                   L160     0.30 hrs
                    regarding settlement demand.

01/14/2013   AMP    E-mail exchanges with Mr. Sechler and client             L160     0.30 hrs
                    regarding settlement demand.

01/14/2013   AMP    Review deposition notices for Ms. Krall and Ms.          L330     0.40 hrs
                    Winterberger.

01/14/2013   AMP    E-mail exchanges with client regarding deposition        L330     0.20 hrs
                    notices for Ms. Krall and Ms. Winterberger.

01/15/2013   AMP    Draft summary update for Mr. Lipps and Mr.               L160     0.60 hrs
                    Wallace regarding impact of recent decisions,
                    parties remaining in the case, the status of the case,
                    and the settlement demand from Bradac.
01/15/2013   AMP    Draft e-mail to client regarding settlement demand       L160     0.20 hrs
                    from Bradac's counsel.

01/15/2013   KMC    Review e-mail regarding status of case.                  L110     0.20 hrs


01/16/2013   AMP    Review and respond to e-mail from client                 L210     0.40 hrs
                    requesting interrogatory answers and verifications.

01/16/2013   AMP    Prepare deposition notice for Bradac.                    L330     0.30 hrs
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01/16/2013   AMP    E-mails with Mr. Sechler regarding deposition          L330        0.20 hrs
                    notice for Bradac.

01/16/2013   DAW    Review e-mail regarding case update from Ms.           L140        0.10 hrs
                    Paul Whitfield

01/16/2013   JES    Conference with Mr. Lipps, Mr. Wallace, and Ms.        L120        0.50 hrs
                    Paul-Whitfield regarding strategy for completion
                    of discovery in Bradac case.
01/17/2013   AMP    Review and respond to e-mails from Mr. Sechler         L120        0.40 hrs
                    regarding basis claim against previous noteholder
                    being solely the servicing issues.
01/17/2013   DAW    Telephone conference with Ms. McGinnis                 L120        0.20 hrs
                    (Residential Capital, LLC) regarding trial date, and
                    case issues.
01/18/2013   AMP    Review e-mail from Mr. Resar (counsel for              L330        0.10 hrs
                    third-party defendant) regarding availability for
                    depositions.
01/23/2013   DAW    Telephone conference with Ms. McGinnis                 120         0.20 hrs
                    (Residential Capital, LLC) regarding case issues.

01/24/2013   AMP    Telephone conference with Morrison & Foerster          L120        0.20 hrs
                    regarding Bank issues.

01/24/2013   AMP    Telephone call to appraiser regarding update for       L120        0.10 hrs
                    property.

01/24/2013   AMP    Draft e-mail to appraiser regarding update for         L120        0.10 hrs
                    property.

01/24/2013   AMP    Review request for findings of fact/conclusions of     L120        0.30 hrs
                    law.

01/24/2013   AMP    E-mail to Mr. Rhode regarding review request for       L120        0.10 hrs
                    findings of fact/conclusions of law.

01/24/2013   DAW    Telephone conference with Ms. McGinnis                 L120        0.20 hrs
                    (Residential Capital, LLC) regarding case status.

01/24/2013   KMC    Review motion requesting conclusions of law and        L110        0.10 hrs
                    findings of fact.

01/24/2013   JDR    Conference with Ms. Paul Whitfield regarding           L120        0.20 hrs
                    punitives research.

01/24/2013   JDR    Finalize memorandum to Ms. Paul Whitfield              L210        0.50 hrs
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                    regarding punitive damages and attorney fees in
                    remaining breach of contract claim.
01/25/2013   AMP    Attention to motion for protective order and            L120     0.90 hrs
                    motion to continue trial date.

01/25/2013   DAW    Telephone conference with Ms. Gierlich and Ms.          L140     0.60 hrs
                    McGinnis (Residential Capital, LLC) and Ohio
                    project team regarding trial.
01/25/2013   DAW    Review e-mails regarding settlement, and                L120     0.20 hrs
                    deposition issues.

01/27/2013   AMP    Attention to motion to stay discovery and trial as to   L210     1.00 hrs
                    non-debtor entity.

01/27/2013   AMP    E-mails with Mr. Beck and Ms. Cadieux regarding         L210     0.40 hrs
                    motion to stay discovery and trial as to non-debtor
                    entity.
01/28/2013   AMP    Draft, revise, and finalize letter to Mr. Connick       L330     0.40 hrs
                    regarding deposition issues and bankruptcy stay.

01/28/2013   AMP    Draft motion for protective order.                      L210     0.40 hrs


01/28/2013   AMP    Revise response to request for findings of fact.        L210     0.30 hrs


01/28/2013   AMP    Conference with Ms. Cadieux regarding motion to         L120     0.10 hrs
                    continue trial and stay discovery.

01/28/2013   DAW    Review and revise letters to plaintiff's counsel.       L120     0.20 hrs


01/28/2013   DAW    Review and revise memorandum in opposition to           L120     0.40 hrs
                    plaintiff's motion for findings of fact and
                    conclusions of law.
01/28/2013   DAW    Review and revise motion to stay discovery, and         L120     0.40 hrs
                    continue trial.

01/28/2013   KMC    Draft motion to stay discovery and to continue          L210     1.40 hrs
                    trial.

01/28/2013   KMC    Review information regarding who loan is being          L110     0.10 hrs
                    sold to in bankruptcy.

01/28/2013   KMC    Review correspondence to borrower's counsel             L110     0.20 hrs
                    regarding discovery issues.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                         Invoice # 53231         Page 6

01/28/2013   KMC    Review response to motion for findings of fact and    L110     0.30 hrs
                    conclusions of law.

01/28/2013   KMC    Telephone conference with Ms. McGinnis                L330     0.30 hrs
                    (Residential Capital) regarding depositions and
                    Court's order granting motion for summary
                    judgment.
01/28/2013   JDR    Research regarding Civil Rule 53 motion for           L120     0.70 hrs
                    proposed findings of fact and law and timeliness of
                    motions and permissibility of voluntarily filing a
                    response.
01/29/2013   AMP    Draft e-mail to client regarding letter.              L120     0.40 hrs


01/29/2013   AMP    E-mails with Mr. Lipps regarding draft e-mail to      L120     0.20 hrs
                    client regarding letter.

01/29/2013   AMP    Telephone conference with client regarding status     L120     0.30 hrs
                    of filings and issue regarding other defendant's
                    counsel.
01/29/2013   AMP    Review e-mail from client regarding other             L120     0.30 hrs
                    defendant's new counsel.

01/29/2013   JAL    Telephone conference with Ms. Gierlich regarding      L120     0.30 hrs
                    case issues. (.10) Review and respond to e-mails
                    regarding same. (.20)
01/29/2013   KMC    Revise motion to stay discovery and continue trial    L210     0.80 hrs
                    per Mr. Wallace.

01/29/2013   JDR    Research regarding standard and analysis for          L120     0.80 hrs
                    protective order from unilaterally noticed
                    depositions.
01/30/2013   DAW    Review e-mails regarding memorandum in                L120     0.20 hrs
                    opposition to motion for findings of fact.

01/30/2013   DAW    Review and revise memorandum in opposition to         L250     0.30 hrs
                    motion for findings of fact.

01/30/2013   DAW    Review and revise motion to stay discovery and        L250     0.30 hrs
                    continue trial.

01/30/2013   KMC    Review e-mail correspondence regarding motion to      L110     0.20 hrs
                    stay discovery.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                                                         Invoice # 53231                 Page 7

01/30/2013   JDR    Draft motion for protective order from unilaterally        L210        1.40 hrs
                    noticed depositions.

01/30/2013   JDR    Prepare exhibits referenced in motion for                  L210        0.20 hrs
                    protective order from unilaterally noticed
                    depositions.
01/31/2013   AMP    Attention to motion for protective order.                  L210        0.50 hrs


01/31/2013   AMP    Attention to motion to stay discovery and continue         L210        0.30 hrs
                    trial date.

01/31/2013   AMP    Attention to response to request for findings of fact      210         0.40 hrs
                    and conclusions of law.

01/31/2013   AMP    E-mails with client regarding response to request          L120        0.30 hrs
                    for findings of fact and conclusions of law.

01/31/2013   AMP    File and serve response to request for findings of         L210        0.20 hrs
                    fact and conclusions of law.

01/31/2013   AMP    E-mail to Ally's counsel regarding filings.                L210        0.20 hrs


01/31/2013   AMP    E-mail to Mr. Resar (counsel to third-party                L210        0.30 hrs
                    defendant) regarding objection to motion to stay
                    and continue trial date.
01/31/2013   KMC    Review e-mail correspondence regarding motion to           L120        0.10 hrs
                    stay discovery.

01/31/2013   KMC    Review e-mail regarding status of property                 L110        0.10 hrs
                    maintenance.



                    TOTAL FEES FOR THIS MATTER                                             $8,189.00

EXPENSES

01/31/2013          Out-of-Town Travel/Mileage (290 miles X .55) - travel to                $163.85
                    Cleveland, OH for filing (VW)

                    TOTAL EXPENSES FOR THIS MATTER                                          $163.85


BILLING SUMMARY
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                         Invoice # 53231         Page 8
      Paul, Angela M.                        15.40 hrs   275.00 /hr    $4,235.00


      Wallace, David A.                       4.80 hrs   300.00 /hr    $1,440.00


      Lipps, Jeffrey A.                       0.90 hrs   400.00 /hr        $360.00


      Rhode, Jacob D.                         5.40 hrs   160.00 /hr        $864.00


      Sechler, Joel E.                        0.50 hrs   220.00 /hr        $110.00


      Cadieux, Karen M.                       5.90 hrs   200.00 /hr    $1,180.00



   TOTAL FEES                                32.90 hrs                $8,189.00

   TOTAL EXPENSES                                                          $163.85

   TOTAL CHARGES FOR THIS INVOICE                                     $8,352.85
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                               Monthly Invoices Pg 13 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53147      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01012
190-FTW-L95
Fort Washington, PA 19034

Re: Eric Rogers
Matter No.: 687375

PROFESSIONAL SERVICES

01/03/2013   KMC       Draft order granting default judgment.                      L210        0.40 hrs


01/06/2013   DAW       Review motion for default judgment, related                 L240        0.50 hrs
                       orders, and journal entry.

01/07/2013   KMC       Draft order allowing under seal filing.                     L210        0.10 hrs


01/07/2013   KMC       Revise motion for default judgment.                         L210        0.30 hrs


01/07/2013   KMC       Revise order granting default judgment.                     L210        0.20 hrs


01/08/2013   KMC       Revise motion for default judgment.                         L210        0.30 hrs


01/08/2013   KMC       Revise motion to file under seal.                           L210        0.10 hrs


01/08/2013   KMC       Revise order granting default judgment.                     L210        0.10 hrs


01/08/2013   KMC       Attention to filing and serving motions for default         L210        0.50 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  096 01012                   Monthly Invoices Pg 14 of 701
                                                          Invoice # 53147            Page 2
                      judgment and to file under seal.

01/10/2013   KMC      Review time-stamped motion for default judgment.        L210       0.10 hrs


01/14/2013   DAW      Review Court order granting motion to file              L120       0.10 hrs
                      settlement and release agreement under seal.

01/14/2013   KMC      Review order granting leave to file under seal.         L210       0.10 hrs


01/25/2013   DAW      Review default judgment entered by Court.               L120       0.10 hrs


01/25/2013   DAW      Draft e-mail to Ms. McGinnis (Residential Capital,      L120       0.30 hrs
                      LLC) regarding default judgment entered by Court.

01/25/2013   KMC      Telephone conference with Ms. McGinnis                  L110       0.20 hrs
                      (Residential Capital) regarding default judgment.

01/25/2013   KMC      Review order granting default judgment.                 L210       0.10 hrs


01/29/2013   DAW      Review Court's notice of final appealable order.        L120       0.10 hrs


01/29/2013   KMC      Review notice of final appealable order.                L210       0.20 hrs




                      TOTAL FEES FOR THIS MATTER                                          $870.00


BILLING SUMMARY


         Wallace, David A.                           1.10 hrs    300.00 /hr    $330.00


         Cadieux, Karen M.                           2.70 hrs    200.00 /hr    $540.00



     TOTAL FEES                                      3.80 hrs                  $870.00

     TOTAL CHARGES FOR THIS INVOICE                                            $870.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                               Monthly Invoices Pg 15 of 701
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                         February 25, 2013

                                                                Billed through 01/31/2013
Tammy Hamzephour                                                Invoice # 53148      JAL
Residential Capital, LLC
1100 Virginia Drive                                             Our file # 096 01029
190-FTW-L95
Fort Washington, PA 19034

Re: Lamar Bridges
Matter No.: 705862

PROFESSIONAL SERVICES

01/23/2013   DAW       Review e-mail from Ms. Ho (Residential Capital,          L120        0.10 hrs
                       LLC) regarding status.



                       TOTAL FEES FOR THIS MATTER                                              $30.00


BILLING SUMMARY


         Wallace, David A.                          0.10 hrs    300.00 /hr         $30.00



     TOTAL FEES                                     0.10 hrs                      $30.00

     TOTAL CHARGES FOR THIS INVOICE                                               $30.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                               Monthly Invoices Pg 16 of 701
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53149      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01030
190-FTW-L95
Fort Washington, PA 19034

Re: Larry J. King
Matter No.: 692426

PROFESSIONAL SERVICES

01/03/2013   DAW       Conference with Ms. Cadieux regarding lien                  L120        0.20 hrs
                       issues.

01/03/2013   KMC       Review information regarding current status of              L110        0.30 hrs
                       loan, the current holder of note mortgage, broker
                       price opinion and code violations.
01/03/2013   KMC       Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                       (Residential Capital) regarding how to proceed
                       with case.
01/09/2013   AMP       Review civil action status letter.                          L120        0.10 hrs


01/09/2013   AMP       Conference with Ms. Cadieux regarding civil                 L120        0.10 hrs
                       action status letter.

01/09/2013   AMP       Review voicemail from Mr. Sechler regarding civil           L120        0.10 hrs
                       action status letter.

01/09/2013   DAW       Conference with Ms. Cadieux regarding recent                L120        0.30 hrs
                       developments, and withdrawal of motion to
                       dismiss.
01/09/2013   KMC       Telephone conference with counsel for estate                L110        0.40 hrs
                       regarding now to get case moving and possible
                       resolution.
01/09/2013   KMC       Review status letter filed by estate.                       L110        0.10 hrs
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  096 01030                    Monthly Invoices Pg 17 of 701
                                                           Invoice # 53149              Page 2



01/29/2013   KMC      Review original collateral file.                           L110       0.30 hrs


01/30/2013   KMC      Telephone conference with counsel for estate               L110       0.40 hrs
                      regarding status of case and possible resolution.

01/30/2013   KMC      Telephone conference with Ms. McGinnis                     L110       0.40 hrs
                      (Residential Capital) regarding how to proceed
                      with case.


                      TOTAL FEES FOR THIS MATTER                                             $672.50


BILLING SUMMARY


         Paul, Angela M.                                 0.30 hrs   275.00 /hr     $82.50


         Wallace, David A.                               0.50 hrs   300.00 /hr    $150.00


         Cadieux, Karen M.                               2.20 hrs   200.00 /hr    $440.00



     TOTAL FEES                                          3.00 hrs                 $672.50

     TOTAL CHARGES FOR THIS INVOICE                                               $672.50
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 18 of 701
                            CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53150      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01044
190-FTW-L95
Fort Washington, PA 19034

Re: Ray E. Potter
Matter No.: 698440

PROFESSIONAL SERVICES

01/15/2013   JES        E-mail case update to Ms. Gregory (Residential            L120        0.20 hrs
                        Capital).



                        TOTAL FEES FOR THIS MATTER                                               $44.00


BILLING SUMMARY


         Sechler, Joel E.                             0.20 hrs   220.00 /hr          $44.00



     TOTAL FEES                                       0.20 hrs                      $44.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $44.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                               Monthly Invoices Pg 19 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53151      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01045
190-FTW-L95
Fort Washington, PA 19034

Re: Raymond Thomas
Matter No.: 695604

PROFESSIONAL SERVICES

01/07/2013   DAW       Review e-mail regarding status.                              L120        0.10 hrs


01/07/2013   JES       E-mail Receiver's counsel regarding settlement               L120        0.10 hrs
                       conference.

01/07/2013   JES       Telephone conference with Ms. McGinnis                       L120        0.30 hrs
                       (Residential Capital) regarding settlement strategy.

01/14/2013   DAW       Prepare for meeting with receiver's counsel                  L140        1.30 hrs
                       regarding distribution of proceeds, including
                       research, receiver's fee and legal counsel.
01/14/2013   JES       Prepare materials for settlement conference with             L120        0.50 hrs
                       Receiver's counsel.

01/15/2013   DAW       Review memorandum regarding receivership                     L120        0.20 hrs
                       distribution of assets.

01/15/2013   DAW       Review payoff statement and related materials.               L120        0.30 hrs


01/15/2013   DAW       Conference with Mr. Sechler regarding                        L120        0.30 hrs
                       receivership issues.

01/15/2013   DAW       Review e-mail regarding availability of AG                   L120        0.10 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  096 01045                  Monthly Invoices Pg 20 of 701
                                                         Invoice # 53151         Page 2
                    settlement funds.

01/15/2013   DAW    Review file materials, including complaint,           L140     0.90 hrs
                    amended complaint, and dockets.

01/15/2013   DAW    Attend meeting with Ms. Whitmer (receiver's           L140     0.90 hrs
                    counsel).

01/15/2013   DAW    Return travel, including dictation of memorandum      L140     0.90 hrs
                    regarding meeting and correspondence to receiver's
                    counsel.
01/15/2013   DAW    Draft correspondence to receiver's counsel            L140     0.90 hrs
                    requesting documentation of expenses.

01/15/2013   JES    Telephone conference with Ms. McGinnis                L120     0.60 hrs
                    (Residential Capital) and Mr. Wallace regarding
                    settlement meeting between counsel.
01/15/2013   JES    Review receivership docket information to             L120     0.40 hrs
                    determine extent of Court approved fees.

01/16/2013   DAW    Revise letter to receiver's counsel regarding         L140     0.30 hrs
                    documentation of requested disbursements issues.

01/16/2013   JES    Revise letter to Receiver's counsel regarding         L120     0.50 hrs
                    necessary fee and expense information from
                    Receiver.
01/17/2013   DAW    Telephone conference with Ms. McGinnis                L120     0.30 hrs
                    (Residential Capital, LLC) regarding negotiation of
                    distribution of funds.
01/17/2013   DAW    Revise correspondence to receiver counsel             L120     0.30 hrs
                    regarding distribution summary.

01/29/2013   DAW    Telephone conference with Ms. McGinnis                L120     0.10 hrs
                    (Residential Capital, LLC) regarding case status,
                    and Greentree transfer.
01/29/2013   DAW    Draft correspondence to Ms. Whitmer (Receiver's       L120     0.20 hrs
                    counsel) in follow-up to request for documentation
                    regarding expenses the receiver was seeking as
                    reimbursement out of the sale proceeds.
01/29/2013   JES    Review e-mail from Ms. McGinnis regarding             L120     0.10 hrs
                    servicing update in Dottore matter.

01/30/2013   DAW    Revise correspondence to Ms. Whitmer (Kohrman         L120     0.10 hrs
                    Jackson & Krantz PLL) regarding documentation
                    request.
     12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                      TOTAL FEES FOR THIS MATTER                                      $2,710.00


BILLING SUMMARY


       Wallace, David A.                       7.20 hrs   300.00 /hr    $2,160.00


       Sechler, Joel E.                        2.50 hrs   220.00 /hr        $550.00



    TOTAL FEES                                 9.70 hrs                $2,710.00

    TOTAL CHARGES FOR THIS INVOICE                                     $2,710.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                               Monthly Invoices Pg 22 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53152      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01048
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald McGinn
Matter No.: 694500

PROFESSIONAL SERVICES

01/04/2013   JES       Review and respond to e-mails from opposing                 L120        0.20 hrs
                       counsel regarding trial modification payment.

01/07/2013   DAW       Review Court of Appeals decision reversing                  L120        0.30 hrs
                       summary judgment.

01/07/2013   DAW       Conference with Ms. Sechler regarding follow-up.            L120        0.30 hrs


01/08/2013   DAW       Review potentially conflicting Sixth District               L120        0.40 hrs
                       decision on standing.

01/09/2013   DAW       Conference with Mr. Sechler regarding potential             L120        0.30 hrs
                       reconsideration issues and strategy.

01/09/2013   DAW       Conference with Mr. Sechler regarding pretrial              L120        0.20 hrs
                       conference issues and strategy.

01/09/2013   JES       Review Court of Appeals decision to determine if            L120        1.00 hrs
                       basis exists to file motion for reconsideration.

01/15/2013   JES       Provide appeal and settlement update to client.             L120        0.30 hrs
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  096 01048                     Monthly Invoices Pg 23 of 701
                                                            Invoice # 53152         Page 2
                        TOTAL FEES FOR THIS MATTER                                      $780.00

EXPENSES

01/07/2013              Court Fees - Sandusky County Common Pleas Court                 $106.00

                        TOTAL EXPENSES FOR THIS MATTER                                  $106.00


BILLING SUMMARY


         Wallace, David A.                         1.50 hrs   300.00 /hr      $450.00


         Sechler, Joel E.                          1.50 hrs   220.00 /hr      $330.00



     TOTAL FEES                                    3.00 hrs                   $780.00

     TOTAL EXPENSES                                                           $106.00

     TOTAL CHARGES FOR THIS INVOICE                                           $886.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
                               Monthly Invoices Pg 24 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                          February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53153      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01058
190-FTW-L95
Fort Washington, PA 19034

Re: Timothy Bryant
Matter No.: 713600

PROFESSIONAL SERVICES

01/02/2013   JES       E-mail opposing counsel regarding settlement                   L120        0.20 hrs
                       options.

01/03/2013   DAW       Review e-mail regarding settlement authority from              L120        0.10 hrs
                       Ms. Ho (Residential Capital, LLC).

01/03/2013   DAW       Review notice of appeal, praecipe, and civil                   L120        0.20 hrs
                       docketing statement.

01/03/2013   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)              L120        0.30 hrs
                       regarding notice of appeal.

01/24/2013   DAW       Review Court's notice of requirements regarding                L120        0.10 hrs
                       oral argument.

01/24/2013   DAW       Review Court's scheduling order.                               L120        0.10 hrs


01/24/2013   JES       Review appellate scheduling order.                             L510        0.20 hrs




                       TOTAL FEES FOR THIS MATTER                                                  $328.00


BILLING SUMMARY
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
096 01058                    Monthly Invoices Pg 25 of 701
                                                         Invoice # 53153         Page 2



      Wallace, David A.                       0.80 hrs   300.00 /hr        $240.00


      Sechler, Joel E.                        0.40 hrs   220.00 /hr         $88.00



   TOTAL FEES                                 1.20 hrs                     $328.00

   TOTAL CHARGES FOR THIS INVOICE                                          $328.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                         CARPENTER LIPPS & LELAND LLP

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                                           February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53154      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01061
190-FTW-L95
Fort Washington, PA 19034

Re: Cleveland Housing Renewal Project
Matter No.: 715020

PROFESSIONAL SERVICES

01/17/2013   DAW       Review Court order dismissing defendant HomeEq             L120        0.10 hrs
                       Servicing.



                       TOTAL FEES FOR THIS MATTER                                                $30.00


BILLING SUMMARY


          Wallace, David A.                           0.10 hrs    300.00 /hr         $30.00



     TOTAL FEES                                       0.10 hrs                      $30.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $30.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
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                              CARPENTER LIPPS & LELAND LLP

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                                            (614) 365-4100
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                                           February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53155      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01062
190-FTW-L95
Fort Washington, PA 19034

Re: Jamie L. Gindele, et al.
Matter No.: 697753

PROFESSIONAL SERVICES

01/07/2013     JES        E-mail Mr. Gindele regarding Attorney General            L120        0.10 hrs
                          settlement loan modification offer.



                          TOTAL FEES FOR THIS MATTER                                              $22.00


BILLING SUMMARY


           Sechler, Joel E.                            0.10 hrs   220.00 /hr          $22.00



      TOTAL FEES                                       0.10 hrs                      $22.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $22.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                  Monthly Invoices Pg 28 of 701
                              CARPENTER LIPPS & LELAND LLP

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                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53156      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01097
190-FTW-L95
Fort Washington, PA 19034

Re: Richard M. Guiliano, et al.
Matter No.: 719064

PROFESSIONAL SERVICES

01/02/2013    JES         Review and respond to e-mail from Ms. McGinnis             L120        0.10 hrs
                          (Residential Capital) regarding bankruptcy proof of
                          claim filed by Guilianos.
01/04/2013    JES         Telephone conference and e-mail client regarding           L120        0.30 hrs
                          borrower proofs of claim filed in ResCap
                          bankruptcy.


                          TOTAL FEES FOR THIS MATTER                                                $88.00


BILLING SUMMARY


           Sechler, Joel E.                              0.40 hrs   220.00 /hr          $88.00



      TOTAL FEES                                         0.40 hrs                      $88.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $88.00
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                Monthly Invoices Pg 29 of 701
                            CARPENTER LIPPS & LELAND LLP

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                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53157      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01112
190-FTW-L95
Fort Washington, PA 19034

Re: Thang Nguyen
Matter No.: 712051

PROFESSIONAL SERVICES

01/03/2013   JES        Draft letter to Ms. McGinnis (Residential Capital)         L120        0.20 hrs
                        regarding return of collateral file.



                        TOTAL FEES FOR THIS MATTER                                                  $44.00

EXPENSES

01/03/2013              Delivery Service/Messengers - Federal Express to Ms. McGinnis               $15.70
                        from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                              $15.70


BILLING SUMMARY


         Sechler, Joel E.                              0.20 hrs    220.00 /hr         $44.00



     TOTAL FEES                                        0.20 hrs                      $44.00

     TOTAL EXPENSES                                                                  $15.70

     TOTAL CHARGES FOR THIS INVOICE                                                  $59.70
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
096 01112                  Monthly Invoices Pg 30 of 701
                                                       Invoice # 53157       Page 2
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                                  Monthly Invoices Pg 31 of 701
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53158      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01116
190-FTW-L95
Fort Washington, PA 19034

Re: Jack H. Donnelly, et al.
Matter No.: 712313

PROFESSIONAL SERVICES

01/07/2013    JES         E-mail opposing counsel regarding additional                L120        0.20 hrs
                          information needed for loan modification
                          application.
01/07/2013    JES         Telephone conference with Ms. McGinnis                      L120        0.30 hrs
                          (Residential Capital) regarding settlement strategy.

01/11/2013    JES         E-mail opposing counsel regarding documents                 L120        0.10 hrs
                          needed for settlement.

01/16/2013    JES         Review and respond to e-mails from opposing                 L120        0.20 hrs
                          counsel regarding financial documentation for loan
                          modification.
01/17/2013    JES         Review and respond to client and opposing counsel           L120        0.30 hrs
                          e-mails regarding additional loss mitigation
                          documentation from borrower.
01/29/2013    JES         E-mail opposing counsel regarding additional loan           L120        0.20 hrs
                          modification document.



                         TOTAL FEES FOR THIS MATTER                                                $286.00


BILLING SUMMARY
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
096 01116                    Monthly Invoices Pg 32 of 701
                                                         Invoice # 53158         Page 2
      Sechler, Joel E.                        1.30 hrs   220.00 /hr        $286.00



   TOTAL FEES                                 1.30 hrs                     $286.00

   TOTAL CHARGES FOR THIS INVOICE                                          $286.00
      12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                 Monthly Invoices Pg 33 of 701
                             CARPENTER LIPPS & LELAND LLP

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                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53159      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01127
190-FTW-L95
Fort Washington, PA 19034

Re: Rebecca L. Folden


PROFESSIONAL SERVICES

01/03/2013   JES         Prepare preliminary pretrial statement.                      L120        1.00 hrs


01/04/2013   JES         Finalize and file preliminary pretrial statement.            L120        0.50 hrs


01/14/2013   JES         Draft e-mail to Ms. Scoliard (Residential Capital)           L120        0.30 hrs
                         regarding recent Court orders and entries regarding
                         case deadlines.
01/16/2013   JES         Review and respond to e-mail from Ms. Scoliard               L120        0.10 hrs
                         regarding upcoming pretrial conference.



                         TOTAL FEES FOR THIS MATTER                                                $418.00


BILLING SUMMARY


          Sechler, Joel E.                               1.90 hrs    220.00 /hr         $418.00



     TOTAL FEES                                          1.90 hrs                      $418.00

     TOTAL CHARGES FOR THIS INVOICE                                                    $418.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
096 01127                  Monthly Invoices Pg 34 of 701
                                                       Invoice # 53159       Page 2
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
                                 Monthly Invoices Pg 35 of 701
                           CARPENTER LIPPS & LELAND LLP

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                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                       Billed through 01/31/2013
Tammy Hamzephour                                                       Invoice # 53160      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01145
190-FTW-L95
Fort Washington, PA 19034

RE: Niesreen Abdalla, et al.
Matter No.: 718973

PROFESSIONAL SERVICES

01/08/2013    JES        E-mail Ms. McGinnis (Residential Capital)                     L120        0.20 hrs
                         regarding potential trial witnesses.

01/08/2013    JES        E-mail Mr. Ralls (Residential Capital) regarding              L120        0.10 hrs
                         settlement options.

01/09/2013    JES        Telephone conference with Ms. McGinnis                        L120        0.30 hrs
                         (Residential Capital) regarding discovery and
                         witness strategy.
01/11/2013    JES        Telephone conference with client regarding issues             L120        0.20 hrs
                         for upcoming final pretrial conference.

01/15/2013    JES        Draft detailed e-mail to Ms. McGinnis (Residential            L120        1.00 hrs
                         Capital) regarding need for trial testimony from
                         note custodian.
01/16/2013    JES        Review and respond to e-mails from client                     L120        0.20 hrs
                         regarding trial testimony from custodian.

01/17/2013    JES        E-mail Deutsche Bank counsel regarding need to                L120        0.50 hrs
                         obtain deposition of note custodian.

01/23/2013    DAW        Conference with Mr. Sechler regarding trial                   L120        0.30 hrs
                         strategy, and custodian trial deposition.

01/23/2013    JES        Review and respond to e-mails from Ms. Horatami               L120        1.00 hrs
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
  096 01145                     Monthly Invoices Pg 36 of 701
                                                            Invoice # 53160                Page 2
                        regarding scheduling custodial trial deposition.

01/28/2013   JES        Review pleadings and docket in preparation for             L120        2.00 hrs
                        drafting final pretrial statement.

01/28/2013   JES        E-mail Mr. Ralls (Residential Capital) regarding           L330        0.30 hrs
                        Corcoran deposition.

01/29/2013   JES        Draft final pretrial statement.                            L120        2.00 hrs


01/29/2013   JES        Telephone conference with Ms. McGinnis                     L120        0.30 hrs
                        (Residential Capital) regarding party-representative
                        appearance and strategy for final pretrial
                        conference.
01/30/2013   DAW        Revise pretrial statement.                                 L210        0.70 hrs


01/30/2013   JES        Telephone conference with Ms. McGinnis                     L120        0.20 hrs
                        regarding preparations for upcoming final pretrial
                        conference.
01/31/2013   JES        Review recent case law to determine applicability          L120        1.00 hrs
                        to outstanding claims in case.

01/31/2013   JES        Revise final pretrial statement.                           L200        1.00 hrs




                        TOTAL FEES FOR THIS MATTER                                             $2,566.00


BILLING SUMMARY


         Wallace, David A.                                 1.00 hrs   300.00 /hr     $300.00


         Sechler, Joel E.                                 10.30 hrs   220.00 /hr   $2,266.00



     TOTAL FEES                                           11.30 hrs                $2,566.00

     TOTAL CHARGES FOR THIS INVOICE                                                $2,566.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                                Monthly Invoices Pg 37 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
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                                          February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53161      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01150
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa D. Lallo
Matter No.: 719854

PROFESSIONAL SERVICES

01/04/2013   JES       Telephone conference and e-mail client regarding             L120        0.30 hrs
                       borrower proofs of claim filed in ResCap
                       bankruptcy.
01/07/2013   JES       Telephone conference with Ms. McGinnis                       L120        0.30 hrs
                       (Residential Capital) regarding settlement strategy.

01/09/2013   JES       Attend strategy conference call with client                  L120        1.00 hrs
                       regarding upcoming final pretrial conference.

01/11/2013   JES       Revise final pretrial statement.                             L120        1.00 hrs


01/17/2013   DAW       Review final pretrial statements.                            L120        0.40 hrs


01/17/2013   DAW       Conference with Mr. Sechler regarding final                  L120        0.40 hrs
                       pretrial issues.

01/17/2013   JES       Review documents for use at final pretrial                   L120        1.00 hrs
                       conference.

01/18/2013   DAW       Telephone conference with Mr. Sechler regarding              L140        0.50 hrs
                       pretrial conference, potential amendment of
                       complaint, and trial issues.
01/18/2013   JES       Prepare for final pretrial conference.                       L120        4.00 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                                                          Invoice # 53161                 Page 2



01/18/2013   JES      Attend final pretrial conference.                           L230       2.00 hrs


01/22/2013   DAW      Telephone conference with Ms. McGinnis                      L120       0.20 hrs
                      (Residential Capital, LLC) regarding case and
                      pretrial conference issues.
01/24/2013   JES      Draft summary to client regarding final pretrial and        L120       1.00 hrs
                      strategy for dispositive motions and potential trial.

01/24/2013   TKI      Legal research regarding the standard for a                 L120       4.00 hrs
                      supplemental pleading.

01/25/2013   JES      Review order scheduling telephone conference.               L120       0.10 hrs


01/25/2013   TKI      Legal research regarding the standard for a                 L120       2.50 hrs
                      supplemental pleading.

01/28/2013   JES      Review memorandum and case law from Mr. Ibom                L120       1.00 hrs
                      regarding standard for amending pleadings under
                      Ohio Civil Rules.
01/31/2013   JES      Draft motion for leave to amend complaint.                  L120       2.00 hrs




                      TOTAL FEES FOR THIS MATTER                                             $4,439.00

EXPENSES

01/11/2013            Delivery Service/Messengers - Federal Express to Cuyahoga                   $11.54
                      County Foreclosure department from Mr. Sechler

01/18/2013            (TRIP-JES-1/18/13) Out-of-Town Travel/Mileage (284 miles X              $160.46
                      .565) - travel to Cleveland, OH to attend pretrial conference

01/18/2013            (TRIP-JES-1/18/13) Out-of-Town Travel/Parking - travel to                    $8.00
                      Cleveland, OH to attend pretrial conference

                      TOTAL EXPENSES FOR THIS MATTER                                          $180.00


BILLING SUMMARY


         Wallace, David A.                            1.50 hrs      300.00 /hr     $450.00
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                         Invoice # 53161         Page 3


      Sechler, Joel E.                       13.70 hrs   220.00 /hr    $3,014.00


      Ibom, Tyler K.                          6.50 hrs   150.00 /hr        $975.00



   TOTAL FEES                                21.70 hrs                $4,439.00

   TOTAL EXPENSES                                                          $180.00

   TOTAL CHARGES FOR THIS INVOICE                                     $4,619.00
       12-12020-mg          Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                     Monthly Invoices Pg 40 of 701
                              CARPENTER LIPPS & LELAND LLP

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                                           280 North High Street
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                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              February 25, 2013

                                                                        Billed through 01/31/2013
Tammy Hamzephour                                                        Invoice # 53162      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01162
190-FTW-L95
Fort Washington, PA 19034

Re: Susan E. Noel, et al.
Matter No.: 722514

PROFESSIONAL SERVICES

01/28/2013    DAW           Review Court of Appeals decision affirming                  L120        0.20 hrs
                            summary judgment to GMAC.

01/30/2013    JES           Review appellate decision.                                  L510        0.50 hrs


01/30/2013    JES           E-mail Ms. McGinnis (Residential Capital)                   L120        0.50 hrs
                            regarding appellate decision.



                            TOTAL FEES FOR THIS MATTER                                               $280.00


BILLING SUMMARY


           Wallace, David A.                             0.20 hrs   300.00 /hr             $60.00


           Sechler, Joel E.                              1.00 hrs   220.00 /hr            $220.00



      TOTAL FEES                                         1.20 hrs                        $280.00

      TOTAL CHARGES FOR THIS INVOICE                                                     $280.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                 Monthly Invoices Pg 41 of 701
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53163      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01163
190-FTW-L95
Fort Washington, PA 19034

Re: Elizabeth Campbell, et al.
Matter No.: 722676

PROFESSIONAL SERVICES

01/09/2013    KMC        Review order setting briefing schedule on motion          L210        0.10 hrs
                         for summary judgment.

01/10/2013    DAW        Review Court's order regarding non-oral hearing           L120        0.10 hrs
                         on summary judgment motion.



                         TOTAL FEES FOR THIS MATTER                                               $50.00


BILLING SUMMARY


           Wallace, David A.                           0.10 hrs   300.00 /hr          $30.00


           Cadieux, Karen M.                           0.10 hrs   200.00 /hr          $20.00



      TOTAL FEES                                       0.20 hrs                      $50.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $50.00
        12-12020-mg         Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                     Monthly Invoices Pg 42 of 701
                             CARPENTER LIPPS & LELAND LLP

                                            280 Plaza, Suite 1300
                                            280 North High Street
                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                              February 25, 2013

                                                                        Billed through 01/31/2013
Tammy Hamzephour                                                        Invoice # 53164      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01171
190-FTW-L95
Fort Washington, PA 19034

Re: Jon G. Paglio, et al.
Matter No.: 724325

PROFESSIONAL SERVICES

01/02/2013     KMC          Review entry regarding settlement.                          L160        0.10 hrs


01/06/2013     DAW          Review notice of settlement and potential                   L120        0.10 hrs
                            administrative dismissal.

01/07/2013     DAW          Draft e-mail to Ms. McGinnis (Residential Capital           L120        0.20 hrs
                            LLC) regarding statuses of loan modification
                            documents.
01/07/2013     DAW          Review e-mail from Ms. McGinnis (Residential                L120        0.10 hrs
                            Capital, LLC) regarding status of loan modification
                            documents.
01/07/2013     KMC          Review e-mail correspondence regarding status of            L160        0.20 hrs
                            settlement.

01/22/2013     DAW          Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                            (Residential Capital, LLC) regarding case and
                            pretrial conference issues.
01/22/2013     DAW          Review status of loan modification documents, and           L120        0.20 hrs
                            settlement and release agreement.

01/22/2013     KMC          Review e-mail regarding status of settlement.               L160        0.10 hrs


01/23/2013     DAW          Telephone conference with Mr. Patterson (Paglio             L120        0.20 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
  096 01171                   Monthly Invoices Pg 43 of 701
                                                          Invoice # 53164             Page 2
                      counsel) regarding status of payment.

01/24/2013   DAW      Telephone conference with Ms. McGinnis                   L120       0.10 hrs
                      (Residential Capital, LLC) regarding COD, and
                      title issues.
01/29/2013   DAW      Draft e-mail to Ms. McGinnis (Residential Capital,       L120       0.30 hrs
                      LLC) regarding status of down payment.

01/29/2013   KMC      Review e-mail regarding status of settlement.            L110       0.10 hrs


01/30/2013   DAW      Revise e-mail regarding status of down payment.          L120       0.20 hrs


01/30/2013   KMC      Review e-mail regarding status of settlement.            L160       0.10 hrs


01/31/2013   DAW      Conference with Ms. Cadieux regarding down               L120       0.10 hrs
                      payment status.

01/31/2013   KMC      Telephone conference with Ms. McGinnis                   L160       0.30 hrs
                      (Residential Capital) regarding status of settlement.

01/31/2013   KMC      Telephone conference with borrowers' counsel             L160       0.30 hrs
                      regarding status of settlement, borrowers' personal
                      injury lawsuit and payment made.
01/31/2013   KMC      Telephone conference with Ms. McGinnis                   L110       0.10 hrs
                      (Residential Capital) regarding whether GMACM
                      received any payments from borrowers.
01/31/2013   KMC      Research regarding borrowers' personal injury            L110       0.20 hrs
                      lawsuit.



                      TOTAL FEES FOR THIS MATTER                                           $810.00


BILLING SUMMARY


         Wallace, David A.                            1.70 hrs    300.00 /hr    $510.00


         Cadieux, Karen M.                            1.50 hrs    200.00 /hr    $300.00



     TOTAL FEES                                       3.20 hrs                  $810.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
096 01171                  Monthly Invoices Pg 44 of 701
                                                       Invoice # 53164         Page 3
   TOTAL CHARGES FOR THIS INVOICE                                        $810.00
        12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
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                            CARPENTER LIPPS & LELAND LLP

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                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              February 25, 2013

                                                                       Billed through 01/31/2013
Tammy Hamzephour                                                       Invoice # 53165      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01172
190-FTW-L95
Fort Washington, PA 19034

Re: William J. Barrett, et al.
Matter No.: 724024

PROFESSIONAL SERVICES

01/29/2013     DAW         Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                           (Residential Capital, LLC) regarding case status.



                           TOTAL FEES FOR THIS MATTER                                                 $30.00


BILLING SUMMARY


           Wallace, David A.                              0.10 hrs    300.00 /hr          $30.00



      TOTAL FEES                                          0.10 hrs                       $30.00

      TOTAL CHARGES FOR THIS INVOICE                                                     $30.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53166      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01173
190-FTW-L95
Fort Washington, PA 19034

Re: Price Hill Will
Matter No.: 724458

PROFESSIONAL SERVICES

01/01/2013   DAW       Review request for production of documents from              L120        0.20 hrs
                       plaintiffs regarding properties listed in Exhibits B
                       and C of complaint.
01/04/2013   DAW       Review e-mail regarding joint defense call                   L120        0.10 hrs
                       concerning experts and discovery from Ms.
                       Frohlich (Morgan, Lewis & Bockius LLP).
01/07/2013   DAW       Review timeline and deposition notice in                     L120        0.80 hrs
                       preparation for defense attorney conference call.

01/07/2013   DAW       Attend defense attorney conference call.                     L120        0.60 hrs


01/07/2013   DAW       Identify discovery issues.                                   L120        0.20 hrs


01/07/2013   JES       Draft e-mail to Ms. McGinnis (Residential Capital)           L120        0.50 hrs
                       regarding defense counsel call and upcoming
                       deadlines.
01/07/2013   JES       Attend joint defense counsel strategy conference             L120        0.50 hrs
                       call.

01/08/2013   DAW       Revise e-mail to Ms. McGinnis (Residential                   L120        0.50 hrs
                       Capital, LLC) regarding discovery issues, and
                       GMACM Rule 30(B)(5) witness.
01/09/2013   JES       Telephone conference with Ms. McGinnis                       L120        0.30 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  096 01173                  Monthly Invoices Pg 47 of 701
                                                         Invoice # 53166            Page 2
                    (Residential Capital) regarding discovery and
                    witness strategy.
01/13/2013   DAW    Review correspondence regarding Wells Fargo's            L120     0.20 hrs
                    objections to Rule 30(B)(5) deposition notice.

01/15/2013   DAW    Conference with Mr. Sechler regarding Price Hill         L120     0.20 hrs
                    Will depositions.

01/15/2013   DAW    Review e-mail confirming depositions of Wells            L140     0.10 hrs
                    Fargo representative.

01/15/2013   DAW    Prepare for depositions of Wells Fargo                   L140     0.60 hrs
                    representative.

01/15/2013   JES    Begin review of documents produced by Price Hill         L120     4.00 hrs
                    Will regarding properties serviced by GMACM.

01/15/2013   RBS    Prepare index of documents produced by Price Hill A902   L310     4.00 hrs
                    Will for Mr. Sechler.

01/16/2013   DAW    Review deposition notes and amended complaint            L140     0.80 hrs
                    in preparation for Wells Fargo Rule 30 (B)(5)
                    deposition.
01/16/2013   DAW    Attend Rule 30(B)(5) deposition of Wells Fargo           L140     3.20 hrs
                    representative Smith.

01/16/2013   DAW    Attend afternoon session of Rule 30(B)(5)                L330     3.80 hrs
                    deposition of Wells Fargo representative Smith.

01/16/2013   RBS    Update index of documents produced by Price Hill A902    L310     4.20 hrs
                    Will for Mr. Sechler.

01/17/2013   DAW    Telephone conference with Ms. McGinnis                   L120     0.20 hrs
                    (Residential Capital, LLC) regarding Rule
                    30(B)(5) deposition issues.
01/17/2013   DAW    Conference with Mr. Sechler regarding Wells              L120     0.30 hrs
                    Fargo's Rule 30(B)(5) deposition issues.

01/17/2013   JES    Attend deposition of Wells Fargo's 30(B)(5)              L330     6.00 hrs
                    representative on HUD/FHA issues.

01/17/2013   JES    Continue review of Price Hill Will documents             L120     2.00 hrs
                    related to GMACM-serviced properties.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
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01/18/2013   DAW    Review Group E defendants' discovery.                   L140     0.10 hrs


01/22/2013   DAW    Review e-mails regarding rescheduling of                L140     0.10 hrs
                    Deutsche Bank Trust Company Americas N.A. and
                    Deutshe Bank National Trust Company
                    depositions.
01/22/2013   JES    Review and respond to e-mails regarding                 L120     0.20 hrs
                    upcoming depositions.

01/22/2013   RBS    Update index of documents produced by Price Hill A902   L310     1.30 hrs
                    Will.

01/23/2013   JES    Review additional Price Hill Will document              L120     7.00 hrs
                    production for documents relevant to claims
                    against GMACM properties.
01/24/2013   DAW    Review notices of deposition for Deutsche Bank          L120     0.10 hrs
                    National Trust Company, and Deutsche Bank Trust
                    Company Americas.
01/24/2013   JES    Review amended deposition notices to Deutsche           L330     0.40 hrs
                    Bank and related e-mails.

01/25/2013   DAW    Review correspondence regarding Wells Fargo and         L120     0.30 hrs
                    Price Hill Will depositions.

01/25/2013   DAW    Review subpoena to Mr. Blersch.                         L120     0.10 hrs


01/25/2013   JES    Review documents for use in upcoming                    L330     5.00 hrs
                    depositions of plaintiff and plaintiff's employees.

01/27/2013   DAW    Review deposition notice of Ken Smith.                  L120     0.10 hrs


01/28/2013   DAW    Review e-mails regarding Deutsche Bank                  L120     0.10 hrs
                    depositions from Ms. Frolich (Morgan Lewis &
                    Bockius LLP).
01/28/2013   JES    Review e-mails from co-counsel and opposing             L330     0.50 hrs
                    counsel regarding scheduling depositions.

01/29/2013   DAW    Review e-mails regarding Wells Fargo depositions,       L120     0.20 hrs
                    and discovery issues.

01/29/2013   DAW    Conference with Mr. Sechler regarding deposition        L120     0.20 hrs
                    and discovery issues.
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
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01/30/2013   DAW        Telephone conference with Ms. McGinnis                 L120         0.20 hrs
                        (Residential Capital, LLC) regarding REO witness
                        availability issues.
01/30/2013   DAW        Review e-mails regarding Deutsche Bank witness         L120         0.20 hrs
                        issues.

01/30/2013   DAW        Review motion to extend discovery deadline.            L120         0.10 hrs


01/30/2013   DAW        Conference with Mr. Sechler regarding discovery        L120         0.10 hrs
                        issues.

01/30/2013   JES        Review e-mails from co-counsel regarding               L120         0.50 hrs
                        Deutsche Bank 30(B)(5) deposition strategy.

01/30/2013   JES        Review plaintiff's motion to extend discovery.         L120         0.20 hrs


01/31/2013   DAW        Attend afternoon session of Ken Smith deposition.      L330         3.00 hrs


01/31/2013   DAW        Review e-mails regarding deposition issues.            L120         0.10 hrs


01/31/2013   DAW        Conference with Mr. Sechler regarding Smith            L120         0.40 hrs
                        deposition issues.

01/31/2013   DAW        Attend morning sessoin of Ken Smith depositon.         L330         2.40 hrs


01/31/2013   JES        Complete organization of documents produced by         L120         3.00 hrs
                        Price Hill Will related to GMACM-serviced
                        properties.


                        TOTAL FEES FOR THIS MATTER                                         $13,452.00


BILLING SUMMARY


         Wallace, David A.                           19.60 hrs    300.00 /hr   $5,880.00


         Sechler, Joel E.                            30.10 hrs    220.00 /hr   $6,622.00


         Samson, Robert B.                             9.50 hrs   100.00 /hr    $950.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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                                                       Invoice # 53166       Page 5


   TOTAL FEES                              59.20 hrs               $13,452.00

   TOTAL CHARGES FOR THIS INVOICE                                  $13,452.00
       12-12020-mg        Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                   Monthly Invoices Pg 51 of 701
                           CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53167      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01175
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa Fox, et al.
Matter No.: 723432

PROFESSIONAL SERVICES

01/02/2013    JES         Review Court of Appeals decision.                           L120        0.40 hrs


01/02/2013    JES         E-mail Ms. McGinnis regarding Court of Appeals              L120        0.20 hrs
                          decision.

01/02/2013    JES         E-mail Ms. McGinnis (Residential Capital) and               L120        0.50 hrs
                          opposing counsel regarding settlement execution
                          and borrower questions regarding account fees.
01/03/2013    DAW         Review e-mail and appellate decision affirming              L120        0.20 hrs
                          summary judgment to Bank of New York Mellon
                          Trust Company.
01/03/2013    JES         E-mail opposing counsel regarding fee questions             L120        0.50 hrs
                          raised by borrowers.

01/03/2013    JES         Telephone conference with Ms. McGinnis                      L120        0.40 hrs
                          (Residential Capital) regarding fee questions raised
                          by borrowers.
01/11/2013    JES         E-mail opposing counsel regarding documents                 L120        0.10 hrs
                          needed for settlement.

01/22/2013    JES         Draft stipulation of dismissal.                             L120        0.40 hrs


01/23/2013    DAW         Review stipulation of dismissal.                            L120        0.10 hrs
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
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                                                            Invoice # 53167               Page 2




                        TOTAL FEES FOR THIS MATTER                                            $640.00

EXPENSES

01/23/2013              Delivery Service/Messengers - Federal Express to Ottawa County           $11.54
                        from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                           $11.54


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs   300.00 /hr           $90.00


         Sechler, Joel E.                            2.50 hrs   220.00 /hr          $550.00



     TOTAL FEES                                      2.80 hrs                      $640.00

     TOTAL EXPENSES                                                                 $11.54

     TOTAL CHARGES FOR THIS INVOICE                                                $651.54
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                               Monthly Invoices Pg 53 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53168      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01176
190-FTW-L95
Fort Washington, PA 19034

Re: Mark R. Bernard
Matter No.: 725184

PROFESSIONAL SERVICES

01/04/2013   DAW       Review Court's notice of dismissal.                        L120        0.10 hrs


01/08/2013   KMC       Review entry dismissing case.                              L210        0.10 hrs


01/08/2013   KMC       Forward order dismissing case to Ms. McGinnis              L210        0.10 hrs
                       (Residential Capital).

01/09/2013   DAW       Review e-mail regarding dismissal of action.               L120        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                              $100.00


BILLING SUMMARY


         Wallace, David A.                             0.20 hrs   300.00 /hr         $60.00


         Cadieux, Karen M.                             0.20 hrs   200.00 /hr         $40.00



     TOTAL FEES                                        0.40 hrs                    $100.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                       Invoice # 53168         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                        $100.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                                 Monthly Invoices Pg 55 of 701
                             CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53169      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01181
190-FTW-L95
Fort Washington, PA 19034

Re: Louise R. Young-Berdella, et al.
Matter No.: 725757

PROFESSIONAL SERVICES

01/03/2013    JES        E-mail Ms. McGinnis (Residential Capital)                   L120        0.20 hrs
                         regarding status of trial modification.

01/04/2013    JES        Review and respond to e-mails from client and               L120        0.30 hrs
                         opposing counsel regarding loan modification
                         status.
01/10/2013    JES        Review permanent modification agreement.                    L120        0.30 hrs


01/10/2013    JES        E-mail opposing counsel regarding permanent                 L120        0.10 hrs
                         modification agreement.



                         TOTAL FEES FOR THIS MATTER                                               $198.00


BILLING SUMMARY


          Sechler, Joel E.                             0.90 hrs   220.00 /hr           $198.00



      TOTAL FEES                                       0.90 hrs                       $198.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $198.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53170      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01183
190-FTW-L95
Fort Washington, PA 19034

Re: Jamah Jackson
Matter No.: 726125

PROFESSIONAL SERVICES

01/02/2013   DAW       Telephone conference with Ms. McGinnis                     L120        0.30 hrs
                       (Residential Capital, LLC) regarding case issues,
                       and strategy.
01/03/2013   DAW       Review e-mail from Mr. Radke (Morgan, Lewis &              L120        0.10 hrs
                       Bockius LLP) regarding extension of time.

01/03/2013   DAW       Telephone conference with Mr. Radke (Morgan,               L120        0.10 hrs
                       Lewis & Bockius LLP) regarding extension of
                       time.
01/04/2013   DAW       Review citations and ordinances in preparation for         L120        0.40 hrs
                       telephone conference.

01/04/2013   DAW       Attend telephone conference regarding criminal             L120        0.50 hrs
                       case issues, plea and property donation issues.

01/04/2013   DAW       Draft e-mail to prosecutor regarding extension of          L120        0.40 hrs
                       motion to dismiss deadline.

01/04/2013   DAW       Draft e-mail to Mr. Radke (Morgan, Lewis &                 L120        0.20 hrs
                       Bockius LLP) regarding motion to dismiss and
                       extension.
01/04/2013   DAW       Review e-mail from Ms. Frohlich (Morgan, Lewis             L120        0.10 hrs
                       & Bockius LLP) regarding motion to dismiss and
                       extension.
01/04/2013   DAW       Telephone conference with Mr. Radke (Morgan,               L120        0.40 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  096 01183                  Monthly Invoices Pg 58 of 701
                                                         Invoice # 53170         Page 2
                    Lewis & Bockius LLP) regarding motion for
                    extension of dismissal deadline.
01/04/2013   DAW    Draft e-mail regarding motion for extension to Mr.    L120     0.60 hrs
                    Radke (Morgan, Lewis & Bockius LLP).

01/04/2013   DAW    Review e-mail from Ms. Frohlich (Morgan, Lewis        L120     0.10 hrs
                    & Bockius LLP) regarding status of motion to
                    dismiss.
01/06/2013   DAW    Draft motion to extend deadline.                      L120     0.60 hrs


01/07/2013   DAW    Revise motion for extension of time.                  L250     0.20 hrs


01/07/2013   DAW    Draft e-mail to Mr. Radke and Ms. Frohlich            L120     0.20 hrs
                    (Morgan, Lewis & Bockius LLP) regarding status.

01/07/2013   DAW    Draft e-mail to Mr. Radke and Ms. Frohlich            L120     0.20 hrs
                    (Morgan, Lewis & Bockius LLP) regarding
                    prosecutor's position.
01/07/2013   DAW    Draft e-mail to Mr. Radke (Morgan, Lewis &            L120     0.10 hrs
                    Bockius LLP) regarding prosecutor issues.

01/07/2013   DAW    Telephone conference with Ms. Zvomuya                 L120     0.20 hrs
                    (Prosecutor) regarding consent motion.

01/08/2013   DAW    Telephone conference with Ms. McGinnis                L120     0.10 hrs
                    (Residential Capital, LLC) regarding land
                    donation.
01/08/2013   DAW    Draft e-mail regarding motion for extension of        L120     0.10 hrs
                    time to Mr. Radke (Morgan, Lewis & Bockius
                    LLP).
01/08/2013   DAW    Review land donation forms.                           L120     0.20 hrs


01/08/2013   DAW    Review e-mail from Ms. Zvomuya (prosecutor)           L120     0.10 hrs
                    regarding discovery issues.

01/09/2013   DAW    Review e-mail from prosecutor regarding               L120     0.10 hrs
                    discovery.

01/11/2013   DAW    Telephone conference with Ms. McGinnis                L120     0.10 hrs
                    (Residential Capital, LLC) regarding transfer form.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  096 01183                  Monthly Invoices Pg 59 of 701
                                                         Invoice # 53170          Page 3

01/13/2013   DAW    Review asbestos survey and board-up materials.         L120     0.60 hrs


01/14/2013   DAW    Draft e-mail from Ms. McGinnis (Residential            L120     0.30 hrs
                    Capital, LLC) regarding asbestos survey, and
                    demolition costs.
01/14/2013   DAW    Draft e-mail to Ms. Zvomuya (prosecutor)               L140     0.40 hrs
                    regarding asbestos survey and demolition costs.

01/14/2013   DAW    Review e-mail from Ms. McGinnis (Residential           L140     0.10 hrs
                    Capital, LLC) regarding land donation form.

01/15/2013   DAW    Review e-mail from Mr. Radke (Morgan Lewis &           L140     0.10 hrs
                    Bockius LLP) regarding plea authorizations and
                    officer certificates.
01/17/2013   DAW    Telephone conference with Ms. McGinnis                 L120     0.30 hrs
                    (Residential Capital, LLC) regarding conveyance
                    costs.
01/17/2013   DAW    Review water bill information from prosecutor.         L120     0.20 hrs


01/17/2013   DAW    Review e-mail from Mr. Samson regarding water          L120     0.10 hrs
                    bill issues.

01/17/2013   DAW    Review and revise land bank donation form.             L120     0.60 hrs


01/17/2013   DAW    Draft e-mails to Mr. Radke and Ms. Frohlich            L120     0.40 hrs
                    (Morgan Lewis & Bockius LLP) regarding
                    Deutsche Bank address issues and pretrial
                    conference.
01/17/2013   DAW    Review e-mails from Mr. Radke (Morgan Lewis &          L120     0.20 hrs
                    Bockius LLP) regarding confirming address.

01/17/2013   DAW    Draft e-mails to Ms. McGinnis (Residential             L120     0.10 hrs
                    Capital, LLC) regarding land bank donation form.

01/17/2013   RBS    Telephone conference with Cleveland Water              L310     0.10 hrs
                    Division regarding previous water bill for property.

01/17/2013   RBS    Draft fax to request status report from Cleveland      L310     0.30 hrs
                    Water Division for property.

01/24/2013   DAW    Telephone conference with Ms. McGinnis                 L120     0.10 hrs
                    (Residential Capital, LLC) regarding payment
                    delay issues and donation.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
  096 01183                   Monthly Invoices Pg 60 of 701
                                                          Invoice # 53170                Page 4
01/29/2013   DAW      Telephone conference with Ms. McGinnis                     L120        0.10 hrs
                      (Residential Capital, LLC) regarding case status,
                      pretrial conference, transfer to land bank, and
                      payment of costs.
01/29/2013   RBS      Telephone conference with Cleveland Division of            L310        0.20 hrs
                      Water regarding status of records request made
                      1/17/13, and draft additional fax request for same.
01/30/2013   DAW      Review COD document, as-submitted donation                 L120        0.20 hrs
                      form, and title report.

01/30/2013   DAW      Draft e-mail to prosecutor regarding status of             L120        0.20 hrs
                      invoices.

01/30/2013   DAW      Telephone conference with Ms. McGinnis                     L120        0.20 hrs
                      (Residential Capital, LLC) regarding hearing, and
                      payment of costs and expenses.
01/31/2013   RBS      Telephone conference with Cleveland Division of            L310        0.20 hrs
                      Water regarding obtaining previous bill for
                      property.


                      TOTAL FEES FOR THIS MATTER                                             $2,960.00

EXPENSES

01/07/2013            Out-of-Town Travel/Mileage 290 miles X .565) - travel to                $163.85
                      Cleveland, OH for filing (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                          $163.85


BILLING SUMMARY


         Wallace, David A.                           9.60 hrs     300.00 /hr     $2,880.00


         Samson, Robert B.                           0.80 hrs     100.00 /hr        $80.00



     TOTAL FEES                                     10.40 hrs                    $2,960.00

     TOTAL EXPENSES                                                               $163.85

     TOTAL CHARGES FOR THIS INVOICE                                              $3,123.85
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                               Monthly Invoices Pg 61 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53171      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01185
190-FTW-L95
Fort Washington, PA 19034

Re: Lisa M. Ramey
Matter No.: 726140

PROFESSIONAL SERVICES

01/03/2013   JES       Draft letter to Ms. Ho (Residential Capital)                 L120        0.20 hrs
                       regarding collateral file for use by Mr. Lucas in
                       executing affidavit.
01/07/2013   JES       Revise motion for summary judgment affidavit.                L240        0.40 hrs


01/11/2013   JES       Revise motion for summary judgment.                          L240        1.50 hrs




                       TOTAL FEES FOR THIS MATTER                                                $462.00

EXPENSES

01/03/2013             Delivery Service/Messengers - Federal Express to Ms. Ho from                $16.90
                       Mr. Sechler

01/11/2013             Delivery Service/Messengers - Federal Express to Clerk of                   $16.07
                       Courts from Mr. Sechler

                       TOTAL EXPENSES FOR THIS MATTER                                              $32.97


BILLING SUMMARY
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
096 01185                    Monthly Invoices Pg 62 of 701
                                                         Invoice # 53171         Page 2
      Sechler, Joel E.                        2.10 hrs   220.00 /hr        $462.00



   TOTAL FEES                                 2.10 hrs                     $462.00

   TOTAL EXPENSES                                                           $32.97

   TOTAL CHARGES FOR THIS INVOICE                                          $494.97
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                 Monthly Invoices Pg 63 of 701
                           CARPENTER LIPPS & LELAND LLP

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                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53172      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01189
190-FTW-L95
Fort Washington, PA 19034

Re: Bernard Turzynski, et al.
Matter No.: 726793

PROFESSIONAL SERVICES

01/02/2013    KMC        Review escrow analyses.                                    L110        0.20 hrs


01/03/2013    KMC        Review e-mail regarding adjustments for late               L110        0.10 hrs
                         charges.

01/03/2013    KMC        Draft e-mail to borrowers' counsel regarding issues        L120        0.30 hrs
                         with escrow analyses and application of payments.

01/03/2013    KMC        Telephone conference with Ms. McGinnis                     L120        0.20 hrs
                         (Residential Capital) regarding issues with escrow
                         analyses and application of payment.
01/03/2013    KMC        Review information regarding status of loan                L110        0.10 hrs
                         account after settlement funds were applied.

01/04/2013    KMC        Review e-mail regarding application of settlement          L120        0.10 hrs
                         proceeds regarding late fees.

01/04/2013    KMC        Review payment history.                                    L110        0.30 hrs


01/29/2013    KMC        Forward dismissal entry to Ms. McGinnis                    L110        0.20 hrs
                         (Residential Capital).
     12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
 096 01189                  Monthly Invoices Pg 64 of 701
                                                        Invoice # 53172         Page 2
                    TOTAL FEES FOR THIS MATTER                                      $300.00


BILLING SUMMARY


       Cadieux, Karen M.                     1.50 hrs   200.00 /hr        $300.00



    TOTAL FEES                               1.50 hrs                     $300.00

    TOTAL CHARGES FOR THIS INVOICE                                        $300.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                Monthly Invoices Pg 65 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53173      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01190
190-FTW-L95
Fort Washington, PA 19034

Re: Richard J. Chang
Matter No.: 727175

PROFESSIONAL SERVICES

01/25/2013   KMC       Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding deed in lieu being
                       approved.


                       TOTAL FEES FOR THIS MATTER                                                 $40.00


BILLING SUMMARY


          Cadieux, Karen M.                           0.20 hrs    200.00 /hr          $40.00



     TOTAL FEES                                       0.20 hrs                       $40.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $40.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                               Monthly Invoices Pg 66 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                         February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53174      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01191
190-FTW-L95
Fort Washington, PA 19034

Re: Evan D. Morgan
Matter No.: 727081

PROFESSIONAL SERVICES

01/02/2013   KMC       Review entry granting motion to dismiss.                   L210        0.10 hrs


01/02/2013   KMC       Forward entry granting motion to dismiss to Ms.            L210        0.10 hrs
                       McGinnis (Residential Capital).



                       TOTAL FEES FOR THIS MATTER                                                $40.00


BILLING SUMMARY


         Cadieux, Karen M.                           0.20 hrs     200.00 /hr         $40.00



     TOTAL FEES                                      0.20 hrs                       $40.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $40.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                         CARPENTER LIPPS & LELAND LLP

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                                        Columbus, OH 43215
                                           (614) 365-4100
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                                           February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53175      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01192
190-FTW-L95
Fort Washington, PA 19034

Re: Judith G. Bigelow
Matter No.: 728487

PROFESSIONAL SERVICES

01/01/2013   DAW        Review Court's interim report and order.                      L120        0.10 hrs


01/02/2013   KMC        E-mail correspondence with Ms. McGinnis                       L110        0.20 hrs
                        (Residential Capital) regarding status of deed in
                        lieu.
01/03/2013   KMC        E-mail correspondence with Ms. McGinnis                       L110        0.20 hrs
                        (Residential Capital) regarding status of deed in
                        lieu.
01/03/2013   KMC        E-mail correspondence with borrower's counsel                 L110        0.30 hrs
                        regarding status of deed in lieu.

01/03/2013   KMC        E-mail Ms. McGinnis (Residential Capital) to                  L110        0.10 hrs
                        confirm property is vacant.

01/04/2013   KMC        Telephone conference with Ms. McGinnis                        L110        0.20 hrs
                        (Residential Capital) regarding status of deed in
                        lieu and title work.
01/10/2013   KMC        Telephone conference with Ms. McGinnis                        L110        0.10 hrs
                        (Residential Capital) regarding inspection.

01/10/2013   KMC        Review inspection report and photos.                          L110        0.20 hrs


01/10/2013   KMC        Provide status report to Court.                               L110        0.20 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  096 01192                   Monthly Invoices Pg 68 of 701
                                                          Invoice # 53175            Page 2



01/10/2013   KMC      E-mail borrower's counsel regarding status report       L110       0.20 hrs
                      and status of deed in lieu.

01/11/2013   KMC      Review e-mail from borrower's counsel regarding         L110       0.10 hrs
                      status of loss mitigation.

01/28/2013   KMC      E-mail borrower's counsel regarding deed in lieu        L110       0.10 hrs
                      approval.

01/28/2013   KMC      E-mail correspondence with Ms. McGinnis                 L110       0.10 hrs
                      (Residential Capital) regarding deed in lieu
                      documents.
01/29/2013   DAW      Review Court order regarding pretrial conference        L120       0.10 hrs
                      issues.

01/29/2013   KMC      Review e-mail from borrowers' counsel regarding         L110       0.20 hrs
                      deed in lieu.

01/30/2013   KMC      Review e-mail from borrower's counsel regarding         L110       0.10 hrs
                      current address and marital status of borrower for
                      deed in lieu paperwork.
01/30/2013   KMC      Review e-mail from Ms. McGinnis (Residential            L110       0.10 hrs
                      Capital) regarding information needed from
                      borrower for deed in lieu paperwork.
01/30/2013   KMC      E-mail borrowers' counsel regarding information         L110       0.10 hrs
                      needed from borrower for deed in lieu paperwork.

01/31/2013   KMC      E-mail Ms. Bigelow's current address and marital        L190       0.10 hrs
                      status to Ms. McGinnis (Residential Capital) for
                      use on deed in lieu paperwork.


                      TOTAL FEES FOR THIS MATTER                                          $580.00


BILLING SUMMARY


         Wallace, David A.                           0.20 hrs    300.00 /hr     $60.00


         Cadieux, Karen M.                           2.60 hrs    200.00 /hr    $520.00



     TOTAL FEES                                      2.80 hrs                  $580.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
096 01192                  Monthly Invoices Pg 69 of 701
                                                       Invoice # 53175         Page 3
   TOTAL CHARGES FOR THIS INVOICE                                        $580.00
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                Monthly Invoices Pg 70 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53176      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01198
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy M. Pannell
Matter No.: 729288

PROFESSIONAL SERVICES

01/10/2013   DAW       Telephone conference with Court regarding                   L120        0.20 hrs
                       judgment entry and related foreclosure case.

01/10/2013   DAW       Conference with Ms. Cadieux regarding judgment              L120        0.20 hrs
                       entry and related foreclosure case.

01/10/2013   KMC       Review new complaint.                                       L110        0.10 hrs


01/10/2013   KMC       Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding new complaint
                       being filed.
01/10/2013   KMC       E-mail Ms. McGinnis (Residential Capital)                   L110        0.30 hrs
                       regarding new case being filed and how to proceed.

01/11/2013   DAW       Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                       (Residential Capital, LLC) regarding second
                       foreclosure action.
01/12/2013   DAW       Draft e-mail to foreclosure counsel regarding filing        L120        0.20 hrs
                       of new complaint.

01/14/2013   DAW       Review e-mail from Ms. McGinnis (Residential                L120        0.10 hrs
                       Capital, LLC) regarding proposed dismissal of
                       second amended complaint.
01/14/2013   DAW       Draft correspondence to Ms. McGinnis                        L120        0.20 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  096 01198                   Monthly Invoices Pg 71 of 701
                                                          Invoice # 53176            Page 2
                      (Residential Capital, LLC) regarding dismissal of
                      second complaint and entry of judgment.
01/14/2013   DAW      Review e-mail from Mr. McKelvey (Residential            L120       0.10 hrs
                      Capital forecloure counsel) regarding proposed
                      dismissal of second amended complaint.
01/14/2013   DAW      Telephone conference with Mr. McKelvey                  L120       0.20 hrs
                      (Residential Capital forecloure counsel) regarding
                      dismissal of second amended complaint.
01/14/2013   KMC      Review e-mail from foreclosure counsel regarding        L110       0.10 hrs
                      new case being filed.

01/31/2013   KMC      E-mail settlement agreement to borrower's counsel.      L160       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                          $550.00


BILLING SUMMARY


         Wallace, David A.                           1.30 hrs    300.00 /hr    $390.00


         Cadieux, Karen M.                           0.80 hrs    200.00 /hr    $160.00



     TOTAL FEES                                      2.10 hrs                  $550.00

     TOTAL CHARGES FOR THIS INVOICE                                            $550.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                               Monthly Invoices Pg 72 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         February 25, 2013

                                                                 Billed through 01/31/2013
Tammy Hamzephour                                                 Invoice # 53177      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01199
190-FTW-L95
Fort Washington, PA 19034

Re: Larry Crosser
Matter No.:729410

PROFESSIONAL SERVICES

01/03/2013   KMC       Telephone conference with Ms. McGinnis                    L110        0.10 hrs
                       (Residential Capital) regarding whether borrowers
                       are current.
01/03/2013   KMC       Review Fi-serve information regarding payments.           L110        0.10 hrs


01/14/2013   KMC       Review e-mail regarding dismissing new                    L110        0.10 hrs
                       foreclosure.



                       TOTAL FEES FOR THIS MATTER                                               $60.00


BILLING SUMMARY


         Cadieux, Karen M.                           0.30 hrs    200.00 /hr         $60.00



     TOTAL FEES                                      0.30 hrs                      $60.00

     TOTAL CHARGES FOR THIS INVOICE                                                $60.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                  Monthly Invoices Pg 73 of 701
                              CARPENTER LIPPS & LELAND LLP

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                                         Columbus, OH 43215
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                                            February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53178      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01201
190-FTW-L95
Fort Washington, PA 19034

Re: Robert D. Kehoe, et al.
    Matter No.:729779

PROFESSIONAL SERVICES

01/24/2013    KMC         Review order regarding withdrawal of counsel for          L210        0.10 hrs
                          borrowers.



                         TOTAL FEES FOR THIS MATTER                                                $20.00


BILLING SUMMARY


           Cadieux, Karen M.                            0.10 hrs   200.00 /hr          $20.00



      TOTAL FEES                                        0.10 hrs                      $20.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $20.00
       12-12020-mg         Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                                    Monthly Invoices Pg 74 of 701
                            CARPENTER LIPPS & LELAND LLP

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                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                               February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53179      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01203
190-FTW-L95
Fort Washington, PA 19034

Re: Caley Coleff, et al.
Matter No.: 729894

PROFESSIONAL SERVICES

01/16/2013     KMC         Review e-mail regarding proof of claim being filed        L210        0.10 hrs
                           in ResCap bankruptcy.

01/28/2013     KMC         Review borrower's appellate brief.                        L110        0.40 hrs


01/31/2013     KMC         Draft appellate brief.                                    L510        1.60 hrs




                           TOTAL FEES FOR THIS MATTER                                             $420.00


BILLING SUMMARY


           Cadieux, Karen M.                              2.10 hrs   200.00 /hr        $420.00



      TOTAL FEES                                          2.10 hrs                    $420.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $420.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
                                  Monthly Invoices Pg 75 of 701
                              CARPENTER LIPPS & LELAND LLP

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                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                                February 25, 2013

                                                                         Billed through 01/31/2013
Tammy Hamzephour                                                         Invoice # 53180      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01207
190-FTW-L95
Fort Washington, PA 19034

Re: Orlinda Beatty, et al.
Matter No.: 730101

PROFESSIONAL SERVICES

01/07/2013     KMC           E-mail correspondence with borrowers' counsel               L110        0.30 hrs
                             regarding loss mitigation under AG settlement.

01/07/2013     KMC           Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                             (Residential Capital) regarding loss mitigation
                             under AG settlement.
01/28/2013     KMC           Review e-mail from Ms. McGinnis (Residential                L110        0.10 hrs
                             Capital) regarding loss mitigation review being
                             closed.


                             TOTAL FEES FOR THIS MATTER                                               $120.00


BILLING SUMMARY


           Cadieux, Karen M.                                0.60 hrs    200.00 /hr         $120.00



      TOTAL FEES                                            0.60 hrs                      $120.00

      TOTAL CHARGES FOR THIS INVOICE                                                      $120.00
       12-12020-mg        Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                                   Monthly Invoices Pg 76 of 701
                           CARPENTER LIPPS & LELAND LLP

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                                          Columbus, OH 43215
                                             (614) 365-4100
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                                            February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53181      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01209
190-FTW-L95
Fort Washington, PA 19034

Re: Jesus Laboy, et al.
Matter No.: 730485

PROFESSIONAL SERVICES

01/14/2013    KMC         Review order adopting Magistrate's decision.              L210        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                               $20.00


BILLING SUMMARY


           Cadieux, Karen M.                            0.10 hrs    200.00 /hr         $20.00



      TOTAL FEES                                        0.10 hrs                      $20.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $20.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                  Monthly Invoices Pg 77 of 701
                              CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
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                                            February 25, 2013

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Tammy Hamzephour                                                    Invoice # 53182      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01212
190-FTW-L95
Fort Washington, PA 19034

Re: Felix R. Aponte, et al.
Matter No.: 731345

PROFESSIONAL SERVICES

01/22/2013     DAW        Review Court's order regarding no oral argument.          L140        0.10 hrs


01/22/2013     KMC        Review entry regarding oral argument.                     L110        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                               $50.00


BILLING SUMMARY


           Wallace, David A.                            0.10 hrs   300.00 /hr          $30.00


           Cadieux, Karen M.                            0.10 hrs   200.00 /hr          $20.00



      TOTAL FEES                                        0.20 hrs                      $50.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $50.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                                 Monthly Invoices Pg 78 of 701
                           CARPENTER LIPPS & LELAND LLP

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                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53183      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01213
190-FTW-L95
Fort Washington, PA 19034

Re: Robert L. Rhodes, et al.
Matter No.: 731453

PROFESSIONAL SERVICES

01/29/2013    DAW        Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                         (Residential Capital, LLC) regarding case status.



                         TOTAL FEES FOR THIS MATTER                                                 $30.00


BILLING SUMMARY


           Wallace, David A.                            0.10 hrs    300.00 /hr          $30.00



      TOTAL FEES                                        0.10 hrs                       $30.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $30.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                               Monthly Invoices Pg 79 of 701
                         CARPENTER LIPPS & LELAND LLP

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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53184      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01215
190-FTW-L95
Fort Washington, PA 19034

Re: John V. Seel


PROFESSIONAL SERVICES

01/01/2013   DAW       Review notice of senior lien stay request                   L120        0.20 hrs
                       questionnaire.



                       TOTAL FEES FOR THIS MATTER                                                 $60.00


BILLING SUMMARY


          Wallace, David A.                           0.20 hrs     300.00 /hr         $60.00



     TOTAL FEES                                       0.20 hrs                       $60.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $60.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                 Monthly Invoices Pg 80 of 701
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53185      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01216
190-FTW-L95
Fort Washington, PA 19034

Re: Robert H. Denny, et al. (Foreclosure Action)
Matter No.: 731863

PROFESSIONAL SERVICES

01/03/2013    DAW        Review correspondence from Ms. Denny to the                  L120        0.10 hrs
                         Court regarding discovery.

01/03/2013    DAW        Revise responses to interrogatories, request for             L310        2.20 hrs
                         production of documents, and requests for
                         admission.
01/03/2013    DAW        Conference with Ms. Cadieux regarding case                   L120        0.20 hrs
                         issues and discovery.

01/03/2013    KMC        Draft letter to judge regarding discovery issues.            L210        0.30 hrs


01/03/2013    KMC        Review letter to judge sent by borrowers regarding           L210        0.10 hrs
                         discovery.

01/03/2013    KMC        Telephone conference with Ms. McGinnis                       L110        0.30 hrs
                         (Residential Capital) regarding issue locating
                         original note.
01/04/2013    DAW        Revise correspondence to Court regarding                     L120        0.40 hrs
                         discovery.

01/04/2013    KMC        Forward copy of original collateral file to Ms.              L110        0.20 hrs
                         McGinnis (Residential Capital).

01/04/2013    KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  096 01216                  Monthly Invoices Pg 81 of 701
                                                         Invoice # 53185          Page 2
                    (Residential Capital) regarding original collateral
                    file.
01/04/2013   KMC    Telephone conference with Ms. McGinnis                 L110     0.30 hrs
                    (Residential Capital) regarding original collateral
                    file.
01/04/2013   KMC    Draft response to motion to dismiss.                   L110     0.30 hrs


01/04/2013   KMC    Review amendment to servicing agreement.               L110     0.40 hrs


01/04/2013   KMC    Draft responses to discovery.                          L310     0.80 hrs


01/07/2013   DAW    Revise discovery responses.                            L310     0.60 hrs


01/07/2013   RBS    Compile and prepare documents to be produced for       L310     4.30 hrs
                    Ms. Cadieux.

01/07/2013   KMC    E-mail correspondence regarding locating original      L110     0.10 hrs
                    note.

01/07/2013   KMC    E-mail correspondence with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding monthly
                    statements.
01/07/2013   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding issues with locating
                    collateral file.
01/07/2013   KMC    E-mail correspondence with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding force placed
                    insurance.
01/07/2013   KMC    E-mail correspondence with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding BONY's
                    acquisition of JP Morgan Trust Business.
01/07/2013   KMC    Draft discovery responses.                             L310     2.80 hrs


01/07/2013   KMC    Revise response to motion to dismiss.                  L210     0.30 hrs


01/08/2013   DAW    Review e-mail regarding response to custodial          L120     0.20 hrs
                    issues.

01/08/2013   RBS    Prepare documents to be produced and CDs of            L310     3.50 hrs
                    same for Ms. Cadieux.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  096 01216                  Monthly Invoices Pg 82 of 701
                                                         Invoice # 53185          Page 3


01/08/2013   KMC    Telephone conference with Ms. McGinnis                 L110     0.30 hrs
                    (Residential Capital) regarding custodian of loan.

01/08/2013   KMC    Review power of attorney for trust.                    L110     0.20 hrs


01/08/2013   KMC    Revise discovery responses per Mr. Wallace.            L310     2.60 hrs


01/08/2013   KMC    Review documents to be produced for privilege.         L110     1.90 hrs


01/08/2013   KMC    Forward draft discovery responses and documents        L110     0.40 hrs
                    to Ms. McGinnis (Residential Capital) for review
                    and verification.
01/08/2013   KMC    Review monthly remittance report.                      L110     0.30 hrs


01/09/2013   KMC    Telephone conference with Ms. McGinnis                 L310     0.20 hrs
                    (Residential Capital) regarding discovery
                    responses.
01/09/2013   KMC    Review e-mail regarding custodian of loan.             L110     0.10 hrs


01/09/2013   KMC    Review order setting removal non-oral hearing on       L110     0.10 hrs
                    motion to dismiss.

01/09/2013   KMC    Review verification for interrogatories.               L310     0.10 hrs


01/09/2013   KMC    E-mail correspondence with foreclosure counsel         L110     0.20 hrs
                    regarding original note.

01/09/2013   KMC    Draft interrogatories and request for production of    L310     1.20 hrs
                    documents to Mr. Denny.

01/09/2013   KMC    Draft interrogatories and requests for production of   L110     1.10 hrs
                    documents to Mrs. Denny.

01/10/2013   DAW    Review Court's notice of non-oral hearing.             L120     0.10 hrs


01/10/2013   DAW    Review signed verification from Mr. Knapp.             L120     0.10 hrs


01/15/2013   DAW    Review e-mail confirming custodian as JPMorgan.        L140     0.10 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                         Invoice # 53185         Page 4



01/15/2013   KMC    Review e-mail regarding confirmation of               L110     0.10 hrs
                    custodian.

01/16/2013   KMC    Review answers filed by borrowers.                    L210     0.20 hrs


01/17/2013   DAW    Review submission supporting motion to dismiss.       L120     0.10 hrs


01/17/2013   DAW    Review response to Court order.                       L120     0.10 hrs


01/22/2013   DAW    Conference with Ms. Cadieux regarding discovery       L120     0.20 hrs
                    responses and requests.

01/22/2013   KMC    Finalize discovery responses and producing            L110     0.30 hrs
                    documents.

01/22/2013   KMC    Draft memorandum in opposition to motion to           L210     0.60 hrs
                    dismiss.

01/22/2013   KMC    Revise discovery responses.                           L310     0.20 hrs


01/22/2013   KMC    Review cases regarding dismissal as discovery         L110     0.20 hrs
                    sanctions.

01/22/2013   KMC    Research regarding dismissal as discovery             L110     0.40 hrs
                    sanctions.

01/22/2013   KMC    Revise discovery requests.                            L310     0.40 hrs


01/22/2013   JDR    Research regarding impermissibility of moving to      L120     0.30 hrs
                    dismiss for a discovery dispute in the absence of a
                    motion to compel.
01/23/2013   DAW    Review opposition to motion to dismiss, and           L120     0.20 hrs
                    request Court order.

01/23/2013   RBS    Prepare discovery materials to serve for Ms.          L310     0.20 hrs
                    Cadieux.

01/27/2013   DAW    Revise response to motion to dismiss.                 L250     0.50 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
  096 01216                   Monthly Invoices Pg 84 of 701
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01/27/2013   DAW      Revise motion for leave.                                   L250        0.20 hrs


01/27/2013   KMC      Draft memorandum in opposition to motion to                L210        0.40 hrs
                      dismiss.

01/27/2013   KMC      Draft motion for leave to file memorandum in               L210        0.40 hrs
                      opposition to motion to dismiss.

01/28/2013   RBS      Prepare exhibits requested by Ms. Cadieux.                 L310        0.20 hrs


01/28/2013   KMC      Revise motion for leave to file memorandum in              L110        0.20 hrs
                      opposition to motion to dismiss.

01/28/2013   KMC      Revise memorandum in opposition to motion to               L210        1.20 hrs
                      dismiss.

01/28/2013   KMC      Prepare motion for leave for filing.                       L210        0.30 hrs


01/28/2013   KMC      Draft proposed entry granting leave to file                L110        0.20 hrs
                      memorandum in opposition to motion to dismiss.

01/31/2013   KMC      Review order granting leave to file memorandum             L110        0.10 hrs
                      in opposition to motion to dismiss.



                      TOTAL FEES FOR THIS MATTER                                             $6,618.00

EXPENSES

01/28/2013            Out-of-Town Travel/Mileage (60 miles X .565) - travel to                  $33.90
                      Fairfield County for filing (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                            $33.90


BILLING SUMMARY


         Wallace, David A.                            5.30 hrs   300.00 /hr      $1,590.00


         Rhode, Jacob D.                              0.30 hrs   160.00 /hr        $48.00


         Cadieux, Karen M.                          20.80 hrs    200.00 /hr      $4,160.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                       Invoice # 53185         Page 6



      Samson, Robert B.                     8.20 hrs   100.00 /hr        $820.00



   TOTAL FEES                              34.60 hrs                $6,618.00

   TOTAL EXPENSES                                                        $33.90

   TOTAL CHARGES FOR THIS INVOICE                                   $6,651.90
        12-12020-mg        Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
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                             CARPENTER LIPPS & LELAND LLP

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                                             February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53186      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01220
190-FTW-L95
Fort Washington, PA 19034

Re: Robert C. Luft, Jr., et al.
Matter No.: 733433

PROFESSIONAL SERVICES

01/23/2013     DAW         Review notice of motion to dismiss.                        L120        0.10 hrs


01/23/2013     DAW         Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.20 hrs
                           LLC) regarding dismissal entry.

01/23/2013     KMC         Review motion to dismiss.                                  L110        0.10 hrs


01/24/2013     KMC         Review order dismissing case.                              L210        0.10 hrs




                           TOTAL FEES FOR THIS MATTER                                              $130.00


BILLING SUMMARY


           Wallace, David A.                               0.30 hrs   300.00 /hr         $90.00


           Cadieux, Karen M.                               0.20 hrs   200.00 /hr         $40.00



      TOTAL FEES                                           0.50 hrs                    $130.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
096 01220                  Monthly Invoices Pg 87 of 701
                                                       Invoice # 53186         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                        $130.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                           CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53187      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01221
190-FTW-L95
Fort Washington, PA 19034

Re: Richard E. Jackson, et al.
Matter No.: 733428

PROFESSIONAL SERVICES

01/28/2013    KMC         Review order dismissing case.                              L210        0.10 hrs


01/28/2013    KMC         Forward order dismissing case to Ms. McGinnis              L110        0.10 hrs
                          (Residential Capital).



                          TOTAL FEES FOR THIS MATTER                                                $40.00


BILLING SUMMARY


           Cadieux, Karen M.                              0.20 hrs   200.00 /hr         $40.00



      TOTAL FEES                                          0.20 hrs                     $40.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $40.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                                 Monthly Invoices Pg 89 of 701
                          CARPENTER LIPPS & LELAND LLP

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                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53188      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01222
190-FTW-L95
Fort Washington, PA 19034

Re: John M. Wysocki, et al.
Matter No.: 733461

PROFESSIONAL SERVICES

01/10/2013    KMC       Review notice of bankruptcy.                              L210        0.10 hrs


01/10/2013    KMC       Forward notice of bankruptcy to Ms. McGinnis              L210        0.10 hrs
                        (Residential Capital).



                        TOTAL FEES FOR THIS MATTER                                               $40.00


BILLING SUMMARY


          Cadieux, Karen M.                            0.20 hrs   200.00 /hr         $40.00



      TOTAL FEES                                       0.20 hrs                     $40.00

      TOTAL CHARGES FOR THIS INVOICE                                                $40.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
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                           CARPENTER LIPPS & LELAND LLP

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                                        Columbus, OH 43215
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                                       Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53189      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01223
190-FTW-L95
Fort Washington, PA 19034

Re: Christopher C. Dubay et, al.


PROFESSIONAL SERVICES

01/24/2013    KMC        Review message from borrowers' counsel                   L110        0.10 hrs
                         regarding assumption.



                         TOTAL FEES FOR THIS MATTER                                              $20.00


BILLING SUMMARY


          Cadieux, Karen M.                          0.10 hrs     200.00 /hr         $20.00



      TOTAL FEES                                     0.10 hrs                       $20.00

      TOTAL CHARGES FOR THIS INVOICE                                                $20.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
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                         CARPENTER LIPPS & LELAND LLP

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                                            February 25, 2013

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Tammy Hamzephour                                                    Invoice # 53190      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01225
190-FTW-L95
Fort Washington, PA 19034

Re: Gene Bucnaventura McKinley, et al.
Matter No.: 734068

PROFESSIONAL SERVICES

01/16/2013   KMC        Review notice of substitution of counsel.                   L210        0.10 hrs


01/17/2013   DAW        Review notice of substitution of counsel.                   L120        0.10 hrs




                        TOTAL FEES FOR THIS MATTER                                                 $50.00


BILLING SUMMARY


          Wallace, David A.                            0.10 hrs     300.00 /hr         $30.00


          Cadieux, Karen M.                            0.10 hrs     200.00 /hr         $20.00



     TOTAL FEES                                        0.20 hrs                       $50.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $50.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                            CARPENTER LIPPS & LELAND LLP

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                                         Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53191      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01226
190-FTW-L95
Fort Washington, PA 19034

Re: Amy Jo Abner, et al.
    Matter No.: 733680

PROFESSIONAL SERVICES

01/09/2013    KMC          Review e-mail from Ms. McWilliams (Residential          L110        0.10 hrs
                           Capital) regarding case being closed.



                           TOTAL FEES FOR THIS MATTER                                             $20.00


BILLING SUMMARY


          Cadieux, Karen M.                            0.10 hrs    200.00 /hr         $20.00



      TOTAL FEES                                       0.10 hrs                      $20.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $20.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
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                              CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
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                                          Federal ID # XX-XXXXXXX



                                              February 25, 2013

                                                                      Billed through 01/31/2013
Tammy Hamzephour                                                      Invoice # 53192      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01228
190-FTW-L95
Fort Washington, PA 19034

Re: Robert J. Baker, et al.
Matter No.: 734671

PROFESSIONAL SERVICES

01/03/2013     KMC        Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                          (Residential Capital) regarding status of case and
                          other loans of the borrowers' serviced by
                          GMACM.
01/03/2013     KMC        Review information regarding other loans with the           L110        0.20 hrs
                          borrowers.

01/06/2013     KMC        Draft disclaimer of interest.                               L210        0.30 hrs


01/07/2013     DAW        Revise disclaimer of interest.                              L120        0.30 hrs


01/07/2013     KMC        Draft disclaimer of interest.                               L110        0.10 hrs


01/08/2013     KMC        Review e-mail regarding documents needed for                L110        0.20 hrs
                          loss mitigation review.

01/29/2013     KMC        Review updated docket.                                      L110        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                               $330.00
     12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                        Invoice # 53192         Page 2


BILLING SUMMARY


       Wallace, David A.                     0.30 hrs   300.00 /hr         $90.00


       Cadieux, Karen M.                     1.20 hrs   200.00 /hr        $240.00



    TOTAL FEES                               1.50 hrs                     $330.00

    TOTAL CHARGES FOR THIS INVOICE                                        $330.00
      12-12020-mg        Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                  Monthly Invoices Pg 95 of 701
                          CARPENTER LIPPS & LELAND LLP

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                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53193      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01229
190-FTW-L95
Fort Washington, PA 19034

Re: Mae Huggins
    Matter No.: 735091

PROFESSIONAL SERVICES

01/01/2013   DAW         Revise answer to complaint.                                 L210        0.40 hrs


01/02/2013   KMC         Revise answer.                                              L110        0.40 hrs


01/02/2013   KMC         Attention to filing answer with exhibits.                   L110        0.30 hrs




                         TOTAL FEES FOR THIS MATTER                                               $260.00


BILLING SUMMARY


         Wallace, David A.                               0.40 hrs    300.00 /hr        $120.00


         Cadieux, Karen M.                               0.70 hrs    200.00 /hr        $140.00



     TOTAL FEES                                          1.10 hrs                     $260.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $260.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                             CARPENTER LIPPS & LELAND LLP

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                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53194      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01230
190-FTW-L95
Fort Washington, PA 19034

Re: Christine M. Falkosky


PROFESSIONAL SERVICES

01/14/2013   JES         Draft e-mail to Ms. Scoliard (Residential Capital)         L120        0.30 hrs
                         regarding recent Court orders and entries regarding
                         case deadlines.


                         TOTAL FEES FOR THIS MATTER                                                $66.00


BILLING SUMMARY


          Sechler, Joel E.                              0.30 hrs    220.00 /hr         $66.00



     TOTAL FEES                                         0.30 hrs                      $66.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $66.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                  Monthly Invoices Pg 97 of 701
                           CARPENTER LIPPS & LELAND LLP

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                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             February 25, 2013

                                                                       Billed through 01/31/2013
Tammy Hamzephour                                                       Invoice # 53195      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01231
190-FTW-L95
Fort Washington, PA 19034

Re: Robert S. Dinkins, et al.
Matter No.: 735559

PROFESSIONAL SERVICES

01/04/2013     DAW        Conference with Ms. Cadieux regarding reply to               L120        0.20 hrs
                          counterclaim and motion to dismiss.

01/06/2013     KMC        Review information regarding investor.                       L110        0.20 hrs


01/06/2013     KMC        E-mail Ms. McGinnis (Residential Capital)                    L110        0.20 hrs
                          regarding whether loan is in a trust.

01/06/2013     KMC        Review information regarding assignments.                    L110        0.10 hrs


01/07/2013     DAW        Revise reply to counterclaim.                                L210        0.60 hrs


01/07/2013     KMC        Review PSA.                                                  L110        0.30 hrs


01/07/2013     KMC        Review order denying motion to dismiss.                      L210        0.20 hrs


01/07/2013     KMC        Draft reply to counterclaim.                                 L210        1.30 hrs


01/08/2013     KMC        Attention to filing reply to counterclaim.                   L210        0.30 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                         Invoice # 53195        Page 2


01/08/2013   KMC    Revise reply to counterclaiim.                       L210     0.60 hrs


01/10/2013   DAW    Review trial notice.                                 L120     0.10 hrs


01/10/2013   DAW    Review e-mail regarding additional MERS              L120     0.10 hrs
                    defendant in foreclosure.

01/10/2013   KMC    Review time-stamped reply to counterclaim.           L110     0.10 hrs


01/10/2013   KMC    Review notice of change of address.                  L110     0.10 hrs


01/10/2013   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.30 hrs
                    regarding MERS notices and research regarding
                    other loans.
01/11/2013   DAW    Review e-mail regarding possible additional          L120     0.10 hrs
                    MERS representation.

01/15/2013   KMC    Review e-mail regarding MERS loans for               L110     0.10 hrs
                    borrower.

01/18/2013   KMC    Review notice of trial date.                         L110     0.10 hrs


01/22/2013   KMC    Review MERS reports.                                 L110     0.10 hrs


01/22/2013   KMC    E-mail regarding other loans for borrowers.          L110     0.10 hrs


01/23/2013   KMC    Review e-mail from Ms. McGinnis (Residential         L110     0.10 hrs
                    Capital) regarding information needed for other
                    loan.
01/24/2013   DAW    Draft e-mail to Ms. McGinnis (Residential Capital,   L120     0.10 hrs
                    LLC) regarding trial setting.

01/25/2013   KMC    Review discovery requests.                           L310     0.10 hrs


01/28/2013   DAW    Review correspondence regarding discovery            L120     0.10 hrs
                    requests.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  096 01231                   Monthly Invoices Pg 99 of 701
                                                          Invoice # 53195              Page 3
01/28/2013   KMC      Telephone conference with Ms. McGinnis                   L110        0.30 hrs
                      (Residential Capital) regarding MERS issues.

01/28/2013   KMC      Review additional information regarding M&I              L110        0.30 hrs
                      Bank loan.

01/28/2013   KMC      Research regarding other mortgages on the                L110        0.40 hrs
                      property.

01/28/2013   KMC      Forward discovery requests to Ms. McGinnis               L110        0.10 hrs
                      (Residential Capital).

01/30/2013   DAW      Conference with Ms. Cadieux regarding M&I                L120        0.20 hrs
                      mortgage, and MERS issues.

01/30/2013   KMC      Review notice of service of discovery.                   L110        0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                           $1,550.00


BILLING SUMMARY


         Wallace, David A.                          1.50 hrs      300.00 /hr     $450.00


         Cadieux, Karen M.                          5.50 hrs      200.00 /hr   $1,100.00



     TOTAL FEES                                     7.00 hrs                   $1,550.00

     TOTAL CHARGES FOR THIS INVOICE                                            $1,550.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 100 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53196      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01232
190-FTW-L95
Fort Washington, PA 19034

Re: Dale R. Earl


PROFESSIONAL SERVICES

01/03/2013   DAW       Review Court's order granting leave to plead.              L120        0.10 hrs


01/10/2013   DAW       Review e-mail regarding new case assignment.               L120        0.10 hrs


01/10/2013   DAW       Review Court docket.                                       L120        0.20 hrs


01/10/2013   DAW       Review notes, mortgage, AOM, and related                   L120        0.10 hrs
                       documents.

01/10/2013   DAW       Review notice of service.                                  L120        0.10 hrs


01/10/2013   DAW       Review signed certified mail green card                    L120        0.10 hrs
                       demonstrating service on GMACM.

01/10/2013   DAW       Review Probate Court documents.                            L120        0.30 hrs


01/10/2013   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.20 hrs
                       LLC) regarding initial case review.

01/10/2013   KMC       Review new case materials.                                 L110        0.20 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  096 01232                  Monthly Invoices Pg 101 of 701
                                                         Invoice # 53196               Page 2


01/11/2013   DAW      Draft e-mail regarding initial case review, and          L120        0.70 hrs
                      entry of judgment.

01/11/2013   DAW      Telephone conference with Ms. McGinnis                   L120        0.10 hrs
                      (Residential Capital, LLC) regarding entry of
                      judgment.
01/11/2013   DAW      Review additional Probate Court documents, and           L120        0.50 hrs
                      GMAC servicing records.

01/12/2013   DAW      Review additional records to determine course of         L120        0.40 hrs
                      action.

01/29/2013   DAW      Telephone conference with Ms. McGinnis                   L120        0.10 hrs
                      (Residential Capital, LLC) regarding case status
                      and transfer to Greentree.
01/29/2013   KMC      Research regarding release of lien and status of         L110        0.60 hrs
                      case.

01/29/2013   KMC      Telephone conference with Ms. McGinnis                   L110        0.40 hrs
                      (Residential Capital) regarding status of case and
                      lien.


                      TOTAL FEES FOR THIS MATTER                                           $1,140.00


BILLING SUMMARY


         Wallace, David A.                           3.00 hrs     300.00 /hr     $900.00


         Cadieux, Karen M.                           1.20 hrs     200.00 /hr     $240.00



     TOTAL FEES                                      4.20 hrs                  $1,140.00

     TOTAL CHARGES FOR THIS INVOICE                                            $1,140.00
        12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                  Monthly Invoices Pg 102 of 701
                            CARPENTER LIPPS & LELAND LLP

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                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                              February 25, 2013

                                                                        Billed through 01/31/2013
Tammy Hamzephour                                                        Invoice # 53197      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01233
190-FTW-L95
Fort Washington, PA 19034

Re: John T. Walker, III, et al.


PROFESSIONAL SERVICES

01/02/2013     KMC         Review fact package.                                         L110        0.30 hrs


01/04/2013     DAW         Conference with Ms. Cadieux regarding reply to               L120        0.20 hrs
                           counterclaim and motion to dismiss.

01/07/2013     KMC         Review Fi-serve information for loan.                        L110        0.10 hrs


01/09/2013     DAW         Revise reply to counterclaim.                                L120        0.30 hrs


01/09/2013     KMC         Review foreclosure file.                                     L110        0.20 hrs


01/09/2013     KMC         Draft reply to counterclaim.                                 L210        1.30 hrs


01/10/2013     KMC         Revise reply to counterclaim.                                L210        0.20 hrs


01/10/2013     KMC         Attention to filing reply to counterclaim.                   L110        0.20 hrs


01/11/2013     DAW         Revise reply.                                                L210        0.20 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
  096 01233                  Monthly Invoices Pg 103 of 701
                                                         Invoice # 53197              Page 2


01/16/2013   KMC      Review notice of substitution of counsel.                L210       0.10 hrs


01/16/2013   KMC      Review notice of trial date.                             L110       0.10 hrs


01/17/2013   DAW      Review Court's notice of trial date.                     L120       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                           $740.00


BILLING SUMMARY


         Wallace, David A.                            0.80 hrs    300.00 /hr    $240.00


         Cadieux, Karen M.                            2.50 hrs    200.00 /hr    $500.00



     TOTAL FEES                                       3.30 hrs                  $740.00

     TOTAL CHARGES FOR THIS INVOICE                                             $740.00
        12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
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                               CARPENTER LIPPS & LELAND LLP

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                                              Columbus, OH 43215
                                                 (614) 365-4100
                                             Federal ID # XX-XXXXXXX



                                                February 25, 2013

                                                                         Billed through 01/31/2013
Tammy Hamzephour                                                         Invoice # 53198      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01234
190-FTW-L95
Fort Washington, PA 19034

Re: Kellie J. Boyer, et al.


PROFESSIONAL SERVICES

01/02/2013     DAW            Review MERS answer.                                         L210       0.20 hrs


01/02/2013     DAW            Revise GMACM answer.                                        L210       0.20 hrs


01/02/2013     DAW            Revise motion to intervene.                                 L240       0.40 hrs


01/02/2013     RBS            Prepare exhibits for Ms. Cadieux.                    A902   L310       0.30 hrs


01/02/2013     KMC            Draft motion to intervene on behalf of GMACM.               L210       1.10 hrs


01/02/2013     KMC            Draft proposed order granting motion to intervene.          L110       0.20 hrs


01/02/2013     KMC            Draft answer for MERS.                                      L110       1.10 hrs


01/02/2013     KMC            Review documents from GMACM regarding                       L110       0.10 hrs
                              amount owed.

01/02/2013     KMC            Draft answer for GMACM                                      L210       0.90 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  096 01234                  Monthly Invoices Pg 105 of 701
                                                         Invoice # 53198               Page 2


01/06/2013   KMC      Review information regarding investor.                   L110        0.10 hrs


01/09/2013   KMC      Review fact package.                                     L110        0.30 hrs


01/14/2013   DAW      Review Court order referring matter to mediation.        L140        0.20 hrs


01/14/2013   KMC      Review order referring case to mediation.                L210        0.10 hrs


01/29/2013   DAW      Telephone conference with Ms. McGinnis                   L120        0.10 hrs
                      (Residential Capital, LLC) regarding case status
                      and transfer to Greentree.


                      TOTAL FEES FOR THIS MATTER                                           $1,140.00


BILLING SUMMARY


         Wallace, David A.                           1.10 hrs     300.00 /hr     $330.00


         Cadieux, Karen M.                           3.90 hrs     200.00 /hr     $780.00


         Samson, Robert B.                           0.30 hrs     100.00 /hr      $30.00



     TOTAL FEES                                      5.30 hrs                  $1,140.00

     TOTAL CHARGES FOR THIS INVOICE                                            $1,140.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                 Monthly Invoices Pg 106 of 701
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53199      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01235
190-FTW-L95
Fort Washington, PA 19034

Re: Stanley Jackson, et al.


PROFESSIONAL SERVICES

01/22/2013     DAW        Review e-mail regarding new case assignment and            L120        0.20 hrs
                          e-mail to foreclosure counsel regarding file
                          transfer.
01/22/2013     DAW        Telephone conference with Ms. McGinnis                     L120        0.10 hrs
                          (Residential Capital, LLC) regarding new case
                          assignment and e-mail to foreclosure counsel
                          regarding transfer.
01/22/2013     KMC        Review e-mail regarding new appeal case.                   L110        0.20 hrs


01/23/2013     DAW        Review e-mail to foreclosure counsel regarding             L120        0.10 hrs
                          additional pleadings, and background regarding
                          note defect issues.
01/29/2013     KMC        Review fact package.                                       L110        0.30 hrs


01/30/2013     DAW        Review e-mail regarding position on execution of           L120        0.10 hrs
                          judgment.

01/30/2013     DAW        Draft e-mail to Ms. Cadieux regarding position on          L120        0.10 hrs
                          execution of judgment.

01/31/2013     KMC        Review e-mail regarding whether to vacate order            L110        0.10 hrs
                          of sale.
     12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
 096 01235                 Monthly Invoices Pg 107 of 701
                                                       Invoice # 53199         Page 2


                    TOTAL FEES FOR THIS MATTER                                     $300.00


BILLING SUMMARY


       Wallace, David A.                    0.60 hrs   300.00 /hr        $180.00


       Cadieux, Karen M.                    0.60 hrs   200.00 /hr        $120.00



    TOTAL FEES                              1.20 hrs                     $300.00

    TOTAL CHARGES FOR THIS INVOICE                                       $300.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                                Monthly Invoices Pg 108 of 701
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53200      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01236
190-FTW-L95
Fort Washington, PA 19034

Re: Chester Fitzsimmons, et al.


PROFESSIONAL SERVICES

01/30/2013    DAW        Review e-mail from Ms. McGinnis (Residential             L120        0.10 hrs
                         Capital, LLC) regarding new case assignment.

01/30/2013    DAW        Review complaint, summons, and docket regarding          L120        0.30 hrs
                         new case assignment.

01/30/2013    KMC        Review e-mail with new case referral.                    L110        0.10 hrs




                         TOTAL FEES FOR THIS MATTER                                            $140.00


BILLING SUMMARY


          Wallace, David A.                            0.40 hrs   300.00 /hr        $120.00


          Cadieux, Karen M.                            0.10 hrs   200.00 /hr         $20.00



      TOTAL FEES                                       0.50 hrs                    $140.00

      TOTAL CHARGES FOR THIS INVOICE                                               $140.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                              Monthly Invoices Pg 109 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         February 25, 2013

                                                                 Billed through 01/31/2013
Tammy Hamzephour                                                 Invoice # 53201      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01122
190-FTW-L95
Fort Washington, PA 19034

Re: Michael A. Fox
Matter No.: 704281

PROFESSIONAL SERVICES

01/14/2013   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.30 hrs
                       regarding possible settlement.

01/14/2013   DAW       Review e-mail from Mr. Sherrod (Fox counsel)              L140        0.10 hrs
                       regarding possible settlement.

01/17/2013   DAW       Review e-mail from Ms. Ho (Residential Capital,           L120        0.10 hrs
                       LLC) regarding settlement proposal and transfer of
                       file to foreclosure department.


                       TOTAL FEES FOR THIS MATTER                                             $150.00


BILLING SUMMARY


         Wallace, David A.                           0.50 hrs    300.00 /hr        $150.00



     TOTAL FEES                                      0.50 hrs                     $150.00

     TOTAL CHARGES FOR THIS INVOICE                                               $150.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53202      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 621 01124
190-FTW-L95
Fort Washington, PA 19034

Re: Nicholas Stincic
Matter No.: 705844

PROFESSIONAL SERVICES

01/17/2013    DAW      Review e-mail from Mr. Stincic regarding account            L120        0.10 hrs
                       issues.

01/18/2013    DAW      Draft e-mails to Ms. Ho (Residential Capital, LLC)          L140        0.20 hrs
                       regarding Stincic communications.

01/18/2013    DAW      Review communications, settlement agreement,                L140        2.90 hrs
                       payment history, and escrow analysis in connection
                       with response to Mr. Stincic account inquiries.
01/18/2013    DAW      Draft e-mail to Mr. Stincic regarding response to           L120        0.10 hrs
                       account inquiries.

01/22/2013    DAW      Telephone conference with Ms. Ho (Residential               L190        0.30 hrs
                       Capital, LLC) regarding correspondence to Mr.
                       Stincic.
01/23/2013    DAW      Telephone conference with Ms. Frame and Ms. Ho              L120        0.80 hrs
                       (Residential Capital, LLC) regarding account
                       issues, and correspondence to Mr. Stincic.
01/23/2013    DAW      Review reinstatement information from Ms. Frame             L120        0.20 hrs
                       (Residential Capital, LLC).

01/23/2013    DAW      Revise correspondence to Mr. Stincic responding             L140        1.30 hrs
                       to complaints about loan account.

01/28/2013    DAW      Review e-mail from Mr. Stincic regarding                    L120        0.10 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  621 01124                  Monthly Invoices Pg 111 of 701
                                                         Invoice # 53202             Page 2
                      accounting issues.

01/28/2013   DAW      Draft e-mail to Ms. Ho (Residential Capital, LLC)      L120        0.20 hrs
                      regarding Stincic response.

01/30/2013   DAW      Telephone conference with Ms. Ho regarding             L120        0.20 hrs
                      account and status issues.



                      TOTAL FEES FOR THIS MATTER                                         $1,920.00


BILLING SUMMARY


         Wallace, David A.                          6.40 hrs    300.00 /hr   $1,920.00



     TOTAL FEES                                     6.40 hrs                 $1,920.00

     TOTAL CHARGES FOR THIS INVOICE                                          $1,920.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                              Monthly Invoices Pg 112 of 701
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                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                         February 25, 2013

                                                                 Billed through 01/31/2013
Tammy Hamzephour                                                 Invoice # 53203      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Freddie Hoop
Matter No.: 709674

PROFESSIONAL SERVICES

01/08/2013   DAW       Review e-mail to Ms. Ho (Residential Capital,             L120        0.10 hrs
                       LLC) regarding case update.



                       TOTAL FEES FOR THIS MATTER                                               $30.00


BILLING SUMMARY


         Wallace, David A.                           0.10 hrs   300.00 /hr          $30.00



     TOTAL FEES                                      0.10 hrs                      $30.00

     TOTAL CHARGES FOR THIS INVOICE                                                $30.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                 Monthly Invoices Pg 113 of 701
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53204      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 621 01145
190-FTW-L95
Fort Washington, PA 19034

Re: James Walton, Jr., et al.
Matter No.: 713075

PROFESSIONAL SERVICES

01/08/2013     DAW        Review e-mail from Ms. Ho (Residential Capital,            L120        0.10 hrs
                          LLC) regarding POC and settlement.

01/08/2013     DAW        Review POC filed by Waltons in ResCap                      L120        0.10 hrs
                          bankruptcy.

01/29/2013     DAW        Review e-mail regarding settlement inquiry from            L120        0.10 hrs
                          Mr. Hirtle.

01/29/2013     DAW        Draft e-mail regarding settlement inquiry to Ms.           L120        0.10 hrs
                          Ho (Residential Capital, LLC).

01/30/2013     DAW        Telephone conference with Ms. Ho (Residential              L120        0.20 hrs
                          Capital, LLC) regarding settlement, and
                          resubmitting financials.


                          TOTAL FEES FOR THIS MATTER                                              $180.00


BILLING SUMMARY


           Wallace, David A.                             0.60 hrs   300.00 /hr         $180.00



      TOTAL FEES                                         0.60 hrs                     $180.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                      Invoice # 53204         Page 2


   TOTAL CHARGES FOR THIS INVOICE                                       $180.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
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                         CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53205      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01155
190-FTW-L95
Fort Washington, PA 19034

Re: National Remediation Project
Matter No.: 702040

PROFESSIONAL SERVICES

01/03/2013   DAW        (Anthony L. Harkins matter) Review recent Sixth           L120        0.40 hrs
                        District case regarding standing for use as
                        supplemental authority.
01/03/2013   DAW        (Anthony L. Harkins matter) Telephone conference          L120        0.10 hrs
                        with Ms. Ho (Residential Capital, LLC) regarding
                        affidavit issues.
01/03/2013   DAW        (Anthony L. Harkins matter) Revise notice of              L210        0.10 hrs
                        filing of original affidavit.

01/03/2013   DAW        (Anthony L. Harkins matter) Review UCC                    L120        0.40 hrs
                        regarding successor trustees.

01/03/2013   KMC        (Anthony L. Harkins matter) Revise notice of              L210        0.10 hrs
                        filing original affidavit.

01/03/2013   KMC        (Anthony L. Harkins matter) Prepare notice of             L210        0.30 hrs
                        filing original affidavit for filing.

01/04/2013   DAW        (Gary T. Thorne matter) Review e-mail regarding           L120        0.10 hrs
                        update on status.

01/04/2013   JES        (Gary T. Thorne matter) Review e-mail from Ms.            L120        0.10 hrs
                        McGinnis (Residential Capital) regarding loan
                        modification status.
01/04/2013   KMC        (Anthony L. Harkins matter) Draft notice of               L210        0.40 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
  621 01155                 Monthly Invoices Pg 116 of 701
                                                        Invoice # 53205         Page 2
                    supplementing authority.

01/06/2013   DAW    (Anthony L. Harkins matter) Revise notice of         L210     0.50 hrs
                    supplemental authority.

01/07/2013   DAW    (Christopher Weil, et al. matter) Revise e-mail to   L120     0.10 hrs
                    Mr. Howe (Weil counsel) regarding settlement.

01/07/2013   KMC    (Anthony L. Harkins matter) Review and revise        L210     0.30 hrs
                    notice of supplemental authority.

01/08/2013   DAW    (Anthony L. Harkins matter) Revise supplemental      L210     0.30 hrs
                    authority.

01/08/2013   KMC    (Anthony L. Harkins matter) Revise notice of         L210     0.10 hrs
                    supplemental authority.

01/09/2013   DAW    (Edward Charles Miller, Jr. matter) Review e-mail    L120     0.10 hrs
                    regarding short sale from Ms. Ho (Residential
                    Capital, LLC).
01/09/2013   DAW    (Edward Charles Miller, Jr. matter) Review e-mail    L120     0.10 hrs
                    regarding status of short sale from Ms. Ho
                    (Residential Capital, LLC).
01/09/2013   DAW    (Christopher Weil, et al. matter) Draft e-mail to    L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    update on settlement.
01/10/2013   DAW    (Edward Charles Miller, Jr. matter) Draft e-mail     L120     0.30 hrs
                    forwarding short sale arms-length and no flipping
                    affidavits.
01/10/2013   DAW    (Christopher Weil, et al. matter) Draft update       L120     0.30 hrs
                    regarding report on settlement status.

01/11/2013   DAW    (Gary T. Thorne matter) Telephone conference         L120     0.10 hrs
                    with Ms. McGinnis (Residential Capital, LLC)
                    regarding loan modification issues.
01/11/2013   JES    (Gary T. Thorne matter) Telephone conference         L120     0.20 hrs
                    with Ms. McGinnis (Residential Capital) regarding
                    loan modification offer.
01/13/2013   DAW    (Edward Charles Miller, Jr. matter) Review e-mails   L120     0.10 hrs
                    from potential third-party short sale purchaser.

01/15/2013   DAW    (Christopher Weil, et al. matter) Review e-mail      L140     0.40 hrs
                    regarding insurance contacts by Mr. Weil.

01/15/2013   JES    (Gary T. Thorne matter) Provide Ms. McGinnis         L120     1.00 hrs
                    (Residential Capital) information on underlying
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
  621 01155                 Monthly Invoices Pg 117 of 701
                                                        Invoice # 53205        Page 3
                    foreclosure case for use in ensuring proper loan
                    modification is offered to borrower.
01/16/2013   DAW    (Anthony L. Harkins matter) Review motion for       L140     0.10 hrs
                    extension of time.

01/16/2013   KMC    (Anthony L. Harkins matter) Review motion of        L210     0.10 hrs
                    borrower for extension of time to respond to
                    BONY's response to show cause order.
01/17/2013   DAW    (Gary T. Thorne matter) Telephone conference        L120     0.10 hrs
                    with Ms. McGinnis (Residential Capital, LLC)
                    regarding loss mitigation status.
01/22/2013   DAW    (Christopher Weil, et al. matter) Review            L140     0.10 hrs
                    responsive e-mail from Mr. Howe.

01/22/2013   DAW    (Christopher Weil, et al. matter) Telephone         L140     0.30 hrs
                    conference with Mr. Howe regarding settlement
                    position, and insurance issues.
01/22/2013   DAW    (Christopher Weil, et al. matter) Draft e-mail to   L120     0.30 hrs
                    Mr. Howe regarding settlement position, and
                    insurance issues.
01/22/2013   DAW    (Christopher Weil, et al. matter) Draft e-mail to   L120     0.20 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    insurance issues, and Court's order.
01/22/2013   DAW    (Christopher Weil, et al. matter) Review Court      L120     0.20 hrs
                    order adopting Magistrate's decision.

01/22/2013   DAW    (Christopher Weil, et al matter) Telephone          L120     0.20 hrs
                    conference with Ms. Ho (Residential Capital, LLC)
                    regarding dismissal instructions.
01/23/2013   DAW    (Gary T. Thorne matter) Review e-mail regarding     L120     0.10 hrs
                    loan modification.

01/23/2013   DAW    (Gary T. Thorne matter) Review spreadsheet          L120     0.30 hrs
                    outlining loan modification terms.

01/23/2013   DAW    (Gary T. Thorne matter) Revise e-mail to Mr.        L120     0.20 hrs
                    Smith regarding AG loan modification.

01/23/2013   JES    (Gary T. Thorne matter) Draft letter to Mr. Smith   L120     1.00 hrs
                    (Thorne counsel) regarding proposed loan
                    modification.
01/24/2013   DAW    (Gary T. Thorne matter) Revise e-mail regarding     L120     0.20 hrs
                    AG loan modification.

01/25/2013   DAW    (Anthony L. Harkins matter) Telephone conference    L120     0.20 hrs
                    with Ms. Baron regarding loan issues.
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01/25/2013   DAW    (Anthony L. Harkins matter) Review defendant's            L120        0.10 hrs
                    response to plaintiff's show cause response.

01/25/2013   DAW    (Anthony L. Harkins matter) Draft e-mail to Ms.           L140        0.30 hrs
                    Ho (Residential Capital, LLC) regarding
                    defendant's response to show cause.
01/28/2013   DAW    (Gary T. Thorne matter) Telephone conference              L120        0.20 hrs
                    with Mr. Smith regarding income issues.

01/28/2013   DAW    (Gary T. Thorne matter) Telephone conference              L120        0.50 hrs
                    with Mr. Smith (Thorne counsel) regarding loan
                    modification issues.
01/29/2013   DAW    (Anthony L. Harkins matter) Review Court order            L120        0.10 hrs
                    granting extension of time to respond to Bank of
                    New York's show cause response.
01/30/2013   DAW    (Gary T. Thorne matter) Draft e-mail to Ms.               L120        0.50 hrs
                    McGinnis (Residential Capital, LLC) regarding
                    conversation with Mr. Smith (Thorne counsel)
01/30/2013   DAW    (Gary T. Thorne matter) Telephone conference              L120        0.20 hrs
                    with Ms. McGinnis (Residential Capital, LLC)
                    regarding conversation with Mr. Smith (Thorne
                    counsel).
01/30/2013   JES    (Gary T. Thorne matter) Review e-mail from Mr.            L120        0.20 hrs
                    Wallace regarding defendant's response to loan
                    modification offer.
01/31/2013   DAW    (Gary T. Thorne matter) Telephone conference              L120        0.10 hrs
                    with Court regarding new hearing date.

01/31/2013   DAW    (Gary T. Thorne matter) Review e-mail from Ms.            L120        0.10 hrs
                    McGinnis (Residential Capital, LLC) regarding
                    settlement issues.
01/31/2013   DAW    (Gary T. Thorne matter) Draft proposed order              L210        0.20 hrs
                    continuing hearing.



                    TOTAL FEES FOR THIS MATTER                                            $3,300.00

EXPENSES

01/03/2013          Delivery Service/Messengers - Federal Express to Lucas County               $17.22
                    Clerk of Courts from Mr. Wallace

                    TOTAL EXPENSES FOR THIS MATTER                                              $17.22
     12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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BILLING SUMMARY


       Wallace, David A.                      8.30 hrs   300.00 /hr    $2,490.00


       Sechler, Joel E.                       2.50 hrs   220.00 /hr        $550.00


       Cadieux, Karen M.                      1.30 hrs   200.00 /hr        $260.00



    TOTAL FEES                               12.10 hrs                $3,300.00

    TOTAL EXPENSES                                                         $17.22

    TOTAL CHARGES FOR THIS INVOICE                                    $3,317.22
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                               Monthly Invoices Pg 120 of 701
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53206      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00050
190-FTW-L95
Fort Washington, PA 19034

Re: General Restructuring


PROFESSIONAL SERVICES

01/04/2013   JAL        Review e-mail from Ms. Levitt (Morrison &                   L120        0.50 hrs
                        Foerster) regarding preparation materials for
                        mediation meeting with Judge Peck (.20).
                        Conference with Mr. Beekhuizen regarding
                        drafting preparation materials (.30).
01/04/2013   DAB        Draft update for Ms. Zellman (Residential Capital)          L120        0.20 hrs
                        regarding FHFA disputes for Citi.

01/07/2013   MNB        Revise talking points for Ms. Levitt (Morrison &            L120        0.50 hrs
                        Foerster) regarding investor and monoline insurer
                        third-party claims.
01/07/2013   DAB        Draft analysis on swap and MSR issues to respond            L120        0.80 hrs
                        to questions of Ms. Levitt of Morrison & Foerster.

01/08/2013   MNB        Review and revise talking points for Ms. Levitt             L120        0.90 hrs
                        (Morrison & Foerster) regarding investor and
                        monoline insurer third-party claims.
01/08/2013   DAB        Revise tracking calendar on pending Carpenter               L120        0.40 hrs
                        Lipps & Leland projects for ResCap.

01/08/2013   DAB        Conference with Ms. Battle regarding tracking               L120        0.20 hrs
                        calendar.

01/10/2013   JALB       Participate in weekly client update call (Mr.               L120        0.30 hrs
                        Thompson, Ms. Delehey, Mr. Ruckdaschel, Ms.
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  932 00050                    Monthly Invoices Pg 121 of 701
                                                           Invoice # 53206             Page 2
                        Zellmann, all Residential Capital).
01/10/2013   DAB        Conference with Ms. Battle regarding pending           L120        0.10 hrs
                        projects to prepare update for client.

01/10/2013   DAB        Communicate with Ms. Zellman (Residential              L120        0.10 hrs
                        Capital) regarding update for Citi on FHFA
                        discovery disputes.
01/17/2013   DAB        Draft update for Ms. Zellman (Residential Capital)     L120        0.20 hrs
                        regarding FHFA litigation disputes.

01/25/2013   JALB       Telephone conference and correspondence with           L120        0.30 hrs
                        Mr. Lawrence (Morrison & Foerster) regarding
                        litigation holds.
01/29/2013   DAB        Update calendar of pending dates and major             L120        0.20 hrs
                        projects.

01/30/2013   DAB        Revise calendar of pending dates.                      L120        0.20 hrs




                        TOTAL FEES FOR THIS MATTER                                         $1,444.00


BILLING SUMMARY


         Beck, David A.                                2.40 hrs   280.00 /hr     $672.00


         Lipps, Jeffrey A.                             0.50 hrs   400.00 /hr     $200.00


         Battle, Jennifer A.L.                         0.60 hrs   300.00 /hr     $180.00


         Beekhuizen, Michael N.                        1.40 hrs   280.00 /hr     $392.00



     TOTAL FEES                                        4.90 hrs                $1,444.00

     TOTAL CHARGES FOR THIS INVOICE                                            $1,444.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
                              Monthly Invoices Pg 122 of 701
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53207      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00053
190-FTW-L95
Fort Washington, PA 19034

Re: Administrative


PROFESSIONAL SERVICES

01/08/2013   DAB       Revise retention agreement for potential expert              L120      0.70 hrs
                       witness.

01/08/2013   DAB       Conference with Ms. Battle regarding retention               L120      0.20 hrs
                       issues on potential expert witness.

01/31/2013   DAB       Finalize and file rate change notice.                        L120      0.20 hrs




                       TOTAL FEES FOR THIS MATTER                                              $308.00

EXPENSES

01/02/2013             Delivery Service/Messengers - Federal Express to Ms. Davis                   $35.15

01/02/2013             Delivery Service/Messengers - Federal Express to Mr. Ziman                   $35.15

01/02/2013             Delivery Service/Messengers - Federal Express to Mr. Eckstein                $35.15

01/02/2013             Delivery Service/Messengers - Federal Express to Ms. Nashelsky               $35.15

01/02/2013             Delivery Service/Messengers - Federal Express to Mr. Cieri                   $35.15

01/25/2013             Delivery Service/Messengers - Federal Express to Gary Lee                    $30.03
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
  932 00053                  Monthly Invoices Pg 123 of 701
                                                         Invoice # 53207                   Page 2

01/25/2013            Delivery Service/Messengers - Federal Express to Kenneth                     $30.03
                      Eckstein

01/25/2013            Delivery Service/Messengers - Federal Express to Kenneth                     $27.71
                      Ziman

01/25/2013            Delivery Service/Messengers - Federal Express to Tracy Hope                  $27.71
                      Davis

01/25/2013            Delivery Service/Messengers - Federal Express to Richard Cieri               $27.71

                      TOTAL EXPENSES FOR THIS MATTER                                          $318.94


BILLING SUMMARY


         Beck, David A.                             1.10 hrs   280.00 /hr           $308.00



     TOTAL FEES                                     1.10 hrs                        $308.00

     TOTAL EXPENSES                                                                 $318.94

     TOTAL CHARGES FOR THIS INVOICE                                                 $626.94
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 124 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53208      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

01/25/2013   JALB       Review e-mail from Mr. Hoffman (Morrison &                 L120        0.20 hrs
                        Foerster) regarding SEC follow-up document
                        request.
01/27/2013   JAL        Telephone conference with Ms. Battle regarding             L320        0.30 hrs
                        SEC document requests (.10). Review various
                        e-mails regarding SEC requests (.20).
01/28/2013   JAL        Participate on conference call with client, Mr.            L120        0.80 hrs
                        Hoffman (Morrison & Foerster and Ms. Battle to
                        address various issues raised by SEC (.50).
                        Communicate with Ms. Battle regarding document
                        issues (.20). Review e-mails regarding document
                        production of SEC requested material (.10).
01/28/2013   JALB       Telephone conference with client, Mr. Hoffman              L120        0.50 hrs
                        (Morrison & Foerster) and Ms. Battle regarding
                        request for additional information regarding
                        specific reports.
01/29/2013   JAL        Review SEC subpoena in Mudd case (.30).                    L120        0.50 hrs
                        Review e-mail regarding same (.10). Conference
                        with Ms. Battle regarding same (.10).
01/29/2013   JALB       Follow-up discussions with client and Mr.                  L120        0.70 hrs
                        Hoffman (Morrison & Foerster) regarding
                        collection of requested reports. (.60) Conference
                        with Mr. Lipps regarding subpoena in Mudd case.
                        (.10)
01/30/2013   JAL        Review Mr. Bricker's SEC examination testimony             L120        1.00 hrs
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                 Exhibit E
  932 00054                    Monthly Invoices Pg 125 of 701
                                                           Invoice # 53208                     Page 2
                        (.50). Review preparation outline (.30).
                        Communicate with Mr. Beck and Ms. Battle
                        regarding Mr. Bricker's materials (.20).


                        TOTAL FEES FOR THIS MATTER                                                $1,460.00

EXPENSES

01/01/2013              Litigation Support Vendors - Lumen Legal (services for 12/3/12            $3,506.08
                        to 12/16/12) (103.12 hours X $ 34.00/hr = $ 3,506.08)

01/10/2013              Litigation Support Vendors - Robert Half International (services          $70,060.5
                        for 12/7/12 to 01/04/13) { 2110.31 hours X $31.10 = $                             9
                        65,630.46 + taxes $ 4,430.13 = $ 70,060.59 }

                        TOTAL EXPENSES FOR THIS MATTER                                           $73,566.67


BILLING SUMMARY


         Lipps, Jeffrey A.                             2.60 hrs    400.00 /hr        $1,040.00


         Battle, Jennifer A.L.                         1.40 hrs    300.00 /hr          $420.00



     TOTAL FEES                                        4.00 hrs                      $1,460.00

     TOTAL EXPENSES                                                                $73,566.67

     TOTAL CHARGES FOR THIS INVOICE                                                $75,026.67
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                              Monthly Invoices Pg 126 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 28, 2013

                                                                   Billed through 01/31/2013
Tammy Hamzephour                                                   Invoice # 53234      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00057
190-FTW-L95
Fort Washington, PA 19034

Re: RMBS Trust Settlement
Matter No.: 721750

PROFESSIONAL SERVICES

01/01/2013   JDR       Revise memorandum regarding issues related to               L210        2.20 hrs
                       Mr. Sillman's reply declaration with comments and
                       strategy from Ms. Battle.
01/02/2013   JALB      Revise Sillman draft declaration.                           L120        2.70 hrs


01/02/2013   JALB      Discussion with Mr. Rhode regarding Sillman draft           L120        0.70 hrs
                       declaration. (.50) E-mails to Mr. Rhode regarding
                       same. (.20)
01/02/2013   DAB       Review and comment on inserts for revised Lipps             L120        0.20 hrs
                       declaration.

01/02/2013   DAB       Multiple conferences with Mr. Corcoran regarding            L120        0.30 hrs
                       additional transaction document information to add
                       to supplemental Lipps declaration. (.20) E-mails
                       with Mr. Corcoran regarding same. (.10)
01/02/2013   DAB       Research subsequent recovery issues under                   L120        0.50 hrs
                       transaction documents.

01/02/2013   JRC       Conference with Mr. Beck regarding second                   L190        0.20 hrs
                       supplemental declaration of Mr. Lipps.

01/02/2013   JRC       E-mail exchange with Mr. Beck regarding second              L140        0.10 hrs
                       supplemental declaration of Mr. Lipps.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
  932 00057                 Monthly Invoices Pg 127 of 701
                                                        Invoice # 53234         Page 2
01/02/2013   JRC    Revise second supplemental declaration of Mr.        L140     0.60 hrs
                    Lipps in support of RMBS Trust Settlement based
                    on suggestions of Mr. Beck.
01/02/2013   JRC    Review and analyze ResCap's securitization           L140     0.90 hrs
                    documents in order to draft second supplemental
                    declaration of Mr. Lipps in support of RMBS Trust
                    Settlement.
01/02/2013   JDR    Teleconference with Mr. Sillman (Fortace). *         L120     1.00 hrs


01/02/2013   JDR    Revise memorandum regarding Mr. Sillman's reply      L210     1.20 hrs
                    declaration with comments and strategy from Ms.
                    Battle.
01/02/2013   JDR    Draft memorandum to Ms. Battle regarding             L120     2.30 hrs
                    objectors' expert report flaws.

01/02/2013   JDR    Conference with Ms. Battle regarding Mr.             L120     0.50 hrs
                    Sillman's materials and 9019 reply brief.

01/02/2013   JDR    Revise memorandum regarding Mr. Sillman's reply      L210     2.70 hrs
                    declaration with comments and strategy from Ms.
                    Battle.
01/02/2013   JDR    Draft correspondence to Mr. Sillman (Fortace) and    L120     0.50 hrs
                    Ms. Battle.

01/03/2013   JALB   Revise Lipps Second Supplemental Declaration.        L120     1.30 hrs


01/03/2013   JALB   Call with Mr. Thompson, Mr. Ruckdashel, Ms.          L120     0.60 hrs
                    Zellman (Residential Capital) and Mr. Corcoran
                    regarding 9019 motion.
01/03/2013   JRC    Telephone conference with Ms. Battle, Mr.            L190     0.60 hrs
                    Ruckdaschel (Residential Capital), Mr. Thompson
                    (Residential Capital) and Ms. Zellman (Residential
                    Capital) regarding status of 9019 motion.
01/03/2013   JRC    Review Ms. Battle's suggested revisions to Mr.       L140     0.30 hrs
                    Lipps' second supplemental declaration.

01/03/2013   JDR    Revise memorandum regarding Mr. Sillman's reply      L210     0.80 hrs
                    declaration with comments and strategy from Ms.
                    Battle.
01/03/2013   JDR    Revise first half of memorandum regarding Mr.        L210     2.10 hrs
                    Sillman's reply declaration.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
  932 00057                 Monthly Invoices Pg 128 of 701
                                                        Invoice # 53234            Page 3

01/03/2013   JDR    Revise second half of memorandum regarding Mr.          L210     2.00 hrs
                    Sillman's reply declaration.

01/03/2013   JDR    Revise memorandum regarding Mr. Sillman's reply         L210     2.50 hrs
                    declaration with comments and strategy from Ms.
                    Battle.
01/04/2013   JALB   Revise draft Sillman declaration.                       L120     0.80 hrs


01/04/2013   JALB   Correspondence with Mr. Corcoran and Mr. Rhode          L120     0.60 hrs
                    regarding status of Sillman and Lipps supplemental
                    expert declarations.
01/04/2013   JRC    Review and analyze internal repurchase data in          L140     0.30 hrs
                    order to draft declaration of Mr. Sillman.

01/04/2013   JRC    Revise draft of second supplemental declaration of      L140     2.80 hrs
                    Mr. Lipps based on suggestions of Ms. Battle.

01/04/2013   JRC    Review transaction documents regarding                  L140     1.40 hrs
                    Residential Capital securitizations in order to
                    revise second supplemental declaration of Mr.
                    Lipps.
01/04/2013   JDR    Research regarding MBIA repurchase experience.          L120     0.60 hrs


01/04/2013   JDR    Revise memorandum regarding Mr. Sillman's reply         L210     0.40 hrs
                    declaration.

01/05/2013   JALB   At request of Mr. Rains and Ms. Dearcy (Morrison        L120     2.20 hrs
                    & Foerster), provide additional revisions and draft
                    inserts to portions of 9019 reply brief.
01/05/2013   JALB   Coordination with Mr. Beck, Mr. Rhode and Mr.           L120     0.70 hrs
                    Corcoran to organize and consolidate follow-up
                    research and drafting of inserts to 9019 reply brief.
01/05/2013   DAB    Research loss causation issues related to RMBS          L120     3.10 hrs
                    claims.

01/05/2013   DAB    Draft inserts to RMBS brief on causation issues.        L120     1.60 hrs


01/05/2013   DAB    Research regarding defect rate issues on Bank of        L120     1.00 hrs
                    America settlement.

01/05/2013   DAB    E-mails with Mr. Ziegler (Morrison & Foerster)          L120     0.60 hrs
                    and Ms. Battle regarding arguments related to
                    Bank of America settlement.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00057                 Monthly Invoices Pg 129 of 701
                                                        Invoice # 53234          Page 4
01/05/2013   JRC    Research arguments on the statute of limitations      L110     1.40 hrs
                    for representation and warranty claims in order to
                    draft reply in support of the RMBS Trust
                    Settlement.
01/05/2013   JRC    Research case law applying the Iridium factors in a   L110     2.90 hrs
                    9019 motion in order to revise the reply in support
                    of the RMBS Trust Settlement.
01/05/2013   JRC    Revise second supplemental declaration of Mr.         L140     1.70 hrs
                    Lipps in support of the RMBS Trust Settlement
                    based on suggestions of Ms. Battle.
01/05/2013   JRC    E-mail exchange with Ms. Battle regarding             L190     0.10 hrs
                    revisions to second supplemental declaration of
                    Mr. Lipps in support of the RMBS Trust
                    Settlement.
01/05/2013   JRC    Telephone conference with Mr. Rhode regarding         L190     0.20 hrs
                    research for reply in support of RMBS Trust
                    Settlement.
01/05/2013   JRC    Revise sections of the reply in support of RMBS       L140     0.70 hrs
                    Trust Settlement

01/05/2013   JRC    Review and analyze revised draft of reply in          L140     0.60 hrs
                    support of RMBS Trust Settlement.

01/05/2013   JRC    E-mail exchanges with Mr. Rhode regarding             L190     0.20 hrs
                    research for reply in support of RMBS Trust
                    Settlement.
01/05/2013   JRC    Draft e-mails to Ms. Battle summarizing research      L190     0.20 hrs
                    for reply in support of RMBS Trust Settlement.

01/05/2013   JDR    Researching regarding the Iridium range of            L120     1.50 hrs
                    reasonableness factors for purposes of revising
                    9019 reply brief. (1.30) Conference with Mr.
                    Corcoran regarding same. (.20)
01/05/2013   JDR    Review and analyze deposition transcripts to          L120     1.60 hrs
                    provide cites and revise 9019 reply brief.

01/05/2013   JDR    Draft revisions to 9019 reply brief range of          L210     0.70 hrs
                    reasonableness analysis.

01/05/2013   JDR    Review expert reports and revise 9019 reply brief     L210     2.00 hrs
                    with analysis and citations.

01/05/2013   JDR    Revise 9019 reply brief to incorporate additional     L210     1.40 hrs
                    citations and analysis.

01/05/2013   JDR    Correspondence with Mr. Corcoran regarding            L120     0.20 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  932 00057                 Monthly Invoices Pg 130 of 701
                                                        Invoice # 53234           Page 5
                    research for 9019 reply brief.

01/05/2013   JDR    Draft correspondence to Ms. Battle, Mr. Beck, and      L120     0.50 hrs
                    Mr. Corcoran regarding 9019 reply brief revisions.

01/06/2013   JALB   Follow-up review of Sections II and III of reply       L120     0.20 hrs
                    brief to coordinate with Mr. Ziegler (Morrison &
                    Foerster) regarding same.
01/06/2013   JALB   Continued revisions and drafting of portions of        L120     5.60 hrs
                    9019 reply brief relating to reasonableness of
                    settlement amount and litigation burden.
01/06/2013   JALB   Discussion with Morrison & Foerster 9019 drafting      L120     0.90 hrs
                    team (Ms. Dearcy, Mr. Ziegler, Mr. Ruiz, Ms.
                    Moloff) regarding coordination of briefing efforts.
01/06/2013   DAB    E-mails with Mr. Ziegler (Morrison & Foerster)         L120     0.30 hrs
                    and Ms. Battle regarding arguments related to
                    Bank of America settlement.
01/06/2013   DAB    Draft inserts for RMBS brief on material and           L120     2.10 hrs
                    adverse rulings.

01/06/2013   DAB    Review and revise supplemental declaration of Mr.      L120     0.30 hrs
                    Lipps.

01/06/2013   DAB    Research regarding committee arguments on              L120     1.20 hrs
                    Lehman and Washington Mutual cases.

01/06/2013   DAB    Draft inserts for RMBS brief on Ally reserves.         L120     1.90 hrs


01/06/2013   JRC    Research the statute of limitations for                L110     1.10 hrs
                    representation and warranty claims in order to draft
                    reply in support of the RMBS Trust Settlement.
01/06/2013   JRC    Review and analyze revisions to the reply brief in     L140     0.70 hrs
                    support of the RMBS Trust Settlement.

01/06/2013   JRC    E-mail exchange with Ms. Battle regarding reply in     L190     0.20 hrs
                    support of RMBS Trust Settlement.

01/06/2013   JDR    Revise 9019 reply brief analysis and citations.        L210     2.50 hrs


01/06/2013   JDR    Draft correspondence to Ms. Battle regarding 9019      L120     0.20 hrs
                    reply brief issues and revisions.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  932 00057                 Monthly Invoices Pg 131 of 701
                                                        Invoice # 53234           Page 6

01/06/2013   JDR    Draft correspondence to Ms. Battle regarding 9019      L120     0.30 hrs
                    reply issues and revisions.

01/07/2013   JAL    Review and redraft first draft supplemental            L250     3.80 hrs
                    declaration (1.0). Conference with Ms. Battle
                    regarding same (.20). Review e-mail from Mr.
                    Castro regarding allocation issues (.20). Review
                    e-mails from Ms. Battle and Mr. Beck regarding
                    same (.40). Draft response to Mr. Castro
                    (Morrison & Foerster) regarding 9019 reply brief
                    (.30). Review and redraft reply brief in support of
                    9019 (1.0). Conference with Ms. Battle regarding
                    suggested revisions (.20). Review and respond to
                    e-mails regarding same (.10). Review memo from
                    Ms. Battle regarding open allocation issues on
                    reply brief (.30). Review memo from Mr. Beck
                    regarding same (10).
01/07/2013   JALB   Provide comments to Sillman (Fortace) draft            L120     0.40 hrs
                    rebuttal report.

01/07/2013   JALB   Follow-up with Mr. Lipps regarding draft Lipps         L120     0.20 hrs
                    report.

01/07/2013   JALB   Review draft reply brief and revise and supplement     L120     2.60 hrs
                    assigned sections of draft Lipps report.

01/07/2013   JALB   Correspondence with Ms. DeArcy (Morrison &             L120     0.60 hrs
                    Foerster), Mr. Lipps, Mr. Beck and Mr. Rhode
                    regarding draft Lipps report.
01/07/2013   JALB   Discussion with Mr. Sillman regarding Sillman          L120     0.60 hrs
                    draft rebuttal report. (2.40) E-mails with Mr. Lipps
                    and Mr. Beck regarding allocation arguments. (.20)
01/07/2013   DAB    E-mail Mr. Ruckdashel (Residential Capital) and        L120     0.20 hrs
                    Ms. Battle regarding Bank of America settlement
                    with Freddie.
01/07/2013   DAB    Conference with Ms. Battle regarding research          L120     0.60 hrs
                    needed to complete RMBS brief.

01/07/2013   DAB    Conference with Ms. Battle regarding research          L120     0.60 hrs
                    needed to complete RMBS brief.

01/07/2013   DAB    Research potential arguments to respond to UCC         L120     1.40 hrs
                    arguments on claims estimation.

01/07/2013   DAB    Analyze allocation arguments by UCC.                   L120     0.70 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00057                 Monthly Invoices Pg 132 of 701
                                                        Invoice # 53234          Page 7
01/07/2013   DAB    Draft e-mail to Mr. Lipps and Ms. Battle regarding    L120     0.50 hrs
                    UCC allocation arguments.

01/07/2013   DAB    Draft analysis on swap and MSR issues to respond      L120     0.80 hrs
                    to questions of Ms. Levitt of Morrison & Foerster.

01/07/2013   JRC    Revise reply declaration of Mr. Lipps in support of   L210     0.60 hrs
                    9019 motion.

01/07/2013   JDR    Teleconference with Mr. Sillman (Fortace)             L120     0.50 hrs
                    regarding reply declaration.

01/07/2013   JDR    Revise memorandum regarding legal issues related      L210     3.80 hrs
                    to Mr. Sillman's reply declaration.

01/07/2013   JDR    Draft correspondence to Mr. Sillman (Fortace)         L120     0.30 hrs
                    regarding reply declaration.

01/07/2013   JDR    Revise memorandum regarding Mr. Sillman's reply       L210     0.50 hrs
                    declaration.

01/07/2013   JDR    Conference with Ms. Battle regarding 9019 reply       L120     0.20 hrs
                    brief and supporting expert materials.

01/07/2013   JDR    Review deposition of UCC expert Mr. Morrow for        L120     0.30 hrs
                    purposes of 9019 reply brief strategy.

01/07/2013   JDR    Revise 9019 reply brief.                              L210     1.10 hrs


01/07/2013   JDR    Revise 9019 reply brief citations.                    L210     0.70 hrs


01/08/2013   JAL    Further review and revision of 9019 reply brief       L250     1.80 hrs
                    (.80). Conference with Ms. Battle regarding
                    suggested revisions (.10). Review draft of Mr.
                    Sillman's reply declaration (.50). Conference with
                    Ms. Battle regarding same (.10). Review and
                    respond to e-mails from Mr. Castro (Morrison &
                    Foerster) regarding allocation issues (.30).
01/08/2013   JALB   Review and respond to questions from Ms. Levitt       L120     0.40 hrs
                    (Morrison & Foerster) regarding foreclosure
                    documents produced to trustees.
01/08/2013   JALB   Discussion with potential expert regarding draft      L120     1.10 hrs
                    report. (1.00) Conference with Mr. Lipps
                    regarding Sillman reply declaration. (.10)
01/08/2013   JALB   Review of draft report. (.20) Conference with Mr.     L120     1.20 hrs
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                    Beck regarding various issues on RMBS response.
                    (.50)
01/08/2013   DAB    Conference with Ms. Battle regarding reserve and       L120     0.50 hrs
                    other issues on RMBS response.

01/08/2013   DAB    E-mails with Ms. Battle and Mr. Rhode regarding        L120     0.30 hrs
                    expert rebuttal issues.

01/08/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding              L120     0.40 hrs
                    response to allocation objections to RMBS
                    settlement.
01/08/2013   JDR    Revise 9019 reply brief.                               L210     0.50 hrs


01/08/2013   JDR    Draft correspondence to rebuttal expert.               L420     3.00 hrs


01/08/2013   JDR    Review draft rebuttal report in preparation for call   L120     0.50 hrs
                    with expert.

01/08/2013   JDR    Teleconference with rebuttal expert.                   L120     0.80 hrs


01/08/2013   JDR    Conference with Ms. Battle regarding rebuttal          L120     0.20 hrs
                    expert issues.

01/08/2013   JDR    Review/prepare documents for rebuttal expert.          L420     1.80 hrs


01/08/2013   JDR    Revise memorandum regarding Mr. Sillman's reply        L210     0.40 hrs
                    declaration.

01/08/2013   JDR    Review comparable industry complaints in               L210     1.00 hrs
                    preparation for revisions to 9019 reply brief.

01/08/2013   JDR    Draft correspondence to Ms. Battle regarding 9019      L120     0.20 hrs
                    reply brief.

01/08/2013   SP     Communicate with Mr. Rhode regarding                   L120     0.40 hrs
                    nationwide trustee cases, including those relating
                    to U.S. Bank.
01/09/2013   JAL    Review and respond to e-mails regarding                L250     1.80 hrs
                    allocation of settlement (.20). Review and redraft
                    supplemental affidavit (.30). Review e-mails
                    regarding same (.10). Further review and revisions
                    of reply brief in support of 9019 motion (.40).
                    Conference with Ms. Battle regarding proposed
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                    revisions (.10). Revise draft of potential rebuttal
                    experts report affidavit (.30). Review draft of Mr.
                    Sillman's affidavit (.20). Conference with Ms.
                    Battle regarding revisions to affidavits (.20).
01/09/2013   JALB   Revise reply brief. (2.00) Conference with Mr.         L210     2.20 hrs
                    Lipps regarding same. (.10) Conference with Mr.
                    Beck regarding reserve issues for reply brief. (.10)
01/09/2013   JALB   Correspond with Mr. Ziegler (Morrison &                L120     1.00 hrs
                    Foerster) regarding reply brief. (.20) Provide
                    additional comments on Sillman expert report.
                    (.80)
01/09/2013   JALB   Correspond with Mr. Sillman (Fortace) and Mr.          L120     0.30 hrs
                    Rhode regarding Sillman expert report.

01/09/2013   JALB   Discussion with Mr. Rains (Morrison & Foerster)        L120     0.30 hrs
                    regarding draft expert reports.

01/09/2013   JALB   Review draft expert reports.                           L340     0.60 hrs


01/09/2013   JALB   Correspondence with Mr. Lipps regarding response       L120     0.40 hrs
                    to Morrison & Foerster question on defense of
                    allocation.
01/09/2013   JALB   Discussion with Mr. Sillman (Fortace) and Mr.          L120     0.40 hrs
                    Rhode regarding questions about supplemental
                    report.
01/09/2013   DAB    Conference with Ms. Battle regarding reserve and       L120     0.10 hrs
                    other issues on RMBS response.

01/09/2013   DAB    Research regarding allocation issues.                  L120     0.50 hrs


01/09/2013   DAB    Draft inserts for brief on allocation issues.          L120     1.10 hrs


01/09/2013   DAB    E-mails with Ms. Castro (Morrison & Foerster)          L120     0.30 hrs
                    regarding allocation issues.

01/09/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding              L120     0.40 hrs
                    allocation issues.

01/09/2013   JDR    Teleconference with rebuttal expert regarding          L420     0.20 hrs
                    potential report.

01/09/2013   JDR    Teleconference with Mr. Sillman (Fortace)              L120     1.50 hrs
                    regarding reply declaration. (.10) Call with Mr.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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                    Sillman and Ms. Battle regarding same. (.40)
01/09/2013   JDR    Review and analyze rebuttal report of expert Dr.    L120     1.00 hrs
                    Greene in preparation for 9019 revisions and
                    drafting.
01/09/2013   JDR    Draft analysis of comparable industry complaints    L210     1.20 hrs
                    for potential use in 9019 reply brief.

01/09/2013   JDR    Draft correspondence to Ms. Battle and Mr. Beck     L120     0.30 hrs
                    regarding 9019 reply brief materials.

01/09/2013   JDR    Review materials provided by Mr. Sillman            L120     0.80 hrs
                    (Fortace) in preparation for teleconference.

01/09/2013   JDR    Draft memorandum regarding Mr. Sillman's            L210     1.30 hrs
                    (Fortace) reply declaration.

01/09/2013   JDR    Revise memorandum regarding Sillman reply           L210     1.90 hrs
                    declaration to reflect comments and strategy from
                    Ms. Battle.
01/10/2013   AMP    Attention to issues regarding review of Ally's      L320     0.20 hrs
                    production for key documents.

01/10/2013   AMP    E-mails with Ms. Chinn (reviewer) regarding         L320     0.10 hrs
                    review of Ally's production for key documents.

01/10/2013   JAL    Review and redraft new draft of reply               L250     4.00 hrs
                    memorandum in support of 9019 (1.2).
                    Conference with Ms. Battle and Mr. Beck
                    regarding proposed revisions (.30). Review and
                    redraft supplemental declarations (2.40).
                    Conference with Mr. Corcoran regarding revisions
                    to same (.10).
01/10/2013   JALB   Continued revisions to sections of reply brief.     L210     0.50 hrs


01/10/2013   JALB   Review revisions to draft Sillman declaration.      L120     0.50 hrs


01/10/2013   JALB   Discussion with Mr. Rhode, Mr. Lipps and Mr.        L120     0.30 hrs
                    Corcoran regarding Sillmann and Lipps
                    declarations.
01/10/2013   JALB   Discussion with Mr. Rains (Morrison & Foerster)     L120     0.50 hrs
                    regarding status and scope of expert reports.

01/10/2013   JALB   Continued proposed comments to Sillman              L120     0.30 hrs
                    (Fortace) and Lipps declarations.
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01/10/2013   JALB   Telephone conference with Mr. Sillman (Fortace)       L120     0.40 hrs
                    and Mr. Rhode regarding Sillman declaration.

01/10/2013   DAB    Draft inserts for RMBS brief on Lehman case.          L120     0.70 hrs


01/10/2013   DAB    Revise inserts for RMBS motion at request of Ms.      L120     1.70 hrs
                    Battle.

01/10/2013   DAB    Analyze freshly unsealed pleadings in MBIA v.         L120     0.20 hrs
                    Countrywide case.

01/10/2013   JRC    Conference with Mr. Lipps, Ms. Battle and Mr.         L120     0.20 hrs
                    Rhode regarding revisions to Lipps reply
                    declaration.
01/10/2013   JDR    Revise memorandum regarding Mr. Sillman's reply       L210     3.10 hrs
                    declaration.

01/10/2013   JDR    Draft correspondence to Ms. Battle regarding 9019     L120     0.20 hrs
                    reply brief and supporting expert materials.

01/10/2013   JDR    Conference with Ms. Battle, Mr. Lipps and Mr.         L120     0.30 hrs
                    Corcoran regarding 9019 reply brief and expert
                    response strategy.
01/10/2013   JDR    Revise memorandum regarding Mr. Sillman's reply       L210     1.00 hrs
                    declaration with comments and strategy from Ms.
                    Battle.
01/10/2013   JDR    Revise memorandum regarding Sillman reply             L210     3.80 hrs
                    declaration with comments and strategy from Mr.
                    Raines.
01/11/2013   JALB   Review and comment on 9019 reply brief. (2.60)        L210     3.60 hrs
                    Conference with Mr. Rhode regarding brief. (.60)
                    E-mails with Mr. Rhode regarding same. (.20)
                    E-mails with Mr. Beck regarding same. (.20)
01/11/2013   JALB   Revise Sillman report. (1.60) Conference with Mr.     L120     2.90 hrs
                    Sillman (Fortace) to finalize expert reply reports.
                    (.40) Review Lipps declaration. (.40) E-mails
                    with Mr. Corcoran regarding revisions to Lipps
                    declaration. (.20) Communicate with Mr. Rhode
                    regarding expert reports. (.30)
01/11/2013   DAB    Review and comment on RMBS motion.                    L120     2.60 hrs


01/11/2013   DAB    Communicate with Mr. Lipps regarding issues on        L120     0.40 hrs
                    supplemental Lipps declaration.
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01/11/2013   DAB    E-mail Ms. Battle regarding comments on RMBS         L120     0.30 hrs
                    motion.

01/11/2013   JRC    Teleconference with Mr. Lipps regarding revisions    L120     0.20 hrs
                    to his reply declaration.

01/11/2013   JRC    Review and analyze report of Dr. Cornell in order    L320     0.80 hrs
                    to draft section of Mr. Lipps' reply declaration
                    addressing Dr. Cornell's report.
01/11/2013   JRC    Review and analyze deposition of Dr. Cornell in      L330     2.10 hrs
                    order to draft section of Mr. Lipps' reply
                    declaration addressing Dr. Cornell's report.
01/11/2013   JRC    Draft section of Mr. Lipps' reply declaration        L210     1.20 hrs
                    addressing Dr. Cornell's report.

01/11/2013   JRC    E-mail exchange with Ms. Battle regarding section    L120     0.10 hrs
                    of Mr. Lipps' reply declaration addressing Dr.
                    Cornell's report.
01/11/2013   JRC    Revise Mr. Lipps' reply declaration based on         L210     1.30 hrs
                    suggestions of Mr. Rains (Morrison & Foerster).

01/11/2013   JDR    Revise memorandum regarding Mr. Sillman's reply      L210     0.90 hrs
                    declaration.

01/11/2013   JDR    Draft correspondence to Mr. Corcoran regarding       L120     0.20 hrs
                    Mr. Lipps' reply declaration.

01/11/2013   JDR    Review data and documents produced by objectors'     L320     0.30 hrs
                    experts in preparation for possible rebuttal work.

01/11/2013   JDR    Draft correspondence to Ms. Battle regarding         L120     0.20 hrs
                    expert diligence work.

01/11/2013   JDR    Conference with Ms. Battle regarding 9019 reply      L120     0.70 hrs
                    and supporting expert materials.

01/11/2013   JDR    Review and revise Mr. Sillman's expert materials     L120     4.50 hrs
                    in support of 9019 motion.

01/11/2013   JDR    Draft correspondence to Ms. Battle regarding 9019    L120     0.20 hrs
                    reply and supporting expert materials.

01/12/2013   JALB   Review and provide comments and revisions for        L120     0.80 hrs
                    reply brief.

01/12/2013   JALB   Various discussions with Mr. Ziegler (Morrison &     L120     1.50 hrs
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                    Foerster) and Mr. Rhode regarding revisions to
                    reply brief, tables, and reply reports.
01/12/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster)               L120     0.20 hrs
                    regarding factual issues related to Ally settlement.

01/12/2013   DAB    E-mail Mr. Ziegler (Morrison & Foerster) and Ms.       L120     0.30 hrs
                    Battle regarding factual issues related to Ally
                    settlement.
01/12/2013   DAB    Research factual questions of Mr. Ziegler of           L120     1.30 hrs
                    Morrison & Foerster regarding Ally settlement.

01/12/2013   JRC    Review and revise the factual and legal citations in   L120     1.20 hrs
                    Mr. Lipps' reply declaration for accuracy.

01/12/2013   JDR    Review 9019 repurchase data productions and draft      L320     0.40 hrs
                    correspondence to Mr. Zeigler (Morrison &
                    Foerster) and Ms. Battle.
01/12/2013   JDR    Teleconference with Mr. Sillman (Fortace) and          L120     0.40 hrs
                    Ms. Battle regarding reply declaration.

01/12/2013   JDR    Draft correspondence to Mr. Ziegler (Morrison &        L120     0.10 hrs
                    Foerster) regarding 9019.

01/12/2013   JDR    Draft correspondence to Mr. Zeigler (Morrison &        L120     0.20 hrs
                    Foerster) regarding 9019 reply brief.

01/12/2013   JDR    Review and revise 9019 reply brief.                    L210     2.90 hrs


01/12/2013   JDR    Review and revise Mr. Sillman's expert materials       L120     1.30 hrs
                    in support of 9019 motion.

01/12/2013   JDR    Draft correspondence to Ms. Battle regarding Mr.       L120     0.20 hrs
                    Sillman's materials in support of 9019 motion.

01/12/2013   JDR    Draft correspondence to Ms. Battle regarding 9019      L120     0.30 hrs
                    reply brief issues.

01/12/2013   JDR    Review and redline 9019 reply brief.                   L210     1.00 hrs


01/13/2013   JAL    Review and redraft supplemental declaration (.60).     L250     0.80 hrs
                    Review e-mails regarding same (.20).

01/13/2013   JALB   Review draft reply reports from Mr. Lipps and Mr.      L120     1.20 hrs
                    Sillman (Fortace).
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01/13/2013   JALB   Provide additional revisions to reply brief.         L120     0.70 hrs


01/13/2013   JALB   Telephone conference with Mr. Sillman and Mr.        L120     1.00 hrs
                    Rhode regarding finalizing report.

01/13/2013   JALB   E-mails with Mr. Corcoran and Mr. Lipps              L120     0.30 hrs
                    regarding finalizing report.

01/13/2013   JRC    E-mail exchanges with Ms. Battle regarding           L120     0.20 hrs
                    revisions to Mr. Lipps' reply declaration.

01/13/2013   JRC    Revise reply declaration of Mr. Lipps based on his   L210     1.70 hrs
                    suggestions.

01/13/2013   JRC    Revise reply declaration of Mr. Lipps based on       L210     1.90 hrs
                    suggestions of Ms. Battle.

01/13/2013   JDR    Draft correspondence to Ms. Battle regarding 9019    L120     0.10 hrs
                    reply brief issues.

01/13/2013   JDR    Review and revise Mr. Sillman's materials in         L120     1.90 hrs
                    support of 9019 motion in preparation for
                    teleconference.
01/13/2013   JDR    Review and revise 9019 reply brief citations.        L120     0.50 hrs


01/13/2013   JDR    Draft correspondence to Ms. Battle and Mr.           L120     0.10 hrs
                    Sillman (Fortace) regarding 9019 materials.

01/13/2013   JDR    Teleconference with Ms. Battle and Mr. Sillman       L120     1.00 hrs
                    (Fortace) regarding 9019 reply report.

01/13/2013   JDR    Review and revise Mr. Sillman's (Fortace)            L120     0.50 hrs
                    materials in support of 9019 motion.

01/13/2013   JDR    Draft correspondence to Ms. Battle and Mr.           L120     0.20 hrs
                    Sillman (Fortace) regarding 9019 reply report.

01/14/2013   JAL    Review and finalize supplemental declaration         L250     1.40 hrs
                    (.60). Conference with Mr. Corcoran regarding
                    final edits (.10). Telephone conference with Ms.
                    Battle regarding same (.10). Review and respond
                    to e-mails regarding control of trusts (.50).
                    Conferences with Mr. Beck regarding same (.10).
01/14/2013   JALB   Revise draft reply report.                           L120     2.50 hrs
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01/14/2013   JALB   Meet with Mr. Lipps regarding reply report.         L120     0.20 hrs


01/14/2013   JALB   Review draft section of reply report.               L120     0.20 hrs


01/14/2013   JALB   Correspondence with Mr. Lipps and Mr. Corcoran      L120     0.20 hrs
                    regarding drafting section of reply report.

01/14/2013   JALB   Telephone conference with Mr. Sillman (Fortace)     L120     0.10 hrs
                    regarding revisions to draft reply report.

01/14/2013   JALB   Telephone conference with Mr. Corcoran              L120     0.30 hrs
                    regarding reply report. (.10) Follow-up regarding
                    reply report. (.20)
01/14/2013   JALB   Telephone conference with Mr. Sillman (Fortace)     L120     0.80 hrs
                    and Mr. Rhode regarding finalizing reply report.

01/14/2013   JALB   Discussion with Mr. Rains (Morrison & Foerster)     L120     0.30 hrs
                    regarding revisions to reply report.

01/14/2013   DAB    Draft materials for Mr. Rains of Morrison &         L120     0.60 hrs
                    Foerster regarding servicing releases in RMBS
                    trust agreements.
01/14/2013   DAB    Conference with Mr. Lipps regarding questions of    L120     0.10 hrs
                    Mr. Rains on monoline control of RMBS trusts.

01/14/2013   DAB    Conference with Mr. Rains (Morrison & Foerster)     L120     0.10 hrs
                    and Mr. Lipps regarding issues on monoline
                    control of RMBS trusts.
01/14/2013   DAB    Draft analysis for Mr. Rains of Morrison &          L120     2.10 hrs
                    Foerster on trust agreement provisions on
                    monoline controls of RMBS remedies.
01/14/2013   JRC    Revise Mr. Lipps' reply declaration based on        L140     0.80 hrs
                    suggestions of Ms. Battle (Morrison & Foerster).

01/14/2013   JRC    Conference with Mr. Lipps regarding revisions to    L190     0.10 hrs
                    his reply declaration.

01/14/2013   JRC    Revise Mr. Lipps' reply declaration based on his    L140     3.20 hrs
                    suggestions.

01/14/2013   JRC    Revise Mr. Lipps' reply declaration based on        L140     0.10 hrs
                    suggestions of Mr. Rains.
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01/14/2013   JRC    Review deposition of Dr. Cornell in order to revise   L140     0.70 hrs
                    Mr. Lipps' reply declaration.

01/14/2013   JRC    Review expert report of Dr. Cornell in order to       L140     0.50 hrs
                    revise Mr. Lipps' reply declaration.

01/14/2013   JRC    Telephone conference with Ms. Battle regarding        L190     0.10 hrs
                    revisions to Mr. Lipps' reply declaration.

01/14/2013   JRC    E-mail exchanges with Ms. Battle regrading            L190     0.10 hrs
                    revisions to Mr. Lipps' reply declaration.

01/14/2013   JRC    Review cases cited in Mr. Lipps declaration to        L140     0.60 hrs
                    ensure propositions cited are accurate

01/14/2013   JDR    Teleconference with Ms. Battle and Mr. Sillman        L120     0.80 hrs
                    (Fortace) regarding reply declaration.

01/14/2013   JDR    Review and redline citations in 9019 reply brief.     L210     1.70 hrs


01/14/2013   JDR    Draft correspondence to Ms. Battle and Mr. Ziegler    L120     0.20 hrs
                    regarding 9019 reply and Mr. Sillman's materials.

01/14/2013   JDR    Review and revise Mr. Sillman's materials in          L210     1.30 hrs
                    support of 9019 motion.

01/14/2013   JDR    Revise 9019 reply brief.                              L210     1.60 hrs


01/14/2013   JDR    Draft correspondence to Mr. Corcoran regarding        L120     0.10 hrs
                    Mr. Lipps' declaration.

01/14/2013   JDR    Revise Mr. Sillman's materials in support of 9019.    L210     1.00 hrs


01/14/2013   JDR    Revise 9019 reply brief.                              L210     1.00 hrs


01/14/2013   JDR    Draft correspondence to Ms. Battle and Mr. Ziegler    L120     0.20 hrs
                    (Morrison & Foerster) regarding 9019 reply brief.

01/14/2013   JDR    Draft correspondence to Mr. Ziegler (Morrison &       L120     0.10 hrs
                    Foerster) regarding 9019 reply brief.

01/14/2013   JDR    Draft correspondence to Mr. Sillman (Fortace). **     L120     0.10 hrs
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01/14/2013   JDR    Draft correspondence to Mr. Ziegler (Morrison &       L120     0.10 hrs
                    Foerster) regarding 9019 reply brief redlines.

01/14/2013   JDR    Draft correspondence to Mr. Ziegler (Morrison &       L120     0.20 hrs
                    Foerster) regarding expert productions.

01/15/2013   JAL    Review and redraft Mr. Sillman's affidavit (.30).     L250     2.50 hrs
                    Review and respond to e-mails regarding same
                    (.10). Conference with Ms. Battle regarding same
                    (.20). Final review of supplemental declaration
                    (.50). Conferences with Ms. Battle and Mr.
                    Corcoran regarding same (.20). Review and
                    respond to e-mails regarding 9019 issues (.20).
                    Telephone conference with Mr. Raines (Morrison
                    & Foerster) and Mr. Beck regarding monoline
                    control issues (.20). Review and respond to
                    e-mails regarding same (.40). Review 9019 brief
                    regarding same (.40).
01/15/2013   JALB   Attention to finalizing Sillman reply report.         L120     0.90 hrs


01/15/2013   JALB   Conference with Mr. Lipps and Mr. Corcoran            L120     1.80 hrs
                    regarding revisions to supplemental Lipps
                    Declaration. (.20) Conference with Mr. Lipps
                    regarding edits to Sillman declaration. (.10) Draft
                    emails to Mr. Lipps and Mr. Beck regarding
                    Sillman declaration. (.20) Communicate with Mr.
                    Sillman (Fortace) regarding declaration. (.20)
                    E-mails with Mr. Rhode regarding reply brief.
                    (.20) Conference with Mr. Beck regarding reply
                    brief inserts. (.10) E-mails with Mr. Lipps and Mr.
                    Beck regarding repurchase provisions. (.30) Calls
                    with Mr. Rains (Morrison & Foerster) regarding
                    finalization of reply brief and supporting
                    declarations (.30). E-mails with Mr. Rains, Ms.
                    Levitt, Mr. Princi and Mr. Ziegler (Morrison &
                    Foerster) regarding same (.20).
01/15/2013   JALB   Prepare draft outline section regarding Sillman       L120     0.80 hrs
                    rebuttal work.

01/15/2013   JALB   Telephone conference with Mr. Sillman regarding       L120     0.40 hrs
                    data needed for Sillman rebuttal work.

01/15/2013   DAB    Conference with Mr. Sheeran (Gibbs & Bruns)           L120     0.20 hrs
                    regarding RMBS reply brief.

01/15/2013   DAB    Communicate with Ms. Battle and Mr. Lipps             L120     0.20 hrs
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                    regarding effect of bankruptcy on repurchase
                    provisions in contracts.
01/15/2013   DAB    Review Sillman draft rebuttal report for potential    L120     1.40 hrs
                    impact on litigation strategy on monoline claims.

01/15/2013   DAB    Comment on draft Sillman report.                      L120     0.30 hrs


01/15/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding       L120     0.20 hrs
                    issues related to Sillman report.

01/15/2013   DAB    Conference with Mr. Lipps regarding issues posed      L120     0.10 hrs
                    by Sillman report.

01/15/2013   DAB    Conference with Ms. Battle regarding RMBS reply       L120     0.10 hrs
                    brief.

01/15/2013   DAB    Conference with Mr. Corcoran regarding updating       L120     0.10 hrs
                    reply brief to match Lipps declaration.

01/15/2013   DAB    Revise inserts to RMBS reply brief.                   L120     0.20 hrs


01/15/2013   JRC    Conference with Mr. Beck regarding revisions to       L190     0.20 hrs
                    reply in support of 9019 motion.

01/15/2013   JRC    Revise reply declaration of Mr. Lipps. (2.20)         L140     2.40 hrs
                    Conference with Mr. Lipps and Ms. Battle
                    regarding same. (.20)
01/15/2013   JRC    Revise reply in support of 9019 motion.               L140     1.60 hrs


01/15/2013   JDR    Draft correspondence to Ms. Battle regarding 9019     L120     0.10 hrs
                    reply brief and Mr. Sillman's materials.

01/15/2013   JDR    Review and redline draft Mr. Sillman's materials in   L210     0.60 hrs
                    support of 9019.

01/15/2013   JDR    Review and revise 9019 reply brief citations.         L210     1.60 hrs


01/15/2013   JDR    Final review of Mr. Sillman's materials in support    L210     0.80 hrs
                    of 9019.
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
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01/15/2013   JDR      Draft correspondence to Mr. Ziegler (Morrison &              L120            0.20 hrs
                      Foerster) regarding 9019 reply brief.

01/15/2013   JDR      Draft correspondence to Ms. Battle and Mr.                   L120            0.10 hrs
                      Sillman (Fortace) regarding 9019 reply brief and
                      Mr. Sillman's materials.
01/15/2013   JDR      Teleconference with Mr. Ziegler (Morrison &                  L120            0.20 hrs
                      Foerster) regarding 9019 reply brief.

01/15/2013   JDR      Draft correspondence to Mr. Sillman (Fortace),               L120            0.20 hrs
                      Ms. Battle, and Mr. Ziegler (Morrison & Foerster)
                      regarding 9019 reply and Mr. Sillman's materials.
01/15/2013   JDR      Prepare materials for potential rebuttal expert              L320            1.00 hrs
                      regarding proofs of claim.

01/28/2013   JALB     Participate in client weekly update call on                  L120            0.40 hrs
                      litigation, document retention, and
                      transition/separation issues.
01/30/2013   JALB     Review task list. ***                                        L120            0.10 hrs


01/30/2013   JALB     Telephone conference with Mr. Rains (Morrison &              L120            0.30 hrs
                      Foerster) regarding division of labor and next steps
                      on 9019.
01/30/2013   JALB     Correspondence with Mr. Lipps and Mr. Rhode                  L120            0.40 hrs
                      regarding division of labor and next steps on 9019.

01/30/2013   JDR      Draft correspondence to Ms. Battle regarding 9019            L120            0.10 hrs
                      hearing preparation.



                      TOTAL FEES FOR THIS MATTER                                                  $54,220.50

EXPENSES

01/25/2013            Litigation Support Vendors - Non-testifying consultant (services             $38,182.5
                      for December 2012)                                                                   0

                      TOTAL EXPENSES FOR THIS MATTER                                              $38,182.50


BILLING SUMMARY


         Paul, Angela M.                              0.30 hrs      275.00 /hr           $82.50
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                                                        Invoice # 53234        Page 20
      Beck, David A.                        34.90 hrs   280.00 /hr    $9,772.00


      Lipps, Jeffrey A.                     16.10 hrs   400.00 /hr    $6,440.00


      Battle, Jennifer A.L.                 52.80 hrs   300.00 /hr   $15,840.00


      Rhode, Jacob D.                       93.50 hrs   160.00 /hr   $14,960.00


      Corcoran, Jeffrey R.                  39.10 hrs   180.00 /hr    $7,038.00


      Phillips, Segev                        0.40 hrs   220.00 /hr        $88.00



   TOTAL FEES                              237.10 hrs                $54,220.50

   TOTAL EXPENSES                                                    $38,182.50

   TOTAL CHARGES FOR THIS INVOICE                                    $92,403.00
12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
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                            Supplemental Descriptions


    * Teleconference with Mr. Sillman (Fortace) regarding reply declaration.


    ** Draft correspondence to Mr. Sillman (Fortace) regarding comments on reply
    declaration.


    *** Review task list for preparation for RMBS trial.
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                Monthly Invoices Pg 147 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           February 25, 2013

                                                                    Billed through 01/31/2013
Tammy Hamzephour                                                    Invoice # 53210      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

01/07/2013    JALB      Respond to request from Mr. Haims (Morrison &               L120        0.40 hrs
                        Foerster) regarding Residential Capital marketing
                        materials.
01/07/2013    JALB      Respond to question from Mr. Ruckdaschel                    L120        0.20 hrs
                        (Residential Capital) regarding Fannie/Freddie
                        settlement.
01/07/2013    DJB       Research and compile Rescap marketing materials             L120        2.20 hrs
                        requested by Morrison Foerster.

01/07/2013    DAB       Communicate with Ms. Battle and Mr. Barthel                 L120        0.10 hrs
                        regarding RMBS marketing materials.

01/08/2013    JALB      Follow-up discussion with Mr. Haims (Morrison &             L120        0.30 hrs
                        Foerster) regarding investor knowledge of
                        Residential Capital branding.
01/08/2013    DAB       E-mails with Mr. Lipps and Ms. Battle regarding             L120        0.30 hrs
                        various issues related to possible subordination of
                        securities claims.
01/08/2013    JRC       Review documents in Discovery Partner in order to           L320        6.30 hrs
                        locate investor day presentations relevant to
                        securities claims.
01/10/2013    JAL       Review analysis of PLS complaints to identify               L120        0.50 hrs
                        allegations of debtors as issuers.
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  932 00058                    Monthly Invoices Pg 148 of 701
                                                           Invoice # 53210               Page 2
01/10/2013   JALB       Correspondence with Mr. Haims (Morrison &                L120        0.20 hrs
                        Foerster) regarding helpful documents for
                        subordination briefing.
01/10/2013   DAB        Revise memorandum on key provisions in                   L120        0.60 hrs
                        securities complaints.

01/14/2013   JALB       Respond to request from Mr. Rothberg (Morrison           L120        0.30 hrs
                        & Foerster) in connection with subordination
                        motion regarding arguments asserted in
                        pre-petition litigation.
01/14/2013   DAB        Communicate with Mr. Rothberg (Morrison &                L120        0.10 hrs
                        Foerster) regarding prior work product on merits of
                        securities claims.
01/28/2013   JALB       Discussion with Mr. Ruckdaschel (Residential             L120        0.40 hrs
                        Capital) regarding status of FHFA litigation.

01/31/2013   DAB        E-mail Mr. Lipps and Ms. Battle regarding                L120        0.20 hrs
                        insurance coverage issues.



                        TOTAL FEES FOR THIS MATTER                                           $2,700.00


BILLING SUMMARY


         Beck, David A.                                1.30 hrs     280.00 /hr     $364.00


         Barthel, David J.                             2.20 hrs     210.00 /hr     $462.00


         Lipps, Jeffrey A.                             0.50 hrs     400.00 /hr     $200.00


         Battle, Jennifer A.L.                         1.80 hrs     300.00 /hr     $540.00


         Corcoran, Jeffrey R.                          6.30 hrs     180.00 /hr   $1,134.00



     TOTAL FEES                                      12.10 hrs                   $2,700.00

     TOTAL CHARGES FOR THIS INVOICE                                              $2,700.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         February 26, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53214      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

01/02/2013   JAL       Review creditor analysis of legal issues related to        L120        3.00 hrs
                       monoline claims (1.0). Review Mr. Beck's
                       analysis of memo (.30). Conference with Mr. Beck
                       regarding same (.20). Review and redraft white
                       paper on monoline claims.
01/02/2013   DAB       Draft response to creditor memorandum. *                   L120        0.60 hrs


01/02/2013   DAB       Revise discovery requests to FGIC and MBIA.                L310        2.10 hrs


01/02/2013   DAB       E-mail Mr. Ruckdsashel, Mr. Cancelliere, Mr.               L120        0.10 hrs
                       Blaschko (Residential Capital) and Mr.
                       Rosenbaum (Morrison & Foerster) regarding next
                       steps on Ambac cure claims.
01/02/2013   DAB       Review creditor memorandum on monoline issues.             L120        1.70 hrs
                       (1.50) Conference with Mr. Lipps regarding same.
                       (.20)
01/03/2013   JAL       Review and redraft Rule 2004 motion regarding              L120        3.00 hrs
                       monoline discovery (1.3). E-mail Mr. Beck
                       regarding revisions to same (.20). Review and
                       redraft document requests directed to MBIA and
                       FGIC (1.20). Conference with Mr. Beck regarding
                       same (.30).
01/03/2013   DAB       Call with Mr. Ruckdashel, Mr. Cancelliere, Mr.             L120        1.20 hrs
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                    Blaschko (Residential Capital) and Mr.
                    Rosenbaum (Morrison & Foerster) regarding
                    Ambac cure claims.
01/03/2013   DAB    Call with Mr. Rosenbaum (Morrison & Foerster)         L120     0.10 hrs
                    regarding next steps on Ambac cure claims.

01/03/2013   DAB    E-mail Mr. Ruhl (Residential Capital) regarding       L120     0.20 hrs
                    Ambac cure claims related to Impac transaction.

01/03/2013   DAB    Revise document requests to MBIA and FGIC.            L310     0.60 hrs


01/03/2013   DAB    Conference with Mr. Lipps regarding document          L120     0.20 hrs
                    requests to FGIC and MBIA.

01/04/2013   JAL    Review and respond to e-mails regarding monoline      L120     0.30 hrs
                    discovery (.20). Conference with Mr. Beck
                    regarding same (.10).
01/04/2013   DAB    Conference with Mr. Lipps regarding next steps on     L120     0.10 hrs
                    document requests.

01/04/2013   DAB    Revise document requests to MBIA.                     L320     2.10 hrs


01/04/2013   DAB    Review and analyze Countrywide order unsealing        L120     0.40 hrs
                    additional materials in litigation with MBIA.

01/04/2013   DAB    Draft e-mail to Ambac regarding cure claim.           L120     0.80 hrs


01/04/2013   DAB    Communicate with Mr. Rosenbaum of Morrison &          L120     0.20 hrs
                    Foerster regarding potential settlement offer on
                    cure claims to Ambac.
01/04/2013   DAB    E-mail Mr. Ruckdashel, Mr. Cancelliere and Mr.        L120     0.10 hrs
                    Blaschko of Residential Capital regarding potential
                    settlement offer on Ambac cure claims.
01/07/2013   JAL    Review and redraft document requests directed to      L320     2.00 hrs
                    MBIA and FGIC (.60). Conference with Mr. Beck
                    regarding same (.30). Participate on conference
                    call with Mr. Alexander (Morrison & Foerster) and
                    Mr. Beck to discuss discovery directed to FGIC
                    and MBIA (1.10).
01/07/2013   DAB    Conference with Mr. Lipps regarding revisions to      L120     0.30 hrs
                    document requests to MBIA and other monoline
                    related issues.
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01/07/2013   DAB    Revise document requests to MBIA.                   L320     0.20 hrs


01/07/2013   DAB    Multiple conferences with Mr. Corcoran regarding    L120     0.10 hrs
                    research needed on repurchase issues.

01/07/2013   DAB    Call with Mr. Alexander (Morrison & Foerster)       L120     1.10 hrs
                    and Mr. Lipps regarding revisions to MBIA
                    discovery requests and strategy on FGIC requests.
01/07/2013   DAB    Analyze creditor materials on monoline claims.      L120     0.20 hrs


01/07/2013   DAB    Research regarding appeals of major rulings in      L120     0.70 hrs
                    other monoline cases.

01/07/2013   DAB    E-mails with Mr. Rosenbaum (Morrison &              L120     0.10 hrs
                    Foerster) and Mr. Ruckdsashel (Residential
                    Capital) regarding finalization of offer to Ambac
                    on cure claims.
01/07/2013   DAB    E-mail Mr. Ziegler of Morrison & Foerster           L120     0.10 hrs
                    regarding previous experience on discovery in
                    front of Judge Glenn.
01/07/2013   DAB    Research regarding appeals of major rulings in      L120     0.70 hrs
                    other monoline cases.

01/07/2013   JRC    Conference with Mr. Beck regarding analysis of      L120     0.10 hrs
                    MBIA repurchase requests and ResCap's
                    responses.
01/07/2013   JRC    Review and analyze documents from litigation        L320     2.30 hrs
                    databases relevant to MBIA's repurchase requests
                    and RFC's responses in order to draft
                    memorandum providing analysis on the same.
01/07/2013   JRC    Review and analyze documents from litigation        L320     2.90 hrs
                    databases relevant to MBIA's repurchase requests
                    and GMACM's responses in order to draft
                    memorandum providing analysis on the same.
01/07/2013   JRC    Draft memorandum regarding MBIA's repurchase        L210     0.90 hrs
                    requests and GMACM responses.

01/07/2013   JRC    Draft memorandum regarding MBIA's repurchase        L210     0.70 hrs
                    requests and RFC's responses.

01/08/2013   JAL    Review and redraft document requests directed to    L320     1.00 hrs
                    MBIA and FGIC (.60). Conference with Mr. Beck
                    regarding same (.20). Review analysis of prior
                    document requests served by parties in bankruptcy
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                    (.20).
01/08/2013   DAB    Revise document requests to MBIA and FGIC.            L320     2.10 hrs
                    (1.90) Conference with Mr. Lipps regarding same.
                    (.20)
01/08/2013   JRC    Revise memorandum analyzing repurchase                L210     0.90 hrs
                    requests and responses in MBIA v. GMACM.

01/08/2013   JRC    Revise memorandum analyzing repurchase                L320     0.50 hrs
                    requests and responses in MBIA v. RFC.

01/09/2013   JAL    Review and redraft document requests directed to      L320     0.50 hrs
                    MBIA and FGIC (.40). E-mail Mr. Beck regarding
                    same (.10).
01/09/2013   DAB    E-mails with Mr. Rosenbaum (Morrison &                L120     0.20 hrs
                    Foerster) regarding cure claim offer to Ambac.

01/09/2013   DAB    Call with Mr. Rosenbaum (Morrison & Foerster)         L120     0.20 hrs
                    regarding cure claim with Ambac.

01/09/2013   DAB    Call with Mr. Ruckdashel (Residential Capital)        L120     0.20 hrs
                    regarding Ambac cure claims.

01/09/2013   DAB    Call with Mr. Guiney (Patterson), Mr. Rosenbaum       L120     0.30 hrs
                    (Morrison & Forester) and Ms. Beck (Morrison &
                    Foerster) (parts only) regarding issues on
                    assumption and assignment of Ambac contracts.
01/10/2013   JAL    Conference with Mr. Beck regarding preparations       L120     2.50 hrs
                    for Monoline meeting (.20). Review and redraft
                    document requests directed to MBIA and FGIC
                    (.70). Conference with Mr. Beck regarding same.
                    (.10) Review and respond to e-mails regarding
                    same (.10). Draft outline for monoline claims
                    objections (1.4).
01/10/2013   DAB    Analyze materials prepared by Mr. Corcoran            L120     0.60 hrs
                    regarding MBIA repurchase experience to prepare
                    for monoline meetings.
01/10/2013   DAB    Draft overview of prelitigation repurchase activity   L120     0.60 hrs
                    with MBIA.

01/10/2013   DAB    Conference with Mr. Lipps regarding preparations      L120     0.20 hrs
                    for monoline meeting.

01/10/2013   DAB    Conference with Mr. Newton (Morrison &                L120     0.60 hrs
                    Foerester) regarding state law insolvency issues
                    related to FGIC and Ambac claims.
01/10/2013   DAB    Conference with Mr. Lipps regarding revisions to      L120     0.10 hrs
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                    document requests to monolines.

01/10/2013   DAB    Revise document requests to monolines.               L320     1.20 hrs


01/10/2013   DAB    Conference with Mr. Corcoran regarding analysis      L120     0.20 hrs
                    on repurchase data with MBIA.

01/10/2013   JRC    Conferences with Mr. Beck regarding repurchase       L120     0.20 hrs
                    data from MBIA v. RFC case.

01/10/2013   JRC    Review documents related to RFC's repurchase         L320     3.90 hrs
                    from deals insured by MBIA in order to revise
                    memorandum analyzing repurchase volume.
01/10/2013   JRC    Revise memorandum analyzing repurchase volume        L210     0.90 hrs
                    in MBIA v. RFC.

01/10/2013   JRC    Draft summary of key documents related to RFC's      L210     0.20 hrs
                    repurchases from deals insured by MBIA for Mr.
                    Beck.
01/11/2013   JAL    Review and redraft claims objection outline          L120    10.30 hrs
                    regarding monolines (1.60). Conference with Mr.
                    Beck regarding various legal issues related to
                    monoline claims. (1.20) Conference with Mr.
                    Beck regarding monoline claims and strategy
                    memorandum (.50). Conference with Mr. Beck,
                    Morrison & Foerster lawyers and counsel to certain
                    creditors to discuss monoline claims and 9019
                    (1.20). Follow-up conference with Mr. Princi, Mr.
                    Alexander, Mr. Newton (Morrison & Foerster) and
                    Mr. Beck regarding same. (.60) Conference with
                    Mr. Alexander (Morrison & Foerster) and Mr.
                    Beck regarding document requests to monolines.
                    (.30) Conference with Mr. Beck, Mr. Thompson
                    and Morrison & Foerster lawyers to discuss claims
                    resolution process and open claims issues (1.20).
                    Review and redraft white paper on monoline
                    claims (2.00). Review arguments of monoline's in
                    9019 filings (1.0). Review monoline proofs of
                    claim (.70).
01/11/2013   JALB   E-mails with Mr. Beck regarding prior case proof     L120     0.40 hrs
                    analyses.

01/11/2013   DAB    Multiple e-mails with Ms. Battle regarding           L120     0.20 hrs
                    repurchase history with MBIA.

01/11/2013   DAB    Conference with Mr. Lipps regarding repurchase       L120     0.20 hrs
                    history issues.
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01/11/2013   DAB    Draft claim objection strategy points.              L120     1.60 hrs


01/11/2013   DAB    Conference with Mr. Lipps regarding various legal   L120     1.20 hrs
                    issues related to monoline claims.

01/11/2013   DAB    Meeting with counsel to certain creditors, Mr.      L120     1.70 hrs
                    Princi, Mr. Alexander, Ms. Marines, Ms. Moss,
                    Mr. Newton (Morrison & Foerster) and Mr. Lipps
                    regarding RMBS trust claims and monoline claims.
01/11/2013   DAB    Conference with Mr. Princi, Mr. Alexander, Mr.      L120     0.50 hrs
                    Newton (Morrison & Foerster) and Mr. Lipps
                    regarding potential arguments against monoline
                    claims.
01/11/2013   DAB    Conference with Mr. Alexander (Morrison &           L120     0.20 hrs
                    Foerster) and Mr. Lipps regarding document
                    requests to monolines.
01/11/2013   DAB    Participate in meeting with Mr. Thompson            L120     1.70 hrs
                    (Residential Capital), Morrison & Foerster Team
                    and Mr. Lipps regarding strategy on major claims.
01/11/2013   DAB    Conference with Ms. Marines and Ms. Moss            L120     0.20 hrs
                    (Morrison & Foerster) regarding monoline issues.

01/11/2013   DAB    Conference with Mr. Lipps regarding strategy        L120     0.50 hrs
                    memoranda for monoline claims.

01/13/2013   JAL    Discussion with Ms. Battle regarding monoline       L320     0.50 hrs
                    claims objection (.30). Review e-mails regarding
                    same (.10). Conference with Mr. Beck regarding
                    same (.10).
01/14/2013   JALB   Discussion with Mr. Lipps regarding outline for     L120     0.30 hrs
                    monoline claims objection.

01/14/2013   JALB   Discussion with Mr. Beck regarding outline for      L120     0.20 hrs
                    monoline claims objection.

01/14/2013   JALB   Review MBIA and FGIC proofs of claim.               L120     0.50 hrs


01/14/2013   DAB    Review and revise MBIA and FGIC document            L320     0.40 hrs
                    requests.

01/14/2013   DAB    E-mail Ms. Battle regarding materials needed for    L120     0.10 hrs
                    monoline claims outline.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  932 00059                 Monthly Invoices Pg 155 of 701
                                                        Invoice # 53214           Page 7
01/14/2013   DAB    Draft e-mail to Mr. Lipps, Ms. Battle and Mr.          L120     0.20 hrs
                    Beekhuizen regarding new suit filed by MBIA
                    against Flagstar.
01/14/2013   SP     Review transaction documents from RFMSII,              L320     1.70 hrs
                    RASC, RAMP, and GMACM deals to determine if
                    there is any variety in the use of certain defined
                    terms.
01/15/2013   DAB    Analyze arguments raised in summary judgment           L120     1.40 hrs
                    briefs in MBIA v. Countrywide.

01/15/2013   DAB    Participate in call with Mr. Goren, Mr.                L120     0.70 hrs
                    Rosenbaum, Ms. Marines, Ms. Rothchild and Ms.
                    Barrage (Morrison & Foerster) regarding
                    outstanding cure claims on servicing platform sale.
01/15/2013   DAB    Review and comment on FGIC and MBIA                    L120     0.80 hrs
                    document requests.

01/16/2013   JALB   Meet with Mr. Lipps and Mr. Beck regarding             L120     0.60 hrs
                    division of labor for monoline claims outline. (.30)
                    Conference with Mr. Beck regarding same. (.30)
01/16/2013   JALB   Begin outline of objection to state law claims of      L120     1.60 hrs
                    monolines.

01/16/2013   DAB    Conference with Mr. Lipps and Ms. Battle               L120     0.30 hrs
                    regarding monoline claim issues.

01/16/2013   DAB    Conference with Mr. Newton (Morrison &                 L120     0.10 hrs
                    Foerster) regarding precedent claim objections.

01/16/2013   DAB    Draft outline on monoline claim objections.            L120     1.00 hrs


01/16/2013   DAB    Conference with Ms. Battle regarding issues for        L120     0.30 hrs
                    outline on monoline claim objections.

01/16/2013   DAB    Review and revise draft 2004 motions for               L120     4.80 hrs
                    monolines.

01/16/2013   DAB    Revise document requests to FGIC.                      L320     0.40 hrs


01/17/2013   JALB   Prepare outline of objection to state law claims.      L120     0.80 hrs


01/17/2013   DAB    Revise document requests to FGIC and MBIA.             L320     0.80 hrs
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01/17/2013   DAB    Revise 2004 motion to MBIA.                            L120     0.60 hrs


01/17/2013   DAB    Conference with Mr. Alexander (Morrison &              L120     0.10 hrs
                    Foerster) regarding document requests to FGIC
                    and MBIA.
01/17/2013   DAB    Conference with Ms. Barrage (Morrison &                L120     0.10 hrs
                    Foerster) regarding FGIC cure claims.

01/17/2013   DAB    Analyze FGIC cure claims to determine scope of         L120     0.40 hrs
                    likely litigation on cure claims.

01/17/2013   DAB    Draft analysis on likely scope of litigation on FGIC   L120     0.50 hrs
                    monoline claims.

01/17/2013   DAB    E-mail Mr. Rosenbaum (Morrison & Foerster)             L120     0.30 hrs
                    regarding servicing trigger issues on Ambac deals.

01/18/2013   JAL    Review e-mails regarding monoline strategy (.20).      L120     1.00 hrs
                    Communicate with Mr. Beck regarding same (.20).
                    Review draft of MBIA/FGIC document requests to
                    consider impact of mirror requests (.50). Review
                    e-mails regarding same (.10).
01/18/2013   JALB   Prepare draft outline of state law claim defenses      L120     3.20 hrs
                    and discovery issues.

01/18/2013   DAB    Participate in call with Mr. Blaschko, Mr. Witten,     L120     0.70 hrs
                    Mr. Cancellieri (Residential Capital) and Mr.
                    Rosenbaum (Morrison & Foerster) regarding
                    servicing transfer triggers on monoline deals.
01/18/2013   DAB    Review and analyze summary judgment briefing in        L120     2.20 hrs
                    MBIA v. Countrywide case.

01/18/2013   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.30 hrs
                    regarding questions from Mr. Lee and Mr.
                    Alexander of Morrison & Foerster about draft
                    document requests to monolines.
01/18/2013   JDR    Research regarding objections to proofs of claim to    L120     1.20 hrs
                    assist in draft outline.

01/18/2013   JDR    Draft correspondence to Ms. Battle and Mr. Beck        L120     0.10 hrs
                    regarding objections to proofs of claim.

01/19/2013   JAL    Further review of MBIA/FGIC document requests          L320     0.50 hrs
                    to assess impact if mirror requests served (.40).
                    Review e-mails regarding same (.10).
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
  932 00059                 Monthly Invoices Pg 157 of 701
                                                        Invoice # 53214        Page 9
01/19/2013   JALB   Respond to question from Mr. Beck regarding         L120     0.20 hrs
                    scope of document discovery vis a vis MBIA and
                    FGIC.
01/22/2013   JAL    Review and redraft document requests directed to    L320     0.80 hrs
                    FGIC (.40). Review e-mail from Ms. Battle
                    regarding same (.20). Conference with Mr. Beck
                    regarding same (.20).
01/22/2013   JALB   Review draft discovery for potential issues.        L120     0.40 hrs


01/22/2013   JALB   Correspondence with Mr. Beck regarding draft        L120     0.30 hrs
                    discovery for potential issues.

01/22/2013   JALB   Prepare draft of outline of state law defenses.     L120     2.10 hrs


01/22/2013   JALB   Correspondence with Mr. Beck regarding draft of     L120     0.20 hrs
                    outline of state law defenses.

01/22/2013   DAB    E-mail Ms. Battle regarding monoline claims         L120     0.10 hrs
                    objection outline.

01/22/2013   DAB    Draft portions of objection outline on monoline     L120     6.90 hrs
                    claims.

01/22/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding     L120     0.30 hrs
                    monoline document requests.

01/22/2013   DAB    Call with Mr. Lipps regarding monoline document     L120     0.10 hrs
                    requests.

01/22/2013   DAB    Call with Mr. Alexander of Morrison & Foerster      L120     0.10 hrs
                    regarding monoline document requests.

01/23/2013   JAL    Review proposed letters to MBIA and FGIC            L120     4.20 hrs
                    regarding informal discovery (.40). Conference
                    with Mr. Beck regarding same (.10). Review next
                    draft of document requests directed to MBIA and
                    FGIC (1.0). Review and redraft outline for
                    objections to monoline and claims (2.5). Review
                    and respond to e-mails regarding revisions to
                    document requests (.30).
01/23/2013   JALB   Discussion with Mr. Beck regarding preparation of   L120     0.10 hrs
                    detailed outline for monoline claims objection.

01/23/2013   JALB   Revise and comment on draft of outline for          L120     0.80 hrs
                    monoline claims objection.
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01/23/2013   DAB    Conference with Ms. Battle regarding revisions to     L120     0.10 hrs
                    monoline claims outline.

01/23/2013   DAB    Revise monoline claims objection outline.             L120     6.30 hrs


01/23/2013   DAB    Review and comment on Mr. Alexander of                L120     0.40 hrs
                    Morrison & Foerster's revisions to monoline
                    document requests.
01/23/2013   DAB    E-mail Mr. Lipps regarding revised monoline           L120     0.20 hrs
                    document requests.

01/23/2013   DAB    Research MBIA dialogue with SEC on projected          L120     0.80 hrs
                    recoveries.

01/24/2013   JAL    Further review and revision of outline of objection   L120     2.00 hrs
                    to monoline claims (.70). Conference with Mr.
                    Beck regarding same (.20). Review MBIA
                    correspondence and disclosure regarding put-back
                    recovery estimates (.50). Conference with Mr.
                    Beck regarding same (.10). Review and redraft
                    document requests directed to MBIA and FGIC
                    (50).
01/24/2013   JALB   Correspondence with Mr. Lipps and Mr. Beck            L120     0.30 hrs
                    regarding status of POC objection outline.

01/24/2013   DAB    E-mail Mr. Lee of Morrison & Foerster regarding       L120     0.10 hrs
                    outline on monoline claims issues.

01/24/2013   DAB    E-mails with Ms. Battle regarding revisions to        L120     0.20 hrs
                    monoline claims outline.

01/24/2013   DAB    Conference with Mr. Lipps regarding outline on        L120     0.10 hrs
                    monoline claims.

01/24/2013   DAB    Review and comment on draft settlement letter on      L120     0.30 hrs
                    MBIA cure claims.

01/25/2013   JAL    Review and respond to e-mails regarding finalizing    L320     0.30 hrs
                    MBIA/FGIC document requests.

01/26/2013   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.10 hrs
                    regarding meeting on monoline issues.

01/26/2013   DAB    E-mail Ms. Battle and Mr. Lipps regarding sample      L120     0.30 hrs
                    objections to claims and strategy on objections to
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                    monoline claims.
01/27/2013   JAL    Review white paper memo regarding monoline           L120     1.30 hrs
                    claims (1.1). Review e-mails regarding same (.10).
                    Conference with Mr. Beck regarding revisions to
                    2004 motion and discovery requests to monolines
                    (.20).
01/27/2013   DAB    Communicate with Mr. Lipps regarding revisions       L120     0.20 hrs
                    to 2004 motion and discovery requests to
                    monolines.
01/27/2013   DAB    Communicate with Mr. Lipps regarding analysis        L120     0.20 hrs
                    from Mr. Newton of Morrison & Foerster on
                    insurance insolvency issues.
01/28/2013   JAL    Review claims objection outline (.60).               L120     1.30 hrs
                    Communicate with Mr. Beck regarding monoline
                    claims for punitive damages (.20). Review and
                    redraft rule 2004 request (.40). Review e-mail
                    regarding same (.10).
01/28/2013   JALB   Revise monoline claims outline to incorporate        L120     2.30 hrs
                    Countrywide issues. (2.10) Conference with Mr.
                    Beck regarding same. (.20)
01/28/2013   DAB    Conference with Ms. Battle regarding outline on      L120     0.20 hrs
                    objection to monoline claims.

01/28/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding            L120     0.30 hrs
                    treatment of monolines' claims for punitive
                    damages.
01/28/2013   DAB    Communicate with Ms. Zellman (Residential            L120     0.30 hrs
                    Capital) regarding additional transaction
                    documents needed related to MBIA claims.
01/28/2013   DAB    Review and comment on revised 2004 motion to         L120     0.80 hrs
                    monolines.

01/28/2013   DAB    Draft e-mail to Mr. Lipps regarding recent rulings   L120     0.20 hrs
                    in MBIA v. Credit Suisse case. (.10) Conference
                    with Mr. Corcoran regarding same. (.10)
01/28/2013   JRC    Review pleadings in monoline representation and      L210     0.70 hrs
                    warranty case in New York Supreme Court in
                    order to respond to monoline proof of claims.
01/28/2013   JRC    Conference with Mr. Beck regarding pleadings in      L120     0.10 hrs
                    monoline representation and warranty case in New
                    York Supreme Court.
01/28/2013   JRC    Review and analyze deposition testimony from         L330     1.10 hrs
                    MBIA v. RFC in order to locate testimony relevant
                    to MBIA's proof of claims.
01/29/2013   DAB    Review and analyze research on monoline              L120     1.50 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
  932 00059                 Monthly Invoices Pg 160 of 701
                                                        Invoice # 53214         Page 12
                    insurance insolvency issues.

01/29/2013   DAB    Call with Mr. Newton (Morrison & Foerster)           L120     0.60 hrs
                    regarding monoline insurance insolvency issues.

01/29/2013   DAB    Conference with Ms. Battle regarding outline on      L120     0.10 hrs
                    monoline claims.

01/29/2013   DAB    Conference with Mr. Rosenbaum and Mr. Newton         L120     0.10 hrs
                    (Morrison & Forester) regarding call with Ambac
                    and Ocwen on issues related to assumption and
                    assignment of servicing agreements in Ambac
                    deals.
01/29/2013   DAB    Call with Mr. Guiney, Mr. Shapiro (Patterson), Ms.   L120     0.60 hrs
                    DeMarco (Clifford Chance), Mr. Rosenbaum, Mr.
                    Goren, Mr. Newton (Morrison & Foerster) and Ms.
                    Beck (parts) (Morrison & Foerster) regarding
                    issues related to assumption and assignment of
                    Ambac agreements.
01/29/2013   DAB    Conference with Mr. Alexander (Morrison &            L120     0.30 hrs
                    Foerster) regarding monoline discovery requests
                    and objection outline on monoline claims.
01/29/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding            L120     0.20 hrs
                    monoline discovery requests and objection outline
                    on monoline claims.
01/29/2013   DAB    Conference with Ms. Barrage (Morrison &              L120     0.20 hrs
                    Foerster) regarding MBIA comments on stipulation
                    on cure claim.
01/29/2013   DAB    Communicate with Mr. Alexander (Morrison &           L120     0.10 hrs
                    Foerster) regarding outline on objections to
                    monoline claims.
01/29/2013   JRC    Conference with Ms. Battle regarding deposition      L120     0.10 hrs
                    testimony related to monoline proof of claims.

01/30/2013   JAL    Review e-mail from Mr. Lawrence (Morrison &          L120     0.30 hrs
                    Foerster) regarding discovery schedule (.10).
                    Conference with Mr. Beck (.10). Review agenda
                    for claims resolution meeting (.10).
01/30/2013   JALB   Follow-up with Mr. Lipps, Mr. Lawrence               L120     0.10 hrs
                    (Morrison & Foerster) regarding monoline claims
                    objection outline.
01/30/2013   DAB    Communicate with Mr. Lipps regarding meeting         L120     0.20 hrs
                    with Morrison & Foerster, Curtis Mallet and client
                    on major pending claims projects.


                    TOTAL FEES FOR THIS MATTER                                   $40,512.00
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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EXPENSES

01/05/2013          (TRIP-DAB-1/5/13) Out-of-Town Travel/Airfare - travel to New           $1,229.80
                    York to attend meeting with Morrison & Foerster, Curtis Mallet
                    and client regarding pending claims

01/05/2013          (TRIP-DAB-1/5/13) Out-of-Town Travel/Dinner - travel to New                  $20.00
                    York to attend meeting with Morrison & Foerster, Curtis Mallet
                    and client regarding pending claims

01/05/2013          (TRIP-DAB-1/5/13) Out-of-Town Travel/Parking @ Port                          $17.00
                    Columbus - travel to New York to attend meeting with Morrison
                    & Foerster, Curtis Mallet and client regarding pending claims

01/07/2013          (TRIP-DAB-1/7/13) Out-of-Town Travel/Airfare (coach) - travel          $1,225.80
                    to New York to attend meeting with Alex Lawrence of Morrison
                    & Foerster and others regarding monoline litigation issues

01/07/2013          (TRIP-DAB-1/7/13) Out-of-Town Travel/Parking @ Port                          $17.00
                    Columbus - travel to New York to attend meeting with Alex
                    Lawrence of Morrison & Foerster and others regarding monoline
                    litigation issues

01/07/2013          (TRIP-DAB-1/7/13) Out-of-Town Travel/Breakfast - travel to                    $4.67
                    New York to attend meeting with Alex Lawrence of Morrison &
                    Foerster and others regarding monoline litigation issues

01/07/2013          (TRIP-DAB-1/7/13) Out-of-Town Travel/Lunch - travel to New                   $10.56
                    York to attend meeting with Alex Lawrence of Morrison &
                    Foerster and others regarding monoline litigation issues

01/07/2013          (TRIP-DAB-1/7/13) Out-of-Town Travel/Dinner - travel to New                  $20.00
                    York to attend meeting with Alex Lawrence of Morrison &
                    Foerster and others regarding monoline litigation issues

01/07/2013          (TRIP-DAB-1/7/13) Out-of-Town Travel/Taxi (Airport to                        $53.50
                    meeting downtown) - travel to New York to attend meeting with
                    Alex Lawrence of Morrison & Foerster and others regarding
                    monoline litigation issues

01/07/2013          (TRIP-DAB-1/7/13) Out-of-Town Travel/Taxi (Meeting                           $51.60
                    downtown to Airport) - travel to New York to attend meeting
                    with Alex Lawrence of Morrison & Foerster and others regarding
                    monoline litigation issues

01/11/2013          (TRIP-DAB-01/11/13) Out-of-Town Travel/Airfare (coach) -               $1,235.80
                    travel to New York to attend meeting with creditors and Morrison
                    & Foertser regarding claim issues

01/11/2013          (TRIP-DAB-01/11/13) Out-of-Town Travel/Breakfast - travel to                  $4.03
                    New York to attend meeting with creditors and Morrison &
                    Foertser regarding claim issues
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
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01/11/2013            (TRIP-DAB-01/11/13) Out-of-Town Travel/Lunch - travel to                      $11.49
                      New York to attend meeting with creditors and Morrison &
                      Foertser regarding claim issues

01/11/2013            (TRIP-DAB-01/11/13) Out-of-Town Travel/WiFi - travel to                        $5.95
                      New York to attend meeting with creditors and Morrison &
                      Foertser regarding claim issues

01/11/2013            (TRIP-DAB-01/11/13) Out-of-Town Travel/Parking @ Port                         $17.00
                      Columbus - travel to New York to attend meeting with creditors
                      and Morrison & Foertser regarding claim issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Airfare (coach) -                $1,149.40
                      travel to New York to attend meeting with creditors and Morrison
                      & Foertser regarding claim issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Breakfast - travel to                   $8.21
                      New York to attend meeting with creditors and Morrison &
                      Foertser regarding claim issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Lunch - travel to                      $14.21
                      New York to attend meeting with creditors and Morrison &
                      Foertser regarding claim issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Dinner (JAL/DAB) -                     $40.00
                      travel to New York to attend meeting with creditors and Morrison
                      & Foertser regarding claim issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Parking @ Port                         $17.00
                      Columbus - travel to New York to attend meeting with creditors
                      and Morrison & Foertser regarding claim issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Mileage to/from Port                    $6.22
                      Columbus (11 miles X .565) - travel to New York to attend
                      meeting with creditors and Morrison & Foertser regarding claim
                      issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Taxi (Airport to                       $47.87
                      Morrison & Foerster) - travel to New York to attend meeting
                      with creditors and Morrison & Foertser regarding claim issues

01/11/2013            (TRIP-JAL-01/11/13) Out-of-Town Travel/Car Service                            $80.00
                      (Morrison & Foerster to Airport) - travel to New York to attend
                      meeting with creditors and Morrison & Foertser regarding claim
                      issues

                      TOTAL EXPENSES FOR THIS MATTER                                          $5,287.11


BILLING SUMMARY


         Beck, David A.                            67.50 hrs    280.00 /hr       $18,900.00
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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      Lipps, Jeffrey A.                     34.80 hrs   400.00 /hr   $13,920.00


      Battle, Jennifer A.L.                 14.40 hrs   300.00 /hr    $4,320.00


      Rhode, Jacob D.                        1.30 hrs   160.00 /hr        $208.00


      Corcoran, Jeffrey R.                  15.50 hrs   180.00 /hr    $2,790.00


      Phillips, Segev                        1.70 hrs   220.00 /hr        $374.00



   TOTAL FEES                              135.20 hrs                $40,512.00

   TOTAL EXPENSES                                                     $5,287.11

   TOTAL CHARGES FOR THIS INVOICE                                    $45,799.11
12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
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                           Supplemental Description


    * Draft response to creditor memorandum regarding monoline claims.
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
                              Monthly Invoices Pg 165 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 25, 2013

                                                                     Billed through 01/31/2013
Tammy Hamzephour                                                     Invoice # 53212      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

01/02/2013   DAB       E-mail Ms. Sortor (counsel for CUNA) regarding                L120        0.10 hrs
                       production of underwriting guidelines and
                       additional loan files.
01/03/2013   JALB      Weekly team meeting with Mr. Thompson, Ms.                    L120        0.70 hrs
                       Delehey, Mr. Ruckdaschel, Ms. Zellmann, Mr.
                       Booth (all Residential Capital) regarding open
                       discovery and legal issues.
01/04/2013   JALB      Respond to e-mails from Ms. Hamzehpour                        L120        0.30 hrs
                       (Residential Capital) regarding e-discovery
                       vendors.
01/07/2013   DAB       Conference with Mr. Lipps and Mr. Beekhuizen                  L120        0.10 hrs
                       regarding discovery stay in Residential Capital.

01/07/2013   DAB       Analyze pleading regarding discovery stay.                    L120        0.20 hrs


01/10/2013   JALB      Participate in weekly client update call (Mr.                 L120        0.30 hrs
                       Thompson, Ms. Delehey, Mr. Ruckdaschel, Ms.
                       Zellmann, all Residential Capital).
01/10/2013   JALB      Follow-up discussion with Mr. Underhill                       L120        0.30 hrs
                       (Residential Capital) and Mr. Lipps regarding
                       preservation of and access to data post-closing.
01/10/2013   JALB      Telephone conference with Mr. Underhill                       L120        1.20 hrs
                       (Residential Capital) regarding data systems and
                       transfer thereof.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                        Invoice # 53212          Page 2

01/18/2013   JALB   Prepare memorandum to file (for review by Mr.         L120     0.60 hrs
                    Lipps) regarding key employees and impact of sale
                    on on future litigation.
01/22/2013   JALB   Telephone conference with Mr. Underhill, Mr.          L120     0.60 hrs
                    Blaschko, Mr. Graff, Ms. Reichel, Ms. Shaw, Ms.
                    Zellmann (all Residential Capital) regarding future
                    of access to Vision data. Preservation of same.
01/22/2013   JALB   Correspondence with Mr. Lipps regarding               L120     0.30 hrs
                    institutional memory/access to personnel concerns.

01/22/2013   JALB   Follow-up e-mail to Mr. Thompson (Residential         L120     0.50 hrs
                    Capital) regarding institutional memory/access to
                    personnel concerns.
01/22/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding       L120     0.30 hrs
                    document retention issues and sale's effect on
                    future litigation.
01/23/2013   VLS    Receipt and review of Long Beach Mortgage loan        L320     0.80 hrs
                    files.

01/23/2013   VLS    Conference with Ms. Wong at vendor Profile            L320     0.30 hrs
                    Discovery regarding processing loan files for
                    supplemental production related to CUNA
                    subpoena.
01/23/2013   VLS    E-mail exchange with Ms. Clinton at GMACM             L320     0.30 hrs
                    regarding loan files.

01/23/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding     L320     0.40 hrs
                    imaging documents so that reviewers can make
                    redactions.
01/23/2013   VLS    E-mail to document review team regarding status       L320     0.20 hrs
                    of document imaging.

01/24/2013   JALB   Telephone conference with Mr. Underhill, Mr.          L120     0.60 hrs
                    Junkemeier and Mr. Hopkins (all Residential
                    Capital) regarding transition of applications.
01/24/2013   DAB    Research status of FHFA discovery disputes for        L120     0.20 hrs
                    Ms. Zellman of Residential Capital.

01/25/2013   VLS    Multiple e-mail exchanges with Ms. Clinton at         L320     0.40 hrs
                    GMACM regarding Long Beach Mortgage loan
                    files.
01/25/2013   VLS    E-mail exchange with Mr. Beck regarding Long          L320     0.20 hrs
                    Beach Mortgage loan files.

01/25/2013   VLS    E-mail exchange with Ms. Wong at vendor Profile       L320     0.20 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00060                 Monthly Invoices Pg 167 of 701
                                                        Invoice # 53212          Page 3
                    Discovery regarding Long Beach Mortgage loan
                    files.
01/25/2013   VLS    Telephone conference with Ms. Wong at vendor          L320     0.30 hrs
                    Profile Discovery regarding Long Beach Mortgage
                    loan files.
01/28/2013   VLS    E-mail exchange with Ms. Clinton at GMACM             L320     0.20 hrs
                    regarding replacement of corrupt tiff image.

01/28/2013   VLS    E-mail to Ms. Wong at vendor Profile Discovery        L320     0.20 hrs
                    with replacement tiff image related to production
                    of additional documents in CUNA subpoena
                    matter.
01/28/2013   JALB   Participate in client weekly update call on           L120     0.30 hrs
                    litigation, document retention, and
                    transition/separation issues.
01/28/2013   JALB   At request of Mr. Thompson and Ms. Delehey            L120     0.70 hrs
                    (Residential Capital), prepare file memorandum
                    regarding litigation preservation and institutional
                    memory access issues.
01/29/2013   VLS    Receipt and review of CD from Ms. Clinton at          L320     0.70 hrs
                    GMACM containing additional documents for
                    production related to the CUNA subpoena matter.
01/29/2013   VLS    Multiple e-mail exchanges with Ms. Wong at            L320     0.70 hrs
                    vendor Profile Discovery regarding additional
                    materials to be produced related to the CUNA
                    subpoena matter.
01/31/2013   JALB   Weekly client call (Mr. Thompson, Ms. Delehey,        L120     0.40 hrs
                    Mr. Ruckdaschel, Ms. Zellmann) regarding status
                    of open matters and discovery and data transition
                    issues.
01/31/2013   JALB   Weekly client call (Mr. Thompson, Ms. Delehey,        L120     0.40 hrs
                    Mr. Ruckdaschel, Ms. Zellmann) regarding status
                    of open matters and discovery and data transition
                    issues.
01/31/2013   DAB    Conference with Ms. Sholl regarding production        L120     0.10 hrs
                    issues on CUNA documents.

01/31/2013   DAB    Research status of FHFA cases for Citibank            L120     0.20 hrs
                    update.



                    TOTAL FEES FOR THIS MATTER                                     $2,986.00
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                    Exhibit E
  932 00060                    Monthly Invoices Pg 168 of 701
                                                           Invoice # 53212                        Page 4

EXPENSES

01/31/2013              Outside Copying - convert to Tiff image, bates label, extract text,         $3,864.86
                        create summation load file and burn to CD/DVD by ProFile
                        Discovery

                        TOTAL EXPENSES FOR THIS MATTER                                              $3,864.86


BILLING SUMMARY


         Beck, David A.                                 1.20 hrs    280.00 /hr           $336.00


         Battle, Jennifer A.L.                          7.20 hrs    300.00 /hr         $2,160.00


         Sholl, Veronica L.                             4.90 hrs    100.00 /hr           $490.00



     TOTAL FEES                                       13.30 hrs                       $2,986.00

     TOTAL EXPENSES                                                                   $3,864.86

     TOTAL CHARGES FOR THIS INVOICE                                                   $6,850.86
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 169 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          February 26, 2013

                                                                  Billed through 01/31/2013
Tammy Hamzephour                                                  Invoice # 53215      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

01/01/2013     AMP     Attention to status of Cerberus privilege review.          L320        2.20 hrs
                       Review certain documents in Cerberus production
                       to address questions from Mr. Barthel and Mr.
                       Phillips regarding privilege determinations.
01/01/2013     AMP     Review legal origination charts and e-mail from            L120        0.30 hrs
                       Ms. Hamzehpour (Residential Capital) for
                       purposes of attorney affiliation memorandum.
01/01/2013     EPH     Post-coding quality check for Jones batch 1.               L110        0.40 hrs


01/01/2013     GNM     Performing second level review on Renzi 20 batch           L320        6.50 hrs
                       as outlined in the Quality Control Protocol.

01/01/2013     GNM     Performing quality control on production set               L320        3.10 hrs
                       01/02/13.

01/01/2013     MJB     Perform quality control on a batch of documents            L320        6.80 hrs
                       previously reviewed by contract attorneys.

01/01/2013     HLB     Perform quality control examiner review of Renzi           L120        3.60 hrs
                       batch .005 per quality control examiner protocol.

01/02/2013     AMP     Red-line edits to attorney affiliation memorandum.         L210        0.30 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00064                 Monthly Invoices Pg 170 of 701
                                                        Invoice # 53215          Page 2
01/02/2013   AMP    Review and respond to e-mails with Ms. Battle,        L120     0.40 hrs
                    Ms. Marty, and Mr. Phillips regarding Mr. Aretakis
                    not being part of the legal department.
01/02/2013   AMP    Review documents regarding Mr. Aretakis' role.        L320     0.60 hrs


01/02/2013   AMP    Review prior privilege logs regarding Mr. Aretakis'   L320     0.30 hrs
                    role.

01/02/2013   AMP    Review e-mail from Mr. Glick (Kirkland & Ellis)       L120     0.10 hrs
                    regarding status of getting documents to them for
                    review and additional logging.
01/02/2013   AMP    Respond to e-mail from Mr. Glick (Kirkland &          L120     0.20 hrs
                    Ellis) regarding status of getting documents to
                    them for review and additional logging.
01/02/2013   AMP    Follow up with Ms. Marty regarding status of          L120     0.20 hrs
                    document transfer to Kirkland & Ellis.

01/02/2013   AMP    Attention to privilege review of Cerberus             L320     1.80 hrs
                    documents specifically identified by privilege
                    review team for additional review.
01/02/2013   AMP    Attention to privilege and professional eyes only     L320     1.90 hrs
                    review of Lazard Phase 2 documents.

01/02/2013   AMP    Review multiple e-mails with Ms. Battle, client       L120     0.70 hrs
                    and Morrison & Foerster team regarding attorney
                    affiliation memorandum.
01/02/2013   JAL    Review interview summary memos for ResCap             L120     2.00 hrs
                    employees to assist in preparation of upcoming
                    witnesses (1.80). Review and respond to e-mails
                    regarding examiner interview schedule and
                    preparation coverage.
01/02/2013   JES    Research additional documents potentially useful      L120     7.00 hrs
                    for Pensabene deposition preparation. (6.90)
                    Conference with Mr. Beck regarding same. (.10)
01/02/2013   RBS    Download Examiner interview memos into U-drive        L310     0.30 hrs
                    from Sharepoint for Mr. Beck.

01/02/2013   JALB   Prepare for document collection meeting.              L120     0.30 hrs


01/02/2013   JALB   Discussion with Mr. Corcoran regarding document       L120     0.20 hrs
                    collection meeting.

01/02/2013   JALB   Review status of global document collection and       L320     0.40 hrs
                    production efforts.
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01/02/2013   JALB   Revise draft "attorney affirmations" chart.              L120     1.80 hrs


01/02/2013   JALB   Correspondence with counsel for Ally (Mr.                L120     0.20 hrs
                    Powell) regarding "attorney affiliation" chart.

01/02/2013   JALB   Telephone conference with Residential Capital            L120     0.70 hrs
                    clients (Ms. Hamzehpour, Mr. Thompson, Ms.
                    Delehey and others) regarding "attorney
                    affiliation" chart prepared at Examiner request.
01/02/2013   JALB   Telephone conference with Ms. Hamzehpour                 L120     0.40 hrs
                    (Residential Capital) regarding collection of paper
                    documents for Examiner review.
01/02/2013   DJB    Perform second level quality check of documents          L120     6.40 hrs
                    received from Cerberus (batch 20121205) coded
                    by first level contract reviewers as not privileged to
                    assist Morrison Foerster with productions to the
                    Examiner.
01/02/2013   DJB    Perform second level quality check of documents          L120     4.00 hrs
                    received from Cerberus (batch 20121212) coded
                    by first level contract reviewers as not privileged to
                    assist Morrison Foerster with productions to the
                    Examiner.
01/02/2013   MMM    Review of documents relating to sale of GMAC             L120     4.20 hrs
                    Bank. (2.70) Draft corresponding section of
                    outline for Neary interview preparation. (1.50)
01/02/2013   MMM    Review of documents relating to sale of ResMor           L120     4.70 hrs
                    and draft corresponding section of outline for
                    Neary Examiner interview preparation. (4.10)
                    Conference with Mr. Beck regarding Neary
                    outline. (.40) Conference with Ms. Battle
                    regarding same. (.20)
01/02/2013   DAB    Conference with Ms. Mohler regarding issues for          L120     0.40 hrs
                    Neary preparation.

01/02/2013   DAB    Conference with Ms. Mohler and Ms. Battle                L120     0.20 hrs
                    regarding issues for Neary preparation.

01/02/2013   DAB    Conference with Mr. Sechler regarding issues for         L120     0.10 hrs
                    interview of Mr. Pensabene.

01/02/2013   DAB    Analyze new materials provided by Morrison &             L120     0.30 hrs
                    Forester.

01/02/2013   DAB    E-mail Mr. Day (Morrison & Foerster) regarding           L120     0.10 hrs
                    coordination on future examiner interview
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                    preparations.
01/02/2013   DAB    Conference with Ms. Battle regarding preparations   L120     0.40 hrs
                    for upcoming examiner interviews.

01/02/2013   JRC    Review Mr. Ruckdaschel's files in Discovery         L140     0.60 hrs
                    Partner in order to produce his files to the
                    examiner.
01/02/2013   JRC    E-mail exchange with Ms. Zellman (Residential       L190     0.10 hrs
                    Capital) regarding delivery of Mr. Ruckdaschel's
                    scanned files to EED.
01/02/2013   SP     Review documents marked as privileged and           L320     1.30 hrs
                    provide descriptions for Cerberus privilege log.

01/02/2013   SP     Research background of Mr. Aretakis and discuss     L320     0.60 hrs
                    related privilege issues with Ms. Paul Whitfield.

01/02/2013   GNM    Performing quality control review on production     L320     2.50 hrs
                    set 01/02/13.

01/02/2013   GNM    Researching in Discovery Partner database to        L320     0.60 hrs
                    clarify scope of employment of James Aretakis.

01/02/2013   GNM    Working in Discovery Partner database answering     L320     0.60 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/02/2013   GNM    Drafting and sending e-mail communications to       L120     0.40 hrs
                    Ms. Gulley (DTI) submitting production set
                    01/02/13.
01/02/2013   GNM    Drafting and sending e-mail communication to Ms.    L120     0.70 hrs
                    Battle regarding production metrics.

01/02/2013   AJM    Draft e-mail to Ms. Gulley (DTI) to ask for         L120     0.20 hrs
                    information concerning technical issues with
                    examiner privilege logs raised by Mr. Schwinger.
01/02/2013   SCM    Quality control review of Renzi 007 document set.   L320     3.70 hrs


01/02/2013   MJB    Perform quality control on Stenger batch 3          L320     5.10 hrs
                    previously reviewed by contract attorneys.

01/02/2013   HLB    Perform quality control examiner review of Renzi    L120     3.90 hrs
                    batch 005 per quality control examiner protocol.

01/03/2013   AMP    Attention to privilege review of Cerberus           L320     1.10 hrs
                    documents for common interest with Rescap from
                    November production.
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01/03/2013   AMP    Attention to production of documents deemed not     L320     0.40 hrs
                    privileged and getting potential Ally privilege
                    documents to Kirkland & Ellis from December 5th
                    production.
01/03/2013   AMP    E-mails with Ms. Marty regarding production of      L320     0.30 hrs
                    documents deemed not privileged and getting
                    potential Ally privilege documents to Kirkland &
                    Ellis from December 5th production.
01/03/2013   AMP    Attention to revising and reviewing privilege log   L320     2.10 hrs
                    for ResCap's 110/111 productions.

01/03/2013   AMP    Review specific documents identified by Mr.         L320     1.70 hrs
                    Molnar as not privileged and/or needing
                    heightened privilege review.
01/03/2013   JAL    Conference with Mr. Beck regarding interview        L120     1.10 hrs
                    schedule and preparation for interviews (.30).
                    Participate on part of conference call with Mr.
                    Ilovsky and Mr. Day (Morrison & Foerster) and
                    Mr. Beck to discuss same (.40). Review e-mails
                    regarding same (.20). Review and respond to
                    e-mails regarding same (.10). Review and respond
                    to e-mails regarding Mr. Pensabene's preparation
                    (.10).
01/03/2013   JES    Complete document review and draft Pensabene        L120     7.00 hrs
                    preparation outline. (6.80) Conference with Mr.
                    Beck regarding preparations for upcoming
                    examiner interview. (1.20)
01/03/2013   TKI    Review e-mail documents for quality control         L120     3.10 hrs
                    purposes for Spindel 003 batch.

01/03/2013   JALB   Meet with Ms. Hamzehpour (Residential Capital)      L120     1.50 hrs
                    regarding scope of paper files responsive to
                    Examiner document requests.
01/03/2013   JALB   Review paper files responsive to Examiner           L120     2.80 hrs
                    document requests.

01/03/2013   JALB   Meet with Mr. Abreu (Residential Capital)           L120     0.20 hrs
                    regarding scope of paper files responsive to
                    Examiner document requests.
01/03/2013   JALB   Correspondence with Mr. Salerno and Mr. Brown       L120     0.30 hrs
                    (both Morrison & Foerster) regarding scope of
                    collection of Ms. Hamzehpour's paper files.
01/03/2013   MMM    Review documents in which Mr. Neary was             L120     3.70 hrs
                    involved in correspondence.

01/03/2013   MMM    Review documents relating to the Model Home         L120     4.60 hrs
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                    Sale. (2.40) Draft corresponding section of Neary
                    preparation outline. (2.00) Conference with Mr.
                    Beck regarding preparations for upcoming
                    examiner interview. (.20)
01/03/2013   DAB    Communicate with Mr. Ziegler (Morrison &             L120     0.10 hrs
                    Forester) regarding preparation materials for
                    deposition of Mr. Cancelliere in RMBS and
                    preparations for examiner interview of Mr.
                    Cancelliere.
01/03/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.20 hrs
                    for January interviews by examiner.

01/03/2013   DAB    Conference with Ms. Mohler regarding                 L120     0.20 hrs
                    preparations for upcoming examiner interviews.

01/03/2013   DAB    Conference with Mr. Sechler regarding                L120     0.20 hrs
                    preparations for upcoming examiner interviews.

01/03/2013   DAB    Call with Mr. Ilovsky, Mr. Day (Morrison &           L120     0.50 hrs
                    Foerster) and Mr. Lipps (parts) regarding
                    coordination of preparations for upcoming
                    examiner interviews.
01/03/2013   DAB    Review and analyze Morrison & Foerster notes         L330     1.40 hrs
                    from previous examiner interviews.

01/03/2013   DAB    Review documents for examiner preparation of Mr.     L330     3.10 hrs
                    Pensabene.

01/03/2013   DAB    Revise Pensabene preparation outline.                L330     1.80 hrs


01/03/2013   JRC    Review deposition testimony of Ms. Hamzehpour        L140     2.40 hrs
                    in order to prepare to review her hard copy files.

01/03/2013   JRC    Review hard copy files of Ms. Hamzehpour in          L140     5.50 hrs
                    order to respond to requests for production from
                    the bankruptcy examiner.
01/03/2013   JRC    Conferences with Ms. Battle regarding review of      L190     0.40 hrs
                    hard copy files of Ms. Hamzehpour.

01/03/2013   SP     Review documents marked as privileged and            L320     3.40 hrs
                    provide descriptions for Cerberus privilege log.

01/03/2013   GNM    Exchanging e-mail communications with Ms.            L120     0.50 hrs
                    Battle regarding production metrics.
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01/03/2013   GNM    Working in Discovery Partner database answering       L320     2.40 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/03/2013   GNM    Telephone communications with Ms. Gulley and          L120     0.70 hrs
                    Mr. Shipler (DTI) regarding load files for Cerberus
                    data.
01/03/2013   GNM    E-mail communications with Ms. Whitfield              L120     0.30 hrs
                    regarding Cerberus data.

01/03/2013   GNM    E-mail communications with Mr. Glick (Kirkland        L120     0.10 hrs
                    & Ellis) regarding Cerberus data.

01/03/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.40 hrs
                    (Schulte Roth) regarding Cerberus data.

01/03/2013   GNM    Telephone communications with Ms. Gulley (DTI)        L120     0.20 hrs
                    regarding new data load.

01/03/2013   GNM    E-mail communications with Mr. Langenkamp             L120     0.10 hrs
                    (Kirkland & Ellis) regarding Cerberus data.

01/03/2013   GNM    Telephone communications with Ms. Gulley (DTI)        L120     0.60 hrs
                    regarding corrupt date/time metadata.

01/03/2013   SCM    Quality control review of Renzi 007 document set.     L320     2.30 hrs


01/03/2013   MJB    Perform quality control on a Stenger batch 3          L320     3.80 hrs
                    previously reviewed by contract attorneys.

01/04/2013   AMP    Attention to further edits to attorney affiliation    L320     0.30 hrs
                    chart.

01/04/2013   AMP    Conference call with Mr. Brown (Morrison &            L320     0.30 hrs
                    Foerster) regarding Lazard document issues.

01/04/2013   AMP    Review e-mail from Mr. Child (Chadbourne)             L320     0.10 hrs
                    regarding encrypted Lazard documents.

01/04/2013   AMP    Multiple e-mails with Morrison & Foerster review      L320     0.40 hrs
                    team and Ms. Battle regarding further edits to
                    attorney affiliation chart.
01/04/2013   AMP    Attention to responding to privilege questions from   L320     0.40 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    Lazard documents.
01/04/2013   JAL    Review Carpenter Lipps & Leland and Morrison          L120     2.00 hrs
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                    Foerster preparation outlines for Mr. Pensabene's
                    interview (.50). Conference with Mr. Beck
                    regarding revisions to same (.10). Review Mr.
                    Pensabene's documents (.50). Review and respond
                    to e-mails regarding examiner interview schedule
                    (.20). Review Ally's submission to examiner
                    regarding third-party claims (.50). Conferences
                    with Ms. Battle regarding same (.20).
01/04/2013   JES    Finalize Pensabene interview preparation outline.      L120     3.00 hrs
                    (2.90) Communicate with Mr. Beck regarding
                    same. (.10)
01/04/2013   JES    Review prior interview summaries and additional        L120     3.00 hrs
                    documents for use in drafting Abreu and Giertz
                    outlines and updating Flees outline.
01/04/2013   JES    Begin review of potential documents for Abreu          L120     2.00 hrs
                    interview preparation outline and notebook.

01/04/2013   RBS    Upload Mr. Pensabene Interview Preparation Kit to      L310     0.30 hrs
                    Sharepoint for Mr. Beck.

01/04/2013   JALB   Correspondence with Mr. Schwinger (Chadbourne          L120     0.20 hrs
                    & Parke) regarding completion of attorney
                    responsibilities memorandum.
01/04/2013   JALB   Telephone conference with Mr. Salerno (Morrison        L120     0.50 hrs
                    & Foerster) regarding completion of attorney
                    responsibilities memorandum.
01/04/2013   JALB   Correspondence with counsel for Ally (Mr. Glick)       L120     0.20 hrs
                    regarding completion of attorney responsibilities
                    memorandum.
01/04/2013   JALB   Discussion with Ms. Marty regarding status of          L120     0.40 hrs
                    quality control of documents to be produced to
                    Examiner.
01/04/2013   JALB   Various discussions with in-house counsel              L120     0.90 hrs
                    regarding fact-checking of attorney responsibilities
                    chart. (.70) Discuss with Mr. Lipps Ally's
                    submission to examiner on third party claims. (.20)
01/04/2013   DJB    Format privilege law, indicating specific reasons      L120     4.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner and Mr. Serrano.
01/04/2013   DJB    Perform second level quality check of documents        L120     3.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
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                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/04/2013   MMM    Review documents and continue drafting Neary         L120     3.50 hrs
                    preparation outline.

01/04/2013   MMM    Telephone conference with Mr. Day (Morrison &        L120     0.30 hrs
                    Foerster) and Mr. Beck regarding Neary interview
                    preparation.
01/04/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.10 hrs
                    for upcoming examiner interviews.

01/04/2013   DAB    Revise examiner interview preparation outline for    L330     2.60 hrs
                    Mr. Pensabene.

01/04/2013   DAB    Communicate with Mr. Sechler regarding               L120     0.10 hrs
                    additional information needed to finalize examiner
                    interview preparation outline for Mr. Pensabene.
01/04/2013   DAB    Call with Mr. Day and Mr. Serrano (Morrison &        L120     0.30 hrs
                    Foerster) and Ms. Mohler regarding coordinating
                    research on items for interview of Mr. Neary.
01/04/2013   DAB    Comment on draft Neary outline.                      L330     0.70 hrs


01/04/2013   SP     Review documents marked as privileged and            L320     4.60 hrs
                    provide descriptions for Cerberus privilege log.

01/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.60 hrs
                    regarding creation of Reserve subproject to review
                    data from April 2012.
01/04/2013   GNM    Communicate with Mr. Corcoran regarding review       L120     0.20 hrs
                    of Hamzehpour paper documents.

01/04/2013   GNM    Communicate with Mr. Corcoran regarding review       L120     0.10 hrs
                    of Ruckdaschel paper documents.

01/04/2013   GNM    Updating weekly production status report for Ms.     L320     1.30 hrs
                    Battle.

01/04/2013   GNM    Drafting and sending e-mail communication to Ms.     L120     0.60 hrs
                    Shank (Residential Capital) regarding additional
                    Board Material requests.
01/04/2013   GNM    Meeting with Ms. Battle regarding production         L120     0.30 hrs
                    metrics.
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01/04/2013   GNM    Configuring new data for review.                     L320     2.70 hrs


01/04/2013   GNM    Working in Reserves database reviewing emails        L320     1.60 hrs
                    from April 2012 time period for specific reference
                    to reserve levels.
01/04/2013   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.50 hrs
                    regarding corrupt date/time metadata.

01/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.20 hrs
                    regarding Reserves database annotation pane
                    configuration.
01/04/2013   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    review team regarding new data.

01/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.10 hrs
                    regarding export of native document.

01/04/2013   GNM    E-mail communications with Mr. Sechler               L120     0.30 hrs
                    regarding export of native document.

01/04/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.10 hrs
                    & Foerster) regarding MBIA v. RFC data.

01/04/2013   GNM    Telephone communications with Ms. Klun (Lumen        L120     0.40 hrs
                    Legal) regarding staffing levels.

01/04/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Ms. Klun (Lumen Legal) regarding staffing levels.

01/04/2013   SCM    Quality control review of Renzi 007 document set.    L320     1.20 hrs


01/04/2013   MJB    Perform quality control on Dondzilla batch 11        L320     5.90 hrs
                    previously reviewed by contract attorneys.

01/05/2013   GNM    Exchanging e-mail communications with Mr. Beck       L120     0.30 hrs
                    regarding reserves data.

01/05/2013   ABW    Document review regarding quality control,           L140     3.60 hrs
                    Paradis2 007.

01/06/2013   JAL    Review Mr. Pensabene's documents to prepare for      L120     1.50 hrs
                    interview.

01/06/2013   MNB    Prepare talking points for Ms. Levitt (Morrison &    L120     3.70 hrs
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                    Foerster) regarding investor and monoline insurer
                    third-party claims.
01/06/2013   JES    Review memoranda regarding prior Examiner           L120     4.00 hrs
                    interviews of current and former ResCap
                    personnel.
01/06/2013   TKI    Review e-mail documents for quality control         L120     2.30 hrs
                    purposes for Spindel 003 batch.

01/06/2013   MMM    Review documents and begin draft of outline for     L120     1.50 hrs
                    Marple interview preparation.

01/06/2013   GNM    E-mail communications with Ms. Sheyngarts           L120     0.10 hrs
                    (Contract Reviewer) regarding privilege coding.

01/06/2013   AEG    Document review regarding quality control           L140     2.20 hrs
                    (second level) on Olson batch 14 making sure
                    privileged and coding are properly done.
01/06/2013   ABW    Document review regarding quality control,          L140     0.80 hrs
                    Paradis2 007.

01/07/2013   AMP    Attention to Examiner's request to interview Mr.    L120     0.20 hrs
                    Pohl (Lazard).

01/07/2013   AMP    Review notes of documents involving Mr. Pohl.       L320     0.30 hrs


01/07/2013   AMP    E-mail exchange with Mr. Phillips regarding         L320     0.20 hrs
                    documents involving Mr. Pohl.

01/07/2013   JAL    Review Mr. Pensabene's documents to prepare for     L120     4.30 hrs
                    meeting with Mr. Pensabene (2.5). Review and
                    revise outline to prepare Mr. Pensabene for
                    interview (1.0). Review debtors' response to
                    submission by SUNS/JSNS (.50). E-mail Mr.
                    Beck regarding same (.20). Review analysis of
                    swap issues (.10).
01/07/2013   VLS    Update document review quality control charts.      L320     2.20 hrs
                    (1.70) Meet with Ms. Marty regarding new
                    document loads. (.50)
01/07/2013   VLS    Monitor review status of document review team.      L320     0.80 hrs


01/07/2013   VLS    Assignment of document review batches to            L320     0.40 hrs
                    document review team members.
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01/07/2013   VLS    Update document review status chart.                      L320     2.40 hrs


01/07/2013   VLS    Monitor review status of document review quality          L320     1.40 hrs
                    control team.

01/07/2013   VLS    Assignment of document review quality control             L320     1.10 hrs
                    batches to quality control team members.

01/07/2013   VLS    Update document review status chart with new              L320     0.80 hrs
                    custodians.

01/07/2013   VLS    E-mail exchange with Discovery Partner support            L320     0.30 hrs
                    regarding document reviews on Ms. Mohler's
                    account.
01/07/2013   JES    Revise Flees Examiner interview preparation               L120     2.00 hrs
                    outline.

01/07/2013   JES    Review Board minutes and related documents in             L120     6.00 hrs
                    preparation for preparing Abreu Examiner
                    interview preparation outline.
01/07/2013   RBS    Download Mr. Pensabene documents from                     L310     0.70 hrs
                    Sharepoint requested by Mr. Beck.

01/07/2013   EPH    Post-coding quality check for Jones batch 1.       A104   L110     0.20 hrs


01/07/2013   TKI    Review e-mail documents for quality control               L120     1.40 hrs
                    purposes for Applegate 10 batch.

01/07/2013   JALB   Meet with new quality control reviewer.                   L120     0.50 hrs


01/07/2013   JALB   Attention to quality control staffing issues.             L120     0.40 hrs


01/07/2013   JALB   Discussion with Ms. Marty regarding new quality           L120     0.50 hrs
                    control reviewer. (.30) E-mails with Ms. Marty
                    regarding production schedule. (.20)
01/07/2013   DJB    Finish second level quality check of documents            L120     4.30 hrs
                    received from Cerberus (batch 20121205) and
                    coded by first level contract reviewers as not
                    privileged to assist Morrison Foerster with
                    productions to the Examiner.
01/07/2013   MMM    Review documents and draft outline for Mr.                L120     6.40 hrs
                    Marple's Examiner interview.
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01/07/2013   DAB    Conference with Ms. Mohler regarding issues for     L120     0.20 hrs
                    interview of Mr. Marple.

01/07/2013   JRC    Conference with Ms. Paul Whitfield regarding        L120     0.10 hrs
                    privilege log for examiner.

01/07/2013   JRC    Review, analyze, and code hard-copy documents       L320     0.30 hrs
                    of Mr. Ruckdaschel in response to requests from
                    the bankruptcy examiner.
01/07/2013   SP     Review documents marked as privileged and           L320     0.90 hrs
                    provide descriptions for Cerberus privilege log.

01/07/2013   SP     Confer with Ms. Paul Whitfield regarding items      L120     0.40 hrs
                    relating to Mr. Pohl.

01/07/2013   GNM    Conduct new reviewer training.                      L320     2.70 hrs


01/07/2013   GNM    Meeting with Ms. Battle regarding production        L120     0.30 hrs
                    metrics.

01/07/2013   GNM    Drafting and sending e-mail communications to       L120     0.60 hrs
                    Ms. Battle regarding timing for remaining
                    productions in response to Mr. Schwinger's
                    (Chadborne) e-mail of 1/7/13.
01/07/2013   GNM    Meeting with Ms. Sholl regarding new data load.     L120     0.50 hrs


01/07/2013   GNM    Exchanging e-mail communications with Ms. Klun      L120     0.50 hrs
                    (Lumen Legal) regarding staffing levels and
                    training schedule.
01/07/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.30 hrs
                    regarding new user training.

01/07/2013   GNM    Drafting and sending e-mail communications to       L120     0.20 hrs
                    Mr. Hoelzel (Contract Reviewer) regarding quality
                    control protocols.
01/07/2013   GNM    Performing quality control checks on the            L320     0.40 hrs
                    EXAM134/135 productions.

01/07/2013   GNM    Drafting and sending e-mail communications to       L120     0.30 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    release of productions EXAM134/135.
01/07/2013   GNM    E-mail communication with Ms. Cericola (Contact     L120     0.10 hrs
                    Reviewer) regarding new data.
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01/07/2013   GNM    Working in Cerberus database configuring data for      L320     0.80 hrs
                    production.

01/07/2013   GNM    Working in Discovery Partner database answering        L320     0.70 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/07/2013   GNM    Telephone communications with Morrison Foerster        L120     0.60 hrs
                    team regarding re-review of documents previously
                    withheld for regulatory privilege.
01/07/2013   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    quality control team members regarding quality
                    control protocols.
01/07/2013   SCM    Quality control review of Renzi 007 document set.      L320     1.50 hrs


01/07/2013   MJB    Perform quality control on Dondzilla batch 11 of       L320     5.90 hrs
                    documents previously reviewed by contract
                    attorneys.
01/07/2013   HLB    Perform quality control examiner review of batch       L120     5.20 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/07/2013   AEG    Document review regarding quality control              L140     4.30 hrs
                    (second level) making sure privileged and coding
                    are properly done.
01/07/2013   LWS    Participate in training regarding document review      L110     2.00 hrs
                    protocol.

01/08/2013   AMP    Review e-mail from Mr. Phillips regarding Mr.          L320     0.20 hrs
                    Pohl's (Lazard) documents for Examiner interview.

01/08/2013   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)        L320     0.40 hrs
                    regarding Mr. Pohl's.

01/08/2013   AMP    E-mails with Ms. Battle regarding Mr. Cave's           L120     0.20 hrs
                    inquiries and scheduling a call with them to discuss
                    privilege issues.
01/08/2013   AMP    Review e-mail from Lazard's counsel regarding 24       L320     0.30 hrs
                    encrypted documents and access of same.

01/08/2013   AMP    Review final attorney affiliation memorandum.          L320     0.20 hrs


01/08/2013   AMP    Review e-mails to Examiner's counsel regarding         L320     0.10 hrs
                    final attorney affiliation memorandum.
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01/08/2013   AMP    Attention to revising privilege log for 110/111     L320     0.90 hrs
                    production.

01/08/2013   AMP    Attention to reviewing specific documents in        L320     2.20 hrs
                    112/113 production to determine privilege issues.

01/08/2013   AMP    E-mails with Mr. Molnar regarding reviewing         L320     0.30 hrs
                    specific documents in 112/113 production to
                    determine privilege issues.
01/08/2013   AMP    Review and respond to e-mails with Mr. Brown        L320     0.20 hrs
                    regarding contact from former independent
                    directors' counsel regarding privilege issues.
01/08/2013   AMP    E-mails with Mr. Beck regarding independent         L120     0.20 hrs
                    director issues.

01/08/2013   AMP    Review GSE documents on privilege log and           L320     2.10 hrs
                    attention to clawback issues regarding GSE.

01/08/2013   AMP    Attention to privilege and professional eyes only   L320     0.30 hrs
                    review of Lazard documents.

01/08/2013   AMP    E-mails with Mr. Phillips and Mr. Brown             L320     0.20 hrs
                    (Morrison & Foerster) regarding privilege and
                    professional eyes only review of documents.
01/08/2013   JAL    Review and respond to e-mails regarding             L120     5.00 hrs
                    scheduling of interviews (.10). Review Mr.
                    Pensabene's documents to prepare for meeting with
                    Mr. Pensabene (.40). Conference with Ms. Levitt
                    (Morrison & Foerster) and Mr. Pensabene
                    (Residential Capital) to prepare for examiner
                    interview (3.8) Review recently located
                    documents regarding Ally Bank and strategy for it
                    (.20). Conference with Mr. Beck regarding same
                    (.10). Review examiner exhibits (.30). Review
                    e-mails regarding scheduling (.10).
01/08/2013   VLS    Monitor review status of document review team.      L320     0.90 hrs


01/08/2013   VLS    Assignment of document review batches to            L320     0.60 hrs
                    document review team members.

01/08/2013   VLS    Update document review status chart.                L320     1.10 hrs


01/08/2013   VLS    Monitor review status of document review quality    L320     0.70 hrs
                    control team.
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01/08/2013   VLS    Assignment of document review quality control        L320     0.40 hrs
                    batches to quality control team members.

01/08/2013   VLS    Update document review quality control charts.       L320     0.80 hrs


01/08/2013   VLS    Obtain document reviewers time cards and review      L320     1.60 hrs
                    for accuracy.

01/08/2013   VLS    Approve document reviewers time cards for            L320     0.40 hrs
                    payment.

01/08/2013   VLS    Update document review status chart with new         L320     1.30 hrs
                    custodians.

01/08/2013   JES    Research and locate additional potential documents   L120     8.00 hrs
                    for Abreu examiner preparation outline.

01/08/2013   JES    Review spreadsheet of Examiner interview exhibits    L120     1.50 hrs
                    and Illany and Mack interview summaries for use
                    in preparing and finalizing Flees, Abreu, and
                    Giertz preparation outlines. (1.40) Conference
                    with Mr. Beck regarding issues for interview of
                    Mr. Flees.
01/08/2013   TKI    Review e-mail documents for quality control          L120     1.70 hrs
                    purposes for Applegate 10 batch.

01/08/2013   JALB   Revise attorney affirmations chart and               L120     0.70 hrs
                    memorandum per input from Ally's counsel.

01/08/2013   JALB   Internal discussion regarding examiner interview     L120     0.40 hrs
                    process.

01/08/2013   JALB   Discuss examiner interview process with Mr.          L120     0.20 hrs
                    Lipps.

01/08/2013   JALB   Prepare memorandum to Morrison & Foerster            L120     0.40 hrs
                    regarding strategy for final e-mail productions to
                    Examiner.
01/08/2013   JALB   Prepare notes of examiner interview process.         L120     0.40 hrs


01/08/2013   JALB   Meet with Ms. Marty regarding strategy for final     L120     0.60 hrs
                    e-mail productions to Examiner. (.30) Analyze
                    strategy. (.30)
01/08/2013   JALB   Internal follow-up regarding strategy for final      L120     0.30 hrs
                    e-mail productions to Examiner.
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01/08/2013   DJB    Conduct second level quality check of documents    L120     3.80 hrs
                    received from Cerberus (batch 20121212) and
                    coded by first level contract reviewers as not
                    privileged to assist Morrison Foerster with
                    productions to the Examiner.
01/08/2013   MMM    Review documents for information that may be       L120     4.50 hrs
                    relevant to Mr. Marple's Examiner interview.

01/08/2013   MMM    Draft outline for Mr. Marple's preparation for     L120     4.10 hrs
                    Examiner interview.

01/08/2013   DAB    E-mail Ms. Marty regarding e-mails needing to be   L120     0.10 hrs
                    searched for.

01/08/2013   DAB    Conference with Mr. Day (Morrison & Foerster)      L120     0.10 hrs
                    regarding review of third party productions.

01/08/2013   DAB    Conference with Mr. Sechler regarding issues for   L120     0.10 hrs
                    examiner interview of Mr. Flees.

01/08/2013   DAB    Review and analyze summaries of past examiner      L120     2.00 hrs
                    interviews of Residential Capital personnel.

01/08/2013   DAB    Research regarding assertion of bank examination   L120     0.40 hrs
                    privilege in FHFA litigation.

01/08/2013   DAB    Conference with Ms. Mohler regarding e-mails of    L120     0.20 hrs
                    Mr. Marple.

01/08/2013   DAB    Conference with Mr. Philips regarding analysis     L120     0.10 hrs
                    needed on 2006 board minutes.

01/08/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding issues   L120     0.20 hrs
                    from presentations by Rescap employees to
                    Mesirow that are relevant for future examiner
                    interviews.
01/08/2013   DAB    Research regarding additional documents            L330     0.30 hrs
                    requested by Mr. Lipps for preparations for
                    examiner interview of Mr. Pensabene.
01/08/2013   SP     Review documents marked as privileged and          L320     5.10 hrs
                    provide descriptions for Cerberus privilege log.

01/08/2013   SP     Review board and audit committee materials from    L320     2.20 hrs
                    2005 and 2006 and update the minute books.
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01/08/2013   SP     Research documents relating to Mr. Pohl for Ms.     L120     0.70 hrs
                    Paul Whitfield.

01/08/2013   GNM    Drafting e-mail communications to be sent to Ms.    L120     0.20 hrs
                    Shank (Residential Capital) regarding board
                    material requests.
01/08/2013   GNM    Meeting with Ms. Battle regarding production        L120     0.30 hrs
                    metrics.

01/08/2013   GNM    New reviewer training.                              L320     2.80 hrs


01/08/2013   GNM    E-mail communications with Ms. Gulley (DTI)         L120     0.20 hrs
                    regarding non-email data load.

01/08/2013   GNM    Meeting with Ms. Diem (Contract Reviewer)           L120     0.30 hrs
                    regarding review of non-e-mail data.

01/08/2013   GNM    Working in Relativity database to gather            L320     0.60 hrs
                    documents at the request of Mr. Lipps.

01/08/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.10 hrs
                    regarding new user training.

01/08/2013   GNM    Working in Discovery Partner database answering     L320     2.30 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/08/2013   GNM    Working in Cerberus database configuring data for   L320     1.60 hrs
                    production.

01/08/2013   MJB    Perform quality control on Dondzilla batch 11       L320     6.70 hrs
                    previously reviewed by contract attorneys.

01/08/2013   HLB    Perform quality control examiner review of batch    L120     4.70 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/08/2013   LWS    Discovery partner software training.                L110     1.00 hrs


01/09/2013   AMP    Review e-mails from Morrison & Foerster and Ms.     L120     0.10 hrs
                    Battle regarding final attorney affiliations
                    memorandum.
01/09/2013   AMP    Attention to Cerberus privilege log issues.         L320     0.90 hrs


01/09/2013   AMP    E-mails with Mr. Barthel regarding Cerberus         L320     0.30 hrs
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                    privilege log issues.

01/09/2013   AMP    Attention to 24 Lazard documents that need             L320     0.40 hrs
                    privilege and professional eyes only review after
                    encryption issue resolved.
01/09/2013   AMP    Review e-mails from Mr. Phillips regarding 24          L320     0.20 hrs
                    Lazard documents that need privilege and
                    professional eyes only review after encryption
                    issue resolved.
01/09/2013   AMP    Telephone call to Mr. Wyland (Bryan Cave)              L120     0.20 hrs
                    regarding privilege issues involving former
                    independent directors.
01/09/2013   AMP    Conference with Ms. Battle regarding privilege         L120     0.20 hrs
                    issues involving former independent directors.

01/09/2013   AMP    Review specific documents identified by Mr.            L320     0.50 hrs
                    Wyland (Bryan Cave) for privilege.

01/09/2013   AMP    Draft e-mail regarding specific documents              L320     0.30 hrs
                    identified by Mr. Wyland (Bryan Cave) for
                    privilege.
01/09/2013   JAL    Meeting with Mr. Pensabene (Residential Capital)       L120     9.50 hrs
                    to prepare for examiner interview (1.0). Participate
                    at examiner interview (7.2). Review and respond
                    to e-mails regarding Mr. Pensabene's interview
                    (.20). Draft summary of same (1.0). Review and
                    respond to e-mails regarding examiner interviews
                    and preparation coverage (.10).
01/09/2013   VLS    Monitor review status of document review team.         L320     0.80 hrs


01/09/2013   VLS    Assignment of document review batches to               L320     0.70 hrs
                    document review team members.

01/09/2013   VLS    Update document review status chart.                   L320     1.20 hrs


01/09/2013   VLS    Monitor review status of document review quality       L320     0.60 hrs
                    control team.

01/09/2013   VLS    Assignment of document review quality control          L320     0.80 hrs
                    batches to quality control team members.

01/09/2013   VLS    Update document review quality control charts.         L320     1.30 hrs
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01/09/2013   VLS    E-mail exchange with document reviewer Ms.            L320     0.30 hrs
                    Salahaddin regarding error on time card entry.

01/09/2013   JES    Draft Abreu examiner preparation outline.             L120     7.00 hrs


01/09/2013   JALB   Finalize and circulate attorney responsibilities      L120     1.80 hrs
                    chart at request of Examiner's counsel.

01/09/2013   MMM    Review documents and draft outline for Mr.            L120     6.50 hrs
                    Marple's Examiner interview.

01/09/2013   MMM    Conference with Mr. Beck regarding Mr. Bier           L120     0.20 hrs
                    Examiner interview preparation.

01/09/2013   DAB    Research regarding Marano e-mails relevant to         L120     0.20 hrs
                    future examiner interviews.

01/09/2013   DAB    Review and analyze documents relevant to              L330     2.50 hrs
                    examiner interview of Mr. Flees.

01/09/2013   DAB    Revise interview preparation outline for Mr. Flees.   L330     4.90 hrs


01/09/2013   DAB    Conference with Ms. Mohler regarding issues for       L120     0.20 hrs
                    examiner interview of Mr. Bier.

01/09/2013   JRC    Review and analyze documents sent by Ms.              L320     0.60 hrs
                    Zellman (Residential Capital) in order to produce
                    documents in response to requests from the
                    bankruptcy examiner.
01/09/2013   JRC    Review, analyze, and code hard-copy documents         L320     3.70 hrs
                    of Mr. Ruckdaschel in Discovery Partner for
                    production to the examiner.
01/09/2013   JRC    Conference with Ms. Marty regarding coding of         L120     0.10 hrs
                    hard-copy documents from Mr. Ruckdaschel.

01/09/2013   SP     Update board and audit committee meeting charts       L320     1.80 hrs
                    to include meeting attendees from 2005 and 2006
                    for Mr. Beck.
01/09/2013   GNM    Conduct regulatory Privilege training.                L320     0.60 hrs


01/09/2013   GNM    Edit Regulatory Privilege memorandum.                 L320     0.80 hrs
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01/09/2013   GNM    Performing quality control on production set         L320     1.20 hrs
                    01/08/13.

01/09/2013   GNM    Performing quality control on production set         L320     1.10 hrs
                    01/09/13.

01/09/2013   GNM    Working in Cerberus database configuring data for    L320     2.10 hrs
                    production.

01/09/2013   GNM    Working in the Subservicing database locating        L320     0.30 hrs
                    documents for witness preparation.

01/09/2013   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.20 hrs
                    regarding custom privilege log reports.

01/09/2013   GNM    Working in Discovery Partner database answering      L320     2.30 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/09/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Gulley (DTI) submitting production set
                    01/08/13.
01/09/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Gulley (DTI) submitting production set
                    01/09/13.
01/09/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Ms. Gulley (DTI) submitting Cerberus documents
                    for production.
01/09/2013   GNM    E-mail communications with Mr. Day (Morrison &       L120     0.30 hrs
                    Foerster) regarding Regulatory Privilege training
                    session.
01/09/2013   GNM    Editing e-mail response to be sent to Mr.            L120     0.60 hrs
                    Schwinger (Chadbourne).

01/09/2013   GNM    Creating and sending e-mail communications to        L120     0.20 hrs
                    Mr. Salerno and Mr Day (Morrison & Foerster)
                    regarding items withheld for Regulatory Privilege.
01/09/2013   GNM    Drafting and sending e-mail to Mr. Baldock           L120     0.20 hrs
                    (Morrison & Foerster) regarding quality control
                    protocol.
01/09/2013   AJM    Review ResCap/Ally attorney charts submitted to      L120     0.40 hrs
                    the Examiner for use in drafting privilege logs.

01/09/2013   SCM    Quality control review of Renzi 007 document set.    L320     1.30 hrs


01/09/2013   MJB    Perform quality control on Donzilla batch 33         L320     5.40 hrs
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                    previously reviewed by contract attorneys.

01/09/2013   HLB    Perform quality control examiner review of batch    L120     4.90 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/09/2013   AEG    Post-Coding quality checks for ResCap               L140     4.30 hrs
                    bankruptcy.

01/09/2013   LWS    Perform quality control review of Gess batch 9.     L140     1.00 hrs


01/10/2013   AMP    Attention to Cerberus privilege review issues.      L320     0.50 hrs


01/10/2013   AMP    Attention to privilege logging for December 5th     L320     1.10 hrs
                    production.

01/10/2013   AMP    Attention to privilege logging for December 12th    L320     1.30 hrs
                    production.

01/10/2013   AMP    E-mails with Mr. Barthel and Mr. Phillips           L320     0.40 hrs
                    regarding privilege logging for December 12th
                    production.
01/10/2013   AMP    Attention to follow-up on Lazard privilege          L320     0.30 hrs
                    documents.

01/10/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)        L320     0.20 hrs
                    regarding Lazard privilege documents.

01/10/2013   AMP    Attention to clawback issues from documents         L320     0.30 hrs
                    identified by Ally involving Marple memorandum.

01/10/2013   AMP    E-mails with Ms. Battle regarding clawback issues   L320     0.20 hrs
                    from documents identified by Ally involving
                    Marple memorandum.
01/10/2013   AMP    Attention to confirming status of Mr. Aretakis as   L320     0.10 hrs
                    outside of legal department.

01/10/2013   AMP    Review e-mail from client regarding Mr. Aretakis.   L120     0.10 hrs


01/10/2013   AMP    Further review of privilege logs in light of        L320     0.40 hrs
                    distinction on Mr. Aretakis' role throughout the
                    years.
01/10/2013   AMP    Multiple e-mails with Ms. Battle, Ms. Marty and     L120     0.30 hrs
                    Mr. Molnar regarding Mr. Aretakis.
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01/10/2013   VLS    Monitor review status of document review team.      L320        0.80 hrs


01/10/2013   VLS    Assignment of document review batches to            L320        1.10 hrs
                    document review team members.

01/10/2013   VLS    Update document review status chart.                L320        0.80 hrs


01/10/2013   VLS    Monitor review status of document review quality    L320        0.60 hrs
                    control team.

01/10/2013   VLS    Assignment of document review quality control       L320        0.40 hrs
                    batches to quality control team members.

01/10/2013   VLS    Update document review quality control charts.      L320        0.90 hrs


01/10/2013   JES    Review documents for potential use in Giertz        L120        5.00 hrs
                    outline. (4.70) Conference with Mr. Beck and Ms.
                    Mohler regarding issues for upcoming examiner
                    interview. (.30)
01/10/2013   JES    Finalize Flees outline and notebook exhibits.       L120        2.00 hrs


01/10/2013   JES    Research additional consent-order-related           L120        3.00 hrs
                    documents for use in Abreu outline.

01/10/2013   RBS    Download all interviewee exhibits to U-Drive for    L310        1.30 hrs
                    Mr. Beck.

01/10/2013   TKI    Review e-mail documents for quality control         L120        0.60 hrs
                    purposes for Applegate 10 batch.

01/10/2013   JALB   Attention to privilege and clawback issues and      L120        0.40 hrs
                    discussion with Ms. Paul Whitfield and Ms. Marty
                    regarding same.
01/10/2013   MMM    Continue outline for Mr. Marple's preparation for   L120        0.40 hrs
                    interview with the Examiner.

01/10/2013   MMM    Begin review of documents in Discovery Partner      L120        1.00 hrs
                    for items that may be relevant to Mr. Bier's
                    Examiner interview. (.80) Conference with Mr.
                    Sechler and Mr. Beck regarding issues for
                    upcoming interview. (.20)
01/10/2013   DAB    Conference with Mr. Corcoran regarding              120         0.10 hrs
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                    additional materials needed for interview
                    preparations for Mr. Abreu.
01/10/2013   DAB    Conference with Mr. Lipps regarding issues for      L120     0.40 hrs
                    upcoming examiner interviews.

01/10/2013   DAB    E-mail Mr. Sechler regarding likely issues for      L120     0.20 hrs
                    interview of Mr. Abreu.

01/10/2013   DAB    Review and comment on draft Abreu examiner          L330     0.60 hrs
                    preparation outline.

01/10/2013   DAB    Analyze key documents for examiner interview of     L330     1.10 hrs
                    Mr. Abreu.

01/10/2013   DAB    Analyze key exhibits used by examiner in recent     L330     1.30 hrs
                    interviews.

01/10/2013   DAB    Conference with Mr. Sechler and Ms. Mohler          L120     0.30 hrs
                    regarding issues for upcoming examiner
                    interviews.
01/10/2013   GNM    Working in the Subservicing database locating       L320     0.20 hrs
                    documents for witness preparation.

01/10/2013   GNM    Working in the Discovery Partner database           L320     2.70 hrs
                    locating documents for witness preparation.

01/10/2013   GNM    Working in the Cerberus database created redacted   L320     1.30 hrs
                    images to be sent for production.

01/10/2013   GNM    Drafting and sending e-mail communications to       L120     0.20 hrs
                    Ms. Battle regarding timing for remaining
                    productions.
01/10/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.10 hrs
                    regarding native files.

01/10/2013   GNM    Exchanging e-mail communications with Mr.           L120     0.60 hrs
                    Molnar regarding scope of employment of James
                    Aretakis.
01/10/2013   GNM    Researching in Discovery Partner database to        L320     0.40 hrs
                    clarify employment scope of James Aretakis.

01/10/2013   AJM    Review ResCap/Ally attorney charts submitted to     L120     0.40 hrs
                    the Examiner for use in drafting privilege logs.

01/10/2013   AJM    Revise privilege log for sixth set of documents     L120     3.40 hrs
                    produced in response to Examiner document
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                    requests based on legal department organizational
                    charts.
01/10/2013   SCM    Quality control review of Renzi 007 document set.     L320     0.50 hrs


01/10/2013   MJB    Perform quality control on Donzilla batch 33          L320     8.20 hrs
                    previously reviewed by contract attorneys.

01/10/2013   HLB    Perform quality control examiner review of batch      L120     5.70 hrs
                    Dondzila.025 per quality control examiner
                    protocol.
01/10/2013   HLB    Complete quality control examiner feedback form       L120     0.40 hrs
                    for batch Dondzila.024 per quality control
                    examiner protocol.
01/11/2013   AMP    E-mails with Mr. Phillips and Mr. Molnar              L320     0.30 hrs
                    regarding redaction of board minutes in our
                    production.
01/11/2013   AMP    Attention to Marple memorandum issues.                L210     0.30 hrs


01/11/2013   AMP    E-mails with Mr. Molnar regarding additional          L120     0.30 hrs
                    copies.

01/11/2013   AMP    Attention to clawback documents identified in all     L320     0.40 hrs
                    privilege logs to date.

01/11/2013   AMP    E-mail to Ms. Tice (Morrison & Foerster) and Mr.      L320     0.30 hrs
                    Brown (Morrison & Foerster) regarding
                    clawbacks.
01/11/2013   AMP    E-mails with Ms. Battle and Ms. Levitt (Morrison      L320     0.40 hrs
                    & Foerster) regarding Marple memorandum topic
                    and additional privileged documents.
01/11/2013   AMP    E-mails with Mr. Phillips and Mr. Barthel             L320     0.20 hrs
                    regarding status of Cerberus privilege review.

01/11/2013   AMP    Attention to scheduling call with Kirkland & Ellis    L320     0.20 hrs
                    and Cerberus' counsel regarding status of privilege
                    review.
01/11/2013   AMP    Attention to Mr. Aretakis' privilege issues.          L320     0.40 hrs


01/11/2013   AMP    E-mails with Ms. Battle, Mr. Molnar, and Mr.          L120     0.20 hrs
                    Brown (Morrison & Foerster) regarding Mr.
                    Aretakis.
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01/11/2013   AMP    Attention to 112/113 privilege log revisions.       L320     0.90 hrs


01/11/2013   AMP    Review additional documents identified by Mr.       L320     0.20 hrs
                    Wyland (Bryan Cave) regarding potential
                    privilege.
01/11/2013   AMP    Prepare response to Mr. Wyland (Bryan Cave).        L320     0.20 hrs


01/11/2013   AMP    E-mails with Ms. Battle regarding response to Mr.   L120     0.10 hrs
                    Wyland (Bryan Cave).

01/11/2013   AMP    Conference with Ms. Marty regarding Cerberus        L320     0.30 hrs
                    privilege review.

01/11/2013   JAL    Review analysis of sub-service agreement and        L120     0.50 hrs
                    Department of Justice settlement issues (.30).
                    Conference with Mr. Beck regarding claw back
                    issues (.10). Review and respond to e-mails
                    regarding interview schedule and preparation
                    coverage (.10).
01/11/2013   VLS    Assignment of document review batches to            L320     1.00 hrs
                    document review team.

01/11/2013   VLS    Update document review status chart.                L320     0.70 hrs


01/11/2013   JES    Revise Abreu outline. (2.70) Review and add         L120     4.00 hrs
                    additional exhibits for notebook. (1.30)

01/11/2013   JES    Begin drafting Giertz outline.                      L120     2.00 hrs


01/11/2013   RBS    Upload Mr. Flees Interview Preparation Kit to       L310     0.30 hrs
                    Sharepoint for Mr. Sechler.

01/11/2013   TKI    Review e-mail documents for quality control         L120     4.70 hrs
                    purposes for Dondzilla 026 batch.

01/11/2013   JALB   Follow-up discussion with Mr. Brown (Morrison &     L120     0.30 hrs
                    Foerster) and Ms. Paul-Whitfield regarding
                    privilege issues.
01/11/2013   JALB   Correspondence with Morrison & Foerster and         L120     0.80 hrs
                    Carpenter Lipps & Leland Examiner document
                    review teams regarding timing, planning and
                    deliverables for document production effort.
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01/11/2013   MMM    Begin draft of outline for Mr. Bier's preparation for   L120     2.80 hrs
                    his Examiner interview.

01/11/2013   MMM    Review documents in Discovery Partner for               L120     5.00 hrs
                    documents the Examiner may be interested in for
                    Mr. Bier's interview.
01/11/2013   DAB    E-mail Mr. Philips and Mr. Barthel regarding            L120     0.20 hrs
                    research needed on documents of Mr. Pohl.

01/11/2013   DAB    E-mail Ms. Marty regarding research needed on           L120     0.20 hrs
                    documents of Mr. Pohl.

01/11/2013   DAB    Conference with Mr. Day (Morrison & Foerster)           L120     0.10 hrs
                    regarding clawback issues related to Mr. Marple.

01/11/2013   DAB    Conference with Mr. Lipps regarding clawback            L120     0.10 hrs
                    issues related to Mr. Marple.

01/11/2013   JRC    E-mail exchanges regarding interview preparation        L120     0.10 hrs
                    materials for interviews with bankruptcy examiner.

01/11/2013   JRC    Conference with Ms. Paul Whitfield regarding            L120     0.20 hrs
                    coding of Mr. Ruckdaschel's hard copy files.

01/11/2013   JRC    Review and code Mr. Ruckdaschel's hard copy             L320     0.60 hrs
                    files in response to requests from examiner.

01/11/2013   SP     Research issues relating to press releases and SEC      L320     1.40 hrs
                    filings for Mr. Sechler.

01/11/2013   SP     Review documents marked as privileged and               L320     1.30 hrs
                    provide descriptions for Cerberus privilege log.
                    (1.00) Communicate with Ms. Marty regarding
                    same. (.30)
01/11/2013   SP     E-mails with Ms. Paul-Whitfield regarding               L120     0.80 hrs
                    redaction of redactions. (.40) E-mails with Ms.
                    Paul-Whitfield regarding Cerberus review. (.30)
                    Communicate with Ms. Paul-Whitfield regarding
                    issues related to Mr. Pohl's attendance at board
                    meeting. (.10)
01/11/2013   GNM    Telephone communications with Ms. Gardiner              L120     0.60 hrs
                    (Schulte Roth) regarding Cerberus data.

01/11/2013   GNM    Telephone communications with Mr. Barthel               L120     0.20 hrs
                    regarding Cerberus data.

01/11/2013   GNM    Telephone communications with Mr. Phillips              L120     0.30 hrs
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                    regarding Cerberus data.

01/11/2013   GNM    Meeting with Ms. Whitfield regarding Cerberus          L120     0.40 hrs
                    data.

01/11/2013   GNM    Working in Cerberus database configuring data for      L320     2.10 hrs
                    production.

01/11/2013   GNM    Drafting and sending e-mail communications to          L120     0.20 hrs
                    Ms. Gulley (DTI) regarding Cerberus productions
                    to be sent to Kirkland & Ellis.
01/11/2013   GNM    Working in Discovery Partner database answering        L320     2.20 hrs
                    reviewer questions regarding privilege and
                    confidentiality coding.
01/11/2013   GNM    E-mail communications with Mr. Shipler (DTI)           L120     0.20 hrs
                    regarding new data load.

01/11/2013   GNM    Exchanging e-mail communications with Ms.              L120     0.30 hrs
                    Whitfield, Mr. Phillips, and Mr. Barthel regarding
                    Cerberus data.
01/11/2013   GNM    E-mail communications with Mr. Beck regarding          L120     0.10 hrs
                    Pohl documents needed for witness preparation.

01/11/2013   GNM    Drafting status memorandum regarding Cerberus          L120     0.60 hrs
                    data.

01/11/2013   AJM    Draft e-mail to Mr. Shipler of Discovery Partner       L120     0.20 hrs
                    regarding possible identification of "unspecified
                    sender" e-mails listed in privilege logs provided to
                    the Examiner.
01/11/2013   AJM    Search for 3/31/2008 e-mail from Tammy                 L120     0.30 hrs
                    Hamzehpour in Examiner database per request
                    from Ms. Paul-Whitfield.
01/11/2013   AJM    Revise privilege log for sixth set of documents        L120     5.00 hrs
                    produced in response to Examiner document
                    requests based on legal department organizational
                    charts.
01/11/2013   AJM    Review Examiner privilege logs for productions 1,      L120     0.50 hrs
                    4, & 5 to determine what items should be subject to
                    clawback.
01/11/2013   AJM    Search Examiner document Discovery Partner             L310     0.80 hrs
                    database to determine if other versions of
                    memorandum from Marple to Applegate, have
                    been wrongfully produced to Examiner.
01/11/2013   SCM    Quality control review of Renzi 007 documents.         L320     2.10 hrs
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01/11/2013   MJB    Perform quality control on Dondzilla batch 33          L320     4.80 hrs
                    previously reviewed by contract attorneys.

01/12/2013   AMP    E-mails with Ms. Marty regarding board minute          L320     0.40 hrs
                    productions to Examiner for purposes of
                    addressing Mr. Wyland's (Bryan Cave) privilege
                    questions.
01/12/2013   JAL    Review Mr. Neary's documents to prepare for            L120     1.50 hrs
                    interview.

01/12/2013   ABW    Document review regarding quality control,             L140     1.70 hrs
                    Paradis2 007.

01/12/2013   LWS    First level review of Gess batch 9 regarding           L140     5.00 hrs
                    ResCap bankruptcy.

01/13/2013   AMP    E-mails with Ms. Marty regarding production of         L320     0.20 hrs
                    certain minutes.

01/13/2013   AMP    Multiple e-mail exchanges regarding expediting         L320     0.60 hrs
                    production of those minutes to Examiner.

01/13/2013   AMP    Review e-mail from Mr. Ziegler (Morrison &             L320     0.20 hrs
                    Foerster) regarding production of certain minutes.

01/13/2013   AMP    Multiple e-mails with Ms. Marty and Mr. Brown          L120     1.00 hrs
                    (Morrison & Foerster) regarding copies of Marple
                    memorandum. (.70) E-mails with Mr. Philips
                    regarding privilege logs.
01/13/2013   JAL    Review Mr. Pohl's documents to prepare for call        L120     1.50 hrs
                    with Mr. Pohl's counsel regarding examiner
                    interview (1.0). Review e-mails regarding
                    preparation outline for call with Mr. Pohl's counsel
                    (.30). Review and respond to e-mails regarding
                    examiner interview summaries (.20).
01/13/2013   VLS    Assignment of document review batches to               L320     1.00 hrs
                    document review team.

01/13/2013   DJB    Finish second level quality check of documents         L120     5.80 hrs
                    received from Cerberus (batch 20121212) and
                    coded by first level contract reviewers as not
                    privileged to assist Morrison Foerster with
                    productions to the Examiner.
01/13/2013   MMM    Review documents and update outline for Mr.            L120     4.10 hrs
                    Bier's preparation for Examiner interview.
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01/13/2013   DAB    Review and comment on examiner interview              L330     1.90 hrs
                    outline for Mr. Marple.

01/13/2013   DAB    E-mail Ms. Battle regarding clawback issues           L120     0.20 hrs
                    related to Mr. Marple.

01/13/2013   SP     Review documents marked as privileged and             L320     1.90 hrs
                    provide descriptions for Cerberus privilege log.

01/13/2013   SP     Revise Cerberus privilege log.                        L320     1.80 hrs


01/13/2013   SP     Communicate with Ms. Paul Whitfield regarding         L120     0.20 hrs
                    privilege logs.

01/13/2013   GNM    Working in Discovery Partner database gathering       L320     4.50 hrs
                    Pohl documents for witness preparation.

01/13/2013   GNM    E-mail communication with Mr. Brown (Morrison         L120     0.20 hrs
                    & Foerster) regarding Board Material requests.

01/13/2013   GNM    Exchanging e-mail communications with Ms.             L120     0.60 hrs
                    Whitfield regarding document flagged for
                    clawback.
01/13/2013   AEG    Post-Coding quality checks for ResCap                 L140     2.00 hrs
                    bankruptcy/quality control feedback form filled out
                    and forward to first level attorney and Ms. Sholl
01/13/2013   ABW    E-mail Ms. Sholl regarding review assignment.         L190     0.10 hrs


01/13/2013   ABW    Document review regarding quality control,            L140     1.30 hrs
                    Paradis2 007.

01/13/2013   ABW    Prepare of quality control feedback form regarding    L140     0.20 hrs
                    Paradis2 007.

01/13/2013   LWS    First level review of Gess batch 9 regarding          L140     4.00 hrs
                    ResCap bankruptcy.

01/14/2013   AMP    E-mails with Mr. Phillips regarding privilege log     L320     0.20 hrs
                    for 11/20 Cerberus production.

01/14/2013   AMP    Review and respond to questions from Mr. Phillips     L320     0.60 hrs
                    regarding privilege issues in the 11/20 Cerberus
                    production.
01/14/2013   AMP    Attention to rescheduling call with Kirkland &        L320     0.30 hrs
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                    Ellis and Cerberus' counsel regarding status of
                    privilege review.
01/14/2013   AMP    Attention to issues regarding Marano and              L320     0.70 hrs
                    Lombardo in review of Cerberus' production and
                    impact on privilege determinations.
01/14/2013   AMP    E-mails with Mr. Phillips regarding review of         L320     0.30 hrs
                    Cerberus' production and impact on privilege
                    determinations.
01/14/2013   AMP    Attention to GSE issues impacting production of       L320     1.10 hrs
                    privilege log for production 110/111.

01/14/2013   AMP    Attention to GSE issues impacting production of       L320     0.90 hrs
                    privilege log for production 112/113.

01/14/2013   AMP    Attention to imaging issues to make redactions for    L320     0.70 hrs
                    documents tagged for supplemental production in
                    productions 110/111.
01/14/2013   AMP    Attention to imaging issues to make redactions for    L320     0.80 hrs
                    documents tagged for supplemental production in
                    productions 112/113.
01/14/2013   JAL    Review Mr. Pohl's documents to prepare for            L120     6.50 hrs
                    conference call with Mr. Pohl's counsel (.90).
                    Conference with Mr. Beck regarding same (.20).
                    Participate on conference call with Mr. Beck, Mr.
                    Ilovsky and Mr. Day (Morrison & Foerster) to
                    discuss interview issues (.50). Participate in call
                    with Mr. Pohl's counsel, Mr. Ilovsky, Mr. Day
                    (Morrison & Foerster) and Mr. Beck regarding
                    examiner interview of Mr. Pohl (.50). Review Mr.
                    Flees' documents to prepare for examiner interview
                    (2.0). Review Mr. Abreu's documents to prepare
                    for examiner interview (2.2). Review and respond
                    to e-mails regarding schedule for examiner
                    interview preparations (.20).
01/14/2013   VLS    Assignment of document review batches to              L320     2.80 hrs
                    document review team.

01/14/2013   VLS    Update document review status chart.                  L320     0.80 hrs


01/14/2013   VLS    Monitor review status of document review quality      L320     0.60 hrs
                    control team.

01/14/2013   VLS    Update document review quality control status         L320     1.80 hrs
                    charts.

01/14/2013   JES    Draft Giertz examiner preparation outline.            L120     8.00 hrs
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01/14/2013   RBS    Prepare set of Mr. Pohl documents for Mr. Lipps.      L310     0.80 hrs


01/14/2013   JALB   Telephone conference with Mr. Beck regarding          L120     0.20 hrs
                    preparation of witness preparation materials for
                    Marple and Cancelliere interviews.
01/14/2013   JALB   Telephone conference with Mr. Salerno (Morrison       L120     0.30 hrs
                    & Foerster) and Ms. Hamzehpour (Residential
                    Capital) regarding collection of documents at
                    Examiner request and confidentiality concerns.
01/14/2013   JALB   Follow-up telephone conference with Mr. Salerno       L120     0.20 hrs
                    (Morrison & Foerster) on document collection
                    issues.
01/14/2013   DJB    Perform second level quality check of documents       L120     3.30 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/14/2013   DJB    Format privilege law, indicating specific reasons     L120     5.20 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/14/2013   MMM    Continue to draft preparation outline and review of   L120     2.10 hrs
                    documents for Mr. Bier's Examiner interview.

01/14/2013   MMM    Continue to draft preparation outline and review of   L120     3.80 hrs
                    documents for Mr. Marple's Examiner interview.

01/14/2013   MMM    Attend conference call with Mr. Beck, Mr. Day,        L120     0.30 hrs
                    and Ms. Lowenburg (Morrison & Foerster) to
                    discuss Mr. Marple's interview.
01/14/2013   DAB    Conference with Ms. Mohler regarding                  L120     0.10 hrs
                    preparations for examiner interviews of Mr. Bier
                    and Mr. Marple.
01/14/2013   DAB    Conference with Ms. Marty regarding analysis of       L120     0.10 hrs
                    documents for Mr. Pohl.

01/14/2013   DAB    Draft analysis regarding key issues for examiner      L330     3.30 hrs
                    interview of Mr. Pohl.
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01/14/2013   DAB    Communicate with Mr. Lipps regarding issues for      L120     0.10 hrs
                    examiner interview of Mr. Pohl.

01/14/2013   DAB    Communicate with Mr. Salerno (Morrison &             L120     0.10 hrs
                    Foerster) regarding analysis of advisors on key
                    transactions.
01/14/2013   DAB    Communicate with Mr. Samson regarding                L120     0.10 hrs
                    materials for examiner interview of Mr. Pohl.

01/14/2013   DAB    E-mail Ms. Battle regarding examiner interview of    L120     0.10 hrs
                    Mr. Cancelliere.

01/14/2013   DAB    Multiple conferences with Ms. Mohler regarding       L120     0.20 hrs
                    key issues for Marple preparations.

01/14/2013   DAB    Call with Mr. Day, Ms. Lowenberg (Morrison &         L120     0.20 hrs
                    Foerster) and Ms. Mohler regarding preparations
                    for interview of Mr. Marple.
01/14/2013   DAB    E-mail Mr. Ilovsky and Mr. Day (Morrison &           L120     0.20 hrs
                    Foerster) regarding issues for examiner interview
                    of Mr. Pohl.
01/14/2013   DAB    Call with Mr. Ilovsky, Mr. Day (Morrison &           L120     0.50 hrs
                    Foerster) and Mr. Lipps regarding preparations for
                    examiner interview of Mr. Pohl.
01/14/2013   DAB    Conference call with counsel to Mr. Pohl, Mr.        L120     0.50 hrs
                    Ilovsky, Mr. Day (Morrison & Foerster) and Mr.
                    Lipps regarding preparations for examiner
                    interview of Mr. Pohl.
01/14/2013   DAB    Review and revise examiner preparation outline for   L330     3.10 hrs
                    Mr. Bier.

01/14/2013   SP     Review documents marked as privileged and            L320     4.60 hrs
                    provide descriptions for Cerberus privilege log.

01/14/2013   SP     Finalize part A of the Cerberus privilege log and    L320     1.60 hrs
                    share with Ms. Paul Whitfield.

01/14/2013   GNM    Working in Discovery Partner database gathering      L320     4.10 hrs
                    Pohl documents for witness preparation.

01/14/2013   GNM    Working in Discovery Partner database gathering      L320     1.30 hrs
                    relevant Board Materials for witness preparation.

01/14/2013   GNM    Drafting outline of relevant Board Materials for     L330     0.90 hrs
                    witness preparation.
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01/14/2013   GNM    Performing quality control checks on the              L320     0.60 hrs
                    EXAM205/206 productions.

01/14/2013   GNM    Working in Discovery Partner database                 L320     3.30 hrs
                    configuring data for production.

01/14/2013   GNM    Meeting with Ms Sholl regarding timing of             L120     0.60 hrs
                    remaining Phase 2 and Phase 3 productions.

01/14/2013   GNM    E-mail communications with new members of             L120     0.20 hrs
                    quality control team regarding training.

01/14/2013   GNM    E-mail communications with Mr. Day (Morrison &        L120     0.10 hrs
                    Foerster) regarding Regulatory Privilege training.

01/14/2013   GNM    Drafting and sending e-mail communications to         L120     0.50 hrs
                    review team members regarding Regulatory
                    Privilege review training.
01/14/2013   GNM    E-mail communications with Ms. Klun (Lumen            L120     0.10 hrs
                    Legal) regarding staffing levels

01/14/2013   GNM    Telephone communications with Ms. Klun (Lumen         L120     0.30 hrs
                    Legal) regarding staffing levels.

01/14/2013   AJM    Revise privilege log for sixth set of documents       L120     4.80 hrs
                    produced in response to Examiner document
                    requests based on legal department organizational
                    charts.
01/14/2013   AJM    Revise privilege log for set 110/111 produced in      L120     2.70 hrs
                    response to Examiner document requests, based on
                    legal department organizational charts.
01/14/2013   AJM    Draft privilege log for documents produced in         L310     0.10 hrs
                    response to Examiner document requests, set
                    114/115.
01/14/2013   HLB    Perform quality control examiner review of batch      L120     3.90 hrs
                    Legacy custodian.005 per quality control examiner
                    protocol.
01/14/2013   AEG    Post-Coding quality checks of Legal Custodians        L140     6.00 hrs
                    007 for ResCap bankruptcy/quality control
                    feedback form filled out and forward to first level
                    attorney and Ms. Sholl.
01/14/2013   ABW    E-mail from Ms. Sholl regarding assignment.           L190     0.10 hrs


01/15/2013   AMP    Telephone conference with Kirkland & Ellis and        L320     0.50 hrs
                    Cerberus' counsel regarding status of privilege
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                    logging, supplemental productions, etc.
01/15/2013   AMP    Attention to legal department structure prior to       L120     0.30 hrs
                    2008.

01/15/2013   AMP    E-mails with Ms. Battle regarding legal department     L120     0.20 hrs
                    structure prior to 2008.

01/15/2013   AMP    Prepare proposed response to Examiner's counsel        L120     0.40 hrs
                    regarding privilege basis for Marple memorandum
                    and common interest with Ally.
01/15/2013   AMP    E-mails with Mr. Phillips regarding Lombardo           L320     0.30 hrs
                    issues impacting privilege determinations in
                    Cerberus documents.
01/15/2013   AMP    Review e-mail from Mr. Brown (Morrison &               L320     0.20 hrs
                    Foerster) regarding documents from Orrick seeking
                    privilege determinations.
01/15/2013   AMP    E-mails with Mr. Molnar and Mr. Phillips               L320     0.10 hrs
                    regarding comparing the treatment in our
                    productions of the same documents for consistency
                    purposes.
01/15/2013   AMP    Attention to finalizing privilege log for production   L320     1.50 hrs
                    112/113.

01/15/2013   AMP    E-mail exchanges with Mr. Molnar regarding             L320     0.20 hrs
                    privilege log for production 114/115.

01/15/2013   AMP    Attention to preparing report from Discovery           L320     0.90 hrs
                    Partner to create log for production 116/117.

01/15/2013   AMP    Attention to GSE determinations for production         L320     0.60 hrs
                    110/111.

01/15/2013   AMP    E-mails with Ms. Marty and Mr. Molnar regarding        L320     0.30 hrs
                    GSE determinations for production 110/111.

01/15/2013   AMP    Review document from subservicing production           L320     0.70 hrs
                    identified in Examiner interview that had been
                    requested to be clawed back.
01/15/2013   AMP    E-mails with Mr. Molnar and Ms. Marty regarding        L320     0.40 hrs
                    privileged document.

01/15/2013   AMP    Multiple e-mail exchanges with Ms. Battle and          L120     0.80 hrs
                    Morrison & Foerster team regarding Marple
                    memorandum, Solomon, and common interest with
                    Ally.
01/15/2013   AMP    Review documents from Orrick.                          L320     0.90 hrs
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01/15/2013   AMP    Compare Orrick documents with the treatment in        L320     0.20 hrs
                    our productions of the same documents for
                    consistency purposes.
01/15/2013   AMP    Attention to reviewing e-mail from Ms. Childs         L320     0.20 hrs
                    (Chadbourne) regarding additional Lazard
                    documents which were encrypted.
01/15/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L320     0.20 hrs
                    regarding additional Lazard documents which were
                    encrypted.
01/15/2013   AMP    Multiple e-mails with Mr. Brown (Morrison &           L320     0.80 hrs
                    Foerster) regarding documents from Orrick seeking
                    privilege determinations.
01/15/2013   JAL    Review Mr. Abreu's documents to prepare for           L120     6.30 hrs
                    interview preparation session (2.1). Review and
                    redraft interview preparation outline (.50). Review
                    and redraft supplemental sub-servicing preparation
                    outline (.90). Review Mr. Flees' documents to
                    prepare for interview preparation session (1.3).
                    Review and redraft interview preparation outline
                    (1.0). Conference with Mr. Beck regarding same
                    (.30). Review and respond to e-mails regarding
                    Mr. Flees' interview (.20).
01/15/2013   VLS    Monitor review status of document review team.        L320     0.60 hrs


01/15/2013   VLS    Assignment of document review batches to              L320     1.10 hrs
                    document review team members.

01/15/2013   VLS    Update document review status chart.                  L320     0.80 hrs


01/15/2013   VLS    Monitor review status of document review quality      L320     0.40 hrs
                    control team.

01/15/2013   VLS    Assignment of document review quality control         L320     0.60 hrs
                    batches to quality control team members.

01/15/2013   VLS    Update document review quality control charts.        L320     0.80 hrs


01/15/2013   VLS    Obtain document reviewers time cards and review       L320     2.40 hrs
                    for accuracy.

01/15/2013   VLS    Approve document reviewers time cards for             L320     0.60 hrs
                    payment.
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01/15/2013   VLS    E-mail exchange with document reviewer Mr.           L320     0.30 hrs
                    Albuseiri regarding time card entry.

01/15/2013   VLS    E-mail exchange with document reviewer Ms.           L320     0.30 hrs
                    Williams regarding time card entry.

01/15/2013   VLS    Conference with Ms. Marty regarding status of        L320     0.40 hrs
                    Phase 2 document review.

01/15/2013   JES    Attend telephone strategy conference with            L120     1.00 hrs
                    Morrison & Foerster regarding upcoming
                    Examiner interviews. (.50) Conference with Mr.
                    Beck and Ms. Mohler regarding strategy for
                    upcoming interviews. (.20) Conference with Mr.
                    Beck regarding Flees interview. (.20)
01/15/2013   JES    Review additional Abreu documents uploaded by        L120     2.00 hrs
                    Morrison & Foerster.

01/15/2013   JES    Review additional potential Giertz preparation       L120     1.00 hrs
                    exhibits.

01/15/2013   RBS    Prepare notebooks of Mr. Flees' SEC filings for      L310     0.50 hrs
                    Mr. Lipps.

01/15/2013   RBS    Prepare Interview Exhibit spreadsheets requested     L310     0.30 hrs
                    by Mr. Beck.

01/15/2013   DJB    Perform second level quality check of documents      L120     4.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/15/2013   DJB    Format privilege law, indicating specific reasons    L120     5.20 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/15/2013   MMM    Continue drafting and reviewing documents for        L120     4.70 hrs
                    Mr. Marple's preparation for Examiner interview.

01/15/2013   MMM    Continue drafting and reviewing documents for        L120     1.20 hrs
                    Mr. Bier's preparation for Examiner interview.
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01/15/2013   MMM    Conference with Mr. Beck and Mr. Sechler              L120     0.70 hrs
                    regarding interview preparation binders. (.20) Call
                    with Mr. Day, Mr. Serrano, Ms. Lowenberg
                    (Morrison & Foerster), Mr. Sechler and Mr. Beck
                    to discuss status of preparations for upcoming
                    interview. (.50)
01/15/2013   DAB    E-mail Mr. Day regarding preparations for             L120     0.20 hrs
                    upcoming examiner interviews.

01/15/2013   DAB    E-mail Ms. Mohler regarding materials from prior      L120     0.10 hrs
                    interview preparations relevant to Mr. Marple.

01/15/2013   DAB    Communicate with Mr. Day (Morrison & Foerster)        L120     0.20 hrs
                    regarding issues for upcoming examiner
                    interviews.
01/15/2013   DAB    Review and comment on Flees outline.                  L330     0.50 hrs


01/15/2013   DAB    Research regarding securities filings signed by Mr.   L120     0.90 hrs
                    Flees.

01/15/2013   DAB    Prepare for call with Mr. Day and Morrison            L120     0.20 hrs
                    Foerster team regarding preparations for remaining
                    January examiner interviews.
01/15/2013   DAB    Conference with Mr. Sechler and Ms. Mohler            L120     0.10 hrs
                    regarding issues for remaining January examiner
                    interviews.
01/15/2013   DAB    Call with Mr. Day, Mr. Serrano and Ms.                L120     0.50 hrs
                    Lowenberg (Morrison & Foerster), Mr. Sechler
                    and Ms. Mohler regarding issues for remaining
                    examiner interviews.
01/15/2013   DAB    Conference with Mr. Sechler regarding Morrison        L120     0.10 hrs
                    & Foerster materials for Mr. Flees interview.

01/15/2013   JRC    E-mail exchange with Mr. Beck regarding               L190     0.10 hrs
                    examiner preparation materials.

01/15/2013   SP     Finalize Cerberus privilege log for custodian         L320     3.80 hrs
                    20121120 and send to Ms. Paul-Whitfield.

01/15/2013   SP     E-mails with Ms. Paul-Whitfield regarding process     L120     0.30 hrs
                    improvements for privilege log creation and
                    review, especially in regard to Cerberus
                    documents.
01/15/2013   GNM    Conduct regulatory Privilege training.                L320     0.50 hrs
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01/15/2013   GNM    Conduct new reviewer training.                       L320     3.10 hrs


01/15/2013   GNM    Exchanging e-mail communications with Mr.            L120     0.50 hrs
                    Shipler (DTI) regarding new user training.

01/15/2013   GNM    Exchanging e-mail communications with Ms.            L120     0.40 hrs
                    Battle and Ms. Whitfield regarding particular
                    document that may need to be clawed back.
01/15/2013   GNM    Working in the Subservicing database locating        L320     0.30 hrs
                    particular document to determine if it needs to be
                    clawed back.
01/15/2013   GNM    Drafting and sending e-mail communication to Ms.     L120     0.60 hrs
                    Levitt (Morrison & Foerster) regarding particular
                    document that may need to clawed back.
01/15/2013   GNM    Telephone communications with Ms. Whitfield,         L120     0.80 hrs
                    Ms. Gardiner (Schulte Roth) and Mr. Glick
                    (Kirkland & Ellis) regarding Cerberus data.
01/15/2013   GNM    Telephone communications with Ms. Gardiner           L120     0.50 hrs
                    (Schulte Roth) and Ms. Gulley (DTI) regarding
                    Cerberus data.
01/15/2013   GNM    Telephone communications with Mr. Langenkamp         L120     0.10 hrs
                    (Kirkland & Ellis) regarding Cerberus data.

01/15/2013   GNM    Working in Cerberus database configuring data for    L320     2.10 hrs
                    production.

01/15/2013   GNM    Working in Discovery Partner database                L320     2.80 hrs
                    configuring data for production.

01/15/2013   GNM    Performing quality control checks on productions     L320     0.30 hrs
                    EXAM205/206/136.

01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    release of productions EXAM205/206.
01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    release of productions EXAM136.
01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) regarding production set
                    Prrivilege. 1/13/13.
01/15/2013   GNM    Drafting and sending e-mail communications to        L120     0.50 hrs
                    Mr. Shipler (DTI) regarding production set P3
                    1-15-13.
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01/15/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Mr. Shipler (DTI) regarding production set
                    1-15-13.
01/15/2013   GNM    Telephone communications with Mr. Shipler (DTI)       L120     0.50 hrs
                    regarding 2012 Board Minutes to be produced.

01/15/2013   GNM    E-mail communications with Mr. Shipler (DTI)          L120     0.20 hrs
                    regarding 2012 Board Minutes to be produced.

01/15/2013   GNM    Conference call with DTI team regarding               L120     0.60 hrs
                    production pipeline and timing.

01/15/2013   AJM    Review Orrick opinion letters from June 2008 and      L120     0.70 hrs
                    March 2012 to determine if privileged.

01/15/2013   AJM    Quality control review of documents withheld          L320     2.10 hrs
                    partially or entirely in response to Examiner
                    document requests, set 110/111.
01/15/2013   AJM    Draft privilege log for documents produced in         L310     3.60 hrs
                    response to Examiner document requests, set
                    114/115.
01/15/2013   HLB    Perform quality control examiner review of batch      L120     6.90 hrs
                    Legacy custodian.005 per quality control examiner
                    protocol.
01/15/2013   AEG    Post-Coding quality checks for Spindel batch 10.      L140     2.00 hrs


01/16/2013   AMP    Attention to finalizing logs for Cerberus 11/20 and   L320     0.70 hrs
                    11/21 productions.

01/16/2013   AMP    E-mails with Kirkland & Ellis and Cerberus'           L320     0.30 hrs
                    counsel regarding Cerberus 11/20 and 11/21
                    productions.
01/16/2013   AMP    Attention to review of additional 1800 Lazard         L320     1.00 hrs
                    documents for privilege and professional eyes
                    only.
01/16/2013   AMP    E-mail with review team regarding additional 1800     L320     0.30 hrs
                    Lazard documents for privilege and professional
                    eyes only.
01/16/2013   JAL    Conferences with Mr. Sechler and Mr. Beck             L120    14.80 hrs
                    regarding potential topics in Mr. Abreu's interview
                    (.90). Review documents regarding Mr. Flees
                    (1.1). Further review of Mr. Flees' documents
                    (2.0). Conference with Ms. Battle regarding
                    examiner interview of Mr. Marple. (.80) Review
                    Mr. Flees' documents compiled by Morrison
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                    Foerster from additional databases (3.9). Review
                    and redraft Mr. Abreu's outline (1.8). Review Mr.
                    Abreu's documents for examiner interview (3.1).
                    Draft supplemental outline regarding sub-servicing
                    issues (.90). Review Mr. Flees' interview topic
                    outline from examiner (.20). Conference with Mr.
                    Beck regarding preparation for upcoming examiner
                    interview. (.10)
01/16/2013   MNB    Provide information to Ms. Levitt (Morrison &        L120     0.30 hrs
                    Foerster) regarding third-party claims based on
                    federal securities laws.
01/16/2013   VLS    Monitor review status of document review team.       L320     0.60 hrs


01/16/2013   VLS    Assignment of document review batches to             L320     0.40 hrs
                    document review team members.

01/16/2013   VLS    Update document review status chart.                 L320     0.60 hrs


01/16/2013   VLS    Monitor review status of document review quality     L320     0.70 hrs
                    control team.

01/16/2013   VLS    Assignment of document review quality control        L320     0.40 hrs
                    batches to quality control team members.

01/16/2013   VLS    Update document review quality control charts.       L320     0.60 hrs


01/16/2013   VLS    E-mail exchange with document reviewer Ms.           L320     0.20 hrs
                    Williams regarding time card.

01/16/2013   JES    Draft supplemental Abreu outline for Examiner        L120     7.00 hrs
                    interview preparation. (6.00) Conference with Mr.
                    Lipps and Mr. Beck regarding same. (.90)
                    Conference with Mr. Beck regarding same. (.10)
01/16/2013   JES    Revise Giertz Examiner preparation outline.          L120     1.00 hrs


01/16/2013   RBS    Prepare Mr. Abreu documents to be uploaded to        L310     2.00 hrs
                    Sharepoint.

01/16/2013   RBS    Upload Mr. Abreu and Mr. Marple interview            L310     0.60 hrs
                    preparation kit to Sharepoint for Mr. Beck.

01/16/2013   RBS    Prepare sets of 9019 exhibits on U-Drive for Mr.     L310     0.40 hrs
                    Beck.
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01/16/2013   JALB   Meet with Mr. Lipps regarding Marple preparation.    L120     0.80 hrs


01/16/2013   JALB   Begin review of Marple outline.                      L330     0.30 hrs


01/16/2013   JALB   Meet with Mr. Rhode regarding Cancelliere            L120     0.40 hrs
                    preparation.

01/16/2013   JALB   Meet with Ms. Marty regarding status of document     L120     0.30 hrs
                    productions and open issues for missing
                    documents.
01/16/2013   DJB    Perform second level quality check of documents      L120     5.20 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/16/2013   DJB    Format privilege law, indicating specific reasons    L120     4.80 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/16/2013   MMM    Review documents and pull items that will be         L120     6.40 hrs
                    important for Mr. Bier to review before his
                    Examiner interview.
01/16/2013   MMM    Incorporate documents found into outline for Mr.     L120     4.00 hrs
                    Bier's interview preparation.

01/16/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.10 hrs
                    for upcoming examiner interviews.

01/16/2013   DAB    Conference with Mr. Rhode regarding issues for       L120     0.10 hrs
                    examiner interview of Mr. Cancelliere.

01/16/2013   DAB    Meet with Mr. Lipps and Mr. Sechler regarding        L120     1.00 hrs
                    previous examiner interviews and issues for
                    examiner interview of Mr. Abreu.
01/16/2013   DAB    Draft materials on representation and warranty       L330     2.70 hrs
                    issues for examiner interview of Mr. Abreu.

01/16/2013   DAB    Conference with Mr. Sechler regarding additional     L120     0.10 hrs
                    materials for interview of Mr. Abreu.
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01/16/2013   DAB    Conference with Ms. Mohler regarding issues on        L120     0.20 hrs
                    Bier preparation.

01/16/2013   JRC    Telephone conference with Ms. Marty regarding         L190     0.10 hrs
                    clawback of documents produced to the examiner.

01/16/2013   JDR    Review discovery documents produced to                L320     3.30 hrs
                    examiner for Mr. Cancelliere's interview
                    preparation. (2.90) Conference with Ms. Battle
                    regarding key issues for examiner interview of Mr.
                    Marple. (.40)
01/16/2013   JDR    Review 9019 as filed reply brief in preparation for   L210     0.40 hrs
                    Mr. Cancelliere's interview.

01/16/2013   JDR    Review work product analysis of Mr. Marple for        L320     1.20 hrs
                    Mr. Cancelliere's examiner interview preparation.

01/16/2013   JDR    Review work product analysis of examiner witness      L320     1.00 hrs
                    interview of Mr. Whitlinger for Mr. Cancelliere's
                    examiner interview preparation.
01/16/2013   JDR    Review work product analysis of examiner witness      L320     0.70 hrs
                    interview of Mr. Gess for Mr. Cancelliere's
                    examiner interview preparation.
01/16/2013   JDR    Review Mr. Cancelliere's 9019 deposition for          L330     0.80 hrs
                    examiner interview preparation.

01/16/2013   JDR    Review work product analysis of examiner witness      L320     1.20 hrs
                    interview of Mr. Redmond for Mr. Cancelliere's
                    examiner interview preparation.
01/16/2013   SP     Review documents marked as privileged and             L320     3.90 hrs
                    provide descriptions for Cerberus privilege log.

01/16/2013   SP     Review ResCap public filings to determine extent      L320     0.30 hrs
                    Mr. Giertz certified their contents.

01/16/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Shank (Residential Capital) regarding
                    additional board material requests.
01/16/2013   GNM    Drafting e-mail communications to be sent to Mr.      L120     0.90 hrs
                    Ashley (Chadbourne) regarding replacement of
                    Subservicing production in September 2012.
01/16/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Mr. Shipler (DTI) regarding configuration of
                    annotation pane for Phase 3 subproject.
01/16/2013   GNM    Telephone communications with Mr. Shipler (DTI)       L120     0.20 hrs
                    regarding configuration of annotation pane for
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                    Phase 3 subproject.
01/16/2013   GNM    Working in Subservicing database running cross         L320     0.20 hrs
                    reference reports to be sent with clawback letter.

01/16/2013   GNM    Working in Discovery Partner database to locate        L320     2.20 hrs
                    board materials requested by the Examiner.

01/16/2013   GNM    Working in Cerberus database configuring data for      L320     3.60 hrs
                    production.

01/16/2013   GNM    Working in Discovery Partner database to run           L320     0.30 hrs
                    report for Bryan Cave documents already
                    produced.
01/16/2013   AJM    Quality control review of documents withheld           L320     3.50 hrs
                    partially or entirely in response to Examiner
                    document requests, set 110/111.
01/16/2013   AJM    Draft privilege log for documents produced in          L310     5.30 hrs
                    response to Examiner document requests, set
                    114/115.
01/16/2013   HLB    Complete quality control examiner review of batch      L120     3.40 hrs
                    Legacy custodian.005 per quality control examiner
                    protocol.
01/16/2013   HLB    Complete quality control examiner feedback form        L120     0.40 hrs
                    for batch Legacy custodian.005 per quality control
                    examiner protocol.
01/16/2013   AEG    Post-Coding quality checks for ResCap                  L140     2.30 hrs
                    bankruptcy/quality control feedback form filled out
                    and forward to first level attorney and Ms. Sholl.
01/17/2013   AMP    Attention to issues regarding privilege log for        L320     0.30 hrs
                    114/115 production.

01/17/2013   AMP    E-mails with Mr. Molnar regarding privilege log        L320     0.20 hrs
                    for 114/115 production.

01/17/2013   AMP    Review e-mail from Mr. Wyland (Bryan Cave)             L120     0.10 hrs
                    regarding additional privilege questions.

01/17/2013   AMP    Review e-mail from Ms. Battle regarding e-mail         L120     0.10 hrs
                    from Mr. Wyland (Bryan Cave) regarding
                    additional privilege questions.
01/17/2013   AMP    Review e-mails from Cerberus' counsel and              L320     0.20 hrs
                    Kirkland & Ellis regarding supplemental
                    production issues.
01/17/2013   JAL    Review, redraft and finalize preparation outline for   L120     9.30 hrs
                    Mr. Flees (1.6). Conference with Mr. Beck, Mr.
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                    Ilovsky and Mr. Day (Morrison & Foerster)
                    regarding Mr. Flees' preparation issues (1.0).
                    Conference with Mr. Flees' counsel regarding same
                    (.30). Participate in parts of Mr. Flees' preparation
                    (4.0). Review and respond to e-mails regarding
                    clawback of Marple Legal advice (.30). Review,
                    redraft and finalise preparation outline for Mr.
                    Abreu (1.0). Review Mr. Pensabene's interview
                    summary (.30). Review UCC presentation to
                    debtors (.70). Review e-mails regarding tax
                    allocation issues (.10).
01/17/2013   VLS    Monitor review status of document review team.          L320     0.80 hrs


01/17/2013   VLS    Assignment of document review batches to                L320     1.40 hrs
                    document review team members.

01/17/2013   VLS    Update document review status chart.                    L320     1.10 hrs


01/17/2013   VLS    Monitor review status of document review quality        L320     0.70 hrs
                    control team.

01/17/2013   VLS    Assignment of document review quality control           L320     0.80 hrs
                    batches to quality control team members.

01/17/2013   VLS    Update document review quality control charts.          L320     0.80 hrs


01/17/2013   VLS    E-mail exchange with Mr. Shipler of DTI                 L320     0.30 hrs
                    regarding additional quality control team members
                    to be given credentials in Discovery Partner.
01/17/2013   JES    Locate additional documents for Abreu interview         L120     1.00 hrs
                    preparation.

01/17/2013   JALB   Meet with Ms. Marty regarding potential                 L120     0.60 hrs
                    clawback. (.50) Correspondence with Morrison &
                    Foerster and Carpenter Lipps & Leland Examiner
                    teams regarding potentially privileged memoranda
                    for clawback analysis. (.10)
01/17/2013   JALB   Review cover memorandum for Marple interview            L120     0.60 hrs
                    preparation. (.30) Meet with Ms. Mohler regarding
                    updates to same. (.30)
01/17/2013   JALB   Review and analyze potentially privileged               L120     0.40 hrs
                    memoranda for clawback analysis.

01/17/2013   JALB   Further discussion with Mr. Rhode regarding scope       L120     0.40 hrs
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                    of issues for Cancelliere preparation.

01/17/2013   DJB    Perform second level quality check of documents       L120     3.40 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/17/2013   DJB    Format privilege law, indicating specific reasons     L120     6.30 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/17/2013   MMM    Review documents for anything that may be             L120     5.20 hrs
                    relevant to Mr. Bier's Examiner interview.

01/17/2013   MMM    Continue drafting Mr. Bier's Examiner preparation     L120     2.70 hrs
                    outline.

01/17/2013   MMM    Continue drafting Mr. Marple's outline for his        L120     1.20 hrs
                    Examiner interview. (.30) Meet with Ms. Battle
                    regarding revisions to same. (.30)
01/17/2013   DAB    Prepare for Flees examiner preparation session by     L330     1.10 hrs
                    reviewing outline and key documents.

01/17/2013   DAB    Meeting with Mr. Ilovsky, Mr. Day (Morrison &         L120     1.00 hrs
                    Foerster) and Mr. Lipps regarding key issues for
                    Mr. Flees.
01/17/2013   DAB    Meeting with Mr. Flees, counsel to Mr. Flees, Mr.     L120     6.50 hrs
                    Ilovsky, Mr. Day (Morrison & Foerster) and Mr.
                    Lipps (parts only) to prepare Mr. Flees for
                    examiner interview.
01/17/2013   DAB    Follow-up on issues raised in Flees prep session      L120     0.70 hrs
                    relevant to future interviews.

01/17/2013   DAB    Analyze Kramer Levin presentation on Ally claims      L330     0.70 hrs
                    for materials relevant ot upcoming examiner
                    interviews.
01/17/2013   JRC    Review and analyze documents in Discovery             L140     0.60 hrs
                    Partner in order to prepare interview materials for
                    Mr. Abreu.
01/17/2013   JRC    Review documents in Summation in order to locate      L140     0.30 hrs
                    interview preparation materials for examiner
                    witnesses.
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01/17/2013   JDR    Conference with Ms. Battle regarding examiner         L120     0.30 hrs
                    witness preparation for Mr. Cancelliere.

01/17/2013   JDR    Review examiner production documents related to       L320     1.50 hrs
                    representation and warranty reserve methodology
                    in preparation for Mr. Cancelliere's interview.
01/17/2013   JDR    Review examiner production documents related to       L320     1.50 hrs
                    Bank reserves in preparation for Mr. Cancelliere's
                    interview.
01/17/2013   JDR    Review examiner production documents in               L320     1.00 hrs
                    preparation for Mr. Cancelliere's interview.

01/17/2013   JDR    Review examiner production documents related to       L320     2.00 hrs
                    valuation in preparation for Mr. Cancelliere's
                    interview.
01/17/2013   JDR    Outline areas of anticipated inquiry in preparation   L120     0.80 hrs
                    for Mr. Cancelliere's interview.

01/17/2013   JDR    Review examiner production documents in               L320     2.80 hrs
                    preparation for Mr. Canelliere's interview.

01/17/2013   SP     Review documents marked as privileged and             L320     2.40 hrs
                    provide descriptions for Cerberus privilege log.

01/17/2013   SP     Assist Mr. Sechler with finding and reviewing         L320     0.60 hrs
                    documents relevant to Mr. Abreu.

01/17/2013   GNM    Lead new reviewer training.                           L320     1.10 hrs


01/17/2013   GNM    E-mail communications with Ms. Gardiner               L120     0.10 hrs
                    (Schulte Roth) regarding load files for Cerberus
                    production.
01/17/2013   GNM    E-mail communications with Mr. Shipler (DTI)          L120     0.50 hrs
                    regarding configuration of annotation pane in
                    Phase 3 Subproject.
01/17/2013   GNM    Working in the Subservicing database to locate        L320     2.40 hrs
                    documents pertaining to AFI preferential payment.

01/17/2013   GNM    Editing response to be sent to Examiner regarding     L120     0.30 hrs
                    additional board materials requested.

01/17/2013   GNM    Drafting and sending e-mail communications to         L120     0.20 hrs
                    contract quality control team regarding Lazard
                    review.
01/17/2013   GNM    Working in Discovery Partner database to locate       L320     1.40 hrs
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                    board materials requested by the Examiner.

01/17/2013   GNM    Working in Phase 3 Subproject configuring data       L320     1.30 hrs
                    for review.

01/17/2013   GNM    Telephone communications with Ms. Gardiner           L120     0.80 hrs
                    (Schulte Roth) regarding Cerberus data.

01/17/2013   GNM    Working in Cerberus database configuring data for    L320     0.30 hrs
                    production.

01/17/2013   GNM    Telephone communications with Mr. Levine             L120     0.20 hrs
                    (Morrison & Foerster) regarding privilege
                    determinations.
01/17/2013   GNM    Telephone communications with Ms. Tice               L120     0.20 hrs
                    (Morrison & Foerster) regarding location of e-mail
                    used in Whitlinger deposition.
01/17/2013   GNM    Meeting with Ms. Battle regarding clawback of        L120     0.50 hrs
                    Subservicing productions.

01/17/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) regarding documents to be
                    produced to Schulte Roth.
01/17/2013   GNM    E-mail communications with Ms. Searls (Contract      L120     0.20 hrs
                    Quality Control Team) regarding review of
                    documents previously marked privileged.
01/17/2013   GNM    Telephone communication with Ms. Wafalosky           L120     0.10 hrs
                    (Robert Half Legal) regarding staffing levels.

01/17/2013   GNM    Working in Discovery Partner database                L320     0.40 hrs
                    configuring data for review.

01/17/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.30 hrs
                    regarding last data load documents.

01/17/2013   GNM    Researching in Discovery Partner database to         L320     0.80 hrs
                    determine which entity employed certain
                    employees in 2006.
01/17/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Battle regarding database research on
                    employment history of certain employees.
01/17/2013   AJM    Draft privilege log for documents produced in        L320     3.50 hrs
                    response to Examiner document requests, set
                    114/115.
01/17/2013   AJM    Quality control review of documents withheld         L320     0.90 hrs
                    partially or entirely in response to Examiner
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                    document requests, set 116/117.
01/17/2013   AJM    Draft privilege log for documents produced in       L310     1.80 hrs
                    response to Examiner document requests, set
                    116/117.
01/17/2013   SCM    Quality control review of Renzi 007 document set.   L320     0.60 hrs


01/17/2013   HLB    Perform quality control examiner review of batch    L120     2.80 hrs
                    Jones.009 per quality control examiner protocol.

01/17/2013   ABW    Document review regarding quality control,          L140     3.10 hrs
                    Legacy Custodian 006.

01/17/2013   LWS    Quality control training regarding ResCap           L110     1.00 hrs
                    bankruptcy.

01/18/2013   AMP    Attention to Cerberus supplemental production and   L320     0.30 hrs
                    privilege issues.

01/18/2013   AMP    Review multiple e-mails from Kirkland & Ellis,      L320     0.40 hrs
                    Ms. Marty and Cerberus' counsel regarding
                    Cerberus supplemental production and privilege
                    issues.
01/18/2013   AMP    Review and respond to e-mail from Mr. Phillips      L320     0.20 hrs
                    regarding review of 1800 additional Lazard
                    documents.
01/18/2013   AMP    Review multiple e-mails with Morrison & Foerster    L320     0.20 hrs
                    regarding Marple memorandum and privilege
                    assertions for same.
01/18/2013   JAL    Review Mr. Abreu's materials complied by            L120     9.30 hrs
                    Morrison Foerster to prepare for examiner
                    interview (1.2). Conference with Mr. Abreu and
                    Ms. Levitt (Morrison & Foerster) to prepare for
                    interview (5.5). Draft summary of Mr. Abreu's
                    examiner issues (1.3). Review revised summary of
                    Mr. Pensabaene's interview (.50). Review and
                    respond to e-mails regarding clawback of Marple
                    memo (.30). Review e-mail reports of Mr. Flees'
                    interview (.50).
01/18/2013   VLS    Meet with Ms. Marty regarding production            L320     0.80 hrs
                    deadline.

01/18/2013   VLS    Monitor review status of document review team.      L320     1.10 hrs


01/18/2013   VLS    Assignment of document review batches to            L320     0.60 hrs
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                    document review team members.

01/18/2013   VLS    Update document review status chart.                   L320     0.80 hrs


01/18/2013   VLS    Monitor review status of document review quality       L320     0.80 hrs
                    control team.

01/18/2013   VLS    Update document review quality control charts.         L320     1.20 hrs


01/18/2013   VLS    E-mail exchange with Ms. Marty regarding               L320     0.20 hrs
                    document reviewer Ms. Wolfe.

01/18/2013   JES    Revise and finalize Giertz preparation outline.        L120     3.00 hrs


01/18/2013   JES    Review Pensabene interview memorandum.                 L120     1.00 hrs


01/18/2013   TKI    Review e-mail documents for quality control            L120     0.70 hrs
                    purposes for Applegate 10 batch.

01/18/2013   JALB   Review materials for preparation of Mr. Marple for     L330     0.50 hrs
                    Examiner interview.

01/18/2013   JALB   Discussion with Examiner document production           L320     0.70 hrs
                    team regarding status of document productions and
                    privilege/clawback issues.
01/18/2013   DJB    Perform second level quality check of documents        L120     1.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/18/2013   DJB    Format privilege law, indicating specific reasons      L120     2.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/18/2013   MMM    Continue drafting preparation outline for Mr. Bier's   L120     1.70 hrs
                    Examiner interview.

01/18/2013   MMM    Review documents for relevant information that         L120     2.80 hrs
                    may be used in Mr. Casey's Examiner interview.
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01/18/2013   DAB    Prepare for examiner interview of Mr. Flees.          L330     0.60 hrs


01/18/2013   DAB    Conference with Mr. Day (Morrison & Foerster)         L330     0.40 hrs
                    and Mr. Flees in preparation for examiner
                    interview.
01/18/2013   DAB    Participate in parts of Examiner interview of Mr.     L330     6.70 hrs
                    Flees with Mr. Ilovsky and Mr. Day (Morrison &
                    Foerster).
01/18/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding Flees       L120     0.40 hrs
                    interview.

01/18/2013   DAB    E-mail Mr. Sechler regarding preparations for         L120     0.20 hrs
                    upcoming witnesses.

01/18/2013   JDR    Draft outline in preparation for Mr. Cancelliere's    L420     1.50 hrs
                    interview.

01/18/2013   JDR    Prepare materials for Mr. Cancelliere's interview     L420     2.00 hrs
                    preparation.

01/18/2013   JDR    Review documents related to valuation produced to     L320     3.40 hrs
                    examiner in preparation for Mr. Cancelliere's
                    interview.
01/18/2013   JDR    Review documents related to relevant                  L320     3.00 hrs
                    inter-company transactions in preparation for Mr.
                    Cancelliere's interview.
01/18/2013   SP     Review documents marked as privileged and             L320     1.80 hrs
                    provide descriptions for Cerberus privilege log.

01/18/2013   SP     Work with contract reviewers to set up protocol for   L320     1.60 hrs
                    reviewing Cerberus documents.

01/18/2013   SP     Confer with contract reviewers regarding review of    L120     0.30 hrs
                    Lazard documents.

01/18/2013   GNM    Working in Discovery Partner database performing      L320     3.70 hrs
                    second level review on quality control set 1-20-13.

01/18/2013   GNM    Drafting and sending e-mail communications to         L120     0.20 hrs
                    Ms. Shank (Residential Capital) regarding
                    requested Board Materials
01/18/2013   GNM    Drafting and sending progress update e-mails to       L320     1.20 hrs
                    the quality control team.
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01/18/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.40 hrs
                    (Schulte Roth) regarding Cerberus data.

01/18/2013   GNM    Working in Relativity database to configure Lazard    L320     0.60 hrs
                    data for review.

01/18/2013   GNM    Meeting with Ms. Sholl regarding production           L120     0.80 hrs
                    deadline.

01/18/2013   AJM    Draft privilege log for documents produced in         L310     0.20 hrs
                    response to Examiner document requests, set
                    116/117.
01/18/2013   HLB    Perform quality control examiner review of batch      L120     4.60 hrs
                    Jones.009 per quality control examiner protocol.

01/18/2013   ABW    Document review regarding quality control Legacy      L140     0.60 hrs
                    Custodian 006.

01/18/2013   ABW    E-mail from Ms. Marty regarding phase 2.              L190     0.10 hrs


01/19/2013   AMP    Review e-mails from Morrison & Foerster               L320     0.20 hrs
                    regarding GMAC Bank documents.

01/19/2013   JAL    Review outline for Mr. Bier's preparation (.30).      L120     1.00 hrs
                    Review Mr. Bier's documents (.40). Conference
                    with Mr. Beck regarding revisions to Mr. Bier's
                    outline (.10). Review e-mails regarding same
                    (.10). Review e-mails regarding examiner
                    interview schedule (.10).
01/19/2013   TKI    Review e-mail documents for quality control           L120     3.40 hrs
                    purposes for Dondzilla 026 batch.

01/19/2013   TKI    Review e-mail documents for quality control           L120     1.70 hrs
                    purposes for Applegate 10 batch.

01/19/2013   MMM    Finalize binder and outline for Mr. Bier's Examiner   L120     1.80 hrs
                    interview.

01/19/2013   DAB    Review and comment on preparation materials for       L330     2.70 hrs
                    Mr. Bier. (2.60) Conference with Mr. Lipps
                    regarding same. (.10)
01/19/2013   DAB    E-mails with Mr. Lipps regarding preparations for     L120     0.40 hrs
                    examiner interview of Mr. Bier.

01/19/2013   DAB    E-mails with Ms. Mohler regarding preparation         L120     0.50 hrs
                    outline for Mr. Bier.
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01/19/2013   DAB    Communicate with Ms. Levitt, Mr. Ilovsky and           L120     0.20 hrs
                    Mr. Day (Morrison & Foerster) regarding
                    preparation materials for Mr. Bier.
01/19/2013   JDR    Draft outline and prepare exhibits related to          L420     1.30 hrs
                    organizational heirarchy and responsibilities in
                    preparation for Mr. Cancelliere's interview.
01/19/2013   JDR    Draft outline and prepare exhibits related to          L420     3.60 hrs
                    representation and warranty reserves in preparation
                    for Mr. Cancelliere's interview.
01/19/2013   JDR    Draft outline and prepare exhibits related to the      L420     2.00 hrs
                    Ally settlement in preparation for Mr. Cancelliere's
                    interview.
01/19/2013   JDR    Review documents produced to examiner in               L320     1.50 hrs
                    preparation for Mr. Cancelliere's interview.

01/19/2013   SP     Review documents marked as privileged and              L320     0.20 hrs
                    provide descriptions for Cerberus privilege log.

01/19/2013   SP     Communicate with contract reviewer regarding           L120     0.60 hrs
                    review of Cerberus documents.

01/19/2013   GNM    Working in the Discovery Partner database              L320     0.20 hrs
                    locating documents for witness preparation.

01/19/2013   SCM    Quality control review of Renzi 007 document set.      L320     2.30 hrs


01/19/2013   HLB    Perform quality control examiner review of batch       L120     0.80 hrs
                    Jones.009 per quality control examiner protocol.

01/19/2013   ABW    Document review regarding quality control Legacy       L140     1.50 hrs
                    Custodian 006.

01/20/2013   AMP    Review e-mails between Ms. Battle, Mr. Molnar,         L320     0.20 hrs
                    and Morrison & Foerster regarding current
                    privilege log including Marple memorandum and
                    completion of same.
01/20/2013   JAL    Review outline for Mr. Bier's preparation (.30).       L120     5.00 hrs
                    Review Mr. Bier's documents (3.4). Conference
                    with Mr. Beck regarding revisions to Mr. Bier's
                    outline (.10). Review e-mails regarding same
                    (.10). Review e-mails regarding examiner
                    interview schedule (.10). Review Morrison
                    Foerster's analysis of GMAC Bank transaction and
                    supporting documents (.50). Review UCC
                    presentation to debtors and back-up documents
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                    (.50).
01/20/2013   VLS    E-mail exchange with quality control team member      L320     0.10 hrs
                    Ms. Coleman regarding quality control batch
                    assignment.
01/20/2013   VLS    E-mail exchange with document reviewer Ms.            L320     0.20 hrs
                    Kindler regarding technical issues with Discovery
                    Partner database.
01/20/2013   VLS    E-mail exchange with document reviewer Ms.            L320     0.20 hrs
                    Lagrone regarding technical issues with Discovery
                    Partner database.
01/20/2013   JALB   Review and analyze materials for preparation of       L330     2.00 hrs
                    Mr. Marple for Examiner interview.

01/20/2013   DAB    Review and analyze Morrison & Foerster                L120     1.30 hrs
                    memorandum on bank transaction.

01/20/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.40 hrs
                    comments on bank transaction memorandum.

01/20/2013   JRC    Review, analyze and code hard copy documents of       L140     1.90 hrs
                    Mr. Ruckdaschel in Discovery Partner in response
                    to requests from the examiner.
01/20/2013   JDR    Supplement outline and exhibits related to            L420     0.60 hrs
                    representation and warranty reserves in preparation
                    for Mr. Cancelliere's interview.
01/20/2013   JDR    Draft outline and prepare exhibits related to         L420     2.00 hrs
                    valuations in preparation for Mr. Cancelliere's
                    interview.
01/20/2013   JDR    Review documents produced to examiner in              L320     1.70 hrs
                    preparation for Mr. Cancelliere's interview.

01/20/2013   SP     Review documents marked as privileged and             L320     0.60 hrs
                    provide descriptions for Cerberus privilege log.

01/20/2013   SP     Communicate with contract reviewer regarding          L120     1.10 hrs
                    process for review of Cerberus documents.

01/20/2013   GNM    E-mail communications with Ms. Chinn (Contract        L120     0.10 hrs
                    quality control Team) regarding coding of Lazard
                    data.
01/20/2013   AJM    Quality control review of documents withheld          L320     1.20 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/20/2013   AJM    Draft privilege log for documents produced in         L310     2.50 hrs
                    response to Examiner document requests, set
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                    116/117.
01/20/2013   SCM    Quality control review of Renzi 007 document set.   L320     3.10 hrs


01/20/2013   ABW    Document review regarding quality control Legacy    L140     3.60 hrs
                    Custodian 006.

01/21/2013   AMP    Review e-mail from Mr. Molnar regarding             L320     0.10 hrs
                    privilege log production.

01/21/2013   AMP    Respond to e-mail from Mr. Molnar regarding         L320     0.10 hrs
                    privilege log production.

01/21/2013   AMP    Review e-mails from Ms. Battle regarding            L320     0.10 hrs
                    privilege log production.

01/21/2013   JAL    Review Mr. Bier's documents to prepare for          L120     9.00 hrs
                    examiner interview (6.9). Review Mr. Bier's
                    preparation outline (1.0). E-mails with Mr. Beck
                    regarding Mr. Bier's documents (.40). Review and
                    respond to e-mails regarding UCC presentation
                    (.20). Review e-mail regarding Mr. Abreu's
                    preparation issues (.20). Review and respond to
                    e-mails regarding clawback request and Mr. Bier's
                    interview schedule (.30).
01/21/2013   VLS    Assignment of document review batches to            L320     1.10 hrs
                    document review team members.

01/21/2013   VLS    Monitor review status of document review quality    L320     0.60 hrs
                    control team.

01/21/2013   VLS    Assignment of document review quality control       L320     0.40 hrs
                    batches to quality control team members.

01/21/2013   VLS    Update document review quality control charts.      L320     0.70 hrs


01/21/2013   TKI    Review e-mail documents for quality control         L120     3.10 hrs
                    purposes for Dondzilla 026 batch.

01/21/2013   TKI    Review e-mail documents for quality control         L120     2.40 hrs
                    purposes for Applegate 10 batch.

01/21/2013   JALB   Review and analyze Kramer Levin presentation on     L120     1.40 hrs
                    Examiner-related issues.

01/21/2013   JALB   Follow-up correspondence regarding Kramer           L120     0.30 hrs
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                    Levin presentation on Examiner-related issues.

01/21/2013   JALB   Review and analyze materials for meeting with Mr.     L120     0.70 hrs
                    Marple.

01/21/2013   JALB   Meet with Mr. Day, Mr. Illovsky (both Morrison &      L120     5.70 hrs
                    Foerster) and Mr. Marple (former Residential
                    Capital) regarding preparation for Examiner
                    interview.
01/21/2013   JALB   Attention to witness scheduling and preparation       L330     0.60 hrs
                    issues.

01/21/2013   JALB   Correspondence regarding document production          L120     0.20 hrs
                    schedules.

01/21/2013   MMM    Review documents in preparation for Mr. Casey's       L120     1.30 hrs
                    interview with the Examiner.

01/21/2013   DAB    E-mails with Mr. Lipps regarding issues for Bier      L120     0.40 hrs
                    interview.

01/21/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.40 hrs
                    arguments on 2006 bank deal.

01/21/2013   DAB    Communicate with Ms. Battle regarding bank            L120     0.10 hrs
                    memorandum backup materials.

01/21/2013   DAB    Communicate with Ms. Marty regarding bank             L120     0.10 hrs
                    memorandum backup materials.

01/21/2013   DAB    Draft exhibit lists for interview of Mr. Flees.       L330     0.40 hrs


01/21/2013   DAB    Communicate with Ms. Vasilluu (Morrison &             L120     0.10 hrs
                    Foerster) regarding backup for bank memorandum.

01/21/2013   DAB    Communicate with Ms. Battle regarding additional      L120     0.10 hrs
                    materials for Marple preparation.

01/21/2013   JDR    Review documents produced to examiner in              L320     2.50 hrs
                    preparation for Mr. Cancelliere's interview.

01/21/2013   JDR    Prepare exhibits in preparation for Mr.               L320     1.20 hrs
                    Cancelliere's interview.

01/21/2013   JDR    Revise outline in preparation for Mr. Cancelliere's   L420     1.00 hrs
                    interview.
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01/21/2013   JDR    Draft correspondence to Ms. Battle and Mr. Beck      L120     0.10 hrs
                    regarding Mr. Cancelliere's interview preparation.

01/21/2013   SP     Review documents marked as privileged and            L320     2.90 hrs
                    provide descriptions for Cerberus privilege log.

01/21/2013   GNM    Working in Discovery Partner database performing     L320     1.70 hrs
                    second level review on quality control set P3
                    1-20-13
01/21/2013   GNM    Working in Discovery Partner database performing     L320     1.10 hrs
                    second level review on quality control set 1-21-13

01/21/2013   GNM    Exchanging e-mail communications with Ms.            L120     0.80 hrs
                    Battle regarding clawback of the Subservicing
                    productions.
01/21/2013   GNM    E-mail communications with Ms. Sholl regarding       L120     0.30 hrs
                    last data set for review.

01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) regarding cross reference for
                    Subservicing production.
01/21/2013   GNM    Researching in Discovery Partner for documents       L320     4.80 hrs
                    referenced in the Kramer Levin presentation to
                    Morrison & Foerster.
01/21/2013   GNM    Researching in Lexis Nexis for documents             L320     2.40 hrs
                    referenced in the Kramer Levin presentation to
                    Morrison & Foerster.
01/21/2013   GNM    E-mail communications with Mr. Beck regarding        L120     0.30 hrs
                    documents referenced in the Kramer Levin
                    presentation to Morrison & Foerster.
01/21/2013   GNM    Performing quality control checks on productions     L320     0.30 hrs
                    EXAM207/208/139.

01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Brown (Morrison & Foerster) releasing
                    productions EXAM207/208/139.
01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    Mr. Shipler (DTI) releasing production set P3
                    1-20-13.
01/21/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set
                    1-21-13.
01/21/2013   AJM    Quality control review of documents withheld         L320     1.50 hrs
                    partially or entirely in response to Examiner
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                    document requests, set 116/117.
01/21/2013   AJM    Draft privilege log for documents produced in         L310     3.60 hrs
                    response to Examiner document requests, set
                    116/117.
01/21/2013   SCM    Quality control review of Renzi 007 document set.     L320     3.40 hrs


01/21/2013   HLB    Perform quality control examiner review of batch      L120     1.80 hrs
                    Jones.009 per quality control examiner protocol.

01/21/2013   AEG    Post-Coding quality checks of Applegate batch 4       L140     3.00 hrs
                    for ResCap bankruptcy/quality control. (2.60)
                    Feedback form filled out and forward to first level
                    attorney and Ms. Sholl. (.40)
01/21/2013   ABW    Document review regarding quality control Legacy      L140     1.80 hrs
                    Custodian 006.

01/21/2013   ABW    Prepare of quality control feedback form regarding    L140     0.20 hrs
                    Legacy Custodian 006.

01/21/2013   ABW    E-mail to Ms. Sholl regarding assignment.             L190     0.10 hrs


01/22/2013   JAL    Review Mr. Abreu's documents to prepare for           L120    10.80 hrs
                    preparation meeting (.80). Conference with Mr.
                    Abreu (Residential Capital) and Ms. Levitt
                    (Morrison & Foerster) to prepare for examiner
                    interview (2.0). Participate at interview of Mr.
                    Abreu (7.4). Review revised version of Morrison
                    Foerster's bank memo (.40). Review and respond
                    to e-mails regarding examiner interview schedule
                    and interview summaries (.20).
01/22/2013   VLS    Monitor review status of document review team.        L320     1.20 hrs


01/22/2013   VLS    Assignment of document review batches to              L320     0.80 hrs
                    document review team members.

01/22/2013   VLS    Update document review status chart.                  L320     1.40 hrs


01/22/2013   VLS    Monitor review status of document review quality      L320     0.90 hrs
                    control team.

01/22/2013   VLS    Assignment of document review quality control         L320     0.80 hrs
                    batches to quality control team members.
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01/22/2013   VLS    Update document review quality control status        L320     1.10 hrs
                    charts.

01/22/2013   VLS    Obtain document reviewer time cards and review       L320     1.60 hrs
                    for accuracy.

01/22/2013   VLS    Approve document reviewers time cards for            L320     0.40 hrs
                    payment.

01/22/2013   VLS    E-mail Mr. Kasmikha, document reviewer,              L320     0.20 hrs
                    regarding time card entry.

01/22/2013   VLS    E-mail Ms. Perko, document reviewer, regarding       L320     0.20 hrs
                    time card entry.

01/22/2013   VLS    E-mail Ms. Mohler, document reviewer, regarding      L320     0.20 hrs
                    time card entry.

01/22/2013   JES    Revise Giertz outline and review additional          L120     3.00 hrs
                    documents.

01/22/2013   RBS    Upload Mr. Giertz interview preparation kit to       L310     0.30 hrs
                    Sharepoint.

01/22/2013   RBS    Upload additional Mr. Giertz interview preparation   L310     0.20 hrs
                    kit materials to Sharepoint.

01/22/2013   JALB   Meet with Mr. Day and Mr. Illovsky (Morrison &       L120     0.30 hrs
                    Foerster) regarding scope of privilege issues.

01/22/2013   JALB   Correspondence with Ms. Marty, Mr. Salerno           L120     0.40 hrs
                    (Morrison & Foerster) and Mr. Brown (Morrison
                    & Foerster) regarding production of documents to
                    Examiner.
01/22/2013   JALB   Attend interview of Mr. Marple.                      L120     5.60 hrs


01/22/2013   JALB   Attention to witness scheduling issues and           L330     0.30 hrs
                    follow-up regarding same.

01/22/2013   DJB    Perform second level quality check of documents      L120     6.30 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
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01/22/2013   DJB    Format privilege law, indicating specific reasons    L120     7.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/22/2013   MMM    Review documents and draft preparation outline       L120     6.40 hrs
                    for Mr. Casey's Examiner interview.

01/22/2013   DAB    Conference with Mr. Sechler regarding outline for    L120     0.10 hrs
                    preparation of Mr. Giertz.

01/22/2013   DAB    Revise preparation outline for Mr. Giertz.           L330     0.90 hrs


01/22/2013   DAB    Multiple conferences with Mr. Rhode regarding        L120     0.60 hrs
                    issues for examiner interview of Mr. Cancelliere.

01/22/2013   DAB    Call with Mr. Serrano (Morrison & Foerster) and      L120     0.10 hrs
                    Mr. Rhode regarding issues for examiner interview
                    of Mr. Cancelliere.
01/22/2013   JRC    Review, analyze, and code hard copy documents of     L320     0.30 hrs
                    Mr. Ruckdaschel in response to requests from the
                    bankruptcy examiner.
01/22/2013   JDR    Teleconference with Mr. Serrano (Morrison &          L120     0.20 hrs
                    Foerster) and Mr. Beck regarding Mr. Cancelliere's
                    Examiner interview preparation.
01/22/2013   JDR    Review documents produced to Examiner as             L320     0.20 hrs
                    identified by Ms. Battle in preparation for
                    upcoming interviews.
01/22/2013   JDR    Review discovery documents for integration into      L310     0.80 hrs
                    Mr. Cancelliere's interview preparation outline.

01/22/2013   JDR    Conference with Mr. Beck regarding Mr.               L120     0.50 hrs
                    Cancelliere's Examiner interview preparation.

01/22/2013   SP     Review documents marked as privileged and            L320     1.70 hrs
                    provide descriptions for Cerberus privilege log.

01/22/2013   SP     Review board materials for treatment of specific     L320     0.40 hrs
                    transactions for Mr. Beck.

01/22/2013   GNM    E-mail communications to Ms. Levitt (Morrison &      L120     0.10 hrs
                    Foerster) regarding Subservincing cross reference.
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01/22/2013   GNM    Conduct new reviewer training.                         L320     2.90 hrs


01/22/2013   GNM    Researching in Relativity database for documents       L320     4.10 hrs
                    referenced in Kramer Levin presentation to
                    Morrison & Foerster.
01/22/2013   GNM    Drafting outline of materials referenced in Kramer     L320     2.10 hrs
                    Levin presentation to Morrison & Foerster.

01/22/2013   AJM    Quality control review of documents withheld           L320     3.30 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/22/2013   AJM    Draft privilege log for documents produced in          L310     7.00 hrs
                    response to Examiner document requests, set
                    116/117.
01/22/2013   SCM    Review of Olson 2 007 documents.                       L320     3.60 hrs


01/22/2013   SCM    Review of Spindel 007 documents.                       L320     0.70 hrs


01/22/2013   HLB    Perform quality control examiner review of batch       L120     2.70 hrs
                    Jones.009 per quality control examiner protocol.

01/22/2013   HLB    Complete quality control examiner feedback form        L120     0.50 hrs
                    for batch Jones.009 per quality control examiner
                    protocol.
01/22/2013   AEG    Post-Coding quality checks for Dondzilla batch 23      L140     1.00 hrs
                    for ResCap bankruptcy.

01/23/2013   AMP    Attention to finalizing privilege log for production   L320     2.20 hrs
                    112/113.

01/23/2013   AMP    Attention to finalizing privilege log for production   L320     3.10 hrs
                    114/115.

01/23/2013   AMP    Review e-mails from Mr. Brown (Morrison &              L320     0.30 hrs
                    Foerster), Mr. Day (Morrison & Foerster), and Ms.
                    Battle regarding witness interview of Mr. Marple
                    and privileged Marple memorandum.
01/23/2013   AMP    Attention to log entries for Marple memorandum.        L320     0.40 hrs


01/23/2013   AMP    Multiple e-mails regarding log entries for Marple      L320     0.30 hrs
                    memorandum.
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01/23/2013   JAL    Telephone conference with Ms. Battle regarding         L120     0.80 hrs
                    examiner interview schedule (.30). Review and
                    respond to e-mails regarding interview schedule
                    and preparation coverage (.10). Review e-mails
                    regarding preparation call with Mr. Pohl's counsel
                    (.20). Review additional interview list (.10).
                    Conference with Ms. Battle and Mr. Beck
                    regarding same (.10).
01/23/2013   VLS    Monitor review status of document review team.         L320     1.20 hrs


01/23/2013   VLS    Assignment of document review batches to               L320     0.60 hrs
                    document review team members.

01/23/2013   VLS    Update document review status chart.                   L320     1.00 hrs


01/23/2013   VLS    Monitor review status of document review quality       L320     0.80 hrs
                    control team.

01/23/2013   VLS    Assignment of document review quality control          L320     0.40 hrs
                    batches to quality control team members.

01/23/2013   VLS    Update document review quality control status          L320     0.80 hrs
                    charts.

01/23/2013   VLS    Receipt and review of hard drives for productions      L320     0.40 hrs
                    EXAM 131, EXAM 137, and EXAM 138.

01/23/2013   RBS    Download documents from Bank binder at                 L310     0.30 hrs
                    Sharepoint to U-Drive for Mr. Beck.

01/23/2013   RBS    Download Mr. Abreu Examiner Exhibits to                L310     0.20 hrs
                    U-Drive for Mr. Beck.

01/23/2013   RBS    Prepare alphabetical and chronological                 L310     0.30 hrs
                    spreadsheets of interview exhibits to distribute for
                    Mr. Beck.
01/23/2013   JALB   E-mails with interview preparation team regarding      L120     0.50 hrs
                    list of new interviewees. (.20) Call with Mr. Lipps
                    regarding scheuduling of upcoming interviews.
                    (.30)
01/23/2013   JALB   Telephone conference with Mr. Illovsky & Mr.           L120     0.40 hrs
                    Day (Morrison & Foerster) regarding next steps to
                    schedule and prepare for new interviewees.
01/23/2013   JALB   Review list of new interviewees.                       L330     0.20 hrs
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01/23/2013   JALB   Follow-up with Mr. Bier (former Residential          L120     0.10 hrs
                    Capital) regarding upcoming interview.

01/23/2013   JALB   Review materials for interview preparation session   L330     1.20 hrs
                    with Mr. Giertz (former Residential Capital).

01/23/2013   JALB   Discussion with Ms. Marty regarding status and       L120     0.40 hrs
                    planning for remaining document productions to
                    Examiner.
01/23/2013   JALB   E-mail exchanges with Ms. Hamzehpour, Mr.            L120     0.60 hrs
                    Whitlinger (both Residential Capital), Mr. Renzi
                    (FTI) and Mr. Lipps regarding methods to provide
                    Mesirow with background on securitization
                    processes.
01/23/2013   JALB   Follow-up with Ms. Hamzehpour (Residential           L120     0.20 hrs
                    Capital) regarding outreach to new interviewees.

01/23/2013   DJB    Perform second level quality check of documents      L120     6.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/23/2013   DJB    Format privilege law, indicating specific reasons    L120     7.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on emails to assist Morrison Foerster
                    with productions to the Examiner.
01/23/2013   MMM    Review documents and draft preparation outline       L120     4.50 hrs
                    for Mr. Casey's Examiner interview.

01/23/2013   MMM    Review documents for relevant information that       L120     5.60 hrs
                    may be used in Mr. Casey's Examiner interview.

01/23/2013   MMM    Attend conference call with Ms. Lowenberg            L120     0.30 hrs
                    (Morrison & Foerster) and Mr. Beck regarding
                    Casey Examiner preparation.
01/23/2013   DAB    Conference with Mr. Day (Morrison & Foerster)        L120     0.20 hrs
                    regarding preparations for upcoming witness
                    interviews.
01/23/2013   DAB    Conference with Ms. Lowenberg (Morrison &            L120     0.30 hrs
                    Foerster) and Ms. Mohler regarding issues for
                    interview preparation of Mr. Casey.
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01/23/2013   DAB    Analyze new interview requests from examiner.          L330     0.30 hrs


01/23/2013   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.20 hrs
                    regarding new interview requests.

01/23/2013   DAB    Communicate with Ms. Battle regarding                  L120     0.40 hrs
                    production reviews for upcoming examiner
                    interviews.
01/23/2013   DAB    E-mails with Ms. Lowenberg (Morrison &                 L120     0.20 hrs
                    Foerster) regarding examiner exhibits used in
                    Abreu interview.
01/23/2013   DAB    E-mail Mr. Samson regarding additional materials       L120     0.10 hrs
                    needed from Morrison & Foerster for upcoming
                    examiner interviews.
01/23/2013   JRC    Draft protocol for review of Ms. Hamzehpour's          L320     0.40 hrs
                    hard-copy documents.

01/23/2013   JRC    Review hard-copy documents of Ms. Hamzehpour           L320     0.30 hrs
                    in order to draft a supplemental review protocol for
                    those documents.
01/23/2013   JRC    E-mail exchange with Mr. Lipps, Mr. Beck, and          L120     0.10 hrs
                    Ms. Battle regarding newly identified examiner
                    witnesses.
01/23/2013   JRC    Review documents in litigation databases in order      L320     2.50 hrs
                    to draft e-mail analyzing roles of Mr. Russell, Mr.
                    Blahut, and Mr. Blackburn.
01/23/2013   JRC    Draft e-mail summarizing roles of Mr. Russell, Mr.     L120     0.20 hrs
                    Blahut, and Mr. Blackburn.

01/23/2013   JDR    Revise outline and supplement exhibits with            L420     2.90 hrs
                    documents and topics identified by Mr. Serrano
                    (Morrison & Foerster) in preparation for Mr.
                    Cancelliere's examiner interview.
01/23/2013   JDR    Draft outline in preparation for Mr. Cancelliere's     L420     2.40 hrs
                    interview related to likely areas of inquiry.

01/23/2013   JDR    Draft outline in preparation for Mr. Cancelliere's     L420     1.60 hrs
                    interview related to likely areas of inquiry.

01/23/2013   SP     Review documents marked as privileged and              L320     2.80 hrs
                    provide descriptions for Cerberus privilege log.

01/23/2013   SP     Confer with contract reviewer regarding Cerberus       L320     0.30 hrs
                    documents.
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01/23/2013   SP     Answer questions relating to privilege              L120     0.40 hrs
                    determinations for contract reviewers reviewing
                    Lazard documents.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     1.90 hrs
                    quality control team members regarding quality
                    control protocol and completion timeline.
01/23/2013   GNM    Meeting with Ms. Battle regarding production        L120     0.50 hrs
                    metrics and planning for remaining document
                    production.
01/23/2013   GNM    Updating weekly status report for Ms. Battle        L120     0.40 hrs


01/23/2013   GNM    Working in Subservicing database gathering          L320     0.20 hrs
                    document to be used for witness preparation.

01/23/2013   GNM    Working in Discovery Partner database performing    L320     2.10 hrs
                    second level review on production set 1-23-13

01/23/2013   GNM    Working in Discovery Partner database performing    L320     1.10 hrs
                    second level review on production set P3 1-24-13.

01/23/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.20 hrs
                    (Schulte Roth) regarding Cerberus data.

01/23/2013   GNM    Telephone communications with Ms. Klun (Lumen       L120     0.30 hrs
                    Legal) regarding staffing levels.

01/23/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.30 hrs
                    (Schulte Roth) and Ms. Gulley (DTI) regarding
                    Cerberus data.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     0.20 hrs
                    Ms. Diem (Contract Reviewer), Ms. Buchanan,
                    and Mr. Navarro (Morrison & Foerster) regarding
                    review of Hamzehpour non e-mail data.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     0.30 hrs
                    Mr. Shipler (DTI) releasing production set P3
                    1-24-13.
01/23/2013   GNM    Drafting and sending e-mail communications to       L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set
                    1-23-13.
01/23/2013   GNM    Working in Phase 3 Subproject configuring data      L320     0.40 hrs
                    for review.

01/23/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.40 hrs
                    regarding Phase 3 subproject annotation pane.
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01/23/2013   AJM    Quality control review of documents withheld          L320     1.90 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/23/2013   AJM    Draft privilege log for documents produced in         L310     5.40 hrs
                    response to Examiner document requests, set
                    116/117.
01/23/2013   MJB    Legal research on the obligation of parties to        L120     3.80 hrs
                    preserve documents that are to be transferred to a
                    third party as part of a sale agreement and draft
                    summary of research findings.
01/23/2013   HLB    Perform quality control review of batch Legacy        L120     3.50 hrs
                    Custodian.008 per quality control protocol.

01/23/2013   AEG    Post-Coding quality checks for ResCap                 L140     3.00 hrs
                    bankruptcy.

01/23/2013   ABW    E-mail from Ms. Marty regarding phase 3.              L190     0.10 hrs


01/24/2013   AMP    Attention to privilege issues regarding Marple        L120     0.20 hrs
                    memorandum.

01/24/2013   AMP    E-mails with Ms. Battle regarding privileged          L120     0.50 hrs
                    nature of Marple memorandum and issues
                    regarding Solomon's presence on memorandum.
01/24/2013   AMP    Revise privilege log entry for Marple                 L320     0.20 hrs
                    memorandum.

01/24/2013   AMP    Review research in database regarding treatment of    L320     0.30 hrs
                    other versions of Marple memorandum.

01/24/2013   AMP    Attention to status of privilege logs for Cerberus'   L320     0.50 hrs
                    December 5 and December 12 productions.

01/24/2013   AMP    E-mails with Mr. Barthel and Mr. Phillips             L320     0.20 hrs
                    regarding privilege logs for Cerberus' December 5
                    and December 12 productions.
01/24/2013   AMP    Attention to Marple memorandum log entries.           L320     0.50 hrs


01/24/2013   AMP    E-mails with Ms. Battle and Mr. Molnar regarding      L320     0.30 hrs
                    Marple memorandum log entries and basis for
                    common interest assertion.
01/24/2013   AMP    Revise privilege log entry for Marple                 L320     0.70 hrs
                    memorandum and circulate to Morrison & Foerster
                    team.
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01/24/2013   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)       L320     0.30 hrs
                    regarding status of review of 1800 Lazard
                    documents.
01/24/2013   AMP    Attention to review of 1800 Lazard documents.         L320     0.90 hrs


01/24/2013   JAL    Conference with Mr. Beck regarding preparation        L120     3.30 hrs
                    for upcoming examiner interviews. (.10) Meeting
                    with Mr. Sechler, Mr. Beck, Mr. Corcoran and Ms.
                    Mohler regarding key issues for upcoming
                    interviews. (1.20) Review and redraft preparation
                    outline for Mr. Cancelliere (1.1). Conference with
                    Mr. Beck regarding revising same (.10). Review
                    and respond to e-mails regarding interview
                    schedule and preparation coverage (.10). Review
                    and redraft case outline (.50). Conference with Mr.
                    Beck regarding revisions to same (.20).
01/24/2013   VLS    Monitor review status of document review team.        L320     1.60 hrs


01/24/2013   VLS    Assignment of document review batches to              L320     0.80 hrs
                    document review team members.

01/24/2013   VLS    Update document review status chart.                  L320     1.00 hrs


01/24/2013   VLS    Monitor review status of document review quality      L320     1.40 hrs
                    control team.

01/24/2013   VLS    Assignment of document review quality control         L320     0.70 hrs
                    batches to quality control team members.

01/24/2013   VLS    Update document review quality control status         L320     1.10 hrs
                    charts.

01/24/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding     L320     0.40 hrs
                    additional documents to image.

01/24/2013   VLS    Telephone conference with Mr. Shipler at DTI          L320     0.40 hrs
                    regarding document imaging.

01/24/2013   JES    Review materials in preparation for upcoming          L120     8.00 hrs
                    Examiner interviews. (6.00) Conference with Mr.
                    Lipps, Mr. Beck, Mr. Corcoran and Ms. Mohler
                    regarding strategy. (1.30) Conference with Mr.
                    Corcoran regarding strategy for upcoming
                    interviews. (.70)
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01/24/2013   RBS    Prepare notebook of Mr. Abreu interview exhibits     L310     1.00 hrs
                    for Mr. Lipps.

01/24/2013   RBS    Obtain additional support documents for UCC          L310     1.50 hrs
                    presentation to go into notebooks for Mr. Beck.

01/24/2013   RBS    Prepare master set of UCC presentation and           L310     2.30 hrs
                    corresponding documentation notebook for Mr.
                    Beck.
01/24/2013   TKI    Review e-mail documents for quality control          L120     2.90 hrs
                    purposes for Dondzilla 026 batch.

01/24/2013   JALB   Review materials for Examiner interview              L330     1.20 hrs
                    preparation meeting for Mr. Giertz.

01/24/2013   JALB   Attend preparation meeting with Mr. Giertz           L330     2.70 hrs
                    (former Residential Capital), Mr. Illovsky and Mr.
                    Day (Morrison & Foerster).
01/24/2013   JALB   Meet with Mr. Illovsky and Mr. Day (Morrison &       L120     0.40 hrs
                    Foerster) regarding coordination of outreach to
                    new list of former employee witnesses.
01/24/2013   JALB   Outreach to former employee witnesses regarding      L330     0.80 hrs
                    Examiner request for interview.

01/24/2013   JALB   Correspondence with Ms. Whitfield regarding          L120     0.30 hrs
                    consistency of privilege log entries for clawback
                    materials.
01/24/2013   JALB   Correspondence with internal Carpenter Lipps &       L120     0.40 hrs
                    Leland team regarding Examiner interview
                    preparation materials.
01/24/2013   DJB    Perform second level quality check of documents      L120     7.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/24/2013   DJB    Format privilege law, indicating specific reasons    L120     7.10 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/24/2013   MMM    Review documents and continue drafting outline       L120     6.70 hrs
                    for Mr. Casey's Examiner interview.
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01/24/2013   MMM    Conference with Mr. Lipps, Mr. Beck, Mr. Sechler,    L120     1.40 hrs
                    Mr. Corcoran, and Mr. Rhode regarding interview
                    preparation binders, outlines and process for next
                    set of interviews. (1.10) Research regarding
                    themes for upcoming interviews. (.30)
01/24/2013   DAB    Communicate with Mr. Rhode regarding revisions       L120     0.20 hrs
                    to Cancelliere preparation outline.

01/24/2013   DAB    Conference with Mr. Lipps regarding preparations     L120     0.10 hrs
                    for upcoming examiner interviews.

01/24/2013   DAB    Conference with Mr. Sechler, Mr. Corcoran and        L120     0.10 hrs
                    Ms. Mohler regarding research needed on
                    upcoming witnesses.
01/24/2013   DAB    Meeting with Mr. Lipps, Mr. Sechler, Mr.             L120     1.20 hrs
                    Corcoran and Ms. Mohler regarding issues for
                    upcoming witness interviews and themes examiner
                    is pursuing in interviews.
01/24/2013   DAB    Meeting with Mr. Corcoran and Mr. Sechler            L120     0.80 hrs
                    regarding key issues for upcoming examiner
                    witnesses and additional research which needs to
                    be conducted.
01/24/2013   DAB    E-mail with Ms. Battle regarding preparation team    L120     0.10 hrs
                    assignments for upcoming examiner interviews.

01/24/2013   DAB    Draft e-mail to Mr. Sechler, Ms. Mohler and Mr.      L120     0.30 hrs
                    Corcoran regarding UCC position on claims
                    against Ally.
01/24/2013   DAB    Conference with Ms. Mohler regarding issues on       L120     0.40 hrs
                    examiner interview of Mr. Casey.

01/24/2013   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.30 hrs
                    regarding likely examiner topics for Mr.
                    Cancelliere.
01/24/2013   DAB    Analyze examiner provided topics and prep            L330     0.50 hrs
                    materials for interview of Mr. Cancelliere.

01/24/2013   DAB    Review and comment on draft Cancelliere outline.     L120     1.10 hrs


01/24/2013   JRC    Conference with Mr. Lipps, Ms. Mohler, Mr.           L120     0.90 hrs
                    Sechler, and Mr. Beck regarding preparation
                    materials for newly identified examiner witnesses.
01/24/2013   JRC    Conference with Mr. Beck and Mr. Sechler             L120     0.60 hrs
                    regarding issues addressed in previous examiner
                    interviews.
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01/24/2013   JRC    Review exhibits previously marked in examiner        L420     0.90 hrs
                    interviews in order to prepare materials for newly
                    identified examiner witnesses.
01/24/2013   JRC    Review documents in litigation databases in order    L320     3.70 hrs
                    to draft memoranda analyzing newly identified
                    examiner witnesses.
01/24/2013   JRC    Review deposition transcripts for newly identified   L330     1.60 hrs
                    examiner witnesses in order to draft memoranda
                    analyzing the witnesses.
01/24/2013   JDR    Draft correspondence to Mr. Serrano (Morrison &      L120     0.10 hrs
                    Foerster) regarding Mr. Cancelliere's Examiner
                    interview preparation.
01/24/2013   JDR    Draft correspondence to Mr. Serrano (Morrison &      L120     0.10 hrs
                    Foerster) regarding Mr. Cancelliere's Examiner
                    interview preparation.
01/24/2013   JDR    Draft outline in preparation for Mr. Cancelliere's   L420     2.00 hrs
                    interview related to likely areas of inquiry.

01/24/2013   JDR    Revise Mr. Cancelliere's preparation outline.        L420     0.50 hrs


01/24/2013   JDR    Compile notebooks of exhibits for Mr.                L420     2.70 hrs
                    Cancelliere's examiner interview preparation.

01/24/2013   JDR    Prepare documents and outline for Mr.                L420     2.00 hrs
                    Cancelliere's Examiner witness interview.

01/24/2013   JDR    Revise Mr. Cancelliere's preparation outline with    L420     0.70 hrs
                    comments and strategy from Mr. Serrano.

01/24/2013   SP     Review documents marked as privileged and            L320     1.10 hrs
                    provide descriptions for Cerberus privilege log.

01/24/2013   SP     Communicate with team regarding review of            L320     0.80 hrs
                    documents relating to Cerberus.

01/24/2013   GNM    Telephone communications with Ms. Wafalosky          L120     0.10 hrs
                    (Robert Half Legal) regarding termination of
                    project and retention of preferred reviewers.
01/24/2013   GNM    Drafting and sending e-mail to Ms. Klun (Lumen       L120     0.30 hrs
                    Legal) regarding termination of project and
                    retention of contract quality control team.
01/24/2013   GNM    Working in Discovery Partner gathering Pohl          L320     3.10 hrs
                    documents for witness preparation.

01/24/2013   GNM    E-mail communications with Mr. Shipler (DTI)         L120     0.30 hrs
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                    regarding non email data to be loaded and
                    reviewed.
01/24/2013   GNM    E-mail communications with Support at DTI            L120     0.20 hrs
                    regarding Phase 3 subproject annotation pane.

01/24/2013   GNM    Working in Cerberus database configuring data for    L320     0.50 hrs
                    production.

01/24/2013   GNM    Working in Phase 3 Subproject configuring data       L320     0.60 hrs
                    for review.

01/24/2013   GNM    Meeting with Ms. Sholl regarding production          L120     0.30 hrs
                    deadline.

01/24/2013   GNM    E-mail communications with contract review team      L120     0.40 hrs
                    regarding production deadline.

01/24/2013   GNM    Meeting with Ms. Paul-Whitfield regarding Lazard     L120     0.70 hrs
                    data.

01/24/2013   GNM    E-mail communication with Ms. Paul-Whitfield         L120     0.10 hrs
                    regarding privilege coding.

01/24/2013   GNM    Telephone communication with Ms.                     L120     0.10 hrs
                    Paul-Whitfield regarding privilege coding.

01/24/2013   AJM    Quality control review of documents withheld         L320     3.60 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/24/2013   AJM    Draft privilege log for documents produced in        L310     5.70 hrs
                    response to Examiner document requests, set
                    116/117.
01/24/2013   HLB    Complete quality control feedback form for batch     L120     0.40 hrs
                    Legacy Custodian.008 per quality control protocol.

01/24/2013   HLB    Perform quality control review of batch              L120     9.20 hrs
                    Hamzehpour Non-Email.002 per quality control
                    protocol.
01/24/2013   AEG    Post-Coding quality checks for Dondzilla batch 23    L140     1.30 hrs
                    for ResCap bankruptcy.

01/25/2013   AMP    Prepare spreadsheet regarding encrypted              L320     0.70 hrs
                    documents.

01/25/2013   AMP    E-mails with Mr. Phillips and Mr. Brown              L320     0.20 hrs
                    (Morrison & Foerster) regarding Lazard encrypted
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                    documents, phase 1.
01/25/2013   AMP    E-mails with Morrison & Foerster regarding             L320     0.70 hrs
                    Marple memorandum privilege log entry.

01/25/2013   AMP    Attention to clawback request.                         L320     0.30 hrs


01/25/2013   AMP    E-mails with Ms. Chinn (reviewer) regarding            L320     0.20 hrs
                    Lazard documents.

01/25/2013   AMP    Attention to encrypted documents.                      L320     0.40 hrs


01/25/2013   AMP    Attention to wave 2 of Lazard's encrypted              L320     0.50 hrs
                    documents and reviewing same.

01/25/2013   AMP    Telephone conference with Mr. Brown (Morrison          L320     0.30 hrs
                    & Foerster) regarding Lazard documents.

01/25/2013   AMP    Attention to privilege and professional eyes only      L320     1.20 hrs
                    review of Lazard's documents to respond to
                    Chadbourne's e-mail regarding encrypted
                    documents.
01/25/2013   AMP    Draft summary to Mr. Brown (Morrison &                 L320     0.40 hrs
                    Foerster) regarding privilege or professional eyes
                    only status of encrypted documents.
01/25/2013   AMP    Review e-mails from Mr. Harris (Morrison &             L320     0.30 hrs
                    Foerster) regarding privilege status of tax
                    allocation agreements.
01/25/2013   JAL    Participate on conference call with FTI and Ms.        L120     6.80 hrs
                    Battle to discuss presentation regarding ResCap
                    securitizations (.70). Call with Ms. Battle
                    regarding examiner preparation. (.50) Conference
                    to discuss Mr. Cancelliere's preparation materials
                    and supplemental outline (1.0). Review and revise
                    securitization presentation slides (.80). Revise Mr.
                    Cancelliere's outline (1.0). Review analysis of
                    backgrounds of additional witnesses examiner
                    seeks to interview (.70). Review and respond to
                    e-mails regarding examiner interviews and
                    preparation coverage (.30). Review Morrison
                    Foerster's preparation outline for Mr. Cancelliere
                    (.70). Conference with Mr. Rhode regarding issues
                    for examiner interview of Mr. Cancelliere. (.20)
                    Review e-mail reports on Mr. Giertz interview
                    (.20). Review and redraft supplemental outline for
                    Mr. Cancelliere (.70).
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01/25/2013   VLS    Monitor review status of document review team.         L320     1.40 hrs


01/25/2013   VLS    Assignment of document review batches to               L320     0.80 hrs
                    document review team members.

01/25/2013   VLS    Update document review status chart.                   L320     1.10 hrs


01/25/2013   VLS    Monitor review status of document review quality       L320     0.60 hrs
                    control team.

01/25/2013   VLS    Assignment of document review quality control          L320     0.40 hrs
                    batches to quality control team members.

01/25/2013   VLS    Update document review quality control status          L320     0.80 hrs
                    charts.

01/25/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding      L320     0.40 hrs
                    additional documents to be imaged.

01/25/2013   VLS    E-mail with document review team members               L320     0.20 hrs
                    regarding status of requested document images.

01/25/2013   VLS    E-mail exchange with document reviewer Mr.             L320     0.30 hrs
                    Hickey regarding document with numerous
                    attachments.
01/25/2013   JES    Prepare for and attend meeting in its preparation      L120     2.00 hrs
                    team for upcoming Examiner interviews. (1.20)
                    Review documents related to same. (.90)
01/25/2013   RBS    Prepare additional sets of UCC presentation            L310     2.60 hrs
                    notebooks to distribute for Mr. Beck.

01/25/2013   RBS    Draft index of support documents for UCC               L310     1.50 hrs
                    presentation notebooks for Mr. Beck.

01/25/2013   RBS    Upload Mr. Cancelliere interview preparation kit to    L310     0.30 hrs
                    Sharepoin for Mr. Beck.

01/25/2013   RBS    Prepare Morrison Foerster bank memo notebooks          L310     2.10 hrs
                    for Mr. Beck.

01/25/2013   RBS    Prepare alphabetical and chronological                 L310     0.30 hrs
                    spreadsheets of interview exhibits to distribute for
                    Mr. Beck.
01/25/2013   TKI    Review e-mail documents for quality control            L120     0.70 hrs
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                    purposes for Dondzilla 026 batch.

01/25/2013   JALB   Prepare for and attend interview of Mr. Giertz       L330     4.20 hrs
                    (former Residential Capital).

01/25/2013   JALB   Prepare notes of interview of Mr. Giertz (former     L330     1.10 hrs
                    Residential Capital).

01/25/2013   JALB   Telephone conference with Mr. Renzi and Mr.          L120     0.70 hrs
                    McDonald (FTI), and Mr. Lipps, regarding
                    background on securitization process per Mesirow
                    request.
01/25/2013   JALB   Follow-up outreach to new requested former           L330     0.50 hrs
                    employee witnesses.

01/25/2013   JALB   Correspondence with Mr. Sechler, Mr. Beck and        L120     0.80 hrs
                    Mr. Lipps regarding Examiner preparation.

01/25/2013   JALB   Telephone conference with Mr. Lipps regarding        L120     0.50 hrs
                    Examiner preparation.

01/25/2013   JALB   Begin collecting material for updated slides on      L330     0.40 hrs
                    securitization process (per Mr. Renzi's (FTI's)
                    request).
01/25/2013   DJB    Perform second level quality check of documents      L120     6.80 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/25/2013   DJB    Format privilege law, indicating specific reasons    L120     7.90 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/25/2013   MMM    Attend conference with Mr Lipps, Mr. Sechler, Mr.    L120     1.40 hrs
                    Beck, Mr. Corcoran, and Mr. Rhode regarding next
                    set of interviews to be scheduled and divide up
                    responsibility for preparation notebooks.
01/25/2013   DAB    Conference with Mr. Samson regarding backup          L120     0.20 hrs
                    materials for Kramer Levin presentation on claims.

01/25/2013   DAB    Research additional preparation materials for        L330     0.70 hrs
                    examiner interview of Mr. Pohl.
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01/25/2013   DAB    Conference with Mr. Lipps and Mr. Rhode               L120     1.00 hrs
                    regarding additional issues for interview of Mr.
                    Cancelliere.
01/25/2013   DAB    Communicate with Mr. Rhode regarding additional       L120     0.20 hrs
                    preparation materials for interview of Mr.
                    Cancelliere.
01/25/2013   DAB    Research additional materials on historical           L330     2.60 hrs
                    repurchase issues for examiner interview of Mr.
                    Cancelliere.
01/25/2013   DAB    Draft supplemental outline for preparation of Mr.     L330     1.20 hrs
                    Cancelliere.

01/25/2013   DAB    Meeting with Mr. Lipps, Mr. Sechler, Mr.              L120     1.10 hrs
                    Corcoran, Mr. Rhode and Ms. Mohler regarding
                    examiner issues for additional February witnesses
                    and related work assignments.
01/25/2013   JRC    Conference with Mr. Lipps, Mr. Sechler, Mr. Beck,     L120     0.90 hrs
                    Mr. Rhode, and Ms. Moeller regarding witness
                    preparation for newly identified examiner
                    witnesses.
01/25/2013   JRC    Review documents in Discovery Partner in order to     L320     0.80 hrs
                    locate examiner interview preparation materials for
                    Ms. Battle.
01/25/2013   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    examiner interview preparation materials.

01/25/2013   JRC    Review documents in litigation databases in order     L320     2.40 hrs
                    to draft memoranda analyzing newly identified
                    examiner witnesses.
01/25/2013   JRC    Draft memoranda analyzing newly identified            L210     0.90 hrs
                    examiner witnesses.

01/25/2013   JRC    Review memoranda from previous examiner               L420     1.60 hrs
                    interviews in order to prepare examiner interview
                    materials for upcoming witnesses.
01/25/2013   JRC    Review examiner submissions on third-party            L420     0.40 hrs
                    releases in order to prepare for newly identified
                    examiner interviews.
01/25/2013   JDR    Revise preparation outline for Mr. Cancelliere's      L420     0.50 hrs
                    Examiner interview with comments and strategy
                    from Mr. Beck.
01/25/2013   JDR    Draft correspondence to Mr. Lipps, Ms. Battle, and    L120     0.10 hrs
                    Mr. Beck regarding Mr. Cancelliere's Examiner
                    interview preparation.
01/25/2013   JDR    Review discovery produced and revise exhibits and     L320     1.90 hrs
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                    outline for upcoming Mr. Cancelliere's Examiner
                    interview preparation session.
01/25/2013   JDR    Conference with Mr. Lipps regarding Mr.                 L120     0.40 hrs
                    Cancelliere's Examiner interview preparation.

01/25/2013   JDR    Conference with Mr. Lipps and Mr. Beck                  L120     1.00 hrs
                    regarding Mr. Cancelliere's interview preparation.

01/25/2013   JDR    Revise Mr. Cancelliere's preparation outline with       L420     0.80 hrs
                    comments and strategy from Mr. Lipps.

01/25/2013   JDR    Review documents produced to create                     L320     2.30 hrs
                    supplemental exhibits and outline for Mr.
                    Cancelliere's Examiner interview preparation.
01/25/2013   JDR    Draft memorandum to Mr. Beck regarding timeline         L210     0.50 hrs
                    of exhibits and roles of Mr. Cancelliere to assist in
                    supplemental outline and exhibits.
01/25/2013   JDR    Conference with Mr. Lipps regarding upcoming            L420     1.00 hrs
                    Examiner interview preparation strategy and
                    designated witnesses.
01/25/2013   JDR    Prepare notebook with materials for upcoming            L420     0.20 hrs
                    designated Examiner interview diligence.

01/25/2013   SP     Review documents marked as privileged and               L320     3.40 hrs
                    provide descriptions for Cerberus privilege log.

01/25/2013   SP     Confer with Mr. Sechler regarding issues relating       L120     0.40 hrs
                    to the board meeting materials.

01/25/2013   SP     Review documents relating to Lazard in Relativity       L320     1.90 hrs
                    for privilege determinations and confidentiality
                    designations
01/25/2013   GNM    Drafting and sending e-mail communications to           L120     0.20 hrs
                    Mr. Underhill (Residential Capital) regarding
                    Novatus data.
01/25/2013   GNM    Drafting and sending e-mail communications to           L120     0.50 hrs
                    Ms. Tice (Morrison & Foerster) regarding release
                    of productions EXAM301/302.
01/25/2013   GNM    Formatting master cross reference to be sent to         L320     3.00 hrs
                    Chadbourne with clawback letter.

01/25/2013   GNM    Editing cover e-mail to be sent to Chadbourne with      L120     0.40 hrs
                    clawback cross reference.

01/25/2013   GNM    Updating production tracking chart.                     L320     1.90 hrs
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01/25/2013   GNM    Performing quality control checks on production       L320     0.70 hrs
                    EXAM301/302.

01/25/2013   GNM    Meeting with Mr. Phillips regarding Board             L120     0.30 hrs
                    Materials previously produced.

01/25/2013   GNM    Telephone communications with Mr. Shipler (DTI)       L120     0.50 hrs
                    regarding data received on October 17.

01/25/2013   GNM    Working in Relativity database running analytics      L320     0.70 hrs
                    on Lazard data at request of Ms. Paul-Whitfield.

01/25/2013   AJM    Quality control review of documents withheld          L310     1.80 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/25/2013   AJM    Draft privilege log for documents produced in         L310     4.30 hrs
                    response to Examiner document requests, set
                    116/117.
01/25/2013   AJM    Draft privilege log for versions of 4/20/2006 Maple   L310     1.30 hrs
                    memorandum inadvertently produced to the
                    Examiner.
01/25/2013   SCM    Complete and transmit to Ms. Marty feedback           L320     0.20 hrs
                    forms regarding quality control document review
                    sets.
01/25/2013   AEG    Post-Coding quality checks for ResCap                 L140     1.00 hrs
                    bankruptcy.

01/26/2013   AMP    Attention to Cerberus logs for productions            L320     1.30 hrs
                    December 5 and December 12.

01/26/2013   AMP    E-mail with Cerberus' counsel regarding Cerberus      L320     0.20 hrs
                    logs for productions December 5 and December
                    12.
01/26/2013   AMP    Attention to privilege log for production 114/115.    L320     1.60 hrs


01/26/2013   AMP    Attention to wave 2 of Lazard potentially             L320     0.40 hrs
                    privileged, encrypted documents.

01/26/2013   AMP    E-mails to Mr. Brown (Morrison & Foerster)            L320     0.20 hrs
                    regarding wave 2 of Lazard potentially privileged,
                    encrypted documents.
01/26/2013   JAL    Review and redraft Mr. Cancelliare's preparation      L120     4.00 hrs
                    outline (.50). Review Mr. Cancelliare's documents
                    to prepare for examiner interview (1.1). Review
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                    Mr. Casey's documents (2.0). Review e-mails
                    from Mr. Beck regarding same (.20). Review
                    e-mails regarding Mr. Pohl's interview (.20).
01/26/2013   JES    Review Blitzer deposition transcript in preparation   L330     4.00 hrs
                    for drafting outline for upcoming Examiner
                    interview.
01/26/2013   MMM    Continue to review documents and draft                L120     4.00 hrs
                    preparation outline for Mr. Casey's Examiner
                    interview.
01/26/2013   DAB    Multiple e-mails with Mr. Lipps regarding issues      L120     0.30 hrs
                    for examiner interview of Mr. Casey.

01/26/2013   DAB    Conference with Mr. Lipps regarding additional        L120     0.10 hrs
                    research needed for examiner interview of Mr.
                    Casey.
01/26/2013   DAB    Multiple e-mails with Ms. Mohler regarding            L120     0.20 hrs
                    additional research needed for examiner interview
                    of Mr. Casey.
01/26/2013   DAB    Research discovery materials for items relevant to    L330     1.80 hrs
                    interview of Mr. Pohl.

01/26/2013   SP     Review documents marked as privileged and             L320     0.50 hrs
                    provide descriptions for Cerberus privilege log.

01/26/2013   GNM    Working in Discovery Partner database redacting       L320     0.50 hrs
                    items for production.

01/26/2013   AJM    Draft privilege log for documents produced in         L310     0.70 hrs
                    response to Examiner document requests, set
                    116/117.
01/27/2013   JAL    Review and redraft Mr. Casey's preparation outline    L120     6.50 hrs
                    (.90). Review Mr. Casey's documents to prepare
                    for examiner interview (2.5). Review Mr.
                    Cancelliere's 9019 deposition transcript (2.0).
                    Review Mr. Cancelliere's documents compiled by
                    Morrison Foerster from additional databases (.90).
                    Review e-mails regarding Mr. Lazard's production
                    and Mr. Pohl's preparation (.20).
01/27/2013   VLS    Update quality control document review status         L320     0.40 hrs
                    chart.

01/27/2013   VLS    Monitor review status of final clean-up batches in    L320     0.40 hrs
                    order to comply with January 31st production
                    deadline.
01/27/2013   VLS    E-mail exchange with Ms. Marty regarding status       L320     0.30 hrs
                    of Phase 3 first level review and Phase 2 quality
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                    control review.
01/27/2013   JES    Complete review of Blitzer deposition transcript.     L120     1.50 hrs


01/27/2013   DAB    Research discovery materials for items relevant to    L330     6.20 hrs
                    interview of Mr. Pohl.

01/27/2013   DAB    E-mail Mr. Day (Morrison & Foerster) regarding        L120     0.30 hrs
                    questions regarding Lazard document production.

01/27/2013   DAB    Draft analysis on additional materials for examiner   L330     2.90 hrs
                    interview of Mr. Pohl.

01/27/2013   DAB    Communicate with Ms. Levitt (Morrison &               L120     0.10 hrs
                    Foerster) regarding UCC presentation on claims
                    against Ally.
01/27/2013   JRC    Review and analyze documents in Discovery             L320     0.70 hrs
                    Partner in order to locate materials for Lazard
                    examiner witnesses.
01/27/2013   JRC    Review, analyze, and summarize deposition             L330     5.70 hrs
                    transcript of Mr. Scholtz in order to prepare his
                    examiner interview materials.
01/27/2013   SP     Review documents marked as privileged and             L320     0.80 hrs
                    provide descriptions for Cerberus privilege log.

01/27/2013   SP     Communicate with contract reviewer and Ms.            L320     0.70 hrs
                    Marty regarding review of Cerberus documents.

01/27/2013   GNM    Working in Discovery Partner database performing      L320     2.10 hrs
                    second level review on Olson2 025 batch as
                    outlined in the Quality Control Protocol.
01/27/2013   GNM    Working in Discovery Partner database performing      L320     0.60 hrs
                    quality control checks on production set P3
                    1-26-13.
01/27/2013   GNM    Working in Discovery Partner database performing      L320     0.60 hrs
                    quality control checks on production set 1-28-13.

01/27/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set P3
                    1-26-13.
01/27/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Shipler (DTI) releasing production set
                    1-28-13.
01/27/2013   GNM    Drafting Phase 3 Quality Control Protocol.            L320     0.80 hrs
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01/27/2013   AJM    Quality control review of documents withheld           L310     0.60 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/27/2013   AJM    Draft privilege log for documents produced in          L310     1.30 hrs
                    response to Examiner document requests, set
                    116/117.
01/27/2013   AEG    Post-Coding quality checks for Redmond batch 9         L140     4.00 hrs
                    for ResCap bankruptcy.

01/28/2013   AMP    Review e-mails from Cerberus' counsel regarding        L320     1.00 hrs
                    Ally's draft addition to supplemental privilege log.

01/28/2013   AMP    Attention to Lazard 19 additional encrypted            L320     0.80 hrs
                    documents.

01/28/2013   AMP    Review e-mails regarding Lazard 19 additional          L320     0.30 hrs
                    encrypted documents.

01/28/2013   AMP    Determine privilege treatment of Lazard 19             L320     0.40 hrs
                    additional encrypted documents.

01/28/2013   AMP    E-mails with Ms. Battle regarding Bryan Cave           L120     0.20 hrs
                    attorneys involved for litigation hold purposes.

01/28/2013   AMP    Attention to completing December 5 privilege log.      L320     0.40 hrs


01/28/2013   AMP    E-mails to Kirkland & Ellis and Cerberus' counsel      L320     0.20 hrs
                    regarding December 5 privilege log.

01/28/2013   AMP    Attention to clawback request of Marple                L320     1.10 hrs
                    memorandum and response of Examiner's counsel.

01/28/2013   AMP    Multiple e-mails with Morrison & Foerster team         L320     0.40 hrs
                    regarding clawback request of Marple
                    memorandum and response of Examiner's counsel.
01/28/2013   AMP    Attention to GSE issues.                               L320     0.30 hrs


01/28/2013   AMP    E-mails with Ms. Marty regarding GSE issues.           L320     0.20 hrs


01/28/2013   AMP    Prepare privilege log for production 110/111 for       L320     1.00 hrs
                    production know that GSE issue resolved.

01/28/2013   AMP    Prepare privilege log for production 112/113 for       L320     1.10 hrs
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                    production now that GSE issue resolved.

01/28/2013   JAL    Review Mr. Cancelliere's documents to prepare for    L120     7.70 hrs
                    examiner interview (.50). Conference with Ms.
                    Levitt (Morrison & Foerster) and Mr. Cancelliere
                    to prepare for examiner interview (5.6). Telephone
                    conference with Ms. Battle, Mr. Renzi (FTI) and
                    Mr. McDonald to discuss securitization process
                    (.70). Review and respond to e-mails regarding
                    interview schedule and preparation coverage (.20).
                    Review Mr. Casey's outline and documents (.20).
                    Reviews e-mails regarding Mr. Pohl's materials
                    and preparation coverage (.20). Review and
                    respond to e-mails regarding scope of swap (.30).
01/28/2013   VLS    Multiple e-mail exchanges with Mr. Shipler at DTI    L320     0.60 hrs
                    regarding documents to be imaged.

01/28/2013   VLS    E-mail exchange with document reviewer, Mr.          L320     0.20 hrs
                    Ritzler, regarding finalizing last batch review.

01/28/2013   VLS    Multiple e-mail exchanges with Ms. Marty             L320     0.60 hrs
                    regarding status of Phase 2 quality control
                    document review and Phase 3 first level document
                    review.
01/28/2013   VLS    Update chart of document review quality control      L320     0.70 hrs
                    team members.

01/28/2013   VLS    E-mail exchange with Mr. Bennett in IT regarding     L320     0.30 hrs
                    changes to group e-mail list for quality control
                    team members.
01/28/2013   VLS    E-mail exchanges with Mr. Shipler at DTI             L320     0.30 hrs
                    regarding additional user to Discovery Partner
                    database.
01/28/2013   JES    E-mail Ms. Battle regarding assignments for final    L120     0.50 hrs
                    phase of Examiner interviews.

01/28/2013   RBS    Download Mr. Smith interview exhibits to U-Drive     L310     0.20 hrs
                    for Mr. Beck.

01/28/2013   RBS    Update UCC presentation notebooks with               L310     1.20 hrs
                    additional and corrected materials for Mr. Beck.

01/28/2013   JALB   Discussion with Mr. Corcoran regarding Scholtz       L120     0.20 hrs
                    preparation materials.

01/28/2013   JALB   Participate in client weekly update call on          L120     0.30 hrs
                    litigation, document retention, and
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                    transition/separation issues.
01/28/2013   JALB   Discussion with Mr. Brown (Morrison & Foerster)       L120     0.30 hrs
                    regarding status of documentation collection and
                    production.
01/28/2013   JALB   Follow-up with Ms. Marty regarding privilege          L120     0.30 hrs
                    review.

01/28/2013   JALB   Attention to witness interview scheduling and         L330     0.40 hrs
                    retention issues.

01/28/2013   JALB   Revise slides regarding securitization overview for   L120     0.80 hrs
                    Mesirow.

01/28/2013   DJB    Perform second level quality check of documents       L120     7.40 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/28/2013   DJB    Format privilege law, indicating specific reasons     L120     5.90 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/28/2013   MMM    Continue to review documents and draft outline for    L120     7.70 hrs
                    Mr. Casey's Examiner interview. (7.20) Multiple
                    conferences with Mr. Beck regarding same. (.50)
01/28/2013   DAB    Conference with Ms. Mohler regarding examiner         L120     0.10 hrs
                    preparation outline for Mr. Casey.

01/28/2013   DAB    Multiple conferences with Ms. Mohler regarding        L120     0.40 hrs
                    additional financial analysis needed for examiner
                    interview of Mr. Casey.
01/28/2013   DAB    Multiple e-mails with Ms. Mohler regarding issues     L120     0.30 hrs
                    relating to preparation outlines for examiner
                    interview of Mr. Casey.
01/28/2013   DAB    Review and comment on outline for examiner            L330     0.60 hrs
                    interview of Mr. Casey.

01/28/2013   DAB    Communicate with Mr. Samson regarding backup          L120     0.10 hrs
                    materials for UCC presentation on claims against
                    Ally.
01/28/2013   DAB    Communicate with Ms. Vasiliu (Morrison &              L120     0.10 hrs
                    Foerster) regarding supporting information for
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                    UCC presentation on claims against Ally.
01/28/2013   DAB    Communicate with Mr. Corcoran regarding                 L120     0.20 hrs
                    research needed on recent decisions in MBIA v.
                    Credit Suisse case.
01/28/2013   DAB    Draft analysis regarding additional materials for       L330     4.40 hrs
                    examiner interview preparation for Mr. Pohl.

01/28/2013   DAB    Communicate with Mr. Corcoran regarding                 L120     0.20 hrs
                    additional materials needed related to Mr. Pohl.

01/28/2013   DAB    Comment on supplemental materials for examiner          L120     0.80 hrs
                    interview of Mr. Casey.

01/28/2013   DAB    E-mails with Ms. Levitt (Morrison & Foerster) and       L120     0.30 hrs
                    Mr. Lipps regarding issues related to loan
                    purchases from Ally bank.
01/28/2013   JRC    Conference with Mr. Beck regarding examiner             L120     0.10 hrs
                    preparation materials for Lazard witnesses.

01/28/2013   JRC    Review and analyze documents in Discovery               L320     1.60 hrs
                    Partner in order to locate materials relevant to the
                    examiner's interview of Lazard witnesses.
01/28/2013   JRC    Review, analyze, and summarize deposition               L330     4.10 hrs
                    transcript of Ms. Lundsten in order to prepare
                    examiner interview materials.
01/28/2013   JRC    Review, analyze, and summarize deposition               L330     2.60 hrs
                    transcript of Mr. Scholtz in order to prepare his
                    examiner interview materials. (2.40) Conference
                    with Ms. Battle regarding same. (.20)
01/28/2013   JRC    Review and analyze examiner submissions on              L320     0.90 hrs
                    third-party releases in order to prepare examiner
                    materials for newly identified witnesses.
01/28/2013   JDR    Review claims presentation by Kramer Levin and          L320     1.60 hrs
                    discovery documents produced in preparation for
                    examiner witness diligence.
01/28/2013   SP     Review documents marked as privileged and               L320     8.30 hrs
                    provide descriptions for Cerberus privilege log.

01/28/2013   SP     Review and revise Cerberus privilege log to             L320     3.60 hrs
                    account for affiliation of the senders and recipients
                    of the e-mails, documents that are only partially
                    privilege, and other issues.
01/28/2013   GNM    Drafting and editing Phase 3 Quality Control            L320     2.00 hrs
                    Protocol.
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01/28/2013   GNM    Drafting and sending e-mails to quality control      L120     0.60 hrs
                    team regarding status and production deadline.

01/28/2013   GNM    Telephone communications with Mr. Salerno, Mr.       L120     0.50 hrs
                    Brown, and Mr. Day (Morrison & Foerster)
                    regarding subservicing replacement.
01/28/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.10 hrs
                    & Foerster) regarding EXAM00233957.

01/28/2013   GNM    Quality Control training.                            L320     0.70 hrs


01/28/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Chinn and Ms. Searls (Contract Quality
                    Control Team) regarding review of potentially
                    privileged documents from Morrison Cohen.
01/28/2013   GNM    Drafting and sending Phase 3 Quality Control         L320     0.60 hrs
                    instructions to quality control team.

01/28/2013   GNM    Working in Discovery Partner database performing     L320     1.10 hrs
                    quality control on production set 1-29-13.

01/28/2013   GNM    Reviewing potentially privileged items from          L320     2.10 hrs
                    Morrison Cohen.

01/28/2013   GNM    Working in Discovery Partner performing quality      L320     0.60 hrs
                    control checks on EXAM140/141.

01/28/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Tice (Morrison & Foerster) regarding release
                    of productions EXAM140/141.
01/28/2013   GNM    Working in Cerberus database configuring data for    L320     3.60 hrs
                    production.

01/28/2013   AJM    Identify instances where Bryan Cave attorneys        L310     0.30 hrs
                    appear on Examiner privilege logs drafted to date.

01/28/2013   AJM    Quality control review of documents withheld         L310     0.60 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/28/2013   AJM    Draft privilege log for documents produced in        L310     2.60 hrs
                    response to Examiner document requests, set
                    116/117.
01/28/2013   SCM    Review of 3rd round quality control protocol.        L320     0.20 hrs
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01/28/2013   SCM    Review of 3rd round quality control review group        L320     0.30 hrs
                    17.

01/28/2013   AEG    Post-Coding quality checks for Redmond batch 9          L140     6.00 hrs
                    and Dondzilla batch 24 for ResCap bankruptcy.

01/28/2013   ABW    E-mail from Ms. Marty regarding phase 3                 L190     0.10 hrs
                    protocols.

01/28/2013   ABW    Review regarding phase 3 protocols.                     L140     0.30 hrs


01/28/2013   LWS    Review regarding quality control for phase 3 for        L140     1.50 hrs
                    ResCap bankruptcy.

01/29/2013   AMP    Attention to finalizing supplement privilege log of     L320     0.40 hrs
                    Cerberus documents involving common interest
                    with ResCap from December 5 production.
01/29/2013   AMP    Multiple e-mails with Kirkland & Ellis and              L320     0.30 hrs
                    Cerberus' counsel regarding finalizing supplement
                    privilege log of Cerberus documents involving
                    common interest with ResCap from December 5
                    production.
01/29/2013   AMP    E-mails with Mr. Phillips regarding finalizing          L320     0.20 hrs
                    supplement privilege log of Cerberus documents
                    involving common interest with ResCap from
                    December 5 production.
01/29/2013   AMP    Attention to resolution of privilege logging staffing   L120     0.30 hrs
                    issues.

01/29/2013   AMP    Conference with Ms. Marty and Ms. Battle                L120     0.40 hrs
                    regarding resolution of privilege logging staffing
                    issues.
01/29/2013   AMP    E-mails with Morrison & Foerster team regarding         L120     0.40 hrs
                    proposed resolution of computer-generated logs.

01/29/2013   JAL    Conference with Mr. Cancelliere and Ms. Levitt          L120     9.00 hrs
                    (Morrison & Foerster) to prepare for examiner
                    interview (1.0). Participate at Mr. Cancelliere's
                    interview (5.5). Review Mr. Casey's documents to
                    prepare for examiner interview (1.3). Review and
                    redraft Mr. Blitzer's preparation outline (.50).
                    Review and respond to e-mails regarding examiner
                    interview schedule and preparation coverage (.10).
                    Review and redraft summaries of third party claims
                    analysis (.20). Communicate with Ms. Battle
                    regarding same (.40).
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01/29/2013   VLS    Research internal database for information              L110     0.80 hrs
                    regarding HE manuals and HELOC product
                    summaries.
01/29/2013   VLS    E-mail exchange with Ms. Battle and Ms. Marty           L110     0.20 hrs
                    regarding HE manuals and HELOC product
                    summaries.
01/29/2013   VLS    Update master spread sheet containing information       L320     1.10 hrs
                    regarding project document reviewers.

01/29/2013   VLS    Preparation of list of contract document reviewers      L320     0.70 hrs
                    to be removed from Discovery Partner database
                    due to completion of first level document review.
01/29/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding       L320     0.30 hrs
                    removal of individuals accounts from Discovery
                    Partner database.
01/29/2013   JES    Draft examiner interview potential topic                L120     3.00 hrs
                    memorandum related to Sandy Blitzer. (2.80)
                    E-mail Mr. Lipps regarding same. (.20)
01/29/2013   RBS    Prepare notebook of Mr. Abreu documents of              L310     1.10 hrs
                    interest for Mr. Lipps.

01/29/2013   JALB   Revise slides on securitization overview.               L120     2.40 hrs


01/29/2013   JALB   Correspondence with Mr. Lipps regarding slides on       L120     0.40 hrs
                    securitization overview.

01/29/2013   JALB   Meet with Ms. Marty regarding status and progress       L120     0.70 hrs
                    of rolling document productions and estimated
                    completion of same.
01/29/2013   JALB   Discussion with Mr. Corcoran regarding                  L120     0.20 hrs
                    preparation for Scholtz witness interview.

01/29/2013   JALB   Prepare file memorandum at request of Ms. Levitt        L120     2.60 hrs
                    (Morrison & Foerster) regarding pre-petition
                    discussion of third party claims.
01/29/2013   JALB   Discussion with Mr. Lipps regarding pre-petition        L120     0.30 hrs
                    discussion of third party claims.

01/29/2013   JALB   Correspondence with quality control team and Mr.        L120     0.70 hrs
                    Lipps regarding staffing and status of project. (.30)
                    Meeting with Ms. Paul-Whitfield and Ms. Marty
                    regarding privilege log staffing issues. (.40)
01/29/2013   DJB    Perform second level quality check of documents         L120     5.60 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
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                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/29/2013   DJB    Format privilege law, indicating specific reasons      L120     6.30 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/29/2013   MMM    Review Kramer Levin presentation on claims             L120     2.00 hrs
                    against Ally/ResCap and memorandum that goes
                    with it to get a better understanding of Examiner's
                    interest.
01/29/2013   MMM    Read Steinhagen MBIA deposition to determine           L120     4.20 hrs
                    possible topics for Examiner interview.

01/29/2013   MMM    Create liquidity chart to show changes over time       L120     1.40 hrs
                    for Mr. Casey's Examiner interview.

01/29/2013   MMM    Review Morrison & Foerster claims presentation to      L120     0.90 hrs
                    understand the potential claims against Ally.

01/29/2013   DAB    Communicate with Mr. MacCardle (Morrison &             L120     0.10 hrs
                    Foerster) regarding preparation materials for
                    interview of Mr. Casey.
01/29/2013   DAB    Communicate with Mr. Samson regarding new              L120     0.20 hrs
                    materials loaded to Sharepoint by Morrison &
                    Foerster.
01/29/2013   DAB    E-mail Ms. Lowenberg (Morrison & Foerster)             L120     0.20 hrs
                    regarding examiner documents related to Mr.
                    Abreu.
01/29/2013   DAB    Communicate with Mr. Day (Morrison & Foerster)         L120     0.10 hrs
                    regarding production of additional materials related
                    to Mr. Marple to examiner.
01/29/2013   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.10 hrs
                    regarding prepetition meeting with Morrison &
                    Foerster on claims.
01/29/2013   DAB    E-mail Ms. Battle regarding structure on GMACM         L120     0.30 hrs
                    deals.

01/29/2013   DAB    Conference with Ms. Mohler regarding cash flow         L120     0.30 hrs
                    and liquidity analysis.
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01/29/2013   DAB    Communicate with Ms. Marty regarding access to       L120     0.20 hrs
                    discovery databases.

01/29/2013   JRC    Conference with Ms. Battle regarding examiner        L120     0.20 hrs
                    interview preparation materials for Ms. Lundsten
                    and Mr. Scholtz.
01/29/2013   JRC    Conference with Ms. Paul-Whitfield regarding         L120     0.10 hrs
                    privilege logs for examiner materials.

01/29/2013   JRC    Review, analyze, and summarize deposition            L330     2.90 hrs
                    transcript of Ms. Lundsten in order to prepare
                    examiner interview materials.
01/29/2013   JRC    Review and analyze examiner submissions on           L120     0.40 hrs
                    third-party releases in order to prepare examiner
                    materials for newly identified witnesses.
01/29/2013   JDR    Review and analyze presentations and documents       L320     2.50 hrs
                    produced in preparation for Ms. Wiebe interview.

01/29/2013   JDR    Draft outline notes of presentations and documents   L320     0.30 hrs
                    produced to Examiner in preparation for Ms.
                    Wiebe interview.
01/29/2013   SP     Review documents that were password protected in     L320     1.80 hrs
                    Relativity and summarize contents for Ms. Paul
                    Whitfield.
01/29/2013   GNM    Meeting with Ms. Battle regarding production         L120     1.00 hrs
                    status and potentially privileged items from
                    Morrison Cohen. (.70) Follow up on same. (.30)
01/29/2013   GNM    Working in Discovery Partner database performing     L320     0.70 hrs
                    quality control on production set 1-29-13.

01/29/2013   GNM    Drafting e-mail memorandum regarding potentially     L120     2.50 hrs
                    privileged items from Morrison Cohen.

01/29/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.50 hrs
                    regarding production pipeline.

01/29/2013   GNM    Working in Discovery Partner performing quality      L320     0.60 hrs
                    control checks on EXAM142/143.

01/29/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Tice (Morrison & Foerster) regarding release
                    of productions EXAM142/143.
01/29/2013   GNM    Working in Cerberus database performing quality      L320     6.20 hrs
                    control checks on 1/24/13 data set.
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01/29/2013   GNM    Working in Subservicing database gathering            L320     0.10 hrs
                    document to be used for witness preparation.

01/29/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.60 hrs
                    (Schulte Roth) regarding Cerberus data.

01/29/2013   GNM    Drafting and sending e-mail to Ms. Namath (H5)        L120     0.40 hrs
                    and Ms. Gardiner (Schulte Roth) regarding corrupt
                    items in Cerberus database.
01/29/2013   GNM    Working in Discovery Partner database.                L320     1.20 hrs


01/29/2013   GNM    E-mail communications with Mr. Hoelzel                L120     0.20 hrs
                    (Contract quality control team) regarding privilege
                    designations of Cerberus data.
01/29/2013   GNM    E-mail communications with Mr. Shipler (DTI)          L120     0.40 hrs
                    regarding release of production set 1-29-13.

01/29/2013   GNM    E-mail communications with Ms. Chinn (Contract        L120     0.30 hrs
                    quality control Team) regarding documents sent
                    my Morrison Cohen.
01/29/2013   GNM    Researching role of administrative professionals      L320     0.60 hrs
                    identified by Morrison & Foerster.

01/29/2013   GNM    Meeting with Ms. Paul-Whitfield and Ms. Battle        L120     0.70 hrs
                    regarding privilege logs. (.40) Follow-up on same.
                    (.30)
01/29/2013   AJM    Quality control review of documents withheld          L310     3.80 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/29/2013   AJM    Draft privilege log for documents produced in         L310     6.20 hrs
                    response to Examiner document requests, set
                    116/117.
01/29/2013   HLB    Perform quality control examiner review of batch      L120     5.80 hrs
                    "Phase 3-Set 1.002," per quality control examiner
                    protocol.
01/29/2013   AEG    Revise privilege log regarding ResCap bankruptcy.     L140     5.50 hrs


01/29/2013   ABW    Document review regarding quality control, Phase      L140     1.00 hrs
                    3, Set 1.033.

01/29/2013   LWS    Quality control review batch for ResCap               L140     3.00 hrs
                    bankruptcy.

01/30/2013   AMP    Attention to finalizing supplement privilege log of   L320     0.50 hrs
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                    Cerberus documents involving common interest
                    with ResCap from December 12 production.
01/30/2013   AMP    Multiple e-mails with Kirkland & Ellis and            L320     0.30 hrs
                    Cerberus' counsel regarding supplement privilege
                    log of Cerberus documents involving common
                    interest with ResCap from December 12
                    production.
01/30/2013   AMP    E-mails with Mr. Barthel regarding finalizing         L320     0.20 hrs
                    supplement privilege log of Cerberus documents
                    involving common interest with ResCap from
                    December 12 production.
01/30/2013   AMP    Attention to privilege log status for 110/111,        L320     0.40 hrs
                    112/113, and 114/115 for production.

01/30/2013   AMP    Finalize privilege log for 114/115 production.        L320     0.80 hrs


01/30/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L320     0.30 hrs
                    regarding privilege log status for 110/111,
                    112/113, and 114/115 for production.
01/30/2013   AMP    Attention to computer generated log timing as an      L320     0.90 hrs
                    alternative to more detailed logs. (.50) Meet with
                    Ms. Battle and Ms. Marty regarding privilege
                    issues. (.40)
01/30/2013   JAL    Review Mr. Casey's materials to prepare for           L120     9.00 hrs
                    preparation meeting (2.5). Review and redraft Mr.
                    Casey's preparation outline (.50). Review Mr.
                    Casey's documents complied by Morrison Foerster
                    from additional databases (1.0). Review Mr.
                    Casey's topic list from examiner (.20). Conference
                    with Mr. Day and Mr. Illovsky (Morrison &
                    Foerster) to prepare for Mr. Casey's preparation
                    (.30). Conference with Mr. Casey, Mr. Day and
                    Mr. Illovsky (Morrison & Foerster) to prepare for
                    examiner interview (3.7). Review and redraft
                    slides for presentation of securitization process
                    (.30). Conference with Ms. Battle regarding same
                    (.20). Review Tarp report for assist in preparation
                    of examiner interviews (.30).
01/30/2013   VLS    Monitor review status of Phase 3 quality control      L320     0.40 hrs
                    review.

01/30/2013   VLS    Update review status tracking spreadsheet.            L320     0.80 hrs


01/30/2013   RBS    Obtain support materials for Ally presentation for    L310     3.60 hrs
                    Mr. Beck.
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01/30/2013   JALB   Meet with Ms. Marty and Ms. Paul-Whitfield              L120     0.40 hrs
                    regarding privilege log and quality control staffing.

01/30/2013   JALB   Strategy for Ms. Hamzehpour's privilege log.            L330     0.20 hrs


01/30/2013   JALB   Revise slides on securitization overview.               L120     3.60 hrs


01/30/2013   JALB   Review draft letter regarding third party claims.       L120     0.20 hrs


01/30/2013   JALB   Telephone conference with Mr. Salerno, Mr.              L120     0.50 hrs
                    Brown, Mr. Day (all Morrison & Foerster), Ms.
                    Marty regarding status and resolution of FRB and
                    GSE privilege and confidentiality issues.
01/30/2013   JALB   Discussion with Ms. Mohler regarding Ms.                L120     0.30 hrs
                    Steinhagen's preparation materials.

01/30/2013   JALB   Telephone conference with former employee               L120     0.60 hrs
                    witnesses regarding interview preparation and
                    scheduling.
01/30/2013   JALB   Correspondence with Mr. Lipps regarding former          L120     0.20 hrs
                    employee witnesses regarding interview
                    preparation and scheduling.
01/30/2013   JALB   Discussion with Ms. Levitt (Morrison & Foerster)        L120     0.30 hrs
                    regarding pre-petition discussion of third-party
                    claims and draft letter regarding same.
01/30/2013   DJB    Perform second level quality check of documents         L120     3.20 hrs
                    received from Cerberus (20121212 batch) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
01/30/2013   DJB    Format privilege law, indicating specific reasons       L120     1.40 hrs
                    why documents received from Cerberus (20121212
                    batch) are protected by attorney-client privilege,
                    attorney work product, joint defenses, or common
                    interest, and identify affiliations of individuals
                    appearing on e-mails to assist Morrison Foerster
                    with productions to the Examiner.
01/30/2013   MMM    Review documents and begin draft of potential           L120     3.10 hrs
                    topics list for Steinhagen Examiner interview.

01/30/2013   DAB    Communicate with Mr. Lipps and Ms. Battle               L120     0.20 hrs
                    regarding previous Morrison & Foerster work
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                    product related to examiner interview of Mr.
                    Bricker.
01/30/2013   DAB    Communicate with Ms. Mohler regarding               L120     0.10 hrs
                    examiner topics list for Mr. Casey.

01/30/2013   DAB    Communicate with Ms. Battle regarding Ally          L120     0.20 hrs
                    response to UCC presentation on claims.

01/30/2013   DAB    Communicate with Mr. Samson regarding research      L120     0.10 hrs
                    needed on materials referenced in Ally
                    presentation.
01/30/2013   DAB    Review and analyze Ally presentation on 3rd party   L120     1.80 hrs
                    claims.

01/30/2013   DAB    Research regarding 3rd party documents cited in     L120     0.90 hrs
                    Ally presentation.

01/30/2013   DAB    Communicate with Mr. Lipps and Ms. Battle           L120     0.20 hrs
                    regarding interview of Mr. Bier.

01/30/2013   JRC    Review and analyze exhibits previously marked in    L320     0.60 hrs
                    examiner interviews in order to prepare Ms.
                    Lundsten's examiner materials.
01/30/2013   JRC    Review and analyze documents relating to Mr.        L320     0.70 hrs
                    Scholtz in Discovery Partner in order to prepare
                    memorandum analyzing his relevance to examiner
                    investigation.
01/30/2013   JRC    Review and analyze documents relating to Ms.        L320     1.10 hrs
                    Lundsten in Discovery Partner in order to prepare
                    memorandum analyzing her relevance to examiner
                    investigation.
01/30/2013   JRC    Review and analyze Ally's PowerPoint in response    L320     0.90 hrs
                    to the UCC's analysis of the Debtors' claims
                    against Ally in order to prepare examiner witness
                    materials.
01/30/2013   JRC    Draft summary of Ms. Lundsten's deposition          L330     1.30 hrs
                    transcript in order to prepare her examiner
                    preparation materials.
01/30/2013   JDR    Draft correspondence to Mr. Beck regarding          L120     0.10 hrs
                    examiner witness preparation.

01/30/2013   JDR    Review and analyze prior deposition of Ms. Wiebe    L120     0.50 hrs
                    in preparation for Examiner interview.

01/30/2013   GNM    Telephone communications with Ms. Battle and        L120     0.60 hrs
                    Morrison & Foerster team regarding Regulatory
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                    Privilege logs.
01/30/2013   GNM    Meeting with Ms. Battle and Ms. Paul-Whitfield        L120     0.60 hrs
                    regarding privilege logs. (.40) Follow-up on same.
                    (.20)
01/30/2013   GNM    Researching in Subservicing data to track the         L320     0.10 hrs
                    switch in confidentiality coding from original
                    production to replacement production.
01/30/2013   GNM    Working in Discovery Partner database                 L320     0.90 hrs
                    configuring non e-mail data for production.

01/30/2013   GNM    Performing quality control checks on                  L320     0.90 hrs
                    EXAM307/308.

01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Ms. Tice (Morrison & Foerster) to release
                    productions EXAM307/308.
01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Tice (Morrison & Foerster) to release
                    productions EXAM305/306.
01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Tice (Morrison & Foerster) to release
                    productions EXAM143/144/145.
01/30/2013   GNM    Telephone communications with Ms. Gardiner            L120     0.50 hrs
                    (Schulte Roth) regarding Cerberus data.

01/30/2013   GNM    Telephone communications with Mr. Lawrence            L120     0.70 hrs
                    (Morrison & Foerster) and Morrison Cohen
                    regarding possibly privileged items to be produced.
01/30/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Shipler (DTI) regarding release of Cerberus
                    data for production.
01/30/2013   AJM    Quality control review of documents withheld          L310     4.30 hrs
                    partially or entirely in response to Examiner
                    document requests, set 116/117.
01/30/2013   AJM    Draft privilege log for documents produced in         L310     6.40 hrs
                    response to Examiner document requests, set
                    116/117.
01/30/2013   HLB    Perform quality control examiner review of batch      L120     5.10 hrs
                    "Phase 3-Set 1.002," per quality control examiner
                    protocol.
01/30/2013   AEG    Privilege re-review of documents in privilege batch   L140     2.00 hrs
                    4.

01/30/2013   ABW    Document review regarding quality control, Phase      L140     3.30 hrs
                    3, Set 1.033.
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01/31/2013   AMP    Attention to revising privilege log for production     L210     1.50 hrs
                    116/117.

01/31/2013   AMP    Attention to imaging issues for redactions.            L320     0.30 hrs


01/31/2013   AMP    E-mails with Mr. Molnar regarding imaging issues       L320     0.20 hrs
                    for redactions.

01/31/2013   JAL    Review Mr. Casey's documents to prepare for            L120     7.80 hrs
                    examiner interview (.80). Conference with Mr.
                    Casey to prepare for examiner interview (.50).
                    Participate at Mr. Casey's interview (4.8). Review
                    ResCap securitization powerpoint (.50).
                    Telephone conference with Ms. Battle and Mr.
                    Renzi (FTI) regarding same (.70). Review Tarp
                    report to prepare for examiner interviews (.30).
                    Review and respond to e-mails regarding examiner
                    interview schedule and preparation coverage (.20).
01/31/2013   VLS    Assignment of Phase 3 quality control document         L320     0.60 hrs
                    review batches.

01/31/2013   VLS    Update document review quality control tracking        L320     0.60 hrs
                    spreadsheet.

01/31/2013   VLS    Receipt and review of Hard Bound materials             L320     2.60 hrs
                    belonging to Mr. Marple which was provided by
                    Mr. Marple at recent witness interview.
01/31/2013   VLS    Preparation of Hard Bound materials belonging to       L320     1.80 hrs
                    Mr. Marple for production.

01/31/2013   RBS    Prepare materials for master set of supporting         L310     5.20 hrs
                    documents for Ally's presentation for Mr. Beck.

01/31/2013   JALB   Call with FTI (Renzi) and Mr. Lipps regarding          L120     0.70 hrs
                    securitization background.

01/31/2013   JALB   Prepare file memorandum regarding quality control      L120     0.30 hrs
                    staffing and review progress.

01/31/2013   JALB   Meet with Mr. Beck regarding Mr. Giertz's              L120     1.00 hrs
                    interview and key issues/topics.

01/31/2013   JALB   E-mails to Ms. Levitt (Morrison & Foerster)            L120     0.10 hrs
                    regarding revisions to letter on third party claims.
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01/31/2013   MMM    Review Ms. Steinhagen's background and                L120     2.00 hrs
                    determine potential topic list for her Examiner
                    interview.
01/31/2013   MMM    Conference with Mr. Beck regarding Steinhagen         L120     0.30 hrs
                    potential topics.

01/31/2013   DAB    Investigate third party document productions in       L320     0.20 hrs
                    examiner repository.

01/31/2013   DAB    E-mail Ms. Battle regarding third party productions   L120     0.10 hrs
                    in examiner repository.

01/31/2013   DAB    Comment on examiner confidentiality agreement         L120     0.40 hrs
                    for third party submission.

01/31/2013   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.20 hrs
                    regarding comments on examiner confidentiality
                    agreement.
01/31/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster)              L120     0.10 hrs
                    regarding examiner confidentiality agreement
                    issues.
01/31/2013   DAB    Review and comment on topic list for Ms.              L330     0.30 hrs
                    Steinhagen's interview.

01/31/2013   DAB    Conference with Ms. Mohler regarding likely           L120     0.20 hrs
                    topics for Ms. Steinhagen's interview.

01/31/2013   DAB    Conference with Ms. Battle regarding results of       L120     1.10 hrs
                    recent interviews and topics going forward.

01/31/2013   DAB    Analyze Ally submission to examiner on third          L330     0.40 hrs
                    party claims for mentions of upcoming witnesses.

01/31/2013   DAB    Analyze Kramer Levin claims presentation and          L120     2.40 hrs
                    associated materials.

01/31/2013   JRC    Conference with Mr. Beck regarding search for         L120     0.10 hrs
                    presentation relevant to examiner interviews in
                    Discovery Partner.
01/31/2013   JRC    Review documents in Discovery Partner in order to     L320     0.20 hrs
                    locate presentation relevant to examiner
                    interviews.
01/31/2013   JRC    Review examiner interview memoranda in order to       L120     0.30 hrs
                    prepare examiner witness materials for upcoming
                    witnesses.
01/31/2013   JRC    Review and analyze documents relating to Ms.          L320     1.10 hrs
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                    Lundsten in Discovery Partner in order to prepare
                    memorandum analyzing her relevance to examiner
                    investigation.
01/31/2013   JRC    Review and analyze documents relating to Mr.        L320     2.60 hrs
                    Scholtz in Discovery Partner in order to prepare
                    memorandum analyzing his relevance to examiner
                    investigation.
01/31/2013   JRC    Draft memorandum analyzing potential areas of       L210     1.20 hrs
                    inquiry for Mr. Scholtz's examiner interview.

01/31/2013   JRC    Revise deposition summary of Ms. Lundsten in        L330     0.80 hrs
                    order to prepare her examiner preparation
                    materials.
01/31/2013   JDR    Review and analyze Ms. Wiebe deposition and         L330     1.70 hrs
                    documents produced to the examiner in preparation
                    for witness interview.
01/31/2013   JDR    Draft outline of notes analyzing Ms. Wiebe          L330     2.20 hrs
                    deposition and documents produced to the
                    examiner in preparation for witness interview.
01/31/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.70 hrs
                    (Schulte Roth) regarding Cerberus data.

01/31/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.40 hrs
                    (Schulte Roth) regarding Regulatory Privilege.

01/31/2013   GNM    Working in Phase 3 Subproject configuring data      L320     0.50 hrs
                    for review.

01/31/2013   GNM    E-mail communications with Ms. Battle regarding     L120     0.30 hrs
                    EXAM00114765.

01/31/2013   GNM    Telephone communications with Ms. Tice              L120     0.30 hrs
                    (Morrison & Foerster) regarding EXAM00114765.

01/31/2013   GNM    Working in Discovery Partner database reviewing     L320     2.10 hrs
                    items for Regulatory Privilege.

01/31/2013   GNM    Telephone communications with Mr. Salerno, Mr.      L120     0.60 hrs
                    Brown, and Mr. Day (Morrison & Foerster) and
                    Mr. Glick (Kirkland & Ellis) regarding Regulatory
                    Privilege.
01/31/2013   GNM    E-mail communications with Ms. Gulley (DTI)         L120     0.10 hrs
                    regarding Cerberus data.

01/31/2013   AJM    Quality control review of documents withheld        L310     3.60 hrs
                    partially or entirely in response to Examiner
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                    document requests, set 116/117.
01/31/2013   AJM    Draft privilege log for documents produced in               L310        4.00 hrs
                    response to Examiner document requests, set
                    116/117.
01/31/2013   AJM    Draft e-mail to Ms. Gulley of Discovery Partner             L310        0.10 hrs
                    listing items in batch 116/117 that need images so
                    that they can be redacted and produced to the
                    Examiner.
01/31/2013   SCM    Telephone conference with Mr. Beck regarding                L120        0.10 hrs
                    research assignment regarding application of
                    Delaware veil-piercing law to multiple, tiered
                    subsidiaries.
01/31/2013   HLB    Perform quality control examiner review of batch            L120        3.50 hrs
                    "Phase 3-Set 1.002." Review for privileged
                    documents per quality control examiner protocol.
01/31/2013   AEG    Privilege log quality check regarding ResCap                L140        2.00 hrs
                    bankruptcy. [Continue to check for
                    privileged/partially privileged documents in batch]
                    (Eve/Brad privilege log)


                    TOTAL FEES FOR THIS MATTER                                           $406,076.50

EXPENSES

01/01/2013          Litigation Support Vendors - Lumen Legal (services for 12/17/12         $27,945.7
                    to 12/30/12) (798.45 hours X $ 35.00/hr = $ 27,945.75)                          5

01/01/2013          Litigation Support Vendors - Lumen Legal (services for 12/17/12         $23,587.8
                    to 12/30/12) (439.72 hours X $ 34.00/hr = $ 14,950.48 and                       8
                    227.30 hours X $ 38.00/hr = $ 8,637.40)

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Breakfast (JALB)-                     $6.81
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Snack (JALB) -                        $2.43
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Airfare (coach) -               $1,681.80
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Coffee (JALB) -                       $2.85
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials
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01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Lunch (JALB)-                           $6.18
                    travel to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Lunch (JRC) -travel                     $6.12
                    to Philadelphia, PA with Mr. Corcoran to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Dinner (JALB &                         $40.00
                    JRC) - travel to Philadelphia, PA with Mr. Corcoran to meet with
                    Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Parking @ Port                         $17.00
                    Columbus - travel to Philadelphia, PA with Mr. Corcoran to
                    meet with Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JRC-01/03/13) Out-of-Town Travel/Parking @ Port                           $9.04
                    Columbus - travel to Philadelphia, PA with Ms. Battle to meet
                    with Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JRC-01/03/13) Out-of-Town Travel/Airfare (coach) -                  $831.80
                    travel to Philadelphia, PA with Ms. Battle to meet with Ms.
                    Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Taxi (GMAC to                          $95.00
                    Airport) - travel to Philadelphia, PA with Mr. Corcoran to meet
                    with Ms. Hamzehpour to collect hard copy materials

01/03/2013          (TRIP-JALB-01/03/13) Out-of-Town Travel/Taxi (Airport to                  $112.51
                    GMAC) - travel to Philadelphia, PA with Mr. Corcoran to meet
                    with Ms. Hamzehpour to collect hard copy materialsur

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Airfare (coach) -                 $1,149.40
                    travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Hotel- travel to New               $707.62
                    York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Dinner 1/7/13- travel                   $20.00
                    to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Breakfast 1/8/13-                       $20.00
                    travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Dinner 1/8/13 - travel                  $20.00
                    to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Breakfast 1/9/13 -                      $20.00
                    travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Dinner 1/9/13 - travel                  $20.00
                    to New York City for examiner interview
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01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Doorman Tips (8                         $8.00
                    boxes) - travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Parking @ Port                         $50.00
                    Columbus - travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Mileage to/from Port                    $6.78
                    Columbus (12 miles X .565) - travel to New York City for
                    examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Taxi (Airport to                       $45.92
                    Downtown) - travel to New York City for examiner interview

01/09/2013          (TRIP-JAL-1/7-9/13) Out-of-Town Travel/Car Service                            $81.00
                    (Downtown to Airport) - travel to New York City for examiner
                    interview

01/13/2013          Litigation Support Vendors - Lumen Legal (services for 12/31/12         $30,787.7
                    to 1/13/13) (879.65 hours X $ 35.00/hr = $ 30,787.75)                           5

01/13/2013          Litigation Support Vendors - Lumen Legal (services for 12/31/12         $44,486.9
                    to 1/13/13) (313.91 hours X $38.00/hr = $ 11,928.58, 668.53                     5
                    hours X $ 34.00/hr = $ 22,730.02 and 280.81 hours X $ 354.00/hr
                    = $ 9,828.35)

01/15/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                    $90.92

01/16/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                    $47.28

01/18/2013          Delivery Service/Messengers - Federal Express to Mr. Beck from                $82.03
                    Mr. Lipps

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Dinner 1/17/13 -                     $20.00
                    travel to Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Breakfast 1/18/13 -                  $18.73
                    travel to Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Dinner 1/18/13 -                      $8.01
                    travel to Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Breakfast 1/17/13 -                   $7.19
                    travel to Minneapolis, MN and New York City for examiner
                    interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Lunch 1/17/13 -                      $20.00
                    travel to Minneapolis, MN and New York City for examiner
                    interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Dinner 1/17/13 -                     $20.00
                    travel to Minneapolis, MN and New York City for examiner
                    interviews
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01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Taxi (Hotel to                       $50.00
                    Airport) - travel to Minneapolis, MN for examiner interview of
                    Mr. Flees

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Hotel to                       $50.00
                    Airport - MN) - travel to Minneapolis, MN and New York City
                    for examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Airport to                     $50.00
                    Hotel - MN) - travel to Minneapolis, MN and New York City for
                    examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Airport to                     $47.25
                    Downtown - NY) - travel to Minneapolis, MN and New York
                    City for examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Taxi (Downtown to                    $46.60
                    Airport - NY) - travel to Minneapolis, MN and New York City
                    for examiner interviews

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Airfare - travel to            $1,273.80
                    Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Hotel - travel to               $237.01
                    Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/WiFi - travel to                     $16.96
                    Minneapolis, MN for examiner interview of Mr. Flees

01/18/2013          (TRIP-DAB-1/17-18/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to Minneapolis, MN for examiner interview of
                    Mr. Flees

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Airfare (coach) -              $2,136.70
                    travel to Minneapolis, MN and New York City for examiner
                    interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Hotel - travel to               $294.96
                    Minneapolis, MN and New York City for examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to Minneapolis, MN and New York City for
                    examiner interviews

01/18/2013          (TRIP-JAL-1/17-18/13) Out-of-Town Travel/Mileage (12 miles                     $6.78
                    X .565) to/from Port Columbus - travel to Minneapolis, MN and
                    New York City for examiner interviews

01/22/2013          Delivery Service/Messengers - Federal Express to Janis                        $32.46
                    Pendleton from Ms. Sholl

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Airfare (coach) -             $1,314.80
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition
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01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Baggage Fee -                        $25.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/WiFi - travel to                     $16.96
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/WiFi - travel to                     $16.96
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Hotel - travel to               $237.01
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to Minneapolis, MN for preparation of
                    examiner interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Breakfast 1/21/13                    $18.75
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Dinner 1/21/13 -                     $20.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Breakfast 1/22/13                    $20.00
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Lunch 1/22/13 -                      $17.29
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Dinner 1/22/13 -                     $20.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Taxi (Airport to                     $53.35
                    Hotel) - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/22/2013          (TRIP-JALB-1/21-22/13) Out-of-Town Travel/Taxi (Hotel to                       $47.35
                    Airport) - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Marple and attend his deposition

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Airfare (coach) -               $1,140.40
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Hotel - travel to                $670.26
                    New York City for examiner interviews
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01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Breakfast 1/22/13 -                  $10.00
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Lunch 1/21/13 -                       $6.18
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Dinner 1/21/13 -                     $20.00
                    travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Parking @ Port                       $42.00
                    Columbus - travel to New York City for examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Mileage (12 miles                     $6.78
                    X .565) to/from Port Columbus - travel to New York City for
                    examiner interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Airfare - AmEx                       $70.00
                    Charge fees X2 - travel to New York City for examiner
                    interviews

01/23/2013          (TRIP-JAL-1/21-23/13) Out-of-Town Travel/Taxi (Airport to                     $37.80
                    Downtown) - travel to New York City for examiner interviews

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Airfare (coach) -             $1,314.80
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Hotel - travel to              $237.01
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Wi-Fi - travel to                   $16.96
                    Minneapolis, MN for preparation of examiner interview with Mr.
                    Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Parking @ Port                      $34.00
                    Columbus - travel to Minneapolis, MN for preparation of
                    examiner interview with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Breakfast 1/24/13                    $6.33
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Dinner 1/24/13 -                    $20.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Breakfast 1/25/13                   $17.40
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Gietz and attend his interview

01/25/2013          (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Taxi (Airport to                    $50.80
                    Hotel) - travel to Minneapolis, MN for preparation of examiner
                    interview with Mr. Gietz and attend his interview
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01/25/2013                (TRIP-JALB-1/24-25/13) Out-of-Town Travel/Taxi (Hotel to                       $50.00
                          Airport) - travel to Minneapolis, MN for preparation of examiner
                          interview with Mr. Gietz and attend his interview

01/31/2013                Outside Copying - copies with slipsheets by ProFile Discovery            $1,663.54

                          TOTAL EXPENSES FOR THIS MATTER                                        $143,649.00


BILLING SUMMARY


         Winkler, A. Benjamin                          23.60 hrs    220.00 /hr         $5,192.00


         George, Amanda E.                             51.90 hrs    160.00 /hr         $8,304.00


         Molnar, Anthony J.                           118.00 hrs    210.00 /hr       $24,780.00


         Paul, Angela M.                               94.90 hrs    275.00 /hr       $26,097.50


         Beck, David A.                               117.30 hrs    280.00 /hr       $32,844.00


         Barthel, David J.                            161.00 hrs    210.00 /hr       $33,810.00


         Henry, Erik P.                                 0.60 hrs    160.00 /hr            $96.00


         Marty, Gretchen N.                           220.70 hrs    175.00 /hr       $38,622.50


         Buchanan, Heather L.                          83.70 hrs    240.00 /hr       $20,088.00


         Lipps, Jeffrey A.                            155.80 hrs    400.00 /hr       $62,320.00


         Battle, Jennifer A.L.                         77.50 hrs    300.00 /hr       $23,250.00


         Rhode, Jacob D.                               80.20 hrs    160.00 /hr       $12,832.00


         Sechler, Joel E.                             113.50 hrs    220.00 /hr       $24,970.00


         Corcoran, Jeffrey R.                          66.50 hrs    180.00 /hr       $11,970.00
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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      Wolf Sabatino , Lynanne               18.50 hrs   180.00 /hr     $3,330.00


      Boyle, Michael J.                     56.40 hrs   180.00 /hr    $10,152.00


      Mohler, Mallory M.                   149.30 hrs   160.00 /hr    $23,888.00


      Beekhuizen, Michael N.                 4.00 hrs   280.00 /hr     $1,120.00


      Samson, Robert B.                     31.70 hrs   100.00 /hr     $3,170.00


      Moeller, Steven C.                    27.10 hrs   225.00 /hr     $6,097.50


      Phillips, Segev                       83.90 hrs   220.00 /hr    $18,458.00


      Ibom, Tyler K.                        28.70 hrs   150.00 /hr     $4,305.00


      Sholl, Veronica L.                   103.80 hrs   100.00 /hr    $10,380.00



   TOTAL FEES                             1868.60 hrs                $406,076.50

   TOTAL EXPENSES                                                    $143,649.00

   TOTAL CHARGES FOR THIS INVOICE                                    $549,725.50
12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
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   FEBRUARY
   INVOICES
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                     Billed through 02/28/2013
Tammy Hamzephour                                                     Invoice # 53432      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01009
190-FTW-L95
Fort Washington, PA 19034

Re: Deborah A. Charity
Matter No.: 698543

PROFESSIONAL SERVICES

02/11/2013   DAW         Review Ohio Civil Rights Commission's decision              L120        0.10 hrs
                         dismissing claim.

02/11/2013   JAL         Review Civil Rights Commission order dismissing             L210        0.30 hrs
                         complaint (.20). Conference with Mr. Sechler
                         regarding same (.10).
02/11/2013   JES         Review order from Ohio Civil Rights Commission              L120        0.30 hrs
                         dismissing case.

02/11/2013   JES         Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                         (Residential Capital) regarding case dismissal.

02/13/2013   JES         Conference with Ms. McGinnis (Residential                   L120        0.30 hrs
                         Capital) regarding strategy and upcoming potential
                         case deadlines.
02/19/2013   DAW         Telephone conference with Ms. McGinnis (Ocwen               L120        0.20 hrs
                         Financial Corporation) regarding servicing
                         transfer, and notifying Greentree of special issues.
02/20/2013   DAW         Revise e-mail to Ms. Charity regarding loan                 L120        0.70 hrs
                         payment history.

02/20/2013   JES         Draft and revise e-mail to Ms. Charity regarding            L120        1.50 hrs
                         questions raised regarding her loan status

02/21/2013   DAW         Conference with Mr. Sechler regarding response to           L120        0.20 hrs
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
  096 01009                    Monthly Invoices Pg 275 of 701
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                        e-mails, and potential error in escrow.

02/21/2013   JES        Draft response to latest borrower inquiry.                L120        0.50 hrs




                        TOTAL FEES FOR THIS MATTER                                            $1,096.00


BILLING SUMMARY


         Wallace, David A.                              1.20 hrs     300.00 /hr     $360.00


         Lipps, Jeffrey A.                              0.30 hrs     400.00 /hr     $120.00


         Sechler, Joel E.                               2.80 hrs     220.00 /hr     $616.00



     TOTAL FEES                                         4.30 hrs                  $1,096.00

     TOTAL CHARGES FOR THIS INVOICE                                               $1,096.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                     Billed through 02/15/2013
Tammy Hamzephour                                                     Invoice # 53433      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01011
190-FTW-L95
Fort Washington, PA 19034

Re: Emily Bradac
Matter No.: 690339

PROFESSIONAL SERVICES

02/01/2013   AMP       Conference call with client regarding trial                   L210        0.20 hrs
                       readiness memorandum.

02/01/2013   AMP       Attention to revising and updating the trial                  L210        0.70 hrs
                       readiness memorandum in light of recent rulings
                       and changes.
02/01/2013   DAW       Telephone conference with Ms. McGinnis                        L120        0.20 hrs
                       (Residential Capital) regarding indemnity issues.

02/01/2013   KMC       Telephone conference with Ms. McGinnis                        L110        0.30 hrs
                       (Residential Capital) regarding indemnification
                       issues.
02/01/2013   KMC       Review Recovery Servicing Agreement.                          L110        0.30 hrs


02/01/2013   KMC       Review amendment to guarantee agreement.                      L110        0.10 hrs


02/01/2013   KMC       Review amendment to master repurchase                         L110        0.10 hrs
                       agreement.

02/01/2013   KMC       Review servicing agreement regarding                          L110        0.60 hrs
                       indemnification.

02/01/2013   KMC       E-mail Ms. McGinnis (Residential Capital)                     L110        0.20 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  096 01011                 Monthly Invoices Pg 277 of 701
                                                        Invoice # 53433          Page 2
                    regarding additional documents needed regarding
                    indemnification issues.
02/03/2013   AMP    Finalize revised draft of trial readiness             L210     1.00 hrs
                    memorandum.

02/03/2013   AMP    Draft e-mail to Mr. Lipps, Mr. Wallace and Ms.        L120     0.20 hrs
                    Cadieux regarding revised draft of trial readiness
                    memorandum.
02/03/2013   AMP    E-mails with Mr. Lipps regarding draft of trial       L120     0.10 hrs
                    readiness memorandum.

02/04/2013   AMP    Review edits to trial readiness memorandum.           L210     0.30 hrs


02/04/2013   AMP    Conference with Ms. Cadieux regarding trial           L210     0.20 hrs
                    readiness memorandum.

02/04/2013   AMP    Review e-mail from client regarding Ms.               L120     0.10 hrs
                    Henderson no longer being with GMACM.

02/04/2013   DAW    Review and revise trial readiness memorandum.         L210     0.90 hrs


02/04/2013   DAW    Conference with Ms. Cadieux regarding trial           L120     0.30 hrs
                    readiness memorandum.

02/04/2013   KMC    Review and revise trial readiness memorandum.         L110     0.60 hrs


02/04/2013   KMC    Research regarding indemnification.                   L110     0.90 hrs


02/04/2013   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding employees to
                    testify at trial and where they will be going after
                    bankruptcy sale.
02/04/2013   JDR    Research regarding loss of use damages in             L120     1.20 hrs
                    preparation for conference call and trial strategy.

02/05/2013   AMP    Review materials received from client.                L320     0.30 hrs


02/05/2013   AMP    Conference with Ms. Cadieux regarding review          L320     0.10 hrs
                    materials received from client.

02/05/2013   AMP    Attention to appraisal update issues.                 L120     0.20 hrs
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02/05/2013   AMP    Telephone calls to appraiser regarding update.        L120     0.10 hrs


02/05/2013   AMP    E-mails with client regarding update.                 L120     0.10 hrs


02/05/2013   AMP    E-mails regarding trial readiness memorandum.         L210     0.30 hrs


02/05/2013   AMP    Attention to revised trial readiness memorandum.      L210     0.20 hrs


02/05/2013   AMP    Telephone conference with neighbor's counsel          L120     0.20 hrs
                    regarding condition of property and City's charges.

02/05/2013   AMP    Telephone conference with City's counsel              L120     0.20 hrs
                    regarding condition of property and City's charges.

02/05/2013   DAW    Revise damages exposure section of trial readiness    L210     0.40 hrs
                    memorandum.

02/05/2013   DAW    Review indemnification agreements in reference to     L120     0.20 hrs
                    conference call.

02/05/2013   DAW    Attend conference call regarding Bradac trial         L120     0.80 hrs
                    readiness, and indemnification issues.

02/05/2013   KMC    Prepare for telephone conference regarding            L110     0.90 hrs
                    bankruptcy and conflict issues, including
                    reviewing purchase and servicing agreements
                    related to indemnification.
02/05/2013   KMC    Telephone conference with Ms. McGinnis                L110     0.80 hrs
                    (Residential Capital); Ms. Campbell (Residential
                    Capital) and Ms. Gerlich (Residential Capital)
                    regarding bankruptcy and conflict issues.
02/05/2013   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding documents needed
                    for telephone conference.
02/05/2013   KMC    Forward motions for summary judgment to Ms.           L210     0.40 hrs
                    McGinnis (Residential Capital)

02/05/2013   KMC    Review documents regarding sale of loan.              L110     0.30 hrs


02/05/2013   KMC    Review e-mail regarding status of City's actions      L110     0.10 hrs
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                    with respect to the property.

02/05/2013   JDR    Research regarding standard measure of breach of      L120     1.10 hrs
                    contract damages and cases permitting tort-related
                    damages in contract actions in preparation for
                    conference call and trial strategy.
02/05/2013   JDR    Research regarding pattern jury instructions          L120     0.40 hrs
                    regarding breach of contract and loss of use in
                    preparation for conference call and upcoming trial.
02/08/2013   AMP    Review e-mails from City's attorney regarding         L120     0.20 hrs
                    report of complaints on the property.

02/11/2013   AMP    Review Bradac's response to motion to stay.           L210     0.20 hrs


02/11/2013   AMP    E-mails with client and Ms. Cadieux regarding         L120     0.20 hrs
                    Bradac's response to motion to stay.

02/11/2013   AMP    Telephone call to the Court regarding ruling on       L120     0.10 hrs
                    motion to stay.

02/11/2013   KMC    Review borrowers' response to motion for              L110     0.10 hrs
                    protective order.

02/12/2013   AMP    Attention to updated appraisal issues.                L120     0.30 hrs


02/12/2013   AMP    E-mails with Mr. Sechler and Ms. Cadieux              L120     0.20 hrs
                    regarding updated appraisal issues.

02/12/2013   AMP    Telephone call to original appraisal from 2011        L120     0.10 hrs
                    regarding availability.

02/12/2013   AMP    Telephone call to the Court regarding ruling on       L120     0.10 hrs
                    motion to stay.

02/12/2013   AMP    Review entries from Court.                            L210     0.30 hrs


02/12/2013   AMP    E-mails to client regarding entries from Court.       L210     0.20 hrs


02/12/2013   AMP    Draft audit letter inserts for Bradac matter.         L120     0.30 hrs


02/12/2013   AMP    E-mails with Mr. Beekhuizen regarding audit letter    L120     0.10 hrs
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  096 01011                   Monthly Invoices Pg 280 of 701
                                                          Invoice # 53433                 Page 5
                      inserts.

02/12/2013   DAW      Review Court orders regarding continuation of               L120        0.10 hrs
                      trial, and stay of case.

02/15/2013   AMP      Attention to issue regarding whether city is                L120        0.20 hrs
                      pursuing notice of violations.

02/15/2013   AMP      E-mails with client regarding whether city is               L120        0.10 hrs
                      pursuing notice of violations.

02/15/2013   KMC      Review e-mail regarding last known addresses for            L110        0.10 hrs
                      employees who will testify at trial.

02/15/2013   KMC      Review e-mail regarding City's action regarding             L110        0.10 hrs
                      property.



                      TOTAL FEES FOR THIS MATTER                                              $4,514.50


BILLING SUMMARY


         Paul, Angela M.                             7.10 hrs        275.00 /hr   $1,952.50


         Wallace, David A.                           2.90 hrs        300.00 /hr     $870.00


         Rhode, Jacob D.                             2.70 hrs        160.00 /hr     $432.00


         Cadieux, Karen M.                           6.30 hrs        200.00 /hr   $1,260.00



     TOTAL FEES                                     19.00 hrs                     $4,514.50

     TOTAL CHARGES FOR THIS INVOICE                                               $4,514.50
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 281 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                  Billed through 02/15/2013
Tammy Hamzephour                                                  Invoice # 53434      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01012
190-FTW-L95
Fort Washington, PA 19034

Re: Eric Rogers
Matter No.: 687375

PROFESSIONAL SERVICES

02/12/2013   KMC       Telephone conference with Ms. McGinnis                     L110        0.10 hrs
                       (Residential Capital) regarding how to proceed.

02/14/2013   KMC       Telephone conference with Ms. McGinnis                     L110        0.10 hrs
                       (Residential Capital) regarding how to proceed.



                       TOTAL FEES FOR THIS MATTER                                                $40.00


BILLING SUMMARY


          Cadieux, Karen M.                          0.20 hrs    200.00 /hr          $40.00



     TOTAL FEES                                      0.20 hrs                       $40.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $40.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                  Billed through 02/28/2013
Tammy Hamzephour                                                  Invoice # 53435      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01029
190-FTW-L95
Fort Washington, PA 19034

Re: Lamar Bridges
Matter No.: 705862

PROFESSIONAL SERVICES

02/07/2013   DAW       Draft e-mail to foreclosure counsel regarding case         L120        0.40 hrs
                       issues, and moving forward with foreclosure.

02/14/2013   DAW       Revise e-mail to foreclosure counsel regarding             L120        0.90 hrs
                       reopening case.

02/15/2013   DAW       Review e-mail from Mr. Sacks (Lerner Sampson &             L120        0.10 hrs
                       Rothfuss) regarding proposed course of action.

02/15/2013   DAW       Draft e-mail to Mr. Sacks (Lerner Sampson &                L120        0.30 hrs
                       Rothfuss) regarding proposed course of action.

02/26/2013   DAW       Review and revise motion to reactivate, and                L250        0.50 hrs
                       provide red-line version to Lerner Sampson &
                       Rothfuss.
02/26/2013   DAW       Draft e-mail to Mr. Sacks (Lerner Sampson &                L120        0.50 hrs
                       Rothfuss) regarding comments on motion and case
                       strategy.
02/27/2013   DAW       Review e-mail from Mr. Sacks (Lerner Sampson &             L120        0.20 hrs
                       Rothfuss) regarding motion to reactivate.

02/27/2013   DAW       Draft responsive e-mail to Mr. Sacks (Lerner               L120        0.20 hrs
                       Sampson & Rothfuss) regarding motion to
                       reactivate.
     12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                    TOTAL FEES FOR THIS MATTER                                     $930.00


BILLING SUMMARY


       Wallace, David A.                    3.10 hrs   300.00 /hr        $930.00



    TOTAL FEES                              3.10 hrs                     $930.00

    TOTAL CHARGES FOR THIS INVOICE                                       $930.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                              Monthly Invoices Pg 284 of 701
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                    Billed through 02/15/2013
Tammy Hamzephour                                                    Invoice # 53436      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01030
190-FTW-L95
Fort Washington, PA 19034

Re: Larry J. King
Matter No.: 692426

PROFESSIONAL SERVICES

02/04/2013   KMC       Draft answer.                                                L190        0.40 hrs


02/04/2013   KMC       Research and review assignments of mortgage.                 L110        0.80 hrs


02/04/2013   KMC       Review original collateral file.                             L110        0.30 hrs


02/04/2013   KMC       E-mail Ms. McGinnis (Residential Capital)                    L110        0.10 hrs
                       regarding pooling and servicing agreement.

02/04/2013   KMC       Review motion for leave filed by Mr. King.                   L210        0.20 hrs


02/05/2013   KMC       Review entry setting status conference.                      L210        0.10 hrs


02/05/2013   KMC       Review PSA.                                                  L110        0.30 hrs


02/05/2013   KMC       Forward motion for leave and order setting status            L210        0.10 hrs
                       conference to Ms. McGinnis (Residential Capital)

02/07/2013   KMC       Telephone conference with counsel for the estate             L230        0.20 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
  096 01030                  Monthly Invoices Pg 285 of 701
                                                         Invoice # 53436            Page 2
                      regarding status conference and how to proceed.

02/11/2013   KMC      Review entry granting Mr. King leave to file.          L210       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                         $520.00


BILLING SUMMARY


         Cadieux, Karen M.                           2.60 hrs   200.00 /hr    $520.00



     TOTAL FEES                                      2.60 hrs                 $520.00

     TOTAL CHARGES FOR THIS INVOICE                                           $520.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                              Monthly Invoices Pg 286 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          March 20, 2013

                                                                   Billed through 02/28/2013
Tammy Hamzephour                                                   Invoice # 53437      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01041
190-FTW-L95
Fort Washington, PA 19034

Re: Patricia Joanne McNerney


PROFESSIONAL SERVICES

02/28/2013   DAW       Telephone conference with Ms. McGinnis (Ocwen               L120        0.40 hrs
                       Financial Corporation) regarding case issues, and
                       proposed AG letter.
02/28/2013   DAW       Attend telephone conference regarding AG                    L120        0.50 hrs
                       extinguishment letter, and case approach.

02/28/2013   KMC       Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                       (Ocwen) regarding status of case.

02/28/2013   KMC       Forward summary judgment motion and motion                  L110        0.40 hrs
                       for judgment on the pleadings to Ms. McGinnis
                       (Ocwen).
02/28/2013   KMC       Review proofs of claim.                                     L110        0.30 hrs


02/28/2013   KMC       Review information regarding AG settlement.                 L110        0.20 hrs


02/28/2013   KMC       Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                       (Ocwen) regarding issues.

02/28/2013   KMC       Telephone conference with Ms. McGinnis                      L110        0.50 hrs
                       (Ocwen); Ms. Gerlich (Ocwen), Ms. Priore
                       (Residential Capital), Ms. Stokes (Ocwen), and
                       Mr. Riche regarding how to proceed with AG
     12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
 096 01041                 Monthly Invoices Pg 287 of 701
                                                       Invoice # 53437         Page 2
                    settlement letter.


                    TOTAL FEES FOR THIS MATTER                                     $650.00


BILLING SUMMARY


       Wallace, David A.                    0.90 hrs   300.00 /hr        $270.00


       Cadieux, Karen M.                    1.90 hrs   200.00 /hr        $380.00



    TOTAL FEES                              2.80 hrs                     $650.00

    TOTAL CHARGES FOR THIS INVOICE                                       $650.00
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                               Monthly Invoices Pg 288 of 701
                            CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                  Billed through 02/15/2013
Tammy Hamzephour                                                  Invoice # 53438      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01048
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald McGinn
Matter No.: 694500

PROFESSIONAL SERVICES

02/06/2013   JES        Review and respond to e-mails from client and             L120        0.20 hrs
                        opposing counsel regarding borrower's final
                        HAMP trial payment.
02/12/2013   JES        Review and respond to e-mails from client and             L120        0.20 hrs
                        opposing counsel regarding final trial loan
                        modification payment.
02/15/2013   JES        Review and respond to e-mails from opposing               L120        0.30 hrs
                        counsel regarding settlement options.



                        TOTAL FEES FOR THIS MATTER                                             $154.00


BILLING SUMMARY


         Sechler, Joel E.                             0.70 hrs   220.00 /hr         $154.00



     TOTAL FEES                                       0.70 hrs                     $154.00

     TOTAL CHARGES FOR THIS INVOICE                                                $154.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                 Monthly Invoices Pg 289 of 701
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              March 20, 2013

                                                                     Billed through 02/15/2013
Tammy Hamzephour                                                     Invoice # 53439      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01116
190-FTW-L95
Fort Washington, PA 19034

Re: Jack H. Donnelly, et al.
Matter No.: 712313

PROFESSIONAL SERVICES

02/08/2013    JES         Draft e-mail to opposing counsel regarding missing         L120        0.30 hrs
                          loan modification application information.

02/08/2013    JES         Telephone conference with Ms. McGinnis                     L120        0.40 hrs
                          (Residential Capital)( regarding missing loan
                          modification information.


                          TOTAL FEES FOR THIS MATTER                                              $154.00


BILLING SUMMARY


           Sechler, Joel E.                              0.70 hrs    220.00 /hr        $154.00



      TOTAL FEES                                         0.70 hrs                     $154.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $154.00
      12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                                Monthly Invoices Pg 290 of 701
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                     Billed through 02/28/2013
Tammy Hamzephour                                                     Invoice # 53440      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01127
190-FTW-L95
Fort Washington, PA 19034

Re: Rebecca L. Folden


PROFESSIONAL SERVICES

02/05/2013   JES         Attend pretrial conference with Court and                   L120        1.00 hrs
                         opposing counsel.

02/05/2013   JES         E-mail Ms. Scoliard (Residential Capital)                   L120        0.30 hrs
                         regarding pretrial conference with Court.



                         TOTAL FEES FOR THIS MATTER                                               $286.00


BILLING SUMMARY


          Sechler, Joel E.                             1.30 hrs      220.00 /hr        $286.00



     TOTAL FEES                                        1.30 hrs                       $286.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $286.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 291 of 701
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              March 20, 2013

                                                                   Billed through 02/15/2013
Tammy Hamzephour                                                   Invoice # 53441      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01145
190-FTW-L95
Fort Washington, PA 19034

RE: Niesreen Abdalla, et al.
Matter No.: 718973

PROFESSIONAL SERVICES

02/01/2013    DAW        Telephone conference with Mr. Sechler regarding           L120        0.30 hrs
                         the Patterson case, motion to reconsider, and
                         supplementing pretrial conference statement.
02/01/2013    DAW        Revise pretrial statement.                                L210        0.90 hrs


02/01/2013    JES        Revise final pretrial statement.                          L120        2.00 hrs


02/04/2013    DAW        Revise motion for reconsideration.                        L240        1.90 hrs


02/04/2013    JES        Draft motion for reconsideration and/or renewed           L120        2.00 hrs
                         motion for summary judgment.

02/05/2013    DAW        Review Patterson and Schwartzwald decisions, and          L250        2.30 hrs
                         revise motion for reconsideration.

02/05/2013    JES        Revise argument section of motion for                     L120        1.00 hrs
                         reconsideration.

02/06/2013    JES        Draft e-mail to Ms. McGinnis (Residential Capital)        L120        0.70 hrs
                         regarding recent developments in case in advance
                         of the upcoming final pretrial conference.
02/07/2013    JES        Review additional pleadings and case law in               L120        1.00 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  096 01145                 Monthly Invoices Pg 292 of 701
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                    advance of final pretrial conference.

02/08/2013   JES    Conference with client representative in advance of   L120     1.50 hrs
                    final pretrial conference.

02/08/2013   JES    E-mail Deutsche Bank's counsel regarding              L120     0.20 hrs
                    Corcoran deposition.

02/11/2013   DAW    Conference with Mr. Sechler regarding pretrial        L120     0.20 hrs
                    conference issues.

02/11/2013   DAW    Review Court's order regarding pretrial conference.   L120     0.10 hrs


02/11/2013   JES    Telephone conference with Ms. McGinnis                L120     0.50 hrs
                    (Residential Capital) regarding final pretrial
                    hearing and upcoming trial deposition of custodian.
02/11/2013   JES    Prepare for final pretrial hearing.                   L120     4.00 hrs


02/11/2013   JES    Attend final pretrial hearing.                        L120     2.00 hrs


02/12/2013   JES    E-mail Deutsche Bank counsel regarding Corcoran       L120     0.20 hrs
                    deposition.

02/12/2013   JES    Draft trial readiness memorandum.                     L120     3.00 hrs


02/12/2013   JES    Review and respond to e-mails from co-counsel         L120     0.40 hrs
                    regarding deposition scheduling.

02/13/2013   DAW    Update trial readiness memorandum.                    L210     0.40 hrs


02/13/2013   JES    Conference with Ms. McGinnis (Residential             L120     0.30 hrs
                    Capital) regarding strategy and upcoming potential
                    case deadlines.
02/13/2013   JES    Revise trial readiness memorandum.                    L120     0.50 hrs


02/14/2013   DAW    Revise e-mail to Mr. Ralls (Abdalla counsel)          L120     0.40 hrs
                    regarding trial deposition issues.

02/14/2013   JES    Review and respond to e-mail from opposing            L120     1.00 hrs
                    counsel regarding Corcoran trial deposition.
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
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                                                           Invoice # 53441                    Page 3

02/14/2013   JES        Review and revise proposed protective order.                  L120        1.00 hrs


02/14/2013   JES        Draft deposition notice for Mr. Corcoran.                     L120        0.30 hrs


02/15/2013   JES        E-mail Deutsche Bank counsel regarding                        L120        0.20 hrs
                        upcoming deposition of Mr. Corcoran.



                        TOTAL FEES FOR THIS MATTER                                                $6,746.00

EXPENSES

02/05/2013              Delivery Service/Messengers - Federal Express to Magistrate                  $11.98
                        Olsztyn from Mr. Sechler

02/11/2013              (TRIP-JES-2/11/13) Out-of-Town Travel/Mileage (284 miles X                 $160.46
                        .565) - travel to Cleveland, OH

02/11/2013              (TRIP-JES-2/11/13) Out-of-Town Travel/Parking - travel to                     $7.50
                        Cleveland, OH

                        TOTAL EXPENSES FOR THIS MATTER                                             $179.94


BILLING SUMMARY


         Wallace, David A.                             6.50 hrs     300.00 /hr        $1,950.00


         Sechler, Joel E.                            21.80 hrs      220.00 /hr        $4,796.00



     TOTAL FEES                                      28.30 hrs                      $6,746.00

     TOTAL EXPENSES                                                                    $179.94

     TOTAL CHARGES FOR THIS INVOICE                                                 $6,925.94
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                   Billed through 02/15/2013
Tammy Hamzephour                                                   Invoice # 53442      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01149
190-FTW-L95
Fort Washington, PA 19034

Re: Rosie B. Hart


PROFESSIONAL SERVICES

02/15/2013   KMC       Review e-mail corrrespondence regarding                     L110        0.20 hrs
                       borrower's request for loan modification
                       application.
02/15/2013   KMC       E-mail loss mitigation application to borrower's            L110        0.20 hrs
                       counsel.



                       TOTAL FEES FOR THIS MATTER                                                 $80.00


BILLING SUMMARY


          Cadieux, Karen M.                           0.40 hrs    200.00 /hr          $80.00



     TOTAL FEES                                       0.40 hrs                       $80.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $80.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                               Monthly Invoices Pg 295 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                   Billed through 02/15/2013
Tammy Hamzephour                                                   Invoice # 53443      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01150
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa D. Lallo
Matter No.: 719854

PROFESSIONAL SERVICES

02/01/2013   DAW       Telephone conference with Mr. Sechler regarding             L120        0.30 hrs
                       Patterson case, and filing supplemental
                       memorandum.
02/04/2013   DAW       Revise motion for leave to file first amended               L250        0.60 hrs
                       complaint.

02/05/2013   JES       Revise motion for leave to file First Amended               L120        1.00 hrs
                       Complaint.

02/06/2013   DAW       Revise supplemental memorandum supporting                   L240        1.10 hrs
                       summary judgment addressing standing issues.

02/06/2013   JES       Draft notice of supplemental authority.                     L120        2.00 hrs


02/06/2013   JES       E-mail Ms. McGinnis (Residential Capital)                   L120        0.30 hrs
                       regarding motion to amend complaint filed in the
                       case.


                       TOTAL FEES FOR THIS MATTER                                              $1,326.00

EXPENSES

02/05/2013             Delivery Service/Messengers - Federal Express to Cuyahoga                  $14.78
                       County from Mr. Sechler
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                                                           Invoice # 53443                  Page 2

02/06/2013              Delivery Service/Messengers - Federal Express to Cuyahoga                   $14.51
                        County from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                              $29.29


BILLING SUMMARY


         Wallace, David A.                           2.00 hrs   300.00 /hr            $600.00


         Sechler, Joel E.                            3.30 hrs   220.00 /hr            $726.00



     TOTAL FEES                                      5.30 hrs                       $1,326.00

     TOTAL EXPENSES                                                                   $29.29

     TOTAL CHARGES FOR THIS INVOICE                                                 $1,355.29
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

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                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                      Billed through 02/15/2013
Tammy Hamzephour                                                      Invoice # 53444      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01153
190-FTW-L95
Fort Washington, PA 19034

Re: Danna Rogers
Matter No.: 720558

PROFESSIONAL SERVICES

02/04/2013   KMC       E-mail counsel for borrower regarding stipulation              L110        0.20 hrs
                       as to lien priority.

02/05/2013   KMC       Draft new stipulation regarding lien priority.                 L210        0.20 hrs


02/05/2013   KMC       Prepare for status conference.                                 L230        0.30 hrs


02/06/2013   DAW       Conference with Ms. Cadieux regarding hearing                  L120        0.10 hrs
                       and stipulation issues.

02/06/2013   KMC       Attend status conference.                                      L230        1.10 hrs


02/06/2013   KMC       Revise stipulation per judge's instructions.                   L210        0.10 hrs


02/06/2013   KMC       File stipulation regarding lien priority.                      L210        0.20 hrs




                       TOTAL FEES FOR THIS MATTER                                                  $450.00


BILLING SUMMARY
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                      Invoice # 53444         Page 2



      Wallace, David A.                    0.10 hrs   300.00 /hr         $30.00


      Cadieux, Karen M.                    2.10 hrs   200.00 /hr        $420.00



   TOTAL FEES                              2.20 hrs                     $450.00

   TOTAL CHARGES FOR THIS INVOICE                                       $450.00
      12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                                Monthly Invoices Pg 299 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
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                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                  Billed through 02/15/2013
Tammy Hamzephour                                                  Invoice # 53445      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01157
190-FTW-L95
Fort Washington, PA 19034

Re: Stephanie J. Ramm
Matter No.: 721790

PROFESSIONAL SERVICES

02/06/2013   DAW        Review notice of bankruptcy meeting.                      L120        0.10 hrs


02/06/2013   KMC        Review notice of borrower's bankruptcy.                   L110        0.10 hrs


02/06/2013   KMC        Forward notice of borrower's bankruptcy to Ms.            L110        0.10 hrs
                        McGinnis (Residential Capital).

02/10/2013   DAW        Review notice of bankruptcy filing.                       L120        0.10 hrs




                        TOTAL FEES FOR THIS MATTER                                             $100.00


BILLING SUMMARY


         Wallace, David A.                            0.20 hrs    300.00 /hr         $60.00


         Cadieux, Karen M.                            0.20 hrs    200.00 /hr         $40.00



     TOTAL FEES                                       0.40 hrs                     $100.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
096 01157                 Monthly Invoices Pg 300 of 701
                                                      Invoice # 53445         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                       $100.00
       12-12020-mg          Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                                    Monthly Invoices Pg 301 of 701
                              CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                               March 20, 2013

                                                                      Billed through 02/15/2013
Tammy Hamzephour                                                      Invoice # 53446      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01162
190-FTW-L95
Fort Washington, PA 19034

Re: Susan E. Noel, et al.
Matter No.: 722514

PROFESSIONAL SERVICES

02/06/2013    JES           Review and respond to borrower's counsel's e-mail         L120        0.20 hrs
                            request for reinstatement information.



                            TOTAL FEES FOR THIS MATTER                                               $44.00


BILLING SUMMARY


           Sechler, Joel E.                               0.20 hrs   220.00 /hr          $44.00



      TOTAL FEES                                          0.20 hrs                      $44.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $44.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 302 of 701
                           CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                   Billed through 02/15/2013
Tammy Hamzephour                                                   Invoice # 53447      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01163
190-FTW-L95
Fort Washington, PA 19034

Re: Elizabeth Campbell, et al.
Matter No.: 722676

PROFESSIONAL SERVICES

02/07/2013    KMC        Review docket regarding status of motion for              L210        0.10 hrs
                         summary judgment.



                         TOTAL FEES FOR THIS MATTER                                               $20.00


BILLING SUMMARY


           Cadieux, Karen M.                           0.10 hrs   200.00 /hr          $20.00



      TOTAL FEES                                       0.10 hrs                      $20.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $20.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
                                 Monthly Invoices Pg 303 of 701
                           CARPENTER LIPPS & LELAND LLP

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                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              March 20, 2013

                                                                        Billed through 02/15/2013
Tammy Hamzephour                                                        Invoice # 53448      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01170
190-FTW-L95
Fort Washington, PA 19034

Re: H. Marc Chrysler, et al.
Matter No.: 725008

PROFESSIONAL SERVICES

02/07/2013    KMC        Telephone conference with Court regarding stay                 L110        0.20 hrs
                         issues.

02/07/2013    KMC        Draft notice the bankruptcy stay is still in effect.           L210        0.20 hrs




                         TOTAL FEES FOR THIS MATTER                                                    $80.00


BILLING SUMMARY


           Cadieux, Karen M.                              0.40 hrs     200.00 /hr          $80.00



      TOTAL FEES                                          0.40 hrs                        $80.00

      TOTAL CHARGES FOR THIS INVOICE                                                      $80.00
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                                    Monthly Invoices Pg 304 of 701
                             CARPENTER LIPPS & LELAND LLP

                                            280 Plaza, Suite 1300
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                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                                March 20, 2013

                                                                         Billed through 02/15/2013
Tammy Hamzephour                                                         Invoice # 53449      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01171
190-FTW-L95
Fort Washington, PA 19034

Re: Jon G. Paglio, et al.
Matter No.: 724325

PROFESSIONAL SERVICES

02/01/2013     DAW          Telephone conference with Ms. McGinnis                       L120        0.10 hrs
                            (Residential Capital, LLC) regarding loan
                            modification issues.
02/01/2013     KMC          Review docket to determine status of prior                   L110        0.10 hrs
                            foreclosure.

02/01/2013     KMC          Telephone conference with Ms. McGinnis                       L160        0.10 hrs
                            (Residential Capital) regarding status of settlement.

02/01/2013     KMC          Telephone conference with borrowers' counsel                 L110        0.20 hrs
                            regarding whether borrowers have funds to pay
                            towards the down payment on the loan
                            modification.
02/01/2013     KMC          Leave message for Ms. McGinnis (Residential                  L110        0.10 hrs
                            Capital) regarding checks received from
                            borrowers.
02/06/2013     DAW          Conference with Ms. Cadieux regarding status of              L120        0.20 hrs
                            settlement payments.

02/07/2013     KMC          Telephone conference with counsel for borrowers              L110        0.20 hrs
                            regarding status of down payment.

02/08/2013     KMC          Review docket regarding status of case.                      L110        0.10 hrs
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  096 01171                  Monthly Invoices Pg 305 of 701
                                                         Invoice # 53449             Page 2
02/08/2013   KMC      Telephone conference with plaintiff's counsel           L160       0.30 hrs
                      regarding settlement and status of funds for down
                      payment.
02/08/2013   KMC      Telephone conference with Ms. McGinnis                  L160       0.30 hrs
                      (Residential Capital) regarding settlement and
                      status of funds for down payment.
02/11/2013   KMC      Draft motion to reactivate.                             L210       0.40 hrs


02/12/2013   KMC      Telephone conference with Court regarding how to        L120       0.20 hrs
                      proceed in light of settlement falling through.

02/12/2013   KMC      Draft judgment decree in foreclosure.                   L110       0.30 hrs


02/13/2013   DAW      Review proposed judgment decree in foreclosure.         L210       0.40 hrs


02/13/2013   KMC      Leave message for bailiff regarding motion to           L110       0.10 hrs
                      reactivate.



                      TOTAL FEES FOR THIS MATTER                                          $690.00


BILLING SUMMARY


         Wallace, David A.                           0.70 hrs    300.00 /hr    $210.00


         Cadieux, Karen M.                           2.40 hrs    200.00 /hr    $480.00



     TOTAL FEES                                      3.10 hrs                  $690.00

     TOTAL CHARGES FOR THIS INVOICE                                            $690.00
        12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
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                            CARPENTER LIPPS & LELAND LLP

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                                              (614) 365-4100
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                                               March 20, 2013

                                                                      Billed through 02/28/2013
Tammy Hamzephour                                                      Invoice # 53450      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01172
190-FTW-L95
Fort Washington, PA 19034

Re: William J. Barrett, et al.
Matter No.: 724024

PROFESSIONAL SERVICES

02/01/2013     KMC         Telephone conference with Ms. McGinnis                     L110        0.10 hrs
                           (Residential Capital) regarding whether to proceed
                           with foreclosure action.
02/12/2013     KMC         E-mail counsel for Fannie Mae regarding status of          L110        0.10 hrs
                           case.



                           TOTAL FEES FOR THIS MATTER                                                $40.00


BILLING SUMMARY


           Cadieux, Karen M.                             0.20 hrs    200.00 /hr          $40.00



      TOTAL FEES                                         0.20 hrs                       $40.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $40.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                              Monthly Invoices Pg 307 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                 Billed through 02/15/2013
Tammy Hamzephour                                                 Invoice # 53451      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01173
190-FTW-L95
Fort Washington, PA 19034

Re: Price Hill Will
Matter No.: 724458

PROFESSIONAL SERVICES

02/01/2013   DAW       Review e-mails regarding Bass and Smith                   L120        0.10 hrs
                       depositions.

02/01/2013   DAW       Review e-mails regarding owned real estate                L120        0.10 hrs
                       corporate witness availability from Ms. McGinnis
                       (Residential Capital, LLC).
02/01/2013   JES       Attend second day of Ken Smith deposition.                L330        7.00 hrs


02/02/2013   JES       Review plaintiff's expert report.                         L120        2.00 hrs


02/04/2013   DAW       Review Price Hill Will's expert report.                   L120        0.40 hrs


02/04/2013   JES       Attend depositions of Mr. Smith and Mr. Bass.             L330        8.00 hrs


02/04/2013   JES       E-mail Ms. McGinnis regarding potential GMAC              L120        0.20 hrs
                       deposition witness.

02/05/2013   JES       Attend deposition of Mr. Bass.                            L330        8.00 hrs


02/06/2013   DAW       Review e-mail from counsel regarding                      L120        0.10 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
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                                                        Invoice # 53451           Page 2
                    coordination of additional discovery.

02/06/2013   JES    Review e-mail from co-defense counsel regarding        L120     0.20 hrs
                    discovery strategy.

02/07/2013   DAW    Telephone conference with Ms. McGinnis                 L120     0.20 hrs
                    (Residential Capital, LLC) regarding availability of
                    corporate REO witness.
02/07/2013   DAW    Conference with Mr. Sechler regarding discovery        L120     0.30 hrs
                    issues.

02/07/2013   DAW    Review subpoena regarding Todd Blersch                 L120     0.10 hrs
                    deposition.

02/07/2013   JES    Review discovery subpoenas served by co-defense        L120     0.50 hrs
                    counsel.

02/08/2013   DAW    Review correspondence regarding discovery from         L120     0.10 hrs
                    Mr. Schrider (Legal Aid Society of Southwest
                    Ohio).
02/11/2013   DAW    Review e-mail regarding witness availability from      L120     0.10 hrs
                    Ms. McGinnis (Residential Capital, LLC).

02/11/2013   DAW    Review e-mail regarding documents for GMAC's           L120     0.10 hrs
                    witness from Ms. McGinnis (Residential Capital,
                    LLC).
02/11/2013   DAW    Draft e-mail regarding documents for GMAC's            L120     0.10 hrs
                    witness to Ms. McGinnis (Residential Capital,
                    LLC).
02/11/2013   JES    E-mail client and opposing counsel regarding           L120     0.30 hrs
                    deposition dates for 30(B)(5) representative.

02/12/2013   DAW    Review e-mails from Ms. Frohlich (Morgan Lewis         L120     0.10 hrs
                    & Bockius LLP) regarding deposition date issues.

02/12/2013   DAW    Review e-mails from Ms. Frohlich (Morgan Lewis         L120     0.10 hrs
                    & Bockius LLP) regarding discovery from City of
                    Cincinnati.
02/12/2013   DAW    Conference with Mr. Sechler regarding GMAC             L120     0.20 hrs
                    witness, and discovery from City of Cincinnati.

02/12/2013   DAW    Review e-mails regarding deposition issues.            L120     0.10 hrs


02/12/2013   JES    Review City of Cincinnati's response to recent         L120     1.00 hrs
                    written discovery and review related e-mails from
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  096 01173                    Monthly Invoices Pg 309 of 701
                                                           Invoice # 53451               Page 3
                        co-counsel.
02/13/2013   DAW        Review e-mails regarding discovery and deposition        L120        0.20 hrs
                        issues.

02/13/2013   JES        Conference with Ms. McGinnis (Residential                L120        0.30 hrs
                        Capital) regarding strategy and upcoming potential
                        case deadlines.
02/14/2013   DAW        Review notice of deposition to Group F                   L120        0.20 hrs
                        defendants.

02/14/2013   DAW        Review e-mails regarding Blume and Biersch               L120        0.10 hrs
                        depositions.

02/14/2013   DAW        Review e-mails regarding Deutsche Bank                   L120        0.10 hrs
                        depositions.

02/14/2013   DAW        Review e-mails regarding GMAC corporate                  L120        0.10 hrs
                        witness availability for deposition.

02/14/2013   DAW        Telephone conference with Ms. McGinnis                   L120        0.20 hrs
                        (Residential Capital, LLC) regarding GMAC
                        corporate witness availability for deposition.
02/14/2013   JES        E-mail opposing counsel and client regarding             L120        0.20 hrs
                        deposition scheduling.

02/15/2013   JES        Review and respond to e-mails regarding                  L120        0.30 hrs
                        deposition scheduling.



                        TOTAL FEES FOR THIS MATTER                                           $7,090.00


BILLING SUMMARY


         Wallace, David A.                             3.10 hrs     300.00 /hr     $930.00


         Sechler, Joel E.                             28.00 hrs     220.00 /hr   $6,160.00



     TOTAL FEES                                       31.10 hrs                  $7,090.00

     TOTAL CHARGES FOR THIS INVOICE                                              $7,090.00
       12-12020-mg        Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
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                              CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                  Billed through 02/15/2013
Tammy Hamzephour                                                  Invoice # 53452      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01175
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa Fox, et al.
Matter No.: 723432

PROFESSIONAL SERVICES

02/06/2013    JES         Review and respond to e-mails from opposing             L120        0.30 hrs
                          counsel regarding finalization of permanent
                          modification settlements.


                          TOTAL FEES FOR THIS MATTER                                             $66.00


BILLING SUMMARY


           Sechler, Joel E.                            0.30 hrs   220.00 /hr         $66.00



      TOTAL FEES                                       0.30 hrs                     $66.00

      TOTAL CHARGES FOR THIS INVOICE                                                $66.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 311 of 701
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                   Billed through 02/15/2013
Tammy Hamzephour                                                   Invoice # 53453      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01181
190-FTW-L95
Fort Washington, PA 19034

Re: Louise R. Young-Berdella, et al.
Matter No.: 725757

PROFESSIONAL SERVICES

02/04/2013    JES        E-mail opposing counsel regarding status of               L120        0.10 hrs
                         settlement.

02/05/2013    JES        E-mail opposing counsel and client regarding              L120        0.20 hrs
                         status of permanent modification.

02/06/2013    JES        Review and respond to e-mails from opposing               L120        0.30 hrs
                         counsel regarding finalization of permanent
                         modification settlements.
02/07/2013    JES        Review and respond to opposing counsel e-mails            L120        0.20 hrs
                         regarding loan modification completion.

02/13/2013    JES        Review e-mail from opposing counsel regarding             L120        0.10 hrs
                         execution of loan modification documents.

02/15/2013    JES        Review and respond to e-mails from opposing               L120        0.30 hrs
                         counsel regarding settlement options.



                         TOTAL FEES FOR THIS MATTER                                             $264.00


BILLING SUMMARY


          Sechler, Joel E.                             1.20 hrs    220.00 /hr        $264.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                      Invoice # 53453         Page 2



   TOTAL FEES                              1.20 hrs                     $264.00

   TOTAL CHARGES FOR THIS INVOICE                                       $264.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 313 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                  Billed through 02/15/2013
Tammy Hamzephour                                                  Invoice # 53454      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01183
190-FTW-L95
Fort Washington, PA 19034

Re: Jamah Jackson
Matter No.: 726125

PROFESSIONAL SERVICES

02/01/2013   DAW       Review e-mail from Mr. Radke (Morgan Lewis &               L120        0.10 hrs
                       Bockius LLP) regarding additional notice of
                       violations.
02/01/2013   DAW       Draft e-mail to Mr. Radke (Morgan Lewis &                  L120        0.20 hrs
                       Bockius LLP) regarding additional violation notice
                       and Court case.
02/01/2013   DAW       Attend pretrial conference with prosecutor and             L230        1.90 hrs
                       Magistrate.

02/01/2013   DAW       Draft e-mail to Mr. Radke (Morgan Lewis &                  L120        0.50 hrs
                       Bockius LLP) regarding pretrial conference.

02/01/2013   DAW       Review additional e-mail from Mr. Radke (Morgan            L120        0.10 hrs
                       Lewis & Bockius LLP) regarding additional
                       violation notice and court case.
02/01/2013   DAW       Prepare for pretrial conference (1.10), and                L230        1.50 hrs
                       telephone conference with Ms. McGinnis
                       (Residential Capital, LLC) regarding pretrial
                       conference, expense issues, and new violation
                       notice and case. (.40)
02/01/2013   DAW       Telephone conference with Ms. McGinnis                     L230        1.50 hrs
                       regarding pretrial conference (.40), and dictate
                       memorandum regarding pretrial conference to Ms.
                       McGinnis (Residential Capital, LLC). (1.10)
02/05/2013   DAW       Review e-mail from City of Cleveland regarding             L120        0.10 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  096 01183                 Monthly Invoices Pg 314 of 701
                                                        Invoice # 53454           Page 2
                    public records request.

02/05/2013   DAW    Telephone conference with Ms. Zvomuya                  L120     0.10 hrs
                    (prosecutor) regarding case and plea issues.

02/05/2013   DAW    Draft e-mail to Ms. Zvomuya (prosecutor)               L120     0.30 hrs
                    regarding restitution.

02/06/2013   DAW    Telephone conference with Ms. Zvomuya                  L120     0.30 hrs
                    (prosecutor) regarding restitution, and plea issues.

02/06/2013   DAW    Review e-mail from Ms. Zvomuya (prosecutor)            L120     0.30 hrs
                    confirming restitution amounts, including review
                    of asbestos costs.
02/06/2013   DAW    Draft e-mail to Ms. McGinnis (Residential Capital,     L120     0.40 hrs
                    LLC) regarding confirmation of restitution
                    amounts, including asbestos costs.
02/06/2013   DAW    Review water bills to determine correct restitution    L120     0.30 hrs
                    amount.

02/07/2013   DAW    Telephone conferences with Ms. McGinnis                L120     0.40 hrs
                    (Residential Capital, LLC) regarding ordering
                    reinstatement checks, and change of plea hearing.
02/07/2013   DAW    Telephone conference with Ms. Zvomuya                  L120     0.20 hrs
                    (prosecutor) regarding ordering reinstatement
                    checks, and change of plea hearing.
02/07/2013   DAW    Review e-mail from Ms. Zvomuya (prosecutor)            L120     0.10 hrs
                    regarding invoices.

02/07/2013   DAW    Review proposed servicer officer's certificates.       L120     0.30 hrs


02/07/2013   DAW    Draft e-mail to Ms. McGinnis (Residential Capital,     L120     0.20 hrs
                    LLC) regarding servicer officer's certificates.

02/07/2013   DAW    Draft e-mail to Mr. Radke (Morgan Lewis &              L120     0.20 hrs
                    Bockius LLP) regarding servicer officer's
                    certificates.
02/08/2013   DAW    Review invoices from prosecutor, and forward to        L120     0.10 hrs
                    Ms. McGinnis (Residential Capital, LLC).

02/11/2013   DAW    Telephone conference with Magistrate regarding         L120     0.30 hrs
                    change of plea and new recently filed related
                    criminal case.
02/11/2013   DAW    Review plea authorizations.                            L120     0.10 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
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                                                        Invoice # 53454           Page 3


02/11/2013   DAW    Review e-mail from Mr. Radke (Morgan Lewis &           L120     0.10 hrs
                    Bockius LLP) regarding plea issues.

02/11/2013   DAW    Review dockets regarding motion status.                L120     0.10 hrs


02/11/2013   DAW    Draft e-mails to prosecutor regarding defendant        L120     0.20 hrs
                    name and related cases, including plea case and
                    corporate authority.
02/11/2013   DAW    Review e-mails from prosecutor regarding               L120     0.20 hrs
                    defendant name and related issues, including plea
                    case and corporate authority.
02/12/2013   DAW    Meet with prosecutor regarding change of plea          L120     0.30 hrs
                    issues.

02/12/2013   DAW    Attend change of plea hearing.                         L230     1.30 hrs


02/12/2013   DAW    Revise e-mails to Ms. McGinnis (Residential            L120     0.20 hrs
                    Capital, LLC) and Mr. Radke (Morgan Lewis &
                    Bockius LLP) regarding change of plea hearing.
02/12/2013   DAW    Draft follow-up e-mail regarding sentencing issues.    L120     0.20 hrs


02/12/2013   DAW    Prepare for change of plea hearing, including          L230     1.80 hrs
                    outlining issues to cover at hearing.

02/12/2013   DAW    Telephone conference with Ms. McGinnis                 L120     1.70 hrs
                    (Residential Capital, LLC) regarding change of
                    plea (.60), and drafting e-mails reporting on change
                    of plea to Ms. McGinnis (Residential Capital,
                    LLC) and Mr. Radke (Morgan Lewis & Bockius
                    LLP). (1.10)
02/14/2013   DAW    Review checks for restitution payment.                 L120     0.10 hrs


02/14/2013   DAW    Draft correspondence to Ms. Robinson (GMAC             L120     0.10 hrs
                    ResCap) regarding separate checks for restitution.

02/14/2013   DAW    Telephone conference with Ms. McGinnis                 L120     0.20 hrs
                    (Residential Capital) regarding check issues.

02/15/2013   DAW    Telephone conference with Ms. Zvomuya                  L120     0.20 hrs
                    (prosecutor) regarding confirming need for
                    separate checks for restitution.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
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                                                         Invoice # 53454                 Page 4


                      TOTAL FEES FOR THIS MATTER                                             $4,860.00

EXPENSES

02/01/2013            (TRIP-DAW-2/1/13) Out-of-Town Travel/Mileage (284 miles X               $160.46
                      .565) - travel to Cleveland, OH to attend hearing

02/01/2013            (TRIP-DAW-2/1/13) Out-of-Town Travel/Parking - travel to                   $7.50
                      Cleveland, OH to attend hearing

02/12/2013            (TRIP-DAW-2/12/13) Out-of-Town Travel/Mileage (284 miles X              $160.46
                      .565) - travel to Cleveland, OH to attend plea hearing

02/12/2013            (TRIP-DAW-2/12/13) Out-of-Town Travel/Parking - travel to                  $7.50
                      Cleveland, OH to attend plea hearing

                      TOTAL EXPENSES FOR THIS MATTER                                          $335.92


BILLING SUMMARY


         Wallace, David A.                       16.20 hrs   300.00 /hr          $4,860.00



     TOTAL FEES                                  16.20 hrs                       $4,860.00

     TOTAL EXPENSES                                                               $335.92

     TOTAL CHARGES FOR THIS INVOICE                                              $5,195.92
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                               Monthly Invoices Pg 317 of 701
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
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                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                  Billed through 02/15/2013
Tammy Hamzephour                                                  Invoice # 53455      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01185
190-FTW-L95
Fort Washington, PA 19034

Re: Lisa M. Ramey
Matter No.: 726140

PROFESSIONAL SERVICES

02/08/2013   DAW        Review defendant's Rule 56(F) motion.                     L120        0.10 hrs


02/11/2013   JES        Review Rule 56(F) motion and authorities cited.           L120        1.00 hrs


02/14/2013   JES        Review and respond to e-mail from opposing                L120        0.20 hrs
                        counsel regarding 30(B)(5) deposition of
                        GMACM.
02/15/2013   JES        Review and respond to e-mails from opposing               L120        0.30 hrs
                        counsel regarding settlement options.



                        TOTAL FEES FOR THIS MATTER                                             $360.00


BILLING SUMMARY


         Wallace, David A.                            0.10 hrs   300.00 /hr          $30.00


         Sechler, Joel E.                             1.50 hrs   220.00 /hr         $330.00



     TOTAL FEES                                       1.60 hrs                     $360.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
096 01185                 Monthly Invoices Pg 318 of 701
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   TOTAL CHARGES FOR THIS INVOICE                                       $360.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                              Monthly Invoices Pg 319 of 701
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                          March 20, 2013

                                                                 Billed through 02/28/2013
Tammy Hamzephour                                                 Invoice # 53456      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01191
190-FTW-L95
Fort Washington, PA 19034

Re: Evan D. Morgan
Matter No.: 727081

PROFESSIONAL SERVICES

02/05/2013   KMC       Review e-mail from counsel for PNC regarding no           L510        0.10 hrs
                       appeal being filed.

02/08/2013   KMC       Forward order granting motion to dismiss to Ms.           L210        0.20 hrs
                       McGinnis (Residential Capital).



                       TOTAL FEES FOR THIS MATTER                                               $60.00


BILLING SUMMARY


         Cadieux, Karen M.                           0.30 hrs   200.00 /hr          $60.00



     TOTAL FEES                                      0.30 hrs                      $60.00

     TOTAL CHARGES FOR THIS INVOICE                                                $60.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                Monthly Invoices Pg 320 of 701
                         CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                    Billed through 02/15/2013
Tammy Hamzephour                                                    Invoice # 53457      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01192
190-FTW-L95
Fort Washington, PA 19034

Re: Judith G. Bigelow
Matter No.: 728487

PROFESSIONAL SERVICES

02/01/2013   KMC        Provide status report to the Court.                         L120        0.20 hrs


02/01/2013   KMC        Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                        (Residential Capital) regarding status of deed in
                        lieu documents.
02/01/2013   KMC        Leave message for borrowers' counsel regarding              L110        0.10 hrs
                        status report to Court.

02/04/2013   KMC        E-mail correspondence with borrower's counsel               L110        0.20 hrs
                        regarding settlement issues and utilities.

02/04/2013   KMC        E-mail Ms. McGinnis (Residential Capital)                   L110        0.20 hrs
                        regarding utilities.

02/08/2013   KMC        Review e-mail from borrower's counsel regarding             L110        0.10 hrs
                        utilities.

02/11/2013   KMC        Leave message for Ms. McGinnis (Residential                 L110        0.10 hrs
                        Capital) regarding deed in lieu documents.

02/11/2013   KMC        Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                        (Residential Capital) regarding status of deed in
                        lieu documents.
02/11/2013   KMC        Review notice of status report.                             L110        0.10 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                        Invoice # 53457         Page 2



02/11/2013   KMC    Review deed in lieu agreement.                       L110     0.10 hrs


02/12/2013   KMC    Telephone conference with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding deed in lieu
                    documents.
02/12/2013   KMC    Telephone conferences with foreclosure counsel       L110     0.40 hrs
                    regarding deed in lieu documents and title issues.

02/12/2013   KMC    E-mail probate docket for borrower's ex-husband      L110     0.20 hrs
                    to Ms. McGinnis (Residential Capital)

02/12/2013   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.20 hrs
                    regarding title issues.

02/13/2013   KMC    Telephone conference with Ms. McGinnis               L110     0.10 hrs
                    (Residential Capital) regarding deed in lieu.

02/13/2013   KMC    Draft settlement agreement.                          L110     1.10 hrs


02/13/2013   KMC    E-mail settlement agreement to Ms. McGinnis          L160     0.10 hrs
                    (Residential Capital) for review and approval.

02/13/2013   KMC    E-mail correspondence with Ms. McGinnis              L160     0.10 hrs
                    (Residential Capital regarding settlement
                    agreement.
02/13/2013   KMC    Review deed in lieu agreement.                       L110     0.10 hrs


02/13/2013   KMC    Review deed in lieu and other settlement             L110     0.50 hrs
                    documents from foreclosure counsel.

02/14/2013   KMC    Prepare deed in lieu documents to be sent to         L110     0.40 hrs
                    borrowers' counsel.

02/14/2013   KMC    E-mail correspondence with Ms. McGinnis              L110     0.10 hrs
                    (Residential Capital) regarding settlement
                    agreement.
02/14/2013   KMC    Telephone conference with Ms. McGinnis               L160     0.30 hrs
                    (Residential Capital) regarding settlement.

02/14/2013   KMC    Forward settlement documents to borrower's           L110     0.30 hrs
                    counsel for execution.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
  096 01192                  Monthly Invoices Pg 322 of 701
                                                         Invoice # 53457            Page 3

02/15/2013   DAW      Conference with Ms. Cadieux regarding settlement      L120        0.20 hrs
                      agreement, and deed-in-lieu.

02/15/2013   KMC      E-mail borrower's counsel regarding changes and       L110        0.20 hrs
                      Ms. Bigelow vacating property.

02/15/2013   KMC      Review e-mail regarding changes to settlement         L110        0.30 hrs
                      agreement and deed in lieu documents.



                      TOTAL FEES FOR THIS MATTER                                        $1,280.00


BILLING SUMMARY


         Wallace, David A.                          0.20 hrs   300.00 /hr      $60.00


         Cadieux, Karen M.                          6.10 hrs   200.00 /hr   $1,220.00



     TOTAL FEES                                     6.30 hrs                $1,280.00

     TOTAL CHARGES FOR THIS INVOICE                                         $1,280.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                                 Monthly Invoices Pg 323 of 701
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                   Billed through 02/28/2013
Tammy Hamzephour                                                   Invoice # 53458      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01201
190-FTW-L95
Fort Washington, PA 19034

Re: Robert D. Kehoe, et al.
    Matter No.:729779

PROFESSIONAL SERVICES

02/28/2013    DAW         Review notice of dismissal.                              L120        0.10 hrs




                         TOTAL FEES FOR THIS MATTER                                               $30.00


BILLING SUMMARY


           Wallace, David A.                            0.10 hrs   300.00 /hr         $30.00



      TOTAL FEES                                        0.10 hrs                     $30.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $30.00
       12-12020-mg         Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                   Monthly Invoices Pg 324 of 701
                            CARPENTER LIPPS & LELAND LLP

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                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                               March 20, 2013

                                                                       Billed through 02/15/2013
Tammy Hamzephour                                                       Invoice # 53459      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01203
190-FTW-L95
Fort Washington, PA 19034

Re: Caley Coleff, et al.
Matter No.: 729894

PROFESSIONAL SERVICES

02/05/2013     KMC         Draft motion for extension of time to file appellee         L510        0.30 hrs
                           brief.



                           TOTAL FEES FOR THIS MATTER                                                 $60.00

EXPENSES

02/05/2013                 Delivery Service/Messengers - Federal Express to Cuyahoga                  $11.98
                           County Clerk of Courts

                           TOTAL EXPENSES FOR THIS MATTER                                             $11.98


BILLING SUMMARY


           Cadieux, Karen M.                              0.30 hrs     200.00 /hr         $60.00



      TOTAL FEES                                          0.30 hrs                       $60.00

      TOTAL EXPENSES                                                                     $11.98

      TOTAL CHARGES FOR THIS INVOICE                                                     $71.98
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
096 01203                 Monthly Invoices Pg 325 of 701
                                                      Invoice # 53459       Page 2
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                 Monthly Invoices Pg 326 of 701
                              CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                    Billed through 02/15/2013
Tammy Hamzephour                                                    Invoice # 53460      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01212
190-FTW-L95
Fort Washington, PA 19034

Re: Felix R. Aponte, et al.
Matter No.: 731345

PROFESSIONAL SERVICES

02/04/2013     DAW        Review Court's order regarding oral argument.             L120        0.10 hrs


02/07/2013     KMC        Forward order regarding oral argument to Ms.              L210        0.10 hrs
                          McGinnis (Residential Capital).



                          TOTAL FEES FOR THIS MATTER                                               $50.00


BILLING SUMMARY


           Wallace, David A.                            0.10 hrs   300.00 /hr          $30.00


           Cadieux, Karen M.                            0.10 hrs   200.00 /hr          $20.00



      TOTAL FEES                                        0.20 hrs                      $50.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $50.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 327 of 701
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                   Billed through 02/15/2013
Tammy Hamzephour                                                   Invoice # 53461      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01216
190-FTW-L95
Fort Washington, PA 19034

Re: Robert H. Denny, et al. (Foreclosure Action)
Matter No.: 731863

PROFESSIONAL SERVICES

02/05/2013    DAW        Review defendant's response to motions.                   L120        0.10 hrs


02/05/2013    KMC        Review borrowers' response to motion for leave to         L210        0.10 hrs
                         file opposition to motion to dismiss.

02/08/2013    DAW        Review Court's order denying motion to dismiss.           L120        0.10 hrs


02/08/2013    KMC        Review entry denying motion to dismiss.                   L110        0.10 hrs


02/13/2013    DAW        Review defendants' motion for extension of time.          L120        0.10 hrs


02/13/2013    KMC        Review borrowers' motion for extension of time to         L210        0.10 hrs
                         respond to discovery.

02/15/2013    KMC        Review correspondence regarding prior settlement.         L110        0.30 hrs




                         TOTAL FEES FOR THIS MATTER                                             $210.00


BILLING SUMMARY
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
096 01216                 Monthly Invoices Pg 328 of 701
                                                      Invoice # 53461         Page 2



      Wallace, David A.                    0.30 hrs   300.00 /hr         $90.00


      Cadieux, Karen M.                    0.60 hrs   200.00 /hr        $120.00



   TOTAL FEES                              0.90 hrs                     $210.00

   TOTAL CHARGES FOR THIS INVOICE                                       $210.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                               Monthly Invoices Pg 329 of 701
                         CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                   Billed through 02/15/2013
Tammy Hamzephour                                                   Invoice # 53462      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01225
190-FTW-L95
Fort Washington, PA 19034

Re: Gene Bucnaventura McKinley, et al.
Matter No.: 734068

PROFESSIONAL SERVICES

02/15/2013   KMC        Forward bankruptcy notice to Ms. McGinnis                  L110        0.10 hrs
                        (Residential Capital).



                        TOTAL FEES FOR THIS MATTER                                                $20.00


BILLING SUMMARY


          Cadieux, Karen M.                            0.10 hrs    200.00 /hr         $20.00



     TOTAL FEES                                        0.10 hrs                      $20.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $20.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                                Monthly Invoices Pg 330 of 701
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                     Billed through 02/15/2013
Tammy Hamzephour                                                     Invoice # 53463      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01227
190-FTW-L95
Fort Washington, PA 19034

Re: Charles M. Lawler, et al.
    Matter No.: 734516

PROFESSIONAL SERVICES

02/12/2013    KMC        Review order setting pretrial.                              L210        0.10 hrs




                         TOTAL FEES FOR THIS MATTER                                                 $20.00


BILLING SUMMARY


           Cadieux, Karen M.                              0.10 hrs   200.00 /hr         $20.00



      TOTAL FEES                                          0.10 hrs                     $20.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $20.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                                 Monthly Invoices Pg 331 of 701
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              March 20, 2013

                                                                      Billed through 02/15/2013
Tammy Hamzephour                                                      Invoice # 53464      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01228
190-FTW-L95
Fort Washington, PA 19034

Re: Robert J. Baker, et al.
Matter No.: 734671

PROFESSIONAL SERVICES

02/10/2013     DAW        Review Court order granting motion to amend                 L120        0.10 hrs
                          complaint.

02/13/2013     KMC        Contact counsel for second lienholder regarding             L110        0.10 hrs
                          service of documents.

02/13/2013     KMC        Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                          (Residential Capital) regarding loss mitigation.

02/13/2013     KMC        Review updated docket.                                      L110        0.10 hrs


02/14/2013     DAW        Review amended complaint, and determine answer              L120        0.20 hrs
                          date.

02/14/2013     DAW        Conference with Ms. Cadieux regarding answer to             L120        0.10 hrs
                          amended complaint.

02/14/2013     KMC        Review correspondence with Ms. McGinnis                     L110        0.20 hrs
                          (Residential Capital) regarding amended
                          complaint.
02/15/2013     KMC        E-mail correspondence with plaintiff's counsel              L110        0.10 hrs
                          regarding service of documents.
     12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
 096 01228                 Monthly Invoices Pg 332 of 701
                                                       Invoice # 53464         Page 2
                    TOTAL FEES FOR THIS MATTER                                     $260.00


BILLING SUMMARY


       Wallace, David A.                    0.40 hrs   300.00 /hr        $120.00


       Cadieux, Karen M.                    0.70 hrs   200.00 /hr        $140.00



    TOTAL FEES                              1.10 hrs                     $260.00

    TOTAL CHARGES FOR THIS INVOICE                                       $260.00
      12-12020-mg        Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                 Monthly Invoices Pg 333 of 701
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                       Billed through 02/15/2013
Tammy Hamzephour                                                       Invoice # 53465      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01229
190-FTW-L95
Fort Washington, PA 19034

Re: Mae Huggins
    Matter No.: 735091

PROFESSIONAL SERVICES

02/13/2013   DAW         Conference with Ms. Cadieux regarding proposed                L120        0.20 hrs
                         private sale.

02/13/2013   KMC         Telephone conference with counsel for estate                  L110        0.40 hrs
                         regarding status of case and how to proceed.

02/13/2013   KMC         E-mail Ms. McGinnis (Residential Capital)                     L110        0.30 hrs
                         regarding how to proceed with case.

02/14/2013   KMC         Telephone conference with Ms. McGinnis                        L110        0.30 hrs
                         (Residential Capital) regarding how to proceed.

02/14/2013   KMC         Review broker price options and appraisals.                   L110        0.30 hrs


02/15/2013   KMC         Review e-mail regarding FHA insurance issues.                 L110        0.20 hrs




                         TOTAL FEES FOR THIS MATTER                                                 $360.00


BILLING SUMMARY


         Wallace, David A.                             0.20 hrs    300.00 /hr             $60.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
096 01229                 Monthly Invoices Pg 334 of 701
                                                      Invoice # 53465         Page 2


      Cadieux, Karen M.                    1.50 hrs   200.00 /hr        $300.00



   TOTAL FEES                              1.70 hrs                     $360.00

   TOTAL CHARGES FOR THIS INVOICE                                       $360.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                 Monthly Invoices Pg 335 of 701
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                    Billed through 02/15/2013
Tammy Hamzephour                                                    Invoice # 53466      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01231
190-FTW-L95
Fort Washington, PA 19034

Re: Robert S. Dinkins, et al.
Matter No.: 735559

PROFESSIONAL SERVICES

02/12/2013     KMC        E-mail counsel for borrower regarding discovery.          L110        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                               $20.00


BILLING SUMMARY


           Cadieux, Karen M.                            0.10 hrs   200.00 /hr          $20.00



      TOTAL FEES                                        0.10 hrs                      $20.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $20.00
        12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
                                  Monthly Invoices Pg 336 of 701
                            CARPENTER LIPPS & LELAND LLP

                                            280 Plaza, Suite 1300
                                            280 North High Street
                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                                March 20, 2013

                                                                         Billed through 02/15/2013
Tammy Hamzephour                                                         Invoice # 53467      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01233
190-FTW-L95
Fort Washington, PA 19034

Re: John T. Walker, III, et al.


PROFESSIONAL SERVICES

02/01/2013     DAW         Review e-mail regarding new case assignment.                  L120        0.10 hrs


02/12/2013     KMC         E-mail notice of trial to Ms. McGinnis (Residential           L110        0.10 hrs
                           Capital).

02/12/2013     KMC         Forward time-stamped reply to counterclaim to                 L110        0.10 hrs
                           Ms. McGinnis (Residential Capital).

02/13/2013     KMC         E-mail correspondence with Ms. McGinnis                       L110        0.10 hrs
                           (Residential Capital) regarding length of trial.



                          TOTAL FEES FOR THIS MATTER                                                    $90.00


BILLING SUMMARY


           Wallace, David A.                               0.10 hrs     300.00 /hr          $30.00


           Cadieux, Karen M.                               0.30 hrs     200.00 /hr          $60.00



      TOTAL FEES                                           0.40 hrs                        $90.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
096 01233                 Monthly Invoices Pg 337 of 701
                                                      Invoice # 53467        Page 2

   TOTAL CHARGES FOR THIS INVOICE                                       $90.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                 Monthly Invoices Pg 338 of 701
                              CARPENTER LIPPS & LELAND LLP

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                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              March 20, 2013

                                                                       Billed through 02/15/2013
Tammy Hamzephour                                                       Invoice # 53468      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01235
190-FTW-L95
Fort Washington, PA 19034

Re: Stanley Jackson, et al.


PROFESSIONAL SERVICES

02/04/2013     KMC        Draft notice of appearance.                                  L210        0.10 hrs


02/05/2013     DAW        Review brief of appellants.                                  L120        0.20 hrs


02/05/2013     KMC        Review docket to determine status of case.                   L110        0.20 hrs


02/05/2013     KMC        E-mail foreclosure counsel regarding appellant's             L510        0.10 hrs
                          brief.

02/05/2013     KMC        Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                          (Residential Capital) regarding loss mitigation and
                          issues in case.
02/05/2013     KMC        Review appellant's brief.                                    L110        0.40 hrs


02/05/2013     KMC        E-mail correspondence with foreclosure counsel               L110        0.30 hrs
                          regarding whether to proceed with sale of property.

02/05/2013     KMC        Forward appellant's brief to Ms. McGinnis                    L110        0.10 hrs
                          (Residential Capital).

02/05/2013     KMC        Review foreclosure file.                                     L110        1.20 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                        Invoice # 53468          Page 2


02/06/2013   KMC    E-mail correspondence with foreclosure counsel        L110     0.20 hrs
                    regarding sale and additional file materials.

02/06/2013   KMC    Review appellant's brief.                             L520     0.30 hrs


02/08/2013   KMC    Research regarding equitable issues where a lender    L120     1.90 hrs
                    tells a borrower to stop making payments.

02/11/2013   KMC    Research regarding equitable foreclosure issues.      L110     1.40 hrs


02/11/2013   KMC    Draft appellate brief.                                L520     2.10 hrs


02/11/2013   KMC    Review e-mail regarding borrower calling in to        L110     0.10 hrs
                    find out status of loan modification review.

02/11/2013   KMC    Leave message for borrower's counsel regarding        L110     0.10 hrs
                    loan modification additional information needed.

02/12/2013   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding whether to proceed
                    with sale.
02/12/2013   KMC    Telephone conference with counsel for borrower        L110     0.20 hrs
                    regarding loss mitigation and documents needed.

02/12/2013   KMC    Draft appellate brief.                                L510     3.80 hrs


02/12/2013   KMC    Forward loss mitigation application to borrower's     L110     0.10 hrs
                    counsel.

02/12/2013   KMC    E-mail foreclosure counsel regarding service issues   L110     0.20 hrs
                    and loss mitigation.

02/13/2013   KMC    Research regarding waiver.                            L120     1.80 hrs


02/13/2013   KMC    Research regarding affidavits conflicting with        L110     1.70 hrs
                    record.

02/14/2013   KMC    Research regarding vague affidavit.                   L110     1.10 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
  096 01235                  Monthly Invoices Pg 340 of 701
                                                         Invoice # 53468              Page 3
02/14/2013   KMC      Draft appellate brief.                                  L520        1.90 hrs


02/15/2013   DAW      Conference with Ms. Cadieux regarding appeal            L120        0.50 hrs
                      issues.

02/15/2013   KMC      Draft appellate brief.                                  L520        3.40 hrs


02/15/2013   KMC      Research regarding legal theories not presented to      L110        2.10 hrs
                      trial court and standard of review.



                      TOTAL FEES FOR THIS MATTER                                          $5,270.00


BILLING SUMMARY


         Wallace, David A.                           0.70 hrs    300.00 /hr     $210.00


         Cadieux, Karen M.                          25.30 hrs    200.00 /hr   $5,060.00



     TOTAL FEES                                     26.00 hrs                 $5,270.00

     TOTAL CHARGES FOR THIS INVOICE                                           $5,270.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                 Exhibit E
                                 Monthly Invoices Pg 341 of 701
                              CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                                  March 20, 2013

                                                                          Billed through 02/15/2013
Tammy Hamzephour                                                          Invoice # 53470      JAL
Residential Capital, LLC
1100 Virginia Drive                                                       Our file # 096 01237
190-FTW-L95
Fort Washington, PA 19034

Re: Charles Waller, et al.


PROFESSIONAL SERVICES

02/01/2013     KMC           Telephone conference with Ms. McGinnis                       L510        0.10 hrs
                             (Residential Capital) regarding appeal.

02/01/2013     KMC           Review notice of appeal.                                     L510        0.20 hrs


02/04/2013     DAW           Review complaint and docket in reference to                  L120        0.40 hrs
                             appeal.

02/05/2013     DAW           Review e-mail regarding new case assignment,                 L120        0.30 hrs
                             including notice of appeal and related documents.

02/05/2013     DAW           Review Court's docket.                                       L120        0.10 hrs


02/05/2013     KMC           Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                             (Residential Capital) regarding status of case.

02/05/2013     KMC           Review loan documents.                                       L110        0.60 hrs


02/05/2013     KMC           Review foreclosure file.                                     L110        0.90 hrs


02/05/2013     KMC           E-mail foreclosure counsel regarding missing                 L110        0.20 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
  096 01237                 Monthly Invoices Pg 342 of 701
                                                        Invoice # 53470       Page 2
                    documents in file.

02/06/2013   DAW    Review docket and identify pleadings and motions   L120     0.30 hrs
                    needed for review.

02/06/2013   DAW    Conference with Ms. Cadieux regarding appeal and   L120     0.20 hrs
                    bond issues.

02/06/2013   KMC    Draft motion for extension of time to respond to   L210     0.30 hrs
                    motion to stay execution.

02/06/2013   KMC    Draft memorandum in opposition to motion to        L210     0.40 hrs
                    stay.

02/06/2013   KMC    Review additional documents from foreclosure       L110     0.30 hrs
                    counsel.

02/06/2013   KMC    Attention to obtaining missing documents from      L110     0.30 hrs
                    Court.

02/06/2013   KMC    Review payment history.                            L110     0.40 hrs


02/07/2013   DAW    Revise notice of appearance, and motion for        L210     0.20 hrs
                    extension of time.

02/08/2013   KMC    Review fact package.                               L110     0.30 hrs


02/11/2013   DAW    Conference with Ms. Cadieux regarding appeal and   L120     0.20 hrs
                    stay issues.

02/12/2013   KMC    Review fact package.                               L110     0.60 hrs


02/12/2013   KMC    Draft correspondence to borrowers regarding        L110     0.60 hrs
                    mediation and loss mitigation.

02/12/2013   KMC    Review order granting stay of execution.           L210     0.10 hrs


02/12/2013   KMC    Review order setting mediation.                    L210     0.10 hrs


02/12/2013   KMC    E-mail Ms. McGinnis (Residential Capital)          L110     0.10 hrs
                    regarding loss mitigation issues.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                                                         Invoice # 53470                  Page 3

02/12/2013   KMC      E-mail Ms. McGinnis (Residential Capital)                   L110        0.30 hrs
                      regarding pre-hearing conference and stay of
                      execution being granted.
02/12/2013   KMC      Review Fi-serv notes.                                       L110        0.40 hrs


02/13/2013   DAW      Revise correspondence.                                      L120        0.20 hrs


02/13/2013   KMC      Revise letter to borrowers per Mr. Wallace.                 L110        0.30 hrs


02/13/2013   KMC      E-mail correspondence with foreclosure counsel              L110        0.10 hrs
                      regarding stopping sale.

02/14/2013   DAW      Review e-mails regarding pre-hearing conference             L120        0.10 hrs
                      issues.

02/14/2013   KMC      E-mail Ms. McGinnis (Residential Capital)                   L110        0.10 hrs
                      regarding pre-hearing conference.



                      TOTAL FEES FOR THIS MATTER                                              $1,980.00

EXPENSES

02/07/2013            Out-of-Town Travel/Mileage (290 miles X .565 split X 3) -                   $54.62
                      travel to Cleveland, OH for filing (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                              $54.62


BILLING SUMMARY


         Wallace, David A.                           2.00 hrs   300.00 /hr          $600.00


         Cadieux, Karen M.                           6.90 hrs   200.00 /hr        $1,380.00



     TOTAL FEES                                      8.90 hrs                     $1,980.00

     TOTAL EXPENSES                                                                 $54.62

     TOTAL CHARGES FOR THIS INVOICE                                               $2,034.62
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
096 01237                 Monthly Invoices Pg 344 of 701
                                                      Invoice # 53470       Page 4
       12-12020-mg         Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                   Monthly Invoices Pg 345 of 701
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                               March 20, 2013

                                                                       Billed through 02/15/2013
Tammy Hamzephour                                                       Invoice # 53471      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01238
190-FTW-L95
Fort Washington, PA 19034

Re: Mary Hentley, et al.


PROFESSIONAL SERVICES

02/04/2013    KMC          Review e-mail regarding documents needed for                L110        0.20 hrs
                           loss mitigation review.

02/06/2013    DAW          Review e-mail regarding new case assignment                 L120        0.10 hrs
                           from Ms. McGinnis (Residential Capital, LLC).

02/06/2013    DAW          Review e-mail from Mr. Richardson (Manley                   L120        0.40 hrs
                           Deas) including recent case developments relating
                           to Hentley.
02/06/2013    DAW          Draft e-mail to Mr. Richardson (Manley Deas)                L120        0.20 hrs
                           regarding appeal issues.

02/06/2013    KMC          Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                           (Residential Capital) regarding new case.

02/06/2013    KMC          Review documents regarding new case including               L110        0.40 hrs
                           loan documents.

02/06/2013    KMC          Review foreclosure file.                                    L110        0.40 hrs


02/06/2013    KMC          Review e-mail from foreclosure counsel regarding            L110        0.30 hrs
                           issues on appeal.

02/06/2013    KMC          Review pooling and servicing agreement.                     L110        0.20 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
  096 01238                 Monthly Invoices Pg 346 of 701
                                                        Invoice # 53471                   Page 2


02/07/2013   DAW    Revise notice of appearance, and motion for                 L210        0.20 hrs
                    extension of time.

02/07/2013   KMC    Draft notice of appearance.                                 L210        0.10 hrs


02/07/2013   KMC    Draft motion for extension of time to file appellee         L510        0.30 hrs
                    brief.

02/08/2013   KMC    Review payment history and contact notes.                   L110        0.30 hrs


02/11/2013   DAW    Review e-mails from Mr. Richardson (Manley                  120         0.10 hrs
                    Deas) regarding appeal issues.

02/13/2013   DAW    Review brief of appellants.                                 L120        0.90 hrs


02/13/2013   DAW    Review Court's order granting extension of time.            L120        0.10 hrs


02/13/2013   KMC    Review order granting extension.                            L210        0.10 hrs


02/14/2013   DAW    Review Ohio law regarding subject matter                    L120        0.90 hrs
                    jurisdiction.

02/14/2013   DAW    Conference with Ms. Cadieux regarding legal                 L120        0.80 hrs
                    issues in brief.

02/14/2013   KMC    Review fact package.                                        L110        0.30 hrs




                    TOTAL FEES FOR THIS MATTER                                              $1,690.00

EXPENSES

02/07/2013          Out-of-Town Travel/Mileage (290 miles X .565 split X 3) -                     $54.62
                    travel to Cleveland, OH for filing (VW)

                    TOTAL EXPENSES FOR THIS MATTER                                                $54.62


BILLING SUMMARY
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
096 01238                 Monthly Invoices Pg 347 of 701
                                                      Invoice # 53471         Page 3


      Wallace, David A.                    3.70 hrs   300.00 /hr    $1,110.00


      Cadieux, Karen M.                    2.90 hrs   200.00 /hr        $580.00



   TOTAL FEES                              6.60 hrs                $1,690.00

   TOTAL EXPENSES                                                       $54.62

   TOTAL CHARGES FOR THIS INVOICE                                  $1,744.62
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                               Monthly Invoices Pg 348 of 701
                         CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                  Billed through 02/15/2013
Tammy Hamzephour                                                  Invoice # 53472      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01124
190-FTW-L95
Fort Washington, PA 19034

Re: Nicholas Stincic
Matter No.: 705844

PROFESSIONAL SERVICES

02/04/2013    DAW      Review e-mail regarding insurance letter, and draft        L120        0.20 hrs
                       e-mail to Ms. Ho (Residential Capital, LLC)
                       regarding same.


                       TOTAL FEES FOR THIS MATTER                                                $60.00


BILLING SUMMARY


          Wallace, David A.                           0.20 hrs    300.00 /hr         $60.00



      TOTAL FEES                                      0.20 hrs                      $60.00

      TOTAL CHARGES FOR THIS INVOICE                                                $60.00
       12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                 Monthly Invoices Pg 349 of 701
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                     Billed through 02/15/2013
Tammy Hamzephour                                                     Invoice # 53473      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 621 01145
190-FTW-L95
Fort Washington, PA 19034

Re: James Walton, Jr., et al.
Matter No.: 713075

PROFESSIONAL SERVICES

02/12/2013     DAW        Review notice of supplemental authority.                   L120        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                                $30.00


BILLING SUMMARY


           Wallace, David A.                            0.10 hrs     300.00 /hr         $30.00



      TOTAL FEES                                        0.10 hrs                       $30.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $30.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                               Monthly Invoices Pg 350 of 701
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                     Billed through 02/15/2013
Tammy Hamzephour                                                     Invoice # 53474      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 621 01155
190-FTW-L95
Fort Washington, PA 19034

Re: National Remediation Project
Matter No.: 702040

PROFESSIONAL SERVICES

02/01/2013   DAW        (Gary T. Thorne matter) Telephone conference                 L120        0.20 hrs
                        with Ms. McGinnis (Residential Capital, LLC)
                        regarding response to defendant's counsel and
                        hearing.
02/01/2013   DAW        (Gary T. Thorne matter) Draft e-mail to Mr. Smith            L120        0.30 hrs
                        (Thorne counsel) regarding loan modification, and
                        attorneys' fees issues.
02/04/2013   DAW        (Gary T. Thone matter) Confirm cancellation of               L120        0.10 hrs
                        hearing.

02/07/2013   DAW        (Gary T. Thorne matter) Review Court's order                 L120        0.10 hrs
                        rescheduling hearing.

02/07/2013   DAW        (Gary T. Thorne matter) Telephone conference                 L120        0.20 hrs
                        with Mr. Smith (Thorne counsel) regarding loan
                        modification issues.
02/07/2013   KMC        (Gary T. Thorne matter) Review entry continuing              L210        0.10 hrs
                        hearing.

02/08/2013   DAW        (Christopher Weil, et al. matter) Telephone                  L120        0.10 hrs
                        conference with Mr. Howe regarding notice of
                        voluntary dismissal.
02/08/2013   DAW        (Christopher Weil, et al. matter) Draft notice of            L210        0.20 hrs
                        voluntary dismissal without prejudice.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
  621 01155                  Monthly Invoices Pg 351 of 701
                                                         Invoice # 53474              Page 2
02/08/2013   DAW      (Christopher Weil, et al. matter) Draft e-mail to        L120       0.20 hrs
                      Ms. Ho (Residential Capital, LLC) regarding
                      voluntary dismissal.
02/11/2013   DAW      (Christopher Weil matter) Review defendant's             L120       0.20 hrs
                      answer and affirmative defenses.

02/12/2013   DAW      (Christopher Weil matter) Review e-mail from Ms.         L120       0.10 hrs
                      Ho (Residential Capital, LLC) regarding loan due
                      date, and prior foreclosure.
02/12/2013   DAW      (Christopher Weil matter) Review complaint and           L120       0.10 hrs
                      confirm answer due date.

02/12/2013   DAW      (Christopher Weil matter) Finalize notice of             L210       0.20 hrs
                      voluntary dismissal.

02/12/2013   DAW      (Christopher Weil matter) Draft e-mail regarding         L120       0.10 hrs
                      voluntary dismissal to Ms. Ho (Residential Capital,
                      LLC)
02/13/2013   DAW      (Gary T. Thorne matter) Review e-mail from Mr.           L120       0.10 hrs
                      Smith regarding payment date issues.

02/13/2013   DAW      (Gary T. Thorne matter) Draft e-mail to Mr. Smith        L120       0.10 hrs
                      regarding payment date issues.



                      TOTAL FEES FOR THIS MATTER                                           $710.00


BILLING SUMMARY


         Wallace, David A.                            2.30 hrs    300.00 /hr    $690.00


         Cadieux, Karen M.                            0.10 hrs    200.00 /hr     $20.00



     TOTAL FEES                                       2.40 hrs                  $710.00

     TOTAL CHARGES FOR THIS INVOICE                                             $710.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
                               Monthly Invoices Pg 352 of 701
                            CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          March 20, 2013

                                                                 Billed through 02/28/2013
Tammy Hamzephour                                                 Invoice # 53475      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 932 00050
190-FTW-L95
Fort Washington, PA 19034

Re: General Restructuring


PROFESSIONAL SERVICES

02/07/2013   DAB        Communicate with Ms. Gaunder regarding                   L120        0.10 hrs
                        revisions to case calendar.

02/26/2013   DAB        Review UCC response to CRO motion.                       L120        0.20 hrs


02/26/2013   DAB        E-mail Mr. Lipps and Ms. Battle regarding UCC            L120        0.20 hrs
                        response to CRO motion, status of Ally PSA,
                        RMBS trial and other pending developments.


                        TOTAL FEES FOR THIS MATTER                                            $140.00


BILLING SUMMARY


          Beck, David A.                            0.50 hrs     280.00 /hr        $140.00



      TOTAL FEES                                    0.50 hrs                      $140.00

      TOTAL CHARGES FOR THIS INVOICE                                              $140.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
                              Monthly Invoices Pg 353 of 701
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                          March 20, 2013

                                                                 Billed through 02/28/2013
Tammy Hamzephour                                                 Invoice # 53476      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 932 00053
190-FTW-L95
Fort Washington, PA 19034

Re: Administrative


EXPENSES

02/27/2013             Delivery Service/Messengers - Federal Express to Mr. Ziman                    $31.69
                       from Mr. Beck

02/27/2013             Delivery Service/Messengers - Federal Express to Ms. Davis                    $28.64
                       from Mr. Beck

02/27/2013             Delivery Service/Messengers - Federal Express to Mr. Cieri from               $31.69
                       Mr. Beck

02/27/2013             Delivery Service/Messengers - Federal Express to Ms. Nashelsky                $31.69
                       from Mr. Beck

02/27/2013             Delivery Service/Messengers - Federal Express to Mr. Eckstein                 $28.64
                       from Mr. Beck

                       TOTAL EXPENSES FOR THIS MATTER                                           $152.35


BILLING SUMMARY


     TOTAL EXPENSES                                                                 $152.35

     TOTAL CHARGES FOR THIS INVOICE                                                 $152.35
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                Monthly Invoices Pg 354 of 701
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             March 20, 2013

                                                                      Billed through 02/28/2013
Tammy Hamzephour                                                      Invoice # 53477      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

02/04/2013   JAL        Review subpoena in Mudd case (.10). Conference                L120        0.40 hrs
                        with Ms. Battle regarding same (.10). Review
                        e-mails regarding same (.20).
02/04/2013   JAL        Conference call with client and Ms. Battle                    L320        0.50 hrs
                        regarding document production requests from
                        SEC.
02/04/2013   JALB       Participate in weekly client status call with client          L120        0.50 hrs
                        and Mr. Lipps.

02/04/2013   JALB       Follow-up correspondence on weekly client call                L120        0.20 hrs
                        with Mr. Fons, Ms. Serfoss (both Morrison &
                        Foerster), Mr. Thompson and other client
                        representatives, and Mr. Lipps regarding
                        Fannie/Freddie background.
02/08/2013   JALB       Follow-up e-mails with Mr. Corcoran and Mr.                   L120        0.30 hrs
                        Underhill (Residential Capital) regarding response
                        to quality control post-fund results question from
                        Mr. Hoffman (Morrison & Foerster).
02/08/2013   JRC        Review and analyze documents in litigation                    L320        1.40 hrs
                        databases in order to respond to the SEC's request
                        for additional management reports.
02/08/2013   JRC        Draft e-mail to Mr. Hoffman (Morrison &                       L120        0.10 hrs
                        Foerster) summarizing management reports
                        requested by the SEC.
02/11/2013   JRC        Review and analyze documents in litigation                    L320        0.40 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
  932 00054                 Monthly Invoices Pg 355 of 701
                                                        Invoice # 53477         Page 2
                    databases in order to locate management reports
                    requested by the SEC.
02/11/2013   JRC    E-mail exchange with Ms. Searfoss (Morrison &        L320     0.10 hrs
                    Foerster) regarding management reports requested
                    by the SEC.
02/15/2013   JALB   Review clawback issue raised by Ms. Serfoss          L320     0.20 hrs
                    (Morrison & Foerster).

02/15/2013   JRC    Review documents produced to the SEC in order to     L320     0.20 hrs
                    determine whether a clawback request is necessary.

02/15/2013   JRC    Conference with Ms. Paul Whitfield regarding         L120     0.10 hrs
                    whether clawback request to the SEC is necessary.

02/19/2013   JAL    Review e-mails regarding SEC document requests       L320     1.00 hrs
                    (.20). E-mails with Ms. Battle regarding
                    responding to document requests (.20). Review
                    report on SEC call to Mr. Hoffman (Morrison &
                    Foerster) (.20). Conference with Ms. Marty
                    regarding e-mail restoration (.20). Review and
                    respond to e-mails regarding same (.20).
02/19/2013   JALB   Telephone conference with Mr. Hoffman                L120     0.30 hrs
                    (Morrison & Foerster) regarding request for
                    additional e-mails.
02/19/2013   JALB   Telephone conference with Mr. Underhill              L120     0.40 hrs
                    (Residential Capital), Ms. Serfoss (Morrison &
                    Foerster), Mr. Muscovitch (Residential Capital)
                    regarding post-fund audit reports.
02/19/2013   JALB   Review and respond to correspondence regarding       L120     0.30 hrs
                    new data request.

02/19/2013   JRC    Review and analyze documents in Discovery            L320     0.30 hrs
                    Partner in order to locate management reports in
                    response to requests from the SEC.
02/19/2013   JRC    E-mail exchange with Ms. Searfoss (Morrison &        L120     0.10 hrs
                    Foerster) regarding management reports requested
                    by the SEC.
02/19/2013   GNM    E-mail communications with Ms. Battle regarding      L120     0.10 hrs
                    new custodian requests from the SEC.

02/19/2013   GNM    Communicate with Mr. Lipps regarding new             L120     0.20 hrs
                    custodian requests from SEC.

02/19/2013   GNM    Communicate with Mr. Barthel regarding new           L120     0.20 hrs
                    custodian requests from SEC.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00054                 Monthly Invoices Pg 356 of 701
                                                        Invoice # 53477          Page 3
02/20/2013   JAL    Review and respond to e-mails regarding SEC           L320     0.30 hrs
                    document requests (.20). Conference with Ms.
                    Battle regarding same (.10).
02/25/2013   GNM    Drafting and sending e-mail communications to         L120     0.20 hrs
                    Ms. Serfoss (Morrison & Foerster) regarding audit
                    reports to be produced.
02/25/2013   GNM    Telephone communications with Ms. Serfoss             L120     0.60 hrs
                    (Morrison & Foerster) regarding new SEC data.

02/25/2013   GNM    E-mail communication with Ms. Serfoss (Morrison       L120     0.20 hrs
                    & Foerster) regarding audit reports to be produced.

02/26/2013   GNM    Drafting and sending e-mail communications to         L120     0.20 hrs
                    Ms. Klun (Lumen Legal) regarding reviewers for
                    SEC.
02/26/2013   GNM    Telephone communications with Ms. Wafalosky           L120     0.30 hrs
                    (Robert Half Legal) regarding reviewers for SEC.

02/26/2013   GNM    Telephone communications with Ms. Klun (Lumen         L120     0.30 hrs
                    Legal) regarding reviewers for SEC.

02/26/2013   GNM    Drafting review protocol for review of Wold and       L320     0.70 hrs
                    Lundsten documents.

02/26/2013   GNM    Telephone communications with Ms. Serfoss             L120     0.40 hrs
                    (Morrison & Foerster) regarding review of Wold
                    and Lundsten documents.
02/28/2013   JAL    Review report on Mr. Flees' testimony (.20).          L120     0.30 hrs
                    Telephone conference with Ms. Battle regarding
                    same (.10).
02/28/2013   JALB   Communicate with Ms. Marty regarding staffing         L120     0.20 hrs
                    for SEC quality control work.

02/28/2013   GNM    E-mail communications with Ms. Wafalosky              L120     0.10 hrs
                    (Robert Half Legal) regarding reviewers for SEC.

02/28/2013   GNM    E-mail communications with Ms. Klun (Lumen            L120     0.10 hrs
                    Legal) regarding reviewers for SEC.



                    TOTAL FEES FOR THIS MATTER                                     $2,836.00
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                 Exhibit E
  932 00054                    Monthly Invoices Pg 357 of 701
                                                           Invoice # 53477                     Page 4

EXPENSES

02/01/2013              Litigation Support Vendors - Robert Half (Services for 11/02/12          $79,564.3
                        to 11/30/12 ( 2396.57 hrs X $ 31.10 = $74,533.26 + tax $                         3
                        5,031.07 = $ 79,564.33)

02/28/2013              Litigation Support Vendors - Lumen Legal (services for 12/03/12          $3,506.08
                        to 12/16/12) (103.12 hrs X $ 34.00 = $ 3,506.08)

02/28/2013              Litigation Support Vendors - Lumen Legal (services for 10/22/12          $23,261.3
                        to 11/04/12) (374.67 hrs X $ 34.00 = $ 12,738.78 / 276.91 hrs X                  6
                        $ 38.00 = $ 10,522.58)

02/28/2013              Litigation Support Vendors - Lumen Legal (services for 11/5/12           $27,070.3
                        to 11/18/12) (162.92 hrs X $ 38.00 = $ 6,190.96 / 614.10 hrs X $                 6
                        34.00 = $ 20,879.40)

02/28/2013              Litigation Support Vendors - Robert Half (Services for 2/08/13           $15,123.6
                        to 3/01/13) ( 455.54 hrs X $ 31.10 = $14,167.33 + tax $ 956.29 =                 2
                        $ 15,123.62)

02/28/2013              Litigation Support Vendors - Lumen Legal (services for 2/25/13           $1,072.36
                        to 3/10/13) (28.22 hrs X $ 38.00 = $ 1,072.36)

                        TOTAL EXPENSES FOR THIS MATTER                                        $149,598.11


BILLING SUMMARY


         Marty, Gretchen N.                           3.60 hrs    175.00 /hr           $630.00


         Lipps, Jeffrey A.                            2.50 hrs    400.00 /hr         $1,000.00


         Battle, Jennifer A.L.                        2.40 hrs    300.00 /hr           $720.00


         Corcoran, Jeffrey R.                         2.70 hrs    180.00 /hr           $486.00



     TOTAL FEES                                      11.20 hrs                      $2,836.00

     TOTAL EXPENSES                                                               $149,598.11

     TOTAL CHARGES FOR THIS INVOICE                                               $152,434.11
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
                                Monthly Invoices Pg 358 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                        Billed through 02/28/2013
Tammy Hamzephour                                                        Invoice # 53479      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

02/03/2013    JAL       Review and respond to e-mails regarding                         L120        0.30 hrs
                        estimation of damages for PLS claims (.20).
                        Conference with Ms. Battle regarding same (.10).
02/04/2013    JAL       Conference with Ms. Battle regarding various                    L120        0.40 hrs
                        document theories on securities claims (.40).

02/04/2013    JAL       Telephone conference with Ms. Levitt regarding                  L120        1.00 hrs
                        methodology for assessing damages on PLS claims
                        (.20). Conference with Ms. Battle regarding same
                        (.20) Review and revise damage methodology for
                        assessing damages on PLS claims (.20). Review
                        and revise damage methodology memorandum
                        (.50). Review extend stay order related to New
                        Jersey Carpenters' suit.
02/04/2013    JALB      Discuss potential damages theories with Mr. Lipps.              L120        0.40 hrs


02/05/2013    JALB      Revise memorandum for Ms. Levitt (Morrison &                    L120        0.80 hrs
                        Foerster) regarding damages approaches.

02/05/2013    DAB       Meeting with Ms. Levitt (Morrison & Foerster)                   L120        0.70 hrs
                        and Mr. Lipps regarding valuation of securities
                        claims.
02/08/2013    JALB      Discussion with Ms. Zellmann (Residential                       L120        0.20 hrs
                        Capital) regarding status of claims analysis.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                        Invoice # 53479         Page 2

02/12/2013   JAL    Telephone conference with Mr. Canceliere and Mr.     L120     1.40 hrs
                    Ruckdaschel (Residential Capital) to discuss
                    securities' claimants' damages (1.0). Review and
                    finalize memorandum regarding subordination of
                    PLC claimants (.30). Review e-mail regarding
                    same (.10).
02/12/2013   JALB   Review correspondence regarding damages              L120     0.40 hrs
                    analysis and discussion with Ms. Levitt (Morrison
                    & Foerster) regarding data needed to conduct
                    same.
02/12/2013   DAB    Communicate with Mr. Newton (Morrison &              L120     0.10 hrs
                    Foerster) regarding CQS claims.

02/12/2013   DAB    Analyze CQS claims.                                  L120     0.20 hrs


02/12/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding FTI        L120     0.40 hrs
                    analysis on securities value.

02/12/2013   DAB    E-mail Mr. Lipps regarding issues related to AIG     L120     0.30 hrs
                    claims.

02/12/2013   DAB    Communicate with Mr. Haims (Morrison &               L120     0.10 hrs
                    Foerster) regarding analysis on securities claims.

02/13/2013   JAL    Review and respond to e-mails with Lassiter          L120     0.30 hrs
                    regarding estimated PLS damages.

02/13/2013   JALB   Review Bloomberg chart prepared by FTI.              L120     0.20 hrs


02/13/2013   JALB   Discussion with Mr. Lasater (FTI) regarding          L120     0.20 hrs
                    Bloomberg chart prepared by FTI.

02/15/2013   JALB   Assist Morrison & Foerster (Mr. Sadeghi, Mr.         L120     0.40 hrs
                    Rothberg) with support for subordination brief.

02/16/2013   DAB    Review and analyze flow chart on securitizations     L120     0.30 hrs
                    for subordination brief.

02/16/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding            L120     0.10 hrs
                    comments on flow chart for suboardination brief.

02/18/2013   DAB    E-mail Mr. Newton (Morrison & Forester)              L120     0.20 hrs
                    regarding comments on flow chart.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  932 00058                  Monthly Invoices Pg 360 of 701
                                                         Invoice # 53479                Page 3
02/18/2013   DAB      E-mails with Mr. Rothberg, Ms. Sadeghi (Morrison          L120        0.30 hrs
                      & Foerster) and Ms. Battle regarding master
                      servicing on securitizations.
02/19/2013   DAB      E-mail Mr. Ruckdaschel (Residential Capital), Mr.         L120        0.20 hrs
                      Rothberg, Ms. Sadeghi (Morrison & Foerster) and
                      Ms. Battle regarding master servicing on
                      securitizations.
02/25/2013   DAB      Conference with Ms. Barrage (Morrison &                   L120        0.20 hrs
                      Foerster) regarding subordination issues on
                      securities claims.
02/26/2013   JALB     Discussion with Ms. Levitt (Morrison & Foerster)          L120        0.10 hrs
                      regarding damages analysis.

02/26/2013   JALB     E-mails regarding damages analysis on securities          L120        0.20 hrs
                      claim.

02/26/2013   DAB      Analyze expert analysis on securities damages.            L120        0.60 hrs


02/26/2013   DAB      Draft memorandum to Mr. Lipps regarding expert            L120        0.30 hrs
                      analysis on securities damages.

02/27/2013   JAL      Review PLS damage analysis prepared by FTI                L120        1.00 hrs
                      (.30). Review and respond to e-mails regarding
                      same (.20). Participate on conference call with Ms.
                      Battle, Mr. Lassiter (FTI) and Ms. Levitt (Morrison
                      & Foerster) (.50).
02/27/2013   JALB     Telephone conference with Ms. Levitt (Morrison &          L120        0.80 hrs
                      Foerster), Mr. Lasater (FTI) and Mr. Lipps
                      regarding damages evaluation. (.50) Review
                      related damages analysis. (.30)
02/27/2013   DAB      Analyze expert analysis on securities pricing.            L120        0.40 hrs


02/27/2013   DAB      Draft e-mail to Mr. Lipps regarding expert                L120        0.40 hrs
                      analysis on securities claims damages.



                      TOTAL FEES FOR THIS MATTER                                            $4,214.00


BILLING SUMMARY


         Beck, David A.                              4.80 hrs      280.00 /hr   $1,344.00
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
932 00058                   Monthly Invoices Pg 361 of 701
                                                        Invoice # 53479       Page 4
      Lipps, Jeffrey A.                      4.40 hrs   400.00 /hr    $1,760.00


      Battle, Jennifer A.L.                  3.70 hrs   300.00 /hr    $1,110.00



   TOTAL FEES                               12.90 hrs                $4,214.00

   TOTAL CHARGES FOR THIS INVOICE                                    $4,214.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
                                Monthly Invoices Pg 362 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            March 20, 2013

                                                                        Billed through 02/28/2013
Tammy Hamzephour                                                        Invoice # 53479      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

02/03/2013    JAL       Review and respond to e-mails regarding                         L120        0.30 hrs
                        estimation of damages for PLS claims (.20).
                        Conference with Ms. Battle regarding same (.10).
02/04/2013    JAL       Conference with Ms. Battle regarding various                    L120        0.40 hrs
                        document theories on securities claims (.40).

02/04/2013    JAL       Telephone conference with Ms. Levitt regarding                  L120        1.00 hrs
                        methodology for assessing damages on PLS claims
                        (.20). Conference with Ms. Battle regarding same
                        (.20) Review and revise damage methodology for
                        assessing damages on PLS claims (.20). Review
                        and revise damage methodology memorandum
                        (.50). Review extend stay order related to New
                        Jersey Carpenters' suit.
02/04/2013    JALB      Discuss potential damages theories with Mr. Lipps.              L120        0.40 hrs


02/05/2013    JALB      Revise memorandum for Ms. Levitt (Morrison &                    L120        0.80 hrs
                        Foerster) regarding damages approaches.

02/05/2013    DAB       Meeting with Ms. Levitt (Morrison & Foerster)                   L120        0.70 hrs
                        and Mr. Lipps regarding valuation of securities
                        claims.
02/08/2013    JALB      Discussion with Ms. Zellmann (Residential                       L120        0.20 hrs
                        Capital) regarding status of claims analysis.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
  932 00058                 Monthly Invoices Pg 363 of 701
                                                        Invoice # 53479         Page 2

02/12/2013   JAL    Telephone conference with Mr. Canceliere and Mr.     L120     1.40 hrs
                    Ruckdaschel (Residential Capital) to discuss
                    securities' claimants' damages (1.0). Review and
                    finalize memorandum regarding subordination of
                    PLC claimants (.30). Review e-mail regarding
                    same (.10).
02/12/2013   JALB   Review correspondence regarding damages              L120     0.40 hrs
                    analysis and discussion with Ms. Levitt (Morrison
                    & Foerster) regarding data needed to conduct
                    same.
02/12/2013   DAB    Communicate with Mr. Newton (Morrison &              L120     0.10 hrs
                    Foerster) regarding CQS claims.

02/12/2013   DAB    Analyze CQS claims.                                  L120     0.20 hrs


02/12/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding FTI        L120     0.40 hrs
                    analysis on securities value.

02/12/2013   DAB    E-mail Mr. Lipps regarding issues related to AIG     L120     0.30 hrs
                    claims.

02/12/2013   DAB    Communicate with Mr. Haims (Morrison &               L120     0.10 hrs
                    Foerster) regarding analysis on securities claims.

02/13/2013   JAL    Review and respond to e-mails with Lassiter          L120     0.30 hrs
                    regarding estimated PLS damages.

02/13/2013   JALB   Review Bloomberg chart prepared by FTI.              L120     0.20 hrs


02/13/2013   JALB   Discussion with Mr. Lasater (FTI) regarding          L120     0.20 hrs
                    Bloomberg chart prepared by FTI.

02/15/2013   JALB   Assist Morrison & Foerster (Mr. Sadeghi, Mr.         L120     0.40 hrs
                    Rothberg) with support for subordination brief.

02/16/2013   DAB    Review and analyze flow chart on securitizations     L120     0.30 hrs
                    for subordination brief.

02/16/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding            L120     0.10 hrs
                    comments on flow chart for suboardination brief.

02/18/2013   DAB    E-mail Mr. Newton (Morrison & Forester)              L120     0.20 hrs
                    regarding comments on flow chart.
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
  932 00058                  Monthly Invoices Pg 364 of 701
                                                         Invoice # 53479                Page 3
02/18/2013   DAB      E-mails with Mr. Rothberg, Ms. Sadeghi (Morrison          L120        0.30 hrs
                      & Foerster) and Ms. Battle regarding master
                      servicing on securitizations.
02/19/2013   DAB      E-mail Mr. Ruckdaschel (Residential Capital), Mr.         L120        0.20 hrs
                      Rothberg, Ms. Sadeghi (Morrison & Foerster) and
                      Ms. Battle regarding master servicing on
                      securitizations.
02/25/2013   DAB      Conference with Ms. Barrage (Morrison &                   L120        0.20 hrs
                      Foerster) regarding subordination issues on
                      securities claims.
02/26/2013   JALB     Discussion with Ms. Levitt (Morrison & Foerster)          L120        0.10 hrs
                      regarding damages analysis.

02/26/2013   JALB     E-mails regarding damages analysis on securities          L120        0.20 hrs
                      claim.

02/26/2013   DAB      Analyze expert analysis on securities damages.            L120        0.60 hrs


02/26/2013   DAB      Draft memorandum to Mr. Lipps regarding expert            L120        0.30 hrs
                      analysis on securities damages.

02/27/2013   JAL      Review PLS damage analysis prepared by FTI                L120        1.00 hrs
                      (.30). Review and respond to e-mails regarding
                      same (.20). Participate on conference call with Ms.
                      Battle, Mr. Lassiter (FTI) and Ms. Levitt (Morrison
                      & Foerster) (.50).
02/27/2013   JALB     Telephone conference with Ms. Levitt (Morrison &          L120        0.80 hrs
                      Foerster), Mr. Lasater (FTI) and Mr. Lipps
                      regarding damages evaluation. (.50) Review
                      related damages analysis. (.30)
02/27/2013   DAB      Analyze expert analysis on securities pricing.            L120        0.40 hrs


02/27/2013   DAB      Draft e-mail to Mr. Lipps regarding expert                L120        0.40 hrs
                      analysis on securities claims damages.



                      TOTAL FEES FOR THIS MATTER                                            $4,214.00


BILLING SUMMARY


         Beck, David A.                              4.80 hrs      280.00 /hr   $1,344.00
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
932 00058                   Monthly Invoices Pg 365 of 701
                                                        Invoice # 53479       Page 4
      Lipps, Jeffrey A.                      4.40 hrs   400.00 /hr    $1,760.00


      Battle, Jennifer A.L.                  3.70 hrs   300.00 /hr    $1,110.00



   TOTAL FEES                               12.90 hrs                $4,214.00

   TOTAL CHARGES FOR THIS INVOICE                                    $4,214.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                              Monthly Invoices Pg 366 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                   Billed through 02/28/2013
Tammy Hamzephour                                                   Invoice # 53480      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

02/01/2013   JAL       Review and respond to e-mails regarding meeting             L120        0.30 hrs
                       with Morrison Foerster to discuss monoline claims.

02/01/2013   DAB       E-mail Mr. Princi and Mr. Alexander (Morrison &             L120        0.10 hrs
                       Foerster) regarding meeting on monoline claims.

02/04/2013   DAB       Prepare for meeting with client on monoline                 L120        0.80 hrs
                       claims.

02/04/2013   DAB       Analyze summary judgment briefing and                       L120        3.60 hrs
                       transcripts in MBIA v. Countrywide.

02/04/2013   DAB       E-mails with Mr. Lipps regarding client meeting             L120        0.10 hrs
                       on claims.

02/04/2013   DAB       Communicate with Ms. Battle regarding monoline              L120        0.40 hrs
                       claim issues.

02/05/2013   JAL       Review and redraft monoline objection strategy              L120        8.00 hrs
                       memo (3.6). Conference with Mr. Beck, Mr.
                       Princi (Morrison & Foerster) and Mr. Lawrence
                       (Morrison & Foerster) to discuss strategy regarding
                       monoline claims (1.0). Meet with Mr. Alexander
                       and Mr. Beck regarding same. (.40) Conference
                       with Mr. Lawrence to discuss monoline claims
                       objections (.30). Participate at claims meeting with
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                    Mr. Thompson and Ms. Hamzehpour (Residential
                    Capital), Morrison & Foerster, Morrison & Cohen
                    and Curits Malet's team(1.50). Review and redraft
                    2004 papers and document requests (.50).
                    Conference with Mr. Beck regarding same (.50).
                    Review and revise letters to monolines regarding
                    same (.20).
02/05/2013   JALB   Participate (by phone) in parts of claims strategy   L120     1.00 hrs
                    meeting with Ms. Hamzehpour, Mr. Thompson
                    (Residential Capital), Morrison & Foerster team,
                    Mr. Beck and Mr. Lipps.
02/05/2013   JALB   Discussion with Mr. Beck regarding cure claim        L120     0.30 hrs
                    issues.

02/05/2013   DAB    Analyze outline on monoline claims.                  L120     0.60 hrs


02/05/2013   DAB    Conference with Ms. Battle regarding cure claim      L120     0.20 hrs
                    issues.

02/05/2013   DAB    Analyze summary judgment briefing in MBIA v.         L120     1.00 hrs
                    Countrywide.

02/05/2013   DAB    Analyze hearing transcripts on summary judgment      L120     4.10 hrs
                    in MBA v. Countrywide.

02/05/2013   DAB    Meeting with Mr. Alexander (Morrison &               L120     0.30 hrs
                    Foerster) and Mr. Lipps regarding strategy on
                    monoline claims.
02/05/2013   DAB    Meeting with Mr. Princi, Mr. Alexander (Morrison     L120     1.00 hrs
                    & Foerster) and Mr. Lipps regarding strategy on
                    monoline claims.
02/05/2013   DAB    Participate in meeting with Ms. Hamzehpour, Mr.      L120     1.50 hrs
                    Thompson (Residential Capital), Morrison &
                    Foerster team, Morrison & Cohen team, Curtis
                    Malet team, and Mr. Lipps regarding strategy and
                    projects on all major claim issues.
02/05/2013   DAB    Conference with Mr. Lipps regarding strategy on      L120     0.50 hrs
                    monoline claims and document requests.

02/05/2013   JRC    Review transcript from oral argument in monoline     L230     0.40 hrs
                    representation and warranty case in order to
                    respond to proofs of claims by monolines.
02/06/2013   JAL    Review and revise FGIC and MBIA document             L120     2.00 hrs
                    requests and cover letters (.30). Review and
                    respond to e-mails regarding same (.20).
                    Conference with Mr. Beck regarding same (.20).
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                    Review Judge Rakoff's decision in Flagstar (.60).
                    Review and finalize Flagstar case summary (.30).
                    Review script for presentation at monoline meeting
                    (.30). Conference with Mr. Beck regarding same
                    (.10).
02/06/2013   JALB   Discussion with Mr. Corcoran regarding draft file     L120     0.30 hrs
                    memorandum summarizing opinion and order in
                    Assured v. Flagstar. (.10) E-mails with Mr.
                    Corcoran regarding same. (.20)
02/06/2013   JALB   Revise and circulate file memorandum analyzing        L120     0.80 hrs
                    decision. *

02/06/2013   JALB   Review and analyze opinion and order in Assured       L120     0.70 hrs
                    v. Flagstar.

02/06/2013   JALB   Correspondence with client (Mr. Ruckdaschel, Mr.      L120     0.30 hrs
                    Thompson), Mr. Lipps, Mr. Rains (Morrison &
                    Foerster) regarding opinion and order in Assured v.
                    Flagstar.
02/06/2013   JALB   Respond to questions from Ms. Levitt (Morrison &      L120     0.40 hrs
                    Foerster) and others regarding scope and
                    applicability of the decision.
02/06/2013   DAB    Comment on document requests to MBIA.                 L320     0.40 hrs


02/06/2013   DAB    Conference with Mr. Lipps regarding revisions to      L120     0.10 hrs
                    document requests.

02/06/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)            L120     0.20 hrs
                    regarding edits to monoline document requests.

02/06/2013   DAB    Draft memorandum on objection strategy on             L120     1.90 hrs
                    monoline claims.

02/06/2013   DAB    Draft memorandum on talking points for monoline       L120     0.50 hrs
                    meeting. (.40) Conference with Mr. Lipps
                    regarding same. (.10)
02/06/2013   DAB    Communicate with Mr. Alexander (Morrison &            L120     0.10 hrs
                    Foerster) regarding MBIA v. Countrywide case in
                    California.
02/06/2013   DAB    Analyze opinion in Assured Guaranty v. Flagstar       L120     3.10 hrs
                    for impact on ResCap strategy on monoline claim.

02/06/2013   DAB    Participate in call with Mr. Witten, Mr. Schares      L120     0.50 hrs
                    (Residential Capital), Mr. Rosenbaum, Mr. Newton
                    (Morrison & Foerster), and Mr. Weingarten
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                    (Centerview) regarding issues on transfer of
                    Ambac deals.
02/06/2013   JRC    Conference with Ms. Battle regarding ruling in        L120     0.10 hrs
                    monoline representation and warranty case.

02/06/2013   JRC    Review and analyze materials relevant to trial of     L320     1.90 hrs
                    monoline representation and warranty claims in
                    order to prepare analysis.
02/06/2013   JRC    Draft analysis of materials relevant to trial of      L120     0.70 hrs
                    monoline representation and warranty claims.

02/06/2013   JRC    E-mail exchange with Ms. Battle regarding ruling      L120     0.10 hrs
                    in monoline representation and warranty case.

02/07/2013   DAB    Draft memorandum on objection strategy on             L120     5.90 hrs
                    monoline claims.

02/07/2013   DAB    Revise talking points for meeting on monoline         L120     0.50 hrs
                    claims.

02/07/2013   DAB    Communicate with Mr. Alexander (Morrison &            L120     0.10 hrs
                    Foerster) regarding revisions to talking points on
                    monoline claims.
02/07/2013   DAB    Conference with Mr. Alexander (Morrison &             L120     0.30 hrs
                    Foerster) regarding meeting on monoline litigation.

02/07/2013   DAB    Analyze supplemental Lipps declaration to prepare     L120     0.40 hrs
                    for meeting on monoline litigation.

02/07/2013   DAB    Participate in meeting with Mr. Alexander             L120     2.00 hrs
                    (Morrison & Foerster) and [redacted] regarding
                    monoline litigation.
02/07/2013   JRC    Review and analyze documents relevant to              L320     0.20 hrs
                    monoline representation and warranty trial in order
                    to draft analysis for Mr. Battle.
02/07/2013   JRC    Draft e-mail to Ms. Battle providing analysis on      L120     0.10 hrs
                    monoline representation and warranty trial.

02/08/2013   JAL    Review report by Mr. Beck of monoline meeting.        L120     0.30 hrs


02/08/2013   JALB   Review and respond to Mr. Beck's memorandum           L120     0.20 hrs
                    regarding monoline meeting.
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02/08/2013   DAB    Draft memorandum on grounds for objection to         L120     0.70 hrs
                    monoline claims.

02/08/2013   DAB    Conference with Mr. Moeller regarding research       L120     0.10 hrs
                    needed on additional arguments on monoline
                    claims.
02/08/2013   DAB    Research on notice requirements related to           L120     1.00 hrs
                    repurchase.

02/08/2013   DAB    Prepare for call with Residential Capital and        L120     0.20 hrs
                    Morrison & Foerster teams on issues on servicing
                    transfer on Ambac deal with subservicing.
02/08/2013   DAB    Extended call with Mr. Witten, Mr. Schares           L120     1.80 hrs
                    (Residential Capital), Mr. Rosenbaum and Mr.
                    Newton (Morrison & Foerster) on issues on
                    servicing transfer on Ambac deals.
02/08/2013   SCM    Telephone conference with Mr. Beck regarding         L120     0.10 hrs
                    research assignment regarding ability of monolines
                    to assert proof of claim.
02/10/2013   DAB    Draft memorandum regarding objections to             L120     2.10 hrs
                    monoline claims.

02/11/2013   JAL    Review rule 2004 monoline discovery motion           L120     1.00 hrs
                    (.40). Conference with Mr. Beck regarding same
                    (.10). Review e-mails regarding same (.10).
                    Respond to e-mails regarding same (.10). Review
                    e-mails regarding 2004 regarding MBIA/FGIC and
                    their responses (.20). Review debtors' responses
                    thereto (10).
02/11/2013   DAB    Communicate with Mr. Alexander (Morrison &           L120     0.10 hrs
                    Foerster) regarding potential objections to MBIA
                    and FGIC claims.
02/11/2013   DAB    Draft memorandum regarding objections to             L120     5.90 hrs
                    Monoline claims.

02/11/2013   DAB    Conference with Mr. Newton (Morrison &               L120     0.90 hrs
                    Foerster) regarding potential applicability of
                    subordination to various claims related to
                    securitizations.
02/11/2013   SCM    Legal research regarding standing of monoline        L110     1.30 hrs
                    insurers to assert proofs of claim in ResCap
                    bankruptcy.
02/12/2013   JAL    Review and respond to e-mails regarding discovery    L120     4.10 hrs
                    from Monoline (.30). Review and redraft monoline
                    claims objections strategy memorandum (3.80).
02/12/2013   JALB   Review and analyze Assured v. Flagstar opinion.      L120     0.80 hrs
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02/12/2013   DAB    Conference with Mr. Moeller regarding research           L120     0.20 hrs
                    for monoline claims memorandum.

02/12/2013   SCM    Telephone conference with Mr. Beck regarding             L120     0.10 hrs
                    legal research assignment regarding monoline
                    ability to file proof of claim for alleged breaches of
                    representations and warranties.
02/12/2013   SCM    Legal research regarding monoline insurers' ability      L110     1.70 hrs
                    to file proof of claim for alleged breaches of
                    representations and warranties.
02/12/2013   SCM    Draft e-mail regarding monoline insurers' ability to     L190     1.00 hrs
                    file proof of claim for alleged breaches of
                    representations and warranties.
02/13/2013   JAL    Review and respond to e-mails regarding                  L120     0.50 hrs
                    MBIA/FGIC document responses (.20).
                    Conference with Mr. Beck and Ms. Battle
                    regarding same (.10). Review e-mails from
                    FGIC/MBIA counsel regarding discovery requests
                    (.20).
02/13/2013   JALB   Discussion with Mr. Lipps and Mr. Beck regarding         L120     0.20 hrs
                    discovery to monolines and confidentiality issues.

02/13/2013   JALB   Review message from Mr. Dunne (Orrick)                   L120     0.10 hrs
                    regarding FGIC litigation.

02/13/2013   JALB   Telephone conference with Mr. Lipps regarding            L120     0.10 hrs
                    FGIC litigation.

02/13/2013   JALB   Review e-mails from Mr. Lawrence (Morrison &             L120     0.10 hrs
                    Foerster) regarding discovery to FGIC and MBIA.

02/13/2013   DAB    Research grounds for objecting to monoline               L120     2.40 hrs
                    claims.

02/13/2013   DAB    Draft memorandum regarding monoline claims               L120     6.70 hrs
                    objection strategy. (6.50) Conference with Mr.
                    Lipps and Ms. Battle regarding monoline
                    discovery. (.20)
02/14/2013   JAL    Review and revise memorandum regarding                   L250     0.80 hrs
                    objection strategy on monoline claims (.60).
                    Conference with Mr. Beck regarding same (.20).
02/14/2013   DAB    Multiple conferences with Mr. Corcoran regarding         L120     0.20 hrs
                    research needed for monoline claims objection
                    memorandum.
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02/14/2013   DAB    Research various potential objections to monoline   L120     2.80 hrs
                    claims.

02/14/2013   DAB    Revise memorandum on grounds for objecting to       L120     5.80 hrs
                    monoline claims. (5.40) Conference with Mr.
                    Moeller regarding inserts for memo. (.20)
                    Conference with Mr. Lipps regarding same. (.20)
02/14/2013   SCM    Telephone conference with Mr. Beck regarding        L120     0.20 hrs
                    insurer standing issues.

02/14/2013   SCM    Revise insert related to insurer standing issues.   L190     1.10 hrs


02/14/2013   SCM    Draft insert to monline memorandum related to       L190     0.60 hrs
                    insurer standing issues.

02/15/2013   DAB    Multiple e-mails with Mr. Alexander (Morrison &     L120     0.20 hrs
                    Foerster) regarding issues related to FGIC
                    discovery.
02/18/2013   JAL    Review and revise draft of Monoline objection       L120     1.00 hrs
                    strategy (.80). E- mail Mr. Beck regarding same
                    (.20).
02/18/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)          L120     0.10 hrs
                    regarding FGIC transaction documents.

02/18/2013   DAB    Analyze FGIC transaction documents in response      L330     0.20 hrs
                    to question of Mr. Alexander of Morrison &
                    Foerster.
02/19/2013   JAL    Review rule 2004 monoline discovery motion          L120     1.30 hrs
                    (.40). Conference with Mr. Beck regarding same
                    (.10). Review e-mails regarding same (.10).
                    Respond to e-mails regarding same (.10). Review
                    e-mails regarding 2004 regarding MBIA/FGIC and
                    their responses (.20). Review debtors' responses
                    thereto (10). Review and respond to e-mails
                    regarding same (.30).
02/19/2013   JALB   Review draft memorandum regarding objection.        L120     0.50 hrs


02/19/2013   JALB   Correspondence with Mr. Beck regarding draft        L120     0.20 hrs
                    memorandum regarding objection. **

02/19/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding     L120     0.30 hrs
                    monoline claims issues and questions of Mr.
                    Alexander of Morrison & Foerster.
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02/20/2013   JALB   Review draft memorandum regarding objection. ***     L120     1.40 hrs


02/20/2013   DAB    Communicate with Mr. Lawrence (Morrison &            L120     0.20 hrs
                    Foerster) regarding questions about pre-petition
                    litigation with MBIA.
02/20/2013   DAB    Analyze recent developments in monoline              L120     0.40 hrs
                    litigation involving other issuers.

02/20/2013   DAB    Call with Mr. Rosenbaum and Ms. Beck (Morrison       L120     0.50 hrs
                    & Foerster) regarding issues on Ambac servicing
                    transfer.
02/20/2013   DAB    Call with Mr. Goren and Ms. Barrage (Morrison &      L120     0.50 hrs
                    Foerster) regarding strategy for resolving FGIC
                    cure objection.
02/20/2013   DAB    Follow-up research on issues raised in FGIC          L120     0.30 hrs
                    strategy call.

02/21/2013   DAB    Review and comment on draft scheduling               L120     0.30 hrs
                    stipulation with FGIC.

02/21/2013   DAB    Analyze materials related to repurchase history      L120     1.20 hrs
                    with MBIA and FGIC.

02/21/2013   DAB    Draft e-mail to Mr. Lipps and Ms. Battle regarding   L120     0.20 hrs
                    previous analytical work on repurchase history.

02/21/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster) and       L120     0.30 hrs
                    Mr. Lipps regarding overview materials on
                    Monoline claims.
02/21/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster)             L120     0.20 hrs
                    regarding comments on FGIC briefing stipulation.

02/21/2013   DAB    Participate in call with Mr. Goren, Ms. Barrage,     L120     1.40 hrs
                    Mr. Rosenbaum, Mr. Newton, Ms. Crespo and
                    others at Morrison & Foerster regarding status of
                    all open cure claims.
02/21/2013   JRC    Review and analyze documents relevant to the         L320     0.10 hrs
                    monoline objections in order to draft analysis for
                    Mr. Beck.
02/21/2013   JRC    E-mail exchange with Mr. Beck regarding              L120     0.10 hrs
                    monoline claims objections.

02/22/2013   DAB    Communicate with Ms. Battle regarding monoline       L120     0.10 hrs
                    claims outline.
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02/26/2013   JALB   Revise draft objection memorandum.                   L210     2.30 hrs


02/26/2013   DAB    Communicate with Mr. Alexander (Morrison &           L120     0.10 hrs
                    Foerster) regarding monoline claims memorandum.

02/26/2013   DAB    Conference with Mr. Alexander (Morrison &            L120     0.60 hrs
                    Foerster) regarding next steps on monoline claims.

02/26/2013   DAB    Conference with Mr. Rosenbaum (Morrison &            L120     0.50 hrs
                    Foerster) regarding Ambac trigger issues on
                    contract assignment.
02/26/2013   DAB    Conference with Mr. Newton (Morrison &               L120     0.10 hrs
                    Foerster) regarding Ambac trigger issues.

02/26/2013   DAB    Analyze potential arguments on Ambac triggers.       L120     1.40 hrs


02/27/2013   JAL    Review and finalize letter to MBIA's counsel         L120     0.30 hrs
                    regarding release of discovery (.20). Conference
                    with Mr. Beck regarding same (.10).
02/27/2013   JAL    Review and revise memorandum regarding               L120     1.00 hrs
                    objection strategy on monoline claims (.60).
                    Conference with Mr. Beck regarding same (.20).
                    Review and respond to e-mail from MBIA's
                    counsel regarding producing GMACM/MBIA's
                    discovery (.10). Conference with Ms. Battle
                    regarding same (.10).
02/27/2013   JALB   Telephone conference with Mr. Ruckdaschel            L120     0.30 hrs
                    (Residential Capital) regarding FGIC repurchase
                    history.
02/27/2013   JALB   Telephone conference with Mr. Sillman (Fortace)      L120     0.70 hrs
                    and Mr. Rhode regarding preparation for monoline
                    claims work.
02/27/2013   DAB    Analyze MBIA request to produce GMACM                L120     0.70 hrs
                    materials in MBIA v. JP Morgan action.

02/27/2013   DAB    Communicate with Ms. Battle regarding MBIA           L120     0.20 hrs
                    request to produce GMACM materials in MBIA v.
                    JP Morgan.
02/27/2013   DAB    Draft reply to MBIA on request to produce            L320     0.40 hrs
                    GMACM materials in MBIA v. JP Morgan.

02/27/2013   DAB    E-mail MBIA response to request to produce           L120     0.10 hrs
                    GMACM materials.
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02/27/2013   DAB    Revise memorandum on objection strategy on           L120     2.70 hrs
                    monoline claims. (2.00) Conference with Mr.
                    Lipps regarding same. (.10)
02/27/2013   SCM    E-mail to Mr. Beck regarding rescissory damages.     L120     0.60 hrs


02/28/2013   JAL    Review and redraft monoline claims objection         L120     2.00 hrs
                    strategy memo (.70). Review Ms. Battle's
                    comments (.40). Communicate with Mr. Beck
                    regarding finalizing memo (.20). Review e-mails
                    regarding same (.20). Review e-mails regarding
                    MBIA disclosures related to RMBS claims (.40).
                    Review news media coverage of MBIA's claims
                    (.10).
02/28/2013   JALB   Revise and add sections to memorandum on             L120     3.30 hrs
                    objection strategy for monoline claims.

02/28/2013   JALB   Review and provide comments to Mr. Beck for          L120     0.30 hrs
                    inclusion to note to Morrison & Foerster regarding
                    MBIA's "going concern" warning and other public
                    statements.
02/28/2013   JALB   Correspondence with client (Mr. Thompson and         L120     0.20 hrs
                    Mr. Ruckdaschel) regarding MBIA's "going
                    concern" warning and other public statements.
02/28/2013   JALB   Telephone conference with Mr. Ruckdaschel and        L120     0.40 hrs
                    Mr. Cancelliere (both Residential Capital)
                    regarding collecting materials relevant to FGIC
                    claim litigation.
02/28/2013   JALB   Follow-up e-mails with Ms. Baird and Ms.             L120     0.20 hrs
                    Zellmann (both Residential Capital) regarding
                    collecting materials relevant to FGIC claim
                    litigation.
02/28/2013   DAB    Revise memorandum on objection strategy on           L120     3.60 hrs
                    monoline claims.

02/28/2013   DAB    Research regarding MBIA statements in public         L120     1.30 hrs
                    filings regarding Residential Capital.

02/28/2013   DAB    Multiple e-mails with Mr. Lee, Mr. Princi, Mr.       L120     0.60 hrs
                    Alexander, Ms. Levitt (Morrison & Foerster) , Mr.
                    Lipps and Ms. Battle regarding MBIA statements
                    in public filings regarding Residential Capital.
02/28/2013   DAB    Conference with Mr. Corcoran regarding monoline      L120     0.20 hrs
                    claims memorandum.

02/28/2013   DAB    Conference with Ms. Battle regarding finalization    L120     0.30 hrs
                    of monoline claims memorandum.
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02/28/2013   DAB        E-mails with Mr. Lipps and Ms. Battle regarding            L120          0.30 hrs
                        finalization of monoline claims memorandum.

02/28/2013   DAB        Research recent developments in other monoline             L120          0.40 hrs
                        claims.

02/28/2013   DAB        Conference with Mr. Rosenbaum and Mr. Newton               L120          0.20 hrs
                        (Morrison & Foerster) regarding potential
                        arguments on Ambac contract assumption
                        objection.
02/28/2013   JRC        E-mail exchanges with Mr. Beck regarding                   L120          0.20 hrs
                        objections to monoline claims.



                        TOTAL FEES FOR THIS MATTER                                              $38,515.50

EXPENSES

02/06/2013              (TRIP-JAL-2/5-6/13) Out-of-Town Travel/Airfare (coach) -                  $587.70
                        travel to New York for claims meeting

02/06/2013              (TRIP-JAL-2/5-6/13) Out-of-Town Travel/Breakfast (JAL &                    $40.00
                        DAB) - travel to New York for claims meeting

02/06/2013              (TRIP-JAL-2/5-6/13) Out-of-Town Travel/Parking @ Port                      $17.00
                        Columbus - travel to New York for claims meeting

02/06/2013              (TRIP-JAL-2/5-6/13) Out-of-Town Travel/Mileage to/from Port                  $6.78
                        Columbus - travel to New York for claims meeting

02/06/2013              (TRIP-JAL-2/5-6/13) Out-of-Town Travel/Taxi from Airport to                $51.55
                        Downtown- travel to New York for claims meeting

                        TOTAL EXPENSES FOR THIS MATTER                                            $703.03


BILLING SUMMARY


         Beck, David A.                             81.20 hrs      280.00 /hr      $22,736.00


         Lipps, Jeffrey A.                          22.60 hrs      400.00 /hr       $9,040.00


         Battle, Jennifer A.L.                      15.10 hrs      300.00 /hr       $4,530.00


         Corcoran, Jeffrey R.                         3.90 hrs     180.00 /hr        $702.00
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      Moeller, Steven C.                    6.70 hrs   225.00 /hr    $1,507.50



   TOTAL FEES                             129.50 hrs                $38,515.50

   TOTAL EXPENSES                                                        $703.03

   TOTAL CHARGES FOR THIS INVOICE                                   $39,218.53
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                           Supplemental Descriptions


    * Revise and circulate file memorandum analyzing Assured v. Flagstar decision.


    ** Correspondence with Mr. Beck regarding draft memorandum regarding objection
    strategy on monoline claims.


    *** Review draft memorandum regarding objection strategy on monoline claims.
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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                    Billed through 02/28/2013
Tammy Hamzephour                                                    Invoice # 53481      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

02/06/2013   VLS       Preparation of CD containing additional documents            L320        0.40 hrs
                       related to the CUNA subpoena for delivery to Mr.
                       Klenov at Korein Tillery LLC via overnight mail.
02/07/2013   VLS       E-mail exchange with Ms. Sortor at Korein Tillery            L320        0.20 hrs
                       LLC regarding additional documents produced
                       related to the CUNA subpoena.
02/11/2013   JALB      Discussion with Mr. Ruckdaschel (Residential                 L120        0.70 hrs
                       Capital) regarding preservation of and/or access to
                       Vision website for litigation purposes, and
                       negotiations of Transition Service Agreement
                       statements of work.
02/12/2013   JALB      Review e-mails from Mr. Underhill and Mr.                    L120        0.20 hrs
                       Ruckdaschel (Residential Capital) regarding access
                       to Vision team.
02/12/2013   JALB      Discuss e-mails from Mr. Underhill and Mr.                   L120        0.10 hrs
                       Ruckdaschel (Residential Capital) regarding access
                       to Vision team with Mr. Lipps.
02/12/2013   JALB      Follow-up discussion with Ms. Zellmann, Mr.                  L120        0.40 hrs
                       Ruckdaschel and Mr. Underhill (Residential
                       Capital) regarding access to Vision team.
02/13/2013   JALB      Review Trustee cure claim discovery requests.                L320        0.20 hrs


02/13/2013   JALB      Telephone conference with Mr. Ruckdaschel                    L120        0.50 hrs
                       (Residential Capital) regarding strategies for
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                    responding to broad data requests.
02/13/2013   JALB   Review draft Transition Services Agreement and             L120     0.50 hrs
                    supporting statements of work relating to Vision
                    access.
02/13/2013   JALB   Correspondence with Ms. Levitt and Mr. Weiss               L120     0.30 hrs
                    (both Morrison & Foerster) regarding Transition
                    Services Agreement and supporting statements of
                    work relating to Vision access.
02/14/2013   JALB   Weekly client status call.                                 L120     0.40 hrs


02/14/2013   JALB   E-mails with Mr. Underhill (Residential Capital),          L120     0.40 hrs
                    Mr. Lipps and Mr. Beck discussing preservation of
                    shared server data.
02/14/2013   JALB   Discussion with Mr. Underhill (Residential                 L120     0.10 hrs
                    Capital) and Ms. Marty regarding
                    migration/consolidation of SEC data.
02/15/2013   JALB   Review letter from Mr. Lepri (Quinn Emanuel,               L120     0.10 hrs
                    counsel to MBIA) regarding confidentiality order
                    and discovery disclosure issue.
02/15/2013   JALB   Correspondence with Mr. Lipps and Mr. Beck                 L120     0.10 hrs
                    regarding confidentiality order and discovery
                    disclosure issue.
02/18/2013   DAB    Communicate with Ms. Levitt (Morrison &                    L120     0.10 hrs
                    Foerster) regarding Vision access by plaintiffs.

02/19/2013   DAB    Communicate with Mr. Lipps regarding closing of            L120     0.10 hrs
                    Ocwen sale and effect on pending document
                    requests.
02/21/2013   JALB   Telephone conference with Mr. Underhill                    L120     0.70 hrs
                    (Residential Capital) regarding consolidation of
                    litigation data.


                    TOTAL FEES FOR THIS MATTER                                          $1,526.00

EXPENSES

02/06/2013          Delivery Service/Messengers - Federal Express to Michael                  $16.67
                    Klenov from Ms. Sholl

                    TOTAL EXPENSES FOR THIS MATTER                                            $16.67


BILLING SUMMARY
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      Beck, David A.                         0.20 hrs   280.00 /hr        $56.00


      Battle, Jennifer A.L.                  4.70 hrs   300.00 /hr    $1,410.00


      Sholl, Veronica L.                     0.60 hrs   100.00 /hr        $60.00



   TOTAL FEES                                5.50 hrs                $1,526.00

   TOTAL EXPENSES                                                         $16.67

   TOTAL CHARGES FOR THIS INVOICE                                    $1,542.67
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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           March 20, 2013

                                                                     Billed through 02/28/2013
Tammy Hamzephour                                                     Invoice # 53483      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

02/01/2013     AMP     Attention to revising withheld and redacted                   L320        0.90 hrs
                       privilege log for production 110/111.

02/01/2013     AMP     Multiple e-mails with Mr. Molnar regarding                    L320        0.70 hrs
                       privilege log for production 110/111.

02/01/2013     AMP     Attention to revising withheld and redacted                   L320        1.10 hrs
                       privilege log for production 112/113.

02/01/2013     AMP     Multiple e-mails with privilege log team regarding            L320        0.50 hrs
                       privilege log for production 112/113.

02/01/2013     AMP     E-mails with Mr. Brown (Morrison & Foerster)                  L120        0.70 hrs
                       and Mr. Harris (Morrison & Foerster) regarding
                       privileged nature of Marple memorandum
                       regarding analysis of operating agreement.
02/01/2013     AMP     Review Marple memorandum.                                     L210        0.90 hrs


02/01/2013     AMP     Review treatment of similar documents in                      L320        0.40 hrs
                       database.

02/01/2013     AMP     Multiple e-mails with Morrison & Foerster                     L120        0.20 hrs
                       regarding Marple memorandum.
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02/01/2013   AMP    Conferences with with Ms. Marty and Ms. Battle          L120     0.30 hrs
                    regarding GSE issues.

02/01/2013   AMP    E-mails with Mr. Brown and Morrison & Foerster          L320     0.80 hrs
                    team regarding redacted documents on privilege
                    logs containing GSE communications in
                    unredacted portions.
02/01/2013   AMP    Attention to how to handle GSE communications.          L120     0.50 hrs


02/01/2013   AMP    Attention to privilege log issues regarding             L320     0.90 hrs
                    outstanding documents, including 60K
                    Hamzehpour documents.
02/01/2013   AMP    E-mails with Morrison & Foerster team regarding         L320     0.20 hrs
                    privilege log issues regarding outstanding
                    documents, including 60K Hamzehpour
                    documents.
02/01/2013   AMP    Attention to GSE communication issues.                  L120     0.80 hrs


02/01/2013   AMP    Conference with Ms. Marty regarding privilege log       L320     0.40 hrs
                    issues regarding outstanding documents, including
                    60K Hamzehpour documents.
02/01/2013   JAL    Review e-mail regarding interview expenses (.10).       L120     2.00 hrs
                    Draft note to Ms. Hamzehpour (Residential
                    Capital) regarding same (.10). Review and
                    respond to e-mails regarding examiner interviews
                    preparation and coverage of same (.20). Review,
                    revise and finalize securitization power point slides
                    (.70). Review e-mails regarding same (.10).
                    Review Mr. Steinhagen's preparation materials
                    (.80).
02/01/2013   VLS    E-mail exchange with Ms. Wong at vendor Profile         L320     0.30 hrs
                    Discovery regarding electronic scan of Hard bound
                    materials received for witness Mr. Marple.
02/01/2013   VLS    Preparation of select pages of material received        L320     2.60 hrs
                    from Mr. Marple for production.

02/01/2013   VLS    Monitor review status of Phase 3 quality control        L320     0.80 hrs
                    document review.

02/01/2013   VLS    Assignment of quality control batches to quality        L320     1.10 hrs
                    control team members.

02/01/2013   VLS    Update Phase 3 quality control document review          L320     0.70 hrs
                    status chart.
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02/01/2013   VLS    E-mail exchanged with Mr. Shipler at DTI             L320     0.30 hrs
                    regarding documents to be imaged.

02/01/2013   VLS    Monitor review status of document review quality     L320     0.90 hrs
                    control team.

02/01/2013   VLS    Assignment of quality control batches to quality     L320     0.60 hrs
                    control review team members.

02/01/2013   VLS    Revise and update quality control review tracking    L320     1.10 hrs
                    spreadsheet.

02/01/2013   RBS    Prepare Master Set of support documents for Ally's   L310     3.60 hrs
                    1/22/13 presentation.

02/01/2013   RBS    Prepare additional sets of supporting documents      L310     2.20 hrs
                    for Ally's 1/22/13 presentation to distribute.

02/01/2013   RBS    Draft index of supporting documents for Ally's       L310     1.30 hrs
                    1/22/13 presentation.

02/01/2013   JALB   Various e-mails with former employee witnesses,      L120     1.90 hrs
                    Mr. Illovsky (Morrison & Foerster), Mr. Day
                    (Morrison & Foerster) and Mr. Lipps regarding
                    interview scheduling. (.80) Conference with Ms.
                    Mohler regarding issues for Steinhagen interview.
                    (.30) Conference with Mr. Rhode regarding issues
                    for Wiebe interview. (.30) E-mails with Mr. Beck
                    regarding issues for upcoming wtnesses. (.20)
                    Communicate with Ms. Paul-Whitfield and Ms.
                    Marty regarding regulator privilege. (.30)
02/01/2013   MMM    Review documents for Gray Examiner Interview         L120     0.10 hrs
                    preparation.

02/01/2013   MMM    Conference with Ms. Battle regarding Steinhagen      L120     0.30 hrs
                    preparation for Examiner Interview.

02/01/2013   MMM    Review documents for Steinhagen preparation for      L120     1.40 hrs
                    her Examiner interview.

02/01/2013   DAB    E-mail Ms. Battle regarding analysis of key issues   L120     0.10 hrs
                    for upcoming witnesses.

02/01/2013   DAB    Analyze Kramer Levin presentation on Ally claims     L120     5.30 hrs
                    and documents cited therein.

02/01/2013   DAB    Communicate with Mr. Day and Mr. MacCardle           L120     0.10 hrs
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                    (Morrison & Foerster) regarding third party
                    production materials referenced in Kramer Levin
                    presentation.
02/01/2013   DAB    Communicate with Mr. Day (Morrison & Foerster)         L120     0.10 hrs
                    regarding Cerberus acquisition agreement for
                    Residential Capital.
02/01/2013   DAB    Communicate with Mr. Sechler regarding research        L120     0.10 hrs
                    on board materials.

02/01/2013   DAB    Research regarding tax allocation issues.              L120     2.30 hrs


02/01/2013   DAB    Conference with Mr. Moeller regarding research         L120     0.10 hrs
                    needed on veil-piercing issues.

02/01/2013   JRC    Review and analyze documents relating to Ms.           L320     2.10 hrs
                    Lundsten in Discovery Partner in order to prepare
                    memorandum analyzing her relevance to examiner
                    investigation.
02/01/2013   JRC    Review and analyze documents relating to Mr.           L320     1.60 hrs
                    Scholtz in Discovery Partner in order to prepare
                    memorandum analyzing his relevance to examiner
                    investigation.
02/01/2013   JRC    Revise memorandum analyzing potential areas of         L210     1.40 hrs
                    inquiry for Mr. Scholtz's examiner interview.

02/01/2013   JRC    Draft memorandum analyzing potential areas of          L210     1.70 hrs
                    inquiry for Ms. Lundsten's examiner interview.

02/01/2013   JDR    Teleconference with Ms. Battle regarding Ms.           L420     0.30 hrs
                    Wiebe examiner interview preparation.

02/01/2013   JDR    Review and analyze prior depositions of Ms.            L420     1.50 hrs
                    Wiebe in preparation for examiner interview.

02/01/2013   JDR    Draft outline of notes analyzing Wiebe deposition      L420     1.20 hrs
                    and documents produced to the examiner in
                    preparation for witness interview.
02/01/2013   JDR    Review examiner exhibits in preparation for            L420     0.60 hrs
                    interview of Ms. Wiebe.

02/01/2013   GNM    Working in Discovery Partner database answering        L320     3.60 hrs
                    reviewer questions regarding privilege and
                    responsiveness designation. (2.90) Conference
                    with Ms. Paul-Whitfield regarding privilege log
                    issues. (.40) Conference with Ms. Battle and Ms.
                    Paul-Whitfield regarding regulatory privilege. (.30)
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02/01/2013   GNM    Conduct database training for new reviewers.          L320     1.10 hrs


02/01/2013   GNM    Telephone communication with Mr. Brown                L120     0.50 hrs
                    (Morrison and Foerster) regarding regulatory
                    privilege memo.
02/01/2013   GNM    Draft cover letter to be sent with EXAM401/402        L120     0.40 hrs
                    production.

02/01/2013   GNM    Draft and send e-mail communication to Mr.            L120     0.30 hrs
                    Samson regarding previously produced documents.

02/01/2013   SCM    Third level quality control review of document set    L320     0.90 hrs
                    17.

02/01/2013   SCM    Legal research regarding viability of single entity   L110     0.20 hrs
                    doctrine in Delaware. (.10) Conference with Mr.
                    Beck regarding same. (.10)
02/01/2013   HLB    Perform quality control examiner review of batch "    L120     3.10 hrs
                    Phase 3- Set 1.002." Perform targeted searches for
                    proper coding per quality control examiner
                    protocol.
02/01/2013   HLB    Perform quality control examiner review of batch      L120     2.80 hrs
                    "Phase 3- Set 1.002." Perform search of potential
                    Examiner issues to tag FRB or GSE, per quality
                    control examiner review protocol.
02/01/2013   HLB    Perform quality control examiner review of batch      L120     0.60 hrs
                    "Phase 3-Set 1.002." Perform random sample
                    search and review per quality control examiner
                    review protocol.
02/01/2013   AEG    Finish Privilege Log quality control check            L140     2.00 hrs
                    regarding ResCap bankruptcy. (Eve/Brad privilege
                    log)
02/01/2013   ABW    Document review quality control, Phase 3 Set          L140     3.00 hrs
                    1.033.

02/01/2013   ABW    E-mail with Ms. Sholl regarding quality control       L190     0.10 hrs
                    review.

02/01/2013   ABW    E-mail to Ms. Marty regarding coding inquiry.         L190     0.10 hrs


02/02/2013   AMP    Attention finalizing withheld and redacted            L320     1.40 hrs
                    privilege log for production 110/111.

02/02/2013   AMP    Attention to finalizing withheld and redacted         L320     1.10 hrs
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                    privilege log for production 112/113.

02/02/2013   AMP    Attention to timing regarding Phase III logs.           L320     0.50 hrs


02/02/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster)          L120     0.30 hrs
                    regarding Phase III logs.

02/02/2013   AMP    Attention to privilege logs for production sets 6, 7,   L320     0.90 hrs
                    and 8.

02/02/2013   AMP    E-mails with Ms. Tice (Morrison & Foerster)             L320     0.20 hrs
                    regarding privilege logs for production sets 6, 7
                    and 8.
02/02/2013   JAL    Review Mr. Bier's documents to prepare for              L120     2.80 hrs
                    examiner interview (2.6). Review and respond to
                    e-mails regarding interview preparation materials
                    and coverage of interviews (.20).
02/02/2013   VLS    E-mail exchange with quality control team member        L320     0.10 hrs
                    Mr. Rosenberg regarding quality control review
                    and batch assignment.
02/02/2013   VLS    E-mail exchange with quality control team member        L320     0.10 hrs
                    Mr. Levine regarding quality control review and
                    batch assignment.
02/02/2013   VLS    E-mail exchange with quality control team member        L320     0.10 hrs
                    Ms. Nicholson regarding quality control review
                    and batch assignment.
02/02/2013   VLS    E-mail exchange with quality control team member        L320     0.10 hrs
                    Mr. Navaro regarding quality control review and
                    batch assignment.
02/02/2013   VLS    E-mail exchange with quality control team member        L320     0.10 hrs
                    Ms. Chang regarding quality control review and
                    batch assignment.
02/02/2013   VLS    E-mail exchange with quality control team member        L320     0.10 hrs
                    Mr. Hoelzel regarding quality control review and
                    batch assignment.
02/02/2013   VLS    E-mail exchange with quality control team member        L320     0.10 hrs
                    Ms. George regarding quality control review and
                    batch assignment.
02/02/2013   AJM    Review privilege logs 6, 7, and 8 to determine          L310     0.40 hrs
                    applicability of common interest privilege for
                    entries involving GMAC Bank.
02/02/2013   AJM    Determine and add metadata for last item on             L310     0.40 hrs
                    Privilege Log 8.
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02/02/2013   SCM    Third level quality control review of document set     L320     2.40 hrs
                    17.

02/02/2013   ABW    Document review quality control, Phase 3 Set           L140     2.40 hrs
                    1.033.

02/03/2013   AMP    Attention to revising withheld and redacted            L320     1.50 hrs
                    privilege log for production 114/115.

02/03/2013   AMP    Multiple e-mails with Mr. Molnar regarding             L320     0.60 hrs
                    privilege log for production 114/115.

02/03/2013   AMP    Attention to finalizing privilege log for production   L320     0.20 hrs
                    114/115.

02/03/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)           L320     0.30 hrs
                    and Ms. Tice (Morrison & Foerster) regarding
                    finalizing privilege log for production 114/115.
02/03/2013   JAL    Review and redraft outline for Mr. Bier's              L120     0.50 hrs
                    examination preparation.

02/03/2013   JDR    Draft memorandum outlining anticipated areas of        L420     1.30 hrs
                    inquiry in preparation for Ms. Wiebe examiner
                    interview.
02/03/2013   SCM    Third level quality control review of document set     L320     3.30 hrs
                    17.

02/03/2013   AEG    Review protocol for Phase 3 quality control. (.40)     L140     5.50 hrs
                    Began Phase 3 quality control, check for proper
                    privilege and responsiveness for batch 58. (.30)
                    Clawbacked 45 documents that were either
                    completely or partially privileged. (1.10)
                    (Confirmed that approximately 360 items were
                    privileged and produced some documents that were
                    marked privileged that were not actually
                    privileged. (1.30) Check 429 documents that were
                    marked "not privileged" to make sure they were, in
                    fact, not privileged. Phase 3 Set 1.058. (1.40)
02/03/2013   ABW    Document review quality control, Phase 3 Set           L140     2.50 hrs
                    1.033.

02/03/2013   LWS    Quality control review batch for ResCap                L140     8.50 hrs
                    bankruptcy.

02/04/2013   AMP    Attention to revising withheld and redacted            L320     1.00 hrs
                    privilege log for production 116/117.
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02/04/2013   AMP    Multiple e-mails with Mr. Molnar regarding            L320     0.40 hrs
                    privilege log for production 116/117.

02/04/2013   AMP    Attention to privilege log assignments and            L320     0.60 hrs
                    estimations for completion of detailed onerous logs
                    requested by Examiner.
02/04/2013   AMP    Multiple e-mails with privilege team and Morrison     L120     0.40 hrs
                    & Foerster regarding privilege log assignments and
                    estimations for completion of detailed onerous logs
                    requested by Examiner.
02/04/2013   AMP    Attention to examples of privilege logs being         L320     1.80 hrs
                    proposed to provide to Examiner as opposed to
                    burdensome detailed logs.
02/04/2013   JAL    Review and respond to e-mails regarding Mr.           L120     4.50 hrs
                    Pohl's interview (.20). Conference with Ms. Battle
                    to discuss witness preparation and interview
                    calendars (.80). Communicate with Mr. Renzi
                    (FTI) and Ms. Battle regarding presentation to
                    Mesirow. (.40) Review e-mails regarding
                    coverage for interviews and preparation for same
                    (.20). Review e-mails regarding preservation on
                    securitization (.20). Review Mr. Blitzer's
                    preparation materials (1.4). Conference with
                    Carpenter Lipps & Leland team to discuss
                    interview preparation (1.30).
02/04/2013   VLS    E-mail exchange with Ms. Wong at vendor Profile       L320     0.30 hrs
                    Discovery regarding preparation of hard copy of
                    selected Board Meeting minutes and materials.
02/04/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding     L320     0.20 hrs
                    error with search function in Discovery Partner
                    database.
02/04/2013   VLS    E-mail to quality control review team members         L320     0.20 hrs
                    regarding technical issue with Discovery Partner
                    database.
02/04/2013   VLS    Monitor review status of document review quality      L320     0.60 hrs
                    control team.

02/04/2013   VLS    Assignment of quality control batches to quality      L320     0.80 hrs
                    control review team members.

02/04/2013   VLS    Conference with Ms. Marty regarding select board      L110     0.40 hrs
                    meeting minutes.

02/04/2013   VLS    Conference with Ms. Wong at vendor Profile            L110     0.40 hrs
                    Discovery regarding printing of select board
                    meeting minutes.
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02/04/2013   VLS    Preparation of electronic copy of materials from    L320     2.10 hrs
                    Mr. Marple used in recent witness interview.

02/04/2013   VLS    Preparation of CD containing electronic copy of     L320     0.40 hrs
                    Marple material.

02/04/2013   VLS    Forward CD of Marple material to vendor DTI for     L320     0.30 hrs
                    uploading into database.

02/04/2013   VLS    Revise and update quality control review tracking   L320     1.40 hrs
                    spreadsheet. (.40) Conference with Ms. Marty
                    regarding quality control staffing. (.50)
02/04/2013   JES    Attend parts of meeting with Mr. Lipps, Ms.         L120     0.50 hrs
                    Battle, Ms. Mohler, Mr. Rhode and Mr. Corcoran
                    regarding upcoming interviews.
02/04/2013   JALB   Meet with Mr. Lipps regarding Examiner              L120     0.90 hrs
                    preparation and information learned in prior
                    interviews.
02/04/2013   JALB   Participate in team meeting regarding Examiner      L120     1.40 hrs
                    witness preparation key issues.

02/04/2013   JALB   Discussion with Mr. Salerno, Mr. Brown (both        L120     0.80 hrs
                    Morrison & Foerster), Ms. Marty, regarding
                    strategy and timing for document productions and
                    privilege log work.
02/04/2013   JALB   Prepare memorandum/notes regarding discussion       L120     0.50 hrs
                    with Mr. Salerno, Mr. Brown (both Morrison &
                    Foerster), Ms. Marty, regarding strategy and
                    timing for document productions and privilege log
                    work.
02/04/2013   JALB   Follow-up with former employee witnesses and        L120     1.00 hrs
                    Morrison & Foerster team regarding interview
                    scheduling.
02/04/2013   JALB   Correspondence with team regarding interview        L120     0.80 hrs
                    scheduling.

02/04/2013   JALB   Coordination with Mr. Lipps and FTI (Mr. Renzi,     L120     0.40 hrs
                    Mr. McDonald) regarding further discussion with
                    Mesirow on securitization practices.
02/04/2013   JALB   Prepare draft memorandum at request of Ms. Levitt   L120     2.20 hrs
                    (Morrison & Foerster) regarding discussion of
                    potential damages theories with Mr. Lipps.
02/04/2013   MMM    Review documents for Gray Examiner interview        L120     1.80 hrs
                    preparation.

02/04/2013   MMM    Review documents for Steinhagen Examiner            L120     1.90 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
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                    interview preparation.

02/04/2013   MMM    Participate in meeting with Mr. Lipps, Ms. Battle,     L120     0.70 hrs
                    Mr. Beck, Mr. Sechler, Mr. Corcoran and Mr.
                    Rhode regarding preparation for upcoming
                    interviews.
02/04/2013   DAB    Analyze presentations to rating agencies on            L120     0.20 hrs
                    GMAC sale to Cerberus.

02/04/2013   DAB    Communicate with Ms. Battle regarding                  L120     0.10 hrs
                    presentations to rating agencies on GMAC sale to
                    Cerberus.
02/04/2013   DAB    Meeting with Mr. Lipps, Ms. Battle, Mr. Sechler        L120     1.30 hrs
                    (parts), Ms. Mohler (parts), Mr. Rhode and Mr.
                    Corcoran regarding issues in recent examiner
                    interviews and preparations for next round of
                    examiner interviews.
02/04/2013   DAB    Communicate with Mr. Sechler, Ms. Mohler, Mr.          L120     0.10 hrs
                    Rhode and Mr. Corcoran regarding interagency
                    guidance on mortgage loans.
02/04/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding              L120     0.30 hrs
                    examiner confidentiality agreement issues.

02/04/2013   JRC    Conference with Mr. Lipps, Ms. Battle, Mr. Beck,       L120     1.30 hrs
                    Mr. Sechler, Mr. Rhode, and Ms. Mohler regarding
                    strategy for defending upcoming examiner
                    interviews.
02/04/2013   JRC    Review and analyze documents relating to Ms.           L320     1.30 hrs
                    Lundsten in Discovery Partner in order to prepare
                    her examiner interview preparation materials.
02/04/2013   JRC    Review and analyze exhibits previously marked in       L320     0.70 hrs
                    examiner interviews in order to prepare examiner
                    materials for Mr. Russell.
02/04/2013   JRC    Review and analyze documents relating to Mr.           L320     0.60 hrs
                    Russell in Discovery Partner in order to prepare his
                    examiner interview preparation materials.
02/04/2013   JRC    Review and analyze documents relevant to the           L320     1.90 hrs
                    GMAC Bank sale in Discovery Partner in order to
                    prepare examiner witness materials.
02/04/2013   JRC    Review and analyze memorandum from meeting             L210     0.50 hrs
                    with the UCC in order to prepare examiner witness
                    materials.
02/04/2013   JDR    Conference with Ms. Battle, Mr. Lipps, Mr.             L120     1.30 hrs
                    Corcoran and Mr. Sechler regarding examiner
                    witness preparation strategy.
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02/04/2013   JDR    Draft memorandum regarding anticipated topics          L420     1.50 hrs
                    for examiner interview of Ms. Wiebe.

02/04/2013   JDR    Review and analyze select third party submission       L420     0.40 hrs
                    papers in preparation for Ms. Wiebe's examiner
                    interview.
02/04/2013   JDR    Review and analyze deposition exhibits in              L420     0.80 hrs
                    preparation for Ms. Wiebe's examiner interview.

02/04/2013   GNM    Meeting with Ms. Sholl regarding quality control       L120     0.60 hrs
                    staffing and protocol for Phase 3 material quality
                    control.
02/04/2013   GNM    Creating master chart of privilege logs to be          L320     1.40 hrs
                    completed at the request of Ms. Paul-Whitfield.

02/04/2013   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Ms. Shank (Residential Capital) regarding requests
                    from the Examiner.
02/04/2013   GNM    Working in Discovery Partner database answering        L320     1.90 hrs
                    reviewer questions regarding privilege and
                    responsiveness designation.
02/04/2013   GNM    Meeting with Ms. Sholl regarding Board Material        L120     0.30 hrs
                    production sets.

02/04/2013   GNM    Working in Discovery Partner database locating         L320     1.10 hrs
                    documents in response to requests from Examiner.

02/04/2013   GNM    Telephone communication with Mr. Brown                 L120     0.50 hrs
                    (Morrison and Foerster) regarding outstanding
                    requests from the Examiner.
02/04/2013   GNM    Performing quality control checks on data being        L320     4.00 hrs
                    re-reviewed for regulatory privilege.

02/04/2013   AJM    Conference with Mr. Phillips to discuss protocol       L310     0.50 hrs
                    for drafting future privilege logs for the Examiner.

02/04/2013   AJM    Conference with Ms. Paul Whitfield to discuss          L310     0.20 hrs
                    drafting exemplar Hamzehpour privilege logs
                    taken from batches 122/123.
02/04/2013   AJM    Draft exemplar Examiner privilege logs comparing       L310     2.40 hrs
                    the raw output from Discovery Partner with edited
                    versions.
02/04/2013   AJM    Draft addendum to Examiner privilege log drafting      L310     0.70 hrs
                    protocol.

02/04/2013   SCM    Legal research regarding viability of single entity    L110     3.90 hrs
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                    theory under Delaware law.

02/04/2013   SCM    E-mail to Mr. Beck regarding legal research           L190     0.40 hrs
                    regarding viability of single entity theory under
                    Delaware law.
02/04/2013   HLB    Perform quality control examiner review of batch      L120     1.80 hrs
                    "Phase 3- Set 1.049." Perform targeted search for
                    term "Cerberus" per quality control examiner
                    review protocol.
02/04/2013   HLB    Perform quality control examiner review of batch      L120     3.80 hrs
                    "Phase 3- Set 1.049." Perform review for
                    privileged documents per quality control examiner
                    review protocol.
02/04/2013   ABW    Document review quality control, Phase 3 Set          L140     3.90 hrs
                    1.033.

02/04/2013   ABW    E-mail from Ms. Marty regarding privilege logs.       L190     0.10 hrs


02/04/2013   ABW    E-mail from Ms. Marty regarding Angela                L190     0.10 hrs
                    Whitfield.

02/04/2013   ABW    E-mail from Ms. Marty regarding coding inquiry.       L190     0.10 hrs


02/04/2013   ABW    E-mail from Ms. Sholl regarding batch assignment.     L190     0.10 hrs


02/04/2013   ABW    E-mail from Ms. Sholl regarding database              L190     0.10 hrs
                    problems.

02/04/2013   ABW    E-mail from Ms. Sholl regarding search fixes.         L190     0.10 hrs


02/05/2013   AMP    Attention to finalizing withheld and redacted         L320     0.80 hrs
                    privilege log for production 116/117.

02/05/2013   AMP    Attention to revising withheld and redacted           L320     1.90 hrs
                    privilege log for production 118/119.

02/05/2013   AMP    Multiple e-mails with Mr. Molnar regarding            L320     0.60 hrs
                    privilege log for production 118/119.

02/05/2013   AMP    Attention to revising privilege log protocol review   L320     1.30 hrs
                    memorandum and supplement.
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02/05/2013   AMP    Meeting with privilege log team regarding training            L320     1.10 hrs
                    for privilege log preparation and assignments.

02/05/2013   AMP    Attention to alternative proposals for less detailed          L320     1.30 hrs
                    privilege logs for timing purposes.

02/05/2013   AMP    Multiple e-mails with Morrison & Foerster and                 L320     0.40 hrs
                    privilege team regarding alternative proposals for
                    less detailed privilege logs for timing purposes.
02/05/2013   JAL    Conference with Ms. Levitt (Morrison & Foerster)              L120     1.30 hrs
                    regarding examiner preparation issues (.60).
                    Review and respond to e-mails regarding Mr.
                    Pohl's interview (.20). Review and respond to
                    e-mails regarding confidentiality issues (.20).
                    Conference with Mr. Beck regarding same (.10).
                    Review and respond to e-mails regarding interview
                    coverage (.20).
02/05/2013   VLS    Monitor review status of document review quality              L320     1.40 hrs
                    control team.

02/05/2013   VLS    Assignment of quality control batches to quality              L320     0.80 hrs
                    control review team members.

02/05/2013   VLS    Revise and update quality control review tracking             L320     1.60 hrs
                    spreadsheet.

02/05/2013   RBS    Prepare alphabetical and chronological matrixes of            L310     0.60 hrs
                    examiner exhibits to distribute for Mr. Beck

02/05/2013   TKI    Review e-mail documents for quality control            A104   L120     5.70 hrs
                    purposes for Set 2 batch 2.

02/05/2013   JALB   Correspondence with Mr. Illovsky (Morrison &                  L120     0.30 hrs
                    Foerster), Mr. Lipps, Mr. McDonald (FTI)
                    regarding securitization practices discussion with
                    Mesirow.
02/05/2013   JALB   Correspondence with former employee witnesses                 L120     0.40 hrs
                    regarding interview preparation and scheduling.

02/05/2013   JALB   Coordination with Morrison & Foerster and                     L120     0.40 hrs
                    Kirkland & Ellis Examiner witness teams
                    regarding interview preparation and scheduling.
02/05/2013   JALB   Review and revise memorandum from Mr. Beck                    L120     0.50 hrs
                    regarding revisions to and concerns with proposed
                    confidentiality order.
02/05/2013   JALB   Correspondence with Ms. Levitt (Morrison &                    L120     0.20 hrs
                    Foerster) regarding revisions to and concerns with
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                    proposed confidentiality order.
02/05/2013   JALB   Discussion with Ms. Marty regarding status of       L120     0.70 hrs
                    document review and production, closeout of open
                    items, and staffing considerations.
02/05/2013   MMM    Review documents for Steinhagen Examiner            L120     2.50 hrs
                    interview. Draft outline regarding same.

02/05/2013   JRC    Review and analyze documents relating to Ms.        L320     2.10 hrs
                    Lundsten in Discovery Partner in order to prepare
                    her examiner witness materials.
02/05/2013   JRC    Review and analyze transcripts and exhibits         L330     0.80 hrs
                    submitted to examiner by MBIA in order to
                    prepare witness materials for Mr. Blitzer.
02/05/2013   JRC    Review and analyze transcripts and exhibits         L330     1.40 hrs
                    submitted to examiner by MBIA in order to
                    prepare witness materials for Mr. Scholtz.
02/05/2013   JRC    Review and analyze transcripts and exhibits         L330     1.50 hrs
                    submitted to examiner by MBIA in order to
                    prepare witness materials for Ms. Steinhagen.
02/05/2013   JRC    Review and analyze transcripts and exhibits         L330     0.80 hrs
                    submitted to examiner by MBIA in order to
                    prepare witness materials for Ms. Wiebe.
02/05/2013   JRC    Review and analyze transcripts and exhibits         L330     0.90 hrs
                    submitted to examiner by MBIA in order to
                    prepare witness materials for Ms. Lundsten.
02/05/2013   JDR    Review and analyze previous exhibits marked by      L420     2.20 hrs
                    the Examiner in interviews in preparation for the
                    upcoming interview of Ms. Wiebe.
02/05/2013   SP     Review and revise privilege logs for withheld and   L120     2.30 hrs
                    redacted documents.

02/05/2013   GNM    Telephone communications with Ms. Gardiner          L120     0.70 hrs
                    (Schulte) regarding outstanding Cerberus items.

02/05/2013   GNM    Performing quality control checks on data being     L320     4.90 hrs
                    re-reviewed for regulatory privilege. (4.10)
                    Conference with Ms. Battle regarding plan to
                    complete production. (.80)
02/05/2013   GNM    Working in Discovery Partner database answering     L120     1.60 hrs
                    reviewer questions regarding privilege and
                    responsiveness designation.
02/05/2013   GNM    E-mail communications with Ms. Mohler               L120     0.10 hrs
                    regarding audit materials.

02/05/2013   GNM    E-mail communications with Mr. Beck regarding       L120     0.30 hrs
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                    Ally productions.

02/05/2013   GNM    Working in the Morrison and Foerster Relativity      L320     0.40 hrs
                    database to locate documents from Ally
                    productions at the request of Mr. Beck.
02/05/2013   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.20 hrs
                    regarding outstanding Cerberus requests.

02/05/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.10 hrs
                    and Foerster) regarding audit committee materials.

02/05/2013   GNM    Draft response to Mr. Schwinger's (Chadbourne)       L120     0.80 hrs
                    e-mail regarding timing of data production.

02/05/2013   AJM    Draft addendum to Examiner privilege log drafting    L310     0.60 hrs
                    protocol.

02/05/2013   AJM    Quality control review of documents withheld         L310     0.70 hrs
                    partially or entirely in response to Examiner
                    document requests, set 118/119.
02/05/2013   AJM    Draft privilege log for documents produced in        L310     1.00 hrs
                    response to Examiner document requests, set
                    118/119.
02/05/2013   SCM    Third level quality control review of document set   L320     0.80 hrs
                    17.

02/05/2013   HLB    Perform quality control examiner review of batch     L120     3.60 hrs
                    "Phase 3- Set 1.049." Perform review of
                    documents for privilege per quality control
                    examiner review protocol.
02/05/2013   HLB    Perform quality control examiner review of batch     L120     1.50 hrs
                    "Phase 3- Set 1.049" for examiner issues tag per
                    quality control examiner review protocol.
02/05/2013   AEG    Perform quality control review of Phase 3 Set 1      L140     8.30 hrs
                    Batch 54.

02/05/2013   ABW    Document review quality control, Phase 3 Set         L140     1.00 hrs
                    1.033.

02/05/2013   ABW    E-mail to Ms. Sholl regarding batch assignment.      L190     0.10 hrs


02/06/2013   AMP    Attention to finalizing withheld and redacted        L320     1.00 hrs
                    privilege log for production 118/119.

02/06/2013   AMP    Attention to issues regarding forthcoming            L320     1.90 hrs
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                    installments of privilege logs.

02/06/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster and       L320     0.60 hrs
                    Mr. Salerno (Morrison & Foerster) regarding
                    forthcoming installments of privilege logs.
02/06/2013   AMP    Attention to summarizing status and what is left to   L120     1.70 hrs
                    do on privilege logs for upcoming hearing.

02/06/2013   AMP    Attention to developing the parameters for the new    L320     1.90 hrs
                    form privilege for remaining of Phase I and Phase
                    II.
02/06/2013   AMP    Multiple e-mails with Mr. Brown (Morrison &           L120     0.30 hrs
                    Foerster) regarding summarizing status and what is
                    left to do on privilege logs for upcoming hearing.
02/06/2013   JAL    Review e-mails regarding tax issues examiner is       L120     2.30 hrs
                    pursuing (.30). Review e-mails about preparation
                    for Court conference to address examiner
                    discovery issues (.40). Review document
                    production summary regarding documents to
                    examiner (.20). Conference with Ms. Battle
                    regarding same (.10). Conference with Ms. Battle
                    regarding Mesirow use of Vision (.10). Review
                    and finalize memo regarding examiner document
                    production timeline (.20). Review and revise
                    securitization powerpoint slides (.50). Review Mr.
                    Pohl's documents (.30). Conference with Mr. Beck
                    regarding same. (.20)
02/06/2013   VLS    Monitor review status of document review quality      L320     0.80 hrs
                    control team.

02/06/2013   VLS    Assignment of quality control batches to quality      L320     0.90 hrs
                    control review team members.

02/06/2013   VLS    Revise and update quality control review tracking     L320     1.30 hrs
                    spreadsheet.

02/06/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding     L320     0.20 hrs
                    additional documents to be loaded into Discovery
                    Partner database.
02/06/2013   JES    Review previously prepared outlines and               L120     2.00 hrs
                    summaries related to upcoming Examiner
                    interviews of Mr. Bricker and Mr. Blitzer. (1.80)
                    Communicate with Mr. Barthel regarding materials
                    from prior deposition of Mr. Blitzer. (.20)
02/06/2013   RBS    Download requested Maddox materials from              L310     0.70 hrs
                    Sharepoint to U-Drive for Mr. Beck.
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02/06/2013   RBS    Compile Prior Blitzer materials for notebook for             L310     2.10 hrs
                    Mr. Sechler.

02/06/2013   TKI    Review e-mail documents for quality control           A104   L120     3.70 hrs
                    purposes for Set 2 batch 2.

02/06/2013   JALB   Correspondence with Morrison & Foerster and                  L120     0.60 hrs
                    Carpenter Lipps & Leland examiner witness
                    preparation teams (Mr. Illovsky, Mr. Day, Mr.
                    Rains, Ms. Levitt from Morrison & Foerster; Mr.
                    Lipps and Mr. Beck from Carpenter Lipps &
                    Leland) regarding scheduling and coordination of
                    Ally and Residential Capital witnesses.
02/06/2013   JALB   Follow-up correspondence with human resources                L120     0.40 hrs
                    staff and former employees regarding witness
                    interview requests.
02/06/2013   JALB   Follow-up to collect and produce documents                   L320     0.60 hrs
                    responsive to Mesirow/Chadbourne follow up
                    requests regarding securitization business.
02/06/2013   JALB   Telephone conference with Mr. Ruckdaschel                    L120     0.50 hrs
                    (Residential Capital) regarding Mesirow
                    questions/discussion regarding securitization
                    business.
02/06/2013   JALB   Prepare for meeting with Mesirow regarding                   L120     0.50 hrs
                    securitization business.

02/06/2013   JALB   Communicate with Ms. Marty regarding                         L120     3.20 hrs
                    organizational charts. (.10) Conference with Mr.
                    Lipps regarding production status. (.10)
                    Coordination with Ms. Levitt, Mr. Salerno, Mr.
                    Brown and Ms. Tice (all Morrison & Foerster),
                    Ms. Marty and Ms. Paul Whitfield to respond to
                    Chadbourne document production status questions
                    (.60) and prepare for chambers conference
                    regarding same. (1.40) E-mails with Ms. Marty
                    regarding draft communication to Chadbourne on
                    production status. (1.0)
02/06/2013   JALB   Coordinate with client, FTI and Morrison &                   L120     0.50 hrs
                    Foerster to obtain access to and training on Vision
                    website for Mesirow/Chadbourne team. (.40)
                    Conference with Mr. Lipps regarding same. (.10)
02/06/2013   DJB    Communications with Ms. Tice at Morrison                     L120     0.80 hrs
                    Foester regarding all transaction documents for
                    RASC 2006-KS3 and RALI 2006-QO9 requested
                    by Examiner and transmission of same to Ms. Tice.
                    (.50) Research regarding same. (.30)
02/06/2013   DJB    Communications with Ms. Appleton, Ms. Gaunder,               L120     0.60 hrs
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                    and Ms. Marty regarding materials used to prepare
                    Mr. Blitzer for his deposition in MBIA v.
                    GMACM and exhibits marked during the
                    deposition to assist with Examiner interviews. (.40)
                    Communicate with Mr. Sechler regarding same.
                    (.20)
02/06/2013   MMM    Review documents for Steinhagen Examiner               L120     3.90 hrs
                    interview preparation.

02/06/2013   MMM    Draft outline for Steinhagen Examiner interview        L120     3.00 hrs
                    preparation.

02/06/2013   DAB    Communicate with Mr. Samson regarding                  L120     0.10 hrs
                    additional documents related to Kramer Levin
                    presentation.
02/06/2013   DAB    Communicate with Mr. Lipps regarding issues for        L120     0.20 hrs
                    examiner interview of Mr. Pohl.

02/06/2013   DAB    Analyze previous research regarding Mr. Pohl to        L330     0.80 hrs
                    select critical issues for Mr. Pohl.

02/06/2013   DAB    Communicate with Mr. Samson regarding new              L120     0.10 hrs
                    materials received from Morrison & Foerster.

02/06/2013   DAB    Analyze materials on history of examiner               L320     0.20 hrs
                    discovery.

02/06/2013   DAB    E-mail Ms. Battle regarding comments on                L120     0.10 hrs
                    materials for Ms. Levitt for conference with judge
                    on discovery.
02/06/2013   JRC    Review and analyze documents relevant to Mr.           L320     0.80 hrs
                    Russell in order to prepare his examiner witness
                    materials.
02/06/2013   JRC    Review and analyze materials submitted by MBIA         L320     2.10 hrs
                    to the examiner in order to prepare witness
                    materials.
02/06/2013   JDR    Review and analyze exhibits submitted by third         L420     1.70 hrs
                    parties in preparation for Ms. Wiebe's examiner
                    interview.
02/06/2013   JDR    Draft correspondence to Ms. Battle regarding           L120     0.10 hrs
                    preparation for examiner interviews.

02/06/2013   JDR    Revise memorandum regarding anticipated topics         L420     0.30 hrs
                    for examiner interview of Ms. Wiebe.

02/06/2013   SP     Review and revise privilege logs for withheld and      L120     2.90 hrs
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                    redacted documents.

02/06/2013   GNM    Editing memorandum for Chambers conference on        L120     0.90 hrs
                    examiner discovery.

02/06/2013   GNM    E-mail communications with Ms. Levitt (Morrison      L120     0.30 hrs
                    and Foerster) regarding Chambers conference on
                    examiner discovery.
02/06/2013   GNM    E-mail communications with Mr. Brown (Morrison       L120     0.10 hrs
                    and Foerster) regarding outstanding requests from
                    Examiner.
02/06/2013   GNM    Re-drafting and editing response to Mr.              L120     2.90 hrs
                    Schwinger's (Chadbourne) e-mail regarding timing
                    of data productions.
02/06/2013   GNM    Exchange e-mail communications with Ms. Battle       L120     1.10 hrs
                    regarding the draft response to Mr. Schwinger
                    (Chadbourne) e-mail regarding timing of data
                    productions.
02/06/2013   GNM    E-mail communications with Ms. Battle regarding      L120     0.10 hrs
                    organizational charts previously produced.

02/06/2013   GNM    Creating a chart to show all Phase 2 and Phase 3     L320     0.30 hrs
                    productions at the request of Ms. Levitt (Morrison
                    and Foerster)
02/06/2013   GNM    Exchange e-mail communications with Ms. Tice         L120     0.40 hrs
                    (Morrison and Foerster) regarding information for
                    Chambers conference.
02/06/2013   GNM    Draft e-mail regarding breakdown of Examiner's       L120     0.80 hrs
                    document requests since July 2012 in preparation
                    for Chambers conference.
02/06/2013   AJM    Quality control review of documents withheld         L310     1.60 hrs
                    partially or entirely in response to Examiner
                    document requests, set 118/119.
02/06/2013   AJM    Draft privilege log for documents produced in        L310     2.60 hrs
                    response to Examiner document requests, set
                    118/119.
02/06/2013   SCM    Third level quality control review of document set   L320     2.20 hrs
                    17.

02/06/2013   HLB    Perform quality control examiner review of batch     L120     4.90 hrs
                    "Phase 3- Set 1.049." Perform review of
                    documents for privilege per quality control
                    examiner review protocol.
02/06/2013   ABW    E-mail from Ms. Sholl regarding batch assignment.    L190     0.10 hrs
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02/07/2013   AMP    Attention to revised format of privilege log.         L320     0.80 hrs


02/07/2013   AMP    Review summary of Court hearing.                      L210     0.20 hrs


02/07/2013   AMP    Attention to preparing written proposal for new       L320     0.50 hrs
                    logs.

02/07/2013   AMP    Attention to preparing, editing, and finalizing new   L320     0.90 hrs
                    form of withheld and redacted privilege logs for
                    production 116/117.
02/07/2013   AMP    Attention to preparing, editing, and finalizing new   L320     0.90 hrs
                    form of withheld and redacted privilege logs for
                    production 118/119.
02/07/2013   AMP    Attention to preparing, editing, and finalizing new   L320     1.40 hrs
                    form of withheld and redacted privilege logs for
                    production 120/121.
02/07/2013   AMP    Attention to preparing, editing, and finalizing new   L320     0.70 hrs
                    form of withheld and redacted privilege logs for
                    production 125/126.
02/07/2013   AMP    Attention to preparing, editing, and finalizing new   L320     2.10 hrs
                    form of withheld and redacted privilege logs for
                    production 127/128.
02/07/2013   AMP    Attention to preparing, editing, and finalizing new   L320     1.90 hrs
                    form of withheld and redacted privilege logs for
                    production 130/131.
02/07/2013   AMP    Attention to preparing, editing, and finalizing new   L320     1.80 hrs
                    form of withheld and redacted privilege logs for
                    production 132/133.
02/07/2013   AMP    Conference call with Morrison & Foerster and Ms.      L320     0.70 hrs
                    Battle regarding team privilege logs.

02/07/2013   AMP    E-mails with Mr. Phillips and Ms. Marty regarding     L320     0.40 hrs
                    continuing more detailed privilege logs.

02/07/2013   AMP    E-mails with Morrison & Foerster and Ms. Battle       L320     0.20 hrs
                    regarding written proposal for new logs.

02/07/2013   JAL    Prepare for securitization presentation to            L120     5.80 hrs
                    Chadbourne and Mesirow (2.20). Conference with
                    Ms. Battle regarding same (.50). Presentation to
                    Mesirow and Chadburne (2.00). Review report
                    from Ms. Levitt regarding Court hearing on
                    examiner discovery complaints (.20). Review and
                    respond to e-mails regarding examiner discovery
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                    complaints (.20). Review and respond to e-mails
                    regarding the use of MBIA transcripts and expert
                    reports (.40). Review and respond to e-mails
                    regarding interview preparations and coverage of
                    same (.10). Review e-mails regarding examiner
                    document production (.10). Conference with Ms.
                    Battle regarding production staffing and related
                    issues. (.60)
02/07/2013   VLS    Monitor review status of document review quality            L320     1.20 hrs
                    control team.

02/07/2013   VLS    Assignment of quality control batches to quality            L320     0.60 hrs
                    control review team members.

02/07/2013   VLS    Revise and update quality control review tracking           L320     0.80 hrs
                    spreadsheet.

02/07/2013   VLS    Preparation of spreadsheets regarding deposition            L110     1.80 hrs
                    taken by each party in the MBIA vs RFC matter.

02/07/2013   JES    Attend conference call with Mesirow regarding               L120     2.00 hrs
                    ResCap PLS overview.

02/07/2013   JES    Review e-mails regarding upcoming examiner                  L120     0.50 hrs
                    interviews.

02/07/2013   JES    Review e-mail and attachment from Mr. Beck                  L120     0.50 hrs
                    regarding Bricker SEC deposition.

02/07/2013   TKI    Review e-mail documents for quality control          A104   L120     4.10 hrs
                    purposes for Set 2 batch 2.

02/07/2013   JALB   Correspondence with Ms. Levitt and Mr. Brown                L120     0.30 hrs
                    (both Morrison & Foerster) regarding final talking
                    points for chambers discovery conference.
02/07/2013   JALB   Prepare for Mesirow presentation.                           L120     0.50 hrs


02/07/2013   JALB   Meet with Mr. Lipps to prepare for presentation to          L120     0.50 hrs
                    Mesirow and Chadbourne regarding securitization
                    background.
02/07/2013   JALB   Conduct presentation on Residential Capital                 L120     2.00 hrs
                    securitization background to various Mesirow and
                    Chadbourne representatives (as well as Morrison &
                    Foerster, FTI, and Carpenter Lipps & Leland
                    representatives).
02/07/2013   JALB   Research background of and contact information              L330     0.30 hrs
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                    for former employee witnesses requested for
                    interview by Examiner.
02/07/2013   JALB   Discussions with Mr. Lipps regarding quality        L120     0.60 hrs
                    control and privilege log staffing.

02/07/2013   JALB   Telephone conference with Mr. Illovsky and Mr.      L120     0.30 hrs
                    Day (both Morrison & Foerster) regarding
                    interview planning.
02/07/2013   JALB   Circulate notes of call with Mr. Illovsky and Mr.   L120     0.30 hrs
                    Day (both Morrison & Foerster) regarding
                    interview planning and schedule, to Mr. Lipps and
                    Mr. Beck.
02/07/2013   JALB   Correspondence with former employee witnesses       L120     1.20 hrs
                    and Examiner witness preparation team (Mr.
                    Illovsky and Mr. Day from Morrison & Foerster,
                    Mr. Lipps and Mr. Beck from Carpenter Lipps &
                    Leland) regarding availability for preparation
                    meetings and interviews, coordination of counsel,
                    and scheduling. (.90) Conference with Mr.
                    Corcoran regarding draft to the bankruptcy
                    examiner. (.30)
02/07/2013   JALB   Work on privilege logs. (.50) E-mail Mr. Brown,     L120     0.70 hrs
                    Ms. Levitt (Morrison & Foerster) and Ms.
                    Paul-Whitfield regarding same.
02/07/2013   MMM    Draft outline for Steinhagen Examiner interview     L120     4.40 hrs
                    preparation.

02/07/2013   MMM    Listen in on call with Mesirow regarding ResCap     L120     2.00 hrs
                    private label securities overview.

02/07/2013   MMM    Review documents for Steinhagen Examiner            L120     5.80 hrs
                    interview preparation. (5.60) Conference with Mr.
                    Corcoran regarding same. (.20)
02/07/2013   DAB    E-mail Ms. Mohler regarding outline for examiner    L120     0.10 hrs
                    interview of Ms. Steinhagen.

02/07/2013   JRC    Conference with Mr. Lipps, Ms. Battle, and          L120     2.00 hrs
                    representatives from Mesirow Financial and
                    Chadbourne & Parke regarding Debtors'
                    securitization processes.
02/07/2013   JRC    Draft summary of meeting with Mesirow Financial     L210     0.40 hrs
                    and Chadbourne & Parke.

02/07/2013   JRC    E-mail exchanges with Mr. Rhode and Ms. Mohler      L120     0.10 hrs
                    regarding summary of meeting with Mesirow
                    Financial and Chadbourne & Parke.
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02/07/2013   JRC    Conference with Ms. Mohler regarding preparation     L120     0.20 hrs
                    materials for Ms. Steinhagen's examiner interview.

02/07/2013   JRC    Review materials submitted to the examiner by        L320     0.60 hrs
                    MBIA in order to draft analysis for Mr. Lipps.

02/07/2013   JRC    Draft analysis of materials submitted to the         L120     0.30 hrs
                    examiner by MBIA for Mr. Lipps.

02/07/2013   JRC    Conference with Ms. Battle regarding draft of        L120     0.30 hrs
                    letter to the bankruptcy examiner.

02/07/2013   JDR    Participate in parts of conference call with         L120     1.60 hrs
                    Mesirow regarding securitization process and
                    overview.
02/07/2013   JDR    Review securitization presentation summary slides    L120     0.30 hrs
                    and draft analysis and notes related to upcoming
                    interview of Ms. Wiebe.
02/07/2013   SP     Advise Ms. Paul-Whitfield and Ms. Marty              L120     0.40 hrs
                    regarding best practices for producing privilege
                    logs with requested comments.
02/07/2013   SP     Review documents marked as privileged and            L120     3.10 hrs
                    provide descriptions for privilege log.

02/07/2013   GNM    Work in Discovery Partner database answering         L320     2.10 hrs
                    reviewer questions regarding privilege and
                    responsiveness designation.
02/07/2013   GNM    Exchanging e-mail communications with Ms.            L120     0.60 hrs
                    Whitfield regarding privilege and redaction logs.

02/07/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.30 hrs
                    regarding privilege and redaction log reports.

02/07/2013   GNM    Draft and send e-mail communications to Ms.          L120     0.50 hrs
                    Levitt (Morrison and Foerster) regarding search
                    terms used for Phase 3 materials.
02/07/2013   GNM    Working in Discovery Partner creating redaction      L320     1.70 hrs
                    log report.

02/07/2013   GNM    Working in Discovery Partner database creating       L320     0.90 hrs
                    master list of individuals who create regulatory
                    privilege.
02/07/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.50 hrs
                    regarding privilege and redaction log reports.

02/07/2013   GNM    Draft and send e-mail communication to Mr.           L120     0.40 hrs
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                    Salerno, Mr. Brown, Ms. Levitt (Morrison and
                    Foerster) and Ms. Battle regarding the Ally
                    clawback letter and items withheld under the GSE
                    confidentiality orders.
02/07/2013   AJM    Conference with Ms. Paul Whitfield and Mr.             L310     0.40 hrs
                    Phillips to discuss Examiner privilege log drafting
                    process.
02/07/2013   AJM    Quality control review of documents withheld           L310     1.00 hrs
                    partially or entirely in response to Examiner
                    document requests, set 118/119.
02/07/2013   AJM    Draft privilege log for documents produced in          L310     2.60 hrs
                    response to Examiner document requests, set
                    118/119.
02/07/2013   SCM    Third level quality control review of document set     L320     2.10 hrs
                    17.

02/07/2013   HLB    Perform quality control examiner review of batch       L120     0.80 hrs
                    "Phase 3- 1.002." Complete redactions and mass
                    tagging after documents were re-imaged.
02/07/2013   HLB    Perform quality control examiner review of batch       L120     4.20 hrs
                    "Phase 3- Set 1.049." Perform review of
                    documents for privilege per quality control
                    examiner review protocol.
02/07/2013   HLB    Perform quality control examiner review of batch       L120     2.40 hrs
                    "Phase 3- Set 1.049." Perform targeted search of
                    documents for terms related to examiner issues
                    FRB and GSE per quality control examiner review
                    protocl.
02/07/2013   ABW    E-mail from Ms. Paul Whitfield regarding               L190     0.10 hrs
                    privilege logs training.

02/07/2013   ABW    E-mail from Ms. Paul Whitfield regarding               L190     0.10 hrs
                    privilege logs training.

02/07/2013   ABW    E-mail from Ms. Paul Whitfield regarding               L190     0.20 hrs
                    privilege log training.

02/07/2013   ABW    Review of documentation regarding privilege log        L140     0.20 hrs
                    training.

02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.20 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    134/135.
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.50 hrs
                    form of withheld and redacted privilege logs in line
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                    with Morrison & Foerster's proposal for production
                    136/137.
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.10 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    138/139.
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.40 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    140/141.
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.10 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    142/143.
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.30 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    144/145.
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.20 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    146/147.
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     2.80 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    122/123 (Hamzhepour).
02/08/2013   AMP    Attention to preparing, editing, and finalizing new    L320     1.90 hrs
                    form of withheld and redacted privilege logs in line
                    with Morrison & Foerster's proposal for production
                    122/123 (other custodians).
02/08/2013   AMP    Attention to reviewing and completing for              L320     1.90 hrs
                    production the 31 withheld and redacted privilege
                    logs to complete Phase I and II productions.
02/08/2013   AMP    Prepare chart of logs being provided.                  L320     0.40 hrs


02/08/2013   AMP    Multiple e-mails with privilege log team and           L320     0.20 hrs
                    Morrison & Foerster regarding production of
                    privilege logs and description of log proposal.
02/08/2013   AMP    Telephone conference with Mr. Salerno, Mr.             L320     0.80 hrs
                    Brown, Mr. Day (Morrison & Foerster), Ms. Battle
                    and Ms. Marty regarding chart of logs being
                    provided. (.50) Follow-up with Ms. Battle and Ms.
                    Marty regarding same. (.30)
02/08/2013   JAL    Review MBIA transcripts proposed by examiner           L120     2.80 hrs
                    (1.10). Review and respond to e-mails regarding
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                    examiner's confidentiality agreement (.30).
                    Review response to examiner regarding use of
                    MBIA transcripts (.30). Conference with Mr.
                    Ilovsky, Ms. Levitt (Morrison & Foerster) and Ms.
                    Battle regarding new document requests from
                    examiner (.50). Conference with Ms. Battle
                    regarding same (.10). Review and respond to
                    e-mails regarding same (.10). Review and respond
                    to e-mails regarding interview preparation
                    materials and coverage (.20). Review e-mails
                    regarding examiner's use of Vision and questions
                    regarding same (.20).
02/08/2013   MNB    Draft letter to examiner regarding use of                   L120     0.60 hrs
                    confidential MBIA/RFC materials.

02/08/2013   VLS    Monitor review status of document review quality            L320     1.40 hrs
                    control team.

02/08/2013   VLS    Assignment of quality control batches to quality            L320     0.80 hrs
                    control review team members.

02/08/2013   VLS    Revise and update quality control review tracking           L320     1.60 hrs
                    spreadsheet.

02/08/2013   VLS    E-mail exchange with Mr. Shipler, at DTI                    L320     0.20 hrs
                    regarding images needed in Discovery Partner
                    database.
02/08/2013   VLS    Telephone conference with Mr. Shipler at DTI                L320     0.80 hrs
                    regarding revisions to Discovery Partner database
                    review platform to better address technical issues
                    of documents that need to be imaged for quality
                    control review team members.
02/08/2013   JES    Gather documents for use in preparation of Bricker          L120     6.00 hrs
                    examiner interview outline.

02/08/2013   RBS    Upload Ms. Steinhagen Interview Prep Kit to                 L310     0.30 hrs
                    Sharepoint for Mr. Beck.

02/08/2013   TKI    Review e-mail documents for quality control          A104   L120     3.20 hrs
                    purposes for Set 2 batch 3.

02/08/2013   JALB   Telephone conference with Mr. Salerno, Mr.                  L120     0.50 hrs
                    Brown, Mr. Day (all Morrison & Foerster), Ms.
                    Paul-Whitfield and Ms. Marty regarding FRB and
                    GSE withheld documents issues, strategy for
                    privilege logs, and quality control staffing.
02/08/2013   JALB   Follow-up discussions with Ms. Marty and Ms.                L120     0.30 hrs
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                    Paul-Whitfield regarding FRB and GSE withheld
                    documents issues, strategy for privilege logs,
                    quality control staffing.
02/08/2013   JALB   Review and revise draft communication from Ms.       L120     0.20 hrs
                    Paul-Whitfield regarding privilege designations.

02/08/2013   JALB   Discussion with Mr. Illovsky and Mr. Day (both       L120     0.60 hrs
                    Morrison & Foerster) and former employee
                    witnesses regarding coordination, preparation and
                    scheduling of Examiner interviews.
02/08/2013   JALB   Draft response to securitization-related document    L120     0.40 hrs
                    request from Examiner at request of Ms. Levitt
                    (Morrison & Foerster).
02/08/2013   JALB   Discuss response to securitization-related           L120     0.50 hrs
                    document request from Examiner and strategy on
                    new document request with Mr. Lipps, Mr.
                    Illovsky (Morrison & Foerster) and Ms. Levitt
                    (Morrison & Foerster).
02/08/2013   JALB   Follow-up revisions regarding response to            L120     0.20 hrs
                    securitization-related document request from
                    Examiner.
02/08/2013   JALB   Review and comment on draft correspondence to        L120     0.30 hrs
                    Chadbourne regarding use of MBIA materials.

02/08/2013   DJB    Strategy conference regarding privilege              L120     0.50 hrs
                    determinations and privilege log formatting for
                    productions to Examiner to assist Morrison and
                    Foerster.
02/08/2013   MMM    Review documents and draft outline for Steinhagen    L120     3.80 hrs
                    Examiner interview preparation.

02/08/2013   DAB    Conference with Ms. Mohler regarding                 L120     0.10 hrs
                    examination outline for Ms. Steinhagen.

02/08/2013   DAB    E-mails with Ms. Battle regarding preparations for   L120     0.10 hrs
                    examiner interview of Ms. Steinhagen.

02/08/2013   DAB    Review and revise examination outline for Ms.        L330     1.50 hrs
                    Steinhagen.

02/08/2013   DAB    E-mail Mr. Sechler regarding information from        L120     0.20 hrs
                    previous interviews relevant for interview of Mr.
                    Bricker.
02/08/2013   DAB    Revise calendar of major pending bankruptcy          L120     0.20 hrs
                    dates.
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02/08/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.20 hrs
                    issues on confidentiality agreement for examiner
                    submissions on third party claims.
02/08/2013   DAB    E-mails with Mr. Ilovsky (Morrison & Foerster)       L120     0.40 hrs
                    regarding issues on examiner confidentiality
                    agreement.
02/08/2013   SP     Review Ally Bank history and report to team so       L120     0.70 hrs
                    that proper privilege determinations are made.

02/08/2013   SP     Review and revise privilege logs for withheld and    L120     1.90 hrs
                    redacted documents.

02/08/2013   GNM    Telephone communications with Ms. Gardiner           L120     0.20 hrs
                    (Schulte) regarding outstanding Cerberus items.

02/08/2013   GNM    Telephone communications with Mr. Salerno, Mr.       L120     0.60 hrs
                    Brown, Ms. Levitt (Morrison and Foerster) and
                    Ms. Battle regarding production issues.
02/08/2013   GNM    Work in Discovery Partner database creating and      L320     1.20 hrs
                    formatting privilege logs for items being withheld
                    under the Bank Examination privilege. (1.00)
                    Conference with Ms. Battle and Ms.
                    Paul-Whitfield regarding clawback and other
                    production issues. (.20)
02/08/2013   GNM    E-mail communications with Ms. Luo (Morrison         L120     0.10 hrs
                    and Foerster) regarding training.

02/08/2013   GNM    Work in Discovery Partner database performing        L320     4.30 hrs
                    quality control checks on Cerberus data for
                    production.
02/08/2013   GNM    Edit e-mail response from Mr. Salerno (Morrison      L120     0.40 hrs
                    and Foerster) regarding privilege log completion.

02/08/2013   GNM    Training with Ms. Luo (Morrison and Foerster).       L320     0.60 hrs


02/08/2013   AJM    E-mails with Ms. Paul Whitfield, Ms. Buchanan,       L310     0.30 hrs
                    Mr. Phillips, Mr. Barthel and Ms. Marty to discuss
                    drafting of Examiner privilege logs.
02/08/2013   AJM    Edit withheld entirely Examiner privilege logs for   L310     0.90 hrs
                    batch 122/123 Hamzehpour.

02/08/2013   AJM    Draft privilege log for documents produced in        L310     0.50 hrs
                    response to Examiner document requests, set
                    118/119.
02/08/2013   AJM    Edit withheld entirely Examiner privilege logs for   L310     1.70 hrs
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                    batches 125/126, 127/128, 130/131, 132/133,
                    134/135, 136/137, 138/139, and 140/141.
02/08/2013   AJM    Edit partially withheld Examiner privilege logs for   L310     0.40 hrs
                    batch 122/123.

02/08/2013   AJM    Edit withheld entirely Examiner privilege logs for    L310     0.40 hrs
                    batches 118/119, 120/121, 144/145, 146/147.

02/08/2013   SCM    Third level quality control review of document set    L320     0.50 hrs
                    17.

02/08/2013   HLB    Perform quality control examiner review of batch      L120     4.40 hrs
                    "Phase 3- 1.002." Perform targeted search of
                    documents for terms related to examiner issues
                    FRB and GSE per quality control examiner review
                    protocol.
02/08/2013   HLB    Perform quality control examiner review of batch      L120     1.90 hrs
                    "Phase 3- 1.002." Perform review of documents for
                    proper confidentiality coding per quality control
                    examiner review protocol.
02/08/2013   ABW    Document review quality control, Phase 3 Set          L140     2.90 hrs
                    1.059.

02/08/2013   ABW    E-mail from Ms. Sholl regarding Phase 3               L190     0.10 hrs
                    re-imaging.

02/08/2013   ABW    E-mail to Ms. Paul Whitfield regarding privilege      L190     0.10 hrs
                    logs training.

02/09/2013   AMP    Attention to draft letter to Examiner's counsel       L120     1.10 hrs
                    regarding privilege log proposal.

02/09/2013   AMP    Attention to responding to questions from Ms. Tice    L320     0.50 hrs
                    (Morrison & Foerster) regarding new formatted
                    privilege logs.
02/09/2013   AMP    Attention to continuing more detailed entries for     L320     0.90 hrs
                    supplemental logs.

02/09/2013   AMP    E-mails with Mr. Lipps and Ms. Battle regarding       L120     0.20 hrs
                    continuing more detailed entries for supplemental
                    logs.
02/09/2013   AMP    Attention to clawback request issues.                 L320     0.30 hrs
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02/09/2013   AMP    Attention to regulatory privilege log issues.               L320     0.20 hrs


02/09/2013   AMP    Multiple e-mails with Mr. Salerno (Morrison &               L320     1.60 hrs
                    Foerster), Mr. Brown (Morrison & Foerster), and
                    Ms. Marty regarding privilege log proposal.
02/09/2013   AMP    Review e-mails from Mr. Brown (Morrison &                   L320     0.10 hrs
                    Foerster) regarding clawback request issues.

02/09/2013   JES    Review documents used in previous Examiner                  L120     4.00 hrs
                    interviews for potential use in preparing Mr.
                    Bricker and Mr. Blitzer for interviews.
02/09/2013   TKI    Review e-mail documents for quality control          A104   L120     4.00 hrs
                    purposes for Set 2 batch 3.

02/09/2013   DAB    E-mails with Mr. Lipps regarding materials for              L120     0.20 hrs
                    examiner interview of Mr. Pohl.

02/09/2013   GNM    Edit the Bank Examination Privilege Logs.                   L320     2.30 hrs


02/09/2013   GNM    Telephone communication with Mr. Salerno                    L120     0.30 hrs
                    (Morrison and Foerster) regarding privilege logs
                    for items being withheld under the Bank
                    Examination privilege.
02/09/2013   SCM    Third level quality control review of document set          L320     2.70 hrs
                    17.

02/09/2013   HLB    Perform quality control examiner review of batch            L120     1.30 hrs
                    "Phase 3- 1.002." Perform review of documents
                    with attorney names for potential privilege per
                    quality control examiner review protocol.
02/09/2013   ABW    Document review quality control, Phase 3 Set                L140     1.60 hrs
                    1.059.

02/10/2013   AMP    Attention to production of 31 privilege logs                L320     0.80 hrs
                    completing Phase I and II.

02/10/2013   JAL    Review Mr. Pohl's documents to prepare for                  L120     0.50 hrs
                    conference call regarding same (.30). Telephone
                    conference with Mr. Beck regarding Mr. Pohl's
                    documents (.10). Review and respond to e-mails
                    regarding confidentiality agreement (.10).
02/10/2013   TKI    Review e-mail documents for quality control          A104   L120     2.10 hrs
                    purposes for Set 2 batch 3.
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02/10/2013   JRC    Review and analyze documents in Discovery              L320     1.80 hrs
                    Partner in order to locate preparation documents
                    for Ms. Lundsten's examiner interview.
02/10/2013   SCM    Third level quality control review of document set     L320     5.50 hrs
                    17.

02/10/2013   AEG    Review remaining documents that were marked            L140     3.00 hrs
                    "not privileged" but contained ResCap Terms and
                    documents for potentially significant coding, for
                    professional eyes only, and confidentiality.
02/10/2013   ABW    Document review quality control, Phase 3 Set           L140     5.70 hrs
                    1.059.

02/11/2013   AMP    Attention to privilege issues regarding another        L320     1.40 hrs
                    Marple memorandum.

02/11/2013   AMP    Multiple e-mails regarding privilege issues            L210     0.90 hrs
                    regarding another Marple memorandum.

02/11/2013   AMP    Review memorandum regarding privilege issues.          L120     0.70 hrs


02/11/2013   AMP    Attention to treatment of similar versions in          L320     0.70 hrs
                    database.

02/11/2013   AMP    Attention to continuing work on detailed privilege     L320     3.20 hrs
                    logs for production Nos. 10 and 11 in anticipation
                    of objection by Examiner to other logs.
02/11/2013   JAL    Prepare for Mr. Pohl's interview preparation call      L120     1.00 hrs
                    (.10). Participate on conference call with Mr.
                    Pohl's counsel and Mr. Beck (.90).
02/11/2013   VLS    Monitor review status of document review quality       L320     0.80 hrs
                    control team.

02/11/2013   VLS    Assignment of quality control batches to quality       L320     0.60 hrs
                    control review team members.

02/11/2013   VLS    Revise and update quality control review tracking      L320     0.80 hrs
                    spreadsheet.

02/11/2013   VLS    Research Discovery Partner database for client file    L110     3.10 hrs
                    contract request by Ms. Battle.

02/11/2013   RBS    Prepare alphabetical and chronological                 L310     0.40 hrs
                    spreadsheets of interview exhibits to distribute for
                    Mr. Beck.
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02/11/2013   RBS    Download Goldin and additional Steinhagen              L310     0.20 hrs
                    materials from Sharepoint to U-drive for Mr. Beck.

02/11/2013   RBS    Prepare notebook and index of Mr. Pohl excerpts        L310     0.70 hrs
                    requested by Mr. Beck.

02/11/2013   JALB   Correspondence with Ms. Levitt, Mr. Salerno, Mr.       L120     0.40 hrs
                    Brown, Mr. Illovsky (all Morrison & Foerster) and
                    Mr. Lipps regarding response to Examiner's new
                    request for securitization documents.
02/11/2013   JALB   Attention to analysis, collection and production of    L320     0.50 hrs
                    responsive materials (with Mr. Corcoran and Ms.
                    Sholl).
02/11/2013   JALB   Coordination with Mr. Illovsky (Morrison &             L120     0.40 hrs
                    Foerster) and Mr. Beck regarding interview
                    scheduling and preparation assignments.
02/11/2013   MMM    Finalize designation of record and exhibit             L120     0.80 hrs
                    appendix.

02/11/2013   DAB    Participate in parts of call with counsel to Mr.       L120     0.80 hrs
                    Pohl, Mr. Ilovsky (Morrison & Foerster) and Mr.
                    Lipps regarding examiner interview of Mr. Pohl.
02/11/2013   DAB    Conference with Mr. Samson regarding additional        L120     0.20 hrs
                    materials needed for Mr. Pohl.

02/11/2013   DAB    E-mails with Ms. Levitt, Mr. Ilovsky (Morrison &       L120     0.60 hrs
                    Foerster) regarding issues on examiner
                    confidentiality agreement on third party
                    submissions.
02/11/2013   JRC    Conference with Ms. Battle regarding preparation       L420     0.20 hrs
                    of interview materials for Ms. Lundsten.

02/11/2013   JRC    Conference with Mr. Lipps regarding preparation        L420     0.10 hrs
                    of interview materials for Ms. Lundsten.

02/11/2013   JRC    Review and analyze documents in litigation             L320     3.40 hrs
                    databases in order to locate audit reports requested
                    by the examiner.
02/11/2013   JRC    Review and analyze documents in Discovery              L320     3.70 hrs
                    Partner in order to locate preparation materials for
                    Ms. Lundsten's examiner interview.
02/11/2013   JRC    Draft memorandum regarding preparation                 L320     1.60 hrs
                    materials for Ms. Lundsten's examiner interview.

02/11/2013   JDR    Draft correspondence to Mr. Beck regarding             L120     0.10 hrs
                    examiner witness preparation.
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02/11/2013   GNM    Working in Discovery Partner configuring data for       L320     0.30 hrs
                    review.

02/11/2013   GNM    Working in Discovery Partner performing quality         L320     1.00 hrs
                    control on documents previously withheld under
                    the Bank Examination privilege.
02/11/2013   GNM    Training with Ms. Luo (Morrison & Foerster).            L320     1.50 hrs


02/11/2013   GNM    E-mailing with Ms. Diem (Contract Reviewer)             L120     0.30 hrs
                    regarding review of Bank Examination privilege
                    documents.
02/11/2013   AJM    Locate versions of June 2006 Marple                     L310     2.50 hrs
                    memorandum on dividends to determine if
                    correctly labeled as entirely privileged for purposes
                    of possible claw back letter.
02/11/2013   AJM    Draft privilege log for documents produced in           L310     1.90 hrs
                    response to Examiner document requests, set
                    118/119.
02/11/2013   SCM    Third level quality control review of document set      L320     2.30 hrs
                    17.

02/11/2013   MJB    Quality control review on batch 1 of the phase 3        L320     6.10 hrs
                    documents.

02/11/2013   HLB    Preparation of detailed information for production      L120     4.80 hrs
                    of privilege log. Review of batch 127/128.

02/11/2013   AEG    Review approximately 500 documents that were            L140     7.50 hrs
                    marked with Examiner 2 codes (2.30). Review
                    approximately 1,000 documents that were not
                    marked with Examiner 2 codes but contained
                    FDIC, Fannie/Freddie/Ginnie terms, etc (4.50), and
                    sampled remaining documents. (.20)
02/11/2013   ABW    E-mail to Veronica Sholl regarding batch                L190     0.10 hrs
                    assignment.

02/11/2013   ABW    Document review quality control, Phase 3 Set            L140     2.50 hrs
                    1.059. (2.40) Email to Veronica Sholl re: batch
                    assignment. (.10)
02/12/2013   AMP    E-mails with Mr. Beck regarding research                L120     0.20 hrs
                    regarding bankruptcy consultant privilege.

02/12/2013   AMP    Attention to continuing work on detailed privilege      L320     3.10 hrs
                    logs for production nos. 11 and 12 in anticipation
                    of objection by Examiner to other logs.
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02/12/2013   AMP    E-mails with Ms. Buchanan regarding questions              L320     0.40 hrs
                    regarding her assigned detailed privilege log.

02/12/2013   JAL    Meeting with Ms. Battle and Mr. Beck to discuss            L120     1.00 hrs
                    preparation for and coverage of examiner
                    interviews (.50). Review and respond to e-mails
                    regarding examiner's use of MBIA discovery
                    materials (.30). Conference with Ms. Mohler
                    regarding examiner interview of Mr. Gray and Mr.
                    Bier. (.20)
02/12/2013   VLS    Monitor review status of document review quality           L320     0.90 hrs
                    control team.

02/12/2013   VLS    Assignment of quality control batches to quality           L320     0.80 hrs
                    control review team members.

02/12/2013   VLS    Revise and update quality control review tracking          L320     1.20 hrs
                    spreadsheet.

02/12/2013   VLS    Conference with Ms. Marty regarding storage of             L140     0.40 hrs
                    media from MBIA v. RFC matter.

02/12/2013   JES    Attend meeting with Ms. Battle, Mr. Beck, Mr.              L120     1.00 hrs
                    Rhode, Ms. Mohler and Mr. Corcoran regarding
                    upcoming Examiner interviews.
02/12/2013   JES    Review summaries of recent Examiner interviews             L120     2.00 hrs
                    in preparation for drafting Bricker interview
                    outline.
02/12/2013   JES    Review documents and memoranda to begin                    L120     2.00 hrs
                    drafting supplemental Marano outline.

02/12/2013   TKI    Review e-mail documents for quality control         A104   L120     4.10 hrs
                    purposes for Set 2 batch 3.

02/12/2013   JALB   Discuss Examiner use of MBIA exhibits with Mr.             L120     0.10 hrs
                    Lipps.

02/12/2013   JALB   Attention to witness scheduling and preparation            L330     0.50 hrs
                    planning issues.

02/12/2013   JALB   Meet with Mr. Beck, Mr. Sechler, Mr. Corcoran,             L120     0.90 hrs
                    Ms. Mohler and Mr. Rhode regarding Examiner
                    preparation work and strategy.
02/12/2013   JALB   Review e-mails from Ms. Levitt (Morrison &                 L120     0.20 hrs
                    Foerster) regarding Examiner use of MBIA
                    exhibits.
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02/12/2013   JALB   Meet with Mr. Lipps and Mr. Beck regarding           L120     0.60 hrs
                    Examiner preparation materials and key themes.
                    (.40) Follow-up e-mails on same. (.20)
02/12/2013   MMM    Conference with Mr. Lipps regarding Gray and         L120     0.20 hrs
                    Bier interview preparation binders.

02/12/2013   MMM    Review documents and draft outline for Whitlinger    L120     1.70 hrs
                    Examiner interview preparation.

02/12/2013   MMM    Conference with Mr. Beck, Ms. Battle, Mr.            L120     0.80 hrs
                    Sechler, Mr. Corcoran, and Mr. Rhode regarding
                    upcoming Examiner interviews.
02/12/2013   DAB    E-mail Mr. Sechler, Mr. Rhode, Ms. Mohler            L120     0.10 hrs
                    (parts), Mr. Corcoran and Ms. Battle regarding
                    issues for upcoming examiner interviews.
02/12/2013   DAB    E-mails with Ms. Battle regarding preparations for   L120     0.20 hrs
                    upcoming examiner interviews.

02/12/2013   DAB    Multiple conference with Mr. Sechler regarding       L120     0.30 hrs
                    preparations for examiner's second interview of
                    Mr. Marano.
02/12/2013   DAB    Conference with Ms. Mohler regarding                 L120     0.10 hrs
                    preparations for examiner's interview of Mr.
                    Whitlinger.
02/12/2013   DAB    Analyze previous examiner exhibits for materials     L330     0.60 hrs
                    relevant to continuation day of Mr. Marano.

02/12/2013   DAB    Analyze likely issues for examiner continuation      L330     1.30 hrs
                    day of Mr. Marano.

02/12/2013   DAB    Meeting with Mr. Lipps and Ms. Battle regarding      L120     0.40 hrs
                    preparations for upcoming examiner interviews.

02/12/2013   DAB    Meeting with Mr. Sechler, Mr. Rhode, Ms. Mohler,     L120     1.00 hrs
                    Mr. Corcoran and Ms. Battle regarding issues for
                    upcoming examiner interviews.
02/12/2013   DAB    Conference with Mr. Day (Morrison & Foerster)        L120     0.30 hrs
                    regarding preparations for upcoming examiner
                    interviews.
02/12/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding            L120     0.30 hrs
                    information from Mr. Day of Morrison & Foerster
                    abut upcoming examiner interviews.
02/12/2013   DAB    E-mails with Mr. Day (Morrison & Foerster)           L120     0.10 hrs
                    regarding Bier interview.

02/12/2013   DAB    Conference with Mr. Molnar regarding research        L120     0.10 hrs
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                    needed on privilege issues related to Lazard
                    advice.
02/12/2013   DAB    E-mail Mr. Ilovsky and Mr. Day (Morrison &             L120     0.20 hrs
                    Foerster) regarding issues for examiner interview
                    of Mr. Whitlinger.
02/12/2013   DAB    E-mail Ms. Mohler regarding issues for examiner        L120     0.20 hrs
                    interview of Mr. Whitlinger.

02/12/2013   DAB    E-mail Ms. Levitt (Morrison & Foerster), Mr.           L120     0.30 hrs
                    Lipps and Ms. Battle regarding examiner
                    depository issues on MBIA documents.
02/12/2013   DAB    Draft analysis regarding provisions in insurance       L120     0.40 hrs
                    agreement on third party claims.

02/12/2013   DAB    Research provisions in other securitization            L120     1.20 hrs
                    documents on third party claims.

02/12/2013   JRC    Review and analyze documents in Discovery              L320     0.60 hrs
                    Partner in order to locate audit reports in response
                    to a request from the examiner.
02/12/2013   JRC    Draft memorandum on preparation materials for          L320     3.40 hrs
                    Ms. Lundsten's examiner interview.

02/12/2013   JRC    Conference with Mr. Beck, Mr. Sechler, Ms.             L320     1.00 hrs
                    Battle, Ms. Mohler, and Mr. Rhode regarding
                    preparation materials for examiner interviews.
02/12/2013   JRC    Review and analyze documents in Discovery              L320     5.50 hrs
                    Partner in order to locate preparation materials for
                    Ms. Lundsten's examiner interview.
02/12/2013   JDR    Review and analyze documents produced to               L320     2.80 hrs
                    examiner in preparation for Ms. Wiebe examiner
                    interview.
02/12/2013   JDR    Conference with Ms. Battle, Mr. Beck, Mr.              L120     1.00 hrs
                    Sechler, Ms. Mohler and Mr. Corcoran regarding
                    examiner witness preparation.
02/12/2013   JDR    Prepare marked exhibits in previous examiner           L420     0.80 hrs
                    interviews and submitted by third parties for Ms.
                    Wiebe interview.
02/12/2013   JDR    Draft outline for preparation for Ms. Wiebe            L420     1.80 hrs
                    examiner interview.

02/12/2013   GNM    Working in Discovery Partner performing quality        L320     4.10 hrs
                    control on the Cerberus documents for production.

02/12/2013   GNM    E-mail communications with Mr. Shipler (DTI)           L120     0.30 hrs
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                    regarding annotation pane.

02/12/2013   GNM    Editing the Government Sponsored Entities (GSE)       L320     0.40 hrs
                    review memorandum.

02/12/2013   GNM    Working in Discovery Partner gathering example        L320     0.80 hrs
                    documents for the GSE Review memorandum.

02/12/2013   GNM    Training conference call with contract review team    L120     0.50 hrs
                    regarding review of GSE documents.

02/12/2013   GNM    Telephone conference call with Mr. Shipler (DTI)      L120     0.60 hrs
                    regarding production pipeline and status of open
                    projects.
02/12/2013   GNM    Cross referencing Board minutes produced with         L320     1.30 hrs
                    Board materials produced to determine missing
                    items.
02/12/2013   GNM    Working in Discovery Partner configuring data for     L320     0.40 hrs
                    review.

02/12/2013   AJM    Draft privilege log for documents produced in         L310     2.60 hrs
                    response to Examiner document requests, set
                    118/119.
02/12/2013   AJM    Research Second Circuit case law on applicability     L310     0.60 hrs
                    of attorney-client privilege to instances involving
                    investment bankers.
02/12/2013   MJB    Complete quality control review on set 1, batch 1     L320     2.80 hrs
                    of the phase 3 documents.

02/12/2013   MJB    Quality control review on set 2, batch 26 of phase    L320     3.90 hrs
                    3 documents.

02/12/2013   HLB    Preparation of detailed information for production    L120     5.10 hrs
                    of privilege log. Review of batch 127/128.

02/12/2013   ABW    E-mail from Ms. Sholl regarding assignment.           L190     0.10 hrs


02/13/2013   AMP    Attention to privilege issues regarding indemnity     L320     0.90 hrs
                    and charter documents for D&O.

02/13/2013   AMP    E-mails with Ms. Battle regarding privilege issues    L320     0.40 hrs
                    regarding indemnity and charter documents for
                    D&O.
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02/13/2013   AMP    E-mails with Mr. Wyrsch (Bryan Cave) regarding              L320        0.60 hrs
                    appearance on privilege logs.

02/13/2013   AMP    Attention to continuing work on detailed privilege          L320        3.10 hrs
                    logs for production No. 12 in anticipation of
                    objection by Examiner to other logs.
02/13/2013   AMP    Attention to Bryan Cave issues on privilege logs.           L120        0.50 hrs


02/13/2013   JAL    Review and respond to e-mails regarding                     L120        0.30 hrs
                    examiner's use of MBIA discovery (.20).
                    Conference with Ms. Battle regarding same (.10).
02/13/2013   VLS    Monitor review status of document review quality            L320        0.60 hrs
                    control team.

02/13/2013   VLS    Assignment of quality control batches to quality            L320        0.40 hrs
                    control review team members.

02/13/2013   VLS    Revise and update quality control review tracking           320         0.60 hrs
                    spreadsheet.

02/13/2013   VLS    Organize and assemble binders of board materials            L110        3.40 hrs
                    for use of Mr. Sechler.

02/13/2013   JES    Review documents for use in Marano outline.                 L120       10.00 hrs
                    (7.20) Draft Marano outline. (2.80)

02/13/2013   RBS    Download Mr. Pohl's materials from Sharepoint to            L310        0.20 hrs
                    U-Drive for Mr. Beck.

02/13/2013   RBS    Prepare materials to send to Mr. Ruegger (counesl           L310        1.60 hrs
                    to Mr. Pohl) requested by Mr. Beck.

02/13/2013   TKI    Review e-mail documents for quality control          A104   L120        2.50 hrs
                    purposes for Set 2 batch 3.

02/13/2013   JALB   Correspondence with Ms. Levitt (Morrison &                  L120        0.30 hrs
                    Foerster), Mr. Lipps, Mr. Beck regarding use of
                    MBIA exhibits and transcripts for Examiner
                    investigation.
02/13/2013   JALB   E-mails with Ms. Marty regarding clawback and               L120        0.40 hrs
                    privilege issues.

02/13/2013   JALB   Discussion with Mr. Corcoran regarding Ms.                  L120        0.50 hrs
                    Lundsten's preparation.
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02/13/2013   JALB   Coordination with Mr. Illovsky (Morrison &             L120        0.30 hrs
                    Foerster) and Mr. Lipps regarding securitization
                    issues and gathering of information for
                    Chadbourne regarding same.
02/13/2013   JALB   Discussion and coordination with Ms. Levitt, Mr.       L120        0.40 hrs
                    Illovsky (both Morrison & Foerster) and Mr. Lipps
                    regarding witness availability and scheduling (Mr.
                    Applegate, Ms. Steinhagen).
02/13/2013   JALB   Discussion with Mr. Rhode regarding Ms. Wiebe's        L120        0.30 hrs
                    preparation materials.

02/13/2013   MMM    Review documents in preparation for Whitlinger         L120        5.10 hrs
                    Examiner interview.

02/13/2013   MMM    Draft outline for Whitlinger Examiner interview        L120        2.10 hrs
                    preparation.

02/13/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding              L120        0.20 hrs
                    confidentiality issues related to MBIA documents.

02/13/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)             L120        0.10 hrs
                    regarding monoline representations in insurance
                    agreements.
02/13/2013   DAB    Communicate with Mr. Day and Ms. Lowenberg             L120        0.20 hrs
                    (Morrison & Foerster) regarding production
                    databases.
02/13/2013   DAB    Conference with Ms. Marty regarding production         L120        0.20 hrs
                    databases.

02/13/2013   DAB    Analyze likely topics for examiner interview of        L330        0.20 hrs
                    Mr. Whitlinger.

02/13/2013   DAB    Conference with Ms. Mohler regarding likely            L120        0.20 hrs
                    topics for examiner interview of Mr. Whitlinger.

02/13/2013   DAB    Conference with Mr. Sechler regarding issues for       L120        0.20 hrs
                    Mr. Marano examiner interview.

02/13/2013   JRC    Review and analyze documents produced by               L320        0.60 hrs
                    MBIA to the examiner in locate preparation
                    materials for Ms. Lundsten's interview.
02/13/2013   JRC    Review and analyze documents in Discovery              L320        0.90 hrs
                    Partner in order to locate audit reports in response
                    to request from the bankruptcy examiner.
02/13/2013   JRC    Review and analyze documents in Discovery              320         1.90 hrs
                    Partner in order to locate preparation materials for
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                    Ms. Lundsten's interview. (1.40) Conference with
                    Ms. Battle regarding issues for Ms. Lundsten's
                    interview. (.50)
02/13/2013   JDR    Review and analyze documents produced to              L320     3.50 hrs
                    examiner related to underwriting policy and
                    procedures in preparation for upcoming interview
                    of Ms. Wiebe. (3.20) Discussion with Ms. Battle
                    regarding key issues for Weibe preparation. (.30)
02/13/2013   JDR    Review and analyze documents produced to              L320     3.00 hrs
                    examiner related to the exception and negotiation
                    process in preparation for upcoming interview of
                    Ms. Wiebe.
02/13/2013   JDR    Review and analyze documents produced to              L320     1.20 hrs
                    examiner related to the relationships between the
                    various Debtor entities in preparation for upcoming
                    interview of Ms. Wiebe.
02/13/2013   JDR    Draft preparation outline for upcoming interview      L420     0.50 hrs
                    of Ms. Wiebe.

02/13/2013   JDR    Draft summary and analysis of Ms. Wiebe's prior       L330     1.60 hrs
                    deposition as submitted to the examiner in
                    preparation for upcoming interview.
02/13/2013   JDR    Draft summary and analysis of Ms. Wiebe's prior       L330     0.60 hrs
                    deposition as submitted to the examiner in
                    preparation for upcoming interview.
02/13/2013   GNM    E-mail with Mr. Sechler regarding previously          L120     0.10 hrs
                    produced documents.

02/13/2013   GNM    Working in Discovery Partner configuring data for     L320     0.60 hrs
                    production.

02/13/2013   GNM    Drafting and sending e-mail communication to Mr.      L120     0.40 hrs
                    Shipler (DTI) regarding release of production.

02/13/2013   GNM    Working in Discovery Partner database reviewing       L320     1.40 hrs
                    Cerberus documents to be withheld under the Bank
                    Examination privilege.
02/13/2013   GNM    Cross referencing Board minutes produced with         L320     2.10 hrs
                    Board materials produced to determine missing
                    items.
02/13/2013   GNM    Working in Discovery Partner database to locate       L320     1.80 hrs
                    and provide privilege analysis for Tammy
                    Hamzehpour documents.
02/13/2013   GNM    Working in Discovery Partner answering reviewer       L320     2.40 hrs
                    questions regarding privilege and responsiveness
                    designations.
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02/13/2013   AJM    Research Second Circuit case law on applicability     L310     4.60 hrs
                    of attorney-client privilege to instances involving
                    investment bankers. (4.00) Draft e-mail memo to
                    Mr. Beck regarding the same. (.60)
02/13/2013   SCM    Third level quality control review of document set    L320     1.40 hrs
                    61.

02/13/2013   HLB    Preparation of detailed information for production    L120     4.20 hrs
                    of privilege log. Review of batch 127/128.

02/13/2013   AEG    Conduct quality control review of Phase 3 Set,        L140     3.50 hrs
                    2.008.

02/14/2013   AMP    Attention to continuing work on detailed privilege    L320     3.20 hrs
                    logs for production no. 11 in anticipation of
                    objection by Examiner to other logs.
02/14/2013   AMP    E-mails with Morrison & Foerster team and GM          L320     0.40 hrs
                    regarding production of redacted FRB documents.

02/14/2013   JAL    Review research memorandum regarding                  L120     0.80 hrs
                    priviledged under the Kovel case (.20). E-mails
                    with Mr. Beck regarding same (.20). Review and
                    respond to e-mails regarding interview preparation
                    and coverage (.30). Conference with Ms. Battle
                    and Mr. Rhode regarding issues for Wiebe prep.
                    (.10)
02/14/2013   VLS    Conference with Ms. Marty regarding collecting,       L110     0.40 hrs
                    printing, and assembling of audit materials.

02/14/2013   VLS    E-mail exchange with Ms. Wong at vendor Profile       L110     0.30 hrs
                    Discovery regarding printing of audit materials.

02/14/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding     L320     0.30 hrs
                    documents to image so that redactions can be
                    made.
02/14/2013   VLS    Monitor review status of document review quality      L320     0.60 hrs
                    control team.

02/14/2013   VLS    Assignment of quality control batches to quality      L320     0.60 hrs
                    control review team members.

02/14/2013   VLS    Revise and update quality control review tracking     L320     0.80 hrs
                    spreadsheet.

02/14/2013   VLS    Review scanned set of documents from Mr. Marple       L320     1.40 hrs
                    which were received during his witness interview
                    and now loaded into Discovery Partner database.
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02/14/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding   L320     0.20 hrs
                    production of Mr. Marple's materials.

02/14/2013   JES    Drafting Marano Examiner interview preparation      L120     6.00 hrs
                    outline. (3.80) Conference with Mr. Corcoran
                    regarding issues for Marano interview. (1.00)
                    Research documents for same. (1.20)
02/14/2013   JES    Locate and review tax allocation agreements.        L120     1.50 hrs


02/14/2013   JALB   Telephone conference with Ms. Levitt (Morrison &    L120     0.20 hrs
                    Foerster) regarding access to MBIA transcripts.

02/14/2013   JALB   E-mails with Ms. Levitt and Mr. Lipps regarding     L120     0.30 hrs
                    access to MBIA transcripts.

02/14/2013   JALB   Draft response to Examiner's counsel regarding      L120     0.40 hrs
                    access to MBIA transcripts.

02/14/2013   JALB   Finalize logistics for Ms. Lundsten's interview.    L330     0.20 hrs


02/14/2013   JALB   Coordination of Mr. Applegate's interview           L330     0.10 hrs
                    logistics.

02/14/2013   JALB   Correspondence with former employee witnesses       L120     0.30 hrs
                    regarding impact of Examiner request.

02/14/2013   JALB   Discussion with Residential Capital HR regarding    L120     0.10 hrs
                    locating former employee witnesses.

02/14/2013   JALB   Review key documents of Mr. Wiebe.                  L330     0.20 hrs


02/14/2013   JALB   Discussion with Mr. Lipps and Mr. Rhode             L120     0.30 hrs
                    regarding key issues for Mr. Wiebe's interview.

02/14/2013   JALB   Discussion with Ms. Marty regarding staffing and    L120     0.30 hrs
                    progress on clawback review and privilege logs.

02/14/2013   MMM    Review documents for Whitlinger Examiner            L120     4.30 hrs
                    interview preparation.

02/14/2013   MMM    Draft outline for Whitlinger Examiner interview     L120     2.60 hrs
                    preparation.
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02/14/2013   DAB    Conference with Ms. Battle regarding examiner          L120     0.10 hrs
                    interview of Mr. Wiebe.

02/14/2013   DAB    Conference with Mr. Rhode regarding examiner           L120     0.10 hrs
                    interviews of Mr. Wiebe.

02/14/2013   DAB    Conference with Mr. Sechler regarding examiner         L120     1.00 hrs
                    interview of Mr. Marano.

02/14/2013   DAB    Conference with Mr. Molnar regarding privilege         L120     0.10 hrs
                    memorandum.

02/14/2013   JRC    Conference with Ms. Marty regarding response to        L120     0.10 hrs
                    examiner's request for audit reports.

02/14/2013   JRC    Review and analyze documents in Discovery              L320     3.70 hrs
                    Partner in order to locate preparation materials for
                    Mr. Russell's interview with the examiner.
02/14/2013   JRC    Conference with Mr. Beck regarding interview           L120     0.10 hrs
                    preparation materials for Mr. Scholtz.

02/14/2013   JRC    Review and analyze documents in Discovery              L320     1.20 hrs
                    Partner in order to locate preparation materials for
                    Mr. Scholtz's interview with the examiner.
02/14/2013   JDR    Draft preparation outline for upcoming interview       L420     2.50 hrs
                    of Ms. Wiebe.

02/14/2013   JDR    Draft summary and analysis Ms. Wiebe's prior           L330     4.10 hrs
                    deposition as submitted to the examiner in
                    preparation for upcoming interview.
02/14/2013   JDR    Draft preparation outline for upcoming interview       L420     1.60 hrs
                    of Ms. Wiebe.

02/14/2013   JDR    Draft summary and analysis Ms. Wiebe's prior           L330     0.50 hrs
                    deposition as submitted to the examiner in
                    preparation for upcoming interview.
02/14/2013   GNM    Working in Discovery Partner configuring data for      L320     0.30 hrs
                    review.

02/14/2013   GNM    Working in Discovery Partner performing quality        L320     1.80 hrs
                    control checks on documents for production.

02/14/2013   GNM    E-mail communication with Mr. Shipler (DTI)            L120     0.10 hrs
                    regarding annotation pane in Cerberus project.

02/14/2013   GNM    Cross referencing Board minutes produced with          L320     1.80 hrs
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                    Board materials produced to determine missing
                    items.
02/14/2013   GNM    E-mail communication with Mr. Shipler (DTI)           L120     0.10 hrs
                    regarding annotation pane for GSE review.

02/14/2013   GNM    E-mail communication with Ms. Luo (Morrison &         L120     0.10 hrs
                    Foerster) regarding annotation pane for GSE
                    review.
02/14/2013   GNM    Working in Discovery Partner database performing      L320     4.50 hrs
                    quality control checks on Cerberus data for
                    production.
02/14/2013   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Ms. Gulley (DTI) releasing Cerberus documents
                    for production.
02/14/2013   GNM    E-mail communications with quality control team       L120     0.30 hrs
                    regarding new batches for review.

02/14/2013   GNM    E-mail communications with Mr. Brown (Morrison        L120     0.10 hrs
                    & Foerster) regarding reproduction of items that
                    were previously clawed back.
02/14/2013   AJM    Research Second Circuit case law on applicability     L120     1.50 hrs
                    of attorney-client privilege to instances involving
                    investment bankers. (1.20) Draft e-mail to Mr.
                    Beck regarding the same. (.30)
02/14/2013   AJM    Review completed Examiner privilege logs to           L310     0.80 hrs
                    locate instances where Bryan Cave attorneys, Mr.
                    Jacob or Mr. Melzer appear.
02/14/2013   AJM    Draft memorandum to Mr. Beck on Second Circuit        L120     0.50 hrs
                    case law regarding applicability of attorney-client
                    privilege to instances involving investment
                    bankers.
02/14/2013   AJM    Conference with Ms. Buchanan to discuss               L120     0.20 hrs
                    Examiner privilege log drafting questions.

02/14/2013   SCM    Third level quality control review of document set    L320     2.40 hrs
                    24.

02/14/2013   MJB    Continue quality control on set 2, batch 26 of the    L320     2.90 hrs
                    phase 3 documents.

02/14/2013   HLB    Preparation of detailed information for production    L120     5.00 hrs
                    of privilege log. Review of batch 127/128. (4.80)
                    Conference with Mr. Molnar regarding same. (.20)
02/14/2013   ABW    E-mail from Ms. Marty regarding batch                 L190     0.10 hrs
                    assignments.
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02/15/2013   AMP    Attention to continuing work on detailed privilege            L320     5.60 hrs
                    logs for production No. 14 in anticipation of
                    objection by Examiner to other logs.
02/15/2013   AMP    E-mails with Mr. Wyrsch (Bryan Cave) regarding                L320     0.80 hrs
                    privilege log entries involving outside directors or
                    Bryan Cave.
02/15/2013   AMP    Review documents involving EPD Update from                    L320     1.10 hrs
                    Ms. Bode for privilege and privilege treatment in
                    Examiner productions.
02/15/2013   AMP    Multiple e-mails with Mr. Corcoran and Ms. Battle             L320     0.50 hrs
                    regarding documents involving EPD Update from
                    Ms. Bode for privilege and privilege treatment in
                    Examiner productions.
02/15/2013   JAL    Review Ms. Lundsten's preparation materials (.30).            L120     1.50 hrs
                    Call with Mr. Stenger (Chadbourne), Mr. Ilovsky
                    and Ms. Battle regarding securitization documents.
                    (1.00) Review and respond to e-mails regarding
                    examiner document production issues (.20).
02/15/2013   VLS    Monitor review status of document review quality              L320     2.30 hrs
                    control team.

02/15/2013   VLS    Assignment of quality control batches to quality              L320     0.80 hrs
                    control review team members.

02/15/2013   VLS    Revise and update quality control review tracking             L320     1.20 hrs
                    spreadsheet.

02/15/2013   VLS    E-mail exchange with Mr. Barthel and Ms. Battle               L320     0.30 hrs
                    regarding research and assembly of Rate Sheets.

02/15/2013   VLS    Research Kroll database for rate sheets.                      L320     1.40 hrs


02/15/2013   JES    Finalize Marano outline and preparation materials.            L120     6.00 hrs


02/15/2013   RBS    Upload Marano day 2 materials to Sharepoint for               L310     0.40 hrs
                    Mr. Sechler.

02/15/2013   RBS    Upload Lundsten materials to Sharepoint for Mr.               L310     0.60 hrs
                    Corcoran.

02/15/2013   RBS    Prepare motion requested by Mr. Beck to                       L310     0.20 hrs
                    distribute.

02/15/2013   TKI    Review e-mail documents for quality control            A104   L120     3.30 hrs
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                    purposes for Set 2 batch 3.

02/15/2013   JALB   Review Ms. Lundsten's and cover memoranda               L120     0.70 hrs
                    (.40) and discuss same with Mr. Corcoran. (.30)

02/15/2013   JALB   Prepare for call with Mr. Stenger (Chadbourne)          L120     0.30 hrs
                    regarding availability of securitization-related
                    documents.
02/15/2013   JALB   Follow-up correspondence with Ms. Tice, Mr.             L120     1.70 hrs
                    Ziegler (both Morrison & Foerster), Mr. Barthel,
                    Mr. Underhill and others regarding
                    already-collected or already-produced materials
                    responsive to Mr. Stenger's requests (i.e., client
                    files, rate sheets, etc.). (1.40) E-mail Mr. Corcoran
                    regarding clawback issues. (.10) E-mails with Ms.
                    Marty regarding duplicates. (.20)
02/15/2013   JALB   E-mail discussion with Mr. Corcoran regarding           L120     0.50 hrs
                    Ms. Lundsten and Mr. Scholtz preparations and
                    specific issues for each.
02/15/2013   JALB   Correspondence with Mr. Brown (Morrison &               L120     0.30 hrs
                    Foerster) and Ms. Paul-Whitfield regarding
                    privilege and clawback issues.
02/15/2013   JALB   Attention to witness scheduling and coordination        L330     0.20 hrs
                    with Morrison & Foerster (Mr. Illovsky and Mr.
                    Day) regarding same.
02/15/2013   JALB   Telephone conference with Mr. Stenger                   L120     1.00 hrs
                    (Chadbourne), Mr. Illovsky (Morrison & Foerster),
                    and Mr. Lipps regarding securitization document
                    requests and availability of same.
02/15/2013   JALB   Prepare file memorandum to Morrison & Foerster          L120     0.20 hrs
                    Examiner document team regarding securitization
                    document requests and availability of same.
02/15/2013   JALB   Prepare confirming correspondence regarding             L120     0.60 hrs
                    securitization document requests and availability of
                    same.
02/15/2013   JALB   Meet with Mr. Corcoran, Ms. Marty, Mr. Underhill        L120     0.60 hrs
                    (Residential Capital) and Ms. Zellmann
                    (Residential Capital) regarding collection and
                    production strategy for securitization related
                    document requests.
02/15/2013   DJB    Research May 2007 investor presentation produced        L120     1.50 hrs
                    by RFC in MBIA v. RFC matter (1.10) and draft
                    e-mail to Morrison and Foerster regarding same.
                    (.40)
02/15/2013   DJB    Research and determine original pathways from           L120     2.10 hrs
                    Kroll database for goal loan and goal line rate
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                    sheets to assist Morrison and Foester.
02/15/2013   DJB    Search for and folder goal loan and goal line rate     L120     3.80 hrs
                    sheets in Kroll database to assist Morrison and
                    Foerster.
02/15/2013   DJB    Research pooling and servicing agreement,              L120     0.40 hrs
                    prospectus, and prospectus supplement for RALI
                    2006-QO3 from GMAC-RFC Vision website to
                    assist Morrison and Foerster with productions to
                    Examiner
02/15/2013   MMM    Review documents and draft outline for Whitlinger      L120     5.80 hrs
                    Examiner interview.

02/15/2013   JRC    Conference with Ms. Battle, Ms. Marty, Ms.             L120     0.60 hrs
                    Zellman (Residential Capital), and Mr. Underhill
                    (Residential Capital) regarding response to
                    bankruptcy examiner's requests.
02/15/2013   JRC    E-mail exchanges with Ms. Battle, Ms. Marty, Mr.       L120     0.20 hrs
                    Ziegler (Morrison & Foerster), and Ms. Tice
                    (Morrison & Foerster) regarding response to new
                    requests for production of documents from the
                    bankruptcy examiner.
02/15/2013   JRC    Conference with Ms. Battle regarding                   L120     0.30 hrs
                    supplementation of Ms. Lundsten's examiner
                    interview preparation materials.
02/15/2013   JRC    Review documents produced to the bankruptcy            L320     0.40 hrs
                    examiner in order to determine whether a clawback
                    request is necessary.
02/15/2013   JRC    Conference with Ms. Battle regarding whether           L120     0.10 hrs
                    clawback of documents produced to the
                    bankruptcy examiner is necessary.
02/15/2013   JRC    E-mail exchange with Ms. Battle and Ms. Marty          L120     0.10 hrs
                    regarding clawback of documents produced to the
                    bankruptcy examiner.
02/15/2013   JRC    Review and analyze deposition testimony in order       L420     1.30 hrs
                    to prepare materials for Mr. Scholtz's interview
                    with the bankruptcy examiner.
02/15/2013   JRC    Revise memorandum on preparation materials for         L210     1.20 hrs
                    Ms. Lundsten's interview with the bankruptcy
                    examiner based on suggestions of Ms. Battle.
02/15/2013   JRC    Review documents in Discovery Partner in order to      L320     3.70 hrs
                    locate additional preparation materials for Ms.
                    Lundsten's interview with the bankruptcy
                    examiner.
02/15/2013   JRC    Review and analyze documents in Discovery              L320     2.40 hrs
                    Partner in order to locate preparation materials for
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                    Mr. Russell's interview with the bankruptcy
                    examiner.
02/15/2013   JDR    Draft outline for preparation for Ms. Wiebe           L420     1.20 hrs
                    examiner interview.

02/15/2013   JDR    Prepare relevant documents produced to Examiner       L320     2.20 hrs
                    in prepartion for interview of Ms. Wiebe.

02/15/2013   JDR    Review and analyze documents produced to              L320     1.90 hrs
                    examiner regarding relationship between
                    Homecomings and other debtor entities in
                    preparation for upcoming examiner interviews.
02/15/2013   JDR    Revise outline for preparation for Ms. Wiebe          L420     0.80 hrs
                    examiner interview.

02/15/2013   GNM    Working in Discovery Partner database performing      L320     1.90 hrs
                    quality control checks on data to be produced.

02/15/2013   GNM    Working in Discovery Partner database answering       L320     0.90 hrs
                    reviewer questions regarding privilege and
                    responsiveness designation.
02/15/2013   GNM    Working in Discovery Partner database to locate       L320     1.10 hrs
                    near duplicates of items previously withheld as
                    privilege or produced as not privileged.
02/15/2013   GNM    E-mail to Mr. Sechler regarding duplicates of items   L120     0.20 hrs
                    previously withheld as privileged.

02/15/2013   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Battle regarding duplicates of items previously
                    produced at not privileged.
02/15/2013   GNM    Conference telephone call with Mr. Brown              L120     0.50 hrs
                    (Morrison & Foerster), Ms. Zellmann, and Ms.
                    Battle regarding Examiner requests about
                    securitizations.
02/15/2013   GNM    Re-drafting quality control protocol to reflect       L320     0.70 hrs
                    changes made for Phase 3 material.

02/15/2013   GNM    Drafting and sending e-mail communications to         L120     0.70 hrs
                    quality control team regarding updated quality
                    control protocol and timeline.
02/15/2013   GNM    Creating and editing privilege log to be sent with    L320     1.00 hrs
                    clawback re-production.

02/15/2013   GNM    Telephone communications with Mr. Bergelson           L120     0.20 hrs
                    (Morrison & Foerster) regarding technical issues
                    with re-production of documents clawed back.
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02/15/2013   GNM    E-mail communications with Mr. Bergelson               L120     0.20 hrs
                    (Morrison & Foerster) regarding technical issues
                    with re-production of documents clawed back.
02/15/2013   GNM    Drafting and sending e-mail communications to          L120     0.30 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    subservicing production.
02/15/2013   GNM    Editing privilege log for clawback production.         L320     0.40 hrs


02/15/2013   GNM    Performing privilege analysis on documents             L320     0.60 hrs
                    previously produced as not privileged.

02/15/2013   GNM    Exchanging e-mail communications with Ms.              L120     0.30 hrs
                    Whitfield regarding privilege and redaction logs.

02/15/2013   GNM    E-mail communication with Mr. Corcoran                 L120     0.20 hrs
                    regarding items to be clawed back.

02/15/2013   AJM    Quality control review of documents to be              L310     2.10 hrs
                    produced to the Examiner, phase 3, set 2.018.

02/15/2013   HLB    Perform quality control examiner review of batch       L120     2.10 hrs
                    Phase 3 - Set 2.033. Perform review of documents
                    for privilege per quality control examiner review.
02/15/2013   HLB    Perform quality control examiner review of batch       L120     0.90 hrs
                    Phase 3 - Set 2.033. Perform review of documents
                    for proper confidentiality coding per quality
                    control examiner review.
02/15/2013   AEG    Review 67 documents that were marked                   L140     1.00 hrs
                    "privilege" or "partially privileged". (Phase 3 Set,
                    2.008)
02/15/2013   ABW    E-mail from Ms. Paul Whitfield regarding               L190     0.10 hrs
                    privilege logs.

02/15/2013   ABW    E-mail from Ms. Marty regarding quality control        L190     0.10 hrs
                    schedule.

02/15/2013   ABW    E-mail from Ms. Marty regarding updated quality        L190     0.20 hrs
                    control protocol.

02/15/2013   ABW    E-mail from Ms. Sholl regarding quality control        L190     0.10 hrs
                    assignment.

02/16/2013   AMP    Review clawback letter to Examiner's counsel.          L120     0.10 hrs
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02/16/2013   DAB    Communicate with Mr. Corcoran regarding              L120     0.10 hrs
                    exhibits for Ms. Steinhagen's preparation.

02/16/2013   JRC    Review and analyze documents relevant to Ms.         L320     2.70 hrs
                    Lundsten in order to locate supplemental materials
                    for preparation for her interview with the
                    bankruptcy examiner.
02/16/2013   JRC    Draft outline for supplemental materials for Ms.     L420     1.20 hrs
                    Lundsten's preparation meeting for interview with
                    the bankruptcy examiner.
02/16/2013   SCM    Third level quality control review of document set   L320     2.30 hrs
                    24.

02/16/2013   AEG    Conduct quality control review of Phase 3 Set,       L140     3.70 hrs
                    2.008.

02/16/2013   ABW    Work on quality control batch 20. (Phase 3 Set 2)    L140     2.30 hrs


02/16/2013   ABW    E-mail to Ms. Sholl regarding batch check-in.        L190     0.10 hrs


02/17/2013   VLS    Monitor review status of Phase 3 quality control     L320     0.60 hrs
                    document review.

02/17/2013   VLS    Assignment of Phase 3 quality control batches to     L320     0.60 hrs
                    quality control team members.

02/17/2013   SCM    Third level quality control review of document set   L320     2.90 hrs
                    24.

02/17/2013   HLB    Perform quality control examiner review of batch     L120     0.80 hrs
                    Phase 3 - Set 2.033. Perform targeted search of
                    documents containing names of ResCap attorneys
                    per quality control examiner review.
02/17/2013   AEG    Perform quality control review of Phase 3 Set,       L140     1.00 hrs
                    2.048.

02/17/2013   ABW    Work on quality control batch 38. (Phase 3 Set 2)    L140     4.00 hrs


02/18/2013   AMP    Attention to privilege determinations in Examiner    L320     0.40 hrs
                    productions for certain documents identified by
                    SEC as potential clawback.
02/18/2013   AMP    Attention to consistency issues.                     L120     0.50 hrs
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02/18/2013   AMP    E-mails with Ms. Battle and Ms. Marty regarding              L120     0.20 hrs
                    consistency issues.

02/18/2013   AMP    Review communications with Mr. Kramer                        L120     0.20 hrs
                    regarding replacement redacted documents.

02/18/2013   JAL    Review Ms. Lundsten's materials (1.40). Review               L120     3.50 hrs
                    Mr. Wiebe's materials(1.40). Review and revise
                    securitization flow chart (.30). Conference with
                    Mr. Beck regarding same (.20). Review and
                    respond to e-mails regarding same (.10). Review
                    and respond to e-mails regarding interview
                    preparation and coverage regarding same (.10).
02/18/2013   VLS    Monitor review status of Phase 3 quality control             L320     0.70 hrs
                    document review team.

02/18/2013   VLS    Assignment of Phase 3 quality control batches to             L320     0.80 hrs
                    quality control team members.

02/18/2013   VLS    Update quality control review status chart.                  L320     0.60 hrs


02/18/2013   JES    Review Bricker SEC deposition transcript to                  L120     2.50 hrs
                    prepare for examiner interview.

02/18/2013   TKI    Review e-mail documents for quality control           A104   L120     4.80 hrs
                    purposes for Set 2 batch 3.

02/18/2013   JALB   Review and analyze Ms. Lundsten's interview                  L330     1.20 hrs
                    preparation materials.

02/18/2013   JALB   Follow-up e-mails with Mr. Corcoran and Ms.                  L120     0.20 hrs
                    Marty regarding Ms. Lundsten's interview
                    preparation materials.
02/18/2013   JALB   E-mails with Mr. Lipps regarding interview                   L120     0.20 hrs
                    scheduling.

02/18/2013   MMM    Review documents and draft outline for Whitlinger            L120     4.60 hrs
                    Examiner interview preparation.

02/18/2013   DAB    E-mail Mr. Rhode regarding materials for Mr.                 L120     0.10 hrs
                    Marano's interview preparation.

02/18/2013   JRC    Review and analyze documents in litigation                   L320     2.40 hrs
                    databases in order to prepare interview preparation
                    materials for Ms. Lundsten.
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02/18/2013   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    interview preparation materials for Ms. Lundsten.

02/18/2013   JRC    Review and analyze documents in litigation            L320     0.40 hrs
                    databases in order to clawback documents
                    inadvertently produced.
02/18/2013   JRC    E-mail exchange with Ms. Battle and Ms. Marty         L120     0.10 hrs
                    regarding possible clawback of documents
                    produced to the bankruptcy examiner.
02/18/2013   JDR    Prepare materials for Ms. Lipps in preparation for    L420     0.40 hrs
                    upcoming examiner interviews of Mr. Marano and
                    Mr. Whitlinger.
02/18/2013   GNM    E-mail communication with Ms. Gardiner                L120     0.20 hrs
                    (Schulte) regarding common interest privilege.

02/18/2013   GNM    Working in Discovery Partner database answering       L320     0.20 hrs
                    reviewer questions regarding privilege and
                    responsiveness designation.
02/18/2013   SCM    Third level quality control review of document set    L320     0.80 hrs
                    24.

02/18/2013   HLB    Perform quality control examiner review of batch      L120     0.40 hrs
                    Phase 3 - Set 1.002. Completed review of
                    documents requiring redactions based on privilege
                    designation per quality control examiner review.
02/18/2013   HLB    Perform quality control examiner review of batch      L120     0.80 hrs
                    Phase 3 - Set 1.002. Completed random sample
                    review of documents and mass-tagging per quality
                    control examiner review.
02/18/2013   HLB    Perform quality control examiner review of batch      L120     0.90 hrs
                    Phase 3 - Set 2.033. Perform targeted search of
                    documents containing names of ResCap attorneys
                    per quality control examiner review.
02/18/2013   AEG    Quality control review of sets 2.048, 2.060 and       L140     5.00 hrs
                    2.055.

02/18/2013   ABW    Work on quality control batch 38. (Phase 3 Set 2)     L140     2.60 hrs


02/19/2013   AMP    Attention to 2/16 clawback letter and privilege log   L320     1.00 hrs
                    entries for same.

02/19/2013   AMP    E-mails with Mr. Molnar, Ms. Battle and Ms.           L320     0.40 hrs
                    Marty regarding 2/16 clawback letter and privilege
                    log entries for same.
02/19/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L320     0.30 hrs
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                    regarding detailed log for 2/16 clawback letter.

02/19/2013   AMP    Attention to 2/19 clawback issues.                             L320     1.10 hrs


02/19/2013   AMP    E-mails with Ms. Marty and Mr. Molnar regarding                L320     0.30 hrs
                    2/19 clawback issues.

02/19/2013   AMP    E-mails with Morrison & Foerster team regarding                L320     0.40 hrs
                    2/19 clawback issues.

02/19/2013   AMP    Finalize clawback log.                                         L320     0.30 hrs


02/19/2013   JAL    Review and respond to e-mails regarding examiner               L120     5.30 hrs
                    use of MBIA discovery (.30). Review Mr.
                    Blitzer's documents and outline (1.5). Conference
                    with Mr. Sechler regarding same (.50). Review
                    Mr. Marano's preparation material (2.0). Review
                    Mr. Marano's topic outline (.30). Conference with
                    Ms. Battle regarding same (.70).
02/19/2013   VLS    Multiple e-mail exchanges with Mr. Barthel and                 L320     0.40 hrs
                    Ms. Battle regarding rate sheets.

02/19/2013   VLS    Review selected rate sheets assembled by Mr.                   L320     0.60 hrs
                    Barthel in Kroll database.

02/19/2013   VLS    Preparation of list of document ID's of selected rate          L320     0.90 hrs
                    sheets.

02/19/2013   VLS    Conference with Mr. Gerdts at Kroll regarding                  L320     0.60 hrs
                    assembly of materials for export.

02/19/2013   VLS    E-mail exchanges with Mr. Gerdts at Kroll                      L320     0.40 hrs
                    regarding assembly of materials for export.

02/19/2013   JES    Review documents for possible inclusion in                     L120    10.00 hrs
                    Bricker Examiner interview preparation kit. (9.70)
                    Communicate with Mr. Samson regarding
                    document clawback needed. (.30)
02/19/2013   RBS    Prepare set of alphabetical and chronological                  L310     0.20 hrs
                    examiner exhibits spreadsheets to distribute.

02/19/2013   RBS    Download Mr. Bricker documents to U-Drive for                  L310     0.30 hrs
                    Mr. Sechler.

02/19/2013   TKI    Review e-mail documents for quality control             A104   L120     4.20 hrs
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                    purposes for phase 3 set 3 batch 14.

02/19/2013   JALB   Correspondence with former employee witnesses           L120     0.30 hrs
                    and Residential Capital HR regarding interview
                    scheduling.
02/19/2013   JALB   Discussion with Mr. Beck regarding development          L120     0.20 hrs
                    of Examiner preparation and organizational
                    materials.
02/19/2013   JALB   Correspondence with Ms. Paul-Whitfield and Ms.          L120     0.20 hrs
                    Marty regarding responses on clawback and
                    privilege issues.
02/19/2013   JALB   Meet with Ms. Lundsten (former Residential              L120     5.00 hrs
                    Capital) to prepare for interview.

02/19/2013   JALB   Review correspondence regarding Ms. Lundsten's          L120     0.10 hrs
                    topic list.

02/19/2013   JALB   Prepare for Ms. Lundsten's preparation session.         L330     3.70 hrs
                    (3.00) Conference with Mr. Lipps regarding issues
                    for Marano prep. (.70)
02/19/2013   DAB    Draft timeline regarding major events covered by        L120     3.10 hrs
                    examiner investigation. (2.40) Conference with
                    Ms. Battle regarding issues for remainder of
                    examiner interviews. (.20) Communicate with Ms.
                    Marty regarding document needed for interview.
                    (.10)
02/19/2013   DAB    Conference with Ms. Mohler regarding issues for         L120     0.10 hrs
                    examiner interview of Mr. Gray.

02/19/2013   DAB    Conference with Mr. Rhode regarding document            L120     0.10 hrs
                    searches needed to prepare for examiner interview
                    of Mr. Gray.
02/19/2013   DAB    Search for statements in securities filings regarding   L120     0.50 hrs
                    housing market.

02/19/2013   DAB    Communicate with Ms. Battle and Mr. Corcoran            L120     0.20 hrs
                    regarding statements in securities filings regarding
                    housing market.
02/19/2013   JRC    E-mail exchange with Ms. Battle and Ms. Marty           L120     0.10 hrs
                    regarding clawback of documents produced to the
                    bankruptcy examiner.
02/19/2013   JRC    Draft notes during meeting with Ms. Lundsten to         L420     4.90 hrs
                    prepare for her interview with the examiner.

02/19/2013   JRC    Review documents relevant to Mr. Gray in order to       L320     3.80 hrs
                    prepare his examiner interview materials.
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02/19/2013   JRC    E-mail exchange with Ms. Mohler and Mr. Rhode        L120     0.10 hrs
                    regarding preparation materials for Mr. Gray.

02/19/2013   JDR    Review and analyze exhibits marked by Examiner       L420     0.20 hrs
                    to assist in preparation for Mr. Gray interview.

02/19/2013   GNM    Editing privilege log for Bank Examination           L320     6.00 hrs
                    privilege clawback.

02/19/2013   GNM    Researching in Discovery Partner for Structured      L320     1.20 hrs
                    Finance manuals.

02/19/2013   GNM    Generating privilege log for clawed back items.      L320     0.40 hrs


02/19/2013   GNM    E-mail communications with Mr. Molnar regarding      L120     0.30 hrs
                    privilege log for clawed back items.

02/19/2013   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    structured finance manuals to be clawed back.
02/19/2013   GNM    E-mail communications with Mr. Brown (Morrison       L120     0.10 hrs
                    & Foerster) regarding subservicing privilege log.

02/19/2013   GNM    Meeting with Mr. Beck regarding document             L120     0.20 hrs
                    needed for witness preparation.

02/19/2013   GNM    E-mail communications with Mr. Brown, Ms.            L120     0.60 hrs
                    Levitt, and Ms. Tice (Morrison & Foerster)
                    regarding technical issues with Examiner
                    productions.
02/19/2013   GNM    E-mail communication with Mr. Beck regarding         L120     0.10 hrs
                    document needed for witness preparation.

02/19/2013   GNM    Telephone communication with Ms. Shank               L120     0.10 hrs
                    regarding outstanding Examiner requests.

02/19/2013   GNM    Working in Discovery Partner database flagging       L320     0.70 hrs
                    and redacting items for re-production.

02/19/2013   AJM    Quality control review of documents to be            L310     2.30 hrs
                    produced to the Examiner, Phase 3, Set 2.018.

02/19/2013   AJM    Draft privilege log for documents that were the      L310     1.00 hrs
                    subject of 2-16-2013 claw back letter to Examiner.
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02/19/2013   AJM    Quality control review of documents to be            L310     0.30 hrs
                    produced to the Examiner, Phase 3, Set 1.022.

02/19/2013   AJM    Draft privilege log for documents to be clawed       L310     1.90 hrs
                    back regarding structured finance policies.

02/19/2013   SCM    Third level quality control review of document set   L320     1.70 hrs
                    24.

02/19/2013   SCM    Telephone conference with Ms. Sholl regarding        L120     0.10 hrs
                    quality control review assignment.

02/19/2013   MJB    Continue quality control on set 2, batch 26 of the   L320     3.10 hrs
                    phase 3 documents.

02/19/2013   HLB    Perform quality control examiner review of batch     L120     3.50 hrs
                    Phase 3 - Set 2.033. Perform targeted search of
                    documents containing names of ResCap attorneys
                    per quality control examiner review.
02/19/2013   HLB    Perform quality control examiner review of batch     L120     1.40 hrs
                    Phase 3 - Set 2.033. Completed random sample
                    review of documents and mass-tagging per quality
                    control examiner review.
02/19/2013   HLB    Perform quality control examiner review of batch     L120     0.50 hrs
                    Phase 3 - Set 2.0350. Perform review of documents
                    for proper responsiveness coding per quality
                    control examiner review.
02/19/2013   AEG    Review 62 documents marked "privilege" or            L140     1.00 hrs
                    "partially privileged". (Phase 3 Set 2.055)

02/19/2013   ABW    Work on quality control batch 38. (Phase 3 Set 2)    L140     1.70 hrs


02/20/2013   AMP    Conference call with Mr. Brown (Morrison &           L320     0.40 hrs
                    Foerster) regarding letters from Mr. Chadbourne
                    and Mr. Schwinger regarding privilege log issues.
02/20/2013   AMP    Draft response for Mr. Brown (Morrison &             L320     0.50 hrs
                    Foerster) to send regarding privilege issues.

02/20/2013   AMP    Attention to privilege log issues.                   L320     0.70 hrs


02/20/2013   AMP    Attention to timing and burden to do same and        L120     1.10 hrs
                    developing way to insert symbols in timely
                    fashion.
02/20/2013   AMP    Attention to detailed privilege log for production   L320     1.30 hrs
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                    12.

02/20/2013   AMP    Review letters from Chadbourne and Parke and                L320     0.90 hrs
                    Kramer Levin regarding privilege log issues.

02/20/2013   AMP    Conference with Ms. Marty regarding letters from            L320     0.40 hrs
                    Chadbourne and Parke and Kramer Levin
                    regarding privilege log issues.
02/20/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster)              L120     0.40 hrs
                    regarding request by Chadbourne for
                    supplementation of company affiliation symbols.
02/20/2013   JAL    Review Mr. Bier's documents and prep materials              L120     9.50 hrs
                    (5.2). Redraft preparation outline (.50). Review
                    and respond to e-mails regarding examiner
                    interview coverage and preparation for same (.20).
                    Review Mr. Marano's and Mr. Whitlinger's prior
                    depositions to prepare for their interviews (3.0).
                    Review e-mails regarding Mr. Lundsten's interview
                    (.10). Review and respond to e-mails regarding
                    examiner's use of MBIA discovery (.30). Review
                    e-mail regarding request for production of
                    additional securitization documents (.20).
02/20/2013   VLS    Monitor review status of document review quality            L320     1.00 hrs
                    control team.

02/20/2013   VLS    Assignment of quality control batches to quality            L320     0.80 hrs
                    control review team members.

02/20/2013   VLS    Revise and update quality control review tracking           L320     1.20 hrs
                    spreadsheet.

02/20/2013   VLS    Assemble Deposition Transcripts and Exhibits of             L320     3.40 hrs
                    all MBIA witnesses taken in the MBIA v.
                    GMACM and MBIA v. RFC cases.
02/20/2013   VLS    E-mail exchange with Ms. Tice at Morrison and               L330     0.30 hrs
                    Foester regarding MBIA Depositions.

02/20/2013   VLS    Telephone conference with Mr. Shipler at DTI                L320     0.40 hrs
                    regarding documents that require imaging.

02/20/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding           L320     0.20 hrs
                    documents to be imaged.

02/20/2013   JES    Review additional documents for Mr. Bricker.                L120     7.00 hrs
                    (4.20) Begin drafting Bricker examination outline.
                    (2.80)
02/20/2013   TKI    Review e-mail documents for quality control          A104   L120     2.20 hrs
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                    purposes for phase 3 set 3 batch 14.

02/20/2013   JALB   Represent Ms. Lundsten in Examiner interview.        L330     6.60 hrs


02/20/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding        L120     0.30 hrs
                    issues and themes from Ms. Lundsten's interview.

02/20/2013   JALB   Discuss with Mr. Day, Mr. Serrano (both Morrison     L120     0.50 hrs
                    & Foerster) and Mr. Corcoran regarding Ms.
                    Lundsten's Examiner interview. (.30) Draft noted
                    regarding Lundsten interview. (.20)
02/20/2013   JALB   Review correspondence among Ms. Marty, Mr.           L120     0.30 hrs
                    Brown (Morrison & Foerster) and Ms. Levitt
                    (Morrison & Foerster) regarding document
                    production issues.
02/20/2013   MMM    Review documents and draft memorandum for            L120     3.90 hrs
                    Whitlinger's Examiner interview preparation.

02/20/2013   DAB    Analyze previously marked exhibits for materials     L330     0.40 hrs
                    relevant to upcoming examiner witnesses.

02/20/2013   DAB    Research regarding materials for use in Mr. Gray's   L330     0.80 hrs
                    preparation session.

02/20/2013   DAB    Research documents in production databases for       L330     4.30 hrs
                    examiner interviews of John Gray.

02/20/2013   JRC    Conference with Ms. Battle, Mr. Day (Morrison &      L120     0.30 hrs
                    Foerster), and Mr. Serrano (Morrison & Foerster)
                    regarding examiner interview of Ms. Lundsten.
02/20/2013   JRC    Draft notes during interview of Ms. Lundsten by      L420     5.90 hrs
                    bankruptcy examiner.

02/20/2013   JRC    Revise notes taken during Ms. Lundsten's             L420     1.20 hrs
                    interview with the bankruptcy examiner in order to
                    draft a memorandum analyzing the interview.
02/20/2013   JDR    Draft correspondence to Mr. Beck regarding           L120     0.10 hrs
                    examiner witness preparation materials.

02/20/2013   GNM    Exchanging e-mail communications with Mr.            L120     0.70 hrs
                    Brown (Morrison & Foerster) and Ms. Battle
                    regarding perceived technical issues with
                    productions previously made to the Examiner.
02/20/2013   GNM    Telephone communication with Ms. Shank               L120     0.70 hrs
                    (Residential Capital) regarding outstanding
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                    Examiner requests.
02/20/2013   GNM    Telephone communications with Ms. Gardiner           L120     0.40 hrs
                    (Schulte) regarding Cerberus productions.

02/20/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.30 hrs
                    & Foerster) regarding outstanding Examiner
                    requests.
02/20/2013   GNM    Working in Discovery Partner database answering      L320     1.80 hrs
                    reviewer questions regarding privilege and
                    responsiveness designation.
02/20/2013   GNM    Drafting and sending e-mail communications to        L320     0.40 hrs
                    Ms. Sholl regarding Phase 3 material quality
                    control protocol.
02/20/2013   GNM    Telephone communications with Mr. Glick              L120     0.10 hrs
                    (Kirkland & Ellis) regarding Ally Clawback.

02/20/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Mr. Glick (Kirkland & Ellis) regarding Ally
                    Clawback.
02/20/2013   GNM    Exchanging e-mail communications with Mr.            L120     0.40 hrs
                    Shipler (DTI) regarding re-production of
                    documents previously clawed back.
02/20/2013   GNM    Editing draft response to Mr. Schinfeld (Kramer      L320     0.20 hrs
                    Levin) regarding privilege log production.

02/20/2013   GNM    E-mail communications with Ms. Luo (Morrison &       L120     0.20 hrs
                    Foerster) regarding GSE review.

02/20/2013   GNM    Editing proposed response to e-mail from Mr.         L320     1.40 hrs
                    Schwinger (Chadbourne) regarding perceived
                    technical issues with productions previously made
                    to the Examiner.
02/20/2013   GNM    Editing proposed response to e-mail from Mr.         L320     0.60 hrs
                    Schinfeld (Kramer Levin) regarding perceived
                    technical issues with productions previously made
                    to the Examiner.
02/20/2013   AJM    Quality control review of documents to be            L310     2.10 hrs
                    produced to the Examiner, Phase 3, Set 1.022.

02/20/2013   AJM    Quality control review of documents to be            L310     2.40 hrs
                    produced to the Examiner, Phase 3, Set 3.007.

02/20/2013   SCM    Third level quality control review of document set   L320     4.60 hrs
                    24.

02/20/2013   MJB    Continue quality control review on set 2, batch 26   L320     2.90 hrs
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                    of the phase 3 documents.

02/20/2013   HLB    Perform quality control examiner review of batch      L120     1.80 hrs
                    Phase3-Set 2.050. Perform random sample review
                    and mass tagging per quality control examiner
                    review protocol.
02/20/2013   AEG    Perform quality control review on documents           L140     3.00 hrs
                    marked "not privileged". (Phase 3 Set 2.055)

02/20/2013   ABW    Work on quality control batch 38. (Phase 3 Set 2)     L140     3.30 hrs


02/20/2013   ABW    E-mail with Ms. Sholl regarding assignment.           L190     0.20 hrs


02/21/2013   AMP    Draft e-mail to Morrison & Foerster team              L120     0.90 hrs
                    regarding same and scheduling conference call.

02/21/2013   AMP    Attention to generating clawback list from logs       L320     0.80 hrs
                    already provided.

02/21/2013   AMP    Attention to conference with Mr. Molnar regarding     L320     0.40 hrs
                    creation of privilege log personnel list for use in
                    generating symbols.
02/21/2013   AMP    Attention to options for addressing Mr.               L320     1.00 hrs
                    Schwinger's (Chadbourne) issues with privilege
                    logs.
02/21/2013   AMP    Conference with Ms. Battle regarding options for      L320     0.40 hrs
                    addressing Chadbourne's issues with privilege logs.

02/21/2013   JAL    Review Mr. Bier's potential exhibits (2.0). Review    L120     9.80 hrs
                    and finalize preparation outline (.50). Conference
                    with Morrison Foerster lawyers to prepare for Mr.
                    Bier's interview (2.0). Conference with Mr. Bier
                    and Morrison Foerster lawyers to prepare for
                    interview (4.6). Review and respond to e-mail
                    regarding Mr. Scholtz's subpoena (.30). Review
                    e-mail regarding Mr. Bier's interview topics (.20).
                    Review e-mail from Mr. Pohl's counsel regarding
                    privilege (.10). Telephone conference with Mr.
                    Beck regarding same (.10).
02/21/2013   VLS    Monitor review status of document review quality      L320     3.60 hrs
                    control team.

02/21/2013   VLS    Assignment of quality control batches to quality      L320     0.80 hrs
                    control review team members.
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02/21/2013   VLS    Revise and update quality control review tracking     L320     1.90 hrs
                    spreadsheet.

02/21/2013   VLS    Download selected rate sheet excel spreadsheets       L320     1.40 hrs
                    for Kroll database and Extract relevant portions.

02/21/2013   JES    Begin drafting Bricker outline. (3.40) Research       L120     5.00 hrs
                    terms for same. (1.20) Conference with Mr. Beck
                    and Mr. Corcoran regarding issues for Gray
                    interview. (.10)
02/21/2013   JALB   Attention to witness outreach and scheduling          L330     0.60 hrs
                    issues.

02/21/2013   JALB   Discussion with client (Ms. Zellmann and Mr.          L120     0.40 hrs
                    Thompson) regarding Ms. Lundsten and Ms.
                    Steinhagen's interviews.
02/21/2013   JALB   Review and discuss with team (Ms. Levitt, Mr.         L120     0.70 hrs
                    Brown, Mr. Salerno and Ms. Tice from Morrison
                    & Foerster, and Ms. Marty) correspondence from
                    Examiner's counsel regarding document production
                    issues.
02/21/2013   JALB   Meet with Ms. Paul Whitfield regarding options        L120     0.30 hrs
                    for responding to privilege log detail request.

02/21/2013   JALB   Correspondence with Ms. Levitt (Morrison &            L120     0.20 hrs
                    Foerster) regarding Examiner investigation into
                    repurchase process.
02/21/2013   JALB   Telephone conference with Ms. Levitt, Mr. Renzi       L120     0.60 hrs
                    and Mr. McDonald (both FTI) regarding Examiner
                    interview and document requests and responses
                    thereto (partial).
02/21/2013   JALB   Follow-up with client and Vision team regarding       L120     0.90 hrs
                    Vision training, and collection and production of
                    additional securitization-related documents.
02/21/2013   JALB   Review list of outstanding items from                 L120     0.30 hrs
                    Chadbourne/Mesirow.

02/21/2013   JALB   E-mails with Mr. Thompson and Ms. Zellmann            L120     0.30 hrs
                    (Residential Capital) regarding update on
                    Examiner interview process.
02/21/2013   JALB   Analyze previously collected securitization related   L120     1.40 hrs
                    documents. (1.10) E-mails with internal team (Mr.
                    Barthel, Mr. Corcoran, Ms. Marty) on
                    identification and production of previously
                    collected securitization-related documents. (.30)
02/21/2013   JALB   Correspondence regarding file size dispute with       L120     0.20 hrs
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                    examiner.

02/21/2013   JALB   Correspondence with Mr. Brown (Morrison &              L120     0.10 hrs
                    Foerster) regarding list of outstanding items from
                    Chadbourne/Mesirow.
02/21/2013   DJB    Compare and folder all goal loan and goal line rate    L120     6.20 hrs
                    sheets in Kroll with those in MBIA Exhibit 736 to
                    determine which rate sheets were missing from
                    MBIA Exhibit 736 and should be sent to Morrison
                    and Foerster to assist with productions to the
                    Examiner. (6.10) E-mails with Ms. Battle
                    regarding same. (.10)
02/21/2013   DJB    Research and gather all goal line and goal loan rate   L120     7.50 hrs
                    sheets in Kroll database to assist Morrison and
                    Foerster with productions to Examiner.
02/21/2013   DJB    Research and analyze deposition transcripts of         L120     3.20 hrs
                    Peeler, Denny, Joseph, Scholtz, Pawlyshyn, and
                    Klein from MBIA v. RFC matter to determine why
                    multiple rate sheets may have existed per day.
02/21/2013   MMM    Review documents for Whitlinger Examiner               L120     4.10 hrs
                    interview preparation.

02/21/2013   MMM    Draft outline for Whitlinger Examiner interview        L120     3.40 hrs
                    preparation. (3.20) E-mails with Ms. Battle
                    regarding same. (.10)
02/21/2013   MMM    Review documents for Gray Examiner interview           L120     1.40 hrs
                    preparation. (1.20) Communication with Mr.
                    Corcoran regarding same. (.20)
02/21/2013   DAB    Analyze key issues for examiner interview of Mr.       L330     0.90 hrs
                    Gray.

02/21/2013   DAB    E-mail Mr. Lipps regarding scheduling and              L120     0.30 hrs
                    briefing issues on FGIC cure claims objection.

02/21/2013   DAB    Conference with Mr. Corcoran and Mr. Sechler           L120     0.10 hrs
                    regarding preparations for examiner interview of
                    Mr. Gray.
02/21/2013   DAB    Conference with Mr. Corcoran regarding key             L120     0.20 hrs
                    issues for examiner interview of Mr. Gray.

02/21/2013   DAB    Draft updated timeline of major facts related to       L120     2.50 hrs
                    examiner investigation.

02/21/2013   DAB    Communicate with Ms. Mohler regarding outline          L120     0.20 hrs
                    for examiner's second day interview of Mr.
                    Whitlinger.
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02/21/2013   DAB    Revise preparation outline for examiner interview       L330     3.10 hrs
                    of Mr. Whitlinger.

02/21/2013   JRC    Conference with Mr. Beck regarding preparation of       L120     0.20 hrs
                    interview materials for Mr. Gray.

02/21/2013   JRC    E-mail exchange with Ms. Mohler regarding               L120     0.10 hrs
                    interview preparation materials for Mr. Gray.

02/21/2013   JRC    Conference with Ms. Mohler regarding interview          L120     0.10 hrs
                    preparation materials for Mr. Gray.

02/21/2013   JRC    E-mail exchange with Ms. Battle regarding               L120     0.10 hrs
                    response to the examiner's request for audit reports.

02/21/2013   JRC    Draft memorandum on preparation materials for           L420     2.40 hrs
                    Mr. Gray's examiner interview.

02/21/2013   JRC    Review and analyze documents in Discovery               L320     6.40 hrs
                    Partner in order to prepare examiner interview
                    materials for Mr. Gray.
02/21/2013   GNM    Conference call with Morrison & Foerster, DTI           L120     0.50 hrs
                    and Chadbourne regarding perceived issues with
                    productions made to Examiner.
02/21/2013   GNM    Telephone communications with Ms. Gulley (DTI)          L120     0.90 hrs
                    regarding reproduction hard drives for Phase 3
                    materials.
02/21/2013   GNM    Working in Discovery Partner to locate documents        L320     2.50 hrs
                    requested by the Examiner.

02/21/2013   GNM    E-mail communications with Mr. Shipler and Ms.          L120     0.10 hrs
                    Gulley (DTI) regarding perceived technical issues
                    with Examiner productions.
02/21/2013   GNM    Performing quality control checks on re-production      L320     0.80 hrs
                    set 2.

02/21/2013   GNM    Editing Bank Examination Privilege log.                 L320     1.10 hrs


02/21/2013   GNM    Telephone communications with Mr. Shipler (DTI)         L120     0.30 hrs
                    regarding privilege and redaction log reports.

02/21/2013   GNM    Performing quality control checks on data to be         L320     5.40 hrs
                    supplementally produced.

02/21/2013   GNM    Drafting and sending e-mail to Mr. Shipler (DTI)        L120     0.40 hrs
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                    releasing 2-21-13 quality control set for
                    production.
02/21/2013   GNM    Editing proposed response to Ms. Moloney             L320     0.30 hrs
                    (Chadbourne) regarding resolution of perceived
                    technical issues with productions made to the
                    Examiner.
02/21/2013   AJM    Conference with Ms. Paul Whitfield to discuss        L310     0.10 hrs
                    drafting key of personnel appearing on privilege
                    logs submitted to the Examiner.
02/21/2013   AJM    Draft key of personnel appearing on privilege logs   L310     2.60 hrs
                    submitted to the Examiner.

02/21/2013   SCM    Third level quality control review of document set   L320     3.10 hrs
                    24.

02/21/2013   HLB    Perform quality control examiner review of batch     L120     4.80 hrs
                    Phase 3-Set 3.03. Review documents containing
                    names of ResCap attorneys per quality control
                    examiner review protocol.
02/21/2013   AEG    Review 300 documents marked "not privileged"         L140     2.50 hrs
                    but contained ResCap terms. (Phase 3 Set 2.055)

02/21/2013   ABW    E-mail to Ms. Sholl regarding batch check-in.        L190     0.10 hrs


02/21/2013   ABW    Work on quality control batch 4. (Phase 3 Set 3)     L140     0.70 hrs


02/22/2013   AMP    Conference call with Morrison & Foerster team        L320     0.90 hrs
                    and Ms. Battle regarding supplementation of
                    privilege logs with symbols and timing of same.
02/22/2013   AMP    Multiple e-mails regarding supplementation of        L320     0.30 hrs
                    privilege logs with symbols and timing of same.

02/22/2013   AMP    Attention to protocol for supplementation of         L320     1.80 hrs
                    privilege logs with symbols.

02/22/2013   AMP    Attention to Lazard document issues for 3            L320     1.00 hrs
                    documents wanting to use in Pohl examination.

02/22/2013   AMP    E-mails regarding Lazard document issues for 3       L320     0.20 hrs
                    documents wanting to use in Pohl examination.

02/22/2013   JAL    Prepare for Mr. Bier's interview (1.0). Conference   L120    11.30 hrs
                    with Mr. Bier to prepare for same (1.0).
                    Participate in Mr. Bier's interview (6.0). Draft
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                    summary of same (1.0). Review Mr. Gray's
                    preparation materials (1.2). Review and respond to
                    e-mails regarding coverage for examiner
                    interviews (.20). Review and respond to e-mails
                    regarding document production to examiner (.20).
                    Review report on Mesirow Vision training (.10).
                    Review Mr. Wiebe and Mr. Marano's preparation
                    materials (.60).
02/22/2013   VLS    E-mail exchange with Mr. Beck regarding                      L110     0.40 hrs
                    password for depositions sent to Morrison and
                    Foester.
02/22/2013   VLS    E-mail exchange with Mr. Gerdts at Kroll                     L320     0.30 hrs
                    regarding rate sheets.

02/22/2013   VLS    Monitor review status of document review quality             L320     0.60 hrs
                    control team.

02/22/2013   VLS    Assignment of quality control batches to quality             L320     0.40 hrs
                    control review team members.

02/22/2013   VLS    Revise and update quality control review tracking            L320     0.80 hrs
                    spreadsheet.

02/22/2013   JES    Finalize Bricker outline and preparation materials.          L120     6.20 hrs


02/22/2013   JES    Begin review of documents for Blitzer Examiner               L120     3.30 hrs
                    Interview preparation kit. (3.00) Conference with
                    Ms. Mohler regarding key documents. (.20)
                    Communicate with Mr. Beck regarding key issues
                    for interview. (.10)
02/22/2013   RBS    Upload Mr. Whitlinger Day 2 interview                        L310     0.60 hrs
                    preparation kit to Sharepoint.

02/22/2013   TKI    Review e-mail documents for quality control           A104   L120     5.60 hrs
                    purposes for phase 3 set 3 batch 14.

02/22/2013   JALB   Participate in Vision website demonstration for              L120     1.00 hrs
                    Mesirow representative.

02/22/2013   JALB   Prepare file memorandum regarding Vision                     L120     0.30 hrs
                    website demonstration.

02/22/2013   JALB   Discussion with Mr. Salerno (Morrison & Foerster)            L120     0.50 hrs
                    and Ms. Paul-Whitfield regarding privilege log
                    work.
02/22/2013   JALB   Follow-up with client (Mr. Ruckdaschel, Mr.                  L120     0.90 hrs
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                    Cancelliere, Ms. Hamzehpour) regarding location
                    and collection of intercompany loan acquisition
                    agreements.
02/22/2013   JALB   Prepare talking points for use by Ms. Levitt         L120     2.10 hrs
                    (Morrison & Foerster) on call regarding discovery
                    status.
02/22/2013   JALB   Communicate with Mr. Beck regarding key issues       L120     0.60 hrs
                    for upcoming interviews. (.40) Coordination with
                    Carpenter Lipps & Leland and Morrison &
                    Foerster Examiner interview preparation teams
                    regarding Mr. Marano, Mr. Whitlinger, Mr. Blitzer
                    and Mr. Applegate's interviews. (.20)
02/22/2013   JALB   Discussion with Mr. Day and Mr. Haims (both          L120     0.40 hrs
                    Morrison & Foerster) regarding Mr. Marano's day
                    two preparation.
02/22/2013   JALB   Discussions with Mr. Brown (Morrison &               L120     1.60 hrs
                    Foerster) regarding status of document collection
                    and production efforts. (.90) E-mail Mr. Corcoran
                    regarding clawback issues. (.10) Meeting with Ms.
                    Marty regarding document collection efforts. (.60)
02/22/2013   DJB    Communications with Mr. Gerdts at Kroll              L120     0.40 hrs
                    regarding delivery of rate sheets to Morrison and
                    Foerster.
02/22/2013   MMM    Review documents for Gray Examiner interview         L120     1.60 hrs
                    preparation.

02/22/2013   MMM    Conference with Mr. Sechler regarding Blitzer        L120     0.20 hrs
                    Examiner interview preparation.

02/22/2013   MMM    Review documents (2.00) and draft outline for        L120     5.70 hrs
                    Whitlinger Examiner interview. (3.40) Conference
                    with Mr. Beck regarding same. (.30)
02/22/2013   DAB    Multiple conferences with Ms. Mohler regarding       L120     0.30 hrs
                    issues for examiner interview of Mr. Whitlinger.

02/22/2013   DAB    Revise preparation outline for examiner interview    L330     3.80 hrs
                    of Mr. Whitlinger.

02/22/2013   DAB    Conference with Mr. Corcoran regarding key           L120     0.10 hrs
                    issues for examiner interview of Mr. Gray.

02/22/2013   DAB    Draft updated timeline of major facts related to     L120     0.40 hrs
                    examiner investigation.

02/22/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding            L120     0.20 hrs
                    Mesirow questions to FTI related to Mr.
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                    Whitlinger.
02/22/2013   DAB    Communicate with Ms. Battle regarding key issues       L120     0.40 hrs
                    for upcoming examiner interviews.

02/22/2013   DAB    Communicate with Mr. Sechler regarding                 L120     0.10 hrs
                    examiner preparation outlines for Mr. Marano
                    continuation day and for Mr. Bricker.
02/22/2013   DAB    Review and revise examiner preparation outline for     L330     1.40 hrs
                    Mr. Bricker.

02/22/2013   DAB    Communicate with Mr. Day of Morrison &                 L120     0.20 hrs
                    Foerster regarding coverage of upcoming examiner
                    interviews.
02/22/2013   DAB    Multiple e-mails with Mr. Lipps and Ms. Battle         L120     0.30 hrs
                    regarding coverage for upcoming examiner
                    interviews.
02/22/2013   DAB    Communicate with Ms. Paul-Whitfield regarding          L120     0.30 hrs
                    previous research on privilege issues related to
                    Lazard.
02/22/2013   DAB    Communicate with Mr. Day (Morrison & Foerster)         L120     0.10 hrs
                    regarding Chadbourne questions regarding
                    privilege assertions on certain Lazard documents.
02/22/2013   DAB    Multiple e-mails with Mr. Lipps regarding              L120     0.30 hrs
                    Chadbourne questions regarding privilege
                    assertions.
02/22/2013   DAB    Analyze documents Lazard has questions about           L120     0.40 hrs
                    privilege assertions on.

02/22/2013   JRC    Conference with Mr. Shipler of EED regarding           L120     0.20 hrs
                    exporting documents from Discovery Partner.

02/22/2013   JRC    Review and analyze documents in Discovery              L320     0.40 hrs
                    Partner in order to locate audit reports in response
                    to request from the examiner.
02/22/2013   JRC    E-mail exchange with Ms. Battle regarding              L120     0.10 hrs
                    possible clawback from the bankruptcy examiner.

02/22/2013   JRC    Review and analyze documents in Discovery              L320     6.40 hrs
                    Partner in order to prepare examiner interview
                    materials for Mr. Gray.
02/22/2013   JRC    Draft memorandum on preparation materials for          L420     3.90 hrs
                    Mr. Gray's examiner interview.

02/22/2013   JRC    Review and analyze documents in Discovery              L320     0.40 hrs
                    Partner in order to locate exhibits marked in Ms.
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                    Lundsten's deposition.
02/22/2013   JRC    E-mail exchange with Mr. Samson regarding           L120     0.10 hrs
                    locating exhibits marked in Ms. Lundsten's
                    deposition.
02/22/2013   JRC    Review and analyze documents produced to the        L320     0.60 hrs
                    examiner by MBIA in order prepare examiner
                    interview materials for Mr. Gray.
02/22/2013   JRC    Review and analyze documents marked in previous     L320     0.80 hrs
                    examiner interviews in order to prepare examiner
                    interview materials for Mr. Gray.
02/22/2013   JRC    Conference with Ms. Marty regarding audit reports   L120     0.10 hrs
                    to be produced.

02/22/2013   GNM    E-mail communications with Mr. Brown (Morrison      L120     0.10 hrs
                    & Foerster) regarding outstanding Examiner
                    requests.
02/22/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L320     0.30 hrs
                    regarding 2-22-13 quality control set being
                    released for production.
02/22/2013   GNM    Telephone communications with Ms. Shank             L120     0.60 hrs
                    (residential Capital) regarding outstanding
                    Examiner requests.
02/22/2013   GNM    E-mail communications with Ms. Gardiner             L120     0.10 hrs
                    (Schulte) regarding Bank Examination privilege.

02/22/2013   GNM    Working in Discovery Partner to locate documents    L320     2.00 hrs
                    requested by the Examiner.

02/22/2013   GNM    Telephone communications with Mr. Shipler (DTI)     L120     0.30 hrs
                    regarding missing Bates numbers in database.

02/22/2013   GNM    Editing and updating the outstanding items          L320     2.80 hrs
                    tracking sheet in preparation for call with
                    Chadbourne regarding outstanding Examiner
                    requests.
02/22/2013   GNM    Telephone communications with Mr. Salerno and       L120     0.50 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    privilege logs to be produced and outstanding
                    Examiner requests.
02/22/2013   GNM    Telephone communications with Ms. Serfoss           L120     0.30 hrs
                    (Morrison & Foerster) regarding audit reports
                    previously produced.
02/22/2013   GNM    Meeting with Mr. Corcoran regarding audit reports   L120     0.20 hrs
                    to be produced.
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02/22/2013   GNM    Meeting with Ms. Battle regarding outstanding        L120     0.60 hrs
                    Examiner requests.

02/22/2013   GNM    Working in Discovery Partner tagging documents       L320     0.50 hrs
                    for supplemental production.

02/22/2013   AJM    Draft key of personnel appearing on privilege logs   L310     2.10 hrs
                    submitted to the Examiner.

02/22/2013   SCM    Third level quality control review of document set   L320     4.70 hrs
                    24.

02/22/2013   MJB    Quality control on set 3, batch 23 of the phase 3    L320     6.70 hrs
                    documents.

02/22/2013   HLB    Perform quality control examiner review of batch     L120     2.30 hrs
                    Phase 3-Set 3.03. Review documents containing
                    names of ResCap attorneys per quality control
                    examiner review protocol.
02/23/2013   AMP    Attention to Lazard document issues and privilege    L320     0.80 hrs
                    determinations.

02/23/2013   AMP    E-mails with Mr. Beck regarding Lazard document      L320     0.30 hrs
                    issues and privilege determinations.

02/23/2013   AMP    Review documents.                                    L320     0.70 hrs


02/23/2013   AMP    Attention to continuing work on detailed privilege   L320     1.20 hrs
                    logs for production 13.

02/23/2013   JAL    Review Mr. Pohl's and Mr. Marano's documents to      L120     4.80 hrs
                    prepare for their interviews (2.0). Review Mr.
                    Gray's preparation materials (2.0). Review e-mails
                    regarding foregoing (.20). Review and respond to
                    e-mails regarding interview coverage (.20).
                    Conference with Mr. Beck regarding same (.20).
                    Review e-mails regarding Mr. Pohl's interview
                    (.20).
02/23/2013   VLS    Monitor review status of phase 3 quality control     L320     0.60 hrs
                    document review.

02/23/2013   VLS    Assignment of Phase 3 quality review batches.        L320     0.40 hrs
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02/23/2013   JES    Review additional documents for possible use in      L120     4.00 hrs
                    Blitzer preparation kit.

02/23/2013   DAB    E-mails with Mr. Lipps, Ms. Battle, Mr. Sechler      L120     0.40 hrs
                    and Ms. Mohler regarding notetakers for upcoming
                    examiner interviews
02/23/2013   DAB    Analyze proposed redactions on Lazard related        L120     0.30 hrs
                    e-mails.

02/23/2013   JRC    Review and analyze documents in Discovery            L320     4.90 hrs
                    Partner in order to prepare examiner interview
                    materials for Mr. Gray.
02/23/2013   JRC    Revise memorandum analyzing examiner                 L320     2.70 hrs
                    interview materials for Mr. Gray based on
                    supplemental searches.
02/23/2013   JRC    E-mail exchange with Mr. Lipps regarding             L120     0.10 hrs
                    examiner interview materials for Mr. Gray.

02/23/2013   SCM    Third level quality control review of document set   L320     2.40 hrs
                    24.

02/23/2013   HLB    Perform quality control examiner review of batch     L120     3.60 hrs
                    Phase 3-Set 3.03. Review documents containing
                    names of ResCap attorneys per quality control
                    examiner review protocol.
02/23/2013   ABW    Work on quality control batch 4. (Phase 3 Set 3)     L140     2.50 hrs


02/24/2013   AMP    Further review of Lazard documents for privilege     L320     1.10 hrs
                    issues involving Mr. Pohl (Lazard).

02/24/2013   AMP    E-mails with Mr. Beck and Morrison & Foerster        L320     0.20 hrs
                    regarding log entries for Lazard documents.

02/24/2013   AMP    Attention to continuing work on detailed privilege   L320     1.70 hrs
                    logs for production 13.

02/24/2013   JAL    Review Ms. Whitlinger's and Mr. Gray's               L120     4.30 hrs
                    documents to prepare for their interviews (2.8).
                    Review and respond to e-mails regarding examiner
                    request for documents (.20). Conference with Ms.
                    Battle regarding same (.10). Draft memo regarding
                    topics for Mr. Marano's preparation (.30). Review
                    and respond to e-mails regarding scheduling
                    Mesirow conference call (.20). Review examiner's
                    proposed exhibits for Mr. Pohl (.50). Review and
                    respond to e-mails regarding interview coverage
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                    (.20).
02/24/2013   JES    Finalize Bricker Examiner preparation outline.       L120     1.70 hrs


02/24/2013   JALB   Review Mr. Marano's preparation materials and        L330     1.20 hrs
                    correspondence regarding same.

02/24/2013   MMM    Draft outline for Whitlinger Examiner interview      L120     0.70 hrs
                    preparation.

02/24/2013   MMM    Review documents for Blitzer Examiner interview      L120     2.60 hrs
                    preparation.

02/24/2013   DAB    E-mails with Mr. Lipps, Ms. Battle and Ms.           L120     0.20 hrs
                    Mohler regarding staffing for upcoming examiner
                    interviews.
02/24/2013   DAB    E-mail Mr. Lipps regarding proposed redactions on    L120     0.20 hrs
                    Lazard related e-mails.

02/24/2013   DAB    E-mails with Mr. Lipps regarding documents           L120     0.20 hrs
                    received from Chadbourne related to Pohl
                    interview.
02/24/2013   JRC    Draft memorandum analyzing examiner interview        L420     4.80 hrs
                    of Ms. Lundsten.

02/24/2013   JRC    Review and analyze exhibits marked in Ms.            L420     0.40 hrs
                    Lundsten's examiner interview in order to draft a
                    memorandum analyzing the interview.
02/24/2013   JRC    Review and analyze notes on Ms. Lundsten's           L420     0.60 hrs
                    interview in order to draft memorandum analyzing
                    her interview.
02/24/2013   GNM    Working in Discovery Partner database to locate      L320     0.10 hrs
                    documents involving Bryan Cave.

02/24/2013   GNM    Editing and updating the outstanding items           L320     0.80 hrs
                    tracking sheet in preparation for call with
                    Chadbourne regarding outstanding Examiner
                    requests.
02/24/2013   SCM    Third level quality control review of document set   L320     8.50 hrs
                    24.

02/24/2013   HLB    Perform quality control examiner review of batch     L120     2.60 hrs
                    Phase 3-Set 3.03. Review documents containing
                    names of ResCap attorneys per quality control
                    examiner review protocol.
02/24/2013   AEG    Review 902 documents marked "not privileged"         L140     6.00 hrs
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                    but contained ResCap terms, sampled remaining
                    documents. (Phase 3 Set 2.055)
02/24/2013   ABW    Work on quality control batch 4. (Phase 3 Set 3)      L140     6.60 hrs


02/25/2013   AMP    Attention to reviewing all privilege logs already     L320     2.10 hrs
                    produced for clawback notations.

02/25/2013   AMP    Attention to 2/19 clawback letter and challenges to   L320     0.90 hrs
                    same.

02/25/2013   AMP    E-mails with Mr. Corcoran and Ms. Battle              L320     0.30 hrs
                    regarding 2/19 clawback letter and challenges to
                    same.
02/25/2013   AMP    Attention to Lazard document review and               L320     1.00 hrs
                    production of newly redacted documents.

02/25/2013   AMP    Conference with Ms. Marty regarding Lazard            L320     0.30 hrs
                    document review and production of newly redacted
                    documents.
02/25/2013   AMP    Telephone calls and e-mails with Morrison &           L320     1.40 hrs
                    Foerster's vender regarding same.

02/25/2013   AMP    E-mails with Mr. Day (Morrison & Foerster) and        L320     0.30 hrs
                    Mr. Illovsky (Morrison & Foerster) regarding
                    privilege determinations on Lazard documents.
02/25/2013   AMP    Attention to examiner's challenge of privilege        L320     1.50 hrs
                    determinations to sub-servicing documents for
                    Whitlinger interview.
02/25/2013   AMP    Conference with Mr. Beck and Mr. Lipps                L320     0.70 hrs
                    regarding privilege determinations on Lazard
                    documents. (.20) Conference with Mr. Beck
                    regarding same. (.30) Review documents on
                    Lazard privilege issue. (.30)
02/25/2013   JAL    Review Mr. Pohl's and Mr. Marano's documents to       L120    10.50 hrs
                    prepare for upcoming interviews (.50). Review
                    Mr. Gray's preparation materials (1.0). Review
                    Ms. Whitlinger's and Mr. Gray's documents to
                    prepare for their interviews (2.10). Review and
                    redraft outlines for Ms. Whitlinger, Mr. Marano,
                    Mr. Pohl and Mr. Gray's interviews (2.0).
                    Conference with Mr. Beck and Ms. Battle
                    regarding same (.30). Review examiner topic list
                    for Ms. Whitlinger (.10). Review Ms. Lundsten's
                    interview memo (.50). Revise same (.20).
                    Conference with Ms. Battle regarding same (.10).
                    Review proposed exhibits that examiner seeks to
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                    use in Mr. Pohl's deposition (.20). Conference
                    with Ms. Paul-Whitfield and Mr. Beck regarding
                    privilege issues related to same. (.20) Review
                    examiner's topic list for Mr. Marano's interview
                    (.10). Conference call with Mr. Renzi (FTI) and
                    Ms. Battle to discuss repurchase data spreadsheet
                    (.50). Conference call with Mr. Renzi, Ms. Battle,
                    Chadburne and Mesirow to discuss same (.80).
                    Conference with Ms. Battle to discuss
                    sub-servicing agreements and third-party claims
                    (1.70). Review and respond to e-mails regarding
                    examiner document production issues (.20).
02/25/2013   VLS    Monitor review status of document review quality            L320     0.40 hrs
                    control team.

02/25/2013   VLS    Assignment of quality control batches to quality            L320     0.30 hrs
                    control review team members.

02/25/2013   VLS    Revise and update quality control review tracking           L320     0.30 hrs
                    spreadsheet.

02/25/2013   VLS    Assemble selected rates sheets onto internal                L320     0.30 hrs
                    database for Mr. Barthel.

02/25/2013   VLS    Telephone conference with Mr. Barthel regarding             L320     0.40 hrs
                    rate sheets.

02/25/2013   VLS    E-mail exchange with Ms. Marty regarding status             L320     0.20 hrs
                    of Phase 3 quality control document review.

02/25/2013   JES    Review Bricker SEC deposition to prepare for                L120     2.00 hrs
                    examiner interviews.

02/25/2013   JES    Complete review of documents used in Blitzer                L120     2.00 hrs
                    MBIA deposition.

02/25/2013   TKI    Review e-mail documents for quality control          A104   L120     5.10 hrs
                    purposes for phase 3 set 3 batch 14.

02/25/2013   JALB   Prepare for Mr. Marano's interview preparation              L330     0.50 hrs
                    meeting.

02/25/2013   JALB   Meet with Mr. Lipps regarding subservicing and              L120     1.70 hrs
                    third party claims issues.

02/25/2013   JALB   Review Ally/Cerberus materials relating to Mr.              L330     1.80 hrs
                    Marano.
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02/25/2013   JALB   Telephone conference with Ms. Marty and Mr.            L120     0.30 hrs
                    Barthel regarding rate sheet production.

02/25/2013   JALB   Various e-mails with Mr. Underhill (Residential        L120     1.40 hrs
                    Capital), Ms. Marty, Ms. Whitfield, Mr. Brown
                    (Morrison & Foerster) and Ms. Levitt (Morrison &
                    Foerster) regarding status of close-out items for
                    document production.
02/25/2013   JALB   Telephone conference with Ms. Levitt, Mr. Brown,       L120     0.60 hrs
                    Mr. Renzi (FTI) regarding close out of document
                    requests.
02/25/2013   JALB   E-mails and telephone conferences with Mr.             L120     0.30 hrs
                    Ruckdaschel (Residential Capital) regarding
                    closeout of document requests.
02/25/2013   JALB   Telephone conference with Mr. Renzi and Mr.            L120     0.50 hrs
                    McDonald (FTI) and Mr. Lipps regarding
                    representation & warranty repurchase discussion
                    with Mesirow.
02/25/2013   JALB   Telephone conference with Mr. Martin (Mesirow),        L120     0.80 hrs
                    Mr. Ball (Chadbourne), Mr. Renzi, and Mr. Lipps
                    regarding repurchase data.
02/25/2013   JALB   Follow-up discussion and research regarding            L120     0.30 hrs
                    repurchase data.

02/25/2013   JALB   Discussion with Mr. Lipps and Mr. Beck regarding       L120     0.50 hrs
                    interview preparation issues. (.30) Follow-up on
                    same. (.20)
02/25/2013   DJB    Call with Ms. Battle and Ms. Marty regarding rate      L120     3.10 hrs
                    sheet production. (.30) Call with Ms. Sholl
                    regarding rate sheet production. (.30) Analyses of
                    home equity rate sheets to assist Morrison and
                    Foerster with productions to the Examiner. (2.50)
02/25/2013   DJB    Second level quality check Phase 3, Set 2, Batch       L120     4.20 hrs
                    17 for completeness, responsiveness, privilege,
                    confidentiality, and issue tagging custodian e-mails
                    to assist Morrison and Foerster with productions to
                    the Examiner.
02/25/2013   MMM    Draft outline for Whitlinger's Examiner interview      L120     3.10 hrs
                    preparation.

02/25/2013   MMM    Research subservicing agreement issues for             L120     0.30 hrs
                    Marano Examiner interview preparation.

02/25/2013   MMM    Review documents for Blitzer's Examiner                L120     1.00 hrs
                    interview preparation.
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02/25/2013   DAB    Research board minutes to answer questions of Ms.    L120     0.10 hrs
                    Battle.

02/25/2013   DAB    Communicate with Ms. Battle regarding                L120     0.30 hrs
                    preparations for upcoming examiner interviews.

02/25/2013   DAB    Conference with Ms. Paul-Whitfield regarding         L120     0.20 hrs
                    privilege issues raised by Chadbourne.

02/25/2013   DAB    Conference with Mr. Lipps and Ms. Paul-Whitfield     L120     0.20 hrs
                    regarding privilege issues raised by Chadbourne.

02/25/2013   DAB    Communicate with Mr. Ilvosky (Morrison &             L120     0.20 hrs
                    Foerster) regarding privilege issues raised by
                    Chadbourne.
02/25/2013   DAB    Communicate with counsel to Mr. Pohl regarding       L120     1.40 hrs
                    privilege issues related to Lazard documents.

02/25/2013   DAB    Research common issues for upcoming examiner         L330     2.00 hrs
                    witnesses.

02/25/2013   DAB    Prepare for examiner interview of Mr. Pohl.          L330     2.20 hrs


02/25/2013   DAB    Communicate with Ms. Mohler regarding                L120     0.10 hrs
                    examiner interview of Mr. Whitlinger.

02/25/2013   JRC    Review and analyze documents in Discovery            L420     0.20 hrs
                    Partner in order to prepare examiner interview
                    materials for Mr. Marano.
02/25/2013   JRC    Revise memorandum analyzing examiner                 L210     2.60 hrs
                    interview of Ms. Lundsten.

02/25/2013   JRC    Review and analyze documents identified by the       L320     1.10 hrs
                    bankruptcy examiner in its objections to ResCap's
                    clawback request in order to draft a response.
02/25/2013   JRC    Draft e-mail to Ms. Paul Whitfield analyzing         L120     0.10 hrs
                    objections made by the examiner to ResCap's
                    clawback requests.
02/25/2013   JRC    Review and analyze documents in Discovery            L320     2.60 hrs
                    Partner in order to prepare examiner interview
                    materials for Mr. Scholtz.
02/25/2013   GNM    Telephone communications with Ms. Battle and         L120     0.20 hrs
                    Mr. Barthel regarding production of rate sheets in
                    response to Examiner requests.
02/25/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
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                    Mr. Ruckdaschel (Residential Capital) regarding
                    outstanding Examiner requests.
02/25/2013   GNM    E-mail communications with Ms. Shank                 L120     0.10 hrs
                    (Residential Capital) regarding outstanding
                    Examiner requests.
02/25/2013   GNM    Telephone communications with Ms. Shank              L120     0.30 hrs
                    (Residential Capital) regarding outstanding
                    Examiner requests.
02/25/2013   GNM    Working in Discovery Partner to locate documents     L320     1.80 hrs
                    requested by the Examiner.

02/25/2013   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.10 hrs
                    regarding Phase 3 Material subproject.

02/25/2013   GNM    Drafting and sending e-mail communications to        L320     0.40 hrs
                    contract review team regarding review of redacted
                    items for consistency.
02/25/2013   GNM    E-mail communications with Mr. Brown, Ms.            L120     0.50 hrs
                    Levitt, and Ms. Tice (Morrison & Foerster) and
                    Ms. Battle regarding technical issues with
                    Examiner productions.
02/25/2013   GNM    Editing and updating the outstanding items           L320     0.70 hrs
                    tracking sheet in preparation for call with
                    Chadbourne regarding outstanding Examiner
                    requests.
02/25/2013   GNM    E-mail communications with Mr. Kapedia               L120     0.20 hrs
                    (Morrison & Foerster) regarding Phase 3 quality
                    control.
02/25/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.70 hrs
                    & Foerster) regarding outstanding Examiner
                    requests.
02/25/2013   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.40 hrs
                    regarding reproduction of Phase 3 material to
                    conform to limitations of Examiner's depository.
02/25/2013   GNM    Telephone communications with Mr. Brown              L120     0.30 hrs
                    (Morison & Foerster) regarding reproduction of the
                    Phase 3 materials to conform to limitations of
                    Examiner's depository.
02/25/2013   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    Mr. Brown, Ms. Levitt, Mr. Salerno (Morrison &
                    Foerster) and Ms. Battle regarding reproduction of
                    the Phase 3 materials to conform to limitations of
                    Examiner's depository.
02/25/2013   GNM    Locating and sending document RC40053347 to          L320     0.30 hrs
                    Ms. Whitfield for privilege analysis.
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02/25/2013   SCM    Review of partially privileged set 12.003.            L320     4.90 hrs


02/25/2013   HLB    Perform quality control examiner review of batch      L120     3.30 hrs
                    Phase 3-Set 3.03. Review documents containing
                    names of ResCap attorneys per quality control
                    examiner review protocol.
02/25/2013   AEG    Review approximately 200 documents that were          L140     4.00 hrs
                    marked "partially privileged" to make sure that
                    they were redacted correctly. (Phase 3 Set 3.005)
02/25/2013   ABW    Work on quality control batch 4. (Phase 3 Set 3)      L140     3.80 hrs


02/25/2013   ABW    E-mail to Ms. Sholl regarding batch check-in.         L190     0.10 hrs


02/26/2013   AMP    Attention to further review of Lazard documents to    L320     1.40 hrs
                    resolve technical, encrypted and privilege issues.

02/26/2013   AMP    Attention to privilege determinations on structured   L320     1.20 hrs
                    finance documents.

02/26/2013   AMP    E-mails with Ms. Battle regarding privilege           L320     0.30 hrs
                    determinations on structured finance documents.

02/26/2013   AMP    Draft responsive e-mail for Morrison & Foerster to    L320     0.90 hrs
                    send to Chadbourne regarding challenge to 2/19
                    clawback letter.
02/26/2013   AMP    Attention to revising and editing the 2/19 clawback   L320     0.80 hrs
                    privilege log.

02/26/2013   AMP    Multiple e-mails with Morrison & Foerster team        L320     0.40 hrs
                    regarding the 2/19 clawback privilege log.

02/26/2013   AMP    Attention to generating clawback list from            L320     1.10 hrs
                    previously served privilege logs.

02/26/2013   AMP    Attention to project for supplementation of 31        L320     1.10 hrs
                    more basic privilege logs with symbols denoting
                    company affiliation.
02/26/2013   AMP    Draft instructions for privilege team.                L320     1.60 hrs


02/26/2013   AMP    Multiple e-mails with privilege team regarding        L320     1.30 hrs
                    instructions.
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02/26/2013   AMP    Attention to assignments for privilege team          L320     1.00 hrs
                    members to supplement privilege logs with
                    requested symbols along parameters and
                    instructions provided.
02/26/2013   AMP    Attention to reviewing and responding to questions   L320     2.40 hrs
                    from privilege team members as they perform their
                    assignments.
02/26/2013   AMP    E-mails with Ms. Sholl regarding tracking chart.     L320     0.10 hrs


02/26/2013   AMP    Review list of documents clawed back by Ally.        L320     0.40 hrs


02/26/2013   AMP    E-mails with Mr. Beck and Ms. Marty regarding        L320     0.40 hrs
                    potentially privileged document imbedded in
                    Cerberus documents.
02/26/2013   AMP    E-mails with Ms. Battle and Mr. Lipps regarding      L320     0.30 hrs
                    Lazard privilege determinations on Project Scout
                    documents.
02/26/2013   JAL    Prepare for Ms. Whitlinger's preparation session     L120    10.00 hrs
                    (1.7). Conference with Morrison Foerster lawyers
                    regarding same (2.5). Conference with Mr.
                    Whitlinger to prepare for interview (4.0).
                    Coference with Ms. Battle regarding Mr.
                    Whitlinger and Marano interview preparation. (.30)
                    Review committee filing regarding Ally settlement
                    (.30). Telephone conference with Mr. Beck
                    regarding same (.20). Review materials reporting
                    Pipeline and MSR hedging results (.50). Review
                    materials regarding invoicing for sub-servicing
                    services (.20). Review potential exhibit to assess
                    privilege (.20). Conferences with Mr. Day, Mr.
                    Illovsky and Ms. Levitt (Morrison & Foerster)
                    regarding same (.30). Review e-mail regarding
                    coverage of examiner interviews (.10).
02/26/2013   VLS    Monitor review status of document review quality     L320     0.60 hrs
                    control team.

02/26/2013   VLS    Assignment of quality control batches to quality     L320     0.40 hrs
                    control review team members.

02/26/2013   VLS    Revise and update quality control review tracking    L320     0.80 hrs
                    spreadsheet.

02/26/2013   VLS    E-mail exchange with Ms. Marty regarding status      L320     0.20 hrs
                    of Phase 3 quality control document review.
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02/26/2013   VLS    E-mail exchange with Mr. Barthel regarding             L320     0.20 hrs
                    downloading rate sheets from Kroll's FTP site.

02/26/2013   JES    Review documents for use in Blitzer Examiner           L120    10.00 hrs
                    preparation outline.

02/26/2013   JES    Complete review of Bricker SEC deposition              L120     1.30 hrs
                    transcript.

02/26/2013   JALB   Analysis of Chadbourne materials for Mr.               L330     2.30 hrs
                    Marano's interview.

02/26/2013   JALB   Correspondence with Ms. Marty, Mr. Brown               L120     0.40 hrs
                    (Morrison & Foerster), Ms. Levitt (Morrison &
                    Foerster) regarding status of document productions
                    and communications with Examiner regarding
                    same.
02/26/2013   JALB   Follow up correspondence with Examiner team            L120     0.20 hrs
                    and witnesses regarding witness scheduling.

02/26/2013   JALB   Follow-up correspondence with client and Ms.           L120     0.30 hrs
                    Marty regarding status of document production.

02/26/2013   JALB   Meet with Mr. Marano (Residential Capital), Ms.        L330     3.70 hrs
                    Levitt (Morrison & Foerster) and Mr. Haims
                    (Morrison & Foerster) to prepare for interview of
                    Mr. Marano.
02/26/2013   JALB   Discussion with Mr. Lipps regarding Mr.                L120     0.30 hrs
                    Whitlinger and Mr. Marano witness preparation.

02/26/2013   DJB    Second level quality check Phase 3, Set 2, Batch       L120     1.30 hrs
                    17 for completeness, responsiveness, privilege,
                    confidentiality, and issue tagging custodian e-mails
                    to assist Morrison and Foerster with productions to
                    the Examiner.
02/26/2013   DJB    Organize home equity rate sheets by product (goal      L120     4.10 hrs
                    line vs. goal loan) and chronologically and transmit
                    to Ms.Tice at Morrison and Foerster for production
                    to the Examiner.
02/26/2013   DJB    Research and format rate sheets of 1st Lien Line of    L120     7.80 hrs
                    Credit, 125 LTV, Alt Gap, Expanded Criteria
                    ARM, Expanded Criteria Fixed Rate, Home
                    Solutions, Jumbo A Arm, Jumbo A Fixed Rate,
                    and Payment Option ARM loan programs from
                    client's hard drive and ftp site to assist Morrison
                    and Foerster with productions to the Examiner.
02/26/2013   MMM    Review documents and outline in preparation for        L120     3.40 hrs
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                    Whitlinger Examiner interview.

02/26/2013   DAB    Conference with Mr. Ilovsky (Morrison &              L120     0.40 hrs
                    Foerster) and Mr. Lipps regarding key issues for
                    upcoming examiner interviews.
02/26/2013   DAB    Prepare for examiner interview of Mr. Pohl.          L330     0.80 hrs


02/26/2013   DAB    Participate in examiner interview of Mr. Pohl.       L330     3.60 hrs


02/26/2013   DAB    Draft summary of examiner interview of Mr. Pohl.     L330     2.00 hrs


02/26/2013   DAB    Communicate with Ms. Battle, Ms. Paul-Whitfield      L120     0.10 hrs
                    and Ms. Marty regarding potentially privileged
                    document shown to Ms. Pohl.
02/26/2013   DAB    E-mail Mr. Day (Morrison & Forester) regarding       L120     0.10 hrs
                    document related to Mr. Scholtz.

02/26/2013   JRC    E-mail exchange with Ms. Paul Whitfield              L120     0.10 hrs
                    regarding clawback request to the bankruptcy
                    examiner.
02/26/2013   JRC    Review, analyze, and redact documents in             L320     0.20 hrs
                    Discovery Partner in order to make a clawback
                    request to the examiner.
02/26/2013   JRC    Review and analyze documents in Discovery            L320     0.40 hrs
                    Partner in order to prepare Mr. Marano's interview
                    preparation materials.
02/26/2013   JRC    Review and analyze documents produced to the         L320     1.30 hrs
                    examiner by MBIA in order to prepare interview
                    materials for Mr. Scholtz.
02/26/2013   JRC    Review examiner interview summaries in order to      L320     0.80 hrs
                    prepare interview materials for Mr. Scholtz.

02/26/2013   JRC    Review and analyze documents in Discovery            L320     5.40 hrs
                    Partner in order to prepare Mr. Scholtz's examiner
                    interview materials.
02/26/2013   GNM    E-mail communications with Mr. Kapedia               L120     0.30 hrs
                    (Morrison & Foerster) regarding Phase 3 quality
                    control.
02/26/2013   GNM    E-mail communications with Ms. Shank                 L120     0.10 hrs
                    (Residential Capital) regarding outstanding
                    Examiner requests.
02/26/2013   GNM    Performing quality control checks on the Phase 3,    L320     3.50 hrs
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                    Set 35 batch.

02/26/2013   GNM    Performing quality control checks on the Phase 3,     L320     3.60 hrs
                    Set 38 batch.

02/26/2013   GNM    Telephone communications with Ms. Battle              L120     0.30 hrs
                    regarding outstanding Examiner items.

02/26/2013   GNM    Researching on the U-drive to locate documents to     L320     0.50 hrs
                    be produced to the Examiner in response to
                    outstanding requests.
02/26/2013   GNM    E-mail communications with Ms. Tice (Morrison         L120     0.80 hrs
                    & Foerster) regarding outstanding Examiner
                    requests.
02/26/2013   GNM    Exchanging e-mail communications with Ms.             L120     0.50 hrs
                    Whitfield regarding reproduction of item that was
                    previously clawed back.
02/26/2013   GNM    E-mail communications with Mr. Sholl regarding        L120     0.30 hrs
                    quality control assignments.

02/26/2013   GNM    Editing proposed response to Mr. Schwinger            L320     0.70 hrs
                    (Chadbourne) regarding technical limitations of
                    Examiner depository.
02/26/2013   GNM    Telephone conference call with Ms. Gulley (DTI)       L120     0.60 hrs
                    regarding production pipeline and status of open
                    projects.
02/26/2013   GNM    E-mail communication with Ms. Battle regarding        L120     0.10 hrs
                    Phase 3 materials reproduction.

02/26/2013   GNM    Working in Morrison & Foerster Relativity             L320     0.40 hrs
                    database to locate potentially privileged documents
                    inadvertently produced.
02/26/2013   GNM    E-mailing Ms. Whitfield regarding potentially         L120     0.20 hrs
                    privileged items inadvertently produced.

02/26/2013   GNM    Drafting and sending e-mail communications to         L120     0.60 hrs
                    Ms. Klun and Ms. Burke (Lumen Legal) regarding
                    current quality control team.
02/26/2013   GNM    Researching to determine which productions            L320     1.60 hrs
                    contain clawed back items.

02/26/2013   GNM    E-mail communications with Ms. Battle regarding       L120     0.20 hrs
                    outstanding Examiner requests.

02/26/2013   GNM    E-mail communications with Ms. Hodge (Contract        L120     0.10 hrs
                    Reviewer) regarding review of redacted items.
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02/26/2013   SCM    Third level quality control review of document set     L320     4.30 hrs
                    24.

02/26/2013   MJB    Quality control review on set 3, batch 25 of the       L320     5.50 hrs
                    phase 3 documents.

02/26/2013   HLB    Perform quality control examiner review of batch       L120     5.30 hrs
                    Phase 3-Set 3.03. Review documents containing
                    names of ResCap attorneys per quality control
                    examiner review protocol.
02/27/2013   AMP    Further attention to project for supplementation of    L320     2.80 hrs
                    31 more basic privilege logs with symbols
                    denoting company affiliation.
02/27/2013   AMP    Prepare supplemental instructions for privilege        L320     1.50 hrs
                    team based upon Q&As received from individual
                    reviewers.
02/27/2013   AMP    Multiple e-mails with privilege team regarding         L320     0.80 hrs
                    supplemental instructions for privilege team based
                    upon Q&As received from individual reviewers.
02/27/2013   AMP    Attention to additional assignments for privilege      L320     0.90 hrs
                    team members to supplement privilege logs with
                    requested symbols along parameters and
                    instructions provided.
02/27/2013   AMP    Attention to reviewing and responding to questions     L320     2.60 hrs
                    from privilege team members as they perform their
                    assignments.
02/27/2013   AMP    Attention to supplementing and editing my              L320     3.10 hrs
                    assigned privilege logs for production 116/117.

02/27/2013   AMP    Attention to drafting insert for Morrison & Foerster   L320     1.10 hrs
                    to status summary regarding privilege logging
                    process.
02/27/2013   JAL    Prepare for Ms. Whitlinger's interview (1.30).         L120     9.00 hrs
                    Conference with Mr. Whitlinger, Mr. Rains, Mr.
                    Ilovsky (Morrison & Foerster) and Ms. Mohler to
                    prepare for examiner interview. (.70) Participate in
                    Ms. Whitlinger's interview (6.40). Review e-mails
                    regarding examiner interview of former ResCap
                    board members (.20). Respond to same (.10).
                    Review e-mails regarding scheduling of upcoming
                    interviews (.10). Review e-mails regarding
                    additional examiner document requests (.20).
02/27/2013   JES    Draft Blitzer Examiner interview outline. (7.90)       L120     8.00 hrs
                    Conference with Mr. Corcoran regarding same.
                    (.10)
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02/27/2013   TKI    Review e-mail documents for quality control           A104   L120     3.90 hrs
                    purposes for phase 3 set 3 batch 14.

02/27/2013   JALB   Prepare memorandum regarding status of                       L320     0.90 hrs
                    outstanding securitization-related document
                    requests.
02/27/2013   JALB   Telephone conference with Mr. Ruckdaschel                    L120     0.20 hrs
                    (Residential Capital) regarding correspondent
                    agreements.
02/27/2013   JALB   Follow-up discussions with Ms. Zellmann                      L120     0.30 hrs
                    (Residential Capital) and Ms. Sholl regarding
                    correspondent agreements.
02/27/2013   JALB   E-mails with former employee witnesses regarding             L120     0.20 hrs
                    preparation and interviews.

02/27/2013   JALB   E-mails with Carpenter Lipps & Leland and                    L120     0.30 hrs
                    Morrison & Foerster examiner preparation team
                    regarding scheduling, coverage and key issues.
02/27/2013   JALB   Discussion with Ms. Levitt (Morrison & Foerster)             L120     0.30 hrs
                    and Mr. Underhill (Residential Capital) regarding
                    new request for Scholtz custodian data.
02/27/2013   JALB   Various e-mails and discussions with and among               L120     3.40 hrs
                    Ms. Levitt, Mr. Brown, Ms. Tice (all Morrison &
                    Foerster), Mr. Ruckdaschel, Ms. Zellmann and Ms.
                    Spencer (all Residential Capital), Mr. Renzi and
                    Mr. McDonald (FTI), and Ms. Marty, Mr. Lipps
                    and Mr. Corcoran regarding close out of "list of
                    40" open items, collection and production of
                    additional materials from client, clawback timing,
                    technical issues with document uploads, and
                    preparation for chambers conference on status of
                    examiner discovery. (.60) Calls with same. (.40)
                    Analyz issues relating to outstanding production
                    issues. (2.00) E-mails with Mr. Corcoran
                    regarding claw back issues. (.10) E-mails with Mr.
                    Corcoran regarding preparation materials for Mr.
                    Scholtz. (.30)
02/27/2013   JALB   E-mails with Mr. Beck and Mr. Lipps regarding                L120     0.30 hrs
                    Ally PSA.

02/27/2013   DJB    Perform quality check of documents in batch                  L120     4.30 hrs
                    140-141 withheld from production to the Examiner
                    on the basis of attorney-client privilege, attorney
                    work product, joint defenses, or common interest
                    to assist Morrison and Foerster with productions to
                    the Examiner.
02/27/2013   DJB    Format privilege law, indicating specific reasons            L120     4.80 hrs
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                    why documents in batch 140-141 withheld from
                    production to the Examiner are protected by
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest, and identify
                    affiliation of individuals appearing on e-mails to
                    assist Morrison and Foerster with productions to
                    the Examiner.
02/27/2013   MMM    Review memorandum regarding pricing analysis.        L120     0.70 hrs


02/27/2013   MMM    Attend Whitlinger's interview with the Examiner.     L120     6.40 hrs


02/27/2013   MMM    Review notes from Whitlinger's Examiner              L120     4.80 hrs
                    interview. Begin drafting interview summary.

02/27/2013   MMM    Conference with Mr. Rains (Morrison & Foerster),     L120     0.70 hrs
                    Mr. Whitlinger, Mr. Illovsky (Morrison &
                    Foerster), and Mr. Lipps to prepare for Whitlinger
                    Examiner interview.
02/27/2013   DAB    Revise summary of Pohl interview.                    L330     0.20 hrs


02/27/2013   DAB    Multiple e-mails with Mr. Lipps and Ms. Battle       L120     0.30 hrs
                    regarding coverage of upcoming examiner
                    interviews.
02/27/2013   DAB    Research regarding recent third party productions    L320     0.80 hrs
                    to examiner.

02/27/2013   JRC    Conference with Ms. Marty regarding response to      L120     0.10 hrs
                    the examiner's request for audit reports.

02/27/2013   JRC    Review documents in Discovery Partner in order to    L320     0.40 hrs
                    determine whether documents identified by Ms.
                    Battle were produced to the bankruptcy examiner.
02/27/2013   JRC    E-mail exchange with Ms. Battle regarding            L120     0.10 hrs
                    whether certain documents should be clawed back
                    from the bankruptcy examiner.
02/27/2013   JRC    E-mail exchanges with Ms. Battle regarding           L120     0.20 hrs
                    interview preparation materials for Mr. Scholtz.

02/27/2013   JRC    Review documents in Discovery Partner in order to    L320     0.80 hrs
                    determine relevance of parties subpoenaed by the
                    bankruptcy examiner.
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02/27/2013   JRC    Conference with Mr. Sechler regarding interview      L120     0.10 hrs
                    preparation materials for Mr. Blitzer.

02/27/2013   JRC    Review and analyze documents in Discovery            L320     6.20 hrs
                    Partner in order to prepare examiner interview
                    materials for Mr. Scholtz.
02/27/2013   JRC    Begin drafting examiner interview memorandum         L420     2.20 hrs
                    for Mr. Scholtz.

02/27/2013   JRC    Revise deposition summary of Mr. Scholtz in order    L420     0.80 hrs
                    to prepare examiner interview materials.

02/27/2013   GNM    Performing quality control checks on the Not         L320     3.10 hrs
                    Privilege Set 3.026 batch.

02/27/2013   GNM    Performing quality control checks on the Redacted    L320     3.40 hrs
                    Set 3.014 batch.

02/27/2013   GNM    Drafting and sending e-mail communications to        L120     0.60 hrs
                    Ms. Gulley (DTI) releasing Phase 3 documents for
                    production.
02/27/2013   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Ms. Gulley (DTI) regarding the production
                    pipeline.
02/27/2013   GNM    Drop sending the rate sheets to be produced to Ms.   L320     0.50 hrs
                    Tice (Morrison & Foerster).

02/27/2013   GNM    E-mail communications with Ms. Klun (Lumen           L120     0.20 hrs
                    Legal) regarding reviewers for SEC.

02/27/2013   GNM    Telephone communications with Ms. Klun (Lumen        L120     0.50 hrs
                    Legal) regarding reviewers for SEC.

02/27/2013   GNM    Editing and updating the outstanding items           L320     0.90 hrs
                    tracking sheet in preparation for call with
                    Chadbourne regarding outstanding Examiner
                    requests.
02/27/2013   GNM    Analyzing privilege determination of Tammy           L320     0.20 hrs
                    Hamzehpour documents.

02/27/2013   GNM    Comparing documents to be produced to Examiner       L320     0.50 hrs
                    for redundancy.

02/27/2013   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Brown, Mr. Salerno and Ms. Levitt (Morrison
                    & Foerster) regarding Phase 3 material
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                    reproduction.
02/27/2013   GNM    Drafting and sending e-mail communication to            L120     0.50 hrs
                    quality control team regarding the end of the
                    project.
02/27/2013   GNM    Editing memorandum regarding privilege logs.            L320     0.70 hrs


02/27/2013   GNM    Generating privilege log for Phase 3 items being        L320     0.30 hrs
                    Clawed back.

02/27/2013   SCM    Review of partially privileged set 12.003.              L320     1.40 hrs


02/27/2013   MJB    Revise privilege log 134-135 prior to production.       L320     3.30 hrs


02/27/2013   HLB    Perform quality control examiner review of batch        L120     4.20 hrs
                    Phase 3-Set 3.03. Review documents containing
                    names of ResCap attorneys per quality control
                    examiner review protocol.
02/27/2013   AEG    Review approximately 300 documents to make              L140     5.00 hrs
                    sure they were properly coded and inserted
                    symbols next to the names of ResCap attorneys,
                    Ally attorneys and third-party recipients. (Privilege
                    Withheld Log 132-133-CG (0034785))
02/28/2013   AMP    Further attention to project for supplementation of     L320     1.70 hrs
                    31 more basic privilege logs with symbols
                    denoting company affiliation.
02/28/2013   AMP    Attention to reviewing and responding to questions      L320     1.80 hrs
                    from privilege team members as they perform their
                    assignments.
02/28/2013   AMP    Attention to supplementing and editing my               L320     1.90 hrs
                    assigned privilege logs for production 116/117.

02/28/2013   AMP    Attention to reviewing production 125/126 to            L320     0.70 hrs
                    determine whether supplementation necessary.

02/28/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)            L230     0.30 hrs
                    regarding whether privilege logs came up at today's
                    hearing.
02/28/2013   JAL    Review Mr. Grey's documents to prepare for              L120     7.30 hrs
                    interview (1.5). Review and redraft Mr. Grey's
                    interview outline (.50). Conference with Morrison
                    Foerster lawyers and Mr. Grey to prepare for
                    interview (4.0). Review and respond to e-mails
                    regarding interview schedule and interview
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                    summaries (.20). Review Mr. Blitzer's outline
                    (.50). Review examiner topic list for Mr. Grey
                    (.10). Review Mr. Bricker's materials (.50).
02/28/2013   VLS    E-mail exchange with Ms. Battle, Mr. Barthel and       L320     0.20 hrs
                    Ms. Marty regarding documents produced in
                    MBIA v. RFC for custodian Mr. Scholtz.
02/28/2013   VLS    Multiple e-mails to Ms. Battle and Ms. Marty           L320     0.40 hrs
                    regarding assembly and production of Scholtz
                    e-mails.
02/28/2013   VLS    Multiple e-mail exchanges with Mr. Gerdts at           L320     0.80 hrs
                    Kroll regarding assembly and production of Mr.
                    Scholtz e-mails to examiner.
02/28/2013   VLS    Telephone conference with Mr. Gerts at Kroll           L320     0.40 hrs
                    regarding production of Scholtz e-mails.

02/28/2013   VLS    Research Discovery Partner database and                L320     1.60 hrs
                    preparation of cross reference chart of seller files
                    added to database.
02/28/2013   JES    Finalize and circulate Blitzer Examiner preparation    L120     4.20 hrs
                    outline. (3.70) Meet with Ms. Battle regarding
                    same. (.50)
02/28/2013   JES    Draft Blitzer deposition summary.                      L335     3.40 hrs


02/28/2013   JES    Draft Bricker deposition summary.                      L120     2.00 hrs


02/28/2013   RBS    Upload Mr. Bricker interview preparation kit to        L310     0.60 hrs
                    Sharepoint for Mr. Sechler.

02/28/2013   RBS    Upload Mr. Blitzer interview preparation kit to        L310     0.40 hrs
                    Sharepoint for Mr. Sechler.

02/28/2013   RBS    Prepare alphabetical and chronological                 L310     0.20 hrs
                    spreadsheets of examiner exhibits to distribute.

02/28/2013   JALB   Revise chart of open document production items.        L320     0.80 hrs


02/28/2013   JALB   Follow-up on collection and production of              L320     0.60 hrs
                    securitization-related documents.

02/28/2013   JALB   Coordination with Ms. Levitt and Mr. Brown             L120     0.30 hrs
                    (Morrison & Foerster) to prepare responses to
                    Examiner regarding availability of e-mail and other
                    newly requested documents.
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02/28/2013   JALB   Telephone conference with Ms. Miller and Mr.          L120     0.30 hrs
                    Child (both Chadbourne) regarding collection and
                    production of Scholtz e-mail.
02/28/2013   JALB   Follow-up discussion with Ms. Marty and Ms.           L120     0.20 hrs
                    Levitt (Morrison & Foerster) regarding next steps
                    to produce categories of Scholtz e-mails.
02/28/2013   JALB   Meet with Mr. Sechler and provide supporting          L120     0.40 hrs
                    documentation for potential use in Mr. Blitzer's
                    preparation.
02/28/2013   JALB   Discussion with Ms. Marty and others at Carpenter     L120     0.20 hrs
                    Lipps & Leland regarding staffing for privilege log
                    project.
02/28/2013   JALB   Research and respond to questions from Ms. Miller     L120     0.20 hrs
                    (Chadbourne) regarding volume and timing of
                    Scholtz e-mail.
02/28/2013   JALB   Review (.30) and provide comments to Mr.              L120     0.60 hrs
                    Corcoran on draft memorandum of Ms Lundsten's
                    interview. (.30)
02/28/2013   DJB    Perform quality check of documents in batch           L120     3.90 hrs
                    140-141 withheld from production to the Examiner
                    on the basis of attorney-client privilege, attorney
                    work product, joint defenses, or common interest
                    to assist Morrison and Foerster with productions to
                    the Examiner.
02/28/2013   DJB    Format privilege law, indicating specific reasons     L120     3.80 hrs
                    why documents in batch 140-141 withheld from
                    production to the Examiner are protected by
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest, and identify
                    affiliation of individuals appearing on e-mails to
                    assist Morrison and Foerster with productions to
                    the Examiner.
02/28/2013   DAB    Revise Mr. Pohl's interview memorandum.               L330     4.30 hrs


02/28/2013   JRC    Conference with Ms. Battle regarding clawback of      L120     0.10 hrs
                    documents produced to the bankruptcy examiner.

02/28/2013   JRC    Conference with Ms. Battle regarding interview        L120     0.10 hrs
                    preparation materials for Mr. Scholtz.

02/28/2013   JRC    Review documents in Discovery Partner in order to     L320     0.40 hrs
                    identify documents for a clawback request from the
                    bankruptcy examiner.
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02/28/2013   JRC    Conference with Ms. Battle regarding interview       L120     0.20 hrs
                    preparation materials for Mr. Scholtz.

02/28/2013   JRC    Revise memorandum analyzing examiner's               L420     0.70 hrs
                    interview of Ms. Lundsten based on suggestions of
                    Ms. Battle.
02/28/2013   JRC    Review and analyze documents in Discovery            L320     3.20 hrs
                    Partner in order to prepare examiner interview
                    materials for Mr. Scholtz.
02/28/2013   JRC    Draft examiner interview memorandum for Mr.          L210     3.20 hrs
                    Scholtz.

02/28/2013   JRC    Conference with Mr. Beck regarding interview         L210     0.20 hrs
                    preparation materials for Mr. Scholtz.

02/28/2013   GNM    Meeting with Ms. Battle regarding staffing. (.30)    L120     0.60 hrs
                    Discuss production of Scholtz e-mails with Ms.
                    Levitt (Morrison & Foerster) and Ms. Battle. (.20)
                    Investigate status of Scholtz e-mails. (.20)
02/28/2013   GNM    E-mail communications with Ms. Gardiner              L120     0.30 hrs
                    (Schulte) regarding Cerberus clawback.

02/28/2013   GNM    Generating privilege logs for Phase 3 material.      L320     2.10 hrs


02/28/2013   GNM    Editing and formatting privilege logs for Phase 3    L320     1.50 hrs
                    material.

02/28/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.80 hrs
                    & Foerster) regarding outstanding Examiner
                    requests.
02/28/2013   GNM    E-mail communications with Mr. Corcoran              L120     0.20 hrs
                    regarding items to be clawed back.

02/28/2013   GNM    Editing and updating the outstanding items           L320     1.70 hrs
                    tracking sheet in preparation for call with
                    Chadbourne regarding outstanding Examiner
                    requests.
02/28/2013   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.10 hrs
                    regarding delivery of productions.

02/28/2013   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.10 hrs
                    regarding Cerberus data.

02/28/2013   GNM    Drafting and sending e-mail communications to        L120     0.70 hrs
                    Ms. Tice (Morrison & Foerster) releasing Phase 3
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                    material productions to be sent to Chadbourne.
02/28/2013   GNM    Telephone communications with Ms. Gulley (DTI)             L120         0.70 hrs
                    regarding privilege log reports errors.

02/28/2013   GNM    E-mail communications with Ms. Gulley (DTI)                L120         0.40 hrs
                    regarding privilege log report errors.

02/28/2013   GNM    Meeting with Ms. Sholl regarding privilege log             L120         0.50 hrs
                    report errors.

02/28/2013   GNM    Telephone communications with Ms. Sholl                    L120         0.20 hrs
                    regarding list of Phase 3 items to be clawed back.

02/28/2013   SCM    First-round review of privilege log, Hamzehpour            L320         3.80 hrs
                    section 122-23, part 8 of 8.

02/28/2013   MJB    Complete revision of privilege log 134-135 prior to        L320         3.10 hrs
                    production.

02/28/2013   HLB    Review and edits of privilege log for proper               L120         2.70 hrs
                    privilege coding per quality control examiner
                    protocol. Review of batch 127/128, documents
                    fully withheld.
02/28/2013   AEG    Review approximately 250 documents to make                 L140         4.00 hrs
                    sure they were properly coded and inserted
                    symbols next to the names of ResCap attorneys,
                    Ally attorneys and third-party recipients. (
                    Privilege Withheld Log 132-133-CG (0034785) )


                    TOTAL FEES FOR THIS MATTER                                           $368,232.00

EXPENSES

02/01/2013          Litigation Support Vendors - Lumen Legal (services for 01/14/12         $55,426.5
                    to 01/27/12) (724.43 hrs X $ 34.00 = $ 24,630.62 / 384.58 hrs X                 6
                    $ 38.00 = $ 14,614.04 / 462.34 hrs X $ 35.00 = $ 16,181.90)

02/01/2013          Litigation Support Vendors - Lumen Legal (services for 1/14/13          $21,749.3
                    to 1/27/13) (621.41 hrs X $ 35.00 = $ 21,749.35)                                5

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Airfare (coach)             $587.70
                    - travel to New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Lunch (1/27) -                    $1.80
                    travel to New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Dinner (1/27) -                  $20.00
                    travel to New York for examiner interviews
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02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Dinner (1/28) -                    $20.00
                    travel to New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Dinner (1/29) -                    $20.00
                    travel to New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Dinner (1/30) -                    $20.00
                    travel to New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Dinner (1/31) -                    $20.00
                    travel to New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Hotel - travel to            $1,908.14
                    New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Mileage to/from                     $6.78
                    Airport (12 miles X .565) - travel to New York for examiner
                    interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Parking @ Port                     $80.00
                    Columbus - travel to New York for examiner interviews

02/02/2013          (TRIP-JAL-1/27/13-2/2/13) Out-of-Town Travel/Taxi from                          $50.92
                    airport to downtown - travel to New York for examiner
                    interviews

02/04/2013          Outside Copying - convert to PDF, scan color images and                         $71.58
                    original CD set by ProFile Discovery

02/04/2013          Delivery Service/Messengers - Federal Express Janis Pendleton                   $19.03
                    from Ms. Sholl

02/07/2013          Litigation Support Vendors - Robert Half International (Services          $67,023.7
                    for 1/4/13 to 2/1/13) (2018.83 hrs X $ 31.10 = $62,785.59 + tax $                 3
                    4,238.14 = $ 67,023.73)

02/13/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                      $31.69

02/18/2013          Outside Copying - blowback of documents, board minutes and                $2,795.62
                    materials by ProFile Discovery

02/19/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                 $161.10
                    from Mr. Lipps

02/20/2013          Delivery Service/Messengers - Federal Express to Ms. Tice from                  $16.67
                    Ms. Sholl

02/20/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Fax - travel to New                    $10.34
                    York City for examiner investigation

02/20/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Fax during - travel                    $10.89
                    to New York City for examiner investigation
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02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Taxi from airport                   $50.00
                    to hotel- travel to Minneapolis, MN for preparation of examiner
                    interview with Ms. Lundsten and attendance at interviews

02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Lunch 2/19/13 -                       $7.36
                    travel to Minneapolis, MN to prepare witness for interview with
                    bankruptcy examiner

02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Breakfast 2/20/13 -                  $20.00
                    travel to Minneapolis, MN to prepare witness for interview with
                    bankruptcy examiner

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Breakfast 2/19/13                    $5.34
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Ms. Lundsten and attendance at interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Lunch 2/19/13 -                      $3.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Ms. Lundsten and attendance at interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Dinner 2/19/13 -                    $20.00
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Ms. Lundsten and attendance at interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Breakfast 2/20/13                    $3.22
                    - travel to Minneapolis, MN for preparation of examiner
                    interview with Ms. Lundsten and attendance at interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Dinner 2/20/13                      $40.00
                    for JALB and JRC - travel to Minneapolis, MN for preparation of
                    examiner interview with Ms. Lundsten and attendance at
                    interviews

02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Airfare (coach) -              $1,299.80
                    travel to Minneapolis, MN to prepare witness for interview with
                    bankruptcy examiner

02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Baggage - travel to                  $25.00
                    Minneapolis, MN to prepare witness for interview with
                    bankruptcy examiner

02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Baggage - travel to                  $25.00
                    Minneapolis, MN to prepare witness for interview with
                    bankruptcy examiner

02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Hotel - travel to               $253.97
                    Minneapolis, MN to prepare witness for interview with
                    bankruptcy examiner

02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to Minneapolis, MN to prepare witness for
                    interview with bankruptcy examiner
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02/20/2013          (TRIP-JRC-2/19-20/13) Out-of-Town Travel/Mileage (16 miles                     $9.04
                    X .5655) to/from Port Columbus - travel to Minneapolis, MN to
                    prepare witness for interview with bankruptcy examiner

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Airfare (coach) -             $1,279.80
                    travel to Minneapolis, MN for preparation of examiner interview
                    with Ms. Lundsten and attendance at interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Baggage - travel                    $25.00
                    to Minneapolis, MN for preparation of examiner interview with
                    Ms. Lundsten and attendance at interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Hotel - travel to              $259.68
                    Minneapolis, MN for preparation of examiner interview with Ms.
                    Lundsten and attendance at interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Parking @ Port                      $34.00
                    Columbus - travel to Minneapolis, MN for preparation of
                    examiner interview with Ms. Lundsten and attendance at
                    interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Conference                     $523.99
                    Room/Marriott - travel to Minneapolis, MN for preparation of
                    examiner interview with Ms. Lundsten and attendance at
                    interviews

02/20/2013          (TRIP-JALB-2/19-20/13) Out-of-Town Travel/Conference                     $751.25
                    Room/Marriott - travel to Minneapolis, MN for preparation of
                    examiner interview with Ms. Lundsten and attendance at
                    interviews

02/22/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                    $46.39
                    from Mr. Lipps

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Taxi from airport to                 $52.25
                    downtown - travel to New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Lunch 2/20/13 -                      $20.00
                    travel to New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Dinner 2/20/13 -                     $20.00
                    travel to New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Dinner 2/21/13 -                     $20.00
                    travel to New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Dinner 2/22/13 -                     $20.00
                    travel to New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Taxi from                            $51.00
                    downtown to airport- travel to New York City for examiner
                    investigation
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02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Airfare (coach) -             $1,140.40
                    travel to New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Hotel - travel to              $879.62
                    New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Parking @ Port                      $80.00
                    Columbus - travel to New York City for examiner investigation

02/22/2013          (TRIP-JAL-2/20-22/13) Out-of-Town Travel/Mileage (12 miles                    $6.78
                    X .565) to/from Port Columbus - travel to New York City for
                    examiner investigation

02/24/2013          Litigation Support Vendors - Lumen Legal (services for 2/11/13         $13,211.0
                    to 2/24/13) 347.66 hrs X $ 38.00 = $13,3211.08                                 8

02/24/2013          Litigation Support Vendors - Lumen Legal (services for 1/28/13         $13,395.7
                    to 2/10/13) 352.52 hrs X $ 38.00 = $13,395.76                                  6

02/25/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps              $201.41

02/25/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps              $201.41

02/25/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps              $181.61

02/26/2013          (TRIP-JALB-2/25-26/13) Out-of-Town Travel/Airfare (coach) -            $1,144.00
                    travel to New York for examiner meetings

02/26/2013          (TRIP-JALB-2/25-26/13) Out-of-Town Travel/Hotel - travel to             $392.51
                    New York for examiner meetings

02/26/2013          (TRIP-JALB-2/25-26/13) Out-of-Town Travel/Lunch 2/25/13 -                     $6.75
                    travel to New York for examiner meetings

02/26/2013          (TRIP-JALB-2/25-26/13) Out-of-Town Travel/Breakfast 2/26/13                  $20.00
                    - travel to New York for examiner meetings

02/26/2013          (TRIP-JALB-2/25-26/13) Out-of-Town Travel/Parking @ Port                     $33.00
                    Columbus - travel to New York for examiner meetings

02/26/2013          (TRIP-JALB-2/25-26/13) Out-of-Town Travel/Telephone/Fax @                    $18.45
                    hotel - travel to New York for examiner meetings

02/27/2013          Delivery Service/Messengers - Federal Express to Mr. Walsh,                  $25.41
                    GMAC from Mr. Barthel

02/27/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $91.94

02/27/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $94.28

02/27/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $85.07

02/27/2013          Delivery Service/Messengers - Federal Express to Mr. Day                     $69.80

02/27/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $67.83
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02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Taxi from airport                    $42.30
                    to downtown- travel to New York for witness preparation

02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Taxi from                            $34.30
                    downtown to airport- travel to New York for witness preparation

02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Breakfast 2/26/13                     $4.23
                    - travel to New York for witness preparation

02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Dinner 2/26/13 -                      $5.44
                    travel to New York for witness preparation

02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Snack 2/27/13 -                       $5.42
                    travel to New York for witness preparation

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Airfare (coach) -              $1,239.00
                    travel to New York for interview of Mr. Pohl and examiner
                    meetings

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Hotel - travel to               $842.38
                    New York for interview of Mr. Pohl and examiner meetings

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Breakfast 2/26/13 -                   $6.15
                    travel to New York for interview of Mr. Pohl and examiner
                    meetings

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Breakfast 2/27/13 -                   $6.40
                    travel to New York for interview of Mr. Pohl and examiner
                    meetings

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Parking @ Port                       $34.00
                    Columbus - travel to New York for interview of Mr. Pohl and
                    examiner meetings

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Misc/Fax - travel                    $21.72
                    to New York for interview of Mr. Pohl and examiner meetings

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Taxi from airport                    $59.79
                    to downtown - travel to New York for interview of Mr. Pohl and
                    examiner meetings

02/27/2013          (TRIP-DAB-2/25-27/13) Out-of-Town Travel/Taxi from                            $50.00
                    downtown to airport - travel to New York for interview of Mr.
                    Pohl and examiner meetings

02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Hotel - travel to               $403.98
                    New York for witness preparation

02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Airfare (coach) -              $1,229.80
                    travel to New York for witness preparation

02/27/2013          (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Parking @ Port                       $18.92
                    Columbus - travel to New York for witness preparation
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02/27/2013            (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Misc/Tips - travel                    $8.00
                      to New York for witness preparation

02/27/2013            (TRIP-MMM-2/26-27/13) Out-of-Town Travel/Misc/Tips - travel                    $6.00
                      to New York for witness preparation

02/27/2013            (TRIP-MMM-2/26-27/13) Out-of-Town Travel/WiFi Service                         $16.95
                      (Hotel) - travel to New York for witness preparation

02/27/2013            (TRIP-MMM-2/26-27/13) Out-of-Town Travel/WiFi Service                          $7.95
                      (LaGuardia)- travel to New York for witness preparation

02/27/2013            (TRIP-MMM-2/26-27/13) Out-of-Town Travel/WiFi Service                          $5.95
                      (inflight) - travel to New York for witness preparation

02/28/2013            Litigation Support Vendors - Lumen Legal (services for 10/22/12         $38,240.7
                      to 11/04/12) (1086.08 hrs X $ 34.00 = $ 36,926.72 / 34.58 hrs X                 6
                      $ 38.00 = $ 1,314.04)

02/28/2013            Litigation Support Vendors - Lumen Legal (services for 11/05/12         $39,115.9
                      to 11/18/12) (947.85 hrs X $ 34.00 = $ 32,226.90 / 181.29 hrs X                 2
                      $ 38.00 = $ 6,889.02)

02/28/2013            Litigation Support Vendors - Lumen Legal (services for 11/05/12         $80,892.0
                      to 11/18/12) (2311.20 hrs X $ 35.00 = $ 80,892.00)                              0

02/28/2013            Litigation Support Vendors - Lumen Legal (services for 10/22/12         $103,100.
                      to 11/04/12) (2945.72 hrs X $ 35.00 = $ 103,100.20)                            20

02/28/2013            Litigation Support Vendors - Lumen Legal (services for 2/25/13          $6,025.66
                      to 3/10/13) (158.57 hrs X $ 38.00 = $ 6,025.66)

                      TOTAL EXPENSES FOR THIS MATTER                                       $457,721.32


BILLING SUMMARY


         Winkler, A. Benjamin                      56.10 hrs   220.00 /hr       $12,342.00


         George, Amanda E.                         66.00 hrs   160.00 /hr       $10,560.00


         Molnar, Anthony J.                        51.40 hrs   210.00 /hr       $10,794.00


         Paul, Angela M.                         165.00 hrs    275.00 /hr       $45,375.00


         Beck, David A.                            71.80 hrs   280.00 /hr       $20,104.00
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      Barthel, David J.                     64.30 hrs   210.00 /hr    $13,503.00


      Marty, Gretchen N.                   170.70 hrs   175.00 /hr    $29,872.50


      Buchanan, Heather L.                  98.10 hrs   240.00 /hr    $23,544.00


      Lipps, Jeffrey A.                    112.40 hrs   400.00 /hr    $44,960.00


      Battle, Jennifer A.L.                101.50 hrs   300.00 /hr    $30,450.00


      Rhode, Jacob D.                       47.50 hrs   160.00 /hr     $7,600.00


      Sechler, Joel E.                     116.60 hrs   220.00 /hr    $25,652.00


      Corcoran, Jeffrey R.                 160.30 hrs   180.00 /hr    $28,854.00


      Wolf Sabatino , Lynanne                8.50 hrs   180.00 /hr     $1,530.00


      Boyle, Michael J.                     40.30 hrs   180.00 /hr     $7,254.00


      Mohler, Mallory M.                   103.60 hrs   160.00 /hr    $16,576.00


      Beekhuizen, Michael N.                 0.60 hrs   280.00 /hr        $168.00


      Samson, Robert B.                     17.40 hrs   100.00 /hr     $1,740.00


      Moeller, Steven C.                    76.50 hrs   225.00 /hr    $17,212.50


      Phillips, Segev                       11.30 hrs   220.00 /hr     $2,486.00


      Ibom, Tyler K.                        58.50 hrs   150.00 /hr     $8,775.00


      Sholl, Veronica L.                    88.80 hrs   100.00 /hr     $8,880.00



   TOTAL FEES                             1687.20 hrs                $368,232.00
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   TOTAL EXPENSES                                                $457,721.32

   TOTAL CHARGES FOR THIS INVOICE                                $825,953.32
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        MARCH
       INVOICES
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                              Monthly Invoices Pg 481 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           April 23, 2013

                                                                   Billed through 03/31/2013
Tammy Hamzephour                                                   Invoice # 53926      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01029
190-FTW-L95
Fort Washington, PA 19034

Re: Lamar Bridges
Matter No.: 705862

PROFESSIONAL SERVICES

03/29/2013   DAW       Review e-mail from foreclosure counsel regarding            L120        0.10 hrs
                       letter from defendant's former attorney.

03/29/2013   DAW       Review opposition from defendant's former                   L120        0.10 hrs
                       attorney regarding reactivation.

03/29/2013   DAW       Draft e-mail to foreclosure counsel regarding               L120        0.20 hrs
                       strategy.

03/29/2013   DAW       Telephone conference with Ms. Ho (Ocwen                     L120        0.20 hrs
                       Financial Corporation) regarding case issues.



                       TOTAL FEES FOR THIS MATTER                                               $180.00


BILLING SUMMARY


         Wallace, David A.                            0.60 hrs    300.00 /hr         $180.00



     TOTAL FEES                                       0.60 hrs                      $180.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $180.00
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                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           April 23, 2013

                                                                    Billed through 03/31/2013
Tammy Hamzephour                                                    Invoice # 53927      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01041
190-FTW-L95
Fort Washington, PA 19034

Re: Patricia Joanne McNerney


PROFESSIONAL SERVICES

03/01/2013   DAW       Review e-mail and proofs of claim filed by Ms.               L120        0.20 hrs
                       McNerney and Susan Gray in Residential Financial
                       Corporation bankruptcy.
03/04/2013   DAW       Review e-mail from Ms. McGinnis (Ocwen                       L120        0.10 hrs
                       Financial Corporation) regarding AG letter, and
                       extinguishment agreement.
03/04/2013   DAW       Review e-mail from Ms. Gierlich (Ocwen                       L120        0.10 hrs
                       Financial Corporation) regarding AG letter, and
                       extinguished agreement.
03/04/2013   DAW       Revise extinguishment letter, and proposed                   L120        0.50 hrs
                       agreement.

03/04/2013   KMC       Review Attorney General letter.                              L110        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                                $290.00


BILLING SUMMARY


          Wallace, David A.                          0.90 hrs    300.00 /hr           $270.00


          Cadieux, Karen M.                          0.10 hrs    200.00 /hr            $20.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
096 01041                 Monthly Invoices Pg 484 of 701
                                                      Invoice # 53927         Page 2



   TOTAL FEES                              1.00 hrs                     $290.00

   TOTAL CHARGES FOR THIS INVOICE                                       $290.00
       12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                Exhibit E
                               Monthly Invoices Pg 485 of 701
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                                April 23, 2013

                                                                       Billed through 03/31/2013
Tammy Hamzephour                                                       Invoice # 53929      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01226
190-FTW-L95
Fort Washington, PA 19034

Re: Amy Jo Abner, et al.
    Matter No.: 733680

PROFESSIONAL SERVICES

03/05/2013    DAW          Conference with Ms. Cadieux regarding case                  L120        0.10 hrs
                           status.

03/06/2013    DAW          Conference with Ms. Cadieux regarding status of             L120        0.20 hrs
                           Homecomings' lien.

03/14/2013    DAW          Review and revise disclaimer of interest.                   L210        0.10 hrs


03/14/2013    DAW          Review and revise notice of bankruptcy stay.                L210        0.10 hrs


03/16/2013    DAW          Revise correspondence regarding case status.                L120        0.40 hrs




                           TOTAL FEES FOR THIS MATTER                                               $270.00


BILLING SUMMARY


          Wallace, David A.                               0.90 hrs     300.00 /hr        $270.00



      TOTAL FEES                                          0.90 hrs                      $270.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
096 01226                 Monthly Invoices Pg 486 of 701
                                                      Invoice # 53929         Page 2


   TOTAL CHARGES FOR THIS INVOICE                                       $270.00
      12-12020-mg       Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                Monthly Invoices Pg 487 of 701
                             CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              April 23, 2013

                                                                      Billed through 03/31/2013
Tammy Hamzephour                                                      Invoice # 53928      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01127
190-FTW-L95
Fort Washington, PA 19034

Re: Rebecca L. Folden


PROFESSIONAL SERVICES

03/14/2013   JES         Review plaintiff's status report and draft e-mail to         L120        0.60 hrs
                         Ms. Priore (GMAC) regarding potential strategic
                         response.


                         TOTAL FEES FOR THIS MATTER                                                $132.00


BILLING SUMMARY


          Sechler, Joel E.                               0.60 hrs     220.00 /hr        $132.00



     TOTAL FEES                                          0.60 hrs                      $132.00

     TOTAL CHARGES FOR THIS INVOICE                                                    $132.00
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                              Monthly Invoices Pg 488 of 701
                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                            April 23, 2013

                                                                   Billed through 03/31/2013
Tammy Hamzephour                                                   Invoice # 53930      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00053
190-FTW-L95
Fort Washington, PA 19034

Re: Administrative


PROFESSIONAL SERVICES

03/06/2013   DAB       Draft second interim fee application.                       L120        2.60 hrs


03/08/2013   DAB       Conference with Ms. Perkins regarding exhibits to           L120        0.20 hrs
                       fee application.

03/10/2013   DAB       Draft second interim fee application.                       L120        1.90 hrs


03/11/2013   DAB       Communicate with Ms. Marty regarding                        L120        0.10 hrs
                       information on document productions needed for
                       fee application.
03/11/2013   DAB       Communicate with Ms. Perkins regarding exhibits             L120        0.10 hrs
                       to fee application.

03/11/2013   DAB       Review and comment on exhibits to fee                       L120        0.80 hrs
                       application.

03/11/2013   DAB       Draft and revise second interim fee application.            L120        3.40 hrs


03/12/2013   DAB       Draft and revise second interim fee application.            L120        2.00 hrs


03/13/2013   DAB       Revise Second Interim fee Application.                      L120        0.70 hrs
      12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
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03/14/2013   DAB      Revise second interim fee application.                       L120        2.30 hrs


03/19/2013   DAB      Draft supplemental disclosure of Carpenter Lipps             L120        0.40 hrs
                      & Leland.

03/20/2013   DAB      Revise supplemental disclosure.                              L120        0.20 hrs


03/21/2013   DAB      Finalize supplemental conflicts disclosure.                  L120        0.20 hrs




                      TOTAL FEES FOR THIS MATTER                                               $4,172.00

EXPENSES

03/14/2013            Delivery Service/Messengers - Federal Express to Mr. Small                   $68.44
                      from Mr. Beck

03/20/2013            Delivery Service/Messengers - Federal Express to Mr. Eckstein                $34.72

03/20/2013            Delivery Service/Messengers - Federal Express to Mr. Ziman                   $34.72

03/20/2013            Delivery Service/Messengers - Federal Express to Ms. Davis                   $34.72

03/20/2013            Delivery Service/Messengers - Federal Express to Mr. Cieri                   $34.72

03/20/2013            Delivery Service/Messengers - Federal Express to Mr. Lee                     $34.72

                      TOTAL EXPENSES FOR THIS MATTER                                            $242.04


BILLING SUMMARY


         Beck, David A.                             14.90 hrs       280.00 /hr     $4,172.00



     TOTAL FEES                                     14.90 hrs                      $4,172.00

     TOTAL EXPENSES                                                                 $242.04

     TOTAL CHARGES FOR THIS INVOICE                                                $4,414.04
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                                Monthly Invoices Pg 490 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                             April 23, 2013

                                                                      Billed through 03/31/2013
Tammy Hamzephour                                                      Invoice # 53931      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

03/01/2013   GNM        E-mail communications with Mr. Breyer                         L120        0.10 hrs
                        (NightOwl) regarding new data for review.

03/01/2013   GNM        Drafting review protocol for new SEC data.                    L320        1.20 hrs


03/01/2013   GNM        E-mail communications with Ms. Serfoss                        L120        0.10 hrs
                        (Morrison & Foerster) regarding review of
                        Wold/Lundsten data.
03/01/2013   GNM        Training reviewers on the new SEC review                      L320        1.10 hrs
                        protocol.

03/01/2013   GNM        Conduct training for new reviewers on reviewing               L320        0.50 hrs
                        documents using Relativity.

03/04/2013   JAL        Review report on Mr. Flees' testimony before SEC              L120        0.50 hrs
                        (.40). Conference with Ms. Battle regarding same
                        (.10).
03/04/2013   JALB       Draft memorandum to file regarding status of                  L120        0.20 hrs
                        investigation.

03/04/2013   JALB       Meet with Ms. Marty regarding staffing for and                L120        0.30 hrs
                        coordination of document production to SEC.

03/04/2013   JALB       Participate in client call with Mr. Hoffman                   L120        0.50 hrs
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
  932 00054                    Monthly Invoices Pg 491 of 701
                                                           Invoice # 53931                   Page 2
                        (Morrison & Foerster), Mr. Thompson (Residential
                        Capital), Mr. Underhill (Residential Capital), Ms.
                        Zellmann (Residential Capital) regarding status of
                        SEC investigation.
03/04/2013   GNM        Telephone communications with Ms. Serfoss                 L120         0.40 hrs
                        (Morrison & Foerster) regarding Mr. Wold/ Ms.
                        Lundsten's data.
03/05/2013   GNM        E-mail communications with Mr. Hoelzel                    L120         0.30 hrs
                        (Contract Reviewer) regarding SEC quality control
                        of Jones data.
03/06/2013   GNM        Telephone communications with Ms. Searls                  L120         0.40 hrs
                        (Contract Reviewer) regarding SEC quality control
                        review of production.
03/07/2013   GNM        E-mail communications with Ms. Serfoss                    L120         0.20 hrs
                        (Morrison & Foerster) regarding review of Mr.
                        Wold/Ms. Lundsten's data.
03/18/2013   JALB       Participate in client/team call (Mr. Thompson             L120         0.50 hrs
                        (Residential Capital), Mr. Hoffman (Morrison &
                        Foerster), and others regarding data for SEC.
03/19/2013   JALB       Follow-up call with Mr. Smith, Mr. Underhill, Mr.         L120         0.60 hrs
                        Cancelliere (all Residential Capital) and Mr.
                        Hoffman (Morrison & Foerster) regarding
                        collection of data for SEC subpoena response.
03/25/2013   JALB       Weekly client call regarding status of SEC                L120         0.50 hrs
                        subpoena.



                        TOTAL FEES FOR THIS MATTER                                             $1,732.50

EXPENSES

03/28/2013              Delivery Service/Messengers - Federal Express to Mr. O'Connor,               $4.81
                        Lumen Legal

                        TOTAL EXPENSES FOR THIS MATTER                                               $4.81


BILLING SUMMARY


         Marty, Gretchen N.                           4.30 hrs       175.00 /hr     $752.50


         Lipps, Jeffrey A.                            0.50 hrs       400.00 /hr     $200.00


         Battle, Jennifer A.L.                        2.60 hrs       300.00 /hr     $780.00
    12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit E
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                                                      Invoice # 53931       Page 3



   TOTAL FEES                              7.40 hrs                $1,732.50

   TOTAL EXPENSES                                                       $4.81

   TOTAL CHARGES FOR THIS INVOICE                                  $1,737.31
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 493 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           April 23, 2013

                                                                  Billed through 03/31/2013
Tammy Hamzephour                                                  Invoice # 53932      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00057
190-FTW-L95
Fort Washington, PA 19034

Re: RMBS Trust Settlement
Matter No.: 721750

PROFESSIONAL SERVICES

03/01/2013   JALB      Correspondence regarding new schedule for                  L120        0.10 hrs
                       RMBS trial.

03/06/2013   DAB       Call with Ms. Patrick, Mr. Sheeran, Mr. Madden             L120        0.50 hrs
                       (Gibbs & Bruns) Mr. Kruger (chief restructuring
                       officer), Mr. Princi, Mr. Alexander (Morrison &
                       Foerster) and Mr. Lipps regarding treatment of
                       monoline claims under RMBS settlement.
03/07/2013   JAL       Review prior statements regarding scope of release         L120        0.50 hrs
                       in 9019 settlement (.20). Conference with Mr.
                       Beck regarding same (.10). Review and respond to
                       e-mails regarding meet and confer on scope of
                       9019 release (.20).
03/07/2013   JALB      Weekly client update call regarding status of              L120        0.20 hrs
                       monoline and other claims (with Mr. Thompson,
                       Mr. Ruckdaschel, Mr. Underhill, Ms. Zellmann
                       and others from Residential Capital).
03/07/2013   JALB      Discussion with Mr. Lipps of roles and                     L120        0.20 hrs
                       responsibilities for upcoming examiner interviews.

03/07/2013   DAB       Call with Mr. Lawrence and Ms. Beck (Morrison              L120        0.30 hrs
                       & Foerster) regarding meet and confer on RMBS
                       trust settlement.
03/07/2013   DAB       E-mail Mr. Lipps regarding RMBS meet and                   L120        0.20 hrs
                       confer.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00057                 Monthly Invoices Pg 494 of 701
                                                        Invoice # 53932          Page 2

03/08/2013   JAL    Conference call with Mr. Princi, Mr. Kruger           L120     1.00 hrs
                    (CRO) and Mr. Beck regarding scope of 9019
                    release (.20) Conference call with Mr. Princi,
                    CRO and Ms. Patrick (Gibbs & Bruns) regarding
                    same (.50). Review e-mails regarding meet and
                    confer schedule (.30).
03/08/2013   DAB    Call with Mr. Kruger (chief restructuring officer),   L120     0.70 hrs
                    Mr. Princi, Mr. Alexander (Morrison & Foerster)
                    and Mr. Lipps regarding treatment of monoline
                    claims under RMBS settlement. (.20) Conference
                    call with Mr. Princi, Mr. Kruger, Mr. Alexander
                    and Ms. Patrick (Gibbs & Bruns) regarding same.
                    (.50)
03/08/2013   DAB    Analyze deal document provisions on wrapped           L120     0.70 hrs
                    deals to understand monoline rights to proceeds of
                    9019 settlement.
03/11/2013   JALB   Meet with Mr. Rhode regarding next steps on           L120     0.20 hrs
                    RMBS trial prep.

03/12/2013   JAL    Participate in conference call regarding monoline     L120     2.90 hrs
                    proposal on scope of 9019 release (.80).
                    Conference with Mr. Lawrence (Morrison &
                    Foerster) regarding same (.30). Conference with
                    Mr. Lawrence and Mr. Princi (Morrison &
                    Foerster) regarding same (.30). Review and redraft
                    stipulation on scope of 9019 release (.30).
                    Conference with Mr. Beck regarding same (.10).
03/12/2013   DAB    Participate in parts of call with counsel to          L120     0.30 hrs
                    indenture trustees, Ms. Patrick, Mr. Madden
                    (Gibbs & Bruns), Mr. Princi, Mr. Alexander
                    (Morrison & Foerster) and Mr. Lipps regarding
                    monoline issues associated with RMBS settlement.
03/12/2013   DAB    Review and comment on draft MBIA proposal to          L120     0.10 hrs
                    amend RMBS settlement release.

03/14/2013   JAL    Participate in meet and confer with monolines,        L120     1.00 hrs
                    trustees, CRO and Morrison Foerster lawyers
                    regarding scope of 9019 releases.
03/18/2013   JAL    Review and respond to e-mails regarding report on     L120     0.20 hrs
                    meet and confer process on scope of 9019 release.

03/24/2013   DAB    Communicate with Mr. Lipps regarding conference       L120     0.10 hrs
                    call with Kathy Patrick on monoline language in
                    RMBS settlement.
03/25/2013   JALB   E-mails with Mr. Rains and Ms. DeArcy (Morrison       L120     0.20 hrs
                    & Foerster), Mr. Lipps and Mr. Beck regarding
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                    status of pending 9019 motion and new stipulated
                    dates.
03/25/2013   DAB    Call with Ms. Patrick (Gibbs), Mr. Martin, Mr.             L120        0.40 hrs
                    DeVore (Ropes & Gray), Mr. Princi, Mr.
                    Alexander and Ms. Beck (Morrison & Foerster)
                    regarding monoline language in RMBS settlement
                    and meet and confer process on same.
03/25/2013   DAB    E-mails with Mr. Lipps regarding conference call           L120        0.30 hrs
                    with Ms. Patrick on monoline language and next
                    steps on release.
03/25/2013   DAB    Analyze proposed new language on RMBS                      L120        0.20 hrs
                    settlement agreement release.

03/25/2013   DAB    E-mails with Mr. Lipps regarding new language on           L120        0.30 hrs
                    release and monoline claims.



                    TOTAL FEES FOR THIS MATTER                                             $3,658.00

EXPENSES

03/12/2013          (TRIP-JAL-3/12/13) Out-of-Town Travel/Train - travel from DC            $498.00
                    to New York and back to DC for meetings regarding RMBS trust
                    settlement

03/12/2013          (TRIP-JAL-3/12/13) Out-of-Town Travel/Breakfast - travel from                $12.40
                    DC to New York and back to DC for meetings regarding RMBS
                    trust settlement

03/12/2013          (TRIP-JAL-3/12/13) Out-of-Town Travel/Lunch - travel from                    $15.62
                    DC to New York and back to DC for meetings regarding RMBS
                    trust settlement

03/12/2013          (TRIP-JAL-3/12/13) Out-of-Town Travel/Taxi to train station -                $15.00
                    travel from DC to New York and back to DC for meetings
                    regarding RMBS trust settlement

03/12/2013          (TRIP-JAL-3/12/13) Out-of-Town Travel/Taxi to hotel - travel                 $15.00
                    from DC to New York and back to DC for meetings regarding
                    RMBS trust settlement

03/28/2013          Delivery Service/Messengers - Federal Express to Mr. O'Connor,                $4.80
                    Lumen Legal

                    TOTAL EXPENSES FOR THIS MATTER                                          $560.82


BILLING SUMMARY
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                                                        Invoice # 53932         Page 4
      Beck, David A.                         4.10 hrs   280.00 /hr    $1,148.00


      Lipps, Jeffrey A.                      5.60 hrs   400.00 /hr    $2,240.00


      Battle, Jennifer A.L.                  0.90 hrs   300.00 /hr        $270.00



   TOTAL FEES                               10.60 hrs                $3,658.00

   TOTAL EXPENSES                                                         $560.82

   TOTAL CHARGES FOR THIS INVOICE                                    $4,218.82
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 497 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            April 23, 2013

                                                                   Billed through 03/31/2013
Tammy Hamzephour                                                   Invoice # 53933      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

03/01/2013    JAL       Review e-mails regarding opposition to PLS                 L120        0.30 hrs
                        investors' motion to subordinate (.10).
                        Communicate with Ms. Battle regarding same
                        (.20).
03/01/2013    JALB      Review correspondence from Mr. Sadeghi                     L120        0.10 hrs
                        (Morrison & Foerster) regarding information
                        needed for subordination motion.
03/01/2013    JALB      Prepare draft response to correspondence to Mr.            L120        0.30 hrs
                        Sadeghi (Morrison & Foerster) regarding
                        information needed for subordination motion.
03/02/2013    JAL       Review various PLS investor settlement papers              L120        0.80 hrs
                        (.50). Conference with Ms. Battle regarding same
                        (.20). Review and respond to e-mails regarding
                        same (.10).
03/02/2013    JALB      Correspondence with Mr. Sadeghi (Morrison &                L120        0.20 hrs
                        Foerster) regarding information for subordination
                        motion.
03/04/2013    JAL       Conference call with Ms. Levitt (Morrison &                L120        1.30 hrs
                        Foerster), Mr. Lasater (FTI) and Ms. Battle to
                        discuss damages in PLS claims (.50). Review Mr.
                        Lasater's conclusions report (.80).
03/04/2013    JAL       Conference call with Ms. Levitt (Morrison &                L120        1.30 hrs
                        Foerster) and Mr. Lasater (FTI) to discuss damages
                        in PLS claims (.50). Review Mr. Lasater's
                        conclusions report (.80).
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                        Invoice # 53933          Page 2

03/04/2013   JALB   Review Lasater materials on damages for securities    L120     0.20 hrs
                    claims.

03/04/2013   JALB   Telephone conference with Mr. Lipps, Ms. Levitt       L120     0.50 hrs
                    (Morrison & Foerster) and Mr. Lasater (FTI)
                    regarding damages analysis.
03/07/2013   JAL    Conference call with Ms. Levitt (Morrison &           L120     1.80 hrs
                    Foerster) and Mr. Lasater (FTI) and Ms. Battle
                    (parts) regarding damages model (1.0). Review
                    presentation slides regarding damages model
                    results (.50). Review and respond to e-mails
                    regarding Mr. Lasater's study. (.30)
03/07/2013   JALB   Participate in parts of call with Mr. Lasater (FTI)   L120     0.50 hrs
                    and Ms. Levitt (Morrison & Foerster) and Mr.
                    Lipps regarding damages analysis on investor
                    securities claims.
03/08/2013   JAL    Review and respond to e-mails regarding Mr.           L120     1.00 hrs
                    Lasater's damage analysis (.30). Conference call
                    with Mr. Lasater (FTI) and Ms. Levitt (Morrison &
                    Foerster) regarding same (.70).
03/11/2013   DAB    Analyze summary of PLS claims.                        L120     0.20 hrs


03/11/2013   DAB    E-mail Ms. Rothchild (Morrison & Foerster)            L120     0.10 hrs
                    regarding issues on summary of securities claims.

03/11/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.10 hrs
                    summary of securities claims provided by Ms.
                    Rothchild of Morrison & Foerster.
03/13/2013   JAL    Conference call with Mr. Lasater (FTI) and Ms.        L120     1.00 hrs
                    Levitt (Morrison & Foerster) regarding model for
                    PLS damages (.50). Review report materials from
                    Mr. Lasater (.40). Review and respond to e-mails
                    regarding same (.10).
03/15/2013   JAL    Conference with Ms. Battle regarding FHFA             L120     0.30 hrs
                    investigation Powerpoint (.10). Conference call
                    with client and Morrison Foerster regarding same
                    (.10). Review e-mails regarding same (.10).
03/15/2013   JALB   Research and respond to question from Mr. Haims       L120     0.20 hrs
                    (Morrison & Foerster) regarding strength of
                    potential witnesses on securities claims.
03/19/2013   JAL    Review Mr. Lasater's study results (.30). Review      L120     1.50 hrs
                    and respond to e-mails regarding same (.20).
                    Conference call with Mr. Lasater (FTI) and Ms.
                    Levitt (Morrison & Foerster) regarding study
                    results (.80). Conference with Mr. Beck regarding
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
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                    same. (.20)
03/19/2013   DAB    Research regarding history of rating changes on        L120     1.20 hrs
                    Residential Capital securities.

03/19/2013   DAB    Conference with Mr. Lipps regarding rating             L120     0.20 hrs
                    changes on Residential Capital securities and
                    Lasater study.
03/20/2013   DAB    Communicate with Mr. Lipps regarding Lasater           L120     0.30 hrs
                    analysis on securities claims.

03/20/2013   JAL    Review Mr. Lasater's report (.40). Telephone           L120     2.50 hrs
                    conference with Ms. Levitt (Morrison & Foerster)
                    regarding same (.30). Review and respond to
                    e-mails regarding same (.10). Participate on
                    conference call with Mr. Lasater (FTI) and Ms.
                    Levitt (Morrison & Foerster) regarding Mr.
                    Lasater's report (1.3). Review and redraft report to
                    Morrison Foerster lawyers on Mr. Lasater's report
                    (.40).
03/20/2013   MNB    Review and provide information to Ms. Levitt           L120     0.30 hrs
                    (Morrison & Foerster) regarding statutes of
                    limitation and repose for federal and state
                    securities claims and common law fraud claims.
03/20/2013   JALB   Assist Mr. Lipps in preparing responses to             L120     0.50 hrs
                    questions from Ms. Levitt (Morrison & Foerster)
                    regarding securities-related damages and causation
                    experts.
03/20/2013   DAB    Research New Jersey Carpenters claims.                 L120     0.40 hrs


03/20/2013   DAB    Research regarding deal referenced in Lasater          L120     0.20 hrs
                    analysis of securities claims.

03/20/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding deal         L120     0.10 hrs
                    referenced in Lasater analysis of securities claims.

03/21/2013   JAL    Review e-mails regarding statute of limitations        L120     0.30 hrs
                    analysis regarding claims (.10). Conference with
                    Mr. Beekhuizen regarding same (.20).
03/21/2013   MNB    Review claims chart information and exemplar           L120     0.70 hrs
                    proof of claims as part of analysis of statute of
                    limitations issues. (.50) Communicate with Ms.
                    Levitt (Morrison & Foerster) regarding same. (.20)
03/22/2013   JAL    Review and respond to e-mails regarding statute of     L120     0.30 hrs
                    limitation issues.
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03/22/2013   MNB      Review statute-of-limitations research and               L120        3.20 hrs
                      examplar investor proofs of claim in order to
                      analyze potential statute-of-limitations issues with
                      respect to such claims.
03/23/2013   JAL      Review and respond to e-mails regarding statute of       L120        0.30 hrs
                      limitations issues (.10). Communicate with Mr.
                      Beekhuizen regarding same (.20).
03/26/2013   JAL      Review e-mails regarding statute of limitation           L120        0.30 hrs
                      issues (.10). Conference with Mr. Beekhuizen
                      regarding same (.20).
03/28/2013   JAL      Review e-mails regarding stipulation of facts            L120        1.00 hrs
                      relating to subordination issue. (.30) Review and
                      redraft stipulation of facts. (.30) Communicate
                      with Mr. Beck regarding same. (.20) Review Mr.
                      Beck's suggested revisions. (.20)
03/28/2013   DAB      Review and comment on stipulation of facts for           L120        0.90 hrs
                      securities subordination adversary. (.70)
                      Communicate with Mr. Lipps regarding same.
                      (.20)
03/28/2013   DAB      Conference with Mr. Corcoran regarding PSA               L120        0.20 hrs
                      provisions relevant to stipulation of facts.

03/28/2013   DAB      E-mail Mr. Lipps and Ms. Battle regarding                L120        0.20 hrs
                      stipulation of facts for subordination adversary.

03/28/2013   JRC      Review documents relevant to subordination of            L120        0.70 hrs
                      securities claims in order to provide analysis for
                      Mr. Haims (Morrison and Foerster).
03/29/2013   JALB     Respond to question from Mr. Sadeghi (Morrison           L120        0.10 hrs
                      & Foerster) regarding Residential Capital retention
                      of residuals.
03/29/2013   DAB      Research regarding additional documents needed           L120        0.80 hrs
                      for securities stipulation of facts.

03/29/2013   DAB      Communicate with Mr. Ruckdaschel (Residential            L120        0.20 hrs
                      Capital) regarding transaction documents related to
                      Allstate claims.


                      TOTAL FEES FOR THIS MATTER                                           $9,110.00


BILLING SUMMARY


         Beck, David A.                               5.10 hrs    280.00 /hr   $1,428.00
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      Lipps, Jeffrey A.                     14.00 hrs   400.00 /hr    $5,600.00


      Battle, Jennifer A.L.                  2.60 hrs   300.00 /hr        $780.00


      Corcoran, Jeffrey R.                   0.70 hrs   180.00 /hr        $126.00


      Beekhuizen, Michael N.                 4.20 hrs   280.00 /hr    $1,176.00



   TOTAL FEES                               26.60 hrs                $9,110.00

   TOTAL CHARGES FOR THIS INVOICE                                    $9,110.00
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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           April 23, 2013

                                                                  Billed through 03/31/2013
Tammy Hamzephour                                                  Invoice # 53934      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

03/01/2013   JAL       Participate on parts of conference call with Ms.           L120        1.50 hrs
                       Hamzehpour, Mr. Thompson (Residential Capital,
                       Morrison Foerster team and Mr. Beck to discuss
                       strategy for addressing monoline claims (.40).
                       Telephone conference with Mr. Beck regarding
                       claims call and tasks to address monoline claims
                       (.10). Review and respond to e-mails regarding
                       same (.10). Review correspondence from MBIA's
                       counsel on production of materials covered by
                       protective order (.10). Conference with Ms. Battle
                       and Mr. Beck regarding same (.10). Review and
                       redraft MBIA claims objection introduction (.50).
                       Telephone conference with Mr. Beck regarding
                       same (.10). Review and respond to e-mails
                       regarding same (.10).
03/01/2013   JALB      Discussion with Mr. Beck regarding points to               L120        0.20 hrs
                       include in draft monoline objection memorandum.

03/01/2013   JALB      Correspondence regarding tracking of MBIA and              L120        0.20 hrs
                       FGIC deals.

03/01/2013   DAB       Revise memorandum on strategy on monoline                  L120        0.70 hrs
                       claims. (.60) Communicate with Ms. Battle
                       regarding same. (.10)
03/01/2013   DAB       Participate in call with Ms. Hamzehpour, Mr.               L120        1.30 hrs
                       Thompson (Residential Capital), Morrison &
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                    Foerster team and Mr. Lipps regarding strategy on
                    monoline and other major pending claims.
03/01/2013   DAB    Conference with Mr. Lipps regarding comments on       L120     0.20 hrs
                    monoline claims strategy memorandum.

03/01/2013   DAB    Review follow-up correspondence from MBIA on          L120     0.20 hrs
                    request to produce documents in MBIA v JP
                    Morgan.
03/01/2013   DAB    Analyze outline on Ambac sale objection response.     L120     0.20 hrs


03/01/2013   DAB    Multiple e-mails with Mr. Rosenbaum, Mr.              L120     0.60 hrs
                    Newton, Mr. Goren and Ms. Beck (Morrions &
                    Foester) regarding arguments on Ambac sale
                    objection.
03/01/2013   DAB    Draft materials for joint stipulation of facts with   L120     0.60 hrs
                    Ambac.

03/01/2013   DAB    Communicate with Mr. Rosenbaum, Ms. Beck and          L120     0.30 hrs
                    Mr. Newton (Morrison & Foerster) regarding joint
                    stipulation with Ambac.
03/01/2013   JRC    Conference with Mr. Beck regarding objections to      L210     0.10 hrs
                    the monoline proof of claims.

03/01/2013   JRC    Review documents relevant to monoline proof of        L320     0.20 hrs
                    claims in order to discuss with Mr. Beck.

03/01/2013   JRC    Conference with Mr. Beck regarding objections to      L120     0.10 hrs
                    the monoline proof of claims.

03/01/2013   JRC    Review documents relevant to monoline proof of        L120     0.20 hrs
                    claims in order to discuss with Mr. Beck.

03/04/2013   DAB    Analyze materials on repurchase history with          L120     0.40 hrs
                    FGIC.

03/05/2013   JAL    Review and redraft outline of objection to FGIC       L120     2.30 hrs
                    claims (1.3). Communicate with Mr. Beck
                    regarding revisions to same (.30). Review and
                    respond to e-mails regarding same (.20). Review
                    and respond to e-mails regarding meet and confer
                    on scope of 9019 release (.50).
03/05/2013   JALB   Review and comment on draft FGIC objection            L120     0.30 hrs
                    outline.

03/05/2013   DAB    Meet with Mr. Alexander (Morrison & Foester)          L120     0.60 hrs
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                    regarding objections to monoline claims.

03/05/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding         L120     0.30 hrs
                    draft objection to monoline claims.

03/05/2013   DAB    Review and revise draft objection to monoline           L120     7.10 hrs
                    claims.

03/05/2013   DAB    Research factual issues related to draft objection to   L120     1.80 hrs
                    monoline claims.

03/05/2013   DAB    E-mails with Mr. Cancelliere and Mr. Ruckdashel         L120     0.20 hrs
                    (Residential Capital) regarding repurchase history
                    with monolines.
03/06/2013   JAL    Review and redraft outline of objection to FGIC         L120     2.00 hrs
                    claims (1.5). Communicate with Mr. Beck
                    regarding revisions to same (.30). Review and
                    respond to e-mails regarding outstanding discovery
                    disputes with FGIC (.20).
03/06/2013   JALB   Discussion with Mr. Underhill and Mr.                   L120     0.20 hrs
                    Ruckdaschel (both Residential Capital) regarding
                    collection of FGIC repurchase data.
03/06/2013   JALB   Discussion with Mr. Ruckdaschel (Residential            L120     0.20 hrs
                    Capital) regarding servicing history on monline
                    wrapped deals.
03/06/2013   DAB    Revise objection to monoline claims.                    L120     0.80 hrs


03/06/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding         L120     0.30 hrs
                    various issues related to draft objection to
                    monoline claims.
03/06/2013   DAB    E-mails with Mr. Cancelliere (Residential Capital)      L120     0.10 hrs
                    regarding repurchase history with monolines.

03/06/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)        L120     0.10 hrs
                    regarding repurchase history with monolines.

03/06/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)        L120     0.30 hrs
                    regarding trustee and monoline remedies under
                    securitization documents.
03/06/2013   DAB    Multiple conferences with Mr. Lawrence                  L120     0.60 hrs
                    (Morrison & Foerster) regarding repurchase history
                    with monolines.
03/06/2013   DAB    Analysis materials regarding Debtors' repurchase        L120     1.00 hrs
                    history with monolines.
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03/07/2013   JALB   Telephone conference with Mr. Ruckdaschel               L120     0.10 hrs
                    regarding FGIC servicing documentation.

03/07/2013   JALB   Weekly client update call regarding status of open      L120     0.10 hrs
                    matters on monoline and other claims (with Mr.
                    Thompson, Mr. Ruckdaschel, Mr. Underhill, Ms.
                    Zellmann and others from Residential Capital).
03/07/2013   JALB   Follow-up with Mr. Underhill (Residential Capital)      L120     0.20 hrs
                    regarding migration of FGIC repurchase
                    documentation to Night Owl.
03/07/2013   DAB    E-mails with Mr. Rosenbaum and Mr. Goren                L120     0.10 hrs
                    (Morrison & Foerster) regarding negotiations with
                    Ambac on transfer of servicing to Ocwen.
03/08/2013   JAL    Review and redraft outline of objection to FGIC         L120     1.80 hrs
                    claims (1.0). Conference with Mr. Beck regarding
                    revisions to same (.30). Review recent monoline
                    decisions to evaluate viability of claims asserted by
                    MBIA/FGIC (.30). Review and respond to e-mails
                    regarding call to address scope of 9019 release as it
                    relates to monolines (.20).
03/08/2013   JALB   Telephone conference with Mr. Beck regarding            L120     0.30 hrs
                    status of FGIC objection and next steps.

03/08/2013   JALB   Review draft of FGIC objection.                         L120     0.80 hrs


03/08/2013   DAB    Conference with Mr. Lipps regarding strategy on         L120     0.40 hrs
                    monoline claims.

03/08/2013   DAB    Revise objection to FGIC claims.                        L120     4.90 hrs


03/08/2013   DAB    E-mail Mr. Lawrence (Morrison & Foerster)               L120     0.20 hrs
                    regarding comments on FGIC claim objection.

03/08/2013   DAB    E-mails with Mr. Lipps regarding objection to           L120     0.20 hrs
                    FGIC claims.

03/08/2013   DAB    Conference with Ms. Battle regarding objection to       L120     0.20 hrs
                    FGIC claims.

03/08/2013   JRC    Prepare analysis of key materials relevant to First     L120     0.80 hrs
                    Department's hearing on MBIA v. Countrywide
                    appeal.
03/09/2013   JAL    Review trustee's objection to MBIA claims (.40).        L120     0.80 hrs
                    Conference with Mr. Beck regarding objection to
                    FGIC claims (.20). Review e-mails regarding
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                    same (.20).
03/10/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)       L120     0.30 hrs
                    regarding comments on FGIC claim objection.

03/10/2013   DAB    Draft list of additional projects needing to be done   L120     0.30 hrs
                    on monolines.

03/11/2013   DAB    Research precedent materials on discovery requests     L320     0.20 hrs
                    to monolines.

03/11/2013   JALB   Follow-up e-mails and discussion with Mr.              L120     0.30 hrs
                    Corcoran regarding deposition excerpts project
                    regarding monoline claims.
03/11/2013   JALB   Prepare draft memorandum regarding discovery           L120     2.70 hrs
                    and expert issues for monoline claims.

03/11/2013   DJB    Communications with Mr. Beck and Ms. Battle            L120     0.60 hrs
                    regarding analysis of debtors' requests for
                    production to MBIA and FGIC.
03/11/2013   DAB    Conference with Ms. Battle regarding next projects     L120     0.10 hrs
                    needed for monoline claims.

03/11/2013   DAB    E-mail Mr. Barthel regarding preparations needed       L120     0.20 hrs
                    for meet and confer process with FGIC and MBIA.

03/11/2013   DAB    Communicate with Mr. Philips regarding analysis        L120     0.10 hrs
                    needed on monoline proofs of claim.

03/11/2013   DAB    E-mail Ms. Barrage and Mr. Goren (Morrison &           L120     0.20 hrs
                    Foerster) regarding stipulation on FGIC briefing
                    schedule.
03/11/2013   DAB    Review and comment on draft FGIC briefing              L120     0.20 hrs
                    stipulation.

03/11/2013   DAB    E-mail Mr. Lipps regarding status of FGIC cure         L120     0.10 hrs
                    claim litigation.

03/11/2013   JRC    Conference with Mr. Beekhuizen regarding status        L120     0.10 hrs
                    conference in borrower subpoena case in
                    connection with MBIA v. RFC.
03/11/2013   JRC    Review docket for 20th Judicial Circuit Court in       L120     0.10 hrs
                    Florida in order to determine whether the Court
                    cancelled the proposed status conference in
                    borrower subpoena case in connection with MBIA
                    v. RFC.
03/12/2013   JAL    Participate at First Department argument of appeal     L120     5.00 hrs
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                    of MBIA/Countrywide decision (2.0). Review
                    pleadings and argument transcript from
                    MBIA/Countrywide summary judgment pleadings
                    to prepare for First Department argument (3.0).
03/12/2013   JALB   E-mail discussion with Mr. Beck regarding            L120     0.20 hrs
                    FGIC-related discovery questions.

03/12/2013   DJB    Compare GMACM requests for production served         L120     4.90 hrs
                    in MBIA v. GMACM matters to requests for
                    production served by debtors' on monolines to note
                    overlapping requests and prior responses in
                    preparation for meet and confer with FGIC and
                    MBIA.
03/12/2013   DJB    Compare GMACM requests for production served         L120     4.60 hrs
                    in MBIA v. RFC matters to requests for production
                    served by debtors' on monolines to note
                    overlapping requests and prior responses in
                    preparation for meet and confer with FGIC and
                    MBIA.
03/12/2013   DAB    Review and comment on draft letter to court          L120     0.20 hrs
                    regarding assignment of FGIC related servicing
                    contracts.
03/12/2013   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.10 hrs
                    regarding issues on monoline discovery.

03/12/2013   DAB    Communicate with Mr. Lawrence (Morrison &            L120     0.20 hrs
                    Foerster) regarding issues on monoline claims.

03/12/2013   DAB    Communicate with Mr. Blaschko (Ocwen)                L120     0.10 hrs
                    regarding FGIC payments on Residential Capital
                    deals.
03/12/2013   DAB    E-mail Mr. Sandeghi (Morrison & Foerster)            L120     0.10 hrs
                    regarding FGIC payments on Residential Capital
                    deals.
03/12/2013   DAB    Conference with Ms. Battle regarding witness         L120     0.10 hrs
                    research needed on monoline claims.

03/12/2013   DAB    Conference with Ms. Battle regarding draft           L120     0.20 hrs
                    complaint against monoline claims and discovery
                    issues related to monolines.
03/12/2013   DAB    Revise draft complaint against FGIC.                 L120     5.80 hrs


03/12/2013   DAB    E-mails with Ms. Barrage and Mr. Goren               L120     0.30 hrs
                    (Morrison & Foerster) regarding letter to court on
                    FGIC claims.
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03/12/2013   JRC    Conference with Mr. Isajiw (Cadwalader)               L120     0.10 hrs
                    regarding status conference for borrower subpoena
                    case connected to MBIA v. RFC.
03/12/2013   SP     Review transaction documents to revise summary        L120     2.90 hrs
                    of collateral and closing dates for FGIC wrapped
                    deals.
03/12/2013   GNM    Analyze issues for FGIC production.                   L120     0.70 hrs


03/13/2013   JAL    Review objections of MBIA to debtors' document        L320     1.30 hrs
                    requests (.50). Review objections of FGIC to
                    debtors' document requests (.50). Conference with
                    Mr. Beck regarding same (.20). Review e-mails
                    regarding same (.10).
03/13/2013   JALB   Begin analysis of chart of MBIA objections to         L320     0.60 hrs
                    provide comments and feedback on strategy to Mr.
                    Lawrence (Morrison & Foerster).
03/13/2013   JALB   Discussion with Mr. Beck regarding analysis of        L120     0.20 hrs
                    chart of MBIA objections to provide comments
                    and feedback on strategy.
03/13/2013   DJB    Compare GMACM requests for production served          L120     3.90 hrs
                    in MBIA v. RFC matters to requests for production
                    served by debtors on monolines to note
                    overlapping requests and prior responses in
                    preparation for meet and confer with FGIC and
                    MBIA. (3.70) Conference with Mr. Beck
                    regaridng research needed on FGIC document
                    demand response. (.20)
03/13/2013   DJB    Research whether archived, backed-up, and deleted     L120     1.20 hrs
                    e-mails are discoverable (.80), and draft e-mail to
                    Ms. Battle and Mr. Beck regarding same. (.40)
03/13/2013   DJB    Compare GMACM requests for production served          L120     4.10 hrs
                    in MBIA v. GMACM matters to requests for
                    production served by debtors on monolines to note
                    overlapping requests and prior responses in
                    preparation for meet and confer with FGIC and
                    MBIA.
03/13/2013   DAB    Communicate with Ms. Battle regarding analysis        L120     0.20 hrs
                    of document request objections from MBIA and
                    FGIC.
03/13/2013   DAB    Review and analyze FGIC objections to document        L320     2.80 hrs
                    demands.

03/13/2013   DAB    Draft response matrix on FGIC document demand         L320     5.80 hrs
                    objections.
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03/13/2013   DAB    Multiple conferences with Mr. Barthel regarding      L120        0.20 hrs
                    research needed on FGIC document demands
                    objections.
03/13/2013   DAB    Communicate with Mr. Lipps regarding FGIC            L120        0.20 hrs
                    document demand responses.

03/13/2013   DAB    Call with Mr. Alexander (Morrison & Foerster)        L120        0.30 hrs
                    regarding FGIC and MBIA document request
                    responses and next steps on claim objection.
03/13/2013   DAB    Follow-up research on call with Mr. Alexander        L120        0.40 hrs
                    (Morrison & Foerster) on next steps on monoline
                    claim objection.
03/13/2013   DAB    Revise complaint and claim objection against         L120        1.50 hrs
                    FGIC.

03/14/2013   JAL    Review MBIA written discovery responses (.90).       L120        4.30 hrs
                    Draft memo regarding MBIA objections (1.0).
                    Conference with Ms. Battle regarding same (.70).
                    Conference with Mr. Lawrence (Morrison &
                    Foerster) and Ms. Battle regarding same (.50).
                    Review and redraft FGIC claims objection (1.0).
                    Review e-mails regarding same (.20).
03/14/2013   VLS    E-mail exchange with Ms. Battle and Ms. Marty        L320        0.30 hrs
                    regarding boxes of documents scheduled for
                    delivery related to FGIC.
03/14/2013   JALB   Meet with Mr. Lawrence (Morrison & Foerster)         L120        1.50 hrs
                    and Mr. Lipps (partial) regarding scope of
                    pre-petition discovery with MBIA and objections
                    to document requests.
03/14/2013   DJB    Research ESI technical stipulations for prior MBIA   L120        0.20 hrs
                    v. GMACM matter to assist with debtors'
                    e-discovery with FGIC and MBIA.
03/14/2013   DJB    Research ESI technical stipulations for prior MBIA   L120        1.80 hrs
                    v. RFC matter to assist with debtors' e-discovery
                    with FGIC and MBIA.
03/14/2013   DAB    Communicate with Mr. Lawrence and Mr. Sadeghi        L120        0.20 hrs
                    (Morrison & Foerster) regarding privilege analysis
                    on monoline document requests.
03/14/2013   DAB    Revise draft objection to FGIC claims.               120         0.20 hrs


03/14/2013   DAB    E-mails with Mr. Lawrence (Morrison & Foerster)      L120        0.20 hrs
                    regarding objection to FGIC claims.
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03/14/2013   DAB    Research factual issues related to FGIC claim       L120     0.60 hrs
                    objection.

03/14/2013   DAB    Communicate with Ms. Barrage (Morrison &            L120     0.10 hrs
                    Foerster) regarding deal list discrepancies
                    regarding FGIC insured transactions.
03/14/2013   DAB    Draft analysis of FGIC objections to document       L320     5.70 hrs
                    requests.

03/14/2013   DAB    Communicate with Mr. Lawrence (Morrison &           L120     0.10 hrs
                    Foerster) regarding FGIC and MBIA response to
                    document requests.
03/14/2013   DAB    Analyze FGIC payments on policies.                  L120     0.20 hrs


03/14/2013   DAB    Conference with Ms. Fairley (Residential Capital)   L120     0.20 hrs
                    regarding analysis needed on FGIC deal lists.

03/14/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding     L120     0.20 hrs
                    issues for meet and confer meetings on monoline
                    discovery.
03/14/2013   DAB    Research regarding MBIA objections on document      L320     0.20 hrs
                    requests.

03/15/2013   JAL    Review and respond to e-mails regarding discovery   L120     0.50 hrs
                    disputes with MBIA (.30). E-mail Mr. Beck and
                    Ms. Battle regarding discovery disputes (.20).
03/15/2013   MNB    Review objection strategy memorandum and            L120     2.90 hrs
                    proposed complaint against FGIC in preparation
                    for drafting of complaint against MBIA.
03/15/2013   VLS    E-mail exchange with Mr. Breyer at Night Owl        L320     0.30 hrs
                    regarding specifications for Relativity database.

03/15/2013   VLS    E-mail exchange with Ms. Zellmann at ResCap         L320     0.30 hrs
                    regarding specifications for scanning project.

03/15/2013   JALB   E-mail update to Mr. Beck regarding status of       L120     0.20 hrs
                    MBIA meet and confer, other strategy issues.

03/15/2013   DJB    Research and Communications with Mr. Beck, Mr.      L120     1.10 hrs
                    Beekhuizen, and Kroll regarding search terms
                    MBIA applied to its custodians in MBIA v. RFC to
                    assist with debtors' e-discovery.
03/15/2013   DAB    E-mail Ms. Battle and Mr. Lipps regarding next      L120     0.20 hrs
                    steps on monoline claims.
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03/15/2013   DAB    Analyze cure and transfer issues related to FGIC      L120     2.10 hrs
                    deals.

03/15/2013   JRC    Conference with Mr. Beck regarding custodians for     L120     0.10 hrs
                    discovery in connection with MBIA's proof of
                    claim.
03/15/2013   JRC    Draft analysis for Mr. Beck of potential custodians   L120     0.20 hrs
                    for discovery in connection with MBIA's proof of
                    claim.
03/15/2013   JRC    Review documents in litigation databases in order     L120     2.20 hrs
                    to identify custodians for discovery in connection
                    with MBIA's proof of claim.
03/15/2013   SP     Search documents that were collected, but not         L120     2.80 hrs
                    produced, in pre-bankruptcy MBIA v. GMAC
                    Mortgage case relating to FGIC to identify
                    potential custodians.
03/15/2013   GNM    Inventorying 43 boxes of hard copy documents for      L320     5.40 hrs
                    review in FGIC matter.

03/15/2013   GNM    Drafting protocol for review of hard copy             L320     1.60 hrs
                    documents in FGIC matter.

03/17/2013   DAB    E-mail Mr. Lawrence (Morrison & Foerster)             L120     0.10 hrs
                    regarding question on securitization codes.

03/18/2013   JAL    Review and respond to e-mails regarding meet and      L120     0.30 hrs
                    confer on MBIA discovery deficiencies.

03/18/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding         L120     0.30 hrs
                    preparation for MBIA and FGIC meet and confer
                    sessions.
03/18/2013   JALB   Respond to questions from Mr. Lawrence                L120     0.50 hrs
                    (Morrison & Foerster) regarding prior MBIA
                    discovery history.
03/18/2013   DAB    Research regarding shadow ratings for MBIA            L120     0.40 hrs
                    deals.

03/18/2013   DAB    Communicate with Mr. Alexander (Morrison &            L120     0.30 hrs
                    Foerster), Mr. Lipps and Ms. Battle regarding
                    policy numbers on MBIA deals.
03/18/2013   GNM    Inventorying 43 boxes of hard copy documents for      L320     2.40 hrs
                    review in FGIC matter.

03/18/2013   GNM    E-mail to Ms. Battle regarding contents of FGIC       L120     0.10 hrs
                    boxes.
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03/19/2013   JAL    Review and revise draft of discovery plan (.40).          L120     1.80 hrs
                    Conference with Mr. Beck regarding revisions to
                    discovery plan (.20). Review set of document
                    requests propounded by FGIC (.50). Conferences
                    with Mr. Beck and Ms. Battle regarding
                    responding to same (.30). Review and revise
                    search terms for FGIC discovery (.10). Review
                    draft response to Mr. Lawrence regarding
                    discovery issues (.30).
03/19/2013   VLS    E-mail exchange with Mr. Keck at vendor Profile           L320     0.30 hrs
                    Discovery regarding scanning materials received
                    from client regarding FIGIC.
03/19/2013   VLS    Conference with Ms. Marty and Mr. Keck at                 L320     0.60 hrs
                    vendor Profile Discovery regarding scanning
                    materials received from client regarding FIGIC.
03/19/2013   RBS    Verify information on FGIC deal charts for Mr.     A103   L310     1.60 hrs
                    Beck.

03/19/2013   JALB   Prepare follow-up information at request of Mr.           L120     0.50 hrs
                    Lawrence (Morrison & Foerster) to update
                    co-counsel and organize discovery process.
03/19/2013   JALB   Follow-up with Mr. Ruckdaschel (Residential               L120     0.10 hrs
                    Capital) regarding FGIC servicing history.

03/19/2013   JALB   Follow-up with Mr. Ruckdaschel (Residential               L120     0.20 hrs
                    Capital) regarding FGIC servicing history (0.1).
                    Follow-up with potential expert witnesses.
03/19/2013   JALB   Meet with Mr. Lipps and Mr. Beck regarding                L120     0.20 hrs
                    MBIA and FGIC discovery objections.

03/19/2013   DAB    Conference with Ms. Battle and Mr. Lipps                  L120     0.30 hrs
                    regarding issues on MBIA and FGIC discovery
                    objections and objections to monoline claims.
03/19/2013   DAB    Communicate with Mr. Phillips regarding FGIC              L120     0.10 hrs
                    custodians.

03/19/2013   DAB    Analyze Countrywide Rule 19 statement in MBIA             L120     1.30 hrs
                    v. Countrywide for disclosures regarding MBIA.

03/19/2013   DAB    E-mail Ms. Battle regarding comments on                   L120     0.20 hrs
                    memorandum on discovery issues. for monoline
                    claims.
03/19/2013   DAB    Draft chart of FGIC document request objections.          L320     1.60 hrs
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03/19/2013   DAB    Analyze FGIC document requests to Debtors.           L320     2.60 hrs


03/19/2013   DAB    Conference with Mr. Lipps and Ms. Battle             L120     1.30 hrs
                    regarding next phase of examiner investigation and
                    upcoming projects for examiner. (.30) Analyze
                    projects for next phase of examiner investigation.
                    (1.00)
03/19/2013   JRC    Review documents in litigation databases in order    L120     0.40 hrs
                    to determine appropriate custodians for discovery
                    in connection with FGIC proof of claims.
03/19/2013   JRC    Teleconference with clerk of Charlotte County        L120     0.20 hrs
                    court regarding status conference scheduled in
                    borrower subpoena action arising out of MBIA v.
                    RFC.
03/19/2013   JRC    Review docket for Charlotte County court in order    L120     0.10 hrs
                    to determine whether a suggestion of bankruptcy
                    has been filed to cancel the status conference
                    scheduled in borrower subpoena action out of
                    arising MBIA v. RFC.
03/19/2013   SP     Review letters relating to repurchase requests       L120     1.20 hrs
                    between FGIC and Residential Capital to identify
                    potential custodians.
03/19/2013   GNM    Going through FGIC boxes of hard copy                L320     1.30 hrs
                    documents to compile list of FGIC employees who
                    signed repurchase requests.
03/19/2013   GNM    Drafting and sending e-mail to Ms. Battle            L120     0.20 hrs
                    regarding FGIC employees who signed repurchase
                    requests.
03/20/2013   MMM    Review documents to see if there was a diligence     L120     1.60 hrs
                    report sent to FGIC.

03/20/2013   JAL    Further review and revision of FGIC discovery        L120     5.00 hrs
                    work plan (.70). Conference with Ms. Battle and
                    Mr. Beck regarding same (.30). Review and revise
                    e-mail to Mr. Lawrence (Morrison & Foerster)
                    regarding search terms and e-discovery issues
                    (.20). Conference with Ms. Battle regarding same
                    (.10). Review and redraft written responses to
                    FGIC requests (.60). Review media report on
                    MBIA claims (.10). Review and redraft FGIC
                    claims objections complaint (2.0). Review and
                    redraft MBIA claims objections complaint (1.0).
03/20/2013   VLS    E-mail exchange with Mr. Beck regarding              L320     0.30 hrs
                    production format and metadata fields for
                    GMACM.
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03/20/2013   VLS    Search document production in MBIA vs                        L110     0.80 hrs
                    GMACM to confirm production format and
                    metadata fields.
03/20/2013   VLS    E-mail exchange with Mr. Keck at Profile                     L320     0.20 hrs
                    Discovery regarding scanning and processing of
                    materials received from the client for FGIC matter.
03/20/2013   RBS    Revise FGIC chart with additional data for Mr.        A103   L310     0.70 hrs
                    Beck.

03/20/2013   JALB   Respond to issues raised by Mr. Lipps regarding              L120     0.40 hrs
                    underwriting expert work.

03/20/2013   JALB   Follow-up with potential experts regarding issues            L120     0.20 hrs
                    raised by Mr. Lipps regarding underwriting expert
                    work.
03/20/2013   JALB   Review and analyze FGIC document demands.                    L320     3.20 hrs
                    (2.40) Communicate with Mr. Lipps and Mr. Beck
                    regarding work plan on monoline claims. (.30)
03/20/2013   JALB   Prepare and update memorandum regarding to-do                L120     0.70 hrs
                    items and preparation for expert work on monoline
                    claims.
03/20/2013   JALB   Gather information to provide to Mr. Lawrence                L120     0.50 hrs
                    (Morrison & Foerster) to assist in bringing
                    co-counsel up to speed on prior discovery history
                    and issues. (.30) Prepare and revise proposed
                    Residential Capital custodian list. (.20)
03/20/2013   DAB    E-mail Mr. Lee, Mr. Princi, Mr. Alexander                    L120     0.20 hrs
                    (Morrison & Foerster), Ms. Battle, Mr. Lipps
                    regarding MBIA solvency reports.
03/20/2013   DAB    Review revised objection to FGIC claims.                     L120     0.40 hrs


03/20/2013   DAB    Communicate with Ms. Battle regarding draft                  L120     0.10 hrs
                    e-mails to Mr. Alexander (Morrison & Foerster) on
                    discovery issues.
03/20/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster), Ms.                L120     0.30 hrs
                    Farley and Mr. Ruckdaschel (Residential Capital)
                    regarding reconciliation of FGIC deals and
                    servicing transfer status.
03/20/2013   DAB    Conference with Mr. Philips regarding custodian              L120     0.10 hrs
                    analysis on FGIC deals.

03/20/2013   DAB    Draft potential search terms for monoline                    L320     2.40 hrs
                    discovery.

03/20/2013   DAB    Conference with Ms. Mohler regarding research on             L120     0.40 hrs
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                    diligence reports.

03/20/2013   DAB    Communicate with Mr. Rhode regarding                  L320     0.10 hrs
                    objections to FGIC document requests.

03/20/2013   DAB    Communicate with Ms. Battle, Mr. Corcoran and         L120     0.20 hrs
                    Mr. Philips regarding custodian analysis related to
                    MBIA and FGIC.
03/20/2013   DAB    Research regarding FGIC custodians.                   L120     2.40 hrs


03/20/2013   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.30 hrs
                    regarding upcoming monoline meet and confers.

03/20/2013   DAB    Research regarding FGIC v. Countrywide                L120     2.20 hrs
                    litigation.

03/20/2013   DAB    Revise FGIC claims objection.                         L120     2.20 hrs


03/20/2013   JRC    Conference with Ms. Battle, Mr. Beck, Mr.             L120     0.40 hrs
                    Phillips, Ms. Mohler, and Ms. Marty regarding
                    preparations for upcoming examiner interviews
                    and monoline claims.
03/20/2013   JRC    Review and analyze documents in litigation            L120     0.60 hrs
                    databases in order to create list of custodians for
                    discovery in connection with FGIC's proof of
                    claim.
03/20/2013   JDR    Review and analyze analysis from potential expert     L120     1.30 hrs
                    in preparation for responding to proofs of claims.

03/20/2013   JDR    Draft correspondence to potential expert regarding    L120     0.30 hrs
                    analysis.

03/20/2013   JDR    Review and analyze notes from call with potential     L120     0.20 hrs
                    expert regarding monoline claims strategy.

03/20/2013   JDR    Draft correspondence to Mr. Beck regarding            L120     0.10 hrs
                    analysis of potential expert.

03/20/2013   JDR    Draft outline for responses and objections to FGIC    L320     1.30 hrs
                    requests for production and general objections.

03/20/2013   JDR    Review and analyze Ms. Battle's notes and analysis    L120     0.40 hrs
                    of FGIC's requests for production in preparation
                    for drafting responses and objections.
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03/20/2013   JDR    Review and analyze FGIC's requests for                L320     0.60 hrs
                    production in preparation for drafting responses
                    and objections.
03/20/2013   JDR    Review and analyze FGIC's responses to the            L320     0.50 hrs
                    Debtors' requests for production in preparation for
                    drafting responses and objections.
03/20/2013   JDR    Draft chart analyzing MBIA securitizations data in    L120     0.80 hrs
                    preparation for expert analysis and proof of claims
                    response strategy.
03/20/2013   JDR    Draft correspondence to Ms. Battle, Mr. Lipps and     L120     0.20 hrs
                    Mr. Beck regarding MBIA securitizations analysis.

03/20/2013   JDR    Draft summary analysis to Ms. Battle, Mr. Lipps       L120     0.70 hrs
                    and Mr. Beck regarding MBIA securitizations
                    analysis.
03/20/2013   SP     Review FGIC related documents to address issues       L120     2.10 hrs
                    relating to potential custodians for Ms. Battle and
                    Mr. Beck.
03/20/2013   SP     Provide list of suggested offensive and defensive     L120     1.40 hrs
                    custodians for FGIC claims following examination
                    of documents.
03/20/2013   GNM    E-mail communications with contract review team       L120     0.10 hrs
                    regarding FGIC review.

03/21/2013   JAL    Review and redraft FGIC objection complaint           L120     2.30 hrs
                    (.70). Conference with Mr. Beck regarding
                    revisions to same (.20). Conference with Ms.
                    Battle regarding revisions to same (.20). Review
                    and revise meet and confer agenda (.10). Review
                    and respond to e-mails regarding same (.10).
                    Review and redraft MBIA objection complaint
                    (.60). Conference with Mr. Beck regarding
                    revisions to same (.10). Review FGIC custodian
                    vest (.10). Review report on FGIC meet and
                    confer (.20).
03/21/2013   JALB   Conference with Mr. Lipps regarding revisions to      L120     1.30 hrs
                    FGIC complaint. (.20) E-mails with Mr. Lipps and
                    Mr. Beck regarding issues for FGIC meet and
                    confer. (.30) Communicate with Mr. Beck, Mr.
                    Philips and Mr. Corcoran regarding potential FGIC
                    custodians. (.20) Communicate with Mr. Lipps
                    and Mr. Beck regarding same. (.30) Analyze
                    potential FGIC custodians. (.30)
03/21/2013   DJB    Research New York and Ohio ethical rules, cases       L120     9.50 hrs
                    interpreting them, and secondary sources regarding
                    former employee witnesses.
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03/21/2013   DAB    Call with Mr. Alexander (Morrison & Foerster)        L120     0.20 hrs
                    regarding FGIC custodians.

03/21/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)     L120     0.20 hrs
                    regarding FGIC custodians and meet and confer
                    strategy.
03/21/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)     L120     0.10 hrs
                    and Mr. Philips regarding policy numbers on FGIC
                    deals.
03/21/2013   DAB    Conference with Mr. Barthel regarding issues         L120     0.40 hrs
                    regarding former employee witnesses.

03/21/2013   DAB    Draft list of key issues for FGIC meet and confer.   L120     0.30 hrs


03/21/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.30 hrs
                    issues for FGIC meet and confer.

03/21/2013   DAB    Analyze potential FGIC custodians.                   L120     0.40 hrs


03/21/2013   DAB    Communicate with Ms. Battle, Mr. Philips and Mr.     L120     0.20 hrs
                    Corcoran regarding potential FGIC custodians.

03/21/2013   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.30 hrs
                    regarding potential FGIC custodians.

03/21/2013   DAB    Revise complaint against FGIC.                       L120     1.30 hrs


03/21/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding draft      L120     0.20 hrs
                    complaint against FGIC.

03/21/2013   DAB    Draft adversary complaint against MBIA.              L120     3.70 hrs


03/21/2013   DAB    Call with Mr. Alexander and Mr. Rothberg             L120     1.00 hrs
                    (Morrison & Forester) regarding strategy for meet
                    and confer call with FGIC.
03/21/2013   DAB    Call with Mr. Sidman, Mr. Bennett (Jones Day),       L120     1.10 hrs
                    Mr. Alexander and Mr. Rothberg (Morrison &
                    Foerster) regarding FGIC objections to document
                    requests.
03/21/2013   DAB    E-mail to Mr. Lipps and Ms. Battle regarding         L120     0.30 hrs
                    results of FGIC meet and confer call.
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03/21/2013   DAB    E-mail Ms. Battle regarding missing transaction        L120     0.30 hrs
                    documents related to monoline claims.

03/21/2013   JRC    Draft chart analyzing the documents referenced in      L120     1.40 hrs
                    statement of facts of defendant in lawsuit brought
                    by MBIA.
03/21/2013   JRC    Review statement of facts in lawsuit brought by        L120     0.60 hrs
                    MBIA in order to prepare discovery requests
                    directed at MBIA.
03/21/2013   JRC    Review documents in litigation databases in order      L120     3.80 hrs
                    to locate documents referenced in statement of
                    facts of defendant in lawsuit brought by MBIA.
03/21/2013   JRC    Review and analyze documents in litigation             L120     0.70 hrs
                    databases in order to create list of custodians for
                    discovery in connection with FGIC's proof of
                    claim.
03/21/2013   JDR    Draft responses to FGIC's requests for production      L320     2.10 hrs
                    regarding mortgage loan files and guidelines, loan
                    selection and negotiation.
03/21/2013   JDR    Draft responses to FGIC's requests for production      L320     1.60 hrs
                    regarding credit ratings, insurance policy, and sale
                    of securities.
03/21/2013   JDR    Draft responses to FGIC's requests for production      L320     1.90 hrs
                    regarding servicing, monitoring, and notice of
                    breach.
03/21/2013   JDR    Draft responses to FGIC's requests for production      L320     1.80 hrs
                    regarding repurchase requests, access to loan files
                    and information, due diligence and auditor
                    information.
03/21/2013   JDR    Draft responses to FGIC's requests for production      L320     1.00 hrs
                    regarding investigations, other litigation, and
                    debtor compensation.
03/21/2013   JDR    Revise responses to FGIC's requests for                L320     0.50 hrs
                    production.

03/21/2013   JDR    Teleconference with potential expert regarding         L120     0.20 hrs
                    preliminary analysis of monoline proofs of claims.

03/21/2013   JDR    Draft correspondence to Ms. Battle regarding           L120     0.20 hrs
                    responses to FGIC request for production.

03/21/2013   SP     Review proofs of claims to identify transactions for   L120     1.40 hrs
                    which documentation is needed.

03/21/2013   SP     Assess suggested offensive and defensive               L120     0.70 hrs
                    custodians for FGIC claims.
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03/21/2013   SP     Review insurance policies to identify search terms     L120     0.90 hrs
                    for document searches.

03/22/2013   JAL    Review and redraft FGIC discovery plan (.30).          L120     1.50 hrs
                    Conference with Ms. Battle regarding same (.30).
                    Review and redraft priority list of documents (.20).
                    Review further report on FGIC meet and confer
                    (.20). Review report on MBIA meet and confer
                    (.20). Telephone conference with Mr. Beck
                    regarding same (.10). Review and redraft FGIC
                    discovery request deficiencies (.20).
03/22/2013   JALB   Revise and circulate strategy memorandum to            L120     0.30 hrs
                    Morrison & Foerster team (Mr. Princi and Mr.
                    Lawrence) for discussion.
03/22/2013   JALB   Research historical e-mails regarding balloon          L120     0.40 hrs
                    payment and servicing issues (FGIC) for Mr. Beck.

03/22/2013   JALB   E-mails with Mr. Underhill and Ms. Zellmann            L120     0.20 hrs
                    (both Residential Capital) regarding likely scope of
                    discovery for FGIC litigation.
03/22/2013   JALB   Begin review of draft objections to FGIC               L320     0.60 hrs
                    document requests.

03/22/2013   JALB   Review and respond to e-mails from Mr. Beck            L120     0.30 hrs
                    updating on meet and confer status.

03/22/2013   JALB   Review Mr. Lipps revisions to strategy                 L120     0.20 hrs
                    memorandum on monoline discovery.

03/22/2013   JALB   Telephone conference with Mr. Lipps regarding          L120     0.30 hrs
                    revisions to strategy memorandum on monoline
                    discovery.
03/22/2013   JALB   Review and follow-up on research regarding             L120     0.30 hrs
                    former employee witness contacts for monoline
                    litigation.
03/22/2013   DJB    Research and edit memorandum as to former              L120     1.60 hrs
                    employees witness issues.

03/22/2013   DJB    Research prior backup tape restoration periods of      L120     0.80 hrs
                    key custodian e-mails to assist with debtors'
                    productions, and draft e-mail regarding same to
                    Mr. Beck and Ms. Battle.
03/22/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding        L120     0.20 hrs
                    memorandum on strategy on FGIC discovery.
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03/22/2013   DAB    Draft adversary complaint against MBIA.             L120     2.70 hrs


03/22/2013   DAB    Conference with Ms. Battle regarding FGIC and       L120     0.10 hrs
                    MBIA meet and confers.

03/22/2013   DAB    E-mail Mr. Corcoran regarding additional            L120     0.10 hrs
                    definitions needed for FGIC discovery.

03/22/2013   DAB    Revise additional definitions needed for FGIC       L320     0.30 hrs
                    discovery.

03/22/2013   DAB    Communicate with Mr. Rhode regarding                L120     0.20 hrs
                    objections to FGIC discovery requests.

03/22/2013   DAB    Draft list of top priority discovery items from     L320     0.60 hrs
                    FGIC.

03/22/2013   DAB    Call with Mr. Alexander and Mr. Rothberg            L120     0.70 hrs
                    (Morrison & Foerster) to prepare for meet and
                    confer call with MBIA.
03/22/2013   DAB    Call with Mr. Jurgens, Mr. Stanci (Cadwalader),     L120     3.10 hrs
                    Mr. Alexander and Mr. Rothberg (Morrison &
                    Foerster) regarding MBIA objections to discovery
                    requests.
03/22/2013   DAB    Follow-up call with Mr. Alexander and Mr.           L120     0.10 hrs
                    Rothberg (Morrison & Foerster) regarding results
                    of MBIA meet and confer.
03/22/2013   DAB    Draft analysis of next steps on meet and confer     L120     1.20 hrs
                    process with MBIA.

03/22/2013   DAB    Communicate with Mr. Alexander (Morrison &          L120     0.10 hrs
                    Foerster) regarding transaction documents for GSR
                    deal.
03/22/2013   DAB    Conference with Mr. Barthel regarding               L120     0.10 hrs
                    memorandum regarding former employee issues.

03/22/2013   JRC    Revise responses to document requests from FGIC.    L120     0.70 hrs


03/22/2013   JRC    Conference with Mr. Beck regarding draft of         L120     0.10 hrs
                    responses to document requests from FGIC.

03/22/2013   JDR    Draft responses to FGIC's requests for production   L320     1.20 hrs
                    regarding select transactions and document
                    retention.
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03/22/2013   JDR    Draft responses to FGIC's requests for production     L320        0.80 hrs
                    regarding miscellaneous requests.

03/22/2013   JDR    Revise responses to FGIC's requests for               L320        2.40 hrs
                    production.

03/22/2013   JDR    Draft chart analyzing FGIC securitizations data in    L120        1.30 hrs
                    preparation for expert analysis and proof of claims
                    response strategy.
03/22/2013   JDR    Draft correspondence to Ms. Battle, Mr. Lipps and     L120        0.20 hrs
                    Mr. Beck regarding FGIC securitizations analysis.

03/23/2013   JAL    Review and respond to e-mails regarding FGIC          L120        0.30 hrs
                    meet and confer issues (.10). Communicate with
                    Mr. Beck regarding same (.20).
03/23/2013   DAB    E-mail with Mr. Alexander, Mr. Rothberg               L120        0.10 hrs
                    (Morrison & Foerster), Mr. Lipps and Ms. Battle
                    regarding FGIC position on archived information.
03/23/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)            120         0.10 hrs
                    regarding priority items for discovery from FGIC.

03/24/2013   JAL    Review and respond to e-mails regarding meet and      L120        1.00 hrs
                    confer on scope of release (.30). Review and
                    redraft communication to FGIC's counsel
                    regarding discovery deficiencies (.50). Review
                    and respond to e-mails regarding same (.20).
03/24/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)      L120        0.30 hrs
                    regarding revised version of MBIA complaint.

03/24/2013   DAB    Communicate with Mr. Alexander (Morrison &            L120        0.10 hrs
                    Foerster) regarding draft letter to FGIC on
                    discovery responses.
03/24/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding       L120        0.30 hrs
                    draft letter to FGIC on discovery response.

03/25/2013   JAL    Review and redraft MBIA objection complaint           L120        2.00 hrs
                    (.50). Conferences with Ms. Battle and Mr. Beck
                    regarding same (.20). Review e-mails regarding
                    resolution of disagreement over scope of 9019
                    release (.10). Conference with Mr. Beck regarding
                    same (.10). Review and redraft e-mails addressing
                    FGIC document deficiencies (.20). Conference
                    with Mr. Beck regarding same (.20). Review
                    MBIA objection complaint (.50). Conference with
                    Mr. Beck regarding same (.20).
03/25/2013   JALB   Review and revise MBIA adversary complaint.           L120        1.80 hrs
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03/25/2013   JALB   Review and revise draft objections to FGIC           L320     1.50 hrs
                    document requests.

03/25/2013   JALB   Discussion with Mr. Beck and Mr. Corcoran            L120     0.40 hrs
                    regarding preparation/revision of chart of key
                    representations and warranties. (.20) Analyze key
                    representations for chart. (.20)
03/25/2013   DAB    Review and comment on letter to MBIA following       L120     0.60 hrs
                    up on meet and confer.

03/25/2013   DAB    Call with Mr. Alexander and Mr. Rothberg             L120     0.40 hrs
                    (Morrison & Foerster) regarding response letter to
                    MBIA and next steps in MBIA meet and confer
                    process.
03/25/2013   DAB    Comment on revised letter to FGIC on meet and        L120     0.20 hrs
                    confer process.

03/25/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)     L120     0.20 hrs
                    and Mr. Lipps regarding next steps in meet and
                    confer process with MBIA.
03/25/2013   DAB    Analyze transaction and offering documents on        L120     2.70 hrs
                    GSR transaction for provisions relevant to MBIA
                    claims.
03/25/2013   DAB    Analyze proofs of claim filed by Goldman to          L120     0.10 hrs
                    determine if they implicate MBIA claims.

03/25/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.20 hrs
                    next communications with MBIA and FGIC in
                    meet and confer process.
03/25/2013   DAB    Conference with Ms. Battle regarding revisions to    L120     0.10 hrs
                    MBIA complaint.

03/25/2013   DAB    Conference with Ms. Battle and Mr. Corcoran          L120     0.20 hrs
                    regarding analysis of key representations across
                    monoline deals.
03/25/2013   DAB    Revise adversary complaint and objection to          L120     1.90 hrs
                    MBIA claims.

03/25/2013   DAB    Communicate with Mr. Alexander (Morrison &           L120     0.40 hrs
                    Foerster) regarding comments on MBIA complaint
                    and questions about prepetition litigation with
                    MBIA.
03/25/2013   JRC    Draft chart analyzing the representations and        L120     0.80 hrs
                    warranties given to monolines.
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03/25/2013   JRC    Review and analyze representations and               L120     1.70 hrs
                    warranties given to monolines in order to respond
                    to monoline proof of claims.
03/25/2013   JRC    Conference with Ms. Battle regarding chart           L120     0.20 hrs
                    analyzing representations and warranties in
                    securitizations insured by monolines.
03/26/2013   DAB    Conference with Mr. Corcoran regarding chart on      L120     0.10 hrs
                    monoline representations.

03/26/2013   JAL    Review and redraft FGIC search terms. (.30)          L120     2.50 hrs
                    Communicate with Mr. Beck regarding same. (.20)
                    Review and redraft written responses and
                    objections to FGIC's document requests. (1.10)
                    Conference with Ms. Battle and Mr. Beck
                    regarding same. (.50) Review e-mails regarding
                    MBIA's and FGIC's discovery deficiencies. (.20)
                    Conference with Mr. Beck regarding same. (.20)
03/26/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding        L120     0.30 hrs
                    strategy for litigating claims and discovery
                    planning.
03/26/2013   JALB   Respond to questions from Mr. Lawrence               L120     0.30 hrs
                    (Morrison & Foerster) regarding e-discovery
                    protocol and e-mail Mr. Underhill (Residential
                    Capital) to request review of same.
03/26/2013   JALB   E-mails with Mr. Beck and Mr. Lipps regarding        L120     0.50 hrs
                    custodian and search term selection. (.30)
                    Conference with Mr. Beck regarding
                    confidentiality agreement issues. (.20)
03/26/2013   DJB    Incorporate Mr. Beck's edits into research           L120     0.70 hrs
                    memorandum on former employee witness issue.

03/26/2013   DAB    Analyze draft FGIC confidentiality agreement.        L120     0.20 hrs


03/26/2013   DAB    Conference with Ms. Battle regarding issues on       L120     0.20 hrs
                    proposed FGIC confidentiality agreement.

03/26/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.30 hrs
                    draft follow up e-mail to FGIC on requests for
                    production.
03/26/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.20 hrs
                    follow up e-mail to MBIA on requests for
                    production.
03/26/2013   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.20 hrs
                    regarding proposed search terms and custodians for
                    FGIC.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                        Invoice # 53934          Page 23
03/26/2013   DAB    Analyze potential MBIA custodians.                    L120     1.00 hrs


03/26/2013   DAB    Conference with Mr. Alexander (Morrison &             L120     0.20 hrs
                    Foerster) regarding search terms and custodians for
                    MBIA and FGIC.
03/26/2013   DAB    Draft search terms for document requests to           L320     1.70 hrs
                    MBIA.

03/26/2013   DAB    Conference with Mr. Lipps regarding next steps to     L120     0.20 hrs
                    take on discovery with MBIA and FGIC.

03/26/2013   DAB    Revise memoranda on issues with former                L120     0.60 hrs
                    employee witnesses.

03/26/2013   JRC    Draft chart analyzing the representations and         L120     0.40 hrs
                    warranties given to monolines.

03/26/2013   JRC    Conference with Mr. Beck regarding chart              L120     0.10 hrs
                    analyzing representations and warranties in
                    securitizations insured by monolines.
03/26/2013   JRC    Review documents in litigation databases in order     L120     1.20 hrs
                    to determine e-mail custodians for discovery in
                    connection with FGIC's proof of claim.
03/26/2013   JRC    Draft chart providing information on potential        L120     0.90 hrs
                    email custodians for discovery in connection with
                    FGIC's proof of claim.
03/26/2013   JRC    Review and analyze representations and                L120     1.70 hrs
                    warranties given to monolines in order to respond
                    to monoline proof of claims.
03/26/2013   JDR    Revise responses to FGIC's requests for production    L320     0.60 hrs
                    to incorporate objection comments and strategy
                    from Ms. Battle.
03/26/2013   JDR    Draft correspondence to Ms. Battle regarding          L120     0.10 hrs
                    FGIC response and objection analysis and strategy.

03/26/2013   JDR    Revise responses to FGIC's requests for production    L320     0.60 hrs
                    to incorporate objection comments and strategy
                    from Ms. Battle.
03/26/2013   SP     Review offensive and defensive custodian list for     L120     0.40 hrs
                    FGIC claims.

03/27/2013   SP     Conference with Mr. Corcoran regarding summary        L120     0.30 hrs
                    of representations and warranties in pooling and
                    servicing agreements.
03/27/2013   JAL    Review and respond to drafts of e-mails to MBIA       L120     3.00 hrs
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                    and FGIC regarding discovery issues. (.50)
                    Communicate with Mr. Beck regarding same. (.30)
                    Review e-mails from MBIA regarding same. (.40)
                    Further review and review of MBIA claims
                    objection. (1.50) Communicate with Ms. Battle
                    and Mr. Beck regarding protective order issues.
                    (.30)
03/27/2013   JALB   Follow-up with Mr. Lawrence (Morrison &              L120     0.10 hrs
                    Foerster) regarding e-discovery protocol.

03/27/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.20 hrs
                    issues on protective orders with MBIA and FGIC.

03/27/2013   DAB    Revise MBIA and FGIC protective orders.              L120     0.90 hrs


03/27/2013   DAB    Draft FGIC search terms.                             L320     0.20 hrs


03/27/2013   DAB    Conference with Mr. Corcoran regarding chart on      L120     0.20 hrs
                    monoline representations.

03/27/2013   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.30 hrs
                    regarding latest e-mails from Mr. Alexander of
                    Morrison & Foerster to FGIC and MBIA following
                    up on discovery meet and confers.
03/27/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)     L120     0.20 hrs
                    regarding MBIA search terms.

03/27/2013   DAB    Analyze revised search terms for MBIA.               L320     0.20 hrs


03/27/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)     L120     0.10 hrs
                    regarding revised protective orders.

03/27/2013   JRC    Draft chart analyzing the representations and        L120     0.90 hrs
                    warranties given to monolines.

03/27/2013   JRC    Review and analyze representations and               L120     3.60 hrs
                    warranties given to monolines in order to respond
                    to monoline proof of claims.
03/27/2013   JRC    Conference with Mr. Beck regarding analysis of       L120     0.10 hrs
                    representations and warranties given to monolines.

03/27/2013   JRC    Conference with Mr. Phillips regarding               L120     0.10 hrs
                    representations and warranties given to monolines.
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03/28/2013   JAL    Review Morrison & Foerster research on              L120     2.50 hrs
                    discoverability of reserves. (1.20) Communicate
                    with Mr. Beck regarding same. (.30)
                    Communicate with Mr. Beck regarding followup
                    on FGIC meet and confer. (.20) Prepare for
                    meeting with Mr. Princi and Mr. Alexander of
                    Morrison & Foerster regarding FGIC discovery.
                    (.80)
03/28/2013   DAB    Communicate with Mr. Lipps regarding letters to     L120     0.10 hrs
                    FGIC following up on meet and confer.

03/28/2013   DAB    Conference with Mr. Rhode regarding materials for   L120     0.10 hrs
                    Mr. Lipps for meeting with Mr. Alexander
                    (Morrison & Foerster) on FGIC discovery.
03/28/2013   DAB    Prepare for conference call with Mr. Alexander      L120     0.60 hrs
                    and Mr. Princi (Morrison & Foerster) regarding
                    FGIC discovery.
03/28/2013   DAB    Communicate with Mr. Lipps regarding Morrison       L120     0.20 hrs
                    & Foerster research on discovery of reserves.

03/28/2013   JDR    Prepare documents for Mr. Lipps regarding           L120     0.40 hrs
                    monoline claims strategy.

03/29/2013   JAL    Prepare for meeting on FGIC discovery strategy by   L120     6.30 hrs
                    reviewing materials on FGIC and discovery
                    communications to date. (1.80) Conference call
                    and meeting with Mr. Princi, Mr. Alexander, Mr.
                    Baehr (Morrison & Foerster) regarding discovery
                    strategy with FGIC. (.80) Call with Mr.
                    Alexander, Mr. Baehr and Mr. Beck regarding
                    FGIC discovery. (.80) Follow-up conversation
                    with Mr. Alexander regarding same. (.30)
                    Communicate with Mr. Beck regarding priorities
                    list for FGIC discovery. (.50) Review draft
                    responses to FGIC discovery requests. (2.10)
03/29/2013   JALB   Telephone conference with Mr. Princi and Mr.        L120     0.50 hrs
                    Lawrence (Morrison & Foerster), Mr. Lipps and
                    Mr. Beck regarding discovery and expert strategy
                    for monoline proofs of claim.
03/29/2013   JALB   Revise and draft objections and responses to FGIC   L320     2.40 hrs
                    document requests.

03/29/2013   DAB    Conference call with Mr. Princi, Mr. Alexander,     L120     0.80 hrs
                    Mr. Baehr (Morrison & Foerster), Mr. Lipps and
                    Ms. Battle (parts) regarding discovery strategy
                    with FGIC.
03/29/2013   DAB    Call with Mr. Alexander, Mr. Baehr (Morrison &      L120     0.80 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
  932 00059                 Monthly Invoices Pg 527 of 701
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                    Foerster) and Mr. Lipps regarding FGIC discovery.

03/29/2013   DAB    E-mail Ms. Battle regarding draft defensive         L120     0.10 hrs
                    custodians for FGIC claims.

03/29/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding           L120     0.10 hrs
                    defensive custodians for FGIC claims.

03/29/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)    L120     0.20 hrs
                    regarding next priorities for FGIC discovery.

03/29/2013   DAB    Draft list of priorities for FGIC discovery.        L320     0.70 hrs


03/29/2013   DAB    E-mails with Mr. Lipps regarding priorities for     L120     0.40 hrs
                    FGIC discovery.

03/29/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding     L120     0.10 hrs
                    FGIC claims related to balloon loans.

03/29/2013   DAB    Communicate with Mr. Phillips regarding             L120     0.10 hrs
                    prepetition research on FGIC claims on balloon
                    loans.
03/29/2013   DAB    Analyze issues related to FGIC claims on balloon    L120     1.20 hrs
                    loans.

03/29/2013   DAB    Communicate with Mr. Phillips and Mr. Corcoran      L120     0.10 hrs
                    regarding defensive custodians for FGIC.

03/29/2013   JRC    Conference with Mr. Phillips regarding custodians   L120     0.10 hrs
                    for discovery in connection with FGIC's proof of
                    claims.
03/29/2013   SP     Review balloon loan issue and send information      L120     0.90 hrs
                    regarding the same to Mr. Beck.

03/29/2013   SP     Review available documents to answer questions      L120     0.40 hrs
                    relating to proposed FGIC custodians.

03/29/2013   SP     Review documents from supplemental privilege        L120     4.60 hrs
                    logs for privilege determinations and to confirm
                    entity affiliations of senders and recipients.
03/31/2013   JAL    Review and redraft MBIA claims objection (1.0).     L120     2.00 hrs
                    Review and redraft FGIC claims objection (1.0).



                    TOTAL FEES FOR THIS MATTER                                  $83,639.00
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EXPENSES

03/29/2013              (TRIP-JAL-3/28-29/13) Out-of-Town Travel/Airfare (coach) -                $446.45
                        travel to New York City for meetings on FGIC discovery

03/29/2013              (TRIP-JAL-3/28-29/13) Out-of-Town Travel/Hotel - travel to                $599.62
                        New York City for meetings on FGIC discovery

03/29/2013              (TRIP-JAL-3/28-29/13) Out-of-Town Travel/Taxi from airport to                $48.98
                        hotel - travel to New York City for meetings on FGIC discovery

03/29/2013              (TRIP-JAL-3/28-29/13) Out-of-Town Travel/Dinner 3/28/13 -                    $20.00
                        travel to New York City for meetings on FGIC discovery

03/29/2013              (TRIP-JAL-3/28-29/13) Out-of-Town Travel/Taxi from hotel to                  $49.58
                        airport - travel to New York City for meetings on FGIC discovery

03/29/2013              (TRIP-JAL-3/28-29/13) Out-of-Town Travel/Lunch 3/29/13 -                     $20.00
                        travel to New York City for meetings on FGIC discovery

03/29/2013              (TRIP-JAL-3/28-29/13) Out-of-Town Travel/Parking @ Port                      $15.33
                        Columbus - travel to New York City for meetings on FGIC
                        discovery

                        TOTAL EXPENSES FOR THIS MATTER                                           $1,199.96


BILLING SUMMARY


         Beck, David A.                            114.10 hrs    280.00 /hr        $31,948.00


         Barthel, David J.                           35.00 hrs   210.00 /hr          $7,350.00


         Marty, Gretchen N.                          11.80 hrs   175.00 /hr          $2,065.00


         Lipps, Jeffrey A.                           50.00 hrs   400.00 /hr        $20,000.00


         Battle, Jennifer A.L.                       26.80 hrs   300.00 /hr          $8,040.00


         Rhode, Jacob D.                             23.30 hrs   160.00 /hr          $3,728.00


         Corcoran, Jeffrey R.                        25.00 hrs   180.00 /hr          $4,500.00


         Mohler, Mallory M.                           1.60 hrs   160.00 /hr           $256.00
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      Beekhuizen, Michael N.                 2.90 hrs   280.00 /hr        $812.00


      Samson, Robert B.                      2.30 hrs   100.00 /hr        $230.00


      Phillips, Segev                       20.00 hrs   220.00 /hr    $4,400.00


      Sholl, Veronica L.                     3.10 hrs   100.00 /hr        $310.00



   TOTAL FEES                              315.90 hrs                $83,639.00

   TOTAL EXPENSES                                                     $1,199.96

   TOTAL CHARGES FOR THIS INVOICE                                    $84,838.96
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 530 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           April 23, 2013

                                                                  Billed through 03/31/2013
Tammy Hamzephour                                                  Invoice # 53935      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

03/06/2013   DAB       E-mail Mr. Ruckdaschel (Residential Capital)               L120        0.10 hrs
                       regarding CUNA request for a custodian affidavit
                       on loan files.
03/07/2013   JALB      Telephone conference with Mr. Hoffman                      L120        0.40 hrs
                       (Morrison & Foerster) and Mr. Underhill
                       (Residential Capital) regarding
                       migration/consolidation of discovery data from
                       multiple litigations into one database.
03/07/2013   JALB      Weekly client update call regarding status of open         L120        0.20 hrs
                       discovery matters (with Mr. Thompson, Mr.
                       Ruckdaschel, Mr. Underhill, Ms. Zellmann and
                       others from Residential Capital).
03/11/2013   JALB      Telephone conference with Mr. Underhill and Ms.            L120        0.60 hrs
                       Zellmann (both Residential Capital) regarding
                       status of and consolidation of various document
                       databases, likely upcoming projects.
03/12/2013   VLS       Research issue of missing loan file for CUNA               L320        1.20 hrs
                       production.

03/12/2013   VLS       E-mail Ms. Clinton at GMACM requesting missing             L320        0.30 hrs
                       loan file for CUNA.

03/12/2013   VLS       E-mail exchange with Mr. Beck regarding missing            L320        0.20 hrs
                       loan file for CUNA.
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03/12/2013   VLS    Receipt and review of e-mail from Ms. Sortor at        L320     0.10 hrs
                    Korein and Tillery regarding missing loan file with
                    respect to CUNA subpoena.
03/12/2013   JALB   Meet with Ms. Marty regarding                          L120     0.30 hrs
                    migration/consolidation of data from multiple
                    discovery databases and upcoming projects.
03/12/2013   DAB    Call with Mr. Ramachandrappa (counsel to FHLB)         L120     0.10 hrs
                    regarding FHLB subpoena.

03/13/2013   VLS    E-mail exchange with Mr. Beck regarding list of        L320     0.20 hrs
                    loan files related to FHLB vs Countrywide.

03/13/2013   VLS    Receipt of CD containing list of loan files and load   L320     0.60 hrs
                    onto internal database for review by Mr. Beck.

03/19/2013   JALB   Discussion with Mr. Underhill (Residential             L120     0.20 hrs
                    Capital) regarding status of data migration of
                    litigation databases.
03/21/2013   JALB   Participate in weekly client call (with Mr.            L120     0.70 hrs
                    Thompson, Ms. Zellmann, Mr. Underhill, Ms.
                    Delehey, Mr. Ruckdaschel) regarding status of
                    claims process and pending servicing issue.
03/21/2013   JALB   Telephone conference with Mr. Underhill                L120     0.40 hrs
                    regarding litigation data migration issues.

03/22/2013   AMP    Attention to responding to Kramer Levin's letter       L320     1.60 hrs
                    regarding common interest assertion in
                    subservicing production.
03/22/2013   AMP    Multiple e-mails with Morrison & Foerster team         L320     0.80 hrs
                    regarding draft response.

03/22/2013   JALB   Follow-up with Mr. Rosenbaum (Morrison &               L120     0.40 hrs
                    Foerster) and Mr. Isajiw (CWT) regarding
                    litigation data migration questions.
03/23/2013   VLS    E-mail exchange with Mr. Beck regarding                L320     0.30 hrs
                    additional loan file for production related to the
                    CUNA subpoena matter.
03/25/2013   AMP    Attention to quality control review of subservicing    L320     1.10 hrs
                    privilege logs.

03/25/2013   VLS    E-mail exchange with Ms. Wong at vender Profile        L320     0.40 hrs
                    Discovery regarding preparation of additional loan
                    file for production related to the CUNA subpoena
                    project.
03/26/2013   DAB    Communicate with Mr. Ruckdashel (Residential           L120     0.10 hrs
                    Capital) and Mr. Sechler regarding Castle Peak
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                    request for power of attorney.
03/26/2013   VLS    Telephone conference with Ms. Gaunder regarding               L320     0.40 hrs
                    additional loan file for production related to the
                    CUNA subpoena matter.
03/26/2013   VLS    E-mail to Mr. Beck regarding production of                    L320     0.20 hrs
                    additional loan file related to the CUNA subpoena
                    matter.
03/26/2013   JALB   E-mails with Mr. Underhill (Residential Capital)              L120     0.20 hrs
                    and Mr. Hoffman (Morrison & Foerster) regarding
                    SEC data migration.
03/26/2013   DAB    E-mail Mr. Ruckdashel (Residential Capital)                   L120     0.20 hrs
                    regarding third party subpoena from FHLB.

03/27/2013   DAB    E-mail Mr. Ramachandrappa (counsel to FHLB)                   L120     0.10 hrs
                    regarding subpoena request.

03/27/2013   DAB    Call with Mr. Ruckdashel (Residential Capital)                L120     0.20 hrs
                    regarding third party discovery requests from
                    FHLB and CUNA.
03/27/2013   DAB    E-mail Ms. Sortor (Korein Tillery) regarding                  L120     0.10 hrs
                    CUNA discovery requests.

03/27/2013   DAB    Conference with Ms. Barrage (Morrison &                       L120     0.20 hrs
                    Foerster) regarding strategy post-servicing sale on
                    third party discovery requests.
03/27/2013   DAB    E-mail with Mr. Ruckdashel (Residential Capital)              L120     0.10 hrs
                    regarding FHLB loan file request.

03/27/2013   DAB    E-mails with Mr. Ruckdashel (Residential Capital),            L120     0.20 hrs
                    Ms. Beck and Mr. Kohler (Morrison & Foerster)
                    regarding status of servicing on loans covered by
                    FHLB submission.


                    TOTAL FEES FOR THIS MATTER                                             $2,764.50

EXPENSES

03/27/2013          Delivery Service/Messengers - Federal Express to Ms. Sorter                  $16.82
                    from Mr. Beck

03/29/2013          Outside Copying - electronic bates branding (CUNA Subpoena $           $2,990.47
                    6.88 + tax) and blowback of documents (Audit Materials $
                    2794.50 + tax)

                    TOTAL EXPENSES FOR THIS MATTER                                         $3,007.29
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BILLING SUMMARY


       Paul, Angela M.                        3.50 hrs   275.00 /hr        $962.50


       Beck, David A.                         1.40 hrs   280.00 /hr        $392.00


       Battle, Jennifer A.L.                  3.40 hrs   300.00 /hr    $1,020.00


       Sholl, Veronica L.                     3.90 hrs   100.00 /hr        $390.00



    TOTAL FEES                               12.20 hrs                $2,764.50

    TOTAL EXPENSES                                                    $3,007.29

    TOTAL CHARGES FOR THIS INVOICE                                    $5,771.79
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
                              Monthly Invoices Pg 534 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                            April 23, 2013

                                                                     Billed through 03/31/2013
Tammy Hamzephour                                                     Invoice # 53936      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

03/01/2013     AMP     Attention to project for supplementation of 31                L320        1.80 hrs
                       more basic privilege logs with symbols denoting
                       company affiliation.
03/01/2013     AMP     Draft follow-up instructions for privilege team.              L120        1.30 hrs


03/01/2013     AMP     Attention to assignments for privilege team                   L320        0.40 hrs
                       members to supplement privilege logs with
                       requested symbols along parameters and
                       instructions provided.
03/01/2013     AMP     Attention to reviewing and responding to questions            L320        0.90 hrs
                       from privilege team members as they perform their
                       assignments.
03/01/2013     AMP     Review updated tracking chart on privilege log                L320        0.30 hrs
                       product.

03/01/2013     AMP     E-mails with Ms. Sholl regarding updated tracking             L120        0.20 hrs
                       chart on privilege log product.

03/01/2013     AMP     Attention to specific review of certain documents             L320        2.10 hrs
                       identified on the privilege log for production
                       127/128 for common interest privilege assertions.
03/01/2013     AMP     Multiple e-mails with privilege team regarding                L120        0.80 hrs
                       follow-up instructions for privilege team on
                       privilege log supplementation.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
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03/01/2013   AMP    E-mails with Ms. Buchanan regarding specific            L320     0.40 hrs
                    review of certain documents identified on the
                    privilege log for production 127/128 for common
                    interest privilege assertions.
03/01/2013   JAL    Prepare for Mr. Grey's interview (.50). Conference      L120    11.20 hrs
                    with Mr. Day (Morrison & Foerster) regarding
                    same (.30). Conference with Mr. Grey and Mr.
                    Day to prepare for interview (1.0). Participate at
                    interview of Mr. Grey (3.0). Conference with Mr.
                    Day regarding interview (.30). Review Mr.
                    Bricker's documents in transit to Philadelphia (2.3).
                    Draft summary of Mr. Gray's interview in transit to
                    Philadelphia (.50). Conference with Ms. Battle
                    regarding interview summaries (.20). Review
                    e-mails regarding Court conference addressing
                    examiner issues (.30). Review outline of topics for
                    Mr. Steinhagen's interview (.20). Review and
                    respond to e-mails regarding interview schedule
                    and coverage (.10). Review analysis of Cerberus
                    board member tenure (.10). Review Cerberus
                    board member documents (1.0). Draft Cerberus
                    board member outlines (1.0). Review Mr. Beck's
                    summary of Mr. Pohl's interview and Mr.
                    Corcoran's summary of Ms. Lundsten's interview
                    (.40).
03/01/2013   VLS    Research internal database for information              L320     0.80 hrs
                    regarding production of Seller files.

03/01/2013   VLS    E-mail exchange with Ms. Battle regarding               L320     0.30 hrs
                    production of Seller Files.

03/01/2013   VLS    Review for accuracy and completeness the Scholtz        L320     0.80 hrs
                    e-mail and material as prepared by Mr. Gerdts at
                    Kroll.
03/01/2013   VLS    Conference with Ms. Paul Whitfield regarding            L320     0.40 hrs
                    tracking of completion status of privilege logs.

03/01/2013   VLS    Update and revise current privilege log tracking        L320     1.40 hrs
                    spreadsheet.

03/01/2013   VLS    Multiple e-mail exchanges with Mr. Gerdts (Kroll)       L320     0.60 hrs
                    regarding production specification and production
                    time frame.
03/01/2013   JALB   Discussion with Mr. Lipps regarding interview           L120     0.20 hrs
                    summary notes.

03/01/2013   JALB   Review and analyze Ms. Steinhagen's materials in        L330     1.20 hrs
                    preparation for interview meeting.
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03/01/2013   JALB   Review Ms. Steinhagen's topic list from Examiner.   L330     0.20 hrs


03/01/2013   JALB   Review Mr. Scholtz's preparation memorandum.        L330     0.60 hrs


03/01/2013   JALB   Discuss Mr. Scholtz preparation memorandum          L120     0.20 hrs
                    with Mr. Corcoran.

03/01/2013   JALB   Correspondence with Mr. Beck and Mr. Lipps          L120     0.20 hrs
                    regarding coverage and preparation for upcoming
                    interviews.
03/01/2013   MMM    Review outline prepared for Steinhagen's Examiner   L120     0.30 hrs
                    interview.

03/01/2013   MMM    Meeting with Mr. Beck and Mr. Corcoran              L120     0.20 hrs
                    regarding status of Examiner interviews and
                    preparation outlines.
03/01/2013   DAB    Revise summary of examiner interview of Mr.         L330     1.70 hrs
                    Pohl.

03/01/2013   DAB    E-mails with Ms. Battle regarding planning for      L330     0.30 hrs
                    upcoming examiner interviews.

03/01/2013   DAB    Conference with Mr. Corcoran and Ms. Mohler         L120     0.20 hrs
                    regarding issues for upcoming examiner interview
                    preparations.
03/01/2013   DAB    E-mails with Mr. Sechler regarding planning for     L120     0.10 hrs
                    upcoming examiner interviews.

03/01/2013   DAB    Communicate with Mr. Lipps regarding issues for     L120     0.20 hrs
                    upcoming examiner interviews.

03/01/2013   DAB    Research background of upcoming Cerberus            L330     1.40 hrs
                    personnel being interviewed by examiner.

03/01/2013   JRC    Conference with Mr. Beck and Ms. Mohler             L420     0.20 hrs
                    regarding preparation for examiner interviews of
                    Mr. Blackburn and Mr. Blahut.
03/01/2013   JRC    Conference with Mr. Beck regarding preparation      L420     0.10 hrs
                    for interview of Mr. Blahut by the examiner.

03/01/2013   JRC    E-mail exchange with Ms. Paul Whitfield             L320     0.20 hrs
                    regarding clawback of documents from the
                    bankruptcy examiner.
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03/01/2013   JRC    Revise memorandum analyzing Ms. Lundsten's           L210     3.20 hrs
                    examiner interview based on suggestions of Ms.
                    Battle.
03/01/2013   JRC    Conference with Mr. Beck and Ms. Mohler              L120     0.20 hrs
                    regarding preparation for examiner interviews of
                    Mr. Blackburn and Mr. Blahut.
03/01/2013   JRC    Conference with Mr. Beck regarding preparation       L120     0.10 hrs
                    for interview of Mr. Blahut by the examiner.

03/01/2013   JRC    E-mail exchange with Ms. Paul-Whitfield              L120     0.20 hrs
                    regarding clawback of documents from the
                    bankruptcy examiner.
03/01/2013   JRC    Revise memorandum analyzing Ms. Lundsten's           L120     3.20 hrs
                    examiner interview based on suggestions of Ms.
                    Battle.
03/01/2013   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.20 hrs
                    regarding production question from Ms. Miller
                    (Chadbourne).
03/01/2013   GNM    Working in Discovery Partner configuring data for    L320     0.90 hrs
                    reproduction.

03/01/2013   GNM    Drafting e-mail communications to Mr. Brown          L120     0.50 hrs
                    (Morrison & Foerster) regarding clawback letter.

03/01/2013   GNM    Preparing clawback for items involving Mike          L320     0.90 hrs
                    Seats.

03/01/2013   GNM    Going through spreadsheet of Cerberus documents      L320     1.40 hrs
                    to determine production status.

03/01/2013   SCM    First level edits to privilege log, Hamzehpour,      L320     1.00 hrs
                    section 8 of 8.

03/01/2013   MJB    Revise Hamzehpour privilege log, set 7, prior to     L320     6.40 hrs
                    production.

03/01/2013   HLB    Review and edits of privilege log for proper         L120     1.30 hrs
                    privilege coding per quality control examiner
                    protocol for batch 127/128 documents fully
                    withheld.
03/01/2013   AEG    Review documents to make sure they were              L140     4.00 hrs
                    properly coded and insert symbols next to the
                    names of ResCap attorneys, Ally attorneys and
                    third-party recipients. (Privilege Withheld Log
                    132-133-CG (0034785) )
03/02/2013   AMP    Attention to reviewing and responding to questions   L320     2.10 hrs
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                    from privilege team members regarding company
                    affiliations of individuals for supplementation of
                    privilege logs.
03/02/2013   AMP    Multiple e-mails regarding reviewing and              L320     1.20 hrs
                    responding to questions from privilege team
                    members regarding company affiliations of
                    individuals for supplementation of privilege logs.
03/02/2013   AMP    Review multiple documents regarding company           L320     1.30 hrs
                    affiliations of individuals for supplementation of
                    privilege logs.
03/02/2013   AMP    Research in database for additional information       L320     1.00 hrs
                    regarding certain individuals to determine if they
                    were Ally or ResCap employees.
03/02/2013   JAL    Review Mr. Bricker's documents to prepare for         L120    10.30 hrs
                    meeting with Mr. Day (Morrison & Foerster) and
                    Mr. Bricker (2.8). Conference with Mr. Day to
                    prepare for meeting with Mr. Bricker (1.0).
                    Conference with Mr. Day and Mr. Bricker to
                    prepare for interview (3.5). Review Mr. Blitzer's
                    documents in transit to Ohio (2.5). Reviews and
                    respond to e-mails regarding Mr. Bricker's
                    interview preparation and interview (.30). Review
                    e-mails regarding Mr. Blitzer's interview topics
                    (.20).
03/02/2013   VLS    Update privilege log progress tracking spreadsheet.   L320     0.30 hrs


03/02/2013   VLS    E-mail exchange with Mr. Gerdts at Kroll              L320     0.20 hrs
                    regarding production of Mr. Scholtz e-mails.

03/02/2013   VLS    Receipt and review of multiple e-mails between        L320     0.20 hrs
                    Ms. Paul Whitfield and various Privilege Log
                    project team members.
03/02/2013   DAB    Draft issue outline for examiner interview of Mr.     L330     2.10 hrs
                    Kravit.

03/02/2013   HLB    Review and edits of privilege log for proper          L120     1.70 hrs
                    privilege coding per quality control examiner
                    protocol for batch 127/128 documents fully
                    withheld.
03/02/2013   AEG    Review documents to make sure they were               L140     4.00 hrs
                    properly coded and insert symbols next to the
                    names of ResCap attorneys, Ally attorneys and
                    third-party recipients. (Privilege Withheld Log
                    132-133-CG (0034785) )
03/03/2013   AMP    Further review of specific documents identified by    L320     1.80 hrs
                    privilege team members to determine company
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                    affiliation and/or common interest assertion.
03/03/2013   AMP    E-mails with privilege team members regarding       L120     2.10 hrs
                    additional instructions and answers to questions.

03/03/2013   AMP    Review and respond to e-mail from Mr. Beck          L120     0.70 hrs
                    regarding protocol for common interest assertions
                    with Ally in preparation of examiner interview.
03/03/2013   AMP    Multiple e-mails with Mr. Beck and Ms. Marty        L120     0.30 hrs
                    regarding protocol for common interest assertions
                    with Ally in preparation of examiner interview.
03/03/2013   JAL    Review and redraft outline for preparation of Mr.   L120     7.00 hrs
                    Blitzer (1.0). Review potential exhibits for Mr.
                    Blitzer's interview (3.7). Review and revise
                    preparation outlines for Mr. Scholtz, Mr.
                    Steinhagen and Mr. Kravit (2.0). Review e-mails
                    regarding same (.30).
03/03/2013   JALB   Review and analyze Ms. Steinhagen's preparation     L330     0.50 hrs
                    materials.

03/03/2013   MMM    Begin drafting summary of Whitlinger interview      L120     3.20 hrs
                    memorandum.

03/03/2013   DAB    Draft issue outline for examiner interview of Mr.   L330     1.10 hrs
                    Kravit.

03/03/2013   DAB    E-mails with Mr. Lipps regarding examiner           L120     0.30 hrs
                    interviews of Cerberus personnel.

03/03/2013   DAB    E-mails with Ms. Paul-Whitfield and Ms. Marty       L120     0.20 hrs
                    regarding potential privilege issues related to
                    examiner interviews of Cerberus personnel.
03/03/2013   DAB    Review materials on joint defense privilege to      L330     0.30 hrs
                    prepare for interviews of Cerbreus personnel.

03/03/2013   DAB    E-mails with Mr. Day (Morrison & Foerster) and      L120     0.20 hrs
                    Ms. Battle regarding coordination of preparations
                    for upcoming examiner witnesses.
03/03/2013   AEG    Review documents to make sure they were             L140     9.00 hrs
                    properly coded and insert symbols next to the
                    names of ResCap attorneys, Ally attorneys and
                    third-party recipients. (Privilege Withheld Log
                    132-133-CG (0034785) and Privilege Withheld
                    Log 132-133(0034785) )
03/04/2013   AMP    Finalize supplemental withheld and redacted logs    L320     0.90 hrs
                    for production 116/117 with symbols included.
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03/04/2013   AMP    Further attention to project for supplementation of   L320     1.20 hrs
                    31 basic privilege logs with symbols denoting
                    company affiliation.
03/04/2013   AMP    Attention to reviewing and responding to questions    L320     1.40 hrs
                    from privilege team members as they perform their
                    assignments.
03/04/2013   AMP    Conference with Ms. Battle regarding clawback         L120     0.30 hrs
                    deadline issues and modifications to protective
                    order.
03/04/2013   AMP    Draft e-mail to Morrison & Foerster team              L120     0.20 hrs
                    regarding clawback deadline issues and
                    modifications to protective order.
03/04/2013   AMP    E-mails with Ms. Battle regarding clawback            L120     0.20 hrs
                    deadline issues and modifications to protective
                    order.
03/04/2013   AMP    Attention to assignments of privilege logs to team    L320     0.30 hrs
                    members.

03/04/2013   AMP    E-mails with Ms. Sholl regarding assignments of       L320     0.20 hrs
                    privilege logs to team members.

03/04/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L120     0.30 hrs
                    and Ms. Levitt (Morrison & Foerster) regarding
                    March 15 deadline.
03/04/2013   AMP    E-mails with Mr. Brown and Ms. Tice (Morrison         L320     0.40 hrs
                    & Foerster) regarding prior clawback list from
                    privilege logs.
03/04/2013   AMP    Attention to drafting clawback list and reviewing     L320     1.60 hrs
                    earlier privilege logs for same.

03/04/2013   AMP    E-mails with Ms. Battle regarding Mr. Russell and     L320     0.30 hrs
                    Mr. Hammond being ResCap employees and
                    responsibilities for drafting clawback list and
                    reviewing earlier privilege logs for same.
03/04/2013   AMP    Attention to status of February 15 request list.      L120     0.20 hrs


03/04/2013   AMP    E-mails with Morrison & Foerster team and Ms.         L120     0.20 hrs
                    Marty regarding status of February 15 request list.

03/04/2013   AMP    Attention to Scholtz Bloomberg data issues.           L320     0.80 hrs


03/04/2013   AMP    E-mails with Ms. Sholl and Mr. Barthel regarding      L320     0.30 hrs
                    Scholtz Bloomberg data issues.
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03/04/2013   AMP    Review databases for prior searches for those          L320     0.70 hrs
                    documents.

03/04/2013   AMP    Forward multiple e-mails and reports from              L320     1.30 hrs
                    Relativity regarding the Bloomberg data previously
                    produced in other matters for Scholtz.
03/04/2013   AMP    Draft decision log for privilege review.               L320     0.70 hrs


03/04/2013   AMP    Attention to clawback issues involving examiner        L320     1.10 hrs
                    production.

03/04/2013   JAL    Review potential exhibits for Mr. Blitzer in transit   L120     7.50 hrs
                    to Philadelphia (2.5). Conference with Mr. Day
                    (Morrison & Foerster) to prepare Mr. Blitzer (.50).
                    Conference with Mr. Day and Mr. Blitzer to
                    prepare for interview (3.5). Review and respond to
                    e-mails regarding privilege assertions (.20).
                    Review examiner's outline for Mr. Blitzer's
                    interview (.10). Review and respond to e-mails
                    regarding examiner interviews and coverage (.10).
                    Review e-mails regarding document production
                    (.10). Review report on Mr. Kravit's interview
                    (.50).
03/04/2013   VLS    E-mail exchange with Mr. McInerney at Kroll            L320     0.20 hrs
                    regarding Scholtz e-mail production.

03/04/2013   VLS    E-mail exchange with Ms. Battle regarding Scholtz      L320     0.20 hrs
                    e-mail production.

03/04/2013   VLS    Organize and assemble completed first level            L320     0.60 hrs
                    reviewed privilege logs.

03/04/2013   VLS    Update Privilege log tracking spreadsheets.            L320     0.60 hrs


03/04/2013   VLS    Update Privilege log attorney name list originally     L320     3.10 hrs
                    prepared by Mr. Molnar with additional names
                    discovered during first level document review.
03/04/2013   VLS    Receipt and review of spreadsheet prepared by Mr.      L320     0.60 hrs
                    Gerdts at Kroll related to the Scholtz e-mail
                    production.
03/04/2013   VLS    Multiple telephone conferences with Mr. Gerdts at      L320     0.80 hrs
                    Kroll regarding the Scholtz e-mail production.

03/04/2013   VLS    E-mail exchange with Mr. Barthel regarding             L320     0.20 hrs
                    Scholtz e-mail production.
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03/04/2013   VLS    E-mail exchange with Ms. Paul-Whitfield               L320     0.20 hrs
                    regarding Scholtz e-mail production.

03/04/2013   VLS    Research personal files for historic information      L320     2.60 hrs
                    regarding original production of Scholtz e-mails in
                    the MBIA vs RFC matter.
03/04/2013   VLS    Multiple e-mail exchanges with Mr. Gerdts (Kroll)     L320     1.20 hrs
                    regarding the Scholtz e-mail production.

03/04/2013   JALB   Meet with Ms. Marty regarding staffing for            L120     0.30 hrs
                    privilege log closeout and other document
                    production issues.
03/04/2013   JALB   Correspondence with Mr. Salerno, Ms. Levitt, Mr.      L120     0.50 hrs
                    Brown (all Morrison & Foerster), Ms. Marty and
                    Ms. Sholl regarding collection and searching of
                    Scholtz e-mail for Examiner request.
03/04/2013   JALB   Telephone conference with Ms. Miller and Mr.          L120     0.40 hrs
                    Childs (Chadbourne) regarding collection and
                    searching of Scholtz e-mail for Examiner request.
03/04/2013   JALB   Discussion with Ms. Sholl regarding privilege log     L120     0.20 hrs
                    updates.

03/04/2013   JALB   Discussion with Mr. Underhill (Residential            L120     0.20 hrs
                    Capital) regarding collection of additional data of
                    Mr. Scholtz.
03/04/2013   JALB   Correspondence with Mr. Lipps regarding               L120     0.20 hrs
                    preparation of Mr. Blitzer (former Residential
                    Capital).
03/04/2013   JALB   Correspondence with Ms. Paul-Whitfield to             L120     0.30 hrs
                    coordinate privilege log updates and clawbacks.

03/04/2013   JALB   Various e-mails with Mr. Illovsky (Morrison &         L120     0.30 hrs
                    Foerster), Mr. Day (Morrison & Foerster) and Mr.
                    Beck regarding scheduling of interviews and
                    changes to schedule.
03/04/2013   JALB   Discussion with Ms. Paul-Whitfield and Mr. Lipps      L120     0.40 hrs
                    regarding clawback issues.

03/04/2013   JALB   Telephone conference with Mr. Brown (Kirkland         L120     0.40 hrs
                    & Ellis) regarding coordination on upcoming
                    witnesses.
03/04/2013   DJB    Research prior production of Eric Scholtz             L120     0.40 hrs
                    Bloomberg data to assist Morrison Foerster with
                    productions to the Examiner.
03/04/2013   DAB    E-mails with Ms. Levitt (Morrison & Foerster)         L120     0.20 hrs
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                    regarding privilege positions in previous examiner
                    interviews.
03/04/2013   DAB    E-mails with Mr. Day (Morrison & Foerster)            L120     0.10 hrs
                    regarding coordination of preparation work on
                    upcoming examiner interviews.
03/04/2013   DAB    Call with Mr. Ilovsky and Mr. Day (Morrison &         L120     0.20 hrs
                    Foerster) regarding issues for upcoming examiner
                    interviews.
03/04/2013   DAB    Participate in examiner interview of Mr. Kravit.      L330     5.30 hrs


03/04/2013   DAB    Draft summary of Kravit interview.                    L330     4.20 hrs


03/04/2013   JRC    Teleconference with Ms. Battle, Mr. Salerno           L120     0.20 hrs
                    (Morrison & Foerster) and attorneys from
                    Chadbourne & Parke regarding search terms for
                    Mr. Scholtz's e-mails.
03/04/2013   JRC    Conference with Ms. Battle regarding review of        L420     0.10 hrs
                    securitization transaction documents for examiner
                    interview preparation.
03/04/2013   JRC    Review securitization transaction documents to        L320     0.80 hrs
                    prepare examiner interview preparation materials.

03/04/2013   JRC    Review and analyze documents in Discovery             L320     2.90 hrs
                    Partner in order to respond to the examiner's
                    request for search terms to filter Mr. Scholtz's
                    e-mails.
03/04/2013   JRC    Review and analyze documents in litigation            L320     1.40 hrs
                    databases in order to respond to the examiner's
                    request for search terms to filter Mr. Scholtz's
                    e-mails.
03/04/2013   JRC    E-mail exchanges with Ms. Battle regarding            L120     0.10 hrs
                    response to examiner's request for search terms to
                    filter Mr. Scholtz's e-mails.
03/04/2013   JRC    Review and analyze documents in Discovery             L320     0.60 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Scholtz.
03/04/2013   JRC    Review transaction documents for Residential          L120     1.90 hrs
                    Capital securitizations in order to determine key
                    originators in those securitizations.
03/04/2013   JRC    Draft analysis for Ms. Battle regarding search        L120     0.40 hrs
                    terms for Mr. Scholtz.

03/04/2013   JRC    Review and analyze documents in Concordance in        L120     0.40 hrs
                    order to determine appropriate search terms for Mr.
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                    Scholtz's e-mails.
03/04/2013   JRC    Review and analyze documents in Discovery              L320     2.80 hrs
                    Partner in order to determine appropriate search
                    terms for Mr. Scholtz's e-mails.
03/04/2013   JRC    Teleconference with Ms. Battle, Mr. Salerno            L120     0.20 hrs
                    (Morrison & Foerster), and counsel for the
                    examiner regarding proposed search terms for Mr.
                    Scholtz's e-mails.
03/04/2013   SP     Perform quality control review of privilege logs for   L120     3.90 hrs
                    phase III production, batch 122/123
                    non-Hamzehpour.
03/04/2013   SP     Research and provide answers to questions from         L120     1.80 hrs
                    privilege log reviewers.

03/04/2013   GNM    E-mail communications with Mr. Beck regarding          L120     0.20 hrs
                    staffing levels for examiner review.

03/04/2013   GNM    Telephone communications with Ms. Shank                L120     0.60 hrs
                    (Residential Capital) regarding outstanding
                    requests from the Examiner.
03/04/2013   GNM    E-mail communications with Ms. Paul Whitfield          L120     0.20 hrs
                    regarding privilege logs.

03/04/2013   GNM    Drafting and sending e-mail communications to the      L120     0.20 hrs
                    contract review team regarding staffing needs.

03/04/2013   GNM    Telephone communications with Mr. Gerdts               L120     0.20 hrs
                    (Kroll) regarding Mr. Scholtz's data.

03/04/2013   GNM    E-mail communications with Mr. McInerney               L120     0.30 hrs
                    (Kroll) regarding Mr. Scholtz's data migration.

03/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)        L120     0.30 hrs
                    regarding Mr. Scholtz's data migration.

03/04/2013   GNM    Telephone communications with Mr. Shipler (DTI)        L120     0.60 hrs
                    regarding privilege log reports.

03/04/2013   GNM    Meeting with Ms. Battle regarding staffing needs       L120     0.40 hrs
                    for privilege logs.

03/04/2013   GNM    Drafting responses to outstanding requests from        L320     0.70 hrs
                    the Examiner.

03/04/2013   GNM    Working in Discovery Partner researching answers       L320     1.60 hrs
                    to requests from the Examiner.
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03/04/2013   SCM    First level edits to privilege log, Hamzehpour,       L320     5.10 hrs
                    section 8 of 8.

03/04/2013   MJB    Continue to revise Hamzehpour privilege log, set      L320     1.80 hrs
                    7, prior to production.

03/04/2013   HLB    Review and edits of privilege log for proper          L120     2.70 hrs
                    privilege coding per quality control examiner
                    protocol for batch 127/128 documents fully
                    withheld.
03/04/2013   HLB    Review and edits of privilege log for proper          L120     3.50 hrs
                    privilege coding per quality control examiner
                    protocol for batch 127/128 documents fully
                    withheld.
03/04/2013   AEG    Review documents to make sure they were               L140     4.00 hrs
                    properly coded and insert symbols next to the
                    names of ResCap attorneys, Ally attorneys and
                    third-party recipients. (Privilege Withheld Log
                    132-133(0034785) )
03/05/2013   AMP    Attention to creating updated personnel list with     L320     1.70 hrs
                    additional names by company affiliation.

03/05/2013   AMP    Attention to reviewing and responding to questions    L320     1.90 hrs
                    from privilege team members as they perform their
                    assignments.
03/05/2013   AMP    Review updated tracking chart.                        L320     0.30 hrs


03/05/2013   AMP    Attention to issues regarding redaction logs from     L320     0.40 hrs
                    Phase I and II missing certain data.

03/05/2013   AMP    E-mails with Ms. Marty regarding redaction logs       L320     0.30 hrs
                    from Phase I and II missing certain data.

03/05/2013   AMP    Attention to Scholtz data follow-up with Ms. Sholl.   L320     0.40 hrs


03/05/2013   AMP    Attention to issues regarding Ms. Hahn appearing      L320     0.20 hrs
                    on privilege logs.

03/05/2013   AMP    E-mails with Ms. Marty and Mr. Phillips regarding     L120     0.20 hrs
                    Ms. Hahn appearing on privilege logs.

03/05/2013   AMP    Attention to revising, supplementing and finalizing   L320     2.10 hrs
                    quality control protocol for reviewing the
                    supplemental privilege logs with symbols prior to
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                    production.
03/05/2013   AMP    Attention to quality control of subpart 1 of           L320     2.20 hrs
                    withheld log for production 122/123-Hamzehpour.

03/05/2013   JAL    Prepare for Mr. Blitzer's interview (1.0).             L120     6.50 hrs
                    Conference with Mr. Blitzer and Mr. Day
                    (Morrison & Foerster) regarding same (.80).
                    Participate at Mr. Blitzer's interview (4.0). Review
                    and respond to e-mails regarding examiner
                    schedule and coverage (.20). Review and redraft
                    Ms. Gray's interview preparation outline (.30).
                    Review and respond to e-mails regarding Mr.
                    Steinhagen's interview schedule (.10). Review
                    e-mails regarding production of Mr. Schultz's
                    e-mails (.10).
03/05/2013   VLS    Telephone conference with Mr. Gerdts at Kroll to       L320     0.80 hrs
                    discuss issues with Scholtz e-mail production in
                    Kroll database.
03/05/2013   VLS    Assemble and organize completed first level            L320     1.80 hrs
                    reviewed privilege logs.

03/05/2013   VLS    Update privilege log tracking spreadsheet.             L320     0.80 hrs


03/05/2013   VLS    E-mail exchange with Mr. Shipler at DTI regarding      L320     0.20 hrs
                    transfer of Scholtz material currently in Kroll
                    database to Discovery Partner database.
03/05/2013   VLS    Review of test export of Scholtz e-mails for           L320     0.80 hrs
                    accuracy and compliance with Production
                    Specification.
03/05/2013   VLS    E-mail exchange with Ms. Marty and Mr. Gerdts at       L320     0.30 hrs
                    Kroll regarding test export.

03/05/2013   VLS    Multiple e-mails with Mr. Shipler at DTI regarding     L320     0.60 hrs
                    production of Seller files.

03/05/2013   VLS    Meeting and research with Ms. Marty regarding          L320     2.10 hrs
                    issues with Scholtz e-mail production in Kroll
                    database in advance of phone conference with
                    Kroll. (1.10) Reseach issues on Scholtz e-mail
                    production. (1.00)
03/05/2013   VLS    Conference with Ms. Battle and Ms. Marty               L320     0.40 hrs
                    regarding issues with Scholtz e-mail productions in
                    Kroll database.
03/05/2013   JES    Conference with Ms. Battle regarding preparing         L120     3.00 hrs
                    Applegate day two outline. (.40) Review
                    documents for potential use in outline. (2.60)
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03/05/2013   JALB   Attention to status of supplemental e-mail            L330     0.20 hrs
                    production of Mr. Scholtz.

03/05/2013   JALB   Conference with Mr. Sechler regarding key issues      L120     1.90 hrs
                    for additional interview by examiner of Mr.
                    Applegate. (.40) Conference with Ms. Sholl
                    regarding issues on Scholtz email production. (.40)
                    Communicate with Ms. Steinhagen (former
                    Residential Capital) regarding examiner interview.
                    (.20) Multiple emails with Mr. Lipps regarding
                    scheduling of additional witnesses requested by
                    examiner. (.20) Multiple emails with Mr. Ilovsky
                    and Mr. Day (Morrison & Foerster) regarding
                    scheduling of additional interviews. (.50) Calls
                    with Mr. Ilovsky and Mr. Day regarding same.
                    (.20)
03/05/2013   DJB    E-mail communications with Ms. Paul Whitfield         L120     0.90 hrs
                    and Mr. Phillips regarding issues pertaining to
                    privilege logs.
03/05/2013   DJB    Research Delivery Summaries from Kroll                L120     0.60 hrs
                    OnTrackInView relating to prior productions of
                    Eric Scholtz Bloomberg data to assist Morrison
                    Foerster with productions to the Examiner, and
                    communications with Ms. Sholl regarding same.
03/05/2013   DJB    Perform quality check of documents in batch           L120     6.30 hrs
                    140-141 withheld from production to the Examiner
                    on the basis of attorney-client privilege, attorney
                    work product, joint defenses, or common interest
                    to assist Morrison Foerster with productions to the
                    Examiner.
03/05/2013   DJB    Format privilege log, indicating specific reasons     L120     6.70 hrs
                    why documents in batch 140-141 withheld from
                    production to the Examiner are protected by
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest, and identify
                    affiliations of individuals appearing on e-mails to
                    assist Morrison Foerster with productions to the
                    Examiner.
03/05/2013   MMM    Continue drafting summary of Whitlinger               L120     3.50 hrs
                    interview.

03/05/2013   DAB    Revise summary of examiner interview of Mr.           L330     0.80 hrs
                    Kravit.

03/05/2013   DAB    Draft issues outline for examiner interview of Ms.    L330     0.60 hrs
                    Gray.
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03/05/2013   JRC    Review securitization transaction documents to         L320     1.60 hrs
                    prepare examiner interview preparation materials.

03/05/2013   JRC    Review and analyze documents in Discovery              L320     1.60 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Blahut.
03/05/2013   JRC    Review transaction documents for Residential           L120     1.60 hrs
                    Capital securitizations in order to determine key
                    originators in those securitizations.
03/05/2013   JRC    Draft analysis for Ms. Battle regarding key            L120     0.20 hrs
                    originators in Residential Capital securitizations.

03/05/2013   JRC    Review transactions documents in order to locate       L330     1.60 hrs
                    interview preparation materials for Mr. Blahut.

03/05/2013   SP     Review documents and compare to privilege log,         L120     5.80 hrs
                    noting entity affiliations and reason for privilege
                    determination.
03/05/2013   SP     Research and provide answers to questions from         L120     1.10 hrs
                    privilege log reviewers.

03/05/2013   SP     Perform quality control review of privilege logs for   L120     3.20 hrs
                    phase III production, batch 122/123
                    non-Hamzehpour.
03/05/2013   GNM    Meeting with Ms. Battle and Ms. Sholl regarding        L120     0.40 hrs
                    Kroll reproduction of Mr. Scholtz's data.

03/05/2013   GNM    E-mail communications with Mr. Shipler (DTI)           L120     0.20 hrs
                    regarding Mr. Scholtz's data migration.

03/05/2013   GNM    Meeting with Ms. Sholl regarding Kroll                 L120     1.10 hrs
                    reproduction of Mr. Scholtz's data.

03/05/2013   GNM    Telephone communications with Ms. Gulley (DTI)         L120     0.30 hrs
                    regarding Phase 3 reproductions.

03/05/2013   GNM    Telephone communications with Mr. Gerdts and           L120     1.20 hrs
                    Mr. McInerney (Kroll) regarding Kroll
                    re-production of Mr. Scholtz's data.
03/05/2013   GNM    Telephone communications with Ms. Sholl                L120     0.90 hrs
                    regarding Kroll re-production of Mr. Scholtz's
                    data.
03/05/2013   GNM    Working with Kroll database spreadsheets               L320     1.70 hrs
                    troubleshooting reproduction of Mr. Scholtz's data.

03/05/2013   GNM    Telephone communications with Mr. Shipler (DTI)        L120     1.10 hrs
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                    regarding privilege log reports.

03/05/2013   GNM    Telephone communications with Mr. Shipler (DTI)        L120     0.80 hrs
                    regarding production of Seller files.

03/05/2013   GNM    E-mail communications with Mr. Massey                  L120     0.20 hrs
                    (Contract Reviewer) regarding review of 9019
                    e-mails.
03/05/2013   GNM    E-mail communications with Ms. Tice (Morrison          L120     0.30 hrs
                    & Foerster) regarding request from the Examiner
                    about the 9019 e-mails.
03/05/2013   GNM    Meeting with Ms. Whitfield regarding privilege log     L120     0.60 hrs
                    reports.

03/05/2013   SCM    First level edits to privilege log, Hamzehpour,        L320     9.40 hrs
                    section 8 of 8.

03/05/2013   SCM    E-mail to Ms. Whitfield regarding privilege log.       L320     0.20 hrs


03/05/2013   MJB    Complete revision of Hamzehpour privilege log,         L320     6.90 hrs
                    set 7, prior to production.

03/05/2013   HLB    Review and edits of privilege log for proper           L120     4.80 hrs
                    privilege coding per quality control examiner
                    protocol on batch 127/128 documents fully
                    withheld.
03/06/2013   AMP    Attention to finalizing updated personnel list with    L320     0.90 hrs
                    additional names by company affiliation.

03/06/2013   AMP    Attention to reviewing and responding to questions     L320     3.10 hrs
                    from privilege team members as they perform their
                    assignments.
03/06/2013   AMP    E-mails with Mr. Beck and Ms. Battle regarding         L320     0.30 hrs
                    Ally clawback requests in light of document
                    addressed in Examiner interview.
03/06/2013   AMP    Attention to finalizing quality control protocol for   L320     1.20 hrs
                    reviewing the supplemental privilege logs with
                    symbols prior to production.
03/06/2013   AMP    Attention to Schulte's role as ResCap and Cerberus     L120     0.30 hrs
                    counsel.

03/06/2013   AMP    E-mails with Ms. Gardiner (Schulte) regarding          L120     0.20 hrs
                    Schulte's role as ResCap and Cerberus counsel.

03/06/2013   AMP    Attention to completing quality control review of      L320     0.50 hrs
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                    subpart 1 of withheld log for production
                    122/123-Hamzehpour.
03/06/2013   AMP    Attention to quality control review of subpart 2 of   L320     2.60 hrs
                    withheld log for production 122/123-Hamzehpour.

03/06/2013   AMP    Attention to quality control review assignments.      L320     0.40 hrs


03/06/2013   AMP    Reviewing and responding to multiple questions        L320     1.30 hrs
                    regarding quality control issues.

03/06/2013   JAL    Review and redraft interview memorandum               L120     2.50 hrs
                    regarding Mr. Whitlinger (1.70). Telephone
                    conference with Ms. Mohler regarding revisions to
                    same (.30). Review and respond to e-mails
                    regarding examiner interview schedule and
                    coverage of same (.20). Conference with Mr.
                    Corcoran regarding materials for witness
                    interviewed by examiner. (.30)
03/06/2013   VLS    Monitor review status of Supplemental Privilege       L320     1.40 hrs
                    Log Quality Control review project.

03/06/2013   VLS    Assignment of Supplemental Privilege Logs to          L320     1.20 hrs
                    Privilege Log Quality Control team members.

03/06/2013   VLS    Update Privilege Log Review status spreadsheet.       L320     0.70 hrs


03/06/2013   VLS    Multiple e-mail exchanges with Mr. Shipler at DTI     L320     0.40 hrs
                    regarding production of Seller files.

03/06/2013   VLS    Review for accuracy and completion Seller files in    L320     1.80 hrs
                    Discovery Partner that have been designated for
                    production.
03/06/2013   VLS    Multiple e-mail exchanges with Mr. Gerdts and         L320     0.60 hrs
                    Mr. McInereny (Kroll) regarding re-production of
                    Scholtz e-mails.
03/06/2013   VLS    Multiple e-mails to Ms. Battle regarding Seller       L320     0.40 hrs
                    files designated for production.

03/06/2013   RBS    Upload Mr. Pohl materials to Sharepoint requested     L310     0.30 hrs
                    by Mr. Beck.

03/06/2013   JALB   Correspondence with Mr. Underhill (Residential        L120     0.20 hrs
                    Capital) regarding Mesirow data requests.
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03/06/2013   JALB   E-mails with Mr. Beck and Ms. Marty regarding         L120     0.10 hrs
                    scope of Ally clawbacks and Mr. Gray's
                    preparation.
03/06/2013   JALB   E-mails regarding interview and preparation           L120     0.20 hrs
                    scheduling for upcoming witnesses (Mr. Scholtz
                    and Ms. Steinhagen).
03/06/2013   DJB    Perform quality check of documents in batch           L120     4.50 hrs
                    140-141 withheld from production to the Examiner
                    on the basis of attorney-client privilege, attorney
                    work product, joint defenses, or common interest
                    to assist Morrison Foerster with productions to the
                    Examiner.
03/06/2013   DJB    Format privilege log, indicating specific reasons     L120     5.40 hrs
                    why documents in batch 140-141 withheld from
                    production to the Examiner are protected by
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest, and identify
                    affiliations of individuals appearing on e-mails to
                    assist Morrison Foerster with productions to the
                    Examiner.
03/06/2013   DJB    Perform quality check of documents included in        L120     3.20 hrs
                    redacted log, batch 140-141, on the basis of
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
03/06/2013   DJB    Format redacted privilege log, indicating specific    L120     3.40 hrs
                    reasons why documents in batch 140-141 redacted
                    from production to the Examiner are protected by
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest, and identify
                    affiliations of individuals appearing on e-mails to
                    assist Morrison Foerster with productions to the
                    Examiner.
03/06/2013   MMM    Review notes from Mr. Whitlinger's Examiner           L120     2.70 hrs
                    interview.

03/06/2013   MMM    Continue drafting summary of Whitlinger's             L120     4.00 hrs
                    Examiner interview.

03/06/2013   MMM    Communicate with Ms. Battle regarding                 L120     0.20 hrs
                    Steinhagen interview preparation.

03/06/2013   DAB    Conference with Ms. Levitt (Morrison & Foerster)      L120     0.10 hrs
                    regarding examiner interview of Ms. Gray.

03/06/2013   DAB    Conference with Mr. Day (Morrison & Foerster)         L120     0.20 hrs
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                    regarding issues raised in recent examiner
                    interviews and preparations for upcoming
                    interviews.
03/06/2013   DAB    E-mails with Mr. Serrano (Morrison & Foerster)         L120     0.10 hrs
                    regarding issues for examiner interview of Mr.
                    Blahut.
03/06/2013   DAB    E-mails with Mr. Corcoran regarding research on        L120     0.20 hrs
                    issues for examiner interview of Mr. Blahut.

03/06/2013   DAB    Multiple conferences with Ms. Levitt (Morrison &       L120     0.50 hrs
                    Foerster) regarding issues for examiner interview
                    of Ms. Gray.
03/06/2013   JRC    Conference with Ms. Battle regarding search terms      L120     0.10 hrs
                    for Mr. Scholtz's e-mails.

03/06/2013   JRC    Review documents in litigation databases in order      L330     0.30 hrs
                    to draft search term list for Mr. Scholtz's e-mails.

03/06/2013   JRC    Draft e-mail to Ms. Miller (Chadbourne & Parke)        L120     0.20 hrs
                    regarding search terms for Mr. Scholtz's e-mails.

03/06/2013   JRC    Review and analyze documents in Discovery              L330     0.60 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Blahut.
03/06/2013   JRC    E-mail exchange with Mr. Serrano (Morrison &           L120     0.10 hrs
                    Foerster) and Mr. Beck regarding Mr. Blahut's
                    preparation materials.
03/06/2013   JRC    Review and analyze documents in litigation             L330     1.10 hrs
                    databases in order to locate interview preparation
                    materials for Mr. Blahut.
03/06/2013   JRC    Prepare notebook with exhibits marked in Mr.           L330     0.30 hrs
                    Blitzer's examiner interview.

03/06/2013   JRC    Conference with Mr. Lipps regarding examiner           L120     0.30 hrs
                    interview materials for interviews already
                    conducted by examiner.
03/06/2013   JRC    Review and analyze documents in Discovery              L320     2.30 hrs
                    Partner and Concordance in order to locate
                    documents relevant to the pipeline swaps, MSR
                    swaps, the MMLPSAs, and the Bank sale for Mr.
                    Lipps.
03/06/2013   SP     Review documents and compare to privilege log,         L120     1.80 hrs
                    noting entity affiliations and reason for privilege
                    determination.
03/06/2013   SP     Research and provide answers to questions from         L120     1.40 hrs
                    privilege log reviewers.
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03/06/2013   SP     Perform quality control review of privilege logs for   L120     6.80 hrs
                    phase III production, batch 122/123 Hamzehpour.

03/06/2013   GNM    Telephone communications with Mr. Massey               L120     0.50 hrs
                    (Contract reviewer) regarding 9019 e-mail review.

03/06/2013   GNM    E-mail communications with Mr. Massey                  L120     0.30 hrs
                    (Contract Reviewer) regarding review of 9019
                    e-mails for examiner.
03/06/2013   GNM    Telephone communications with Ms. Wafalosky            L120     0.60 hrs
                    (Robert Half) regarding staffing of examiner
                    reviews.
03/06/2013   GNM    Telephone communications with Mr. Gerdts               L120     0.50 hrs
                    (Kroll) regarding Mr. Scholtz's data.

03/06/2013   GNM    E-mail communications with Ms. Shank                   L120     0.20 hrs
                    (Residential Capiral) regarding outstanding
                    requests from the Examiner.
03/06/2013   GNM    Performing second level review of Mr. Scholtz's        L320     3.20 hrs
                    data in Discovery Partner database as outlined in
                    the quality control protocol.
03/06/2013   GNM    Formatting Phase 3 privilege logs.                     L320     1.10 hrs


03/06/2013   GNM    Updating status chart of outstanding requests to the   L320     0.40 hrs
                    Examiner.

03/06/2013   GNM    E-mail communications with Ms. Battle and Mr.          L120     0.30 hrs
                    Beck regarding privilege designations.

03/06/2013   GNM    E-mail communications with Ms. Sholl regarding         L120     0.20 hrs
                    production of Seller Files.

03/06/2013   GNM    Performing second level review of Mr. Wold/Ms.         L320     1.80 hrs
                    Lundsten's data in Nightowl database as outlined in
                    the quality control protocol.
03/06/2013   GNM    E-mail communications with Ms. Gulley (DTI)            L120     0.20 hrs
                    regarding Cerberus data to be produced.

03/06/2013   SCM    E-mail seeking clarification from Ms. Paul             L320     0.20 hrs
                    Whitfield on privilege log review.

03/06/2013   SCM    Quality control review of examiner withheld log        L320     4.00 hrs
                    1st level review completed, Hamzehpour set
                    122-123, part 3 of 8.
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03/06/2013   MJB    Quality control review of privilege log 120-121 in    L320     5.10 hrs
                    preparation for production.

03/06/2013   AEG    Review approximately 800 documents to make            L140     6.00 hrs
                    sure they were properly coded with symbols next
                    to the names of ResCap attorneys, Ally attorneys
                    and third-party recipients. (Exam Redacted Log
                    and Exam Withheld Log first level reviewed:
                    second review quality control)
03/07/2013   AMP    Attention to quality control reviewing the redacted   L320     1.80 hrs
                    privilege log for production 140/141.

03/07/2013   AMP    Attention to finalizing quality control review of     L320     0.90 hrs
                    withheld privilege log for production 140/141.

03/07/2013   AMP    Attention to follow-up quality control review to      L320     1.60 hrs
                    address issues identified on the privilege logs for
                    production 118/119.
03/07/2013   AMP    Attention to follow-up quality control review to      L320     2.10 hrs
                    address issues identified on the privilege logs for
                    production 120/121.
03/07/2013   AMP    Attention to follow-up quality control to address     L320     1.80 hrs
                    issues identified on the privilege logs for
                    production 122/123 redacted-Hamzehour.
03/07/2013   AMP    Attention to follow-up quality control review to      L320     1.80 hrs
                    address issues identified on the privilege logs for
                    production 127/128.
03/07/2013   AMP    Attention to follow-up quality control review to      L320     1.30 hrs
                    address issues identified on the privilege logs for
                    production 132/133.
03/07/2013   AMP    Attention to supplementing checklist and searches     L320     1.30 hrs
                    to be run as part of quality control review process
                    in light of repeated problems seen on the
                    supplemental logs.
03/07/2013   AMP    Multiple e-mails with privilege team regarding        L320     1.90 hrs
                    quality control process. (1.50) Conference with
                    Mr. Phillips regarding research needed on
                    affiliates. (.40)
03/07/2013   AMP    Attention to follow-up quality control to address     L320     0.90 hrs
                    issues identified on the privilege logs for
                    production 136/137.
03/07/2013   JAL    Participate in part of conference call with Mr.       L120     1.50 hrs
                    Illovsky and Mr. Day of Morrison Foerster and
                    Ms. Battle and Mr. Beck to discuss examiner
                    interview schedule and coverage and response to
                    examiner's report (.20). Review and respond to
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                    e-mails regarding search of Mr. Blahut's
                    background (.20). Review Mr. Blahut's
                    background materials (.90). Conference with Ms.
                    Battle and Mr. Corcoran regarding Mr. Blahut's
                    background. (.10) Communicate with Ms. Battle
                    regarding examiner interview schedule and
                    coverage (.10).
03/07/2013   VLS    Monitor review status of Supplemental Privilege     L320     1.60 hrs
                    Log Quality Control review project.

03/07/2013   VLS    Update Privilege Log Review status spreadsheet.     L320     0.80 hrs


03/07/2013   VLS    Multiple e-mail exchanges with Mr. Shipler at DTI   L320     0.40 hrs
                    regarding Seller files.

03/07/2013   VLS    Multiple e-mail exchange with Mr. Gerdts and Mr.    L320     0.70 hrs
                    McInerney at Kroll regarding Production of
                    Scholtz e-mails.
03/07/2013   VLS    E-mail exchange with Ms. Battle regarding           L320     0.20 hrs
                    production of Scholtz e-mails.

03/07/2013   VLS    Telephone Conference with Mr. McInerney and         L320     0.60 hrs
                    Ms. Casey at Kroll regarding Scholtz e-mail
                    production and issues with over written bates
                    numbers.
03/07/2013   VLS    Review for accuracy and completion Scholtz          L320     0.80 hrs
                    e-mail production received from Kroll.

03/07/2013   VLS    Preparation of Scholtz e-mail production for        L320     0.40 hrs
                    delivery to Ms. Tice at Morrison and Foerster.

03/07/2013   VLS    Assignment of Supplemental Privilege Logs to        L320     2.40 hrs
                    Privilege Log Quality Control team members.
                    (1.80) Meeting with Ms. Marty regarding issues
                    with Kroll production of Scholtz data. (.60)
03/07/2013   JES    Review additional documents for Applegate day       L120     2.00 hrs
                    two preparation outline.

03/07/2013   RBS    Download Mr. Blitzer interview exhibits to          L310     0.20 hrs
                    U-drive for Mr. Beck.

03/07/2013   JALB   Telephone conference with Ms. Barrage (Morrison     L120     0.70 hrs
                    & Foerster), Mr. McDonald (FTI), Mr. Underhill
                    and Ms. Farley (Residential Capital) regarding
                    responses to Examiner regarding credit facility
                    questions.
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03/07/2013   JALB   Exchange e-mails with Ms. Levitt (Morrison &        L120     0.20 hrs
                    Foerster) regarding Goldin and Deloitte document
                    questions.
03/07/2013   JALB   Follow-up correspondence with former employee       L120     0.20 hrs
                    witnesses regarding scheduling and interview
                    process.
03/07/2013   JALB   Investigation into Mr. Blahut's background.         L120     0.30 hrs


03/07/2013   JALB   Discussion regarding investigation into Mr.         L120     0.10 hrs
                    Blahut's background with Mr. Corcoran and Mr.
                    Lipps.
03/07/2013   JALB   E-mail memorandum to file regarding results of      L120     0.20 hrs
                    investigation into Mr. Blahut's background.

03/07/2013   JALB   Correspondence with Mr. Underhill (Residential      L120     0.30 hrs
                    Capital) and Mr. Corcoran regarding follow-up
                    research.
03/07/2013   JALB   Coordination call with Mr. Day (Morrison &          L120     0.40 hrs
                    Foerster), Mr. Lipps and Mr. Beck regarding
                    preparation on Examiner issues.
03/07/2013   JALB   Discussion with Mr. Lipps regarding staffing and    L120     0.20 hrs
                    strategy.

03/07/2013   JALB   Coordination call with Mr. Day (Morrison &          L120     0.20 hrs
                    Foerster) and Mr. Lipps regarding upcoming
                    examiner investigation.
03/07/2013   DJB    Research when Anne Janiczek moved from Rescap       L120     0.40 hrs
                    legal department to HR department.

03/07/2013   MMM    Review documents and draft outline for              L120     0.70 hrs
                    Steinhagen's Examiner interview.

03/07/2013   DAB    Analyze monoline wrapped securitization             L120     1.40 hrs
                    documents to respond to questions of Mr.
                    Alexander (Morrison & Foerster).
03/07/2013   DAB    Participate in examiner interview of Ms. Gray.      L330     3.30 hrs


03/07/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding           L120     0.30 hrs
                    examiner interview of Mr. Gray.

03/07/2013   DAB    Conference with Mr. Corcoran regarding issues for   L120     0.20 hrs
                    examiner interview of Mr. Blahut.

03/07/2013   DAB    E-mails with Mr. Corcoran regarding preparations    L120     0.20 hrs
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                    for examiner interview of Mr. Blahut.

03/07/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding        L120     0.10 hrs
                    issues for examiner interview of Mr. Blahut.

03/07/2013   DAB    Participate in part of call with Mr. Ilovsky, Mr.      L120     0.20 hrs
                    Day (Morrison & Foerster), Mr. Lipps and Ms.
                    Battle regarding coordination of coverage on
                    upcoming examiner interviews.
03/07/2013   JRC    Conference with Ms. Battle regarding examiner          L120     0.10 hrs
                    interview preparation materials for Mr. Blahut.

03/07/2013   JRC    Conference with Mr. Lipps regarding examiner           L120     0.30 hrs
                    interview preparation materials for Mr. Blahut.

03/07/2013   JRC    E-mail exchange with Mr. Serrano (Morrison &           L120     0.10 hrs
                    Foerster) regarding interview preparation for Mr.
                    Blahut.
03/07/2013   JRC    Draft outline for materials for Mr. Blahut's           L330     1.20 hrs
                    interview with the examiner.

03/07/2013   JRC    Review transaction documents for Residential           L330     2.10 hrs
                    Capital securitizations in order to prepare examiner
                    interview materials for Mr. Blahut.
03/07/2013   JRC    Review publicly available information for Mr.          L330     0.40 hrs
                    Blahut in order to prepare his examiner interview
                    materials.
03/07/2013   JRC    Prepare notebook with Mr. Blahut's examiner            L330     0.70 hrs
                    interview materials.

03/07/2013   JRC    Review documents in litigation databases in order      L330     3.30 hrs
                    to locate examiner interview materials for Mr.
                    Blahut.
03/07/2013   JRC    Review pleadings in RMBS cases against                 L330     0.40 hrs
                    Residential Capital in order to prepare examiner
                    interview materials for Mr. Blahut.
03/07/2013   SP     Perform quality control review of privilege logs for   L120     5.20 hrs
                    phase III production, batch 122/123 Hamzehpour
                    redacted.
03/07/2013   SP     Perform quality control review of privilege logs for   L120     3.80 hrs
                    phase III production, batch 136/137.

03/07/2013   SP     Conference with Ms. Paul Whitfield regarding           L120     0.90 hrs
                    affiliation of several employees (.40) and review
                    documents to determine the same. (.50)
03/07/2013   GNM    E-mail communications with Ms. Whitfield               L120     0.20 hrs
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                    regarding privilege designations.

03/07/2013   GNM    Working in Discovery Partner database locating        L320     1.90 hrs
                    documents at the request of Mr. Sechler.

03/07/2013   GNM    E-mail communications with Mr. Massey                 L120     0.20 hrs
                    (Contract Reviewer) regarding review of 9019
                    e-mails.
03/07/2013   GNM    Telephone communications with Mr. Gerdts and          L120     0.50 hrs
                    Mr. McInerney (Kroll) regarding Kroll
                    re-production of Mr. Scholtz's data.
03/07/2013   GNM    Meeting with Ms. Sholl regarding Kroll                L120     0.60 hrs
                    reproduction of Mr. Scholtz's data.

03/07/2013   GNM    E-mail communications with Ms. Gulley (DTI)           L120     0.20 hrs
                    regarding Cerberus data to be produced.

03/07/2013   GNM    Performing analysis on privilege log to comport       L320     3.10 hrs
                    with Examiner request for attorney designations.

03/07/2013   SCM    Quality control review of examiner withheld log       L320     4.80 hrs
                    1st level review completed, Hamzehpour, sections
                    3 of 8 and 4 of 8.
03/07/2013   SCM    E-mail to Ms. Sholl regarding privilege log           L320     0.20 hrs
                    sections.

03/07/2013   MJB    Finish quality control review of privilege log        L320     5.40 hrs
                    120-121 in preparation for production.

03/07/2013   MJB    Begin quality control review of privilege log         L320     1.70 hrs
                    122-123.

03/07/2013   HLB    Perform quality control review of privilege log.      L120     6.80 hrs
                    Review log for set "122-123 Hamzehpour part 6 of
                    8" for proper privilege coding and designations.
03/07/2013   AEG    Review documents to make sure they were               L140     6.00 hrs
                    properly coded with symbols next to the names of
                    ResCap attorneys, Ally attorneys and third-party
                    recipients. (Exam Redacted Log and Exam
                    Withheld Log first level reviewed: second review
                    quality control)
03/08/2013   AMP    Attention to follow-up quality control to address     L320     1.30 hrs
                    issues identified on the privilege logs for
                    production 138/139.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     0.50 hrs
                    address issues identified on the privilege logs for
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                    production 116/117.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     1.10 hrs
                    address issues identified on the privilege logs for
                    production 122/123 withheld-Hamzehpour subpart
                    3.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     0.90 hrs
                    address issues identified on the privilege logs for
                    production 122/123 withheld-Hamzehpour subpart
                    4.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     1.20 hrs
                    address issues identified on the privilege logs for
                    production 122/123 withheld-Hamzehpour subpart
                    5.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     0.80 hrs
                    address issues identified on the privilege logs for
                    production 122/123 withheld-Hamzehpour subpart
                    6.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     1.40 hrs
                    address issues identified on the privilege logs for
                    production 122/123 withheld-Hamzehpour subpart
                    7.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     0.70 hrs
                    address issues identified on the privilege logs for
                    production 122/123 withheld-Hamzehpour subpart
                    8.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     2.10 hrs
                    address issues identified on the privilege logs for
                    production 122/123 redacted-other custodians.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     1.90 hrs
                    address issues identified on the privilege logs for
                    production 122/123 withheld-other custodians.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     1.80 hrs
                    address issues identified on the privilege logs for
                    production 130/131.
03/08/2013   AMP    Attention to follow-up quality control review to      L320     0.80 hrs
                    address issues identified on the privilege logs for
                    production 134/135.
03/08/2013   JAL    Review and respond to e-mails regarding examiner      L120     2.10 hrs
                    interview schedule and coverage (.10). Review
                    e-mails regarding use of MBIA transcripts in
                    examiner report (.20). Review proposed
                    supplemental excerpts (.50). Review and redraft
                    Mr. Whitlinger's interview memo (1.0). Review
                    e-mails regarding supplemental excerpts (.30).
03/08/2013   VLS    Monitor review status of Supplemental Privilege       L320     1.60 hrs
                    Log Quality Control Project.
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03/08/2013   VLS    Assemble and organize final version of                 L320     3.10 hrs
                    Supplemental Privilege Logs for Production.

03/08/2013   VLS    Update Privilege Log Review Status Spreadsheet.        L320     2.10 hrs


03/08/2013   VLS    Multiple e-mails with Ms. Tice at Morrison and         L320     0.40 hrs
                    Foerster forwarding complete Privilege Logs.

03/08/2013   VLS    Multiple e-mails with Ms. Paul Whitfield regarding     L320     0.70 hrs
                    completion status of Privilege Logs.

03/08/2013   JALB   Communicate with Mr. Beck regarding planning           L120     0.30 hrs
                    for next phase of examiner investigation.

03/08/2013   JALB   Various e-mails with Mr. Corcoran and Ms. Marty        L120     0.20 hrs
                    regarding Mr. Blahut's data, Mr. Scholtz's data, and
                    preparation for Mr. Blahut's and Mr. Scholtz's
                    interviews.
03/08/2013   JALB   Plan and prepare for Mr. Blahut's and Mr. Scholtz's    L330     0.20 hrs
                    interviews.

03/08/2013   JALB   Follow-up regarding Examiner's request to cite         L330     0.80 hrs
                    prior deposition transcripts.

03/08/2013   JALB   Internal team meeting (with Mr. Lipps, Mr. Beck,       L120     0.40 hrs
                    Mr. Corcoran, Mr. Rhode and Ms. Mohler)
                    regarding project status and open assignments for
                    upcoming examiner interviews and preparations
                    for final examiner report.
03/08/2013   JALB   Internal team meeting (with Mr. Lipps, Mr. Beck,       L120     0.40 hrs
                    Mr. Corcoran, Mr. Rhode and Ms. Mohler)
                    regarding status of pending interview preparations
                    and other open examiner assignments.
03/08/2013   JALB   Internal team meeting (with Mr. Lipps, Mr. Beck,       L120     0.40 hrs
                    Mr. Corcoran, Mr. Rhode and Ms. Mohler)
                    regarding assignments on upcoming examiner
                    interviews and preparations for examiner review.
03/08/2013   MMM    Attend meeting regarding upcoming interview for        L120     1.00 hrs
                    Examiner and discuss Whitlinger interview
                    summary with Mr. Lipps.
03/08/2013   DAB    Meeting with Mr. Lipps, Ms. Battle, Mr. Rhode,         L120     1.30 hrs
                    Mr. Corcoran, Ms. Marty and Ms. Mohler to
                    discuss examiner interview and projects needing to
                    be completed.
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03/08/2013   JRC    Teleconference with Mr. Underhill (Residential           L120     0.10 hrs
                    Capital) regarding restoration of e-mails of Mr.
                    Getchis and Mr. Crosson.
03/08/2013   JRC    Conference with Ms. Battle regarding restoration         L120     0.10 hrs
                    of emails of Mr. Getchis and Mr. Crosson.

03/08/2013   JRC    E-mail exchange with Mr. Illovsky, Mr. Day               L120     0.10 hrs
                    (Morrison & Foerster), and Mr. Lipps regarding
                    interview preparation for Mr. Blahut.
03/08/2013   JRC    Review, analyze, and summarize deposition                L330     4.40 hrs
                    transcripts identified by the examiner for citation in
                    the examiner's report.
03/08/2013   JRC    Draft analysis of deposition transcripts identified      L120     0.40 hrs
                    by examiner for citation in the examiner's report.

03/08/2013   JRC    Review and analyze e-mails in litigation databases       L330     1.40 hrs
                    in order to locate interview preparation materials
                    for Mr. Blahut.
03/08/2013   JRC    Review and analyze documents in Discovery                L330     0.40 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Scholtz.
03/08/2013   JRC    Conference with Mr. Lipps, Ms. Battle, Mr. Beck,         L120     1.30 hrs
                    Ms. Mohler, Mr. Rhode, and Ms. Marty regarding
                    examiner interview preparations and other projects
                    needed on examiner.
03/08/2013   JDR    Conference with Ms. Battle, Mr. Lipps, Mr. Beck,         L120     1.30 hrs
                    Ms. Mohler, Mr. Corcoran and Ms. Marty
                    regarding remaining examiner interviews and
                    strategy for report response.
03/08/2013   JDR    Review and revise outline in preparation for Ms.         L330     0.30 hrs
                    Wiebe interview.

03/08/2013   SP     Perform quality control review of privilege logs for     L120     0.20 hrs
                    phase III production, batch 125/126.

03/08/2013   SP     Perform quality control review of privilege logs for     L120     1.50 hrs
                    phase III production, batch 130/131 redacted.

03/08/2013   SP     Perform quality control review of privilege logs for     L120     1.20 hrs
                    phase III production, batch 130/131 withheld.

03/08/2013   SP     Perform quality control review of privilege logs for     L120     0.80 hrs
                    phase III production, batch 144/145 redacted.
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03/08/2013   SP     Perform quality control review of privilege logs for   L120     1.30 hrs
                    phase III production, batch 144/145 withheld.

03/08/2013   SP     Perform quality control review of privilege logs for   L120     1.50 hrs
                    phase III production, batch 122/123 Hamzehpour
                    part 8.
03/08/2013   SP     Perform quality control review of privilege logs for   L120     1.40 hrs
                    phase III production, batch 122/123 Hamzehpour
                    part 5.
03/08/2013   SP     Perform quality control review of privilege logs for   L120     1.20 hrs
                    phase III production, batch 122/123
                    non-Hamzehpour withheld.
03/08/2013   SP     Perform quality control review of privilege logs for   L120     1.00 hrs
                    phase III production, batch 122/123 Hamzehpour
                    part 6.
03/08/2013   SP     Perform quality control review of privilege logs for   L120     1.20 hrs
                    phase III production, batch 122/123 Hamzehpour
                    part 1.
03/08/2013   SP     Conference with Ms. Paul Whitfield regarding           L120     0.90 hrs
                    privilege issues arising from Project Bounce and
                    Project Sunshine.
03/08/2013   GNM    Meeting with Ms. Paul Whitfield regarding              L120     0.40 hrs
                    privilege log reports.

03/08/2013   GNM    Strategy meeting with Mr. Lipps, Ms. Battle, Mr.       L120     1.30 hrs
                    Beck, Mr. Rhode, Mr. Corcoran and Ms. Mohler
                    regarding upcoming examiner interview project.
03/08/2013   GNM    Performing second level review of Mr. Scholtz's        L320     3.20 hrs
                    data in Discovery Partner database as outlined in
                    the quality control protocol.
03/08/2013   GNM    Performing analysis on privilege log to comport        L320     6.80 hrs
                    with Examiner request for attorney designations.

03/08/2013   GNM    Drafting cover letter to be sent with Mr. Scholtz's    L120     0.40 hrs
                    reproduction.

03/08/2013   GNM    Drafting responses to outstanding requests from        L320     0.30 hrs
                    the Examiner.

03/08/2013   SCM    Quality control review of examiner withheld log        L320     2.60 hrs
                    1st level review completed, Hamzehpour, sections
                    3 of 8 and 4 of 8.
03/08/2013   MJB    Quality control review of privilege log 122-123.       L320     3.70 hrs
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03/08/2013   HLB    Perform quality control review of privilege log.       L120     7.70 hrs
                    Review log for set "122-123 Hamzehpour part 6 of
                    8" for proper privilege coding and designations.
03/09/2013   AMP    Finalize all supplemental privilege logs for Phase I   L320     1.20 hrs
                    and II (30 logs) for production.

03/09/2013   AMP    Multiple e-mails with Morrison & Foerster team         L320     0.60 hrs
                    and Ms. Sholl regarding completion of all
                    supplemental privilege logs for Phase I and II (30
                    logs) for production.
03/09/2013   AMP    Attention to follow-up quality control review to       L320     2.10 hrs
                    address issues identified on the privilege logs for
                    production 142/143.
03/09/2013   AMP    Attention to follow-up quality control review to       L320     1.10 hrs
                    address issues identified on the privilege logs for
                    production 144/145.
03/09/2013   AMP    Attention to follow-up quality control review to       L320     0.90 hrs
                    address issues identified on the privilege logs for
                    production 146/147.
03/09/2013   JAL    Review and respond to e-mails regarding Mr.            L120     1.80 hrs
                    Blahut's background (.20). Review Mr. Blahut's
                    examiner topic outline (.10). Review materials for
                    preparation of Mr. Applegate (.20). Review
                    e-mails regarding same (.10). Review Mr.
                    Appelgate's documents (.50). Review Mr.
                    Steinhagen's topic outline (.10). Draft report on
                    MBIA transcript excerpts examiner identified
                    (.30). Review and respond to e-mails regarding
                    same (.10). Conference with Ms. Battle regarding
                    same (.20).
03/09/2013   JRC    Review and analyze deposition transcripts              L330     1.20 hrs
                    identified by the examiner for inclusion in the
                    document depository.
03/09/2013   JRC    Review and analyze deposition transcripts from         L120     0.60 hrs
                    MBIA v. RFC in order to prepare examiner
                    interview preparation materials for Mr. Blahut.
03/09/2013   JRC    Review and prepare materials for Mr. Applegate's       L320     0.70 hrs
                    interview with the bankruptcy examiner.

03/09/2013   JRC    E-mail exchange with Mr. Lipps and Ms. Battle          L330     0.20 hrs
                    regarding depositions transcript for use in
                    document depository.
03/10/2013   JAL    Review potential examiner exhibits for Mr. Blahut      L120     5.00 hrs
                    (4.0). Review and redraft Mr. Blahut's outline
                    (1.0).
03/10/2013   DAB    Draft list of additional projects needing to be done   L120     0.30 hrs
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                    on examiner's investigation.

03/10/2013   JRC    Teleconference with Ms. Marty regarding                L120     0.10 hrs
                    downloading files from client's FTP site.

03/10/2013   JRC    Teleconference with Ms. Sholl regarding                L120     0.10 hrs
                    downloading files from client's FTP site.

03/10/2013   JRC    Review and analyze newly restored e-mails in           L330     4.40 hrs
                    order to locate interview preparation materials for
                    Mr. Blahut.
03/11/2013   DJB    Review comlaints in Thrivent, WVIMB, and RFC           L120     0.50 hrs
                    for allegations relating to confidential informants.

03/11/2013   AMP    Attention to next privilege log supplementation        L320     2.30 hrs
                    project for the Phase III production privilege logs.

03/11/2013   AMP    Multiple e-mails with Ms. Sholl regarding              L320     0.60 hrs
                    assignments for next privilege log supplementation
                    project for the Phase III production privilege logs.
03/11/2013   AMP    Attention to updating supplementation protocol in      L320     1.70 hrs
                    light of repeated issues, problems, and names seen
                    in Phase I and II for consistency purposes.
03/11/2013   AMP    Attention to issues regarding privilege review of      L320     2.10 hrs
                    Lazard documents and preparation of privilege log.

03/11/2013   AMP    Attention to issues regarding privilege review of      L320     0.50 hrs
                    Deloitte documents.

03/11/2013   AMP    E-mails with Mr. Phillips regarding access to          L320     0.40 hrs
                    Deloitte documents.

03/11/2013   JAL    Prepare for Mr. Blahut's preparation meeting (1.0).    L120    13.00 hrs
                    Review Mr. Blahut's documents in transit (3.0).
                    Conference with Mr. Day and Mr. Illovsky
                    (Morrison & Foerster) regarding Mr. Blahut (1.5).
                    Conference with Mr. Blahut, Mr. Day and Mr.
                    Illovsky to prepare for interview (3.0). Review
                    and finalize circulation draft of Mr. Whitlinger's
                    examiner interview memo (1.0). Review and
                    respond to e-mails regarding Mr. Blahut's
                    background and volumes on various RFC shelves
                    (.40). Review additional documents for Mr. Blahut
                    (.70). Review e-mails regarding same (.20).
                    Review analysis of Goldin memos (1.0). Review
                    and respond to e-mails regarding examiner
                    schedule and coverage (.20). Review and respond
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                    to e-mails regarding use of MBIA transcripts by
                    examiner (.20). Review SUN submission to
                    examiners (.50). Conference with Mr. Beck
                    regarding response (.10). Draft response to
                    examiner on use of MBIA transcripts (.20).
03/11/2013   VLS    Multiple e-mails with Mr. Bennett in IT regarding     L320     0.40 hrs
                    phase 3 Privilege Logs.

03/11/2013   VLS    Preparation of status tracking spreadsheet for        L320     0.80 hrs
                    Phase III privilege log review project.

03/11/2013   VLS    Assignment of Phase III privilege logs to Privilege   L320     1.40 hrs
                    Log Review team members.

03/11/2013   VLS    Update Phase III privilege log project tracking       L320     0.80 hrs
                    spreadsheet.

03/11/2013   VLS    Research internal database for information            L110     0.40 hrs
                    regarding Seller files requested by Ms. Battle.

03/11/2013   VLS    E-mail exchange with Ms. Battle and Ms. Tice at       L110     0.20 hrs
                    Morrison and Foerster regarding Seller files.

03/11/2013   JES    Finalize Applegate day two document review.           L120     3.00 hrs
                    (1.20) Draft preparation outline. (1.80)

03/11/2013   JES    Attend parts of meeting with Ms. Battle, Mr. Beck,    L120     1.00 hrs
                    Mr. Corcoran, Mr. Phillips and Mr. Rhode to
                    discuss status of examiner investigation and next
                    projects in response regarding upcoming projects.
03/11/2013   RBS    Prepare chronological and alphabetical sets of        L310     0.60 hrs
                    interview exhibits spreadsheets to distribute for
                    Mr. Beck.
03/11/2013   RBS    Download Applegate materials from Sharepoint to       L310     0.20 hrs
                    U-Drive for Mr. Beck.

03/11/2013   JALB   Prepare for meeting with CLL team (Mr. Beck, Mr.      L120     0.10 hrs
                    Corcoran, Mr. Rhode, Mr. Barthel, Mr. Phillips,
                    Ms. Mohler, Ms. Marty) regarding specific projects
                    and assignments.
03/11/2013   JALB   Meet with CLL team (Mr. Beck, Mr. Corcoran,           L120     1.00 hrs
                    Mr. Rhode, Mr. Barthel, Mr. Phillips, Ms. Mohler,
                    Ms. Marty) regarding specific projects and
                    assignments.
03/11/2013   JALB   Follow-up e-mails and discussion with Mr.             L120     0.30 hrs
                    Corcoran regarding deposition excerpts project.
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03/11/2013   JALB   Prepare for meeting with CLL team (Mr. Beck, Mr.     L120     0.10 hrs
                    Corcoran, Mr. Rhode, Mr. Barthel, Mr. Phillips,
                    Ms. Mohler, Ms. Marty) regarding specific projects
                    and assignments on examiner and monoline
                    projects.
03/11/2013   DJB    Rescap strategy meeting with Ms. Battle, Mr.         L120     1.00 hrs
                    Sechler, Mr. Beck, Mr. Corcoran, Mr. Rhode, Ms.
                    Marty and Ms. Mohler regarding Examiner
                    projects.
03/11/2013   DJB    Review privilege logs to make sure metadata on       L120     0.30 hrs
                    privilege log matches the information contained in
                    the documents at Ms. Paul Whitfield's request.
03/11/2013   MMM    Review documents for Blackburn Examiner              L120     3.50 hrs
                    interview preparation.

03/11/2013   MMM    Meeting with Ms. Battle, Mr. Sechler, Mr. Rhode,     L120     1.00 hrs
                    Ms. Marty and Mr. Corcoran regarding upcoming
                    projects on examiner investigation.
03/11/2013   DAB    Conference with Ms. Battle regarding projects        L120     0.20 hrs
                    needed for examiner.

03/11/2013   DAB    Meeting with Ms. Battle, Mr. Sechler, Mr. Rhode,     L120     1.20 hrs
                    Mr. Corcoran, Mr. Phillips, Ms. Mohler and Mr.
                    Marty to discuss status of examiner investigation
                    and upcoming projects needed on examiner.
03/11/2013   DAB    E-mails with Mr. Day (Morrison & Foerster) and       L120     0.20 hrs
                    Mr. Corcoran regarding examiner interview
                    memoranda.
03/11/2013   DAB    Conference with Mr. Corcoran regarding               L120     0.20 hrs
                    additional examiner interview memoranda.

03/11/2013   DAB    Call with Mr. Day (Morrison & Foerster) and Mr.      L120     0.20 hrs
                    Corcoran regarding examiner interview
                    memoranda.
03/11/2013   DAB    Conference with Ms. Mohler regarding key issues      L120     0.20 hrs
                    for Mr. Blackburn's interview.

03/11/2013   DAB    E-mails with Mr. Samson regarding examiner           L120     0.10 hrs
                    exhibits.

03/11/2013   DAB    E-mail Mr. Corcoran regarding issues on              L120     0.10 hrs
                    examiner's usage of MBIA transcripts.

03/11/2013   DAB    E-mail Ms. Battle regarding issues on examiner's     L120     0.10 hrs
                    usage of MBIA transcripts.
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03/11/2013   DAB    Review new submission by senior unsecured notes        L120     0.40 hrs
                    to examiner.

03/11/2013   JRC    Conference with Mr. Day (Morrison & Foerster)          L120     0.20 hrs
                    and Mr. Beck regarding examiner interview
                    preparation.
03/11/2013   JRC    E-mail exchanges with Ms. Battle and Mr. Lipps         L120     0.20 hrs
                    regarding examiner interview preparation for Mr.
                    Blahut.
03/11/2013   JRC    Review offering documents for Residential Capital      L330     1.10 hrs
                    securitizations in order to prepare interview
                    preparation materials for Mr. Blahut.
03/11/2013   JRC    Review pleadings in RMBS cases filed against           L330     0.90 hrs
                    Residential Capital in order to prepare examiner
                    interview materials for Mr. Blahut.
03/11/2013   JRC    Review and analyze deposition transcripts from         L330     2.20 hrs
                    MBIA v. RFC in order to provide the examiner
                    excerpts relevant to the securitization process.
03/11/2013   JRC    Review deposition transcripts from MBIA v. RFC         L330     0.60 hrs
                    in order to respond to examiner's request to include
                    transcripts in the document depository.
03/11/2013   JRC    Draft response to examiner's request to include        L120     0.20 hrs
                    transcripts in the documents depository.

03/11/2013   JRC    Conference with Ms. Battle, Mr. Beck, Ms.              L120     1.10 hrs
                    Mohler, Mr. Phillips, Mr. Sechler, Ms. Marty, and
                    Mr. Rhode regarding examiner interview
                    preparation.
03/11/2013   JDR    Conference with Ms. Battle, Mr. Beck, Mr.              L120     1.00 hrs
                    Sechler, Ms. Mohler, Mr. Corcoran and Ms. Marty
                    regarding interviews and report response strategy.
03/11/2013   JDR    Review excerpts designated for use by Examiner in      L120     1.00 hrs
                    report and select deposition transcripts in
                    preparation for responsive designations.
03/11/2013   SP     Research questions relating to accountant/attorney     L120     1.80 hrs
                    privilege for Ms. Paul Whitfield.

03/11/2013   SP     Review and revise proposed instructions for Phase      L120     1.60 hrs
                    III review.

03/11/2013   SP     Communicate with Ms. Paul Whitfield regarding          L120     0.90 hrs
                    advice for quality control review process going
                    forward. (.40) Research related issues on Deloitte
                    documents.
03/11/2013   SP     Prepare for and participate in parts of meeting with   L120     0.60 hrs
                    team to discuss open projects.
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03/11/2013   GNM    Telephone communications with Ms. Shank                 L120     1.10 hrs
                    (Residential Capital) regarding outstanding
                    requests from the Examiner.
03/11/2013   GNM    Strategy meeting with Mr. Beck, Ms. Battle, Mr.         L120     1.00 hrs
                    Corcoran, Ms. Mohler, Mr. Sechler and Mr. Rhode
                    on upcoming examiner interviews and preparations
                    for examiner report.
03/11/2013   GNM    Working in Discovery Partner database locating          L320     0.30 hrs
                    documents at the request of Ms. Battle.

03/11/2013   GNM    Meeting with Ms. Sholl and Ms. Battle regarding         L120     0.20 hrs
                    outstanding Chadbourne requests.

03/11/2013   GNM    Drafting production metrics memorandum for Mr.          L320     1.40 hrs
                    Beck.

03/11/2013   GNM    Performing analysis on privilege log to comport         L320     4.30 hrs
                    with Examiner request for attorney designations.

03/11/2013   HLB    Quality control review of Ruckdaschel Redacted          L120     1.20 hrs
                    Attorney 3 of 4 privilege logs for proper attorney
                    coding, privilege designations and redactions.
03/12/2013   AMP    Attention to technical issues with Phase III            L320     0.90 hrs
                    privilege logs.

03/12/2013   AMP    Research regarding mis-matched metadata on logs.        L320     0.80 hrs


03/12/2013   AMP    Attention to resolving mis-matched metadata on          L320     0.70 hrs
                    logs.

03/12/2013   AMP    Multiple e-mails with Ms. Marty and Ms. Sholl           L320     0.40 hrs
                    regarding mis-matched metadata on logs.

03/12/2013   AMP    Attention to Deloitte privilege issues.                 L320     1.30 hrs


03/12/2013   AMP    E-mails with Morrison & Foerster team and Ms.           L320     0.60 hrs
                    Battle regarding Deloitte privilege issues.

03/12/2013   AMP    Conference with Mr. Phillips regarding ability to       L320     0.80 hrs
                    assert privilege over materials shared with Deloitte.
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03/12/2013   AMP    Review e-mails regarding Deloitte's role with         L320     0.30 hrs
                    ResCap over the years.

03/12/2013   AMP    Conference with Ms. Battle and Mr. Phillips           L320     0.40 hrs
                    regarding research of independent auditor being
                    within circle of privilege.
03/12/2013   AMP    Review Deloitte documents identified by Mr.           L320     1.10 hrs
                    Phillips as possibly privileged.

03/12/2013   AMP    Attention to reviewing and responding to questions    L320     2.20 hrs
                    from privilege team regarding coding issues on
                    Phase III privilege logs.
03/12/2013   AMP    Review documents to respond to questions from         L320     0.90 hrs
                    privilege team regarding coding issues on Phase III
                    privilege logs.
03/12/2013   JAL    Review and further redraft of Mr. Whitlinger's        L120     2.80 hrs
                    interview memo (.40). Conference with Ms.
                    Mohler regarding further revisions to memo (.10).
                    Review Wilmington Trust examiner submission
                    (.50). Review e-mails regarding same (.10).
                    Conference with Ms. Battle and Mr. Beck
                    regarding potential response (.10). Review and
                    respond to e-mails regarding examiner scheduling
                    and coverage (.10). Review and redraft response
                    to examiner regarding use of MBIA transcripts
                    (.30). Review and respond to e-mails regarding
                    same (.10). Review e-mails regarding same (.10).
                    Review interview outline for D&T (.10). Review
                    analysis of other transcripts to use to respond to
                    examiner report (.40). Review the UCC
                    submission to examiner (.50).
03/12/2013   MNB    Review deposition cites relied upon by examiner.      L330     3.50 hrs
                    (.40) Review Ms. Lundsten's transcript for
                    potential responsive cites. (3.10)
03/12/2013   VLS    Research possible issue with Phase III privilege      L320     0.60 hrs
                    logs.

03/12/2013   VLS    Multiple e-mail exchanges with Mr. Bennett            L320     0.30 hrs
                    regarding select revised Phase III privilege logs.

03/12/2013   VLS    Assignment of revised Phase III privilege logs to     L320     0.80 hrs
                    Privilege Log Review team members.

03/12/2013   VLS    Assignment of Phase III privilege logs to review      L320     0.60 hrs
                    team members.

03/12/2013   VLS    E-mail exchange with Ms. Marty and Ms. Paul           L320     0.20 hrs
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                    Whitfield regarding possible issue with select
                    phase III privilege logs.
03/12/2013   VLS    E-mail to Ms. Zellmann at Residential Capital         L110     0.30 hrs
                    regarding Seller Files

03/12/2013   JALB   Meet with Ms. Marty regarding status of               L120     0.50 hrs
                    productions, clawback, privilege logs and staffing
                    for same.
03/12/2013   JALB   E-mails with Mr. Brown, Mr. Ziegler, Ms. DeArcy       L120     0.40 hrs
                    (all Morrison & Foerster), Ms. Marty regarding
                    closeout of open production items.
03/12/2013   JALB   Review draft objections to revised protective order   L120     0.60 hrs
                    by Ally and Cerberus.

03/12/2013   JALB   Telephone conference with Ms. Levitt (Morrison &      L120     0.40 hrs
                    Foerster) and Deloitte representative regarding
                    privilege review.
03/12/2013   JALB   Follow-up discussion with internal team regarding     L120     0.40 hrs
                    review of PWC and D&T e-mails.

03/12/2013   JALB   Review and respond to e-mails from Ms. Levitt         L120     1.30 hrs
                    (Morrison & Foerster), Mr. Corcoran and Mr.
                    Lipps regarding third party submissions and use of
                    MBIA depositions.
03/12/2013   MMM    Review documents and draft outline for                L120     1.00 hrs
                    Blackburn's Examiner interview.

03/12/2013   DAB    Conference with Ms. Battle regarding next work        L120     0.10 hrs
                    projects on examiner.

03/12/2013   DAB    Draft list of projects needing to be completed on     L120     0.50 hrs
                    examiner. (.20) Conference with Mr. Rhode
                    regarding deposition transcripts on securitization
                    process.
03/12/2013   JRC    Conference with Mr. Rhode regarding deposition        L120     0.30 hrs
                    excerpts from MBIA v. RFC related to the
                    securitization process for the examiner.
03/12/2013   JRC    Review and analyze deposition transcripts from        L330     3.20 hrs
                    MBIA v. RFC in order to provide the examiner
                    excerpts relevant to the securitization process.
03/12/2013   JRC    E-mail exchange with Mr. Day (Morrison &              L120     0.10 hrs
                    Foerster) regarding interviews taken by the
                    examiner.
03/12/2013   JRC    E-mail exchanges with Mr. Lipps and Ms. Battle        L120     0.10 hrs
                    regarding deposition excerpts from MBIA v. RFC
                    related to the securitization process for the
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                    examiner.
03/12/2013   JDR    Review and analyze select prepetition deposition     L330     2.80 hrs
                    transcripts in preparation for designating key
                    passages regarding securitization process. (2.50)
                    Conference with Mr. Beck regarding same. (.30)
03/12/2013   JDR    Review and analyze pre-petition expert reports and   L120     1.70 hrs
                    select deposition transcripts in preparation for
                    designating key passages regarding securitization
                    process.
03/12/2013   JDR    Conference with Mr. Corcoran regarding               L120     0.40 hrs
                    deposition excerpts and counter designations.

03/12/2013   JDR    Draft outline for select prepetition depositions     L330     0.70 hrs
                    excerpts regarding securitization process.

03/12/2013   SP     Review documents to be produced by Deloitte in       L320     3.90 hrs
                    production 1 for privilege and other issues.

03/12/2013   SP     Review documents to be produced by Deloitte in       L320     3.20 hrs
                    production 2 for privilege and other issues.

03/12/2013   SP     Review board minutes and materials for treatment     L120     1.20 hrs
                    of fiduciary duties and solvency.

03/12/2013   SP     Conference with Ms. Battle and Ms. Paul Whitfield    L120     0.60 hrs
                    regarding Deloitte's relationship with Ally and
                    Residential Capital. (.40) Research regarding
                    same. (.20)
03/12/2013   SP     Conference with Ms. Paul Whitfield regarding         L120     0.90 hrs
                    privilege issues for Deloitte documents.

03/12/2013   GNM    E-mails with Ms. Paul Whitfield regarding            L120     0.20 hrs
                    privilege log reports.

03/12/2013   GNM    Performing analysis on privilege log to comport      L320     3.00 hrs
                    with Examiner request for attorney designations.
                    (2.50) Conference with Ms. Battle regarding
                    privilege logs and review stafing. (.50)
03/12/2013   GNM    Telephone communications with Mr. Shipler (DTI)      L120     0.50 hrs
                    regarding privilege log reports.

03/12/2013   GNM    Working in Discovery Partner investigating           L320     0.30 hrs
                    reviewer complaint that metadata in privilege log
                    reports was incorrect.
03/12/2013   GNM    Performing second level review of Scholtz data in    L320     2.90 hrs
                    Discovery Partner database as outlined in the
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                    quality control protocol.
03/12/2013   GNM    Telephone communications with Mr. Gerdts                L120     0.20 hrs
                    (Kroll) regarding fee swap agreement.

03/12/2013   GNM    Editing production metrics memorandum for Mr.           L320     0.90 hrs
                    Beck.

03/12/2013   GNM    E-mail communications with Mr. Lipps and Ms.            L120     0.90 hrs
                    Battle regarding proper confidentiality designation
                    of PII.
03/12/2013   GNM    Meeting with Ms. Sholl regarding Seller file            L120     0.20 hrs
                    production for Mayer Brown.

03/12/2013   GNM    Telephone communications with Mr. Shipler (DTI)         L120     0.30 hrs
                    regarding status of production pipeline.

03/12/2013   GNM    Telephone communications with Ms. Shank                 L120     0.20 hrs
                    (Residential Capital) regarding outstanding
                    requests from the Examiner.
03/12/2013   GNM    E-mail communications with Ms. Tice (Morrison           L120     0.40 hrs
                    & Foerster) regarding outstanding requests from
                    the Examiner.
03/12/2013   GNM    Reading and analysing proposed motion to amend          L320     1.40 hrs
                    the Confidentiality Order.

03/12/2013   GNM    Drafting and sending e-mail communications to           L120     0.40 hrs
                    Ms. Battle and Ms. Whitfield regarding analysis of
                    proposed motion to amend the Confidentiality
                    Order.
03/12/2013   HLB    Quality control review of privilege logs for proper     L120     5.30 hrs
                    attorney coding, privilege designations and
                    redactions. Review of log Ruckdaschel Redacted
                    Attorney 3 of 4.
03/12/2013   AEG    Quality control Phase III redact log attorney 4 of 4,   L140     2.00 hrs
                    insert appropriate symbols and check for privilege
                    accuracy.
03/13/2013   AMP    Conference with Mr. Phillips regarding office tiger     L320     0.40 hrs
                    role in various transitions.

03/13/2013   AMP    Draft clawback chart from documents identified on       L320     0.60 hrs
                    privilege logs as subject to clawback.

03/13/2013   AMP    Attention to status of February 15 examiner request     L320     0.30 hrs
                    list.

03/13/2013   AMP    E-mails with Ms. Marty and Morrison & Foerster          L320     0.30 hrs
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                    team regarding status of February 15 examiner
                    request list.
03/13/2013   AMP    Attention to review of Deloitte documents for           L320     1.10 hrs
                    privilege.

03/13/2013   AMP    Review privilege determinations.                        L320     0.90 hrs


03/13/2013   AMP    Attention to privilege issues related to audit letter   L320     1.00 hrs
                    issues.

03/13/2013   AMP    E-mails with Ms. Balmer (Deloitte) regarding            L320     0.60 hrs
                    status of review of documents.

03/13/2013   AMP    Telephone conference with Ms. Balmer (Deloitte)         L320     0.20 hrs
                    regarding status of review of documents.

03/13/2013   AMP    Attention to Ally's request for modification of         L320     1.10 hrs
                    protective order amendment sought by Examiner to
                    allow for clawbacks after March 15.
03/13/2013   AMP    E-mails with Ms. Battle regarding Ally's request        L320     0.20 hrs
                    for modification of protective order amendment
                    sought by Examiner to allow for clawbacks after
                    March 15.
03/13/2013   AMP    E-mails with Morrison & Foerster team regarding         L320     0.30 hrs
                    ResCap's objection to incorporate Ally's objection.

03/13/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster)          L320     0.30 hrs
                    regarding status of supplemented privilege log
                    production.
03/13/2013   AMP    Attention to Lazard document production issues.         L320     1.20 hrs


03/13/2013   AMP    E-mail to Mr. Donovan (Kirkland & Ellis)                L320     0.20 hrs
                    regarding their review of Deloitte's documents for
                    privilege.
03/13/2013   AMP    E-mails with Mr. Ruegger (SNR) regarding access         L320     0.20 hrs
                    to documents and encryption issues.

03/13/2013   AMP    Draft ResCap's objection to examiner's proposed         L320     0.70 hrs
                    modification of protective order and incorporate
                    Ally's objection.
03/13/2013   JAL    Prepare for Mr. Blahut's interview (.50).               L120     6.50 hrs
                    Conference with Mr. Blahut and Mr. Day
                    (Morrison & Foerster) to prepare for same (.50).
                    Participate at Mr. Blahut's interview (4.4). Review
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                    final draft of Mr. Whitlinger's interview memo
                    (.30). Telephone conference with Ms. Mohler
                    regarding finalizing Whitlinger interview memo
                    (.10). Review and respond to e-mails regarding
                    use of MBIA transcripts (.20). Review e-mails
                    regarding responding to UCC submission to
                    examiner (.10). Review e-mails regarding
                    examiner schedule (.10). Review tax allocation
                    agreements and e-mails regarding same (.30).
03/13/2013   MNB    Receipt and review of unsecured creditor               L120     2.50 hrs
                    committee's additional submissions to the
                    examiner.
03/13/2013   VLS    Receipt and review of time cards for contract          L320     0.60 hrs
                    document reviewers.

03/13/2013   VLS    E-mail exchange with Ms. Wafalosky at Robert           L320     0.20 hrs
                    Half Legal approving time cards for payment.

03/13/2013   VLS    Monitor review status of Phase III privilege logs to   L320     0.60 hrs
                    team members for review.

03/13/2013   VLS    Assignment of Phase III privilege logs to team         L320     0.70 hrs
                    members for review.

03/13/2013   JES    Attention to finalizing Applegate day two              L120     0.30 hrs
                    preparation kit.

03/13/2013   JALB   Prepare for meeting with Mr. Applegate.                L330     0.40 hrs


03/13/2013   JALB   Review and respond to correspondence with Ms.          L120     0.20 hrs
                    Levitt, Ms. Paul Whitfield, Mr. Brown, Ms. Marty
                    and others regarding privilege log status and
                    staffing.
03/13/2013   JALB   Updating of document production and interview          L320     0.20 hrs
                    talking points.

03/13/2013   JALB   Attention to status of document productions and        L320     0.30 hrs
                    preparation for court conference.

03/13/2013   MMM    Draft Whitlinger's interview summary.                  L120     2.30 hrs


03/13/2013   MMM    Review documents and draft outline for                 L120     1.10 hrs
                    Blackburn's interview with Examiner.

03/13/2013   MMM    Review documents to find hot documents related to      L120     0.40 hrs
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                    hedging.

03/13/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding       L120     0.40 hrs
                    response strategy on UCC submissions on estate
                    and third party claims.
03/13/2013   DAB    Call with Ms. Barrage (Morrison & Foerster)           L120     0.20 hrs
                    regarding response strategy on new UCC papers.

03/13/2013   JRC    Review and analyze deposition transcripts from        L330     2.90 hrs
                    MBIA v. RFC in order to provide the examiner
                    excerpts relevant to the securitization process.
03/13/2013   JDR    Review and analyze depositions of select debtor       L330     1.50 hrs
                    securitization witnesses for purposes of responding
                    to MBIA submission.
03/13/2013   JDR    Review and analyze depositions of select debtor       L330     1.30 hrs
                    underwriting witnesses for purposes of responding
                    to MBIA submission.
03/13/2013   JDR    Review and analyze depositions of select debtor       L330     1.70 hrs
                    securitization witnesses for purposes of responding
                    to MBIA submission.
03/13/2013   SP     Review documents to be produced by Deloitte in        L320     4.60 hrs
                    production 1 for privilege and other issues.

03/13/2013   SP     Review documents to be produced by Deloitte in        L320     4.20 hrs
                    production 2 for privilege and other issues.

03/13/2013   SP     Conference with Deloitte counsel to get access to     L120     1.40 hrs
                    password protected documents and review said
                    documents.
03/13/2013   SP     Conference with Ms. Paul Whitfield regarding role     L120     0.40 hrs
                    of Office Tiger in various transactions.

03/13/2013   SP     Review documents to be produced by Deloitte over      L320     1.20 hrs
                    which Ally has claimed privilege.

03/13/2013   GNM    E-mail communications with Ms. Levitt (Morrison       L120     0.90 hrs
                    & Foerster) regarding updated status memorandum
                    on production for chambers conference.
03/13/2013   GNM    Editing updated status memorandum on production       L120     1.70 hrs
                    for Ms. Levitt (Morrison & Foerster).

03/13/2013   GNM    Drafting updated status memorandum for Ms.            L120     2.40 hrs
                    Levitt (Morrison & Foerster).

03/13/2013   GNM    Telephone communications with Ms. Tice                L120     0.60 hrs
                    (Morrison & Foerster) regarding data for updated
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                    status memorandum.
03/13/2013   GNM    Editing objection to motion to amend the              L320     0.60 hrs
                    Confidentiality Order.

03/13/2013   GNM    Working in Discovery Partner database locating        L320     0.30 hrs
                    documents at the request of Ms. Battle.

03/13/2013   GNM    Working in Discovery Partner database                 L320     1.30 hrs
                    configuring Mr. Scholtz's data for production.

03/13/2013   HLB    Quality control review of privilege logs for proper   L120     2.60 hrs
                    attorney coding, privilege designations and
                    redactions. Review of log Ruckdaschel Redacted
                    Attorney 3 of 4.
03/13/2013   ABW    E-mail to Ms. Sholl regarding review assignment.      L140     0.10 hrs


03/13/2013   ABW    E-mail from Ms. Sholl regarding review                L140     0.10 hrs
                    assignment.

03/14/2013   DAB    Communicate with Ms. Battle regarding role of         L120     0.10 hrs
                    Mr. Parker.

03/14/2013   AMP    Attention to issues regarding review of Cerberus      L320     0.50 hrs
                    documents for privilege and Ally's review of same
                    for privilege.
03/14/2013   AMP    Review communications with Mr. Glick (Kirkland        L320     0.60 hrs
                    & Ellis) regarding privilege review of documents.

03/14/2013   AMP    E-mails with Mr. Lipps and Ms. Battle regarding       L320     0.30 hrs
                    privilege review of documents.

03/14/2013   AMP    Telephone conference with Mr. Lipps regarding         L320     0.40 hrs
                    privilege review of documents.

03/14/2013   AMP    Draft e-mail to Examiner's counsel regarding 19       L320     0.90 hrs
                    outstanding Lazard documents.

03/14/2013   AMP    Attention to Deloitte document issues and multiple    L320     1.30 hrs
                    e-mails regarding 19 outstanding Lazard
                    documents.
03/14/2013   AMP    Finalize clawback list from prior privilege logs.     L320     0.90 hrs


03/14/2013   AMP    E-mails with Morrison & Foerster team regarding       L320     0.50 hrs
                    clawback list from prior privilege logs.
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03/14/2013   AMP    Revise clawback letter.                              L320     0.30 hrs


03/14/2013   AMP    Attention to Lazard document issues and multiple     L320     1.10 hrs
                    e-mails regarding same. (.50) Conference with
                    Ms. Marty regarding same. (.60)
03/14/2013   AMP    Attention to answering questions from privilege      L320     1.40 hrs
                    team members regarding company affiliation and
                    common interest assertions on the Phase III
                    supplemental privilege logs. (.70) Conference
                    with Ms. Sholl regarding Phase II privilege log.
                    (.40) Conference with Mr. Phillips regarding audit
                    letters. (.30)
03/14/2013   AMP    Review e-mails from Mr. Brown (Morrison &            L320     0.30 hrs
                    Foerster) regarding clawback request from
                    Kirkland & Ellis.
03/14/2013   AMP    Review documents in clawback list.                   L320     0.40 hrs


03/14/2013   AMP    E-mails with Morrison & Foerster team and Ms.        L320     0.40 hrs
                    Marty regarding review of documents.

03/14/2013   JAL    Conference with Ms. Battle and Morrison Foerster     L120     2.30 hrs
                    lawyers regarding Mr. Bricker's preparation (.60).
                    Call with Ms. Battle regarding privilege review
                    (.40). Review and respond to e-mails regarding
                    same (.30). Review supplemental MBIA
                    deposition excerpts to submit to examiner (.50).
                    Review and respond to e-mails regarding same
                    (.30). Review and respond to e-mails regarding
                    meeting with Kirkland & Ellis to discuss examiner
                    interviews (.20).
03/14/2013   VLS    Review privilege logs for all entries indicating a   L320     4.20 hrs
                    document clawback.

03/14/2013   VLS    Assignment of Phase III Privilege Logs to team       L320     0.60 hrs
                    members.

03/14/2013   VLS    Monitor review status of Phase III Privilege Log     L320     0.40 hrs
                    review.

03/14/2013   VLS    Download production copies of Phase II privilege     L320     0.40 hrs
                    logs from Morrison and Foerster's FTP site.

03/14/2013   VLS    Conference with Ms. Paul Whitfield regarding         L320     0.40 hrs
                    Phase II privilege log clawback entries.
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03/14/2013   JES    Review and respond to e-mails regarding              L120     0.50 hrs
                    additional Applegate documents.

03/14/2013   JALB   Review and analyze supplemental Mr. Applegate's      L330     1.50 hrs
                    materials in advance of preparation meeting and
                    interview.
03/14/2013   JALB   Meet with Mr. Applegate to prepare for interview.    L330     2.50 hrs


03/14/2013   JALB   Attend interview of Mr. Applegate.                   L330     3.70 hrs


03/14/2013   JALB   Telephone conference with Ms. Gardiner (Schulte)     L120     0.40 hrs
                    regarding upcoming interviews of
                    Cerberus/Residential Capital personnel.
03/14/2013   JALB   Participate in interview preparation call with Mr.   L330     0.40 hrs
                    Bricker.

03/14/2013   MMM    Review documents and draft outline for               L120     1.80 hrs
                    Blackburn's Examiner interview.

03/14/2013   DAB    Research regarding role of Mr. Parker of Cerberus.   L330     0.30 hrs


03/14/2013   DAB    Communicate with Ms. Battle regarding role of        L120     0.10 hrs
                    Mr. Parker.

03/14/2013   DAB    Communicate with Mr. Lipps, Ms. Battle and Mr.       L120     0.10 hrs
                    Sechler regarding bank restructuring issue.

03/14/2013   DAB    Conference with Ms. Paul-Whitfield and Mr.           L120     0.20 hrs
                    Philips regarding privilege issue on board
                    presentations.
03/14/2013   DAB    Conference with Ms. Mohler regarding issues for      L120     0.10 hrs
                    Blackburn interview.

03/14/2013   JRC    E-mail exchange with Ms. Marty regarding             L120     0.10 hrs
                    production of e-mails of Mr. Scholtz to the
                    examiner.
03/14/2013   JRC    Conferences with Mr. Rhode regarding deposition      L120     0.20 hrs
                    excerpts provided to the examiner.

03/14/2013   JRC    Review and analyze deposition transcripts from       L330     4.60 hrs
                    MBIA v. RFC in order to provide the examiner
                    excerpts relevant to the securitization process.
03/14/2013   JRC    Draft summary of MBIA v. RFC deposition              L330     1.60 hrs
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                    excerpts relevant to the securitization process for
                    provision to the examiner.
03/14/2013   JDR    Review and analyze depositions of select debtor       L330     1.90 hrs
                    securitization witnesses for purposes of responding
                    to MBIA submission.
03/14/2013   SP     Perform quality control of Mr. Lazard's documents     L120     2.20 hrs
                    previously marked as privileged and change coding
                    and redaction as appropriate.
03/14/2013   SP     Review Mr. Lazard's documents (1.20) and confer       L120     1.70 hrs
                    with Ms. Marty regarding the same. (.50)

03/14/2013   SP     Conference with Ms. Paul Whitfield regarding          L120     0.30 hrs
                    privilege designations for audit response letters.

03/14/2013   SP     Perform research on privilege related to attorney     L120     4.10 hrs
                    client privilege and work product protection for
                    audit response letters.
03/14/2013   GNM    E-mail communications with Ms. Levitt (Morrison       L120     0.20 hrs
                    & Foerster) regarding clawback of Phase 3
                    material.
03/14/2013   GNM    E-mail communications with Ms. Tice (Morrison         L120     0.20 hrs
                    & Foerster) regarding data for updated status
                    memorandum.
03/14/2013   GNM    E-mail communications with Mr. Hoelzel                L120     0.30 hrs
                    (Contract Reviewer) regarding review of Mr.
                    Scholtz's data.
03/14/2013   GNM    Working in Discovery Partner database locating        L320     0.20 hrs
                    documents at the request of Ms. Battle.

03/14/2013   GNM    Telephone communications with Ms. Grossman            L120     0.20 hrs
                    (Morrison & Foerster) regarding 9019 e-mails.

03/14/2013   GNM    E-mail communications with Ms. Tice (Morrison         L120     0.30 hrs
                    & Foerster) regarding reproduction of
                    EXAM11740350.
03/14/2013   GNM    Working in Discovery Partner database                 L320     0.80 hrs
                    configuring items for re-production.

03/14/2013   GNM    Drafting and sending e-mail to Mr. Shipler (DTI)      L120     0.20 hrs
                    regarding reproduction set.

03/14/2013   GNM    E-mail communications with Ms. Whitfield              L120     0.40 hrs
                    regarding Lazard documents designated "Highly
                    Confidential."
03/14/2013   GNM    Working in Discovery Partner database performing      L320     3.00 hrs
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                    second level review of Mr. Scholtz's data as
                    outlined in the quality control protocol.
03/14/2013   GNM    Telephone communications with Mr. Phillips              L120     0.50 hrs
                    regarding privilege logs for Lazard documents.

03/14/2013   GNM    Telephone communications with Ms. Paul                  L120     0.60 hrs
                    Whitfield regarding privilege logs for Mr. Lazard's
                    documents.
03/14/2013   GNM    Working in the Subservicing database reviewing          L320     1.20 hrs
                    privilege designations.

03/14/2013   HLB    Quality control review of privilege logs for proper     L120     4.30 hrs
                    attorney coding, privilege designations and
                    redactions. Review of log Ruckdaschel Redacted
                    Attorney 3 of 4.
03/14/2013   AEG    Quality control phase III redact log attorney 4 of 4,   L140     4.00 hrs
                    insert appropriate symbols and check for privilege
                    accuracy, pursuant to the attorney lists and e-mail
                    instructions provided.
03/15/2013   AMP    Attention to addressing questions and issues            L320     1.40 hrs
                    associated with Phase III privilege log
                    supplementation project.
03/15/2013   AMP    Multiple e-mails with privilege team regarding          L320     0.80 hrs
                    addressing questions and issues associated with
                    Phase III privilege log supplementation project.
03/15/2013   AMP    Attention to clawback issues.                           L320     0.40 hrs


03/15/2013   AMP    Revise and finalize clawback letter.                    L320     0.80 hrs


03/15/2013   AMP    E-mails with Mr. Glick (Kirkland & Ellis)               L320     0.50 hrs
                    regarding clawback request on bank examination
                    privilege basis.
03/15/2013   AMP    Draft separate letter regarding clawback request on     L320     0.30 hrs
                    bank examination privilege basis.

03/15/2013   AMP    Conference with Mr. Phillips regarding transmittal      L120     0.90 hrs
                    letter issue raised at Court by Mr. Tepper
                    (Examiner's counsel). (.70) Research regarding
                    same. (.20)
03/15/2013   AMP    E-mails with Ms. Battle and Ms. Levitt (Morrison        L120     0.30 hrs
                    & Foerster) regarding transmittal letter issue raised
                    at Court by Mr. Tepper (Examiner's counsel).
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03/15/2013   AMP    Attention to latest e-mail from Examiner counsel       L120     0.40 hrs
                    on privilege issues for 3/19 Marano interview.

03/15/2013   AMP    Multiple e-mails with Morrison & Foerster team         L120     0.60 hrs
                    regarding privilege issues for 3/19 Marano
                    interview.
03/15/2013   AMP    Review documents regarding privilege issues for        L320     1.10 hrs
                    3/19 Marano interview.

03/15/2013   JAL    Prepare for Mr. Bricker's interview (.30).             L120     5.80 hrs
                    Conference with Mr. Bricker and Morrison
                    Foerster lawyers regarding Mr. Bricker's interview
                    (.40). Participate in Mr. Bricker's interview (3.8).
                    Review supplemental submission by AIG et al.
                    (.30). Review and respond to e-mails regarding
                    addressing same (.10). Review and respond to
                    e-mails regarding examiner interview schedule and
                    coverage (.10). Review additional MBIA
                    transcripts for submission to examiner (.30).
                    Review and respond to e-mails regarding
                    submission of transcripts to examiner (.10).
                    Review analysis by Mr. Beck of recent examiner
                    submissions (.40).
03/15/2013   MNB    Review deposition of Mr. Wendorff for potential        L120     1.70 hrs
                    cites responsive to deposition cites relied upon by
                    Examiner.
03/15/2013   VLS    Telephone conference with Mr. Shipler at DTI           L320     0.50 hrs
                    regarding access to GMACM database.

03/15/2013   VLS    Multiple E-mail exchanges with Mr. Shipler at DTI      L320     0.40 hrs
                    regarding access to GMACM database.

03/15/2013   VLS    Monitor review status of Phase III privilege log       L320     0.60 hrs
                    review.

03/15/2013   VLS    Assignment of Phase III privilege log to team          L320     0.60 hrs
                    members for review.

03/15/2013   VLS    E-mail exchange with Ms. Zellmann at ResCap            L320     0.30 hrs
                    regarding list of Seller files.

03/15/2013   VLS    Telephone conference with Ms. Zellmann at              L320     0.30 hrs
                    ResCap regarding list of Sell Files.

03/15/2013   VLS    Monitor review status of Phase III Privilege Log       L320     0.70 hrs
                    Quality Control review project.
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03/15/2013   VLS    Assignment of Phase III Privilege Logs to             L320     0.60 hrs
                    Privilege Log Quality Control team members.

03/15/2013   VLS    Update Privilege Log Review status spreadsheet.       L320     0.60 hrs


03/15/2013   VLS    E-mail to Ms. Battle regarding list of Seller files   L320     0.30 hrs
                    received from Ms. Zellmann at ResCap.

03/15/2013   JALB   Review and comment on analysis by Mr. Corcoran        L120     0.80 hrs
                    regarding use of deposition transcripts in examiner
                    report.
03/15/2013   JALB   Review and respond to e-mail summary from Mr.         L120     0.40 hrs
                    Beck of UCC submission and comment on
                    potential rebuttal interviews.
03/15/2013   JALB   Follow-up with witnesses (Mr. Scholtz, Ms.            L330     0.20 hrs
                    Steinhagen) regarding confirmation of interviews.

03/15/2013   JALB   Follow-up regarding open issues for preparation       L330     0.30 hrs
                    and interview of Mr. Weintraub and others

03/15/2013   JALB   Follow up e-mails with Mr. Salerno, Ms. Levitt        L120     0.10 hrs
                    (both Morrison & Foerster) regarding
                    representations regarding privilege log timing
                    details.
03/15/2013   JALB   Follow-up with Ms. Sholl regarding seller list.       L120     0.20 hrs


03/15/2013   MMM    Draft outline for Blackburn's Examiner interview.     L120     3.60 hrs


03/15/2013   MMM    Review documents for Blackburn's Examiner             L120     4.60 hrs
                    interview.

03/15/2013   DAB    E-mail Mr. Day (Morrison & Foerster) and Ms.          L120     0.20 hrs
                    Battle regarding key issues for Mr. Weintraub's
                    interview.
03/15/2013   DAB    E-mail Ms. Battle regarding upcoming projects for     L120     0.20 hrs
                    examiner.

03/15/2013   DAB    Communicate with Mr. Phillips regarding analysis      L120     0.10 hrs
                    needed on potential FGIC custodians.

03/15/2013   DAB    Communicate with Mr. Corcoran regarding               L120     0.20 hrs
                    analysis needed on potential MBIA custodians.
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03/15/2013   DAB    E-mail Mr. Beekhuizen regarding objection to          L120     0.10 hrs
                    MBIA claims.

03/15/2013   DAB    Analyze new UCC submissions to examiner on            L120     3.80 hrs
                    estate claims and third party releases.

03/15/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding new         L120     0.30 hrs
                    UCC submission.

03/15/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster)              L120     0.10 hrs
                    regarding new UCC submissions to examiner.

03/15/2013   DAB    Analyze AIG submission to examiner on third           L120     0.40 hrs
                    party release.

03/15/2013   DAB    E-mail Mr. Lipps, Ms. Battle and Mr. Beekhuizen       L120     0.30 hrs
                    regarding AIG submission.

03/15/2013   JRC    Conference with Mr. Rhode regarding MBIA v.           L120     0.10 hrs
                    RFC deposition transcripts provided to the
                    examiner.
03/15/2013   JRC    Review and analyze deposition transcripts from        L330     4.90 hrs
                    MBIA v. RFC in order to provide the examiner
                    excerpts relevant to the securitization process.
03/15/2013   JRC    E-mail exchanges with Mr. Lipps and Ms. Battle        L120     0.20 hrs
                    regarding deposition transcripts from MBIA v.
                    RFC provided to the examiner.
03/15/2013   JRC    Prepare analysis of examiner interview memoranda      L330     0.60 hrs
                    for review by Mr. Lipps.

03/15/2013   JRC    Prepare analysis of examiner preparation              L330     0.60 hrs
                    memoranda for review by Mr. Lipps.

03/15/2013   JDR    Review and analyze depositions of select debtor       L330     2.30 hrs
                    securitization witnesses regarding loan acquisition
                    for purposes of responding to MBIA submission.
03/15/2013   JDR    Review and analyze depositions of select debtor       L330     1.00 hrs
                    securitization witnesses regarding loan funding
                    processes for purposes of responding to MBIA
                    submission.
03/15/2013   JDR    Review and analyze depositions of select debtor       L330     1.20 hrs
                    securitization witnesses regarding loan
                    underwriting and audit for purposes of responding
                    to MBIA submission.
03/15/2013   SP     Perform quality control of Mr. Lazard's documents     L120     3.20 hrs
                    previously marked as privileged and change coding
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                    and redaction as appropriate.
03/15/2013   GNM    Telephone communications with Mr. Hoelzel               L120     0.50 hrs
                    (Contract Reviewer) regarding review of 9019
                    e-mails.
03/15/2013   GNM    Telephone communications with Mr. Searls                L120     0.50 hrs
                    (Contract Reviewer) regarding review of 9019
                    e-mails.
03/15/2013   GNM    E-mail communications with Mr. Hoelzel                  L120     0.20 hrs
                    (Contract Reviewer) regarding review of 9019
                    e-mails.
03/15/2013   GNM    Drafting cover letter to be sent with Mr. Scholtz's     L120     0.20 hrs
                    production.

03/15/2013   GNM    Working in Subservicing database configuring            L320     0.30 hrs
                    privilege log report.

03/15/2013   GNM    Working in Discovery Partner database performing        L320     0.20 hrs
                    quality control on the replacement production.

03/15/2013   HLB    Quality control review of Ruckdaschel Redacted          L120     5.50 hrs
                    Attorney 3 of 4 privilege logs for proper attorney
                    coding, privilege designations and redactions.
03/15/2013   AEG    Quality control phase III redact log attorney 4 of 4,   L140     3.00 hrs
                    insert appropriate symbols and check for privilege
                    accuracy, pursuant to the attorney lists and e-mail
                    instructions provided.
03/15/2013   ABW    E-mail from Ms. Sholl regarding status of project.      L140     0.10 hrs


03/16/2013   AMP    Attention to subservicing production privilege log      L320     1.20 hrs
                    issues.

03/16/2013   AMP    E-mails with Ms. Kitano (Morrison & Foerster)           L320     0.30 hrs
                    regarding supplementation of subserving
                    production privilege log issues.
03/16/2013   AMP    E-mails with Ms. Levitt (Morrison & Foerster)           L320     0.40 hrs
                    regarding additional Deloitte document production
                    and transmission or transmittal letter issues.
03/16/2013   AMP    E-mails with Mr. Phillips regarding additional          L320     1.40 hrs
                    Deloitte document production and transmission or
                    transmittal letter issues. (.70) Conference with Mr.
                    Phillips regarding same. (.70)
03/16/2013   SP     Conference with Ms. Paul Whitfield regarding            L120     0.70 hrs
                    transmittal letter issues.
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03/16/2013   SP     Review documents marked privileged relating to          L120     2.40 hrs
                    Deloitte and confer with Ms. Paul Whitfield
                    regarding the same.
03/17/2013   AMP    Attention to Deloitte documents privilege log.          L320     0.60 hrs


03/17/2013   AMP    Multiple e-mails with Ms. Battle, Mr. Phillips and      L320     0.40 hrs
                    Morrison & Foerster team regarding Deloitte
                    documents privilege log.
03/17/2013   MMM    Draft outline and review documents for                  L120     3.50 hrs
                    Blackburn's Examiner interview.

03/17/2013   DAB    Revise preparation memorandum for examiner              L330     0.60 hrs
                    interview of Mr. Blackburn.

03/17/2013   SP     Perform quality control of Mr. Lazard's documents       L120     5.30 hrs
                    previously marked as privileged and change coding
                    and redaction as appropriate.
03/17/2013   SP     Communicate with Ms. Paul Whitfield regarding           L120     0.40 hrs
                    transmittal letter issues.

03/17/2013   SP     Review documents marked privileged relating to          L120     1.20 hrs
                    Deloitte.

03/17/2013   SCM    Phase III quality control review of redacted log        L320     0.20 hrs
                    part 1 of 4.

03/17/2013   AEG    Quality control phase III redact log attorney 4 of 4,   L140     8.00 hrs
                    insert appropriate symbols and check for privilege
                    accuracy, pursuant to the attorney lists and e-mail
                    instructions provided.
03/17/2013   ABW    Review protocol, instructions and update personnel      L140     0.40 hrs
                    list documents for Phase III.

03/18/2013   AMP    Attention to finalizing the clawback letter.            L120     0.40 hrs


03/18/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)            L120     0.30 hrs
                    regarding finalizing the clawback letter.

03/18/2013   AMP    Telephone call to Mr. Glick (Kirkland & Ellis)          L120     0.20 hrs
                    regarding 2-page clawback request to confirm bank
                    examination privilege.
03/18/2013   AMP    E-mail to Mr. Skidmore (Kirkland & Ellis)               L120     0.10 hrs
                    regarding 2-page clawback request to confirm bank
                    examination privilege.
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03/18/2013   AMP    Finalize separate clawback letter for request to    L120     0.30 hrs
                    confirm bank examination privilege.

03/18/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)        L120     0.20 hrs
                    regarding separate clawback letter for request to
                    confirm bank examination privilege.
03/18/2013   AMP    Attention to Phase III assignments.                 L120     0.60 hrs


03/18/2013   AMP    E-mails with Ms. Sholl regarding Phase III          L120     0.30 hrs
                    assignments.

03/18/2013   AMP    Conference with Mr. Lipps regarding                 L320     0.30 hrs
                    communications with Ally's counsel on privilege
                    review of Cerberus' documents.
03/18/2013   AMP    Review prior e-mails regarding communications       L120     0.40 hrs
                    with Ally's counsel on privilege review of
                    Cerberus' documents.
03/18/2013   AMP    Attention to privilege issues regarding Marano      L320     0.60 hrs
                    document identified by Examiner's counsel.

03/18/2013   AMP    E-mails with Ms. Battle and Morrison & Foerster     L320     0.30 hrs
                    team regarding privilege issues regarding Marano
                    document identified by Examiner's counsel.
03/18/2013   AMP    Attention to responding to Schinfeld letter         L320     0.40 hrs
                    challenging common interest assertion.

03/18/2013   AMP    Reviewing specific documents identified in the      L320     0.30 hrs
                    letter for privilege.

03/18/2013   AMP    Attention to Deloitte's latest production for       L320     0.20 hrs
                    privilege review.

03/18/2013   AMP    E-mails with Ms. Balmer (Deloitte) regarding        L320     0.30 hrs
                    latest production for privilege review.

03/18/2013   AMP    E-mails with privilege team regarding next          L320     0.20 hrs
                    assignments.

03/18/2013   AMP    Attention to supplementing Phase 3 withheld log     L320     2.40 hrs
                    part 4 of 6. (2.10) Conference with Mr. Phillips
                    regarding Lazard documents. (.30)
03/18/2013   JAL    Review interview memos for various interviewees     L120     3.10 hrs
                    (1.0). Review and respond to e-mails regarding
                    examiner interviews (.20). Conference with
                    Kirkland & Ellis lawyers regarding same (.10).
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                    Review and respond to e-mails regarding examiner
                    interview schedule and coverage (.10). Telephone
                    conference with Mr. Powell (Kirkland & Ellis)
                    regarding UCC submission to examiner (.20).
                    Review and redraft proposed response to AIG
                    examiner submission (.80). Review and respond to
                    e-mails regarding MBIA transcript excerpts (.20).
                    Review and redraft UCC response insert (.20).
                    Conference with Ms. Paul Whitfield on privilege
                    issues on Cerberus documents. (.30)
03/18/2013   MNB    Draft response to AIG parties' reply submissions to   L250     3.60 hrs
                    examiner regarding release of third-party claims.

03/18/2013   VLS    E-mail exchange with Ms. Kitano at Morrison and       L320     0.30 hrs
                    Foerster regarding sub servicing privilege logs.

03/18/2013   VLS    E-mail exchange with Ms. Paul Whitfield               L320     0.20 hrs
                    regarding sub servicing privilege logs.

03/18/2013   VLS    Assignment of Phase III privilege logs for quality    L320     0.40 hrs
                    control review.

03/18/2013   VLS    Update Phase III privilege log tracking               L320     0.60 hrs
                    spreadsheet.

03/18/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding         L120     0.30 hrs
                    history of witness interviews.

03/18/2013   JALB   Communicate with Mr. Lipps and Ms. Gardiner           L120     0.20 hrs
                    (Schulte) regarding preparation and interview of
                    Mr. Weintraub.
03/18/2013   JALB   Review Mr. Marano notes in response to question       L330     0.60 hrs
                    from Mr. Lipps regarding issues raised in
                    interview.
03/18/2013   JALB   Follow-up with Mr. Haims (Morrison & Foerster)        L120     0.10 hrs
                    regarding Mr. Marano's privilege question.

03/18/2013   JALB   Follow-up e-mails with Ms. Krueger (assistant to      L120     0.20 hrs
                    Ms. Steinhagen, former Residential Capital)
                    regarding witness interview scheduling and
                    logistics and reimbursement questions.
03/18/2013   JALB   Discussion with Mr. Lipps and Mr. Corcoran            L120     0.20 hrs
                    regarding use of MBIA transcript excerpts.

03/18/2013   JALB   Various discussions with Mr. Beck, Mr. Corcoran       L120     0.50 hrs
                    and Mr. Barthel regarding preparation materials for
                    Mr. Weintraub's interview.
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03/18/2013   DJB    Research, analyze, and compile produced              L120     4.70 hrs
                    documents relating to Joshua Weintraub to assist
                    Mr. Lipps and Mr. Beck with preparing Mr.
                    Weintraub for Examiner interview.
03/18/2013   MMM    Review documents and draft outline for               L120     1.30 hrs
                    Blackburn's Examiner interview.

03/18/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding missing    L120     0.20 hrs
                    examiner interview memoranda.

03/18/2013   DAB    E-mail Ms. Battle regarding next projects for team   L120     0.10 hrs
                    on examiner investigation.

03/18/2013   DAB    Research regarding documents relevant for            L330     0.30 hrs
                    examiner interview of Mr. Weintraub.

03/18/2013   DAB    Conference with Ms. Battle and Mr. Corcoran          L120     0.30 hrs
                    regarding research needed preparation needed for
                    interview of Mr. Weintraub.
03/18/2013   DAB    Conference with Ms. Battle, Mr. Corcoran and Mr.     L120     0.10 hrs
                    Barthel regarding preparation needed for interview
                    of Mr. Weintraub.
03/18/2013   DAB    Draft insert for response to new UCC submission      L120     3.70 hrs
                    to examiner.

03/18/2013   DAB    E-mail Mr. Barthel regarding question on history     L120     0.20 hrs
                    of debtor entities.

03/18/2013   JRC    Review and analyze newly restored e-mails for Mr.    L120     0.50 hrs
                    Scholtz in order to locate interview preparation
                    materials.
03/18/2013   JRC    Review and analyze documents in Discovery            L120     3.30 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Weintraub.
03/18/2013   JRC    Prepare interview preparation notebook for Mr.       L120     0.30 hrs
                    Weintraub.

03/18/2013   JRC    E-mail exchange with Mr. Lipps and Ms. Battle        L120     0.20 hrs
                    regarding deposition excerpts provided to the
                    examiner.
03/18/2013   JRC    Review and analyze depositions from MBIA v.          L120     1.40 hrs
                    RFC in order to provide excerpts to the examiner
                    summarizing the securitization process.
03/18/2013   SP     Perform quality control of Mr. Lazard's documents    L120     6.90 hrs
                    previously marked as privileged and change coding
                    and redaction as appropriate.
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03/18/2013   SP     Begin preparing privilege logs for withheld and         L120     2.40 hrs
                    redacted documents from Mr. Lazard's production.

03/18/2013   SP     Conference with Ms. Paul-Whitfield regarding            L120     0.40 hrs
                    issues relating to Deloitte documents.

03/18/2013   GNM    Working in Discovery Partner database performing        L320     1.90 hrs
                    second level review of Scholtz data as outlined in
                    the quality control protocol.
03/18/2013   GNM    Working in Discovery Partner database                   L320     0.60 hrs
                    configuring Mr. Scholtz's data for production.

03/18/2013   GNM    Working in Subservicing database reviewing              L320     1.10 hrs
                    documents to respond to request from Mr.
                    Schinfeld (Kramer Levin).
03/18/2013   SCM    Phase III quality control review of redacted log        L320     0.80 hrs
                    part 1 of 4.

03/18/2013   HLB    Review of privilege logs for proper attorney            L120     5.20 hrs
                    coding, privilege designations and redactions.
                    Review of "ResCap Copy Phase III, withheld log 4
                    of 6."
03/18/2013   AEG    Quality control phase III redact log attorney 4 of 4,   L140     4.00 hrs
                    insert appropriate symbols and check for privilege
                    accuracy, pursuant to the attorney lists and e-mail
                    instructions provided.
03/18/2013   ABW    Review and edit Phase III Withheld Log 6 of 6.          L140     5.90 hrs


03/19/2013   AMP    Attention to Lazard privilege issues in comparing       L320     1.40 hrs
                    privilege log to prior e-mail communications on
                    privileged documents to ensure consistency.
03/19/2013   AMP    E-mails with Mr. Lipps, Ms. Battle and Mr. Beck         L320     0.40 hrs
                    regarding privilege determinations as to Lazard
                    documents.
03/19/2013   AMP    Attention to supplemental production of Lazard          L320     0.60 hrs
                    documents.

03/19/2013   AMP    Finalize Lazard privilege logs.                         L320     0.90 hrs


03/19/2013   AMP    E-mails with Morrison & Foerster regarding              L320     0.30 hrs
                    Lazard privilege logs.

03/19/2013   AMP    Attention to researching for missing passwords for      L320     1.10 hrs
                    four encrypted Lazard documents.
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03/19/2013   AMP    Attention to Deloitte privilege log issues.           L320     0.80 hrs


03/19/2013   AMP    Attention to review of Deloitte's productions 3 and   L320     1.20 hrs
                    4 for privilege.

03/19/2013   AMP    E-mails with Mr. Phillips regarding Deloitte's        L320     0.30 hrs
                    productions 3 and 4 for privilege.

03/19/2013   AMP    Telephone conference with Kirkland & Ellis            L120     0.20 hrs
                    regarding handling of audit letters.

03/19/2013   AMP    Draft e-mails to Morrison & Foerster team             L120     0.20 hrs
                    regarding handling of audit letters.

03/19/2013   AMP    Attention to quality control review of Phase III      L320     0.90 hrs
                    supplemental privilege logs.

03/19/2013   AMP    E-mails with Ms. Sholl regarding quality control      L320     0.20 hrs
                    review of Phase III supplemental privilege logs.

03/19/2013   AMP    Attention to forwarding quality control review        L320     0.20 hrs
                    instructions to Ms. Kitano (Morrison & Foerster)
                    to assist in quality control process.
03/19/2013   JAL    Review MBIA's supplemental submission (.70).          L120     2.80 hrs
                    Conference with Mr. Beekhuizen regarding
                    response to same (.30). Review Mr. Blackburn's
                    preparation materials (.70). Review supplemental
                    MBIA transcript excerpts (.40). Communicate
                    with Mr. Corcoran regarding same (.20).
                    Communicate with Ms. Battle regarding Mr.
                    Marano's key e-mails. (.20) Communicate with
                    Ms. Battle regarding interview preparations. (.30)
03/19/2013   MNB    Receipt and review of MBIA submission reply           L250     2.30 hrs
                    brief to examiner regarding third-party claims.

03/19/2013   MNB    Research and draft response to MBIA submission        L250     2.60 hrs
                    reply brief regarding MBIA's participation in, and
                    knowledge of, due diligence process and regarding
                    MBIA's understanding of AFI as separate and
                    independent from ResCap. (2.30) Conference with
                    Mr. Lipps regarding same. (.30)
03/19/2013   VLS    Assignment of Phase III privilege logs for quality    L320     0.70 hrs
                    control review.

03/19/2013   VLS    Update Phase III privilege log tracking               L320     0.80 hrs
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                    spreadsheet.

03/19/2013   VLS    E-mail exchange with Ms. Battle regarding                       L320     0.40 hrs
                    spreadsheet of all client/sellers active as of January
                    2006.
03/19/2013   RBS    Prepare alphabetical and chronological sets of           A103   L310     0.70 hrs
                    exhibit matrixes to distribute.

03/19/2013   JALB   Review summary of MBIA transcript excerpts and                  L330     0.40 hrs
                    provide comments to Mr. Lipps, Mr. Beekhuizen
                    and Mr. Corcoran regarding same.
03/19/2013   JALB   Attention to contract review staffing issues.                   L320     0.50 hrs


03/19/2013   JALB   E-mails with Mr. Illovsky (Morrison & Foerster)                 L120     0.20 hrs
                    regarding Scholtz availability.

03/19/2013   JALB   Discussion with Mr. Lipps regarding Mr. Marano's                L120     0.20 hrs
                    key e-mails.

03/19/2013   JALB   Review and analysis of Mr. Marano's key e-mails.                L330     0.30 hrs


03/19/2013   JALB   Discussion with Mr. Brown (Morrison & Foerster),                L120     0.70 hrs
                    and Ms. Marty regarding closeout of open
                    Examiner document requests (including
                    professional invoice request and Mr. Scholtz's
                    e-mail request, warehouse lending agreements,
                    audit manuals, etc.)
03/19/2013   JALB   Meet with Mr. Lipps and Mr. Beck regarding                      L120     0.30 hrs
                    status of interview preparations and other open
                    examiner projects/to-do items.
03/19/2013   DJB    Research and communications with Ms. Paul                       L120     0.30 hrs
                    Whitfield, Mr. Beck, and Ms. Battle regarding
                    affiliation (debtor v. Ally Company) of GMAC
                    Commercial Mortgage.
03/19/2013   MMM    Update Steinhagen preparation outline.                          L120     1.00 hrs


03/19/2013   DAB    E-mail Mr. Sechler, Mr. Corcoran and Ms. Mohler                 L120     0.10 hrs
                    regarding preparation materials for interview of
                    Mr. Weintraub.
03/19/2013   DAB    Communicate with Mr. Beekhuizen regarding                       L120     0.20 hrs
                    reply submission to examiner.

03/19/2013   DAB    Revise e-mail to examiner regarding response to                 L120     0.30 hrs
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                    MBIA transcript excerpts.

03/19/2013   DAB    Conference with Mr. Lipps and Ms. Battle             L120     0.40 hrs
                    regarding preparations for upcoming examiner
                    interviews.
03/19/2013   JRC    Prepare deposition excerpts from MBIA v. RFC         L120     0.20 hrs
                    for Ms. Levitt (Morrison & Foerster).

03/19/2013   JRC    Conference with Mr. Lipps regarding deposition       L120     0.20 hrs
                    excerpts from MBIA v. RFC provided to the
                    examiner.
03/19/2013   JRC    Teleconference with Mr. Day (Morrison &              L120     0.10 hrs
                    Foerster) regarding examiner interview
                    memoranda.
03/19/2013   JRC    E-mail exchanges with Mr. Lipps and Ms. Battle       L120     0.10 hrs
                    regarding deposition excerpts from MBIA v. RFC
                    provided to the examiner.
03/19/2013   JRC    Prepare analysis of examiner interview memoranda     L120     0.40 hrs
                    for Mr. Lipps.

03/19/2013   JRC    Revise chart summarizing examiner interviews.        L120     0.40 hrs


03/19/2013   SP     Review Mr. Lazard's related documents to finalize    L120     3.20 hrs
                    privilege logs and provide such logs to Ms. Paul
                    Whitfield.
03/19/2013   SP     Review documents produced by Deloitte in             L320     3.60 hrs
                    production 4 for privilege and withhold and redact
                    as appropriate.
03/19/2013   SP     Review documents produced by Deloitte in             L320     3.20 hrs
                    production 3 for privilege and withhold and redact
                    as appropriate.
03/19/2013   GNM    E-mail communications with Ms. Shank                 L120     0.30 hrs
                    (Residental Capital) regarding new requests from
                    the Examiner.
03/19/2013   GNM    Working in Discovery Partner database to locate      L320     1.30 hrs
                    documents at the request of Ms. Battle. (.60) Call
                    with Mr. Brown (Morrison & Foerster) and Ms.
                    Battle regarding close out of remaining examiner
                    request. (.70)
03/19/2013   GNM    Reading and analyzing 2006 Board Minutes for         L320     4.70 hrs
                    references to and information regarding dividends
                    paid.
03/19/2013   GNM    E-mail communications with Mr. Brown (Morrison       L120     0.40 hrs
                    & Foerster) regarding outstanding requests from
                    the Examiner.
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03/19/2013   GNM    Working in Discovery Partner database to locate        L320     0.40 hrs
                    documents in response to new requests from the
                    Examiner.
03/19/2013   GNM    Telephone communications with Ms. Burk (Lumen          L120     0.20 hrs
                    Legal) regarding invoices for contract reviewers.

03/19/2013   GNM    E-mail communications with Ms. Battle regarding        L120     0.20 hrs
                    Mr. Scholtz's productions.

03/19/2013   GNM    Performing quality control checks on Mr. Scholtz's     L320     0.60 hrs
                    production.

03/19/2013   GNM    Updating status chart of outstanding requests to the   L320     0.50 hrs
                    Examiner.

03/19/2013   GNM    Telephone communications with Mr. Shipler (DTI)        L120     0.40 hrs
                    regarding privilege log reports.

03/19/2013   GNM    Drafting cross reference sheet between 9019            L320     0.50 hrs
                    e-mails and Examiner e-mails.

03/19/2013   SCM    Phase III quality control review of redacted log       L320     2.50 hrs
                    part 1 of 4.

03/19/2013   HLB    Review of privilege logs for proper attorney           L120     7.30 hrs
                    coding, privilege designations and redactions in
                    ResCap Copy Phase III, withheld log 4 of 6.
03/19/2013   ABW    Review and edit Phase III Withheld Log 6 of 6.         L140     5.40 hrs


03/19/2013   ABW    E-mail to Ms. Sholl regarding assignment.              L140     0.10 hrs


03/20/2013   AMP    Attention to issues regarding supplemental             L320     0.40 hrs
                    production of Lazard documents.

03/20/2013   AMP    Finalize and prepare Lazard privilege logs for         L320     0.70 hrs
                    production.

03/20/2013   AMP    Revise note to examiner's counsel.                     L320     0.30 hrs


03/20/2013   AMP    E-mail to Mr. Brown (Morrison & Foerster)              L320     0.20 hrs
                    regarding note to examiner's counsel.

03/20/2013   AMP    E-mails with Ms. Balmer (Deloitte) regarding           L320     0.30 hrs
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                    privilege review of productions 3 and 4 and
                    comparison of documents Ally claims privilege
                    over.
03/20/2013   AMP    Attention to status of completion of Deloitte         L320     0.60 hrs
                    privilege logs.

03/20/2013   AMP    Attention to issues regarding supplemental            L320     0.40 hrs
                    redacted logs for Phase I and II for approximately
                    2800 documents.
03/20/2013   AMP    E-mails with Ms. Marty regarding supplemental         L320     0.20 hrs
                    redacted logs for Phase I and II for approximately
                    2800 documents.
03/20/2013   AMP    Answering multiple questions and reviewing            L320     1.30 hrs
                    multiple documents identified by privilege team
                    members as they work on supplementing Phase III
                    privilege logs. (.70) Conference with Ms. Sholl
                    regarding Phase III review. (.60)
03/20/2013   AMP    Attention to quality control review of supplemental   L320     2.10 hrs
                    privilege log for Phase 3 withheld log part 5 of 6.

03/20/2013   JAL    Review and respond to e-mails regarding meeting       L120     0.30 hrs
                    with Kirkland & Ellis to discuss interviews (.20).
                    Review e-mails regarding examiner schedule and
                    coverage (.10).
03/20/2013   MNB    Research and draft response to MBIA submission        L250     5.70 hrs
                    reply brief regarding standards applicable to fraud
                    claims and regarding negotiated criteria
                    agreements.
03/20/2013   VLS    Monitor review status of Phase III privilege log      L320     1.10 hrs
                    review.

03/20/2013   VLS    Assignment of Phase III Privilege Log review          L320     0.40 hrs
                    batches to review team members.

03/20/2013   VLS    Update Phase III Privilege Log Review status          L320     0.80 hrs
                    chart.

03/20/2013   VLS    Conference with Ms. Paul Whitfield regarding          L320     0.60 hrs
                    Phase III privilege log review.

03/20/2013   JES    Prepare for and attend meeting regarding              L120     0.70 hrs
                    upcoming ResCap bankruptcy projects and
                    associated deadlines.
03/20/2013   JALB   Review allegations in MBIA reply submission and       L120     1.60 hrs
                    assist in responding factually to same.
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03/20/2013   JALB   Meeting with and Mr. Beck, Mr. Phillips, Mr.           L120     0.50 hrs
                    Corcoran, Ms. Mohler and Ms. Marty regarding
                    examiner interview preparations.
03/20/2013   JALB   Update file memorandum regarding remaining             L120     0.90 hrs
                    tasks on examiner investigation.

03/20/2013   JALB   E-mails with Mr. Rhode and Mr. Sillman (Fortace)       L120     0.50 hrs
                    regarding data analysis for responding to MBIA
                    submission.
03/20/2013   DJB    Attend Examiner strategy meeting.                      L120     0.80 hrs


03/20/2013   MMM    Review and revise Steinhagen's interview               L120     0.90 hrs
                    preparation outline.

03/20/2013   MMM    Meeting with Ms. Battle, Mr. Beck, Mr. Sechler,        L120     0.70 hrs
                    Mr. Phillips and Mr. Corcoran regarding upcoming
                    examiner interview preparation.
03/20/2013   MMM    Review documents to create a binder of hot             L120     3.70 hrs
                    documents regarding hedge accounting.

03/20/2013   DAB    Participate in parts of meeting with Ms. Battle, Mr.   L120     0.40 hrs
                    Sechler, Mr. Barthel, Mr. Corcoran, Ms. Mohler,
                    Ms. Marty, Ms. Sholl and Mr. Samson regarding
                    examiner and monoline work projects.
03/20/2013   JRC    Conference with Ms. Battle, Mr. Beck, Mr.              L120     0.50 hrs
                    Phillips, Ms. Mohler, and Ms. Marty regarding
                    examiner interview preparation.
03/20/2013   JRC    Conference with Mr. Glick (Kirkland & Ellis)           L120     0.10 hrs
                    regarding Ally Financial employees interviewed by
                    the examiner.
03/20/2013   JRC    Prepare notebooks with examiner interview              L120     0.20 hrs
                    preparation materials.

03/20/2013   SP     Research and advise Ms. Paul Whitfield, Ms.            L120     1.30 hrs
                    Buchanan, and Ms. Luo regarding open questions
                    affecting privilege designations and entity
                    affiliation comments.
03/20/2013   SP     Review documents produced by Deloitte in               L320     4.60 hrs
                    production 5 for privilege and withhold and redact
                    as appropriate and confer with Ms. Paul Whitfield
                    regarding the same.
03/20/2013   SP     Prepare for and participate in meeting with Ms.        L120     0.70 hrs
                    Battle, Mr. Beck, Mr. Corcoran, Ms. Mohler and
                    Ms. Marty to discuss preparations for upcoming
                    examiner interviews.
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03/20/2013   GNM    Strategy meeting with Mr. Beck, Ms. Battle, Mr.        L120     0.80 hrs
                    Corcoran, Mr. Phillips and Ms. Mohler on
                    upcoming examiner interviews. (.50) Follow-up
                    on same. (.30).
03/20/2013   GNM    Telephone communication with Mr. Brown and             L120     1.20 hrs
                    Mr. Salerno (Morrison & Foerster) regarding the
                    9019/Examiner cross reference sheet.
03/20/2013   GNM    Generating supplemental redaction privilege logs       L320     2.70 hrs
                    for all previous productions.

03/20/2013   GNM    Editing cross reference sheet between 9019 e-mails     L320     0.40 hrs
                    and Examiner e-mails.

03/20/2013   GNM    Reviewing 9019 e-mails for overlapping                 L320     1.80 hrs
                    custodians.

03/20/2013   GNM    Telephone communications with Ms. Gardiner             L120     0.20 hrs
                    (Schulte Roth) regarding Examiner interviews.

03/20/2013   GNM    Performing analysis on privilege log to comport        L320     4.10 hrs
                    with Examiner request for attorney designations.

03/20/2013   SCM    Phase III quality control review of redacted log       L320     4.10 hrs
                    part 1 of 4.

03/20/2013   HLB    Review of privilege logs for proper attorney           L120     5.80 hrs
                    coding, privilege designations and redactions.
                    Review of "ResCap Copy Phase III, withheld log 4
                    of 6."
03/21/2013   AMP    Multiple e-mails with privilege team members           L320     0.40 hrs
                    regarding supplemental Phase 3 privilege logs.

03/21/2013   AMP    E-mails with Morrison & Foerster team regarding        L320     0.30 hrs
                    production of these ready to produce supplemental
                    logs.
03/21/2013   AMP    Attention to completion of Deloitte privilege          L320     0.60 hrs
                    review.

03/21/2013   AMP    Multiple e-mails with Mr. Phillips and Mr. Balmer      L320     0.30 hrs
                    (Deloitte) regarding completion of Deloitte
                    privilege review.
03/21/2013   AMP    Attention to quality control instructions for          L320     0.60 hrs
                    supplemental Phase 3 privilege logs.

03/21/2013   AMP    Attention to quality control review supplemental       L320     2.10 hrs
                    privilege log for Phase 3 redacted attorney log part
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                    1 of 4.
03/21/2013   AMP    Attention to quality control review supplemental          L320     1.90 hrs
                    privilege log for Phase 3 redacted attorney log part
                    2 of 4.
03/21/2013   AMP    Attention to quality control review supplemental          L320     1.80 hrs
                    privilege log for Phase 3 redacted attorney log part
                    3 of 4.
03/21/2013   AMP    Attention to quality control review supplemental          L320     2.00 hrs
                    privilege log for Phase 3 redacted attorney log part
                    4 of 4.
03/21/2013   AMP    Attention to quality control review supplemental          L320     2.10 hrs
                    privilege log for Phase 3 withheld attorney log part
                    1 of 7.
03/21/2013   AMP    Attention to quality control review supplemental          L320     1.70 hrs
                    privilege log for Phase 3 withheld attorney log part
                    4 of 7.
03/21/2013   JAL    Review debtors' interview memos to prepare for            L120     2.50 hrs
                    conference with Ally counsel (2.0). Review and
                    respond to e-mails regarding same (.20). Review
                    and respond to e-mails regarding Mr. Blackburn's
                    prep issues (.20). Review Mr. Blackburn's topic
                    outline (.10).
03/21/2013   MNB    Research and draft response to MBIA submission            L250     5.30 hrs
                    reply brief regarding automated underwriting
                    systems, and revise entire response brief.
03/21/2013   VLS    Monitor review status of Phase III privilege log          L320     1.60 hrs
                    review.

03/21/2013   VLS    Assignment of Phase III Privilege Log review              L320     0.60 hrs
                    batches to review team members.

03/21/2013   VLS    Update Phase III Privilege Log Review status              L320     1.40 hrs
                    chart.

03/21/2013   VLS    E-mail exchanges with Ms. Marty regarding audit           L320     0.30 hrs
                    materials to be printed.

03/21/2013   RBS    Download Grey, Applegate and Marano examiner A103         L310     0.30 hrs
                    exhibits to U-Drive.

03/21/2013   RBS    Prepare alphabetical and chronological versions of A103   L310     0.30 hrs
                    examiner interview spreadsheets to distribute.

03/21/2013   JALB   E-mails with Mr. Beekhuizen regarding deposition          L120     0.20 hrs
                    citations for MBIA reply.
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03/21/2013   MMM    Draft outline for Blackburn's Examiner interview.     L120     0.20 hrs


03/21/2013   JRC    Review and analyze MBIA's second submission on        L120     0.40 hrs
                    third-party releases in order to draft response.

03/21/2013   SP     Finalize review of Deloitte documents for privilege   L320     3.70 hrs
                    log.

03/21/2013   SP     Perform quality control review of phase III           L120     1.40 hrs
                    privilege logs, reviewing questionable documents
                    and confirming entity affiliation and privilege
                    designations.
03/21/2013   SP     Work with Deloitte internal counsel and technical     L120     0.90 hrs
                    advisors to address issues in document database.

03/21/2013   SP     E-mails with Ms. Paul Whitfield regarding issues      L120     0.60 hrs
                    relating to privilege designations.

03/21/2013   GNM    Performing analysis on privilege log to comport       L320     6.90 hrs
                    with Examiner request for attorney designations.

03/21/2013   GNM    Reviewing 9019 e-mails for overlapping                L320     1.10 hrs
                    custodians.

03/21/2013   GNM    E-mail communications with Ms. Sholl regarding        L120     0.20 hrs
                    Audit Materials previously produced.

03/21/2013   GNM    E-mail communications with Ms. Whitfield              L120     0.20 hrs
                    regarding production of Lazard documents.

03/21/2013   GNM    E-mail communications with Ms. Tice (Morrison         L120     0.10 hrs
                    & Foerster) regarding Phase 3 clawback.

03/21/2013   SCM    Phase III quality control review of redacted log      L320     2.70 hrs
                    part 1 of 4.

03/21/2013   SCM    Telephone conference with Ms. Sholl regarding         L320     0.10 hrs
                    quality control review.

03/21/2013   SCM    E-mail to Ms. Sholl regarding quality control         L320     0.20 hrs
                    review.

03/21/2013   HLB    Review of privilege logs for proper attorney          L120     8.20 hrs
                    coding, privilege designations and redactions.
                    Review of "ResCap Copy Phase III, withheld
                    attorney 6 of 7."
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03/22/2013   AMP    Attention to finalizing and preparing all Phase 3      L320     0.60 hrs
                    supplemental privilege logs.

03/22/2013   AMP    E-mails with Morrison & Foerster team regarding        L320     0.30 hrs
                    production of all Phase 3 supplemental privilege
                    logs.
03/22/2013   AMP    E-mails with Lazard's counsel regarding                L320     0.20 hrs
                    production of supplemental documents.

03/22/2013   AMP    Multiple e-mails with Morrison & Foerster team         L320     0.30 hrs
                    regarding Deloitte privilege logs.

03/22/2013   AMP    Attention to Kirkland & Ellis clawback request.        L320     0.40 hrs


03/22/2013   AMP    E-mails with Ms. Marty and Mr. Glick (Kirkland         L320     0.30 hrs
                    & Ellis) regarding clawback request.

03/22/2013   AMP    Finalize final clawback request.                       L320     0.50 hrs


03/22/2013   AMP    E-mails with Morrison & Foerster team regarding        L320     0.20 hrs
                    final clawback request.

03/22/2013   AMP    Attention to quality control review supplemental       L320     1.20 hrs
                    privilege log for Phase 3 redacted log part 1 of 4.

03/22/2013   AMP    Attention to quality control review supplemental       L320     0.60 hrs
                    privilege log for Phase 3 redacted log part 2 of 4.

03/22/2013   AMP    Attention to quality control review supplemental       L320     0.90 hrs
                    privilege log for Phase 3 redacted log part 3 of 4.

03/22/2013   AMP    Attention to quality control review supplemental       L320     0.80 hrs
                    privilege log for Phase 3 redacted attorney log part
                    4 of 4.
03/22/2013   AMP    Attention to quality control review supplemental       L320     0.70 hrs
                    privilege log for Phase 3 withheld attorney log part
                    2 of 7.
03/22/2013   AMP    Attention to quality control review supplemental       L320     0.80 hrs
                    privilege log for Phase 3 withheld attorney log part
                    3 of 7.
03/22/2013   AMP    Attention to quality control review supplemental       L320     0.90 hrs
                    privilege log for Phase 3 withheld attorney log part
                    5 of 7.
03/22/2013   AMP    Attention to quality control review supplemental       L320     1.10 hrs
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                    privilege log for Phase 3 withheld attorney log part
                    6 of 7.
03/22/2013   AMP    Attention to quality control review supplemental       L320     0.70 hrs
                    privilege log for Phase 3 withheld attorney log part
                    7 of 7.
03/22/2013   AMP    Attention to quality control review supplemental       L320     0.80 hrs
                    privilege log for Phase 3 withheld log part 1 of 6.

03/22/2013   AMP    Attention to quality control review supplemental       L320     1.20 hrs
                    privilege log for Phase 3 withheld log part 2 of 6.

03/22/2013   AMP    Attention to quality control review supplemental       L320     0.70 hrs
                    privilege log for Phase 3 withheld log part 3 of 6.

03/22/2013   AMP    Attention to quality control review supplemental       L320     0.60 hrs
                    privilege log for Phase 3 withheld log part 4 of 6.

03/22/2013   AMP    Attention to quality control review supplemental       L320     1.10 hrs
                    privilege log for Phase 3 withheld log part 6 of 6.

03/22/2013   JAL    Review and redraft response to MBIA                    L120     0.80 hrs
                    supplemental submission (.30). E-mails with Mr.
                    Beekhuizen and Ms. Battle regarding revisions to
                    supplemental submission (.20). Review e-mails
                    regarding examiner interviews and coverage (.30).
03/22/2013   VLS    Monitor review status of Phase III privilege log       L320     1.90 hrs
                    review.

03/22/2013   VLS    Assignment of Phase III Privilege Log review           L320     0.20 hrs
                    batches to review team members.

03/22/2013   VLS    Update Phase III Privilege Log Review status           L320     1.70 hrs
                    chart.

03/22/2013   JALB   Follow-up with Ms. Whitfield and others on the         L120     0.60 hrs
                    team regarding responses to questions raised by
                    Ms. Levitt (Morrison & Foerster) regarding open
                    privilege issues.
03/22/2013   JALB   Prepare response to Examiner regarding open            L320     0.40 hrs
                    document production items.

03/22/2013   JALB   Follow-up with client (Ms. Horner, Ms. Zellmann)       L120     0.20 hrs
                    regarding open document request items.

03/22/2013   JALB   E-mails with Mr. Beekhuizen regarding status of        L120     0.50 hrs
                    responsive submissions and statute of limitations
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                    analyses.
03/22/2013   JALB   Review and provide comments on draft brief          L120     1.20 hrs
                    responding to MBIA and AIG reply submissions.

03/22/2013   JALB   Follow-up e-mails to Ms. Paul-Whitfield regarding   L120     0.20 hrs
                    clawback deadline.

03/22/2013   MMM    Draft outline for Blackburn's Examiner interview.   L120     0.20 hrs


03/22/2013   SP     Perform quality control review of phase III         L120     4.80 hrs
                    privilege logs, reviewing questionable documents
                    and confirming entity affiliation and privilege
                    designations.
03/22/2013   SP     Work with Ms. Marty and vendor to resolve           L120     0.40 hrs
                    technical issues in document database.

03/22/2013   SP     Review documents to resolve issues primarily        L320     3.80 hrs
                    regarding entity affiliation and privilege
                    designations.
03/22/2013   GNM    Exchanging e-mail communications with Ms. Paul      L120     0.60 hrs
                    Whitfield regarding documents to be clawed back
                    at Ally's request.
03/22/2013   GNM    Editing and formatting clawback letter drafted by   L320     0.80 hrs
                    Ms. Paul Whitfield.

03/22/2013   GNM    Performing analysis on privilege log to comport     L320     3.20 hrs
                    with Examiner request for attorney designations.

03/22/2013   GNM    Telephone communications with Mr. Glick             L120     0.20 hrs
                    (Kirkland & Ellis) regarding items to be clawed
                    back at Ally's request.
03/22/2013   GNM    E-mail communications with Mr. Glick (Kirkland      L120     0.30 hrs
                    & Ellis) regarding items to be clawed back at
                    Ally's request.
03/22/2013   GNM    Working in Discovery Partner database reviewing     L320     2.70 hrs
                    documents requested to be clawed back by Ally.

03/22/2013   GNM    E-mail communications with Ms. Tice (Morrison       L120     0.20 hrs
                    & Foerster) regarding documents previously
                    clawed back.
03/22/2013   GNM    E-mail communications with Ms. Whitfield            L120     0.20 hrs
                    regarding Cerberus clawback.

03/22/2013   GNM    Exchanging e-mail communications with Mr.           L120     0.40 hrs
                    Salerno (Morrison & Foerster) regarding clawback
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                    letter.
03/23/2013   JAL    Review and respond to e-mails regarding examiner       L120     0.30 hrs
                    interviews and coverage (.10). Conference with
                    Ms. Battle regarding same (.20).
03/23/2013   MMM    Draft outline for Blackburn's Examiner interview.      L120     0.50 hrs


03/23/2013   JRC    Review and analyze newly produced documents in         L120     4.90 hrs
                    Discovery Partner in order to locate examiner
                    preparation materials for Mr. Scholtz.
03/24/2013   AMP    Attention to issues regarding Humphrey                 L120     0.70 hrs
                    McKenzie's company affiliation.

03/24/2013   AMP    Research database for to issues regarding              L120     0.90 hrs
                    Humphrey McKenzie's company affiliation.

03/24/2013   AMP    Draft e-mails to Ms. Battle regarding Humphrey         L120     0.30 hrs
                    McKenzie's company affiliation.

03/24/2013   JAL    Review Mr. Blackburn's potential exhibits (3.00).      L120     3.70 hrs
                    Review examiner proposed interview exhibits
                    (.60). Review and respond to e-mails regarding
                    same (.10).
03/24/2013   MMM    Draft outline for Blackburn's Examiner interview.      L120     0.60 hrs


03/24/2013   JRC    Review and analyze MBIA's second submission on         L120     0.40 hrs
                    third-party releases in order to draft response.

03/24/2013   JRC    Review and analyze the UCC's submission on             L120     0.40 hrs
                    third-party releases in order to draft response.

03/24/2013   JRC    Review and analyze newly produced documents in         L120     5.20 hrs
                    Discovery Partner in order to locate examiner
                    preparation materials for Mr. Scholtz.
03/24/2013   JRC    Draft outline for supplemental materials located for   L120     1.80 hrs
                    Mr. Scholtz's examiner interview preparation.

03/25/2013   AMP    E-mails with Mr. Phillips regarding quality control    L320     0.40 hrs
                    of subservicing privilege logs.

03/25/2013   AMP    Review and respond to e-mail from Ms. Levitt           L120     0.40 hrs
                    (Morrison & Foerster) regarding Mr. McKenzie.

03/25/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster)         L320     0.30 hrs
                    regarding status of production of Deloitte privilege
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                    logs.
03/25/2013   AMP    Review multiple e-mails from Examiner's counsel             L320     0.80 hrs
                    challenging privilege assertion on certain
                    documents on subservicing privilege logs.
03/25/2013   AMP    Review documents for privilege assertion on                 L320     1.40 hrs
                    certain documents on subservicing privilege logs.

03/25/2013   AMP    Prepare draft responses to Examiner's counsel's             L320     0.70 hrs
                    e-mails.

03/25/2013   JAL    Review Mr. Blackburn's documents (2.20)                     L120     6.00 hrs
                    Conference with Mr. Day (Morrison & Foerster)
                    regarding Mr. Blackburn's preparation (.40).
                    Participate in meeting with Mr. Day and Mr.
                    Blackburn to prepare for examiner interview
                    (3.40).
03/25/2013   MNB    Revise response to MBIA and AIG submission                  L250     1.30 hrs
                    reply briefs.

03/25/2013   VLS    E-mail exchange with Ms. Marty regarding audit              L320     0.20 hrs
                    materials.

03/25/2013   VLS    E-mail exchange with Ms. Wong at Profile                    L320     0.20 hrs
                    Discovery regarding audit materials.

03/25/2013   VLS    E-mail exchange with Ms. Paul Whitfield                     L320     0.20 hrs
                    regarding the sub-servicing privilege logs.

03/25/2013   RBS    Upload Scholtz interview preparation materials to    A103   L310     0.60 hrs
                    Sharepoint for Mr. Corcoran.

03/25/2013   JALB   Correspondence with Mr. Day, Mr. Illovsky (both             L120     0.60 hrs
                    Morrison & Foerster) and Ms. Krueger (assistant to
                    Ms. Steinhagen) regarding logistics for Steinhagen
                    Examiner preparation and interview.
03/25/2013   JALB   Follow-up regarding scheduling of other witnesses           L330     0.20 hrs
                    (Mr. Rock, Mr. Weintraub).

03/25/2013   JALB   E-mails with Mr. Day and Mr. Illovsky (both                 L120     0.30 hrs
                    Morrison & Foerster) and Mr. Lipps regarding
                    open questions regarding GMAS Audit employees.
03/25/2013   JALB   Follow-up with Mr. Smith (Residential Capital )             L120     0.20 hrs
                    regarding GMAS Audit employees.

03/25/2013   JALB   Follow-up e-mails with Ms. Hamzehpour                       L120     0.20 hrs
                    (Residential Capital) and Ms. Tice (Morrison &
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                    Foerster) regarding documents to be produced at
                    Examiner request.
03/25/2013   JALB   Discussion with Mr. Corcoran and Mr. Illovsky       L120     0.20 hrs
                    (Morrison & Foerster) regarding Mr. Scholtz's
                    materials.
03/25/2013   MMM    Review documents to find hot documents              L120     0.60 hrs
                    regarding hedging.

03/25/2013   JRC    Prepare examiner interview memoranda for review     L120     0.20 hrs
                    by Mr. Lipps.

03/25/2013   JRC    Prepare examiner interview materials for Mr.        L120     0.40 hrs
                    Scholtz.

03/25/2013   JRC    Review and analyze UCC submission paper to the      L120     1.30 hrs
                    examiner on ResCap's claims against Ally in order
                    to prepare examiner witnesses.
03/25/2013   SP     Review documents listed on withheld and redacted    L120     3.30 hrs
                    privilege logs for subservicing related documents
                    and revise such logs accordingly.
03/25/2013   SP     Review produced and withheld documents against      L120     0.80 hrs
                    issues raised by examiner.

03/25/2013   GNM    Working in Discovery Partner database to locate     L320     0.30 hrs
                    documents in response to new requests from the
                    Examiner.
03/25/2013   GNM    Creating index for Audit Materials previously       L320     2.60 hrs
                    produced to Examiner.

03/25/2013   GNM    E-mail communications with Ms. Sholl regarding      L120     0.20 hrs
                    productions on the FTP site.

03/25/2013   GNM    E-mail communications with Mr. Phillips             L120     0.10 hrs
                    regarding configuration of Subservicing database.

03/25/2013   GNM    E-mail communications with Mr. Shipler (DTI)        L120     0.20 hrs
                    regarding configuration of Subservicing database.

03/25/2013   GNM    Reading through and analyzing e-mails sent by Ms.   L320     2.60 hrs
                    Hamzehpour to be put into production.

03/25/2013   GNM    E-mail communications with Ms. Battle regarding     L120     0.20 hrs
                    Seller Files.

03/26/2013   AMP    Attention to addressing recent Examiner requests    L320     1.70 hrs
                    regarding privilege challenges.
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03/26/2013   AMP    Multiple e-mails addressing recent Examiner                  L320     0.80 hrs
                    requests regarding privilege challenges.

03/26/2013   AMP    E-mails with Morrison & Foerster team regarding              L320     0.40 hrs
                    Deloitte privilege logs.

03/26/2013   AMP    Attention to subservicing privilege logs                     L320     1.10 hrs
                    supplementation.

03/26/2013   JAL    Prepare for Mr. Blackburn's interview. (.50)                 L120     5.00 hrs
                    Conference with Mr. Blackburn and Mr. Day
                    (Morrison & Foerster) regarding same. (.30)
                    Participate in Mr. Blackburn's interview. (3.00)
                    Review Mr. Scholtz documents. (1.20)
03/26/2013   RBS    Download Scholtz and Blackburn materials to           A103   L310     0.40 hrs
                    U-Drive for Mr. Beck.

03/26/2013   JALB   Review and revise "to do" list of research and               L120     0.50 hrs
                    fact-based memorandum topics for responding to
                    examiner investigation.
03/26/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding "to            L120     0.30 hrs
                    do" list of research and fact-based memorandum
                    topics for responding to examiner investigation.
03/26/2013   JALB   Attention to open document production, privilege             L320     0.90 hrs
                    log & clawback issues (including various e-mails
                    with Ms. Levitt, Mr. Day, Mr. Illovsky (all
                    Morrison & Foerster), Ms. Marty and Ms.
                    Paul-Whitfield regarding same.
03/26/2013   JALB   Prepare for meeting with Mr. Scholtz (former                 L120     2.60 hrs
                    Residential Capital) regarding Examiner interview.

03/26/2013   JALB   Internal team meeting with Mr. Beck, Mr.                     L120     0.50 hrs
                    Corcoran and Ms. Mohler regarding outstanding
                    analysis projects for examiner and preparations for
                    remaining interviews. (.30) Conference with Mr.
                    Beck regarding repsonse to MBIA submission.
                    (.30)
03/26/2013   MMM    Review documents for hot documents regarding                 L120     2.60 hrs
                    hedging.

03/26/2013   MMM    Meeting with Ms. Battle, Mr. Beck, and Mr.                   L120     0.50 hrs
                    Corcoran regarding status update on all ResCap
                    projects and preparations for remaining interviews.
                    (.40) Follow-up on same. (.10)
03/26/2013   MMM    Review documents for Olson's Examiner                        L120     0.70 hrs
                    interview.
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03/26/2013   DAB    Conference with Ms. Battle regarding response to      L120     0.20 hrs
                    UCC and SUN submissions to examiner.

03/26/2013   DAB    Communicate with Mr. Corcoran regarding               L120     0.10 hrs
                    materials being received from examiner in advance
                    of interviews.
03/26/2013   DAB    Meeting with Ms. Battle, Ms. Mohler, Ms. Marty,       L120     0.30 hrs
                    Mr. Corcoran and Mr. Samson regarding upcoming
                    work projects on examiner and preparations for
                    remaining interviews.
03/26/2013   JRC    Review and analyze interview materials for Mr.        L120     0.30 hrs
                    Scholtz provided by the examiner.

03/26/2013   JRC    Conference with Ms. Mohler regarding                  L120     0.20 hrs
                    memorandum on key examiner issues.

03/26/2013   JRC    Review and analyze publicly available documents       L120     0.90 hrs
                    and documents in Discovery Partner related to Mr.
                    Dammen in order to determine his relevance to the
                    examiner investigation.
03/26/2013   JRC    Review and analyze documents in Discovery             L120     0.70 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Weintraub.
03/26/2013   JRC    Conference with Ms. Battle, Ms. Mohler, Mr.           L120     0.40 hrs
                    Phillips, Mr. Beck, and Mr. Rhode regarding
                    examiner interview strategy.
03/26/2013   JDR    Conference with Ms. Battle, Mr. Beck, Ms.             L120     0.40 hrs
                    Mohler, Mr. Corcoran and Mr. Phillips regarding
                    outstanding interview prep projects and witness
                    defense strategy. (.30) Draft notes regarding same.
                    (.10)
03/26/2013   SP     Review and revise withheld privilege log for          L120     3.40 hrs
                    subservicing related documents.

03/26/2013   SP     Review produced and withheld documents against        L120     2.40 hrs
                    issues raised by examiner and provide explanation
                    and proposed responses to Ms. Paul Whitfield.
03/26/2013   SP     Prepare for and participate in meeting with Ms.       L120     0.40 hrs
                    Battle, Mr. Beck, and others regarding open issues
                    on examiner investigation and preparations for
                    remainging interviews.
03/26/2013   GNM    Working in Discovery Partner database to index        L320     0.30 hrs
                    audit committee materials.

03/26/2013   GNM    Working in Subservicing database gathering            L320     1.80 hrs
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                    documents at the request of Ms. Whitfield.

03/26/2013   GNM    Telephone communications with Mr. Shipler (DTI)     L120     0.20 hrs
                    regarding status of production pipeline.

03/26/2013   GNM    Gathering documents used as exhibits in Examiner    L320     1.90 hrs
                    witness interviews.

03/26/2013   GNM    Searching FTP productions for corrupt metadata.     L320     4.10 hrs


03/26/2013   GNM    Strategy meeting with Mr. Beck and Ms. Battle.      L120     0.40 hrs


03/26/2013   GNM    Meeting with Mr. Samson regarding Audit             L120     0.10 hrs
                    Committee material binders.

03/27/2013   AMP    Finalize draft responses to Examiner's counsel      L320     1.20 hrs
                    multiple recent requests regarding privilege
                    challenges.
03/27/2013   AMP    Draft e-mail to Morrison & Foerster team            L320     0.30 hrs
                    regarding privilege challenges.

03/27/2013   AMP    Attention to issues regarding role of Sullivan &    L120     0.40 hrs
                    Cromwell and privilege challenges.

03/27/2013   AMP    Telephone call to Kirkland & Ellis regarding        L120     0.30 hrs
                    privilege issues.

03/27/2013   AMP    Attention to subservicing privilege logs            L320     0.70 hrs
                    supplementation.

03/27/2013   AMP    E-mails with Mr. Phillips regarding subservicing    L320     0.30 hrs
                    privilege logs supplementation.

03/27/2013   AMP    E-mails with Mr. Harris (Morrison & Foerster)       L320     0.40 hrs
                    regarding privilege determinations.

03/27/2013   AMP    Review supplemental examiner requests and draft     L320     0.80 hrs
                    responses privilege issues. (.30) Conference with
                    Mr. Phillips regarding privilege issues. (.50)
03/27/2013   JAL    Reviewing potential Scholtz exhibits. (.50)         L120     4.00 hrs
                    Conference with Ms. Battle, Mr. Day and Ms.
                    Nakamura (Morrison & Foerster) to discuss Mr.
                    Scholtz's preparation. (1.50) Participation in
                    Scholtz preparation. (2.00)
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03/27/2013   RBS    Prepare Zip files of documents for Department of     A103   L310     0.40 hrs
                    Justice personnel for Mr. Beck.

03/27/2013   JALB   Prepare for meeting with Mr. Scholtz (former                L330     2.90 hrs
                    Residential Capital) regarding Examiner interview.

03/27/2013   JALB   Meet with Mr. Lipps, Mr. Day (Morrison &                    L120     1.50 hrs
                    Foerster) and Ms. Nakamura (Morrison &
                    Foerster) regarding Examiner interview.
03/27/2013   JALB   Follow-up e-mails with Mr. Corcoran and Ms.                 L120     0.20 hrs
                    Mohler regarding sources of information regarding
                    Mr. Scholtz.
03/27/2013   JALB   Meet with Mr. Scholtz, Mr. Day, Ms. Nakamura                L330     2.00 hrs
                    (Morrison & Foerster) to prepare Mr. Scholtz for
                    examiner interview.
03/27/2013   MMM    Review documents and draft outline for Olson's              L120     1.80 hrs
                    Examiner interview.

03/27/2013   DAB    Communicate with Ms. Paul-Whitfield regarding               L120     0.10 hrs
                    examiner question on Sullivan & Cromwell role on
                    privilege logs.
03/27/2013   DAB    Review and comment on draft response to new                 L120     0.50 hrs
                    MBIA submission to examiner.

03/27/2013   DAB    E-mail Ms. Battle, Mr. Rhode and Mr. Corcoran               L120     0.20 hrs
                    regarding additional materials needed for response
                    to MBIA submission to examiner.
03/27/2013   DAB    Revise response to UCC and senior unsecured                 L120     2.20 hrs
                    notes submissions to examiner.

03/27/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding                   L120     0.20 hrs
                    response to UCC and senior unsecured notes
                    submissions to examiner.
03/27/2013   JRC    E-mail exchange with Ms. Battle regarding                   L120     0.10 hrs
                    deposition preparation for Mr. Scholtz.

03/27/2013   JRC    Review and analyze deposition transcripts from              L120     2.40 hrs
                    MBIA v. RFC in order to locate testimony for
                    reply submission on third-party releases.
03/27/2013   JDR    Review and analyze reply brief of MBIA in                   L320     0.60 hrs
                    preparation for rebuttal discovery research.

03/27/2013   SP     Review produced and withheld documents relating             L120     1.40 hrs
                    to the relationship between Sullivan & Cromwell
                    and Ally Financial and Residential Capital.
03/27/2013   SP     Review documents and analyze open issues to                 L120     3.60 hrs
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                    respond to questions raised by examiner and
                    co-counsel relating to privilege assertions.
03/27/2013   SP     Communicate with Ms. Paul Whitfield regarding         L120     0.50 hrs
                    open issues regarding privilege determinations.

03/27/2013   SP     Update withheld privilege log for subservicing        L120     1.90 hrs
                    related documents following various discussions
                    relating to relationship of various parties to Ally
                    Financial and Residential Capital.
03/27/2013   SP     Update withheld privilege log for subservicing        L120     1.40 hrs
                    related documents following various discussions
                    relating to relationship of various parties to Ally
                    Financial and Residential Capital.
03/27/2013   GNM    Working in Subservicing database gathering            L320     0.70 hrs
                    documents at the request of Ms. Paul Whitfield.

03/27/2013   GNM    Meeting with Ms. Paul Whitfield regarding e-mail      L120     0.10 hrs
                    from Mr. Schwinger (Chadbourne).

03/27/2013   GNM    Working in Discovery Partner database to locate       L320     0.50 hrs
                    documents in response to new requests from the
                    Examiner.
03/27/2013   GNM    Searching Hard drive productions for corrupt          L320     3.80 hrs
                    metadata.

03/27/2013   GNM    Reviewing subservicing production for privilege       L320     0.40 hrs
                    concerns in response to e-mail from Mr. Schwinger
                    (Chadbourne).
03/27/2013   GNM    Going through exhibits from Examiner witness          L320     1.10 hrs
                    interviews to determine missing exhibits.

03/28/2013   AMP    E-mails with Ms. Battle regarding next                L320     0.20 hrs
                    assignments for privilege team.

03/28/2013   AMP    Attention to subservicing privilege log issues.       L320     0.60 hrs


03/28/2013   AMP    Attention to supplementation of second round of       L320     0.40 hrs
                    redacted logs for Phase I and II.

03/28/2013   AMP    E-mails with Ms. Marty and Mr. Phillips regarding     L320     0.30 hrs
                    supplementation of second round of redacted logs
                    for Phase I and II.
03/28/2013   JAL    Prepare for Mr. Scholtz's interview. Conference       L120     6.30 hrs
                    with Ms. Battle, Mr. Day (Morrison & Foerster)
                    and Mr. Scholtz to prepare. (.60) Participate in
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                    interview of Mr. Scholtz. (4.00) Draft summary of
                    interview in transit. Review and revise response to
                    UCC supplemental submission. (.60) E-mails with
                    Mr. Beck regarding revisions to UCC supplemental
                    submission. (.40) Review and respond to e-mails
                    regarding UCC supplemental submission. (.30)
                    Review and respond to e-mails regarding examiner
                    schedule and coverage. (.10)
03/28/2013   JALB   Meet with Mr. Lipps, Mr. Day (Morrison &              L120     0.60 hrs
                    Foerster) and Ms. Nakamura (Morrison &
                    Foerster) regarding Mr. Scholtz's interview.
03/28/2013   JALB   Review Ms. Steinhagen materials in preparation        L330     2.80 hrs
                    for meeting with her.

03/28/2013   JALB   Discuss Ms. Steinhagen's preparation with Mr. Day     L120     0.70 hrs
                    (Morrison & Foerster) and Ms. Nakamura
                    (Morrison & Foerster).
03/28/2013   JALB   Follow-up discussion with Ms. Mohler and Mr.          L120     0.30 hrs
                    Corcoran regarding targeted searches for Ms.
                    Steinhagen's communications.
03/28/2013   JALB   Outreach efforts to Mr. Olson (former Residential     L120     0.10 hrs
                    Capital).

03/28/2013   JALB   Outreach efforts to Mr. Dammen (former                L120     0.10 hrs
                    Residential Capital).

03/28/2013   JALB   Correspondence with Mr. Brown (Kirkland &             L120     0.10 hrs
                    Ellis) regarding representation of Mr. McKenzie
                    (Ally/former Residential Capital).
03/28/2013   JALB   Correspondence with Mr. Beck and Mr. Lipps            L120     0.30 hrs
                    regarding next steps in Examiner interview.

03/28/2013   JALB   Attend and participate in Mr. Scholtz's interview.    L330     4.00 hrs


03/28/2013   MMM    Draft outline for Steinhagen's Examiner interview.    L120     0.70 hrs


03/28/2013   DAB    Conference with Mr. Rhode regarding analysis on       L120     0.10 hrs
                    additional citations for response to MBIA
                    submission to examiner.
03/28/2013   DAB    E-mail Mr. Beekhuizen and Ms. Battle regarding        L120     0.10 hrs
                    additional citations needed for response to MBIA
                    submission to examiner.
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03/28/2013   DAB    Draft summary of examiner interview of Ms. Gray.      L330     5.70 hrs


03/28/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.40 hrs
                    comments on Morrison & Foerster draft response
                    to new examiner submissions by Senior Unsecured
                    Notes and Creditors' Committee.
03/28/2013   JRC    Review and analyze deposition testimony from          L120     0.40 hrs
                    MBIA v. RFC in order to locate testimony for
                    reply submission to examiner on third-party
                    releases.
03/28/2013   JRC    Review and analyze documents in Discovery             L120     1.10 hrs
                    Partner in order to locate interview preparation
                    materials for Ms. Steinhagen.
03/28/2013   JDR    Review cited deposition transcripts in MBIA reply     L330     1.20 hrs
                    to assist in preparation of rebuttal.

03/28/2013   JDR    Research depositions and discovery to assist in       L330     1.80 hrs
                    preparation of rebuttal to MBIA reply brief.

03/28/2013   JDR    Draft correspondence to Mr. Beck regarding            L120     0.10 hrs
                    rebuttal to MBIA reply brief.

03/28/2013   JDR    Prepare deposition excerpts and research to assist    L330     0.70 hrs
                    in rebuttal to MBIA reply brief.

03/28/2013   SP     Review documents from supplemental privilege          L120     4.30 hrs
                    logs for privilege determinations and to confirm
                    entity affiliations of senders and recipients.
03/28/2013   SP     Review board materials and minutes and financial      L120     2.90 hrs
                    records to document board acknowledgement and
                    response to fiduciary duties in zone of insolvency.
03/28/2013   GNM    Telephone communications with Ms. Shank               L120     0.10 hrs
                    (Residential Capital) regarding outstanding
                    requests from the Examiner.
03/28/2013   GNM    E-mail communications with Ms. Shank regarding        L120     0.10 hrs
                    outstanding requests from the Examiner.

03/28/2013   GNM    E-mail communications with Mr. Salerno                L120     0.20 hrs
                    (Morrison & Foerster) regarding outstanding
                    requests from the Examiner.
03/29/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster)        L120     0.20 hrs
                    regarding letter to Kramer Levin on common
                    interest privilege.
03/29/2013   AMP    E-mails with Kirkland & Ellis regarding common        L120     0.30 hrs
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                    interest assertions.

03/29/2013   JAL    Review summary of Ms. Gray's interview. Review         L120     0.50 hrs
                    requests from examiner to cite additional MBIA
                    transcripts. Conference with Ms. Battle regarding
                    additional MBIA transcripts.
03/29/2013   JALB   Prepare for Ms. Steinhagen's examiner interview        L330     1.20 hrs
                    meeting.

03/29/2013   JALB   Prepare Ms. Steinhagen for examiner interview.         L330     2.70 hrs


03/29/2013   MMM    Review documents and draft outline for                 L120     2.40 hrs
                    Steinhagen's Examiner interview.

03/29/2013   DAB    Draft interview summary memorandum for Ms.             L330     2.10 hrs
                    Gray.

03/29/2013   JRC    Summarize deposition excerpts selected for             L120     2.80 hrs
                    inclusion in the examiner's report in order to draft
                    analysis.
03/29/2013   JRC    Review and analyze documents in Discovery              L120     1.20 hrs
                    Partner in order to locate interview preparation
                    materials for Ms. Steinhagen.
03/29/2013   JRC    Draft e-mail to Ms. Battle summarizing interview       L120     0.10 hrs
                    preparation materials located for Ms. Steinhagen.

03/30/2013   JAL    Review MBIA deposition cites that examiner             L120     3.00 hrs
                    intends to use (1.80). Review and respond to
                    e-mails regarding same (.20). Draft response
                    e-mail regarding same (.30). Review summaries of
                    examiner interviews to prepare for telephone
                    conference with Kirkland & Ellis on examiner
                    interviews (.70).
03/30/2013   JRC    Review and analyze deposition excerpts selected        L120     0.60 hrs
                    for inclusion in the examiner's report in order to
                    draft analysis.
03/30/2013   JRC    Draft e-mail providing analysis on deposition          L120     0.10 hrs
                    excerpts identified by the examiner.

03/31/2013   JAL    Review and redraft UCC/SUN submission                  L120     3.00 hrs
                    response (1.0). Review and redraft MBIA
                    submission response (1.0). Review and redraft AIG
                    submission response (1.0).


                    TOTAL FEES FOR THIS MATTER                                    $309,718.50
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EXPENSES

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Airfare                 $1,415.90
                    (coach) - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Hotel (PA) -             $206.21
                    travel to New York, Connecticut and Philadelphia, PA for
                    examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Baggage -                     $60.00
                    travel to New York, Connecticut and Philadelphia, PA for
                    examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Parking @                     $95.00
                    Port Columbus - travel to New York, Connecticut and
                    Philadelphia, PA for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Mileage                        $6.78
                    to/from Port Columbus (12 miles X .565) - travel to New York,
                    Connecticut and Philadelphia, PA for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Hotel (NY) 3            $1,365.34
                    nights @ $455.11 per night- travel to New York, Connecticut and
                    Philadelphia, PA for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Lunch                         $14.25
                    2/25/13 - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Dinner                        $60.00
                    2/25/13 (JAL, JALB, DAB) - travel to New York, Connecticut
                    and Philadelphia, PA for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Dinner                        $20.00
                    2/27/13 - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Taxi to Train                 $44.00
                    Station - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Breakfast                      $4.00
                    2/28/13 - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Lunch                         $38.25
                    2/28/13 (JAL, Mr. Day) - travel to New York, Connecticut and
                    Philadelphia, PA for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Dinner 3/1/13                 $60.00
                    (JAL, Mr. Day, Ms. Nakamura) - travel to New York,
                    Connecticut and Philadelphia, PA for examiner investigations
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03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Taxi to                        $36.00
                    Airport - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Breakfast                      $18.45
                    3/2/13 - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Breakfast                       $3.75
                    2/26/13 - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Lunch                          $18.53
                    2/26/13 - travel to New York, Connecticut and Philadelphia, PA
                    for examiner investigations

03/02/2013          (TRIP-JAL-2/25/13 to 3/2/13) Out-of-Town Travel/Dinner 3/2/13                  $20.00
                    - travel to New York, Connecticut and Philadelphia, PA for
                    examiner investigations

03/05/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $92.77

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Breakfast 3/4/13 -                       $4.81
                    travel to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Taxi from Airport to                    $35.00
                    Hotel - travel to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Lunch 3/4/13 (JAL,                      $32.65
                    Mr. Day, Ms. Nakamura and Mr. Blitzer) - travel to Philadelphia,
                    PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Dinner 3/4/13 - travel                  $20.00
                    to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Breakfast 3/5/13-                       $10.72
                    travel to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Lunch 3/5/13 (JAL,                      $26.13
                    Mr. Day, Ms. Nakamura and Mr. Blitzer) - travel to Philadelphia,
                    PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Dinner 3/6/13 - travel                  $20.00
                    to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Taxi from Hotel to                      $35.00
                    Airport- travel to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Airfare (coach)- travel            $827.90
                    to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Hotel - travel to                  $275.33
                    Philadelphia, PA for examiner investigation
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03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Baggage - travel to                $120.00
                    Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Parking @ Port                          $34.00
                    Columbus - travel to Philadelphia, PA for examiner investigation

03/05/2013          (TRIP-JAL-3/4-5/13) Out-of-Town Travel/Mileage to/from Port                     $6.78
                    Columbus (12 miles X .565) - travel to Philadelphia, PA for
                    examiner investigation

03/06/2013          Delivery Service/Messengers - Federal Express to Mr. Largio                    $14.41
                    from Ms. Sholl

03/07/2013          Delivery Service/Messengers - Federal Express to Ms. Tice from                 $16.27
                    Ms. Sholl

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Airfare (coach) -                 $1,239.80
                    travel to New York to attend interviews with Cerberus witnesses,
                    meet with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Parking @ Port                          $29.70
                    Columbus - travel to New York to attend interviews with
                    Cerberus witnesses, meet with Ms. Levitt regarding examiner
                    issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Breakfast 3/4/13 -                      $10.51
                    travel to New York to attend interviews with Cerberus witnesses,
                    meet with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Lunch 3/4/13 - travel                    $4.24
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Dinner 3/3/13 - travel                  $12.07
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Dinner 3/4/13 - travel                   $6.85
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Breakfast 3/5/13 -                       $9.83
                    travel to New York to attend interviews with Cerberus witnesses,
                    meet with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Lunch 3/5/13 - travel                   $12.79
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Dinner 3/5/13 - travel                  $20.00
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues
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03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Breakfast 3/6/13 -                       $9.53
                    travel to New York to attend interviews with Cerberus witnesses,
                    meet with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Lunch 3/6/13 - travel                   $15.45
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Dinner 3/6/13 - travel                  $20.00
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Breakfast 3/7/13 -                      $11.45
                    travel to New York to attend interviews with Cerberus witnesses,
                    meet with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Lunch 3/7/13 - travel                    $5.98
                    to New York to attend interviews with Cerberus witnesses, meet
                    with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Taxi from airport to                    $45.80
                    hotel - travel to New York to attend interviews with Cerberus
                    witnesses, meet with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Taxi from hotel to                      $43.03
                    airport- travel to New York to attend interviews with Cerberus
                    witnesses, meet with Ms. Levitt regarding examiner issues

03/07/2013          (TRIP-DAB-3/3-7/13) Out-of-Town Travel/Hotel 4 nights @                  $1,726.08
                    $431.52 per night- travel to New York to attend interviews with
                    Cerberus witnesses, meet with Ms. Levitt regarding examiner
                    issues

03/11/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $74.25

03/11/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $74.25

03/11/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $63.18

03/15/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $88.20

03/15/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $81.59

03/15/2013          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $77.77

03/15/2013          (TRIP-JALB-3/14-15/13) Out-of-Town Travel/Airfare (coach) -              $1,229.80
                    travel to New York for interview of Mr. Applegate

03/15/2013          (TRIP-JALB-3/14-15/13) Out-of-Town Travel/Hotel - travel to               $667.91
                    New York for interview of Mr. Applegate

03/15/2013          (TRIP-JALB-3/14-15/13) Out-of-Town Travel/Breakfast 3/14/13                    $13.82
                    - travel to New York for interview of Mr. Applegate
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03/15/2013          (TRIP-JALB-3/14-15/13) Out-of-Town Travel/Lunch 3/14/13 -                    $20.00
                    travel to New York for interview of Mr. Applegate

03/15/2013          (TRIP-JALB-3/14-15/13) Out-of-Town Travel/Taxi from Airport                  $54.78
                    to Hotel- travel to New York for interview of Mr. Applegate

03/15/2013          (TRIP-JALB-3/14-15/13) Out-of-Town Travel/Taxi from Hotel                    $38.62
                    to Airport - travel to New York for interview of Mr. Applegate

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Airfare (coach) -             $1,260.40
                    travel to DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Breakfast 3/11/13 -                  $4.26
                    travel to DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Taxi from airport to                $25.00
                    meeting - travel to DC and New York City for examiner
                    investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Dinner 3/12/13                      $80.00
                    (JAL, Mr. Day, Mr. Lowenberg and Mr. Illovsky) - travel to DC
                    and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Dinner 3/13/13 -                    $20.00
                    travel to DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Breakfast 3/14/13-                   $4.30
                    travel to DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Lunch 3/14/13 -                     $13.83
                    travel to DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Dinner 3/14/13 -                    $20.00
                    travel to DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Breakfast 3/15/13 -                  $4.30
                    travel to DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Taxi from hotel to                  $52.08
                    airport - travel to DC and New York City for examiner
                    investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Bellman carrying                    $10.00
                    multiple boxes - travel to DC and New York City for examiner
                    investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Baggage - travel to                 $60.00
                    DC and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Train to back to               $249.00
                    New York - travel to DC and New York City for examiner
                    investigation
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03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Hotel - travel to DC           $799.22
                    and New York City for examiner investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Parking @ Port                      $85.00
                    Columbus - travel to DC and New York City for examiner
                    investigation

03/15/2013          (TRIP-JAL-3/11-15/13) Out-of-Town Travel/Mileage to/from                      $6.72
                    Port Columbus (12 miles X .565) - travel to DC and New York
                    City for examiner investigation

03/24/2013          Litigation Support Vendors - Lumen Legal (services for 3/11/13         $1,955.48
                    to 3/24/13)

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Airfare (coach) -              $892.90
                    travel to Memphis, TN for examiners interviews

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Hotel - travel to              $213.35
                    Memphis, TN for examiners interviews

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Parking @ Port                      $34.00
                    Columbus - travel to Memphis, TN for examiners interviews

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Mileage (13 miles                    $7.35
                    X .565) to/from Port Columbus - travel to Memphis, TN for
                    examiners interviews

03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Airfare (coach) -              $446.45
                    travel to Minneapolis, MN for examiner interview

03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Hotel - travel to              $154.21
                    Minneapolis, MN for examiner interview

03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Train - travel to                    $1.75
                    Minneapolis, MN for examiner interview

03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Parking @ Port                      $30.66
                    Columbus - travel to Minneapolis, MN for examiner interview

03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Mileage (13 miles                    $7.35
                    X .565) to/from Port Columbus - travel to Minneapolis, MN for
                    examiner interview

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Breakfast 3/25/13 -                  $4.81
                    travel to Memphis, TN for examiners interviews

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Taxi from Airport                   $40.00
                    to Hotel - travel to Memphis, TN for examiners interviews

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Dinner 3/25/13 -                    $20.00
                    travel to Memphis, TN for examiners interviews

03/26/2013          (TRIP-JAL-3/25-26/13) Out-of-Town Travel/Breakfast 3/26/13-                  $10.00
                    travel to Memphis, TN for examiners interviews
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03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Breakfast 3/27/13 -                     $2.00
                    travel to Minneapolis, MN for examiner interview

03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Taxi from hotel to                     $45.00
                    airport - travel to Minneapolis, MN for examiner interview

03/26/2013          (TRIP-JAL-3/27-28/13) Out-of-Town Travel/Lunch 3/28/13 -                        $15.50
                    travel to Minneapolis, MN for examiner interview

03/27/2013          Delivery Service/Messengers - Federal Express to Mr. Small                      $34.72
                    from Mr. Beck

03/28/2013          Delivery Service/Messengers - Federal Express to Mr. O'Connor,                   $4.80
                    Lumen Legal

03/28/2013          Delivery Service/Messengers - Federal Express to Mr. Bryer                      $16.82
                    from Ms. Marty

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Airfare (coach) -               $1,279.80
                    travel to MN for examiner interview of Mr. Scholtz and
                    preparation of Ms. Steinhagen

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Hotel - travel to                $451.34
                    MN for examiner interview of Mr. Scholtz and preparation of Ms.
                    Steinhagen

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Parking @ Port                        $46.00
                    Columbus - travel to MN for examiner interview of Mr. Scholtz
                    and preparation of Ms. Steinhagen

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Breakfast 3/27/13                      $5.00
                    - travel to MN for examiner interview of Mr. Scholtz and
                    preparation of Ms. Steinhagen

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Dinner 3/27/13 -                      $20.00
                    travel to MN for examiner interview of Mr. Scholtz and
                    preparation of Ms. Steinhagen

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Breakfast 3/28/13                      $5.47
                    - travel to MN for examiner interview of Mr. Scholtz and
                    prepareation of Ms. Steinhagen

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Taxi from Airport                     $55.09
                    to Hotel - travel to MN for examiner interview of Mr. Scholtz and
                    preparation of Ms. Steinhagen

03/29/2013          (TRIP-JALB-3/27-29/13) Out-of-Town Travel/Taxi from Hotel                       $40.45
                    to Airport- travel to MN for examiner interview of Mr. Scholtz
                    and preparation of Ms. Steinhagen

03/31/2013          Litigation Support Vendors - Robert Half International (services          $1,458.11
                    for 3/01/13 to 3/08/13 / 43.92 hours X $ 31.10 = $ 1,365.91 + tax
                    $ 92.20 = $ 1,458.11)
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                      TOTAL EXPENSES FOR THIS MATTER                               $20,758.03


BILLING SUMMARY


       Winkler, A. Benjamin                  12.10 hrs   220.00 /hr    $2,662.00


       George, Amanda E.                     54.00 hrs   160.00 /hr    $8,640.00


       Paul, Angela M.                      204.30 hrs   275.00 /hr   $56,182.50


       Beck, David A.                        57.70 hrs   280.00 /hr   $16,156.00


       Barthel, David J.                     39.40 hrs   210.00 /hr    $8,274.00


       Marty, Gretchen N.                   147.70 hrs   175.00 /hr   $25,847.50


       Buchanan, Heather L.                  73.90 hrs   240.00 /hr   $17,736.00


       Lipps, Jeffrey A.                    127.10 hrs   400.00 /hr   $50,840.00


       Battle, Jennifer A.L.                 68.60 hrs   300.00 /hr   $20,580.00


       Rhode, Jacob D.                       24.90 hrs   160.00 /hr    $3,984.00


       Sechler, Joel E.                      10.50 hrs   220.00 /hr    $2,310.00


       Corcoran, Jeffrey R.                 115.40 hrs   180.00 /hr   $20,772.00


       Boyle, Michael J.                     31.00 hrs   180.00 /hr    $5,580.00


       Mohler, Mallory M.                    57.00 hrs   160.00 /hr    $9,120.00


       Beekhuizen, Michael N.                28.50 hrs   280.00 /hr    $7,980.00
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      Samson, Robert B.                      4.00 hrs   100.00 /hr        $400.00


      Moeller, Steven C.                    38.10 hrs   225.00 /hr     $8,572.50


      Phillips, Segev                      164.10 hrs   220.00 /hr    $36,102.00


      Sholl, Veronica L.                    79.80 hrs   100.00 /hr     $7,980.00



   TOTAL FEES                             1338.10 hrs                $309,718.50

   TOTAL EXPENSES                                                     $20,758.03

   TOTAL CHARGES FOR THIS INVOICE                                    $330,476.53
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         APRIL
       INVOICES
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                                  Monthly Invoices Pg 623 of 701
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                               May 23, 2013

                                                                      Billed through 04/30/2013
Tammy Hamzephour                                                      Invoice # 54215      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01172
190-FTW-L95
Fort Washington, PA 19034

Re: William J. Barrett, et al.
Matter No.: 724024

PROFESSIONAL SERVICES

04/08/2013     DAW         Conference with Ms. Cadieux regarding case                 L120        0.30 hrs
                           status, and settlement.

04/08/2013     KMC         E-mail correspondence regarding status of case.            L110        0.10 hrs




                           TOTAL FEES FOR THIS MATTER                                              $110.00


BILLING SUMMARY


           Wallace, David A.                             0.30 hrs    300.00 /hr          $90.00


           Cadieux, Karen M.                             0.10 hrs    200.00 /hr          $20.00



      TOTAL FEES                                         0.40 hrs                      $110.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $110.00
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                              Monthly Invoices Pg 624 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                             May 23, 2013

                                                                   Billed through 04/30/2013
Tammy Hamzephour                                                   Invoice # 54216      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00053
190-FTW-L95
Fort Washington, PA 19034

Re: Administrative


PROFESSIONAL SERVICES

04/03/2013   DAB       Draft letter to chambers regarding additional               L120        0.40 hrs
                       material in support of second interim fee
                       application.
04/04/2013   DAB       File supplemental materials in support of fee               L120        0.20 hrs
                       application.

04/05/2013   DAB       Draft statement regarding resolution of United              L120        0.30 hrs
                       States Trustee fee objection.

04/11/2013   DAB       Prepare for fee hearing.                                    L230        0.30 hrs


04/11/2013   DAB       Attend fee hearing.                                         L230        1.30 hrs


04/23/2013   DAB       E-mail Ms. Richards (Morrison & Foerster)                   L120        0.10 hrs
                       regarding status of fee order.



                       TOTAL FEES FOR THIS MATTER                                               $728.00

EXPENSES

04/03/2013             Delivery Service/Messengers - Federal Express to US                        $35.03
                       Bankruptcy Court, New York from Mr. Beck
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04/23/2013            Delivery Service/Messengers - Federal Express to Mr. Lee from                 $34.37
                      Mr. Beck

04/23/2013            Delivery Service/Messengers - Federal Express to Mr. Eckstein                 $34.37
                      from Mr. Beck

04/23/2013            Delivery Service/Messengers - Federal Express to Mr. Ziman                    $34.37
                      from Mr. Beck

04/23/2013            Delivery Service/Messengers - Federal Express to Ms. Davis                    $34.37
                      from Mr. Beck

04/23/2013            Delivery Service/Messengers - Federal Express to Mr. Cieri from               $34.37
                      Mr. Beck

                      TOTAL EXPENSES FOR THIS MATTER                                            $206.88


BILLING SUMMARY


         Beck, David A.                             2.60 hrs   280.00 /hr             $728.00



     TOTAL FEES                                     2.60 hrs                       $728.00

     TOTAL EXPENSES                                                                $206.88

     TOTAL CHARGES FOR THIS INVOICE                                                $934.88
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                                Monthly Invoices Pg 626 of 701
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                             May 23, 2013

                                                                    Billed through 04/30/2013
Tammy Hamzephour                                                    Invoice # 54217      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

04/01/2013   JALB       Participate in weekly client update call regarding          L120        0.30 hrs
                        status of DOJ investigation and document
                        production (Mr. Thompson, Mr. Underhill, Mr.
                        Smith from Residential Capital, and Mr. Hoffman
                        from Morrison & Foerster).
04/02/2013   JALB       Telephone conference with Mr. Hoffman                       L120        0.30 hrs
                        (Morrison & Foerster) and Mr. Underhill
                        (Residential Capital) regarding migration of SEC
                        database to Night Owl.
04/04/2013   JALB       Telephone conference with Mr. Hoffman                       L120        0.50 hrs
                        (Morrison & Foerster) and Mr. Underhill
                        (Residential Capital) regarding status of SEC
                        database and productions.
04/11/2013   JALB       Telephone conference with Mr. Underhill                     L120        0.40 hrs
                        (Residential Capital) and Mr. Hoffman (Morrison
                        & Foerster) regarding production of data in
                        response to subpoena.
04/13/2013   GNM        Reading and analyzing DOJ subpoena to determine             L320        1.90 hrs
                        overlap with previous document requests.

04/15/2013   AMP        Draft e-mail to Ms. Battle regarding privilege logs         L320        0.10 hrs
                        for SEC productions.

04/15/2013   AMP        Review response from Ms. Battle's e-mail                    L320        0.10 hrs
                        regarding privilege logs for SEC productions.
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43          Exhibit E
  932 00054                    Monthly Invoices Pg 627 of 701
                                                           Invoice # 54217              Page 2

04/15/2013   VLS        Research of Seller Files in discovery partner           L320        4.40 hrs
                        database and preparation of spreadsheet of
                        materials gathered for the SEC.
04/15/2013   JALB       Client team call regarding FIRREA subpoena and          L120        0.50 hrs
                        scope of production.

04/16/2013   VLS        Continued research of Seller Files in discovery         L320        3.80 hrs
                        partner database and preparation of spreadsheet of
                        materials gathered for the SEC.
04/17/2013   VLS        Preparation of spreadsheet of select Seller Files       L320        1.60 hrs
                        produced to the SEC at the request of Mr. Hoffman
                        at Morrison and Foerster.
04/29/2013   JALB       Weekly client call with Mr. Thompson, Mr.               L120        0.50 hrs
                        Underhill, Ms. Zellmann, Mr. Hoffman (Morrison
                        & Foerster) regarding production status on SEC
                        subpoena.


                        TOTAL FEES FOR THIS MATTER                                          $2,117.50


BILLING SUMMARY


         Paul, Angela M.                               0.20 hrs    275.00 /hr      $55.00


         Marty, Gretchen N.                            1.90 hrs    175.00 /hr     $332.50


         Battle, Jennifer A.L.                         2.50 hrs    300.00 /hr     $750.00


         Sholl, Veronica L.                            9.80 hrs    100.00 /hr     $980.00



     TOTAL FEES                                       14.40 hrs                 $2,117.50

     TOTAL CHARGES FOR THIS INVOICE                                             $2,117.50
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 628 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                            May 23, 2013

                                                                  Billed through 04/30/2013
Tammy Hamzephour                                                  Invoice # 54218      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00057
190-FTW-L95
Fort Washington, PA 19034

Re: RMBS Trust Settlement
Matter No.: 721750

PROFESSIONAL SERVICES

04/02/2013   JALB      Respond to questions from Ms. Levitt (Morrison &           L120        0.30 hrs
                       Foerster) regarding Duff & Phelps loan file review.

04/04/2013   JALB      Assist in follow-up responses to questions from            L120        0.20 hrs
                       Ms. Castro (Morrison & Foerster) regarding
                       supporting documents for Lipps testimony.
04/04/2013   DAB       Conference with Mr. Lipps regarding RMBS                   L120        0.10 hrs
                       settlement discussions with monolines.

04/04/2013   DAB       E-mails with Ms. Battle regarding questions of Ms.         L120        0.20 hrs
                       Castro of Morrison & Foerster about exhibits on
                       reply brief.
04/04/2013   DAB       Research regarding questions of Ms. Castro                 L120        0.40 hrs
                       (Morrison & Foerster) about exhibits on reply
                       brief.
04/11/2013   JAL       Review report on hearing on motion to preclude             L250        0.30 hrs
                       (.10). Conferences with Ms. Battle regarding same
                       (.20).
04/11/2013   DAB       Draft summary of hearing on motion to preclude.            L230        0.60 hrs
                       (.40) Communicate with Mr. Lipps regarding
                       same. (.20)
04/11/2013   DAB       Attend hearing on motion to preclude.                      L230        1.50 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  932 00057                 Monthly Invoices Pg 629 of 701
                                                        Invoice # 54218           Page 2
04/11/2013   DAB    Analyze MBIA v. Countrywide expert reports.            L120     2.40 hrs


04/12/2013   DAB    Analyze ruling of Judge Glenn on motion to             L120     0.40 hrs
                    preclude.

04/27/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)             L120     0.40 hrs
                    regarding prior declarations of Mr. Lipps.

04/29/2013   JALB   Discussion with Mr. Beck regarding open items on       L120     0.20 hrs
                    Lipps testimony and analysis on objection experts.

04/29/2013   JALB   Review draft direct testimony for Mr. Lipps and        L120     0.20 hrs
                    email Mr. Beck regarding open items.

04/29/2013   DAB    Communicate with Ms. Battle regarding analysis         L120     0.20 hrs
                    on objectors' expert witnesses and draft Lipps
                    testimony.
04/29/2013   DAB    Review and comment on draft Lipps declaration in       L210     1.20 hrs
                    support of RMBS settlement.

04/29/2013   DAB    E-mails with Mr. Lawrence (Morrison & Forester)        L120     0.20 hrs
                    regarding Lipps testimony in support of RMBS
                    settlement.
04/29/2013   JDR    Compile diligence on expert Brown and Rossi to         L420     0.40 hrs
                    assist in Daubert motions.

04/29/2013   JDR    Draft correspondence to Ms. Battle regarding           L420     0.10 hrs
                    expert Brown and Rossi diligence.

04/30/2013   DAB    Conference with Mr. Rhode regarding additional         L120     0.40 hrs
                    inserts needed for Lipps testimony draft.

04/30/2013   JDR    Review and analyze recent Court decisions              L210     3.50 hrs
                    regarding breach of representation and warranty
                    actions for purposes of revising direct testimony of
                    Mr. Lipps.
04/30/2013   JDR    Revise direct trial testimony of Mr. Lipps to          L120     2.10 hrs
                    incorporate recent Court decisions and analysis.

04/30/2013   JDR    Revise direct trial testimony of Mr. Lipps footnotes   L120     1.90 hrs
                    and legal citations.



                    TOTAL FEES FOR THIS MATTER                                      $3,910.00
     12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
 932 00057                   Monthly Invoices Pg 630 of 701
                                                         Invoice # 54218         Page 3
BILLING SUMMARY


       Beck, David A.                         8.00 hrs   280.00 /hr    $2,240.00


       Lipps, Jeffrey A.                      0.30 hrs   400.00 /hr        $120.00


       Battle, Jennifer A.L.                  0.90 hrs   300.00 /hr        $270.00


       Rhode, Jacob D.                        8.00 hrs   160.00 /hr    $1,280.00



    TOTAL FEES                               17.20 hrs                $3,910.00

    TOTAL CHARGES FOR THIS INVOICE                                    $3,910.00
       12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43           Exhibit E
                                Monthly Invoices Pg 631 of 701
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                              May 23, 2013

                                                                   Billed through 04/30/2013
Tammy Hamzephour                                                   Invoice # 54219      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

04/01/2013    MNB       Draft response to audit letter.                            L120        0.70 hrs


04/01/2013    DAB       Communicate with Mr. Beekhuizen and Mr. Lipps              L120        0.20 hrs
                        regarding Residential Capital audit letter.

04/02/2013    MNB       Draft response to audit letter.                            L120        2.50 hrs


04/03/2013    MNB       Revise response to audit letter.                           L120        0.30 hrs


04/04/2013    MNB       Finalize response to audit letter.                         L120        0.20 hrs


04/05/2013    JAL       Review Mr. Lasater's (FTI) valuation analysis              L120        0.80 hrs
                        (.50). Review and respond to e-mails regarding
                        same and additional data points to determine same
                        (.20). Conference with Ms. Battle regarding same
                        (.10).
04/05/2013    JALB      Review and comment on Lasater damages analysis.            L120        0.30 hrs


04/06/2013    DAB       E-mail Ms. Battle regarding prior research on Ally         L120        0.20 hrs
                        Securities deals where it acted as an underwriter.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00058                 Monthly Invoices Pg 632 of 701
                                                        Invoice # 54219          Page 2

04/07/2013   JAL    Review and finalize memo on information               L120     0.30 hrs
                    essential to analyzing value of securities claims.

04/08/2013   JAL    Review and respond to e-mails regarding statute of    L120     0.30 hrs
                    limitation issues (.20). Conference with Mr.
                    Beekhuizen regarding same (.10).
04/10/2013   JALB   Correspondence with Mr. Haims, Mr. Rothberg           L120     0.20 hrs
                    (both Morrison & Foerster) and Mr. Beck
                    regarding insurance policy inquiry related to
                    securities claims.
04/11/2013   MNB    Assist with updating description of RMBS cases in     L120     2.00 hrs
                    financial statements.

04/11/2013   RBS    Prepare Insurance and Policies documents to send      L310     0.80 hrs
                    to Mr. Haims for Mr. Beck.

04/12/2013   JALB   E-mails with Mr. Beekhuizen and Mr. Lipps             L120     0.20 hrs
                    regarding updates to disclosures on RMBS cases.

04/13/2013   JAL    Review and redraft report on pre-petition suits and   L120     0.80 hrs
                    status of follow-on claims (.40). Review e-mails
                    regarding same (.20). Telephone conferences with
                    Mr. Beekhuizen and Mr. Beck regarding same
                    (.20).
04/13/2013   MNB    Review and provide comments to audit response         L120     0.50 hrs
                    insert regarding PLS claims.

04/13/2013   DAB    Draft inserts for Morrison & Foerster audit letter    L120     0.40 hrs
                    regarding status of PLS claims.

04/13/2013   DAB    E-mails with Mr. Lipps, Ms. Battle and Mr.            L120     0.20 hrs
                    Beekhuizen regarding audit letter inserts.

04/15/2013   DAB    E-mail Mr. Beekhuizen regarding requests from         L120     0.10 hrs
                    Ms. Levitt of Morrision & Foerster for information
                    on claims of major securities plaintiffs.
04/15/2013   DAB    Research regarding holdings of major securities       L120     1.60 hrs
                    plaintiffs.

04/16/2013   JAL    Review and respond to e-mails regarding aggregate     L120     0.80 hrs
                    securities' holdings (.20). Review e-mails
                    regarding statute of limitation issues and tolling
                    agreements (.30). Conference with Mr. Beck
                    regarding same (.30).
04/16/2013   MNB    Attention to providing information to Ms. Zellman     L120     0.30 hrs
                    (Residential Capital) regarding status of Western &
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
  932 00058                 Monthly Invoices Pg 633 of 701
                                                        Invoice # 54219                Page 3
                    Southern lawsuit against debtors.
04/16/2013   MNB    Attention to providing information to Ms. Levitt            L120     0.60 hrs
                    (Morrison & Foerster) regarding New York statute
                    of limitations and its application to AIG claims.
                    (.40) Conference with Mr. Beck regarding same.
                    (.20)
04/16/2013   RBS    Analyze AIG claims for Mr. Beck and prepare          A103   L310     5.20 hrs
                    report of same. (5.00) Conference with Mr. Beck
                    regarding same. (.20)
04/16/2013   DAB    Multiple conferences with Mr. Samson regarding              L120     0.20 hrs
                    analysis needed on AIG holdings of securities.

04/16/2013   DAB    Conference with Mr. Barthel regarding information           L120     0.10 hrs
                    needed on New Jersey Carpenters claims.

04/16/2013   DAB    Multiple conferences with Mr. Beekhuizen                    L120     0.20 hrs
                    regarding questions of Ms. Levitt of Morrison and
                    Foerster regarding securities holdings.
04/16/2013   DAB    E-mail Ms. Levitt (Morrison & Foerster) regarding           L120     0.20 hrs
                    holdings of security claimants.

04/16/2013   DAB    Analyze claims of AIG for possible defenses.                L120     4.20 hrs


04/16/2013   DAB    Research regarding holdings of various security             L120     1.70 hrs
                    claimants. (1.40) Conference with Mr. Lipps
                    regarding same. (.30)
04/17/2013   JAL    Review and respond to e-mails regarding statute of          L120     0.50 hrs
                    limitation issues and tolling issues (.40).
                    Conference with Mr. Beck regarding same (.10).
04/17/2013   DAB    E-mail Ms. Levitt (Morrison & Foerster) and Mr.             L120     0.10 hrs
                    Lipps regarding AIG claims.

04/17/2013   DAB    Analyze materials concerning Bank of America                L120     1.50 hrs
                    settlement of securities claims.

04/17/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding Bank of           L120     0.30 hrs
                    America settlement of securities claims.

04/18/2013   MNB    Review and revise general description of New                L120     0.40 hrs
                    Jersey Carpenters, Union Central and Mass Mutual
                    cases for disclosure statement.
04/18/2013   JALB   Telephone conference with Ms. Zellmann                      L120     0.50 hrs
                    (Residential Capital) regarding analysis of
                    securities claimants' holdings.
04/18/2013   JALB   Discussion with Mr. Beck regarding analysis and             L120     0.30 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43        Exhibit E
  932 00058                 Monthly Invoices Pg 634 of 701
                                                        Invoice # 54219            Page 4
                    valuation of plaintiffs' claims.

04/18/2013   JALB   Review and revise Mr. Beck's draft response to          L120     0.40 hrs
                    Ms. Levitt's (Morrison & Foerster's) questions
                    regarding damages analysis.
04/18/2013   DAB    Communicate with Ms. Battle regarding valuation         L120     0.20 hrs
                    of securities claims.

04/18/2013   DAB    Communicate with Mr. Rothberg (Morrison &               L120     0.20 hrs
                    Foerster) regarding materials needed on status of
                    third party litigation related to securities claims
                    against Debtors.
04/18/2013   DAB    Research third party litigation related to securities   L120     0.60 hrs
                    claims.

04/18/2013   DAB    Draft e-mail message for Mr. Lipps to send Ms.          L120     0.60 hrs
                    Levitt (Morrison & Foerster) regarding valuation
                    of securities claims.
04/19/2013   JAL    Review motion of New Jersey Carpenters for class        L120     1.50 hrs
                    certification (1.20). E-mails with Mr. Beekhuizen
                    and Mr. Beck regarding same (.30).
04/19/2013   MNB    Review and comment on New Jersey Carpenters'            L120     0.60 hrs
                    motion for class certification of bankruptcy claims.
                    (.50) E-mails with Mr. Lipps and Mr. Beck
                    regarding same. (.10)
04/19/2013   DAB    Analyze New Jersey Carpenters motion for class          L120     0.40 hrs
                    status.

04/19/2013   DAB    Research regarding New Jersey Carpenters motion         L120     0.60 hrs
                    or class status.

04/19/2013   DAB    E-mail Mr. Lipps and Mr. Beekhuizen regarding           L120     0.20 hrs
                    New Jersey motion for class status.

04/22/2013   MNB    Analyze statute of limitations issues relating to       L120     4.30 hrs
                    claims of New Jersey Carpenters, Mass Mutual,
                    AIG, Prudential and Allstate.
04/23/2013   MNB    Draft memo to Ms. Levitt (Morrison & Foerster)          L120     3.50 hrs
                    regarding statute of limitations issues for certain
                    large creditors.
04/23/2013   DAB    Call with Ms. Moen (Frederickson Byron)                 L120     0.10 hrs
                    regarding status of Allstate case.

04/23/2013   DAB    E-mail Mr. Rothberg (Morrison & Foerster)               L120     0.10 hrs
                    regarding status of Allstate case.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43         Exhibit E
  932 00058                 Monthly Invoices Pg 635 of 701
                                                        Invoice # 54219             Page 5
04/24/2013   MNB    Draft memo to Ms. Levitt regarding statute of            L120     2.40 hrs
                    limitations issues for certain large creditors.

04/24/2013   MNB    Research choice-of-law issues regarding statute of       L120     1.30 hrs
                    limitations for creditor claims.

04/24/2013   DAB    Conference with Ms. Battle regarding New Jersey          L120     0.10 hrs
                    Carpenters motion on class certification.

04/24/2013   DAB    Draft analysis for Ms. Battle and Mr. Beekhuizen         L120     0.90 hrs
                    of potential arguments against New Jersey
                    Carpenters class certification request.
04/25/2013   JAL    Review e-mails regarding conference call to              L120     1.50 hrs
                    discuss value of New Jersey Carpenters' claim
                    (.20). Prepare for conference call (.10).
                    Participate on conference call (.50). Review and
                    respond to e-mails regarding New Jersey
                    Carpenters' claims (.10). Review e-mails regarding
                    status of mediation on specific claims (.10).
                    Review and revise memo regarding statute of
                    limitation issues applicable to PLS claims (.20).
                    Conference with Mr. Beekhuizen (.20). Review
                    and respond to e-mails regarding same (.10).
04/25/2013   JAL    Review correspondence from New Jersey                    L120     1.00 hrs
                    Carpenters regarding their claim in bankruptcy
                    (.20). Review and respond to e-mails regarding
                    same (.20). Telephone conference with Mr.
                    Beekhuizen regarding same (.20). Review
                    write-up for New Jersey Carpenters' claim in
                    mediation (.20). Review and redraft e-mails
                    regarding same (.20).
04/25/2013   MNB    Draft memo to Ms. Levitt regarding statute of            L120     6.60 hrs
                    limitations issues for certain large creditors. (6.00)
                    Conference with Mr. Beck regarding same. (.40)
                    Conference with Mr. Lipps regarding same. (.20)
04/25/2013   MNB    Prepare list of background information for               L120     1.60 hrs
                    potential use in analysis of NJ Carpenters' alleged
                    damages. (1.40) Conference with Mr. Lipps
                    regarding same. (.20)
04/25/2013   DAB    Conference with Mr. Beekhuizen regarding statute         L120     0.40 hrs
                    of limitations issues on securities claims.

04/25/2013   DAB    Review and comment on memorandum on statute              L120     0.30 hrs
                    of limitation issues on securities claims.

04/25/2013   DAB    Analyze previous research on securities statute of       L120     0.40 hrs
                    limitation issues.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
  932 00058                 Monthly Invoices Pg 636 of 701
                                                        Invoice # 54219          Page 6

04/26/2013   MNB    Review and provide comments to NJ Carpenters'         L120     0.80 hrs
                    letter regarding potential settlement.

04/26/2013   MNB    Review and provide comments to proposed memo          L120     0.70 hrs
                    regarding RMBS damages.

04/26/2013   JALB   E-mails with Mr. Beck and Mr. Lipps regarding NJ      L120     0.20 hrs
                    Carpenters class certification and damages issues.

04/26/2013   JALB   Revise and comment on damages memorandum for          L120     0.30 hrs
                    Kramer.

04/26/2013   DAB    Research regarding questions on New Jersey            L120     0.30 hrs
                    Carpenters claims of Mr. Beha (Morrison &
                    Foerster).
04/26/2013   DAB    Conference with Mr. Beha (Morrison & Foerster)        L120     0.10 hrs
                    regarding New Jersey Carpenters claims.

04/26/2013   DAB    Revise sections of Morrison & Foerster disclosure     L120     2.10 hrs
                    statement regarding securities liabilities.

04/27/2013   JAL    Review and revise disclosure statement. (.70)         L120     0.80 hrs
                    Review e-mails regarding same. (.10)

04/27/2013   MNB    Review and provide comments to proposed               L120     2.90 hrs
                    disclosure statement.

04/27/2013   JALB   Review draft of disclosure statement for accuracy     L120     0.30 hrs
                    of description of PLS claims.

04/29/2013   JAL    Review e-mails regarding open issues in disclosure    L120     0.30 hrs
                    document.

04/29/2013   DAB    Draft analysis on securities claims issues relating   L120     2.00 hrs
                    to mediation.

04/29/2013   DAB    Conference with Ms. Barrage (Morrison &               L120     0.30 hrs
                    Foerster) regarding issues on plan mediation with
                    monolines and securities claims.
04/30/2013   JAL    Review e-mails regarding disclosure statement and     L120     0.30 hrs
                    updating same.

04/30/2013   DAB    Communicate with Mr. Barthel regarding analysis       L120     0.20 hrs
                    needed on New Jersey Carpenters claims.
      12-12020-mg      Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43               Exhibit E
  932 00058                    Monthly Invoices Pg 637 of 701
                                                           Invoice # 54219                    Page 7
                        TOTAL FEES FOR THIS MATTER                                             $19,950.00

EXPENSES

04/30/2013              Litigation Support Vendors - Bailey & Wyant (services through             $189.00
                        June 30, 2012)

04/30/2013              Litigation Support Vendors - Bailey & Wyant (services through                $33.00
                        January 31, 2013)

                        TOTAL EXPENSES FOR THIS MATTER                                            $222.00


BILLING SUMMARY


         Beck, David A.                             21.30 hrs    280.00 /hr        $5,964.00


         Lipps, Jeffrey A.                           8.90 hrs    400.00 /hr        $3,560.00


         Battle, Jennifer A.L.                       2.70 hrs    300.00 /hr             $810.00


         Beekhuizen, Michael N.                     32.20 hrs    280.00 /hr        $9,016.00


         Samson, Robert B.                           6.00 hrs    100.00 /hr             $600.00



     TOTAL FEES                                     71.10 hrs                    $19,950.00

     TOTAL EXPENSES                                                                 $222.00

     TOTAL CHARGES FOR THIS INVOICE                                              $20,172.00
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43            Exhibit E
                              Monthly Invoices Pg 638 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                            May 23, 2013

                                                                  Billed through 04/30/2013
Tammy Hamzephour                                                  Invoice # 54220      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

04/01/2013   JAL       Review correspondence with MBIA's counsel                  L120        0.50 hrs
                       regarding open discovery issues (.10). Review and
                       revise written responses to FGIC discovery
                       requests (.40).
04/01/2013   JALB      Telephone conference with Mr. Ruckdaschel and              L120        0.50 hrs
                       Ms. Zellmann (both Residential Capital) regarding
                       completion of collection of FGIC-related
                       data/documents.
04/01/2013   JALB      E-mails with Mr. Beck and Mr. Lawrence                     L120        0.40 hrs
                       (Morrison & Foerster) regarding draft objections
                       and responses to document requests.
04/01/2013   JALB      E-mails with Vision manager regarding collateral           L120        0.30 hrs
                       tapes.

04/01/2013   DAB       E-mails with Mr. Lawrence (Morrison & Foerster)            L120        0.20 hrs
                       regarding FGIC repurchase process and discovery
                       strategy on same.
04/01/2013   DAB       E-mails with Ms. Battle regarding objections and           L120        0.10 hrs
                       responses to FGIC discovery.

04/01/2013   DAB       Research regarding FGIC repurchase process.                L120        0.40 hrs


04/01/2013   DAB       Analyze materials concerning FGIC balloon loan             L120        0.30 hrs
                       claims.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  932 00059                 Monthly Invoices Pg 639 of 701
                                                        Invoice # 54220           Page 2


04/01/2013   DAB    Conference with Ms. Battle regarding FGIC              L120     0.20 hrs
                    balloon loan claims.

04/01/2013   DAB    Call with Mr. Ruckdaschel, Ms. Zellman                 L120     0.50 hrs
                    (Residential Capital) and Ms. Battle regarding
                    collection of materials relevant to FGIC claims.
04/01/2013   DAB    Conference with Ms. Battle regarding follow-up on      L120     0.10 hrs
                    client call on collection of materials relevant to
                    FGIC claims.
04/01/2013   DAB    Research regarding underwriting consultants used       L120     1.70 hrs
                    in other cases.

04/01/2013   DAB    Review note from Mr. Lawrence (Morrison &              L120     0.20 hrs
                    Foerster) regarding pleadings of interest in FGIC v.
                    Countrywide case.
04/01/2013   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.10 hrs
                    regarding draft note to MBIA on discovery.

04/01/2013   GNM    E-mail communications with Mr. Breyer                  L120     0.10 hrs
                    (NightOwl) regarding new data load.

04/02/2013   JAL    Review and respond to e-mails regarding MBIA           L120     1.80 hrs
                    discovery deficiencies (.20). Conference with Mr.
                    Beck regarding same (.20). Review and redraft
                    memorandum regarding re-underwriting expert
                    options (.30). Conference with Ms. Battle
                    regarding same (.10). Review and respond to
                    e-mails regarding responses to e-mails regarding
                    responses to FGIC discovery requests (.20).
                    Review First Department's decision in
                    Countrywide appeal (.50). Communicate with Mr.
                    Beck regarding same (.20). Review and respond to
                    e-mails regarding same (.10).
04/02/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding          L120     0.40 hrs
                    review and comment on litigation strategy, MBIA
                    v. Countrywide decision and meet and confer
                    e-mails.
04/02/2013   JALB   Review revisions and comments by Mr. Lawrence          L120     0.40 hrs
                    (Morrison & Foerster) to draft objections to FGIC
                    discovery.
04/02/2013   JALB   Prepare file memorandum regarding                      L120     0.80 hrs
                    reunderwriting experts. (.60) Communicate with
                    Mr. Beck regarding same. (.20)
04/02/2013   JALB   Telephone conference with Mr. Underhill                L120     0.50 hrs
                    (Residential Capital), Mr. Lawrence (Morrison &
                    Foerster) and Mr. Bergelson (Morrison & Foerster)
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                    and Mr. Phillips regarding logistics for document
                    review database setup and e-discovery process.
04/02/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)             L120     0.10 hrs
                    regarding draft reply to MBIA's discovery letter.

04/02/2013   DAB    Research regarding reunderwriting consultants          L120     1.70 hrs
                    used in other cases.

04/02/2013   DAB    Communicate with Ms. Battle regarding                  L120     0.20 hrs
                    reunderwriting consultants used in other cases.

04/02/2013   DAB    Analyze MBIA documents disclosed in MBIA v.            L120     0.80 hrs
                    Countrywide summary judgment briefing.

04/02/2013   DAB    Conference with Mr. Dunne (Orrick) regarding           L120     0.20 hrs
                    prepetition research on FGIC balloon loan claims.

04/02/2013   DAB    E-mails with Mr. Dunne (Orrick) regarding FGIC         L120     0.20 hrs
                    balloon loan claims.

04/02/2013   DAB    Analyze 1st Department ruling on MBIA v.               L120     0.30 hrs
                    Countrywide partial summary judgment appeal.

04/02/2013   DAB    Communicate with Mr. Lipps, Mr. Beekhuizen and         L120     0.20 hrs
                    Ms. Battle regarding 1st department ruling on
                    MBIA v. Countrywide partial summary judgment
                    appeal.
04/02/2013   DAB    Communicate with Mr. Alexander (Morrison &             L120     0.10 hrs
                    Foerster) regarding additional transaction
                    documents needed.
04/02/2013   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.10 hrs
                    regarding draft note to FGIC on additional
                    discovery.
04/02/2013   SP     Prepare for (.40) and participate in phone call with   L310     0.90 hrs
                    Mr. Underhill (Residential Capital), Mr. Lawrence,
                    Mr. Bergleson (Morrison & Foerster) and Ms.
                    Battle to discuss preparation for document requests
                    from monoline insurers. (.50)
04/03/2013   JAL    Review and respond to e-mails regarding open           L120     2.00 hrs
                    discovery issues with FGIC (.20). Conference with
                    Mr. Beck regarding same (.10). Review and
                    redraft adversary complaint against FGIC (1.4).
                    Conference with Mr. Beck regarding revisions to
                    same (.20). Review and respond to e-mails
                    regarding same (.10).
04/03/2013   DAB    Conference with Mr. Lipps regarding next steps in      L120     0.20 hrs
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                    discovery disputes with MBIA and FGIC.

04/03/2013   DAB    Review e-mails from Mr. Lawrence (Morrison &           L120     0.20 hrs
                    Foerster) regarding next steps in discovery disputes
                    with MBIA and FGIC.
04/03/2013   DAB    E-mail Mr. Lawrence (Morrison & Foerster)              L120     0.10 hrs
                    regarding draft reply to latest letter from FGIC.

04/03/2013   DAB    Conference with Mr. Lipps regarding 1st                L120     0.10 hrs
                    Department opinion in MBIA v. Countrywide.

04/03/2013   DAB    Draft analysis of 1st Department opinion in MBIA       L120     1.30 hrs
                    v. Countrywide.

04/04/2013   JAL    Review and redraft adversary complaint against         L120     1.50 hrs
                    MBIA (1.0). Conferences with Ms. Battle
                    regarding monoline discovery (.20). Review
                    e-mails regarding same (.10). Further review of
                    First Department decision on necessary damages
                    (.10). Conference with Mr. Beck regarding same
                    (.10).
04/04/2013   JALB   Discuss FGIC document request objections with          L120     1.50 hrs
                    Mr. Lawrence (Morrison & Foerster).

04/04/2013   JALB   Outline items on monoline discovery for                L120     0.30 hrs
                    discussion with Mr. Lipps.

04/04/2013   JALB   Met with Mr. Lipps regarding open items on             L120     0.20 hrs
                    monoline discovery.

04/04/2013   DAB    Revise complaint and claim objection against           L210     1.30 hrs
                    MBIA.

04/04/2013   DAB    Conference with Mr. Lipps regarding comments on        L120     0.10 hrs
                    revised objection against MBIA.

04/04/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)             L120     0.20 hrs
                    regarding comments on complaint against MBIA.

04/04/2013   DAB    Draft list of discovery priorities for MBIA.           L320     0.40 hrs


04/04/2013   DAB    Conference with Ms. Barrage (Morrison &                L120     0.40 hrs
                    Foerster) regarding likely discovery issues related
                    to FGIC cure claims.
04/04/2013   JRC    Review and analyze representations and                 L120     1.30 hrs
                    warranties given to monolines in order to respond
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                    to monoline proof of claims.
04/04/2013   JRC    Draft chart analyzing the representations and        L210     1.10 hrs
                    warranties given to monolines.

04/04/2013   JRC    Conference with Mr. Beck regarding chart             L120     0.10 hrs
                    analyzing representations and warranties made to
                    monolines.
04/05/2013   JAL    Communicate with Mr. Beck regarding open             L120     0.50 hrs
                    discovery issues with FGIC (.20). Review and
                    redraft meet and confer agenda (.20).
                    Communicate with Mr. Beck regarding priority
                    documents list for MBIA (.10).
04/05/2013   JALB   Follow-up discussion with Ms. Zellman, Mr.           L120     0.50 hrs
                    Smith, Mr. Laubach, Mr. Underhill (all Residential
                    Capital) and Mr. Beck regarding collection of
                    repurchase-related data and documents for FGIC
                    claims.
04/05/2013   DAB    Conference with Mr. Corcoran regarding research      L120     0.20 hrs
                    needed on potential custodians on FGIC
                    repurchase process.
04/05/2013   DAB    Conference with Mr. Lipps regarding list of          L120     0.10 hrs
                    priority discovery documents for MBIA.

04/05/2013   DAB    Draft list of priority discovery documents for       L320     0.80 hrs
                    MBIA.

04/05/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)           L120     0.20 hrs
                    regarding priority discovery items for MBIA
                    dispute.
04/05/2013   DAB    Call with Ms. Zellman, Mr. Laubauch (Residential     L120     0.40 hrs
                    Capital) and Ms. Battle regarding sources of
                    discovery concerning RFC and GMAC repurchase
                    processes with FGIC.
04/05/2013   DAB    Call with Mr. Lawrence and Mr. Baehr (Morrison       L120     0.40 hrs
                    & Foerster) regarding strategy for meet and confer
                    call with FGIC.
04/05/2013   DAB    Participate in meet and confer call with Mr.         L120     0.40 hrs
                    Bennett, Mr. Sidman, Mr. Green (Jones Day), Mr.
                    Lawrence and Mr. Baehr (Morrison & Foerster)
                    regarding Residential Capital discovery request to
                    FGIC.
04/05/2013   DAB    Follow-up call with Mr. Lawrence and Mr. Baehr       L120     0.10 hrs
                    (Morrison & Foerster) regarding next steps with
                    FGIC discovery.
04/05/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding FGIC       L120     0.20 hrs
                    meet and confer and next steps in offensive
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                    discovery against FGIC.
04/05/2013   JRC    Review and analyze representations and               L320     1.30 hrs
                    warranties given to monolines in order to respond
                    to monoline proof of claims.
04/05/2013   JRC    Draft chart analyzing the representations and        L120     0.80 hrs
                    warranties given to monolines.

04/05/2013   JRC    Conference with Mr. Beck regarding custodians for    L120     0.10 hrs
                    discovery related to FGIC's proof of claims.

04/05/2013   JRC    Review internal documentation in order to            L320     0.40 hrs
                    determine custodians for discovery related to
                    FGIC's proof of claims.
04/05/2013   JRC    Teleconference with Mr. Shipler (DTI) regarding      L120     0.10 hrs
                    data in Relativity related to MBIA v. GMACM.

04/06/2013   DAB    E-mail Mr. Lipps regarding Mr. Lawrence              L120     0.20 hrs
                    (Morrison & Foerster) e-mail on status of
                    discovery disputes with MBIA.
04/06/2013   DAB    Review and comment on draft letter to court on       L320     0.80 hrs
                    MBIA discovery status.

04/06/2013   DAB    E-mail Mr. Lipps regarding comments on draft         L120     0.30 hrs
                    letter to court on MBIA discovery status.

04/06/2013   DAB    Research documents relating to RFC and GMACM         L320     1.20 hrs
                    referenced in production in other cases.

04/07/2013   JAL    Review e-mails regarding discovery disputes with     L120     0.80 hrs
                    MBIA (.20). Review and redraft discovery dispute
                    letter to Judge Glenn (.40). E-mail Mr. Beck
                    regarding same (.20).
04/08/2013   JAL    Review and redraft letter to Judge Glenn regarding   L120     1.50 hrs
                    MBIA discovery deficiencies (.70). Conferences
                    with Ms. Battle regarding same (.30). Review and
                    respond to e-mails regarding Judge Glenn letter
                    (.30). Review and respond to e-mails regarding
                    FGIC discovery deficiencies (.20).
04/08/2013   JALB   Revise and redraft motion to compel MBIA to          L210     2.50 hrs
                    produce documents.

04/08/2013   JALB   Discussion with Mr. Lipps regarding revisions and    L120     0.50 hrs
                    redraft of motion to compel MBIA to produce
                    documents. (.40) Conference with Mr. Beck
                    regarding same. (.10)
04/08/2013   DAB    Conference with Ms. Battle regarding revisions to    L120     0.10 hrs
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                    letter to court on MBIA failure to produce
                    documents.
04/08/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)           L120     0.50 hrs
                    regarding presence in MBIA production of certain
                    documents mentioned in other monoline cases.
04/08/2013   DAB    Research regarding presence of documents             L120     1.00 hrs
                    referenced in MBIA v. Countrywide case in
                    productions in RFC and GMACM.
04/08/2013   DAB    Conference with Mr. Lipps regarding revisions to     L120     0.10 hrs
                    letter to court on MBIA failure to produce
                    documents.
04/08/2013   DAB    Revise draft letter of Mr. Alexander (Morrison &     L120     0.70 hrs
                    Foerster) to court on MBIA failure to produce
                    documents.
04/08/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)           L120     0.10 hrs
                    regarding revisions to letter to court.

04/09/2013   JAL    Review and finalize draft of letter to Judge Glenn   L120     0.80 hrs
                    on MBIA discovery deficiencies (.20). Conference
                    with Mr. Beck regarding same (.10). Review and
                    respond to e-mails (.10). Review and respond to
                    e-mails regarding FGIC discovery deficiencies
                    (.20). Communicate with Mr. Beck and Ms. Battle
                    regarding damages analysis (.20).
04/09/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding        L120     0.20 hrs
                    expert damages analysis.

04/09/2013   DAB    Review revised letter to court on MBIA discovery.    L120     0.30 hrs


04/09/2013   DAB    Analyze unsealed discovery materials in MBIA v.      L320     1.90 hrs
                    Countrywide for materials relevant to MBIA
                    claims.
04/09/2013   DAB    Call with Mr. Newton (Morrison & Foerster)           L120     0.10 hrs
                    regarding analysis needed on FGIC damages.

04/09/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding analysis   L120     0.20 hrs
                    needed on FGIC damages.

04/10/2013   JAL    Review and respond to e-mails regarding FGIC         L120     0.80 hrs
                    discovery deficiencies (.10). Conference with Mr.
                    Beck regarding same (.10). Review e-mails
                    regarding resolution of FGIC claim (.10).
                    Conference with Mr. Beck regarding strategy on
                    MBIA and FGIC claims (.10). Review and
                    analyze Judge Ramos' monoline claim decision
                    (.20). Review e-mails regarding same (.10).
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04/10/2013   VLS    Research Seller files in discovery partner database   L320     4.00 hrs
                    and preparation of Spreadsheet of materials
                    produced to the UCC.
04/10/2013   JALB   Review and respond to correspondence from Mr.         L120     0.40 hrs
                    Beck regarding proposed communication to FGIC.

04/10/2013   JALB   Begin revisions to objection to FGIC document         L210     0.20 hrs
                    requests.

04/10/2013   JALB   Follow-up with client on transaction documents for    L120     0.20 hrs
                    wrapped deals not involved in prepetition
                    document production.
04/10/2013   DAB    E-mail Mr. Haims (Morrison & Foerster) and Ms.        L120     0.10 hrs
                    Battle regarding copies of monoline documents for
                    insurance coverage counsel.
04/10/2013   DAB    E-mail Mr. Philips regarding monoline documents       L120     0.20 hrs
                    needed by coverage counsel.

04/10/2013   DAB    Research decision in Assured v. EMC on                L120     1.00 hrs
                    repurchase remedy and associated briefing.

04/10/2013   DAB    Draft analysis on Assured v. EMC decision.            L120     1.10 hrs


04/10/2013   DAB    Analyze expert reports in Countrywide case.           L120     2.90 hrs


04/10/2013   DAB    Conference with Mr. Newton (Morrison &                L120     0.20 hrs
                    Foerster) regarding analysis needed on
                    Countrywide claims.
04/10/2013   DAB    Comment on revised confidentiality and                L120     0.80 hrs
                    production agreements with FGIC.

04/10/2013   DAB    E-mail Ms. Battle regarding issues on                 L120     0.20 hrs
                    confidentiality and production agreements with
                    FGIC.
04/10/2013   DAB    Analyze Syncora opinion on repurchase remedy.         L120     0.20 hrs


04/10/2013   DAB    Conference with Mr. Alexander (Morrison &             L120     0.80 hrs
                    Foerster) regarding next steps with FGIC and
                    MBIA.
04/10/2013   DAB    E-mails with Ms. Battle, Mr. Philips and Mr.          L120     0.30 hrs
                    Corcoran regarding missing transaction document
                    lists.
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04/10/2013   DAB    Communicate with Mr. Lipps regarding next steps       L120     0.30 hrs
                    on MBIA and FGIC claims.

04/10/2013   DAB    Review and comment on letter from Mr. Alexander       L120     0.40 hrs
                    (Morrison & Foerster) to FGIC regarding
                    discovery.
04/10/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.30 hrs
                    comments on FGIC discovery letter.

04/10/2013   JRC    E-mail exchanges with Ms. Battle and Mr. Phillips     L120     0.20 hrs
                    regarding deal documents relevant to monoline
                    proof of claims.
04/10/2013   SP     Communicate with Mr. Beck regarding documents         L120     0.30 hrs
                    needed by Morrison & Foerster.

04/10/2013   SP     Prepare contracts with monoline insurers for          L120     5.20 hrs
                    Morrison & Foerster.

04/11/2013   JAL    Review comments from Mr. Lawrence (Morrison           L120     0.50 hrs
                    & Foerster) regarding written responses to FGIC
                    document requests (.20). Redraft same (.10).
                    Conferences with Mr. Beck regarding same (.10).
                    Review e-mails regarding same (.10).
04/11/2013   VLS    Continued research of Seller Files in discovery       L320     6.00 hrs
                    partner database and preparation of spreadsheet of
                    materials produced to UCC.
04/11/2013   JALB   Revise objections to FGIC document requests.          L210     2.70 hrs


04/11/2013   JALB   Prepare cover note to Mr. Lawrence summarizing        L120     0.50 hrs
                    open issues regarding objections to FGIC
                    document requests.
04/11/2013   DAB    E-mail Mr. Newton regarding expert reports on         L120     0.40 hrs
                    damages in MBA v. RFC case.

04/11/2013   DAB    Conference with Mr. Lipps regarding next steps for    L120     0.20 hrs
                    monoline discovery.

04/11/2013   SP     Prepare insurance agreements, policies, and other     L120     1.30 hrs
                    related documents for Morrison & Foerster.

04/12/2013   JAL    Review and respond to e-mails regarding analysis      L120     0.30 hrs
                    of FGIC damage claims (.10) Conference with
                    Ms. Battle regarding same (.20).
04/12/2013   VLS    Update master list of all Seller Files in discovery   L320     2.00 hrs
                    partner database to include files assembled for
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                    production to UCC.
04/12/2013   JALB   Discussion with Mr. Lipps regarding FGIC            L120     0.20 hrs
                    damages analysis.

04/12/2013   JALB   Telephone conferences with Mr. Beck and             L120     0.30 hrs
                    potential expert regarding FGIC damages analysis.

04/12/2013   JALB   E-mails with Mr. Lawrence (Morrison & Foerster)     L120     0.10 hrs
                    regarding edits to confidentiality agreement.

04/12/2013   DAB    Calls and e-mails with potential expert on          L120     0.30 hrs
                    valuation of remaining losses on monoline future
                    deals regarding potential work on valuing
                    monoline payments under FGIC policies.
04/12/2013   DAB    Communicate with Mr. Newton (Morrison &             L120     0.20 hrs
                    Foerster) regarding potential expert on valuing
                    future payments under FGIC policies.
04/12/2013   DAB    Analyze likely discovery regarding FGIC cure        L320     0.70 hrs
                    claims.

04/12/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster)            L120     0.20 hrs
                    regarding likely discovery on FGIC cure claims.

04/12/2013   DAB    Call with potential expert on valuation of          L120     0.30 hrs
                    remaining losses on monoline deals and Ms. Battle
                    regarding potential work on valuing monoline
                    payments.
04/12/2013   DAB    Analyze MBIA v. Countrywide expert reports.         L120     1.00 hrs


04/12/2013   DAB    Conference with Mr. Corcoran regarding review of    L120     0.10 hrs
                    upcoming monoline productions.

04/13/2013   GNM    Communicate with Ms. Battle regarding document      L320     0.50 hrs
                    requests for FGIC. (.10) Review draft of same.
                    (.40)
04/15/2013   JAL    Review and respond to e-mails regarding FGIC        L120     1.00 hrs
                    discovery deficiencies (.20). Conference with Mr.
                    Beck regarding discovery requests received from
                    FGIC (.20). Review e-discovery protocol (.30).
                    Review confidentiality agreement (.30).
04/15/2013   JALB   Follow-up with client (Mr. Thompson, Ms.            L120     0.30 hrs
                    Delehey, Mr. Ruckdaschel, etc.) regarding
                    objections and responses to FGIC document
                    requests.
04/15/2013   DAB    Multiple e-mails with Mr. Lipps and Ms. Battle      L120     0.40 hrs
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                    regarding discovery requests received from FGIC.

04/15/2013   DAB    E-mail Mr. Alexander (Morrison & Foerster)           L120     0.10 hrs
                    regarding next steps in discovery disputes with
                    MBIA and FGIC.
04/15/2013   DAB    Analyze issues raised by discovery requests from     L120     0.30 hrs
                    FGIC.

04/15/2013   DAB    Draft analysis regarding Countrywide expert          L120     1.50 hrs
                    reports.

04/16/2013   JAL    Review and redraft responses to FGIC's documents     L320     1.00 hrs
                    requests (.80). Review and respond to e-mails
                    regarding same (.20).
04/16/2013   JALB   Participate in call with client (Mr. Thompson, Ms.   L120     1.00 hrs
                    Delehey, Mr. Ruckdaschel, Mr. Underhill, and Ms.
                    Zellmann) and Mr. Lawrence (Morrison &
                    Foerster) regarding responses and objections to
                    FGIC document requests.
04/16/2013   JALB   Meet with Ms. Buchanan regarding planning for        L120     0.50 hrs
                    FGIC document collections/productions.

04/16/2013   JALB   Revise objections and responses to document          L320     1.00 hrs
                    requests per client comments and discussion with
                    Mr. Lawrence of Morrison & Foerster.
04/16/2013   DAB    Analyze Countrywide expert reports.                  L120     0.40 hrs


04/16/2013   DAB    Conference with Ms. Battle regarding plan            L120     0.10 hrs
                    mediation and monoline claims.

04/17/2013   JAL    Review and redraft responses to FGIC's second set    L120     1.30 hrs
                    of document requests (.50). Review and respond
                    to e-mails regarding same (.10). Conference with
                    Ms. Battle regarding finalizing same (.10). Review
                    and revise confidentiality orders regarding FGIC
                    (.20). Review and revise e-discovery protocol
                    (.10). Review and respond to e-mails regarding
                    monoline discovery deficiencies (.30).
04/17/2013   JALB   Telephone conference with Mr. Lawrence               L120     0.40 hrs
                    (Morrison & Foerster) regarding finalizing
                    document objections and responses.
04/17/2013   JALB   Telephone conference with Mr. Lawrence               L120     0.30 hrs
                    (Morrison & Foerster) and Bradley Arant attorneys
                    (Mr. Lumsden) regarding scope of prior
                    productions.
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04/17/2013   JALB   Circulate final FGIC document request response       L120     0.20 hrs
                    draft to client (Mr. Thompson, Ms. Delehey, Mr.
                    Ruckdaschel and others).
04/17/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.20 hrs
                    scheduling stipulation on FGIC cure claim.

04/17/2013   DAB    Communicate with Ms. Barrage (Morrison &             L120     0.10 hrs
                    Foerster) regarding FGIC cure claims.

04/18/2013   JAL    Review, redraft and finalize responses to document   L120     1.50 hrs
                    requests propounded by FGIC (.40). Review and
                    respond to e-mails regarding same (.20). Review
                    and respond to e-mails regarding FGIC discovery
                    deficiencies (.30). Review and respond to e-mails
                    regarding correspondence regarding First
                    Department decision (.20). Review referenced
                    correspondence (.10). Review Ms. Patrick's
                    analysis of claims (.20). Review e-mails regarding
                    same (.10).
04/18/2013   JALB   Telephone conference with Mr. Underhill              L120     0.50 hrs
                    (Residential Capital), vendor representative, Ms.
                    Marty and Ms. Buchanan regarding creation of
                    review environment. (.20) Follow-up with Ms.
                    Marty and Ms. Buchanan regarding same. (.30)
04/18/2013   JALB   Telephone conference and e-mails with Mr.            L120     0.50 hrs
                    Lawrence of Morrison & Foerster regarding
                    addressing final client comments to draft FGIC
                    objections and responses.
04/18/2013   DAB    Analyze recent filings in MBIA v. Countrywide for    L120     0.70 hrs
                    materials relevant to Debtors' litigation with
                    MBIA.
04/18/2013   GNM    Telephone conference call with Ms. Battle, Ms.       L120     0.30 hrs
                    Buchanan, Mr. Underhill, and Mr. Breyer
                    (NightOwl) regarding FGIC database parameters.
04/18/2013   GNM    Meeting with Ms. Battle and Ms. Buchanan             L120     0.30 hrs
                    regarding preliminary strategy for review of FGIC
                    documents.
04/18/2013   HLB    Call with Mr. Underhill (ResCap), Ms. Breyer         L120     0.20 hrs
                    (Nightowl), Mr. Rubinger (Nightowl), Ms. Battle,
                    and Ms. Marty regarding creating of databases for
                    FDIG productions, including creating files,
                    categorizing and coding of documents.
04/18/2013   HLB    Meet with Ms. Battle and Ms. Marty regarding         L120     0.20 hrs
                    management of FDIG productions, organizing
                    databases and setting up databases with Nightowl.
04/19/2013   JAL    Review and respond to e-mails regarding FGIC         L120     0.30 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
  932 00059                 Monthly Invoices Pg 650 of 701
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                    discovery deficiencies and discovery stipulations
                    (.20). Conference with Mr. Beck regarding same
                    (.10).
04/19/2013   DAB    Communicate with Mr. Lipps regarding new court      L120     0.10 hrs
                    orders in MBIA v. RFC.

04/19/2013   DAB    Revise memorandum on Countrywide expert             L120     0.30 hrs
                    witnesses.

04/22/2013   JAL    Conference with Mr. Beck regarding discussions      L120     0.30 hrs
                    on scope of release (.20). Review and respond to
                    e-mails regarding same (.10).
04/22/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)    L120     0.20 hrs
                    regarding FGIC confidentiality agreement.

04/22/2013   DAB    Analyze FGIC markup of confidentiality              L120     0.10 hrs
                    agreement.

04/22/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)    L120     0.10 hrs
                    regarding anticipated production by FGIC.

04/22/2013   GNM    E-mail communications with Mr. Breyer               L120     0.20 hrs
                    (NightOwl) regarding database configuration.

04/23/2013   DAB    E-mails with Mr. Alexander (Morrison & Foerster)    L120     0.20 hrs
                    regarding status of negotiations with monolines.

04/23/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding status    L120     0.10 hrs
                    of negotiations with monolines.

04/23/2013   DAB    E-mail Mr. Newton (Morrison & Foerster)             L120     0.10 hrs
                    regarding status of monoline mediation.

04/24/2013   DAB    E-mails with Ms. Barrage (Morrison & Foerster)      L120     0.20 hrs
                    regarding status of plan mediation.

04/24/2013   DAB    E-mails with Mr. Lipps and Ms. Battle regarding     L120     0.20 hrs
                    status of plan mediation.

04/25/2013   DAB    E-mail Ms. Barrage (Morrison & Foerster)            L120     0.10 hrs
                    regarding status of negotiations with monolines.

04/25/2013   DAB    E-mail Mr. Newton (Morrison & Foerster)             L120     0.10 hrs
                    regarding status of negotiations with monolines.

04/29/2013   JAL    Review Judge Branston's summary judgment            L120     1.50 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  932 00059                 Monthly Invoices Pg 651 of 701
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                    decisions in Countrywide suit (1.0). Conference
                    with Mr. Beck regarding same. (.20). Review
                    various e-mail analysis of same (.20). Review
                    media report regarding same (.10).
04/29/2013   JAL    Review FTI request for fee forecasting under           L120     0.50 hrs
                    various scenarios (.30). Communicate with Mr.
                    Beck regarding same (.20).
04/29/2013   DAB    Analyze summary judgment opinion in MBIA v.            L120     2.10 hrs
                    Countrywide.

04/29/2013   DAB    Draft analysis on MBIA v. Countrywide summary          L120     1.80 hrs
                    judgment opinion.

04/29/2013   DAB    Draft analysis on professional fees under litigation   L120     0.40 hrs
                    and global settlement scenarios.

04/30/2013   JAL    Further review of Judge Branston's summary             L120     1.00 hrs
                    judgment decisions in MBIA v. Countrywide (.70).
                    Review Mr. Beck's analysis of same (.20). Review
                    and respond to e-mails regarding same (.10).
04/30/2013   DAB    Revise analysis on MBIA v. Countrywide                 L210     0.70 hrs
                    summary judgment opinion on primary liability.

04/30/2013   DAB    E-mail Mr. Lee, Mr. Princi, Mr. Lawrence               L120     0.20 hrs
                    (Morrison & Foerster), Mr. Lipps and Ms. Battle
                    regarding MBIA v. Countrywide opinion on
                    primary liability.
04/30/2013   DAB    Revise fee analysis on litigation and global           L120     0.80 hrs
                    settlement scenarios for CRO for plan mediation.

04/30/2013   DAB    Conference with Mr. Lipps regarding fee analysis       L120     0.20 hrs
                    for CRO for plan mediation.

04/30/2013   DAB    Conference with Ms. Battle regarding fee analysis      L120     0.20 hrs
                    for CRO for plan mediation.

04/30/2013   DAB    Analyze MBIA v. Countrywide opinion on                 L120     0.70 hrs
                    successor liability for implications for Residential
                    Capital cases.
04/30/2013   DAB    E-mail Mr. Lee, Mr. Princi, Mr. Lawrence               L120     0.20 hrs
                    (Morrison & Foerster), Mr. Lipps and Ms. Battle
                    regarding MBIA v. Countrywide opinion on
                    successor liability.
04/30/2013   DAB    Analyze MBIA v. Countrywide summary                    L120     2.40 hrs
                    judgment opinion.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43                  Exhibit E
  932 00059                 Monthly Invoices Pg 652 of 701
                                                        Invoice # 54220                      Page 15
04/30/2013   DAB    Draft detailed memorandum regarding lessons                   L120         4.30 hrs
                    from MBIA v. Countrywide summary judgment
                    opinion for litigation strategy on monoline claims
                    in Residential Capital cases.


                    TOTAL FEES FOR THIS MATTER                                                $32,605.00

EXPENSES

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Airfare (coach) -                 $1,431.80
                    travel to New York City to attend fee hearing, monoline meetings
                    and hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Hotel - travel to                  $461.35
                    New York City to attend fee hearing, monoline meetings and
                    hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Taxi from airport                       $55.00
                    to hotel - travel to New York City to attend fee hearing, monoline
                    meetings and hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Taxi from Court to                      $55.33
                    airport - travel to New York City to attend fee hearing, monoline
                    meetings and hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Parking @ Port                          $34.00
                    Columbus - travel to New York City to attend fee hearing,
                    monoline meetings and hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/WiFi - travel to                        $14.95
                    New York City to attend fee hearing, monoline meetings and
                    hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Lunch 4/10/13 -                          $9.85
                    travel to New York City to attend fee hearing, monoline meetings
                    and hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Breakfast 4/11/13 -                      $6.15
                    travel to New York City to attend fee hearing, monoline meetings
                    and hearing on motion to preclude testimony

04/11/2013          (TRIP-DAB-4/10-11/13) Out-of-Town Travel/Lunch 4/11/13 -                         $18.50
                    travel to New York City to attend fee hearing, monoline meetings
                    and hearing on motion to preclude testimony

04/29/2013          Outside Copying - scanning of documents, optical character                 $13,307.9
                    recognition by ProFile Discovery                                                   2

                    TOTAL EXPENSES FOR THIS MATTER                                            $15,394.85


BILLING SUMMARY
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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      Beck, David A.                        54.10 hrs   280.00 /hr   $15,148.00


      Marty, Gretchen N.                     1.40 hrs   175.00 /hr        $245.00


      Buchanan, Heather L.                   0.40 hrs   240.00 /hr         $96.00


      Lipps, Jeffrey A.                     19.40 hrs   400.00 /hr    $7,760.00


      Battle, Jennifer A.L.                 18.30 hrs   300.00 /hr    $5,490.00


      Corcoran, Jeffrey R.                   5.40 hrs   180.00 /hr        $972.00


      Phillips, Segev                        7.70 hrs   220.00 /hr    $1,694.00


      Sholl, Veronica L.                    12.00 hrs   100.00 /hr    $1,200.00



   TOTAL FEES                              118.70 hrs                $32,605.00

   TOTAL EXPENSES                                                    $15,394.85

   TOTAL CHARGES FOR THIS INVOICE                                    $47,999.85
       12-12020-mg    Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43             Exhibit E
                              Monthly Invoices Pg 654 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                            May 23, 2013

                                                                   Billed through 04/30/2013
Tammy Hamzephour                                                   Invoice # 54221      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

04/01/2013   DAB       E-mail Ms. Beck (Morrison & Foerster) regarding             L120        0.10 hrs
                       servicing of loans covered by FHLB subpoena.

04/02/2013   VLS       Organize and upload onto intended database recent           L320        0.60 hrs
                       production of documents related to the CUNA
                       Subpoena project.
04/03/2013   DAB       E-mail Mr. Ruckdashel (Residential Capital)                 L120        0.10 hrs
                       regarding CUNA request for records certification.

04/04/2013   JALB      Prepare for and participate in weekly client update         L120        0.20 hrs
                       call with Mr. Thompson, Ms. Delehey, Ms.
                       Zellmann, Mr. Smith, Mr. Underhill (all
                       Residential Capital) regarding pending discovery
                       and litigation projects.
04/04/2013   JALB      Prepare for and participate in weekly client update         L120        0.20 hrs
                       call on pending discovery and litigation matters
                       with Mr. Thompson, Ms. Delehey, Ms. Zellmann,
                       Mr. Smith, Mr. Underhill (all Residential Capital).
04/04/2013   DAB       Communicate with Mr. Sechler regarding request              L120        0.10 hrs
                       from Castle Peak for supplemental power of
                       attorney on loan sold by Residential Capital.
04/04/2013   DAB       E-mails with Mr. Kohler and Ms. Beck (Morrison              L120        0.20 hrs
                       & Foerster) regarding purchaser of servicing rights
                       for loan files covered by FHLB subpoena.
04/05/2013   VLS       E-mail exchange with Mr. Beck regarding                     L320        0.30 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
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                    authentication of documents produced related to
                    the CUNA subpoena.
04/05/2013   VLS    Preparation of index of material produced related    L320     1.80 hrs
                    to the CUNA subpoena.

04/05/2013   DAB    E-mails with Mr. Ramchandrappa (counsel to           L120     0.10 hrs
                    FHLB) regarding sale of servicing rights on loans
                    covered by FHLB subpoena.
04/05/2013   DAB    Communicate with Ms. Sholl regarding scope of        L120     0.10 hrs
                    production to CUNA.

04/05/2013   DAB    E-mail Ms. Zellman (Residential Capital)             L120     0.10 hrs
                    regarding scope of production to CUNA and
                    potential file custodian affidavit on the same.
04/08/2013   AMP    Attention to requests by UCC to use professional     L320     0.50 hrs
                    eyes only/highly confidential/confidential
                    documents in motion.
04/08/2013   AMP    Multiple e-mails with Morrison & Foerster team       L320     0.40 hrs
                    regarding requests by UCC to use professional
                    eyes only/highly confidential/confidential
                    documents in motion.
04/08/2013   AMP    Review documents covered by UCC inquiry on           L320     0.90 hrs
                    professional eyes only designation.

04/09/2013   AMP    Further e-mails with Morrison & Foerster team and    L120     0.80 hrs
                    Ms. Marty regarding confidential-professional eyes
                    only request by UCC.
04/09/2013   AMP    Attention to confidential-professional eyes only     L120     0.70 hrs
                    request by UCC.

04/10/2013   AMP    Review documents for issue on subservicing           L320     1.20 hrs
                    production.

04/10/2013   AMP    Multiple e-mails with Morrison & Foerster team       L320     0.40 hrs
                    regarding last open privilege issue on subserving
                    production.
04/10/2013   AMP    Attention to Deloitte privilege issues.              L320     1.10 hrs


04/10/2013   AMP    Multiple e-mails with Mr. Glick (Kirkland & Ellis)   L320     0.70 hrs
                    regarding Deloitte privilege issues.

04/10/2013   AMP    Attention to release of certain documents from       L320     0.40 hrs
                    privilege assertion and addressing Ally's response
                    to same.
04/10/2013   AMP    Prepare response to UCC privilege inquiry on         L320     0.80 hrs
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit E
  932 00060                 Monthly Invoices Pg 656 of 701
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                    subservicing products.

04/11/2013   JALB   Participate in client call with Mr. Underhill          L120     0.40 hrs
                    (Residential Capital) regarding database migration
                    issues.
04/15/2013   DAB    E-mail Mr. Ruckdaschel and Ms. Zellman                 L120     0.10 hrs
                    (Residential Capital) regarding certification on
                    CUNA records.
04/16/2013   JALB   Meet with Ms. Marty regarding open items and           L120     0.10 hrs
                    status of data migration.

04/16/2013   JALB   Meet with Ms. Marty regarding open items and           L120     0.10 hrs
                    status of data migration.

04/17/2013   MNB    Review request from counsel in Cambridge Place         L120     0.50 hrs
                    Investment Management lawsuit to produce
                    deposition of Mr. Getchis taken in MBIA/RFC
                    lawsuit.
04/17/2013   VLS    Preparation of spreadsheet of Seller Files produced    L320     2.10 hrs
                    related to the CUNA subpoena project.

04/17/2013   DAB    Revise certification on CUNA records.                  L120     0.30 hrs


04/18/2013   VLS    Update Master Spreadsheet of all files in discovery    L320     2.40 hrs
                    partner to include files assembled related to the
                    SEC and CUNA.
04/18/2013   DAB    E-mails with Ms. Zellman (Residential Capital)         L120     0.20 hrs
                    regarding certification for CUNA production.

04/24/2013   DAB    Analyze US Bank motion seeking discovery from          L120     0.20 hrs
                    Residential Capital.

04/24/2013   DAB    E-mail Mr. Lipps and Ms. Battle concerning US          L120     0.10 hrs
                    Bank motion seeking discovery from Residential
                    Capital.
04/24/2013   DAB    Conference with Ms. Battle regarding US Bank           L120     0.10 hrs
                    motion.

04/24/2013   DAB    Draft analysis for Ms. Battle of issues raised by US   L120     0.20 hrs
                    Bank motion.

04/25/2013   DAB    Communicate with Ms. Zellman (Residential              L120     0.20 hrs
                    Capital) regarding custodian affidavit for CUNA
                    production.
04/26/2013   JALB   E-mails with Mr. Beck and Mr. Lipps regarding          L120     0.20 hrs
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
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                      US Bank / Greenpoint issues.

04/29/2013   AMP      E-mails with Mr. Brown (Morrison & Foerster)                  L320        0.30 hrs
                      and Mr. Phillips regarding cash collateral privilege
                      project.
04/29/2013   AMP      Telephone conference with Mr. Brown regarding                 L320        0.30 hrs
                      cash collateral privilege project.

04/29/2013   AMP      Attention to cash collateral privilege project.               L320        0.40 hrs


04/29/2013   SP       E-mails on potentially privileged Deloitte                    L120        0.30 hrs
                      documents with Ms. Paul Whitfield and Mr. Brown
                      (Morrison & Foerster).
04/29/2013   SP       Review supplemental Deloitte documents for                    L320        0.30 hrs
                      privilege.

04/30/2013   AMP      Attention to cash collateral production privilege             L320        0.50 hrs
                      review.

04/30/2013   AMP      E-mails regarding cash collateral production                  L320        0.30 hrs
                      privilege review.

04/30/2013   JALB     Meet with Ms. Marty regarding outstanding issues,             L120        0.50 hrs
                      including migration of data and setup of Monoline
                      data.
04/30/2013   GNM      Meeting with Ms. Battle regarding database                    L120        0.70 hrs
                      migration and productions currently in the pipeline.
                      (.50) Follow-up on same. (.20)


                      TOTAL FEES FOR THIS MATTER                                                $4,908.00

EXPENSES

04/26/2013            Delivery Service/Messengers - Federal Express to Ms. Sortor                  $9.13
                      from Mr. Beck

                      TOTAL EXPENSES FOR THIS MATTER                                               $9.13


BILLING SUMMARY


         Paul, Angela M.                              9.70 hrs     275.00 /hr       $2,667.50


         Beck, David A.                               2.20 hrs     280.00 /hr        $616.00
    12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43    Exhibit E
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      Marty, Gretchen N.                     0.70 hrs   175.00 /hr        $122.50


      Battle, Jennifer A.L.                  1.70 hrs   300.00 /hr        $510.00


      Beekhuizen, Michael N.                 0.50 hrs   280.00 /hr        $140.00


      Phillips, Segev                        0.60 hrs   220.00 /hr        $132.00


      Sholl, Veronica L.                     7.20 hrs   100.00 /hr        $720.00



   TOTAL FEES                               22.60 hrs                $4,908.00

   TOTAL EXPENSES                                                          $9.13

   TOTAL CHARGES FOR THIS INVOICE                                    $4,917.13
      12-12020-mg     Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43              Exhibit E
                              Monthly Invoices Pg 659 of 701
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                            May 23, 2013

                                                                    Billed through 04/30/2013
Tammy Hamzephour                                                    Invoice # 54222      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

04/01/2013     AMP     Attention to supplemental redacted privilege logs            L320        1.80 hrs
                       for those documents left off of original logs due to
                       technical issue.
04/01/2013     AMP     Multiple e-mails with Ms. Buchanan and Mr.                   L320        0.40 hrs
                       Phillips regarding supplemental redacted privilege
                       logs for those documents left off of original logs
                       due to technical issue.
04/01/2013     AMP     Review supplemental redacted privilege logs for              L320        0.60 hrs
                       those documents left off of original logs due to
                       technical issue.
04/01/2013     AMP     Telephone call to Mr. Donovan (Kirkland & Ellis)             L320        0.10 hrs
                       regarding challenge of common interest assertion
                       by opposing counsel.
04/01/2013     AMP     Multiple e-mails with Mr. Harris (Morrison &                 L320        0.40 hrs
                       Foerster) regarding privilege issues.

04/01/2013     AMP     Attention to issues regarding Deloitte privilege             L320        0.30 hrs
                       logs.

04/01/2013     AMP     E-mails with Mr. Phillips regarding issues with              L320        0.20 hrs
                       Deloitte privilege logs.

04/01/2013     AMP     Review and respond to e-mails from Ms. Levitt                L320        0.30 hrs
                       and Mr. Salerno (Morrison & Foerster) regarding
                       Deloitte privilege logs.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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04/01/2013   AMP    Telephone call to Ms. Banner (Deloitte) regarding     L320     0.10 hrs
                    Deloitte privilege logs.

04/01/2013   AMP    Attention to edits to subservicing logs to reflect    L320     0.70 hrs
                    recent changes on privilege assertions.

04/01/2013   AMP    E-mails regarding edits to subservicing logs to       L320     0.20 hrs
                    reflect recent changes on privilege assertions.

04/01/2013   AMP    Attention to status of production of Phase III        L320     0.20 hrs
                    supplemental privilege logs.

04/01/2013   AMP    Attention to issues regarding employment status of    L320     0.30 hrs
                    Mr. Zachary.

04/01/2013   AMP    Review information for issues regarding               L320     0.20 hrs
                    employment status of Ross Zachary.

04/01/2013   AMP    Review and respond to e-mails regarding the first     L320     0.40 hrs
                    round of documents for which Examiner is
                    challenging professional eyes only/highly
                    confidential designation.
04/01/2013   AMP    Attention to reviewing the first round of documents   L320     1.10 hrs
                    for which Examiner is challenging professional
                    eyes only/highly confidential designation.
04/01/2013   AMP    Multiple e-mails with Ms. Marty, Ms. Battle and       L320     0.60 hrs
                    Morrison & Foerster team regarding the first round
                    of documents for which Examiner is challenging
                    professional eyes only/highly confidential
                    designation.
04/01/2013   AMP    Participate in conference call with Morrison &        L320     0.70 hrs
                    Foerster team regarding professional eyes
                    only/highly confidential challenge documents and
                    preparing response to challenge.
04/01/2013   AMP    E-mails with Mr. Donovan (Kirkland & Ellis) to        L320     0.20 hrs
                    confirm Ally's position on common interest
                    assertion.
04/01/2013   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L320     0.10 hrs
                    regarding status of production of Phase III
                    supplemental privilege logs.
04/01/2013   AMP    Review and respond to e-mails regarding 14            L320     0.90 hrs
                    documents for which Examiner is challenging
                    privilege.
04/01/2013   AMP    Review historical communications on the 14            L320     0.30 hrs
                    documents for which Examiner is challenging
                    privilege.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43     Exhibit E
  932 00064                 Monthly Invoices Pg 661 of 701
                                                        Invoice # 54222         Page 3
04/01/2013   AMP    Prepare draft responses for Mr. Brown (Morrison      L320     1.20 hrs
                    & Foerster) to send to Mr. Schwinger
                    (Chadbourne) on the various privilege challenges
                    by examiner.
04/01/2013   JAL    Review and respond to e-mails regarding Ms.          L120     0.80 hrs
                    Weibe's interview and preparation (.10). Review
                    and respond to further examiner document requests
                    (.30). Conferences with Ms. Battle regarding
                    scheduling of remaining examiner interviews (.20).
                    Review and respond to e-mails regarding
                    scheduling interviews (.20).
04/01/2013   JALB   Calls and emails with former employees Mr.           L120     1.40 hrs
                    Dammen and Mr. Olson regarding interview
                    scheduling (.50); conference with Mr. Lipps
                    regarding scheduling of interviews (.20); multiple
                    emails with Mr. Ilovsky, Mr. Day (Morrison &
                    Foerster) and Mr. Lipps regarding scheduling of
                    interviews (.50); communicate with Mr. Brown
                    (Kirkland & Ellis) regarding same (.20).
04/01/2013   JALB   Meet with Mr. Corcoran regarding potential issues    L120     0.50 hrs
                    for Mr. Dammen's interview preparation. (.20)
                    Outline issues for examiner interview od Mr.
                    Dammen. (.30)
04/01/2013   DJB    Research Discovery Partner database to determine     L120     1.00 hrs
                    Ross Zachary's affiliation (Ally or Rescap) to
                    respond to Examiner inquiry and draft e-mail to
                    Ms. Paul Whitfield regarding same.
04/01/2013   MMM    Review documents and draft outline for key issues    L120     3.80 hrs
                    regarding Hedge accounting.

04/01/2013   MMM    Draft outline for Ms. Rock's Examiner interview.     L120     0.70 hrs
                    (.60) Conference with Mr. Beck regarding same.
                    (.10)
04/01/2013   DAB    Conference with Ms. Mohler regarding examiner        L120     0.10 hrs
                    interview of Ms. Rock.

04/01/2013   JRC    Conference with Ms. Marty regarding chart of         L120     0.10 hrs
                    custodians for ResCap cases.

04/01/2013   JRC    Conference with Ms. Battle regarding interview       L420     0.20 hrs
                    preparation for Mr. Dammen.

04/01/2013   JRC    Review and analyze documents in Discovery            L320     2.40 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Dammen.
04/01/2013   SP     Conference with Ms. Buchanan regarding privilege     L120     0.40 hrs
                    log review.
      12-12020-mg   Doc 4557-8 Filed 08/07/13 Entered 08/07/13 18:28:43      Exhibit E
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                                                        Invoice # 54222          Page 4


04/01/2013   SP     Prepare and revise supplemental privilege logs for    L120     6.30 hrs
                    redacted documents.

04/01/2013   SP     Review privilege log prepared by Kirkland & Ellis     L120     1.60 hrs
                    and documents referenced therein and compare to
                    ResCap's privilege designation.
04/01/2013   SP     Communicate with Ms. Paul Whitfield regarding         L120     0.70 hrs
                    Deloitte documents and treatment by Kirkland &
                    Ellis. (.30) Review Deloitte documents in
                    question. (.40)
04/01/2013   GNM    Update the global key custodian list at the request   L320     0.40 hrs
                    of Ms. Battle.

04/01/2013   GNM    Analyzing documents marked "Professional Eyes'        L320     2.10 hrs
                    Only" to determine whether an objection needs to
                    be made to the use of the documents in the
                    Examiner's report.
04/01/2013   GNM    Conference call with Mr. Brown, Mr. Salerno           L120     0.70 hrs
                    (Morrison & Foerster), and Ms. Whitfield
                    regarding use of "Highly Confidential" and
                    "Professional Eyes' Only" documents in the
                    Examiner's report.
04/01/2013   HLB    Quality control review of privilege logs for proper   L120     4.90 hrs
                    attorney coding, redactions, and privilege
                    designations. Review of log "Additional
                    Redactions 122-123." (4.50) Conference with Mr.
                    Phillips regarding issues on privilege log. (.50)
04/02/2013   AMP    Attention to Deloitte privilege issues.               L320     0.50 hrs


04/02/2013   AMP    Review and respond to e-mail from Mr. Glick           L320     0.30 hrs
                    (Kirkland & Ellis) regarding challenges to
                    privilege assertions and scheduling call.
04/02/2013   AMP    Attention to subservicing privilege logs              L320     2.00 hrs
                    supplementation.

04/02/2013   AMP    Attention to second supplemental privilege log        L320     0.70 hrs
                    issues.

04/02/2013   AMP    Multiple e-mails with Ms. Battle regarding report     L320     0.30 hrs
                    records from Examiner's challenge on professional
                    eyes only/highly confidential.
04/02/2013   AMP    Review professional eyes only/highly confidential     L320     0.80 hrs
                    documents being challenged. (.40) Conference
                    with Mr. Phillips regarding same. (.40)
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04/02/2013   AMP    Participate in conference call with Mr. Levitt and             L320     0.90 hrs
                    Morrison & Foerster team and Ms. Battle
                    regarding documents being challenged on
                    designation as professional eyes only/highly
                    confidential.
04/02/2013   AMP    Participate in call with Mr. Brown and Mr. Salerno             L320     0.70 hrs
                    (Morrison & Foerster) regarding latest professional
                    eyes only/highly confidential challenge documents.
04/02/2013   AMP    Attention to issues regarding report records from              L320     0.90 hrs
                    Examiner's challenge on professional eyes
                    only/highly confidential. (1.40) Conference with
                    Mr. Phillips regarding privilege determinations.
                    (.50)
04/02/2013   AMP    Attention to Federal Reserve Board issues related              L320     0.20 hrs
                    to privilege review.

04/02/2013   JAL    Review and respond to e-mails regarding responses              L120     0.50 hrs
                    to examiner report and scheduling interviews (.20).
                    Conference with Mr. Beck regarding same (.10).
                    Conferences with Ms. Battle regarding responding
                    to examiner's requests for information on
                    securitization process (.20).
04/02/2013   MNB    Review recent appellate decision in                            L120     0.30 hrs
                    MBIA/Countrywide matter for possible inclusion
                    in response to MBIA reply submission to
                    Examiner.
04/02/2013   RBS    Download Rock materials from Sharepoint to              A103   L310     0.30 hrs
                    U-Drive for Ms. Mohler.

04/02/2013   JALB   E-mails with Mr. Beck and Ms. Levitt (Morrison &               L120     0.20 hrs
                    Foerster) regarding potential impact of Examiner
                    report.
04/02/2013   JALB   Telephone conferences and e-mails with former                  L120     0.50 hrs
                    employee witness (Dammen), Ms. Hamzehpour
                    (Residential Capital), Mr. Lipps, and Mr. Illovsky
                    (Morrison & Foerster) regarding interview
                    scheduling and issues.
04/02/2013   JALB   Conference call with Ms. Levitt (Morrison &                    L120     1.80 hrs
                    Foerster), Mr. Salerno (Morrison & Foerster), Ms.
                    Marty, Ms. Paul-Whitfield regarding professional
                    eyes only and highly confidential confidentiality
                    decisions and attorney-client privilege issues. (.90)
                    E-mails with Ms. Paul-Whitfield regarding same.
                    (.40) Conference with Ms. Marty regarding same.
                    (.50)
04/02/2013   MMM    Review documents and draft outline for key issues              L120     1.30 hrs
                    regarding hedge accounting.
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04/02/2013   MMM    Review documents and draft outline for Ms. Rock's   L120     3.80 hrs
                    Examiner interview.

04/02/2013   DAB    E-mail Ms. Battle regarding reply to latest UCC     L120     0.10 hrs
                    submission to examiner.

04/02/2013   DAB    Conference with Mr. Corcoran regarding themes       L120     0.10 hrs
                    for Weintraub interview.

04/02/2013   DAB    Conference with Ms. Battle regarding scheduling     L120     0.10 hrs
                    of upcoming examiner interviews.

04/02/2013   DAB    Communicate with Mr. Lipps regarding scheduling     L120     0.10 hrs
                    on Weintraub interview by examiner.

04/02/2013   JRC    Review and analyze exhibits previously shown by     L420     0.90 hrs
                    the bankruptcy examiner in order to prepare
                    interview preparation materials for Mr. Dammen.
04/02/2013   JRC    Conference with Mr. Beck regarding interview        L120     0.10 hrs
                    preparation materials for Mr. Weintraub.

04/02/2013   JRC    Review examiner interview memoranda in order to     L420     0.70 hrs
                    prepare interview preparation materials for Mr.
                    Weintraub.
04/02/2013   JRC    Review and analyze documents in Discovery           L320     2.20 hrs
                    Partner in order to locate examiner interview
                    preparation materials for Mr. Weintraub.
04/02/2013   SP     Review produced materials with a focus on board     L320     1.90 hrs
                    meeting materials for discussion of fiduciary
                    duties, liquidity, and solvency.
04/02/2013   SP     Conference with Ms. Paul Whitfield regarding the    L120     0.40 hrs
                    affiliation of certain employees for purposes of
                    privilege determinations.
04/02/2013   SP     Conference with Ms. Paul Whitfield regarding        L120     0.50 hrs
                    privilege designations on certain documents.

04/02/2013   GNM    Analyzing documents marked "Professional Eyes'      L320     4.60 hrs
                    Only" to determine whether an objection needs to
                    be made to the use of the documents in the
                    Examiner's report.
04/02/2013   GNM    Conference calls with Mr. Brown, Mr. Salerno,       L120     0.90 hrs
                    Ms. Levitt (Morrison & Foerster), Ms. Battle and
                    Ms. Paul Whitfield regarding use of "Highly
                    Confidential" and "Professional Eyes' Only"
                    documents in the Examiner's report.
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04/02/2013   GNM    Working in Discovery Partner locating all             L320     0.80 hrs
                    duplicates of EXAM31853831 to be clawed back.

04/02/2013   HLB    Quality control review of privilege logs for proper   L120     5.20 hrs
                    attorney coding, redactions, and privilege
                    designations. Review of log "Additional
                    Redactions 122-123."
04/03/2013   AMP    Attention to Deloitte privilege issues.               L320     0.60 hrs


04/03/2013   AMP    E-mails with Mr. Phillips regarding Deloitte          L320     0.20 hrs
                    privilege issues.

04/03/2013   AMP    Participate in call with Mr. Glick (Kirkland &        L320     0.40 hrs
                    Ellis) regarding challenges Ally has received on
                    Deloitte privilege assertions.
04/03/2013   AMP    Review documents for Examiner's most recent           L320     0.60 hrs
                    challenges to privilege assertions.

04/03/2013   AMP    Conference call with Mr. Glick (Kirkland & Ellis)     L320     0.30 hrs
                    regarding common interest privilege challenge on a
                    particular document.
04/03/2013   AMP    Multiple e-mails with Ms. Battle, Ms. Marty and       L320     0.20 hrs
                    Morrison & Foerster team regarding DIP Lien
                    production issues and whether those documents
                    were requested by Examiner.
04/03/2013   AMP    Reviewing historical records for company profiles.    L320     0.20 hrs


04/03/2013   AMP    E-mails with Mr. Harris and Morrison & Foerster       L120     0.20 hrs
                    team regarding Ally's position on common interest
                    challenged document.
04/03/2013   AMP    Review challenged Deloitte documents.                 L320     0.60 hrs


04/03/2013   AMP    E-mails with Morrison & Foerster regarding            L320     0.20 hrs
                    challenged Deloitte documents.

04/03/2013   AMP    Attention to Examiner's most recent challenges to     L320     0.50 hrs
                    privilege assertions on Deloitte.

04/03/2013   AMP    Draft e-mail to Mr. Schwinger (Chadbourne)            L320     0.50 hrs
                    regarding privilege issues.

04/03/2013   AMP    Investigate DIP Lien production issues and            L320     0.40 hrs
                    whether those documents were requested by
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                    Examiner.
04/03/2013   AMP    Prepare for and participate in call with Mr. Brown,    L320     0.80 hrs
                    Mr. Salerno (Morrison & Foerster), and Ms. Marty
                    regarding professional eyes only/highly
                    confidential challenges received to date and
                    requiring response.
04/03/2013   AMP    Draft e-mail to Mr. Schwinger (Chadbourne)             L320     0.70 hrs
                    regarding documents being produced in redacted or
                    unredacted form in response to privilege challenge.
04/03/2013   AMP    Review document being produced in response to          L320     0.60 hrs
                    privilege challenge and draft response.

04/03/2013   AMP    E-mails with Mr. Salerno and Mr. Brown                 L320     0.20 hrs
                    (Morrison & Foerster) regarding reviewing
                    document being produced in response to privilege
                    challenge and draft response.
04/03/2013   AMP    E-mails with Mr. Levitt (Morrison & Foerster)          L120     0.20 hrs
                    regarding preparation for Court conference.

04/03/2013   AMP    Attention to company profiles to determine officers    L320     0.60 hrs
                    for various subsidiaries.

04/03/2013   AMP    Review latest professional eyes only/highly            L320     0.30 hrs
                    confidential challenge from Mr. McCormick
                    (Chadbourne).
04/03/2013   JAL    Review and redraft response to additional              L120     2.50 hrs
                    submissions by MBIA and AIG (1.0). Conference
                    with Mr. Beekhuizen regarding same (.10).
                    Review and respond to e-mails regarding same
                    (.10). Review and redraft response to submissions
                    by UCC and SUNS (.70). Conference with Mr.
                    Beekhuizen regarding same (.10). Review and
                    respond to e-mails regarding same (.10). Review
                    and respond to e-mails scheduling examiner
                    interviews (.10). Conferences with Mr. Beck and
                    Ms. Battle regarding same (.10). Review reports
                    on Mr. Steinhagen's interview addressing
                    securitization process (.20).
04/03/2013   MNB    Update and revise response to MBIA and AIG             L250     2.60 hrs
                    reply submissions to include section on recent legal
                    authority and to include further evidentiary
                    citations. (2.50) Communicate with Mr. Lipps
                    regarding response. (.20)
04/03/2013   JALB   Prepare and circulate notes of Ms. Steinhagen's        L120     0.50 hrs
                    interview.
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04/03/2013   JALB   Review and comment on draft UCC submission.         L120     1.20 hrs


04/03/2013   JALB   Telephone conference and e-mails with Ms. Miller    L120     0.20 hrs
                    (Chadbourne) regarding use of slides in report.

04/03/2013   JALB   Prepare for (1.00) and defend Ms. Steinhagen's      L330     8.50 hrs
                    interview. (7.50)

04/03/2013   MMM    Review documents in preparation for Rock's          L120     3.40 hrs
                    Examiner interview.

04/03/2013   MMM    Draft outline for Ms. Rock's Examiner interview.    L120     2.80 hrs


04/03/2013   DAB    Research regarding officer history of depositor     L120     0.40 hrs
                    entities.

04/03/2013   DAB    Communicate with Mr. Corcoran regarding             L120     0.10 hrs
                    additional materials for preparation of Mr.
                    Weintraub.
04/03/2013   DAB    E-mails with Mr. Lipps, Ms. Battle and Mr.          L120     0.30 hrs
                    Beekhuizen regarding issues raised by examiner in
                    Ms. Steinhagen's interview.
04/03/2013   DAB    Research regarding other examiner reports.          L120     0.40 hrs


04/03/2013   DAB    Communicate with Mr. Lipps and Ms. Battle           L120     0.10 hrs
                    regarding examiner interview information relevant
                    to FGIC claims.
04/03/2013   DAB    Conference with Mr. Corcoran regarding officer      L120     0.10 hrs
                    histories of depositor entities.

04/03/2013   DAB    E-mail Ms. Paul-Whitfield regarding officer         L120     0.20 hrs
                    histories of depositors.

04/03/2013   DAB    Draft memorandum regarding key issues for           L330     4.40 hrs
                    examiner interview of Mr. Weintraub.

04/03/2013   JRC    Review and analyze documents in Discovery           L320     2.70 hrs
                    Partner in order to locate examiner interview
                    preparation materials for Mr. Weintraub.
04/03/2013   JRC    Draft analysis for Mr. Beck regarding documents     L120     0.30 hrs
                    for Mr. Weintraub relevant to his interview with
                    the bankruptcy examiner.
04/03/2013   JRC    Review and analyze documents in Discovery           L320     0.40 hrs
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                    Partner in order to locate examiner interview
                    preparation materials for Mr. Dammen.
04/03/2013   JRC    Review previous production requests and               L320     0.30 hrs
                    correspondence with the unsecured creditors'
                    committee in order to respond to examiner's e-mail
                    relating to a clawback request.
04/03/2013   JRC    Review Ms. Battle's notes from Ms. Steinhagen's       L120     0.30 hrs
                    interview with the bankruptcy examiner.

04/03/2013   JRC    Teleconference with Mr. Day (Morrison &               L420     0.10 hrs
                    Foerster) regarding examiner interview
                    memoranda.
04/03/2013   JRC    Review exhibits marked in Ms. Steinhagen's            L420     0.20 hrs
                    interview in order to prepare examiner interview
                    materials.
04/03/2013   SP     Prepare for and participate in phone call with        L120     0.50 hrs
                    Ally's counsel regarding Deloitte privilege issues.

04/03/2013   SP     Finalize subservicing redacted and withheld           L120     3.80 hrs
                    privilege logs and send to Ms. Paul Whitfield.

04/03/2013   GNM    Formatting items from Ms. Hamzehpour                  L320     0.40 hrs
                    (Residential Capital) for production.

04/03/2013   GNM    Conference calls with Mr. Brown, Mr. Salerno,         L120     0.90 hrs
                    Ms. Levitt (Morrison & Foerster), and Ms. Paul
                    Whitfield regarding use of "Highly Confidential"
                    and "Professional Eyes' Only" documents in the
                    Examiner's report.
04/03/2013   GNM    Analyzing documents marked "Highly                    L320     6.10 hrs
                    Confidential" and "Professional Eyes' Only" to
                    determine whether an objection needs to be made
                    to the use of the documents in the Examiner's
                    report.
04/03/2013   GNM    Telephone conference call with DTI team               L120     0.50 hrs
                    regarding production pipeline.

04/03/2013   GNM    Working in Discovery Partner database to              L320     0.20 hrs
                    determine if items cited in witness interviews were
                    previously clawed back.
04/03/2013   GNM    Email communications with Mr. Brown, Mr.              L120     0.50 hrs
                    Salerno (Morrison & Foerster), and Ms. Whitfield
                    regarding use of "Highly Confidential" and
                    "Professional Eyes' Only" documents in the
                    Examiner's report.
04/03/2013   GNM    Drafting response to Examiner inquiry regarding       L320     0.60 hrs
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                    DIP LIEN productions previously produced to the
                    UCC.
04/03/2013   HLB    Quality control review of privilege logs for proper   L120     5.30 hrs
                    attorney coding, redactions, and privilege
                    designations. Review of log "Additional
                    Redactions 122-123."
04/04/2013   AMP    E-mails with Morrison & Foerster team and Mr.         L320     0.60 hrs
                    Glick (Kirkland & Ellis) regarding privilege issues
                    as to additional documents from subservicing logs.
04/04/2013   AMP    Attention to reviewing challenge to Deloitte          L320     1.00 hrs
                    privilege assertions and responding to the same.

04/04/2013   AMP    E-mails with Mr. Phillips regarding reviewing         L320     0.20 hrs
                    challenge to Deloitte privilege assertions.

04/04/2013   AMP    Attention to supplementation of Deloitte privilege    L320     0.60 hrs
                    logs.

04/04/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster)        L320     0.40 hrs
                    regarding supplementation of Deloitte privilege
                    logs.
04/04/2013   AMP    Attention to supplemental privilege logs for the      L320     1.80 hrs
                    subservicing production.

04/04/2013   AMP    E-mails with Mr. Brown, Ms. Tice (Morrison &          L320     0.40 hrs
                    Foerster) regarding supplemental privilege logs for
                    the subservicing production.
04/04/2013   AMP    E-mails with Mr. Brown and Ms. Tice (Morrison         L320     0.50 hrs
                    & Foerster regarding second supplemental redacted
                    logs due to technical issue.
04/04/2013   AMP    Attention to second supplemental redacted logs        L320     2.80 hrs
                    due to technical issue. (2.10) Meet with Ms. Marty
                    regarding supplemental redacted logs. (.70)
04/04/2013   JAL    Review and respond to e-mails regarding               L120     0.60 hrs
                    scheduling interviews (.20). Conference with Ms.
                    Battle regarding same (.10). Review Ms. Weibe's
                    preparation materials (.30).
04/04/2013   JALB   Follow-up with client (Ms. Dondzila, Ms. Horner,      L120     0.50 hrs
                    Ms. Zellmann, Ms. Westman) regarding search for
                    documents responsive to Examiner requests.
04/04/2013   JALB   E-mails with Morrison & Foerster team (Ms.Levitt,     L120     0.40 hrs
                    Mr. Salerno, Mr. Brown) regarding search for
                    documents responsive to Examiner requests.
04/04/2013   JALB   Prepare for and participate in weekly client update   L120     0.20 hrs
                    call with Mr. Thompson, Ms. Delehey, Ms.
                    Zellmann, Mr. Smith, Mr. Underhill (all
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                    Residential Capital) on document production and
                    examiner investigation.
04/04/2013   MMM    Review documents and draft outline in preparation    L120     4.00 hrs
                    for Rock's Examiner interview.

04/04/2013   MMM    Review documents for key hedge accounting            L120     1.70 hrs
                    issues.

04/04/2013   DAB    Draft memorandum on key issues for examiner          L330     5.90 hrs
                    interview of Mr. Weintraub.

04/04/2013   JDR    Review discovery documents recently produced         L320     1.00 hrs
                    related to Ms. Wiebe in preparation for interview.

04/04/2013   SP     Prepare and send privileged Deloitte documents to    L320     2.20 hrs
                    Mr. Salerno for review.

04/04/2013   SP     Conference with Ms. Buchanan and Ms. Paul            L120     0.40 hrs
                    Whitfield regarding privilege designations.

04/04/2013   SP     Review and revise privilege log for Deloitte         L120     1.90 hrs
                    documents at request of Ms. Paul Whitfield.

04/04/2013   GNM    Telephone communications with Ms. Tice               L120     0.60 hrs
                    (Morrison & Foerster) regarding updated
                    production metrics.
04/04/2013   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.20 hrs
                    & Foerster) regarding updated production metrics.

04/04/2013   GNM    Meeting with Ms. Buchanan regarding witness          L120     0.40 hrs
                    exhibit analysis.

04/04/2013   GNM    Working in Discovery Partner Database formatting     L320     0.40 hrs
                    items to be supplementally produced.

04/04/2013   GNM    Email communications with Mr. Shipler (DTI)          L120     0.20 hrs
                    regarding supplemental productions.

04/04/2013   GNM    E-mail communications with Mr. Brown (Morrison       L120     0.10 hrs
                    & Foerster) regarding Board Materials previously
                    produced.
04/04/2013   GNM    Editing language for updated memo regarding          L320     0.30 hrs
                    production metrics for Ms. Levitt (Morrison &
                    Foerster).
04/04/2013   GNM    Cross referencing Hamzehpour/Lee e-mails             L320     3.40 hrs
                    produced in 9019 to Examiner for consistent
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                    privilege determinations.
04/04/2013   GNM    Formatting supplemental privilege logs containing     L320     0.40 hrs
                    redacted items to be sent to Examiner.

04/04/2013   GNM    Meeting with Ms. Whitfield regarding                  L120     0.60 hrs
                    supplemental privilege logs containing redacted
                    items to be sent to Examiner.
04/04/2013   GNM    Working in DIP LIEN database to determine extent      L320     2.10 hrs
                    of overlap between DIP LIEN documents and
                    documents produced to the Examiner.
04/04/2013   HLB    Quality control review of privilege logs for proper   L120     4.50 hrs
                    attorney coding, redactions, and privilege
                    designations. Review of log "Additional
                    Redactions 122-123 Hamzehpour." (4.10) Meet
                    with Ms. Marty regarding analysis of witness
                    exhibits.
04/05/2013   AMP    E-mails with Ms. Tice (Morrison & Foerster)           L320     0.40 hrs
                    regarding second supplemental privilege logs.

04/05/2013   AMP    Review final service versions of second               L320     0.80 hrs
                    supplemental privilege logs and sign off.

04/05/2013   AMP    Review report of chambers conference.                 L320     0.30 hrs


04/05/2013   AMP    E-mails with Morrison & Foerster team regarding       L320     0.40 hrs
                    unredacted copy of Exhibit 26.

04/05/2013   AMP    E-mails with Ms. Marty and Ms. Tice (Morrison &       L120     0.20 hrs
                    Foerster) regarding status memorandum.

04/05/2013   AMP    E-mails regarding expected upcoming professional      L320     0.60 hrs
                    eyes only/highly confidential challenges.

04/05/2013   AMP    Review documents for expected upcoming                L320     0.90 hrs
                    professional eyes only/highly confidential
                    challenges.
04/05/2013   AMP    Review and edit production status memorandum          L120     0.40 hrs
                    for Morrison & Foerster.

04/05/2013   JAL    Review and respond to e-mails regarding               L120     1.80 hrs
                    scheduling examiner interviews (.10). Conferences
                    with Ms. Battle and Mr. Beck regarding coverage
                    and preparation materials (.20). Review Ms.
                    Weibe's preparation materials (.50). Review Mr.
                    Kravit and Ms. Gray's interview summaries (.50).
                    Review and redraft Mr. Weintraub's outline (.50).
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04/05/2013   RBS    Upload Wiebe materials to Sharepoint for Mr.            A103   L310     0.60 hrs
                    Rhode.

04/05/2013   RBS    Upload Weintraub documents to Sharepoint for            A103   L310     0.50 hrs
                    Mr. Beck.

04/05/2013   JALB   Follow-up with Ms. Horner, Ms. Zellmann, Ms.                   L120     0.80 hrs
                    Westman (all Residential Capital), Mr. Brown
                    (Morrison & Foerster) and Ms. Marty regarding
                    collection and production of selected transaction
                    documents per Examiner request.
04/05/2013   JALB   Attention to exchange of materials for Mr. Wiebe's             L330     0.20 hrs
                    preparation.

04/05/2013   JALB   Correspondence with Mr. Dammen (former                         L120     0.20 hrs
                    Residential Capital) and Mr. Lipps regarding
                    examiner interview process.
04/05/2013   MMM    Draft outline in preparation of Rock's Examiner                L120     0.40 hrs
                    interview.

04/05/2013   MMM    Review documents for key hedge accounting                      L120     4.50 hrs
                    issues (2.10) and draft outline of key issues. (2.40)

04/05/2013   DAB    Conference with Mr. Rhode regarding                            L120     0.10 hrs
                    memorandum on key examiner issues for interview
                    of Ms. Wiebe.
04/05/2013   DAB    Revise memorandum on key issues for examiner                   L330     0.70 hrs
                    interview of Ms. Wiebe.

04/05/2013   DAB    Revise memorandum on key issues for examiner                   L330     3.30 hrs
                    interview of Mr. Weintraub.

04/05/2013   JDR    Review and analyze discovery documents                         L320     0.80 hrs
                    produced for purposes of revising Ms. Wiebe
                    examiner preparation outline.
04/05/2013   JDR    Revise examiner witness preparation outline for                L420     2.00 hrs
                    Ms. Wiebe with comments and strategy from Mr.
                    Beck.
04/05/2013   GNM    Working in Discovery Partner database researching              L320     0.70 hrs
                    to locate the amendments to 2005 Loan Facility
                    agreement.
04/05/2013   GNM    Exchanging e-mail communications with Ms.                      L120     0.30 hrs
                    Battle regarding the amendments to the 2005 Loan
                    Facility Agreement.
04/06/2013   AMP    Review e-mail from Ms. Battle regarding latest                 L120     0.20 hrs
                    highly confidential/professional eyes only
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                    challenges.
04/06/2013   DAB    E-mail Ms. Mohler regarding preparation materials     L120     0.20 hrs
                    for examiner interview of Ms. Rock.

04/07/2013   AMP    Review and respond to e-mails from Mr. Levitt and     L210     0.40 hrs
                    Ms. Battle regarding UCC standing motion and
                    latest privilege challenges.
04/07/2013   AMP    Review documents for UCC standing motion and          L210     0.70 hrs
                    latest privilege challenges.

04/07/2013   AMP    E-mails with Ms. Marty regarding UCC standing         L210     0.20 hrs
                    motion and latest privilege challenges.

04/07/2013   JAL    Review Ms. Rock's interview preparation outline       L120     1.00 hrs
                    and documents (.30). Review e-mail regarding
                    same (.10). Review Mr. Bier's interview summary
                    (.20). Review analysis of derivatives (.30).
                    Review and respond to e-mails regarding
                    scheduling interviews (.10).
04/07/2013   MMM    Upload Rock documents onto Sharepoint.                L120     0.40 hrs


04/08/2013   AMP    Telephone conference with Mr. Day (Morrison &         L320     0.40 hrs
                    Foerster) regarding specific documents challenged
                    by Examiner.
04/08/2013   AMP    Attention to next request regarding use of            L320     0.80 hrs
                    professional eyes only/highly confidential
                    documents in Examiner's report.
04/08/2013   AMP    Participate in call with Morrison & Foerster team     L320     0.60 hrs
                    regarding use of professional eyes only/highly
                    confidential documents in Examiner's report.
04/08/2013   AMP    Multiple e-mails regarding use of professional eyes   L320     0.40 hrs
                    only/highly confidential documents in Examiner's
                    report.
04/08/2013   AMP    E-mails with Mr. Day (Morrison & Foerster)            L320     0.30 hrs
                    regarding specific documents challenged by
                    Examiner.
04/08/2013   AMP    Review professional eyes only/highly confidential     L320     0.90 hrs
                    documents potentially being used in Examiner's
                    report.
04/08/2013   JAL    Review and respond to e-mails regarding               L120     4.00 hrs
                    scheduling examiner interviews and prepare for
                    same (.20). Conference with Ms. Battle regarding
                    same (.10). Review additional examiner
                    information requests (.30). Review e-mails
                    regarding same (.20). Draft responses to examiner
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                    requests (1.0). Review and finalize response to
                    MBIA and AIG submissions (.90). Conference
                    with Mr. Beekhuizen regarding same (.20).
                    Meeting with Ms. Battle, Mr. Beck, Mr. Corcoran
                    and Ms. Mohler regarding examiner issues on
                    seven specific transactions. (1.10)
04/08/2013   MNB    Revise response to MBIA and AIG examiner             L250     1.20 hrs
                    submission replies.

04/08/2013   JALB   Follow-up e-mails with Mr. Beck, Mr. Lipps, Mr.      L120     0.30 hrs
                    Corcoran, and Ms. Mohler regarding background
                    materials and scope of response.
04/08/2013   JALB   Review and revise draft of bullet points regarding   L120     0.30 hrs
                    role of GRS.

04/08/2013   JALB   Telephone conference with Mr. Dammen (former         L120     0.40 hrs
                    Residential Capital) regarding background to
                    Examiner investigation.
04/08/2013   JALB   E-mails with Ms. Levitt (Morrison & Foerster) and    L120     0.30 hrs
                    Mr. Lipps regarding analysis of Marple memo and
                    significance thereof.
04/08/2013   JALB   Meet with Mr. Beck, Mr. Lipps, Mr. Corcoran, Ms.     L120     1.30 hrs
                    Mohler regarding preparation of responses to
                    Examiner questions to AFI. (1.10) Conference
                    with Mr. Beck, Mr. Corcoran and Ms. Mohler
                    regarding same. (.20)
04/08/2013   MMM    Review documents and draft outline in preparation    L120     2.40 hrs
                    for Olson Examiner interview.

04/08/2013   MMM    Review questions for AFI counsel and research        L120     3.20 hrs
                    issues regarding dividend payments, tax allocation
                    agreement, and swap agreements.
04/08/2013   MMM    Meet with Mr. Lipps, Ms. Battle, Mr. Beck, and       L120     1.40 hrs
                    Mr. Corcoran regarding questions of examiner on
                    specific transactions. (1.10) Conference with Ms.
                    Battle, Mr. Beck and Mr. Corcoran regarding
                    same. (.30)
04/08/2013   DAB    Communicate with Mr. Lipps regarding questions       L120     0.10 hrs
                    of Ms. Levitt on specific transactions examiner is
                    interested in.
04/08/2013   DAB    Analyze list of questions from Ms. Levitt            L120     0.40 hrs
                    (Morrison & Foerster) regarding specific
                    transactions examiner is interested in.
04/08/2013   DAB    Research regarding examiner issues on 2008           L120     3.70 hrs
                    refinancing transaction.
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04/08/2013   DAB    Conference with Ms. Battle, Mr. Corcoran and Ms.       L120     0.20 hrs
                    Mohler regarding latest inquiries from examiner on
                    specific transactions.
04/08/2013   DAB    Conference with Ms. Battle regarding latest            L120     0.20 hrs
                    inquiries from examiner on specific transactions.

04/08/2013   DAB    Meeting with Mr. Lipps, Ms. Battle, Mr. Corcoran       L120     1.00 hrs
                    and Ms. Mohler regarding examiner issues on
                    seven different transactions and response themes of
                    debtors.
04/08/2013   JRC    Review internal documentation relevant to Mr.          L420     0.20 hrs
                    Dammen in order to contact him regarding his
                    interview with the bankruptcy examiner.
04/08/2013   JRC    Review documents relevant to potential liability of    L320     0.60 hrs
                    Ally Securities for underwriting GMACM and
                    RFC securitizations in order to draft analysis on
                    the sale of Ally Securities in response to the
                    examiner's question regarding the same.
04/08/2013   JRC    Review documents relevant to the sale of Ally          L320     2.30 hrs
                    Securities in order to draft response to the
                    examiner's question regarding the same.
04/08/2013   JRC    Review documents in Discovery Partner in order to      L320     0.40 hrs
                    draft analysis on the sale of Ally Securities in
                    response to the examiner's question regarding the
                    same.
04/08/2013   JRC    Draft analysis for Ms. Battle regarding sale of Ally   L120     0.60 hrs
                    Securities in response to a question from the
                    bankruptcy examiner.
04/08/2013   JRC    Revise analysis regarding sale of Ally Securities      L120     0.30 hrs
                    based on suggestions of Ms. Battle.

04/08/2013   JRC    Conference with Ms. Battle, Mr. Beck, and Ms.          L120     0.30 hrs
                    Mohler regarding response to examiner's questions
                    regarding specific transactions between Ally and
                    ResCap.
04/08/2013   JRC    Conference with Mr. Lipps, Ms. Battle, Mr. Beck,       L120     1.00 hrs
                    and Ms. Mohler regarding response to examiner's
                    questions regarding specific transactions between
                    Ally and ResCap.
04/08/2013   SP     Conference with Ms. Paul Whitfield regarding           L120     0.40 hrs
                    privilege issues.

04/08/2013   SP     Review and revise privilege log for Deloitte           L120     1.40 hrs
                    documents.

04/08/2013   GNM    Analyzing documents marked "Highly                     L320     5.10 hrs
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                    Confidential" and "Professional Eyes' Only" to
                    determine whether an objection needs to be made
                    to the use of the documents in the UCC standing
                    brief.
04/08/2013   GNM    Conference call with Mr. Day, Mr. Brown, Mr.             L120     0.90 hrs
                    Salerno (Morrison & Foerster), and Ms.
                    Paul-Whitfield regarding use of "Highly
                    Confidential" and "Professional Eyes' Only"
                    documents in the Examiner's report.
04/08/2013   HLB    Review of documents and exhibits from ResCap             L120     4.50 hrs
                    witness interviews (Abreu, Applegate, and Blahut)
                    for purposes of categorizing exhibits and creating
                    exhibit binders.
04/09/2013   AMP    Attention to Deloitte document privilege issues.         L320     2.10 hrs


04/09/2013   AMP    Attention to amending privilege log.                     L320     0.80 hrs


04/09/2013   AMP    E-mails with Mr. Phillips regarding amending             L320     0.30 hrs
                    privilege log.

04/09/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster            L320     0.90 hrs
                    regarding amending privilege log.

04/09/2013   AMP    Telephone conference with Mr. Banner (Deloitte)          L320     0.30 hrs
                    regarding privilege log status.

04/09/2013   AMP    Telephone conference with Mr. Glick (Kirkland &          L320     0.30 hrs
                    Ellis) regarding privilege log status.

04/09/2013   AMP    E-mails with Mr. Banner regarding privilege log          L320     0.30 hrs
                    status.

04/09/2013   JAL    Review and respond to e-mails regarding                  L120     2.50 hrs
                    scheduling interviews and preparing for same
                    (.10). Review and redraft responses to examiner
                    questions (1.0). Conference with Ms. Battle and
                    Mr. Beck regarding same (.30). Review and
                    respond to e-mails regarding same (.20). Review
                    and redraft response to MBIA/AIG examiner
                    submissions (.70). Conference with Mr. Beck
                    (.10). Review e-mails regarding same (.10).
04/09/2013   MNB    Revise response to MBIA and AIG examiner                 L250     0.70 hrs
                    submission replies.

04/09/2013   RBS    Prepare notebook with requested pleadings for Mr. A103   L310     0.30 hrs
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                    Beck.

04/09/2013   JALB   Revise and compile sections of response to             L120     1.30 hrs
                    Examiner questions.

04/09/2013   JALB   Draft section on bank transactions of response to      L120     0.90 hrs
                    Examiner questions.

04/09/2013   JALB   Draft section on tax allocation of response to         L120     1.70 hrs
                    Examiner questions. (1.40) Conference with Mr.
                    Phillips regarding board treatment of the allocation
                    agreement. (.30)
04/09/2013   MMM    Research issues addressed in questions of examiner     L120     5.20 hrs
                    on specific transactions.

04/09/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding              L120     0.20 hrs
                    potential committee motion seeking standing to sue
                    Ally.
04/09/2013   DAB    Analyze examiner memos for discussions on              L120     1.20 hrs
                    reserves for plan mediation on security claims.

04/09/2013   DAB    Draft materials for examiner on 2008 restructuring.    L120     2.00 hrs


04/09/2013   DAB    Analyze materials on tax issues raised by              L120     0.10 hrs
                    examiner.

04/09/2013   DAB    Comment on response to MBIA and AIG                    L120     0.70 hrs
                    submissions to examiner.

04/09/2013   DAB    Edit materials for examiner on swaps and tax           L120     1.50 hrs
                    allocation agreements.

04/09/2013   JRC    Review additional documents relevant to the sale       L320     2.10 hrs
                    of Ally Securities in order to draft response to the
                    examiner's question regarding the same.
04/09/2013   JRC    Revise analysis regarding sale of Ally Securities      L120     0.40 hrs
                    based on additional suggestions of Ms. Battle.

04/09/2013   JRC    Review binders with examiner interview                 L420     0.20 hrs
                    memoranda in order to revise binder for Mr. Lipps.

04/09/2013   SP     Communicate with Ms. Paul Whitfield regarding          L120     1.20 hrs
                    privilege determinations for Deloitte documents.

04/09/2013   SP     Review Deloitte documents claimed as privileged        L320     1.30 hrs
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                    by Ally to assure consistency.

04/09/2013   SP     Review and revise privilege log for Deloitte         L120     3.40 hrs
                    documents.

04/09/2013   SP     Conference with Ms. Battle regarding board           L120     0.30 hrs
                    treatment of Tax Allocation Agreement.

04/09/2013   GNM    E-mail communications with Ms. Shank                 L120     0.20 hrs
                    (Residential Capital) regarding outstanding
                    requests from the Examiner.
04/09/2013   GNM    E-mail communications with Mr. Shipler (DTI)         L120     0.10 hrs
                    regarding native versions of items requested by
                    Mr. Beck.
04/09/2013   GNM    Working in Discovery Partner database to locate      L320     2.10 hrs
                    all iterations of a Tax allocation agreement to be
                    produced to the Examiner.
04/09/2013   GNM    Telephone conference call with DTI team              L120     0.30 hrs
                    regarding production pipeline.

04/09/2013   GNM    Working in Discovery Partner database to locate      L320     1.40 hrs
                    documents responsive to the outstanding Examiner
                    requests.
04/09/2013   GNM    E-mail communications with Ms. Battle regarding      L120     0.30 hrs
                    tax allocation agreements.

04/09/2013   GNM    E-mail communications with Mr. Brown (Morrison       L120     0.20 hrs
                    & Foerster) regarding outstanding requests from
                    Examiner.
04/09/2013   GNM    E-mail communications with Ms. Levitt (Morrison      L120     0.20 hrs
                    & Foerster) regarding documents marked "Highly
                    Confidential" and "Professionals Eyes' Only" to be
                    cited in UCC brief.
04/09/2013   GNM    Drafting cross reference for "Highly Confidential"   L320     1.40 hrs
                    and "Professionals Eyes' Only" to be cited in UCC
                    brief to previously produced documents.
04/10/2013   AMP    Review e-mails with Mr. Brown (Morrison &            L320     0.40 hrs
                    Foerster) regarding last open privilege issue on
                    subservicing production.
04/10/2013   JAL    Review Mr. Weintraub's documents to prepare for      L120     3.00 hrs
                    interview (2.0). Review and respond to e-mails
                    regarding scheduling interviews (.20). Further
                    review and revision of response to MBIA/AIG
                    submissions (.70). Conference with Mr.
                    Beekhuizen regarding same (.10).
04/10/2013   DAB    Research tax documents in response to request        L120     0.20 hrs
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                    from Ms. Vasillu (Morrison & Foerster).

04/10/2013   JRC    Review and analyze documents in Discovery             L320     1.10 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Dammen.
04/10/2013   SP     Conference with Ms. Paul Whitfield regarding          L120     0.40 hrs
                    privilege determinations.

04/10/2013   SP     Review supplemental Deloitte documents for            L320     0.40 hrs
                    privilege.

04/10/2013   GNM    E-mail communications with Mr. Brown (Morrison        L120     0.10 hrs
                    & Foerster) regarding outstanding requests from
                    Examiner.
04/10/2013   HLB    Review and analysis of documents and exhibits         L120     4.80 hrs
                    from ResCap witness interviews of Blitzer,
                    Bossidy, Canelliere, Dondzila, and Flees
                    interviews for purposes of categorizing exhibits.
04/11/2013   JAL    Prepare for Mr. Weintraub's interview (1.0).          L120     6.50 hrs
                    Participate in same (4.0). Draft summary of Mr.
                    Weintraub's interview in transit to Columbus (1.0).
                    Review and respond to e-mails regarding Mr.
                    Weintraub's interview (.10). Review, redraft and
                    finalize response to MBIA/AIG submission (.20).
                    Conference with Mr. Beekhuizen regarding same
                    (.10). Review e-mails regarding same (.10).
04/11/2013   MNB    Revise response to MBIA and AIG examiner              L250     0.30 hrs
                    submission replies.

04/11/2013   MMM    Review documents and draft outline for Olson          L120     2.90 hrs
                    interview preparation.

04/11/2013   DAB    Analyze UCC motion seeking standing to sue Ally.      L120     0.30 hrs


04/11/2013   DAB    E-mail Mr. Lipps, Ms. Battle and Mr. Beekhuizen       L120     0.10 hrs
                    regarding UCC motion seeking standing to sue
                    Ally.
04/11/2013   SP     Review documents from Deloitte relating to issues     L320     4.20 hrs
                    raised by Mr. Beck.

04/11/2013   GNM    Telephone communications with Ms. Shank               L120     0.10 hrs
                    (Residential Capital) regarding outstanding
                    requests from the Examiner.
04/11/2013   GNM    E-mail communications with Mr. Brown (Morrison        L120     0.30 hrs
                    & Foerster) regarding outstanding requests from
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                    Examiner.
04/11/2013   GNM    Working in Discovery Partner database redacting       L320     1.90 hrs
                    items to be supplementally produced to the
                    Examiner.
04/11/2013   GNM    E-mail communications with Mr. Shipler (DTI)          L120     0.20 hrs
                    regarding items to be supplementally produced to
                    the Examiner.
04/11/2013   GNM    Drafting cover letter to be sent with supplemental    L120     0.20 hrs
                    productions.

04/11/2013   HLB    Review and analysis of documents and exhibits         L120     4.80 hrs
                    from ResCap witness interviews of Marano,
                    Paradis, Pensabene, and Redmond for purposes of
                    categorizing exhibits.
04/12/2013   AMP    E-mails with Mr. Glick and Ms. Marty regarding        L320     0.60 hrs
                    last open privilege issue on subservicing
                    production.
04/12/2013   AMP    Review last document regarding open privilege         L320     0.60 hrs
                    issue on subservicing production.

04/12/2013   AMP    Review e-mails from Mr. Banner (Deloitte)             L320     0.50 hrs
                    regarding last open privilege issue on subserving
                    production.
04/12/2013   AMP    Review and respond to e-mails from Mr.                L320     0.80 hrs
                    Schwinger (Chadbourne) and Mr. Brown
                    (Morrison & Foerster) regarding last open
                    privilege issue on subservicing production.
04/12/2013   AMP    Attention to Deloitte privilege issues.               L320     0.70 hrs


04/12/2013   JAL    Review UCC motion for standing to sue Ally on         L120     0.80 hrs
                    transactions reviewed by examiner (.50).
                    Communcate with Mr. Beck regarding same (.20).
                    Review and respond to e-mails regarding Ms.
                    Weibe's interview (.10).
04/12/2013   MMM    Review documents and draft ouline for Olson           L120     3.80 hrs
                    Examiner interview.

04/12/2013   DAB    E-mail Ms. Vasiliu (Morrison & Foerster)              L120     0.20 hrs
                    regarding additional materials on tax issues raised
                    by examiner.
04/12/2013   DAB    Research regarding examiner investigation             L120     3.80 hrs
                    materials on PLS reserves. (3.50) Conference with
                    Mr. Lipps on UCC motion for standing to sue Ally.
                    (.20) Conference with Mr. Corcoran regarding
                    likely issues for examiner interview at Mr.
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                    Dammen. (.10)
04/12/2013   DAB    Conference with Mr. Philips regarding analysis on   L120     0.20 hrs
                    fiduciary duties and reserve issues.

04/12/2013   JRC    Conference with Mr. Beck regarding interview        L420     0.10 hrs
                    preparation for Mr. Dammen.

04/12/2013   SP     Conference with Mr. Beck regarding information      L120     0.30 hrs
                    available in Deloitte documents.

04/13/2013   GNM    Telephone conference with Mr. Brown, Mr.            L120     0.30 hrs
                    Salerno (Morrison & Foerster), Mr. McDonald
                    (FTI), and Ms. Battle regarding new document
                    request from the Examiner.
04/13/2013   GNM    Telephone communications with Ms. Tice              L120     0.40 hrs
                    (Morrison & Foerster) regarding witness exhibit
                    analysis.
04/13/2013   GNM    Working in Discovery Partner database locating      L320     1.00 hrs
                    duplicates of documents to be clawed back under
                    the Bank Examination Privilege.
04/13/2013   GNM    Meeting with Ms. Buchanan regarding witness         L120     0.20 hrs
                    interview exhibit binders.

04/13/2013   GNM    Telephone conference call with DTI team             L120     0.20 hrs
                    regarding production pipeline.

04/13/2013   GNM    Telephone communications with Mr. Glick             L120     0.10 hrs
                    (Kirkland & Ellis) regarding documents previously
                    clawed back by Ally.
04/13/2013   GNM    Conference call with Mr. Brown and Mr. Salerno      L120     0.20 hrs
                    (Morrison & Foerster) regarding use of "Highly
                    Confidential" and "Professional Eyes' Only"
                    documents in the Examiner's report.
04/13/2013   GNM    Conference call with Mr. Brown and Mr. Salerno      L120     0.20 hrs
                    (Morrison & Foerster) regarding use of "Highly
                    Confidential" and "Professional Eyes' Only"
                    documents in the Examiner's report.
04/13/2013   GNM    Gathering and analyzing documents marked            L320     3.50 hrs
                    "Highly Confidential" and "Professional Eyes'
                    Only" documents to be used in the Examiner's
                    report at the request of Ms. Battle.
04/14/2013   AMP    Attention to scheduling call on supplemental        L120     0.20 hrs
                    professional eyes only/highly confidential
                    challenge list.
04/14/2013   AMP    Multiple e-mails with Morrison & Foerster team      L320     0.90 hrs
                    and Ms. Marty regarding supplemental
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                    professional eyes only/highly confidential
                    challenge list.
04/14/2013   AMP    Review documents for supplemental professional      L320     1.10 hrs
                    eyes only/highly confidential challenge list.

04/15/2013   AMP    Attention to supplemental production issues of      L320     2.20 hrs
                    items removed from privilege logs or to be
                    produced with redactions.
04/15/2013   AMP    Attention to tax allocation privilege documents.    L320     0.90 hrs


04/15/2013   AMP    E-mails regarding tax allocation privilege          L120     0.40 hrs
                    documents.

04/15/2013   AMP    E-mails with Mr. Banner (Deloitte) regarding        L320     0.20 hrs
                    closure of production.

04/15/2013   AMP    Review documents on professional eyes               L320     0.50 hrs
                    only/highly confidential list.

04/15/2013   AMP    E-mails with Ms. Marty regarding documents to be    L120     0.40 hrs
                    produced with redactions.

04/15/2013   AMP    Attention to 4/14 professional eyes only/highly     L120     0.30 hrs
                    confidential designation challenges.

04/15/2013   AMP    Edit chart for 4/14 professional eyes only/highly   L320     0.20 hrs
                    confidential designation challenges.

04/15/2013   AMP    Attention to supplemental professional eyes         L320     1.10 hrs
                    only/highly confidential document list from
                    Examiner.
04/15/2013   AMP    E-mails with Ms. Battle, Ms. Marty and Morrison     L320     0.40 hrs
                    & Foerster team regarding supplemental
                    professional eyes only/highly confidential
                    document list from Examiner.
04/15/2013   AMP    Participate in call with Morrison & Foerster team   L120     0.50 hrs
                    regarding supplemental professional eyes
                    only/highly confidential document list from
                    Examiner.
04/15/2013   AMP    Prepare documents to be produced with redactions.   L320     1.10 hrs


04/15/2013   JAL    Review and respond to e-mails regarding Ms.         L120     0.80 hrs
                    Weibe's interview (.30). Review additional
                    examiner information requests (.30). Conference
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                    with Mr. Corcoran regarding interview of Mr.
                    Dameen (.20).
04/15/2013   VLS    Meet with Ms. Marty regarding production of           L320     0.60 hrs
                    professional invoices. (.50) Forward redacted
                    electronic copy of invoices to Ms. Tice at Morrison
                    and Foerster for production. (.10)
04/15/2013   VLS    Receipt, scan and upload onto internal database       L320     2.20 hrs
                    invoices received from Ms. Gunderson at GMAC.

04/15/2013   VLS    E-mail exchanges with Ms. Battle, Ms. Marty and       L320     0.20 hrs
                    Mr. Corcoran regarding invoices from Ms.
                    Gunderson at GMAC.
04/15/2013   VLS    E-mail exchange with Ms. Tice at Morrison and         L320     0.20 hrs
                    Foerster regarding documents to be produced.

04/15/2013   JALB   E-mails with Ms. Levitt (Morrison & Foerster),        L120     0.50 hrs
                    Ms. Paul-Whitfield, Mr. Corcoran and Ms. Marty
                    regarding privilege review, close-out of document
                    requests, and clawback issues.
04/15/2013   JALB   Meet with Ms. Mohler regarding potential issues       L120     0.30 hrs
                    for Mr. Olson's examiner interview preparation.

04/15/2013   MMM    Review documents and draft outline for Olson          L120     2.80 hrs
                    preparation. (2.30) Meet with Ms. Battle regarding
                    same. (.30) Meet with Mr. Beck regarding same.
                    (.20)
04/15/2013   DAB    Multiple conferences with Ms. Mohler regarding        L120     0.20 hrs
                    interview preparation outline for Mr. Olson.

04/15/2013   DAB    Multiple conferences with Mr. Philips regarding       L120     0.20 hrs
                    analysis on fiduciary duty materials relevant to
                    examiner investigation.
04/15/2013   DAB    Review and comment on outline and associated          L120     1.80 hrs
                    exhibits on board fiduciary duty presentations.

04/15/2013   DAB    Communicate with Mr. Sechler regarding status of      L120     0.20 hrs
                    servicing issues outline.

04/15/2013   DAB    Draft update for Ms. Battle regarding status of       L120     0.50 hrs
                    Carpenter Lipps & Leland examiner interview and
                    topical outlines and next steps on each.
04/15/2013   DAB    Draft analysis on reserve issues relevant to          L120     2.60 hrs
                    examiner investigation.

04/15/2013   JRC    Conference with Mr. Lipps regarding interview         L420     0.30 hrs
                    preparation materials for Mr. Dammen.
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04/15/2013   JRC    Conference with Ms. Mohler regarding interview        L120     0.10 hrs
                    preparation materials for Mr. Olson.

04/15/2013   JRC    Review and analyze documents in Discovery             L320     2.60 hrs
                    Partner in order to locate examiner interview
                    preparation materials for Mr. Dammen.
04/15/2013   JRC    Redact privileged time entries from Skadden           L320     3.40 hrs
                    invoices prior to production to the Examiner.

04/15/2013   JRC    Conference with Ms. Battle regarding redaction of     L320     0.10 hrs
                    Skadden invoices for privilege prior to production.

04/15/2013   JRC    Conference with Ms. Marty regarding redaction of      L320     0.10 hrs
                    Skadden invoices for privilege prior to production.

04/15/2013   SP     Review documents in Deloitte production for           L320     1.90 hrs
                    information on reserves and liquidity.

04/15/2013   SP     Discuss fiduciary duty presentations with Mr.         L120     0.30 hrs
                    Beck.

04/15/2013   GNM    Communiate with Ms. Paul-Whitfield regarding          L120     0.30 hrs
                    privilege determinations on documents previously
                    withheld as privileged.
04/15/2013   GNM    Exchanging e-mail communications with Ms.             L120     0.30 hrs
                    Battle and Ms. Paul-Whitfield regarding Tax
                    Allocation documents.
04/15/2013   GNM    Analyzing documents marked "Highly                    L320     4.40 hrs
                    Confidential" and "Professional Eyes' Only" to
                    determine whether an objection needs to be made
                    to the use of the documents in the Examiner's
                    report.
04/15/2013   GNM    Conference call with Mr. Brown and Mr. Salerno        L120     0.90 hrs
                    (Morrison & Foerster) regarding use of "Highly
                    Confidential" and "Professional Eyes' Only"
                    documents in the Examiner's report.
04/15/2013   GNM    Working in Discovery Partner database making          L320     1.20 hrs
                    privilege determinations on documents previously
                    withheld as privileged.
04/15/2013   GNM    Meeting with Ms. Sholl regarding production of        L120     0.50 hrs
                    invoices in response to request from Examiner.

04/15/2013   GNM    E-mail communications with Ms. Levitt and Ms.         L120     0.20 hrs
                    Vasiliu (Morrison & Foerster) regarding Tax
                    Allocation documents.
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04/15/2013   GNM    E-mail communications with Ms. Levitt regarding         L120     0.20 hrs
                    documents designated "Highly Confidential.

04/16/2013   AMP    E-mails with Mr. Salerno (Morrison & Foerster)          L320     0.30 hrs
                    regarding documents involving Ally information.

04/16/2013   AMP    Review documents and prepare edits to proposed          L320     0.70 hrs
                    responses to supplemental professional eyes
                    only/highly confidential document list.
04/16/2013   AMP    Participate in conference call with Morrison &          L320     0.50 hrs
                    Foerster team regarding proposed responses to
                    supplemental professional eyes only/highly
                    confidential document list.
04/16/2013   AMP    Draft e-mail to Mr. Glick (Kirkland & Ellis)            L320     0.40 hrs
                    regarding lists of professional eyes only documents
                    that the Examiner intends to cite, quote or attach to
                    report and review response.
04/16/2013   AMP    Attention to documents involving Ally information       L320     0.30 hrs
                    of interest to examiner.

04/16/2013   AMP    Review e-mail from Ms. Battle regarding notebook        L120     0.10 hrs
                    for professional eyes only/highly confidential
                    challenges.
04/16/2013   AMP    Attention to notebook for professional eyes             L320     0.20 hrs
                    only/highly confidential challenges.

04/16/2013   AMP    E-mails with Ms. Marty regarding notebook for           L120     0.30 hrs
                    professional eyes only/highly confidential
                    challenges.
04/16/2013   AMP    Multiple e-mails with Morrison & Foerster team          L320     0.40 hrs
                    regarding supplemental professional eyes
                    only/highly confidential document list from
                    Examiner.
04/16/2013   AMP    Attention to further supplemental professional eyes     L320     0.60 hrs
                    only/highly confidential document list from
                    Examiner.
04/16/2013   JAL    Review Court order regarding citation of                L120     2.00 hrs
                    confidentiality materials (.10). Conference with
                    Ms. Battle regarding same (.10). Review and
                    respond to further examiner document requests
                    (.80). Conference with Ms. Battle regarding same
                    (.10). Review and finalize submission on
                    MBIA/AIG examiner submissions (.50). Review
                    and respond to e-mails regarding same (.10).
                    Review schedule of responses to examiner
                    document requests (.20). Conference with Ms.
                    Battle regarding same (.10).
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04/16/2013   JALB   Telephone conference with Mr. McDonald (FTI),          L120     0.40 hrs
                    Mr. Salerno and Mr. Brown (both Morrison &
                    Foerster) regarding new document/data request
                    from Chadbourne.
04/16/2013   JALB   Communicate with Ms. Marty regarding open              L120     0.20 hrs
                    production items and status of data migration.

04/16/2013   JRC    Review and analyze new discovery requests from         L310     0.10 hrs
                    the bankruptcy examiner.

04/16/2013   JRC    Review and analyze documents in Discovery              L320     4.40 hrs
                    Partner in order to locate examiner interview
                    preparation materials for Mr. Dammen.
04/16/2013   JRC    Review and analyze securitization documents in         L320     2.10 hrs
                    order to prepare interview preparation materials for
                    Mr. Dammen.
04/16/2013   SP     Review produced materials for documents relating       L320     3.40 hrs
                    to fiduciary duties and liquidity and solvency.

04/16/2013   SP     Analyze fiduciary duty presentations and               L120     0.50 hrs
                    discussions and liquidity and solvency information.

04/16/2013   HLB    Review and analysis of documents and exhibits          L120     5.30 hrs
                    from ResCap witness interviews of Senick, Smith,
                    West, and Whitlinger for purposes of categorizing
                    exhibits.
04/17/2013   AMP    Review e-mail from Mr. Day (Morrison &                 L320     0.30 hrs
                    Foerster) regarding document production details.

04/17/2013   AMP    Review new Examiner requests for additional            L320     0.30 hrs
                    productions.

04/17/2013   AMP    Multiple e-mails with Morrison & Foerster team         L320     0.40 hrs
                    regarding new Examiner requests for additional
                    productions.
04/17/2013   AMP    Conference with Ms. Marty regarding new                L320     0.20 hrs
                    Examiner requests for additional productions.

04/17/2013   AMP    Review response to Examiner regarding additional       L120     0.20 hrs
                    professional eyes only/highly confidential
                    challenges.
04/17/2013   AMP    E-mails with Morrison & Foerster team regarding        L120     0.40 hrs
                    additional professional eyes only/highly
                    confidential challenges.
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04/17/2013   AMP    Research regarding document production details        L320     0.70 hrs
                    for hearing on production challenges.

04/17/2013   AMP    E-mails from Mr. Barthel regarding Ally               L120     0.20 hrs
                    professional eyes only/highly confidential
                    challenges.
04/17/2013   JAL    Review decision regarding citation of confidential    L120     0.30 hrs
                    matters.

04/17/2013   JALB   E-mails with Ms. Levitt (Morrison & Foerster)         L120     0.10 hrs
                    regarding recent Examiner request for additional
                    productions.
04/17/2013   MMM    Draft outline for Mr. Olson Examiner interview.       L120     0.30 hrs


04/17/2013   DAB    Conference with Ms. Mohler regarding outline for      L120     0.10 hrs
                    Mr. Olson preparation.

04/17/2013   DAB    Draft interview preparation outline for Mr. Olson.    L330     1.20 hrs


04/17/2013   JRC    Review third-party productions in Relativity in       L320     2.10 hrs
                    order to locate interview preparation materials for
                    Mr. Dammen.
04/17/2013   JRC    Review documents in Discovery Partner in order to     L320     3.80 hrs
                    locate interview preparation materials for Mr.
                    Dammen.
04/17/2013   JRC    Begin drafting outline for interview preparation      L420     1.40 hrs
                    materials for Mr. Dammen.

04/17/2013   SP     Review exhibits presented in various interviews for   L120     2.40 hrs
                    discussion of fiduciary duty and liquidity.

04/17/2013   SP     Revise fiduciary duty memorandum for Mr. Beck.        L120     1.80 hrs


04/17/2013   GNM    Gathering and analyzing documents marked              L320     5.10 hrs
                    "Highly Confidential" and "Professional Eyes'
                    Only" documents to be used in the Examiner's
                    report at the request of Ms. Battle.
04/17/2013   GNM    Working in Discovery Partner to determine scope       L320     0.80 hrs
                    of RMBS documents previously produced to the
                    Examiner.
04/17/2013   GNM    E-mail communications regarding RMBS                  L120     0.10 hrs
                    documents previously produced to the Examiner.
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04/17/2013   GNM    E-mail communications with Mr. Brown (Morrison         L120     0.20 hrs
                    & Foerster) regarding outstanding document
                    requests to the Examiner.
04/17/2013   GNM    Meeting with Ms. Buchanan regarding witness            L120     0.10 hrs
                    interview exhibit binders.

04/17/2013   HLB    Review and analysis of documents and exhibits          L120     5.40 hrs
                    from ResCap witness interviews for purposes of
                    categorizing exhibits. (5.30) Meet with Ms. Marty
                    regarding same. (.10)
04/18/2013   AMP    Attention to additional examiner document              L320     0.30 hrs
                    requests.

04/18/2013   AMP    Multiple e-mails from Morrison & Foerster team         L320     0.20 hrs
                    regarding additional examiner document requests.

04/18/2013   AMP    E-mails with Mr. Glick (Kirkland & Ellis)              L320     0.20 hrs
                    regarding April 16 clawback.

04/18/2013   AMP    E-mails with Morrison & Foerster team regarding        L320     0.40 hrs
                    April 16 clawback.

04/18/2013   JAL    Review and respond to e-mails regarding examiner       L120     0.30 hrs
                    interviews.

04/18/2013   JALB   Attention to preparation for and scheduling of         L330     0.50 hrs
                    interviews of Messrs. Dammen and Olson.

04/18/2013   JALB   E-mails regarding cancellation of Mr. Wiebe's          L120     0.10 hrs
                    interview.

04/18/2013   JALB   E-mails with Mr. Beck regarding issues for             L120     0.20 hrs
                    upcoming witness interviews.

04/18/2013   DAB    Draft memorandum on key issues for examiner            L330     6.20 hrs
                    interview of Mr. Olson. (5.80) Conference with
                    Mr. Phillips regarding fiduciary duty
                    memorandum. (.40)
04/18/2013   DAB    Communicate with Ms. Battle regarding                  L120     0.20 hrs
                    preparation outlines for upcoming examiner
                    interviews.
04/18/2013   DAB    Communicate with Mr. Corcoran regarding                L120     0.10 hrs
                    preparation materials for Mr. Dameen.

04/18/2013   JRC    Review and analyze documents in Discovery              L320     5.80 hrs
                    Partner in order to locate preparation materials for
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                    Mr. Dammen's interview with the Examiner.
04/18/2013   JRC    Draft outline for materials for Mr. Dammen's               L420     3.40 hrs
                    interview with the bankruptcy examiner.

04/18/2013   SP     Conference with Mr. Beck regarding fiduciary duty          L120     0.40 hrs
                    memorandum.

04/18/2013   SP     Review discussion of board minutes in various              L120     0.90 hrs
                    interviews.

04/18/2013   SP     Finalize fiduciary duty memorandum for Mr. Beck.           L120     2.30 hrs


04/18/2013   GNM    Gathering and analyzing documents marked                   L320     1.30 hrs
                    "Highly Confidential" and "Professional Eyes'
                    Only" documents to be used in the Examiner's
                    report at the request of Ms. Battle.
04/18/2013   GNM    Indexing "Highly Confidential" and "Professional           L320     2.10 hrs
                    Eyes' Only" documents to be used in the
                    Examiner's report at the request of Ms. Battle.
04/18/2013   GNM    Working in Discovery Partner attempting to locate          L320     2.30 hrs
                    2008 purchase agreement to close outstanding
                    request from the Examiner.
04/18/2013   HLB    Review of documents and exhibits from ResCap               L120     4.30 hrs
                    witness interviews for purposes of categorizing
                    exhibits and creating exhibit binders.
04/19/2013   AMP    E-mails with Morrison & Foerster team regarding            L320     0.30 hrs
                    new document requests by examiner.

04/19/2013   AMP    E-mails with Morrison & Foerster team regarding            L320     0.40 hrs
                    4/19 professional eyes only/highly confidential
                    document challenge list from Examiner.
04/19/2013   AMP    Review documents relating to latest highly                 L320     0.80 hrs
                    comfidential/professional eyes only challenges.

04/19/2013   JAL    Review and redraft Mr. Olson's interview                   L120     1.00 hrs
                    preparation outline (.50). Review and redraft Mr.
                    Keenan's interview preparation outline (.50).
04/19/2013   JAL    Review SUNS' motion for standing to sue Ally               L120     1.00 hrs
                    (.80). Communicate with Mr. Beck regarding
                    same (.20).
04/19/2013   RBS    Upload Dammen material to Sharepoint for Mr.        A103   L310     0.40 hrs
                    Corcoran.
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04/19/2013   DAB    Revise Ms. Olson's preparation outline.             L330     0.30 hrs


04/19/2013   DAB    E-mail Mr. Ilovsky, Mr. Day (Morrison &             L120     0.10 hrs
                    Foerster) regarding Ms. Olson's preparation
                    outline.
04/19/2013   DAB    Investigate new court orders in MBIA v. RFC.        L120     0.30 hrs


04/19/2013   DAB    Review Senior Unsecured Note motion on standing     L120     0.20 hrs
                    to sue Ally.

04/19/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding senior    L120     0.20 hrs
                    unsecured note motion to sue Ally.

04/19/2013   DAB    Conference with Mr. Day (Morrison & Foerster)       L120     0.20 hrs
                    regarding examiner report and remaining
                    interviews.
04/19/2013   DAB    Review memorandum of Mr. Phillips on fiduciary      L120     0.20 hrs
                    duty presentations to board.

04/19/2013   JRC    Revise interview preparation outline for Mr.        L420     0.10 hrs
                    Dammen.

04/19/2013   GNM    Gathering and analyzing documents produced by       L320     2.10 hrs
                    Ally marked "Highly Confidential" and
                    "Professional Eyes' Only" documents to be used in
                    the Examiner's report at the request of Mr. Beck.
04/19/2013   GNM    Indexing "Highly Confidential" and "Professional    L320     1.10 hrs
                    Eyes' Only" documents to be used in the
                    Examiner's report at the request of Ms. Battle.
04/19/2013   GNM    Indexing documents produced by ALLY marked          L320     1.30 hrs
                    "Highly Confidential" and "Professional Eyes'
                    Only" documents to be used in the Examiner's
                    report at the request of Mr. Beck.
04/21/2013   AMP    Finalize comments to 4/19 professional eyes         L320     0.40 hrs
                    only/highly confidential document challenge list.

04/21/2013   AMP    E-mails with Ms. Marty regarding 4/19               L320     0.20 hrs
                    professional eyes only/highly confidential
                    document challenge list.
04/21/2013   GNM    Analyzing documents marked "Professional Eyes'      L320     0.70 hrs
                    Only" to determine whether an objection needs to
                    be made to the citation of the documents in the
                    Examiner's report.
04/21/2013   GNM    E-mail communications with Ms. Whitfield and        L120     0.10 hrs
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                    Ms. Battle regarding "Professional Eyes' Only"
                    documents to be cited in the Examiner's report.
04/22/2013   AMP    Multiple e-mails from Mr. Levitt (Morrison &          L320     0.70 hrs
                    Foerster) regarding privileged nature of documents
                    seen during examiner interview.
04/22/2013   AMP    Review draft response to Examiner's counsel.          L320     0.30 hrs


04/22/2013   AMP    Draft e-mail to Mr. Salerno (Morrison & Foerster)     L320     0.30 hrs
                    regarding assessment as to latest professional eyes
                    only challenged documents.
04/22/2013   AMP    Review each document for which professional eyes      L320     1.20 hrs
                    only designation was being challenged by
                    examiner.
04/22/2013   AMP    Prepare global response to examiner challenge of      L320     0.80 hrs
                    professional eyes only documents.

04/22/2013   AMP    E-mails with Morrison & Foerster team regarding       L320     0.30 hrs
                    draft response to Examiner's counsel on latest
                    privilege challenges.
04/22/2013   JAL    Review Mr. Keenan's documents to prepare for          L120     2.00 hrs
                    examiner interview (.70). Review Mr. Olson's
                    documents to prepare for examiner interview (.70).
                    Review and respond to e-mails regarding Mr.
                    Young's deposition (.10). Review questions from
                    examiner regarding securitization process (.30).
                    Conference with Ms. Battle regarding responses to
                    same (.20).
04/22/2013   JALB   Review and respond to PLS overview question           L120     0.20 hrs
                    from Chadbourne.

04/22/2013   JALB   E-mails with Mr. Lipps and Mr. Beck regarding         L120     0.10 hrs
                    status of witness interviews.

04/22/2013   JALB   Follow-up with Ms. Marty regarding status of          L120     0.10 hrs
                    professional eyes only questions.

04/22/2013   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.10 hrs
                    exclusively extension motion and statements in
                    that report on examiner investigation.
04/22/2013   DAB    Analyze exclusivity extension motion for              L120     0.30 hrs
                    statements pertaining to examiner investigation and
                    monoline claims.
04/22/2013   DAB    Draft memorandum on reserve issues relevant to        L120     1.30 hrs
                    examiner investigation.
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04/22/2013   DAB    E-mail with Mr. Day (Morrison & Foerster)            L120     0.10 hrs
                    regarding Olson interview preparations.

04/22/2013   SP     Review supplemental documents for privilege.         L320     1.40 hrs


04/22/2013   SP     Discuss privilege issues with Ms. Paul Whitfield.    L120     0.40 hrs


04/22/2013   GNM    Exchanging e-mail communications with Mr.            L120     0.50 hrs
                    Brown (Morrison & Foerster) regarding
                    outstanding requests from the Examiner.
04/22/2013   GNM    E-mail communications with Mr. Shipler (DTI)         L120     0.10 hrs
                    regarding previously clawed back documents.

04/22/2013   GNM    E-mail communications with Ms. Sholl regarding       L120     0.10 hrs
                    e-mail from Mr. Underhill (Residential Capital).

04/22/2013   GNM    Working in Discovery Partner database examining      L320     0.40 hrs
                    documents previously marked for privilege.

04/22/2013   GNM    E-mail communications with Ms. Whitfield             L120     0.20 hrs
                    regarding documents previously marked for
                    privilege.
04/22/2013   HLB    Perform edits and revisions to examiner exhibit      L120     2.20 hrs
                    matrix based on additional documents and
                    information received from Morrosin & Foerster.
04/22/2013   HLB    Continued review and analysis of documents and       L120     3.10 hrs
                    exhibits from ResCap witness interviews for
                    purposes of categorizing exhibits.
04/23/2013   JAL    Review Mr. Kennan's documents to prepare for         L120     8.00 hrs
                    examiner interview (3.0). Review Mr. Olson's
                    documents to prepare for examiner interview (3.0).
                    Draft preparation outlines for Mr. Keenan and Mr.
                    Olson (1.5). Review and respond to e-mails
                    regarding examiner interview schedule (.50).
04/23/2013   DAB    Draft memorandum concerning reserve and              L120     4.10 hrs
                    representation and warranty issues relevant to
                    examiner investigation.
04/23/2013   GNM    E-mail communications with Ms. Sholl regarding       L120     0.30 hrs
                    verbiage for slips-sheets for withheld items.

04/23/2013   GNM    Telephone conference call with DTI team              L120     0.30 hrs
                    regarding production pipeline.

04/23/2013   HLB    Perform edits and revisions to examiner exhibit      L120     1.60 hrs
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                    matrix.

04/23/2013   HLB    Continued review and analysis of documents and        L120     3.30 hrs
                    exhibits from ResCap witness interviews for
                    purposes of categorizing exhibits.
04/24/2013   AMP    E-mails with Morrison & Foerster team regarding       L320     1.10 hrs
                    Ally privilege items in Cerberus production.

04/24/2013   AMP    E-mails with Mr. Glick (Kirkland & Ellis)             L320     0.20 hrs
                    regarding pushback on March clawback request.

04/24/2013   JAL    Review Mr. Keenan's and Mr. Olson's documents         L120     8.30 hrs
                    to prepare for preparation sessions (2.0).
                    Conference with Mr. Day regarding same (.50).
                    Participate in preparation session for Olson (2.7).
                    Participate in preparation session for Mr. Keenan
                    (2.7). Review and respond to e-mails regarding
                    examiner interviews and schedule for same (.40).
04/24/2013   JALB   E-mails with Mr. Lipps regarding Dammen and           L120     0.40 hrs
                    Olson interviews and scope of questioning by Mr.
                    Stenger (Chadbourne).
04/24/2013   JALB   E-mails with Ms. Paul-Whitfield and Ms. Levitt        L120     0.30 hrs
                    (Morrison & Foerster) regarding privilege review
                    issues.
04/24/2013   JALB   E-mails with Mr. Lipps regarding Examiner report.     L120     0.10 hrs


04/24/2013   MMM    Review documents and update timeline of major         L120     1.50 hrs
                    events.

04/24/2013   DAB    Analyze Judge Glenn ruling on Ally clawback           L120     0.20 hrs
                    request.

04/24/2013   DAB    Conference with Ms. Marty regarding Judge Glenn       L120     0.10 hrs
                    ruling on Ally clawback motion.

04/24/2013   DAB    E-mail Mr. Lipps and Ms. Battle concerning Judge      L120     0.10 hrs
                    Glenn denial of Ally clawback request.

04/24/2013   DAB    Conference with Ms. Mohler regarding updating of      L120     0.20 hrs
                    timeline on key events covered by examiner
                    investigation.
04/24/2013   DAB    Draft memorandum on key representation and            L120     3.80 hrs
                    warranty issues in examiner investigation.

04/24/2013   GNM    Telephone communications with Ms. Whitfield           L120     0.30 hrs
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                    regarding documents previously clawed back by
                    Cerberus.
04/24/2013   GNM    Working in Discovery Partner database analyzing      L320     0.20 hrs
                    documents previously clawed back by Cerberus.

04/24/2013   GNM    E-mail communications with Mr. Shipler (DTI)         L120     0.30 hrs
                    regarding previously clawed back documents.

04/25/2013   AMP    Review e-mails from Morrison & Foerster team         L320     0.30 hrs
                    regarding latest Examiner requests.

04/25/2013   JAL    Prepare for Mr. Keenan's examiner interview (.50).   L120     8.00 hrs
                    Conference with Mr. Keenan regarding same (.50).
                    Participate at examiner interview of Mr. Keenan
                    (6.0). Prepare for Mr. Olson's meeting (.50).
                    Conference with Mr. Day regarding same (.30).
                    Review and redraft responses to examiner
                    questions regarding securitization process (.10).
                    Telephone conference with Ms. Battle regarding
                    finalizing same (.10).
04/25/2013   JALB   Prepare draft response to Mesirow question           L120     0.70 hrs
                    regarding PLS factual background.

04/25/2013   JALB   E-mails and discussion with Mr. Lipps and            L120     0.50 hrs
                    Morrison & Foerster regarding draft response to
                    Mesirow question regarding PLS factual
                    background.
04/25/2013   JALB   E-mail responses to questions from Mr. Lipps         L120     0.30 hrs
                    regarding key facts and witnesses in examiner
                    interview process.
04/25/2013   MMM    Review documents and update timeline of major        L120     2.00 hrs
                    events.

04/25/2013   DAB    Research document productions regarding RMBS         L120     4.40 hrs
                    liability valuation issues relevant to examiner
                    investigation.
04/25/2013   HLB    Review of documents and exhibits from ResCap         L120     4.90 hrs
                    witness interviews for purposes of categorizing
                    exhibits and creating exhibit binders.
04/26/2013   AMP    Respond to e-mails from Mr. Salerno (Morrison &      L320     0.40 hrs
                    Foerster) and others on Morrison & Foerster team
                    regarding handling of privilege assertion of
                    communications with Mr. Devine, Kirkland &
                    Ellis, etc. on Ms. Patrick settlement in the 9019
                    production.
04/26/2013   JAL    Prepare for meeting with Mr. Olson to prepare for    L120     8.30 hrs
                    examiner interview (.50). Conference with Mr.
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                    Olson regarding same (.50). Participate at Mr.
                    Olson's examiner interview (5.5). Draft summary
                    of Mr. Olson's and Mr. Keenan's interviews in
                    transit to Columbus (1.00). E-mails with Ms. Battle
                    regarding key facts in examiner interview process.
                    (.30) Communicate with Ms. Battle regarding
                    examiner inquiry regarding GMEN facility (.50).
04/26/2013   JALB   Send response to Examiner questions on PLS.           L120     0.20 hrs


04/26/2013   MMM    Review documents and update ResCap timeline of        L120     1.60 hrs
                    major events.

04/26/2013   DAB    Draft memorandum on RMBS valuation issues             L120     0.80 hrs
                    relevant to examiner investigation.

04/26/2013   DAB    Research regarding 2004-VFT transaction               L120     3.90 hrs
                    questions from Mesirow.

04/26/2013   DAB    Research examiner productions for materials on        L120     0.70 hrs
                    valuations of RMBS liability relevant to examiner
                    investigation.
04/26/2013   JRC    Review documents in Discovery Partner in order to     L320     0.10 hrs
                    locate documents relevant to Mr. Olson's interview
                    with the examiner.
04/26/2013   GNM    E-mail communications with Mr. Beck regarding         L120     0.20 hrs
                    particular document of interest to examiner.

04/26/2013   GNM    E-mail communications with Ms. Tice (Morrison         L120     0.20 hrs
                    & Foerster) regarding particular document of
                    interest to examiner.
04/27/2013   AMP    Review e-mails from Mr. Salerno (Morrison &           L320     0.60 hrs
                    Foerster) and others on Morrison & Foerster Team
                    regarding handling of privilege assertion of
                    communications with Mr. Devine, Kirkland &
                    Ellis, etc. on Ms. Patrick settlement in the 9019
                    production.
04/28/2013   AMP    Multiple e-mails with Morrison & Foerster team        L320     1.80 hrs
                    regarding handling of privilege assertion of
                    communications with Mr. Devine, Kirkland &
                    Ellis, etc. on Ms. Patrick settlement in the 9019
                    production.
04/28/2013   GNM    E-mail communications with Ms. Whitfield              L120     0.10 hrs
                    regarding "Professional Eyes' Only" documents to
                    be cited in Examiner's report.
04/29/2013   AMP    Telephone conference with Mr. Glick (Kirkland &       L320     0.40 hrs
                    Ellis) regarding 5 documents in Deloitte
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                    supplemental production.
04/29/2013   AMP    Attention to latest round of professional eyes                L320     0.30 hrs
                    only/highly confidential challenges from
                    Examiner.
04/29/2013   AMP    Review documents potentially covered by most                  L320     1.10 hrs
                    recent examiner request.

04/29/2013   AMP    Participate in call with Morrison & Foerster team             L320     0.40 hrs
                    to reach consensus on responses to latest examiner.

04/29/2013   AMP    Review documents in Deloitte supplemental                     L320     1.20 hrs
                    production and draft summary of each document
                    for Morrison & Foerster team.
04/29/2013   RBS    Download Dammen and Olson documents from               A103   L310     0.40 hrs
                    Sharepoint to U-Drive for Mr. Beck.

04/29/2013   MMM    Review documents and update ResCap timeline of                L120     2.70 hrs
                    major events.

04/29/2013   DAB    Draft memorandum regarding reserve issues on                  L120     1.10 hrs
                    examiner investigation.

04/29/2013   SP     Review documents related to discussions with the              L320     2.20 hrs
                    unsecured creditors committee for privilege.

04/29/2013   SP     Review and revise privilege log for documents                 L120     1.80 hrs
                    relating to discussions with the unsecured creditors
                    committee.
04/29/2013   GNM    Draft objection language to send to Examiner                  L120     0.30 hrs
                    regarding "professionals eyes' only" documents to
                    be cited in Examiner's report.
04/29/2013   GNM    E-mail communications with Mr. Beck regarding                 L120     0.10 hrs
                    particular document of interest to examiner.

04/29/2013   GNM    Analyzing documents marked "Professional Eyes'                L320     1.60 hrs
                    Only" to determine whether an objection needs to
                    be made to the use of the documents in the
                    Examiner's report.
04/29/2013   GNM    Conference call with Mr. Brown and Mr. Salerno                L120     0.40 hrs
                    (Morrison & Foerster) regarding use of
                    "Professional Eyes' Only" documents in the
                    Examiner's report.
04/29/2013   GNM    E-mail communications with Mr. Brown (Morrison                L120     0.10 hrs
                    & Foerster) regarding objection language to send
                    to Examiner regarding "professionals eyes' only"
                    documents to be cited in Examiner's report.
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04/29/2013   GNM    Indexing "Professional Eyes' Only" documents to       L320     1.10 hrs
                    be used in the Examiner's report at the request of
                    Ms. Battle.
04/29/2013   GNM    E-mail communications with Ms. Whitfield              L120     0.10 hrs
                    regarding "Professional Eyes' Only" documents to
                    be cited in Examiner's report.
04/29/2013   HLB    Review and analysis of documents and exhibits         L120     5.30 hrs
                    from ResCap witness interviews for purposes of
                    categorizing exhibits.
04/30/2013   AMP    Attention to privilege issues in supplemental         L320     0.70 hrs
                    Deloitte production.

04/30/2013   AMP    E-mails with Morrison & Foerster team regarding       L320     0.60 hrs
                    privilege issues in supplemental Deloitte
                    production.
04/30/2013   AMP    E-mails with Mr. Banner (Deloitte) regarding          L320     0.20 hrs
                    privilege issues in supplemental Deloitte
                    production.
04/30/2013   AMP    Review response to objections from Examiner's         L320     0.20 hrs
                    counsel.

04/30/2013   AMP    Attention to latest professional eyes only/highly     L320     0.30 hrs
                    confidential challenge list.

04/30/2013   AMP    Review documents and respond to Morrison &            L320     0.50 hrs
                    Foerster team regarding privilege challenge issues.

04/30/2013   AMP    Multiple e-mails with Morrison & Foerster team        L320     0.40 hrs
                    regarding privilege challenge issues.

04/30/2013   JAL    Review analysis of testimony regarding DOJ/AG         L120     0.80 hrs
                    settlement (.60). Conference with Mr. Beck
                    regarding same (.10). Review and respond to
                    e-mails regarding same (.10).
04/30/2013   DAB    E-mails with Ms. Levitt (Morrison & Foerster)         L120     0.30 hrs
                    regarding best sources for examiner on DOJ/AG
                    investigation.
04/30/2013   DAB    Research best materials on DOJ/AG investigation       L120     1.50 hrs
                    for Ms. Levitt of Morrison & Foerster.

04/30/2013   DAB    Conference with Mr. Lipps regarding requests of       L120     0.20 hrs
                    Ms. Levitt for materials on DOJ/AG investigation.

04/30/2013   SP     Review documents related to discussions with the      L320     3.20 hrs
                    unsecured creditors committee for privilege.
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04/30/2013   SP     Review and revise privilege log for documents                L120     3.10 hrs
                    relating to discussions with the unsecured creditors
                    committee.
04/30/2013   GNM    Meeting with Ms. Paul-Whitfield regarding                    L120     0.30 hrs
                    privilege logs for documents produced in NJ
                    Carpenters.
04/30/2013   GNM    Telephone conference call with DTI team                      L120     0.20 hrs
                    regarding production pipeline.

04/30/2013   GNM    Analyzing documents marked "Professional Eyes'               L320     1.20 hrs
                    Only" to determine whether an objection needs to
                    be made to the use of the documents in the
                    Examiner's report.
04/30/2013   GNM    E-mail communications with Ms. Tice (Morrison                L120     0.10 hrs
                    & Foerster) regarding "Professionals Eyes' Only"
                    documents to be cited in the Examiner's report.


                    TOTAL FEES FOR THIS MATTER                                          $143,727.00

EXPENSES

04/03/2013          (TRIP-JALB-4/3/13) Out-of-Town Travel/Airfare (coach) - travel        $1,311.80
                    to MN for interview with Ms. Steinhagen

04/03/2013          (TRIP-JALB-4/3/13) Out-of-Town Travel/Breakfast - travel to                  $6.79
                    MN for interview with Ms. Steinhagen

04/03/2013          (TRIP-JALB-4/3/13) Out-of-Town Travel/Parking @ Port                        $17.00
                    Columbus - travel to MN for interview with Ms. Steinhagen

04/03/2013          (TRIP-JALB-4/3/13) Out-of-Town Travel/Dinner - travel to MN                 $20.00
                    for interview with Ms. Steinhagen

04/03/2013          (TRIP-JALB-4/3/13) Out-of-Town Travel/Taxi from airport to                  $57.75
                    interview - travel to MN for interview with Ms. Steinhagen

04/03/2013          (TRIP-JALB-4/3/13) Out-of-Town Travel/Taxi from interview                   $50.00
                    to airport - travel to MN for interview with Ms. Steinhagen

04/03/2013          Out-of-Town Travel/Parking - expense for witness interview                  $33.00
                    (3/29/13 and 4/3/13) Julie Steinhagen

04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Airfare (coach) -            $1,325.80
                    travel to New York City for examiner interview of Mr. Weintraub

04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Hotel - travel to             $607.35
                    New York City for examiner interview of Mr. Weintraub
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04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Taxi from airport to                 $55.83
                    hotel- travel to New York City for examiner interview of Mr.
                    Weintraub

04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Taxi from hotel to                   $38.40
                    airport - travel to New York City for examiner interview of Mr.
                    Weintraub

04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Dinner (JAL &                        $40.00
                    DAB) - travel to New York City for examiner interview of Mr.
                    Weintraub

04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Breakfast - travel to                 $6.92
                    New York City for examiner interview of Mr. Weintraub

04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Parking @ Port                       $35.00
                    Columbus - travel to New York City for examiner interview of
                    Mr. Weintraub

04/11/2013          (TRIP-JAL-4/10-11/13) Out-of-Town Travel/Mileage to/from                       $6.72
                    Port Columbus - travel to New York City for examiner interview
                    of Mr. Weintraub

04/26/2013          (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Airfare (coach) -              $1,283.80
                    travel to Minneapolis, MN for examiner interviews of Mr.
                    Keenan and Mr. Olson

04/26/2013          (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Hotel (3 nights @               $715.01
                    $238.34 per night) - travel to Minneapolis, MN for examiner
                    interviews of Mr. Keenan and Mr. Olson

04/26/2013          (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Taxi - travel to                     $50.00
                    Minneapolis, MN for examiner interviews of Mr. Keenan and Mr.
                    Olson

04/26/2013          (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Dinner - travel to                   $20.00
                    Minneapolis, MN for examiner interviews of Mr. Keenan and Mr.
                    Olson

04/26/2013          (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Lunch - travel to                    $20.00
                    Minneapolis, MN for examiner interviews of Mr. Keenan and Mr.
                    Olson

04/26/2013          (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Dinner (JAL and                      $40.00
                    Mr. Day) - travel to Minneapolis, MN for examiner interviews of
                    Mr. Keenan and Mr. Olson

04/26/2013          (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Lunch - travel to                    $12.12
                    Minneapolis, MN for examiner interviews of Mr. Keenan and Mr.
                    Olson
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04/26/2013              (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Dinner - travel to                 $19.00
                        Minneapolis, MN for examiner interviews of Mr. Keenan and Mr.
                        Olson

04/26/2013              (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Taxi - travel to                   $55.00
                        Minneapolis, MN for examiner interviews of Mr. Keenan and Mr.
                        Olson

04/26/2013              (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Parking @ Port                     $63.00
                        Columbus - travel to Minneapolis, MN for examiner interviews
                        of Mr. Keenan and Mr. Olson

04/26/2013              (TRIP-JAL-4/23-26/13) Out-of-Town Travel/Mileage to from                     $6.78
                        Port Columbus (12 miles X .565) - travel to Minneapolis, MN
                        for examiner interviews of Mr. Keenan and Mr. Olson

04/29/2013              Outside Copying - blowback of documents by ProFile Discovery              $293.99

                        TOTAL EXPENSES FOR THIS MATTER                                           $6,191.06


BILLING SUMMARY


         Paul, Angela M.                            87.10 hrs   275.00 /hr       $23,952.50


         Beck, David A.                             70.80 hrs   280.00 /hr       $19,824.00


         Barthel, David J.                           1.00 hrs   210.00 /hr             $210.00


         Marty, Gretchen N.                         83.50 hrs   175.00 /hr       $14,612.50


         Buchanan, Heather L.                       69.40 hrs   240.00 /hr       $16,656.00


         Lipps, Jeffrey A.                          64.80 hrs   400.00 /hr       $25,920.00


         Battle, Jennifer A.L.                      28.80 hrs   300.00 /hr        $8,640.00


         Rhode, Jacob D.                             3.80 hrs   160.00 /hr             $608.00


         Corcoran, Jeffrey R.                       50.40 hrs   180.00 /hr        $9,072.00


         Mohler, Mallory M.                         56.60 hrs   160.00 /hr        $9,056.00
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      Beekhuizen, Michael N.                 5.10 hrs   280.00 /hr     $1,428.00


      Samson, Robert B.                      2.50 hrs   100.00 /hr        $250.00


      Phillips, Segev                       59.90 hrs   220.00 /hr    $13,178.00


      Sholl, Veronica L.                     3.20 hrs   100.00 /hr        $320.00



   TOTAL FEES                              586.90 hrs                $143,727.00

   TOTAL EXPENSES                                                      $6,191.06

   TOTAL CHARGES FOR THIS INVOICE                                    $149,918.06
